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                            APPENDIX A (Part 2)

                      List of Defendants and Their Counsel




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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

LAFRANCE, SUZANNE                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LAGACE, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05856          ONDERLAW, LLC

LAGARRA, ANGELA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-261-18           COHEN, PLACITELLA & ROTH

LAGLAIVE, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00306          LEVIN FISHBEIN SEDRAN & BERMAN

LAGLE, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08359          HENINGER GARRISON DAVIS, LLC

LAGRANGE, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09824          ONDERLAW, LLC

LAGRONE, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10828          HOLLAND LAW FIRM

LAGUER, CARMEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16364          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LAGUER, CELINES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04155          ONDERLAW, LLC

LAGUNA, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06480          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAGUNAS, MARYJANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05438          THE FERRARO LAW FIRM, P.A.

LAHMAN, FRIEDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05943          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LAHTI, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08451          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

LAICHE, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17843          ASHCRAFT & GEREL, LLP

LAICHE, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17843          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAIGHA DEROUEN                   FEDERAL - MDL                                3:21-CV-16930          DAVIS, BETHUNE & JONES, L.L.C.

LAIN, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13392          NACHAWATI LAW GROUP

LAIN, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02282          ONDERLAW, LLC

LAING, JANELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08586          ONDERLAW, LLC

LAIRAMORE, TANYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10932          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LAIRD, DIANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20055          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAIRD, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01150          ONDERLAW, LLC

LAIRD, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08823          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAIRD, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03159          THE MILLER FIRM, LLC

LAIRD, SUSAN                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC695059               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LAIRD, SUSAN                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC695059               ROSS FELLER CASEY, LLP

LAKE, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09069          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAKE, GALE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09364          WILLIAMS HART LAW FIRM

LAKE, MICHELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09615          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LAKE, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14476          NAPOLI SHKOLNIK, PLLC

LAKE, SUZANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10391          ONDERLAW, LLC

LAKE, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15330          HEYGOOD, ORR & PEARSON

LAKE, SYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13441          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAKE, TERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09123          ONDERLAW, LLC



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              Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

LAKES, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01175          GORI JULIAN & ASSOCIATES, P.C.

LAKESHIA WILLIAMS                NJ - STATE                                   ATL-L-003371-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

LALANIA DESHONG                  FEDERAL - MDL                                3:21-CV-19582          ONDERLAW, LLC

LALLY, COLLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10402          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LALOGGIA, ROSE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02359          LEVIN SIMES LLP

LALONDE, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10771          HILLIARD MARTINEZ GONZALES, LLP

LALONE, LILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01459          JOHNSON LAW GROUP

LAM, LAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16685          DENNIS LAW FIRM

LAM, LAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16685          EDWARD F. LUBY, LLC

LAM, LAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11673          GOLDENBERG HELLER & ANTOGNOLI, PC

LAM, LESLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17304          NACHAWATI LAW GROUP

LAMA, LANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07078          BURNS CHAREST LLP

LAMA, LANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07078          BURNS CHAREST LLP

LAMAN, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          DONALD L. SCHLAPPRIZZI P.C.

LAMAN, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          LENZE LAWYERS, PLC

LAMAN, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13454          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LAMANNA, JAMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09638          ONDERLAW, LLC

LAMANTIA, ROSEMARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11809          THE HANNON LAW FIRM, LLC

LAMAQUE, SHANTAL                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     CIVDS1825399           ASHCRAFT & GEREL

LAMAQUE, SHANTAL                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     CIVDS1825399           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LAMAR, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11236          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LAMAR-DAVIS, JAUICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10417          GOLDENBERGLAW, PLLC

LAMAS, DEYANIRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17305          NACHAWATI LAW GROUP

LAMAY, FLOSSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09920          ONDERLAW, LLC

LAMB, BETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08742          ONDERLAW, LLC

LAMB, CHASTITY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05397          ONDERLAW, LLC

LAMB, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02926          CHILDERS, SCHLUETER & SMITH, LLC

LAMB, ELIZA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10302          GOLOMB SPIRT GRUNFELD PC

LAMB, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17650          NACHAWATI LAW GROUP

LAMB, EUN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18384          THE BENTON LAW FIRM, PLLC

LAMB, GENA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAMB, GENA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

LAMB, GENA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA




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             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LAMB, GENA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

LAMB, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10785          NACHAWATI LAW GROUP

LAMB, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04373          JOHNSON BECKER, PLLC

LAMB, MADGE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAMB, MADGE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           ONDERLAW, LLC

LAMB, MADGE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           PORTER & MALOUF, PA

LAMB, MADGE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           THE SMITH LAW FIRM, PLLC

LAMBERT, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13158          NACHAWATI LAW GROUP

LAMBERT, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18020          ASHCRAFT & GEREL

LAMBERT, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18020          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAMBERT, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10071          ONDERLAW, LLC

LAMBERT, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04514          THE BENTON LAW FIRM, PLLC

LAMBERT, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06791          NAPOLI SHKOLNIK, PLLC

LAMBERT, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08997          ONDERLAW, LLC

LAMBERT, LYNNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06488          ONDERLAW, LLC

LAMBERT, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15038          JOHNSON LAW GROUP

LAMBERT, PATSY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04217          WILLIAMS HART LAW FIRM

LAMBERT, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20721          ASHCRAFT & GEREL, LLP

LAMBERT, ROSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16834          WAGSTAFF & CARTMELL, LLP

LAMBERT, SABRINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17307          NACHAWATI LAW GROUP

LAMBERT, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02967          NAPOLI SHKOLNIK, PLLC

LAMBERT-BUNDICK, MARY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10819          ASHCRAFT & GEREL, LLP

LAMBERTI, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02664          GORI JULIAN & ASSOCIATES, P.C.

LAMBIE, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14380          JOHNSON LAW GROUP

LAMBIE, SHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15909          ASHCRAFT & GEREL, LLP

LAMBIE, SHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15909          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAMBROPOULOS, CHERYL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22229          NACHAWATI LAW GROUP

LAMFERS, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12322          ONDERLAW, LLC

LAMI, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03072          WAGSTAFF & CARTMELL, LLP

LAMM, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18716          SULLO & SULLO, LLP

LAMM, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05598          LEVIN SIMES LLP

LAMONDE, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02471          DALIMONTE RUEB, LLP

LAMONICA, AUDREY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04789          ONDERLAW, LLC




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LAMONT, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10072          ONDERLAW, LLC

LAMONT, PATRICIA                 CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21085741             FLETCHER V. TRAMMELL

LAMONT, PATRICIA                 CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21085741             SCHNEIDER WALLACE COTTRELL KONECKY

LAMONTE, MARIBEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01675          FLETCHER V. TRAMMELL

LAMORE, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03409          CLIFFORD LAW OFFICES, P.C.

LAMOTHE, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12364          ONDERLAW, LLC

LAMPARZYK, CLAUDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09418          WILLIAMS HART LAW FIRM

LAMPE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06044          TRAMMELL PC

LAMPHIER, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10178          ONDERLAW, LLC

LAMPKIN, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19367          NACHAWATI LAW GROUP

LAMPLEY, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17392          CORY, WATSON, CROWDER & DEGARIS P.C.

LAMSON, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02767          JOHNSON LAW GROUP

LAMUSTA, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13027          THORNTON LAW FIRM

LAMY, DIANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16797          ONDERLAW, LLC

LAMZON, AMELITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12458          JOHNSON BECKER, PLLC

LANAHAN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08930          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANCASTER, ALEXIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10781          JOHNSON BECKER, PLLC

LANCASTER, HOLLI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11075          JOHNSON BECKER, PLLC

LANCASTER, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12423          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LANCASTER, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05003          JOHNSON LAW GROUP

LANCIERI, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06564          LAW OFFICES OF SEAN M. CLEARY

LANCIS, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17310          NACHAWATI LAW GROUP

LANCLOS, BERNICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19533          ASHCRAFT & GEREL, LLP

LANCLOS, BERNICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAND, BARABA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02184          MOTLEY RICE, LLC

LAND, JENNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01902          ANDRUS WAGSTAFF, P.C.

LAND, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21674          ONDERLAW, LLC

LAND, SHARON                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LANDELLS, CAROL                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002463-18        GOLOMB & HONIK, P.C.

LANDEROS, MELBA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDERS, SASHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08280          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDERVILLE, JUANITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14400          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDES, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11456          KIESEL LAW, LLP

LANDGRAF, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08874          ONDERLAW, LLC



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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

LANDI, LUCY                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02733          ASHCRAFT & GEREL

LANDI, LUCY                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02733          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDINGHAM, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDIS, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00398          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDIS, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08812          DAVIS, BETHUNE & JONES, L.L.C.

LANDIS, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10270          HOLLAND LAW FIRM

LANDIS, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08519          HOLLAND LAW FIRM

LANDIS, CORDIE                   IL - CIRCUIT COURT - COOK COUNTY             2019L005810            DRISCOLL FIRM, P.C.

LANDIS, DANIELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14796          LENZE LAWYERS, PLC

LANDIS, DANIELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14796          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LANDIS, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07814          DALIMONTE RUEB, LLP

LANDIS, LYDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12519          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDIVAR, MICHELE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05726          WILLIAMS HART LAW FIRM

LANDMAN, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12140          DRISCOLL FIRM, P.C.

LANDO, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09366          JOHNSON LAW GROUP

LANDRETH, BOBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11788          MOTLEY RICE, LLC

LANDRUM, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08816          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDRUM, BOBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12975          JOHNSON LAW GROUP

LANDRUM, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05643          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDRY, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10024          ONDERLAW, LLC

LANDRY, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09128          ONDERLAW, LLC

LANDRY, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09067          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDRY, DELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14543          MORRIS BART & ASSOCIATES

LANDRY, DORISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16361          THE MILLER FIRM, LLC

LANDRY, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15233          BERNSTEIN LIEBHARD LLP

LANDRY, KATHLEEN                 LA - DISTRICT COURT - ORLEANS PARISH         17-10827               THE CHEEK LAW FIRM

LANDRY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04956          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LANDRY, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16889          ASHCRAFT & GEREL

LANDRY, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16889          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDRY, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20247          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANDRY, TIFFANY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-969-16           ROSS FELLER CASEY, LLP

LANDUYT, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15095          ASHCRAFT & GEREL

LANDUYT, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15095          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANE, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20446          ASHCRAFT & GEREL, LLP



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

LANE, ANGELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20446          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANE, CHERINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10574          ONDERLAW, LLC

LANE, CRYSTAL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14854          BART DURHAM INJURY LAW

LANE, CRYSTAL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14854          FRAZER PLC

LANE, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12094          NICOLE M VARISCO, ESQ

LANE, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10639          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANE, ELERA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11827          PIERCE SKRABANEK BRUERA, PLLC

LANE, GAYLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19216          NACHAWATI LAW GROUP

LANE, JACQUELINE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001391-18        ASHCRAFT & GEREL

LANE, JACQUELINE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001391-18        GOLOMB SPIRT GRUNFELD PC

LANE, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16487          MORELLI LAW FIRM, PLLC

LANE, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16575          WILLIAM G. COLVIN, PLLC

LANE, MAGGIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08453          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANE, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03501          ONDERLAW, LLC

LANE, MARK                        NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005506-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

LANE, MARK AND LANE, THONGMI      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005506-21        LEVY KONIGSBERG LLP

LANE, VERA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10406          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANE, WANDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15934          HOLLAND LAW FIRM

LANEAR, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11348          MOTLEY RICE, LLC

LANEGRAN, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14820          JOHNSON LAW GROUP

LANE-TERRY, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18900          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LANEY, NELDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01185          ASHCRAFT & GEREL

LANEY, NELDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01185          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANEY, STACI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07313          ONDERLAW, LLC

LANG, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17428          ONDERLAW, LLC

LANG, JAMIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00935          ONDERLAW, LLC

LANG, JOINNINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10432          NACHAWATI LAW GROUP

LANG, KELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02269          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

LANG, LANOME                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04580          ONDERLAW, LLC

LANG, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANG, MICHELLE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2288-17          GOLOMB SPIRT GRUNFELD PC

LANG, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          ONDERLAW, LLC

LANG, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          PORTER & MALOUF, PA

LANG, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          THE SMITH LAW FIRM, PLLC



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LANG, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16811          THE MILLER FIRM, LLC

LANGAN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02068          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANGE, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07301          JASON J. JOY & ASSCIATES P.L.L.C.

LANGE, FRANCES                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

LANGE, FRANCES                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

LANGE, FRANCES                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

LANGE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19952          FLETCHER V. TRAMMELL

LANGE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03645          ONDERLAW, LLC

LANGEN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANGEN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

LANGEN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

LANGEN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

LANGER, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13970          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

LANGEVIN, JR., ALBERT            IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LANGFORD, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11486          HOLLAND LAW FIRM

LANGFORD, GERTRUDE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10015          MORRIS BART & ASSOCIATES

LANGFORD, VELMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09546          ONDERLAW, LLC

LANGFORD-KEEHN, LESLEY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03073          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANGHAM, RODNESHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10056          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANGIS, ELENH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17844          ASHCRAFT & GEREL, LLP

LANGIS, ELENH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17844          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANGLEY, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11575          POTTS LAW FIRM

LANGLEY, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19204          NACHAWATI LAW GROUP

LANGLEY, KRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11452          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LANGLEY, KRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07725          ONDERLAW, LLC
                                 CA - SUPERIOR COURT - SAN BERNARDINO
LANGLEY, LISA                                                                 CIVDS 1721621          ONDERLAW, LLC
                                 COUNTY
LANGLEY, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00799          ONDERLAW, LLC
                                 CA - SUPERIOR COURT - SAN BERNARDINO
LANGLEY, LISA                                                                 CIVDS 1721621          SALKOW LAW, APC
                                 COUNTY
LANGLEY, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07253          BURNS CHAREST LLP

LANGLEY, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07253          BURNS CHAREST LLP

LANGLEY, SHERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14406          ASHCRAFT & GEREL

LANGONE, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16087          BURNS CHAREST LLP

LANGSTAFF, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18911          NACHAWATI LAW GROUP

LANGSTON, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06627          ARNOLD & ITKIN LLP



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            Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

LANGSTON, MARION               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14430          ASHCRAFT & GEREL

LANGSTON, WILETTA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002298-20        GOLOMB & HONIK, P.C.

LANHAM, BARBARA                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC699913               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LANHAM, BARBARA                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC699913               ROSS FELLER CASEY, LLP

LANHAM, LADONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14849          SANDERS PHILLIPS GROSSMAN, LLC

LANHAM, VANESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12537          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANIER, SHEILA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16221          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LANKFORD, LORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07168          ONDERLAW, LLC

LANKSHEAR, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07737          THE MILLER FIRM, LLC

LANKTON, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04582          COHEN & MALAD, LLP

LANNING, JILL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06080          ONDERLAW, LLC

LANNING-BOYD, DONNA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04525          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANOUE, WENDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07693          ONDERLAW, LLC

LANOY, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03242          EISENBERG, ROTHWEILER, WINKLER

LANSBERRY, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02069          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANSDALE, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LANSDALE, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LANSDALE, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LANSDELL, AMANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LANSDELL, AMANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LANSDELL, AMANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02990          ONDERLAW, LLC

LANSDELL, AMANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LANSDOWNE, CAROLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06795          NAPOLI SHKOLNIK, PLLC

LANSKI, CAROLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09257          ONDERLAW, LLC

LANTAYA, LORETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00760          ONDERLAW, LLC

LANTHIER, GEMMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09917          JOHNSON LAW GROUP

LANTZ, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18634          THE SEGAL LAW FIRM

LANTZ, LYNNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04875          ONDERLAW, LLC

LANUM, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08260          DALIMONTE RUEB, LLP

LANZ, CYNTHIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LANZ, CYNTHIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

LANZ, CYNTHIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LANZ, CYNTHIA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

LANZA, NANCI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05316          ONDERLAW, LLC

LANZO, STEPHEN                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07385-16AS       LEVY KONIGSBERG LLP

LANZO, STEPHEN                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07385-16AS       SZAFERMAN LAKIND BLUMSTEIN & BLADER

LAPAN, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08010          THE DUGAN LAW FIRM, APLC

LAPERE, BERNARDINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11457          KIESEL LAW, LLP

LAPHAM, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09342          ONDERLAW, LLC

LAPKA, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09471          FLETCHER V. TRAMMELL

LAPLACE, LYNDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10161          LINVILLE LAW GROUP

LAPLANTE, ANN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002299-20        GOLOMB & HONIK, P.C.

LAPOINTE, PATTI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00648          GORI JULIAN & ASSOCIATES, P.C.

LAPONSEY, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10836          NACHAWATI LAW GROUP

LAPORTA, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09076          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAPORTE, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16661          THE MILLER FIRM, LLC

LAPORTE, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09207          THE DUGAN LAW FIRM, APLC

LAPORTE, VENUS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08838          ONDERLAW, LLC

LAPPE, SONIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02280          ONDERLAW, LLC

LARA SCHAUB                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LARA, CHRISTINE                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC715169               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARA, CHRISTINE                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC715169               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LARA, CHRISTINE                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC715169               THE SMITH LAW FIRM, PLLC

LARA, CLARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08317          ONDERLAW, LLC

LARA, JOANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01763          WILLIAMS HART LAW FIRM

LARA, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17313          NACHAWATI LAW GROUP

LARA, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19740          ASHCRAFT & GEREL, LLP

LARA, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19740          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARA, SARAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06835          DIAMOND LAW

LARA, STEPHANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08123          ONDERLAW, LLC

LARCHEVEQUE, DEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14591          PARKER WAICHMAN, LLP

LARCHEVEQUE, JACLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08049          ONDERLAW, LLC

LARES, FELICITAS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17993          ASHCRAFT & GEREL

LARES, FELICITAS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17993          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARGE, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00071          MOTLEY RICE, LLC




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              Claimant Name                            State Filed                      Docket Number                                 Plaintiff Counsel

LARGRIMAS, VIVIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08543             THE SEGAL LAW FIRM

LARIBEE, CYNTHIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002              ONDERLAW, LLC

LARINO, ROSALINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20814             BISNAR AND CHASE

LARISON, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18624             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LARISSA LOMAX                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18359             ONDERLAW, LLC

LARKIN, AUDREY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21547             JOHNSON LAW GROUP

LARKIN, MARGIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04762             FLETCHER V. TRAMMELL

LARKIN, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09431             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARKIN, REBECCA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12528             THE MILLER FIRM, LLC

LARKIN, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17431             NACHAWATI LAW GROUP

LARKINS, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15012             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LARMOND, VALROSE                    CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-40422-CU-PL-CTL   BISNAR AND CHASE

LARNEY, STEPHANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11775             NACHAWATI LAW GROUP

LAROCCA, EULA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19188             NACHAWATI LAW GROUP

LAROCCA, NICOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15542             THE MILLER FIRM, LLC

LAROCQUE, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17316             NACHAWATI LAW GROUP

LAROSE, LEE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12890             JOHNSON LAW GROUP

LAROUSSE, CHRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01838             GORI JULIAN & ASSOCIATES, P.C.

LARRAMENDY, RAMONA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARRAMENDY, RAMONA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872              ONDERLAW, LLC

LARRAMENDY, RAMONA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872              PORTER & MALOUF, PA

LARRAMENDY, RAMONA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872              THE SMITH LAW FIRM, PLLC

LARREA, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05855             ONDERLAW, LLC

LARRECIA SHEALEY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003386-21           EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

LARRISON, SANDIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450             DONALD L. SCHLAPPRIZZI P.C.

LARRISON, SANDIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450             LENZE LAWYERS, PLC

LARRISON, SANDIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LARRY, PEROUTKA, DIANE LARRY, AND   IL - CIRCUIT COURT - MADISON COUNTY          17-L-1589                 KARST & VON OISTE, LLP

LARSEN, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08672             JOHNSON LAW GROUP

LARSEN, LUCRETIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08620             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARSEN, PAULI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11463             NAPOLI SHKOLNIK, PLLC

LARSEN, RANDI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06206             MOTLEY RICE, LLC




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             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LARSON, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02070          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARSON, CARRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11013          THE SIMON LAW FIRM, PC

LARSON, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14451          HENINGER GARRISON DAVIS, LLC

LARSON, CONSTANCE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02062          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARSON, DIANE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002545-20        GOLOMB & HONIK, P.C.

LARSON, DOLORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04515          BART DURHAM INJURY LAW

LARSON, DOLORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     03:21-CV-04515         BART DURHAM INJURY LAW

LARSON, DOLORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04515          FRAZER PLC

LARSON, DOLORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     03:21-CV-04515         FRAZER PLC

LARSON, EILEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07679          ONDERLAW, LLC

LARSON, ERIKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11885          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARSON, JEANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06240          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARSON, KARIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06221          ONDERLAW, LLC

LARSON, KRISTIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11571          DICKS & COGLIANSE LLP

LARSON, KRISTIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11571          ONDERLAW, LLC

LARSON, LILLIAN                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002729-20        WEITZ & LUXENBERG

LARSON, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03968          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LARSON, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08823          ONDERLAW, LLC

LARSON, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08400          SANDERS VIENER GROSSMAN, LLP

LARSON, SHELIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05695          ONDERLAW, LLC

LARUSSA, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08843          LEVIN SIMES LLP

LARUSSO, MADONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11121          ARNOLD & ITKIN LLP

LASALLE, SHIRIKA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17318          NACHAWATI LAW GROUP

LASECKI, RUTH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

LASECKI, RUTH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

LASECKI, RUTH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

LASECKI, RUTH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

LASH, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06798          NAPOLI SHKOLNIK, PLLC

LASH, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09295          ONDERLAW, LLC

LASH, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11010          DALIMONTE RUEB, LLP

LASHANDA BODY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18403          ONDERLAW, LLC

LASHBAUGH, CARMEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14203          ONDERLAW, LLC

LASHBROOK, LAUREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09303          ONDERLAW, LLC




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            Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

LASNESKI, TONI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12679          PROVOST UMPHREY LAW FIRM

LASSETER, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08007          ROSS FELLER CASEY, LLP

LASSITER, VERONICA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002507-21        WEITZ & LUXENBERG

LASSONDE, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13726          ONDERLAW, LLC

LASTER, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12724          MOTLEY RICE, LLC

LASTER, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12693          BARRETT LAW GROUP

LASWELL, DIANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01913          FLETCHER V. TRAMMELL

LATA, SNJEZANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09417          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LATARTE, MIMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05432          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

LATHAM, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13617          DAVIS, BETHUNE & JONES, L.L.C.

LATHAM, PATRICIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001871-21        GOLOMB & HONIK, P.C.

LATHAM, ROSE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16218          DALIMONTE RUEB, LLP

LATHAM, VERNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10667          THE CARLSON LAW FIRM

LATHAM, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01207          JOHNSON LAW GROUP

LATHAM, WILMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13046          CELLINO & BARNES, P.C.

LATHROP, GERALDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12156          GOZA & HONNOLD, LLC

LATHROP, JULIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03386          BURNS CHAREST LLP

LATHROP, JULIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03386          BURNS CHAREST LLP

LATIMER, CAROLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01714          JOHNSON LAW GROUP

LATIMER, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13281          NACHAWATI LAW GROUP

LATIMER, PEARLEAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13853          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LATIN, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11001          MORRIS BART & ASSOCIATES

LATORRE, DANIELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07049          ONDERLAW, LLC

LATOUSHA JACKSON               FEDERAL - MDL                                3:21-CV-19636          JOHNSON BECKER, PLLC

LATOYA TAYLOR                  FEDERAL - MDL                                3:21-CV-19891          ONDERLAW, LLC

LATRICE, CANDICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12901          FLETCHER V. TRAMMELL

LATTA, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10758          GOLDENBERGLAW, PLLC

LATTA, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10073          ONDERLAW, LLC

LATTERY, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17325          ASHCRAFT & GEREL, LLP

LATTERY, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LATTIMORE, TAWANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02204          ONDERLAW, LLC

LATTING, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01361          ONDERLAW, LLC

LATU, MELESULIFA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17320          NACHAWATI LAW GROUP

LATULIPPE-LARUS, JULIE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12384          ONDERLAW, LLC



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            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LAUB, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11086          MORGAN & MORGAN

LAUDENORIO, JOSEPHINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00235          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LAUDERBAUGH, BRENDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04168          FLETCHER V. TRAMMELL

LAUERMAN, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10916          ONDERLAW, LLC

LAUF, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11235          THE MILLER FIRM, LLC

LAUFENBERG, KATHLEEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00324          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAUFFENBURGER, ELIZABETH       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10508          ONDERLAW, LLC

LAUGHERY, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12180          ARNOLD & ITKIN LLP

LAUGHLIN, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05948          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAUGHLIN, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12911          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAUGHRUN, SHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02647          JOHNSON LAW GROUP

LAUMAN, FRIEYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17201          THE MILLER FIRM, LLC

LAURA HANSON                   FEDERAL - MDL                                3:21-CV-18757          FLETCHER V. TRAMMELL

LAURA LODER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17818          HENINGER GARRISON DAVIS, LLC

LAURA POORE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18109          WEITZ & LUXENBERG

LAURA SUTTLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15657          LENZE LAWYERS, PLC

LAURA SUTTLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15657          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LAUREL BARRON                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006049-21        PUTNICK LEGAL, LLC

LAUREN COOPER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18507          WEITZ & LUXENBERG

LAURENCE, TERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05991          JOHNSON LAW GROUP

LAURENDINCE, ALICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12307          ASHCRAFT & GEREL

LAURENDINCE, ALICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12307          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAURENT, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02639          ONDERLAW, LLC

LAURENT, MAUREEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

LAURENT, MAUREEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

LAURENT, MAUREEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LAURENT, RONNICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09221          MORRIS BART & ASSOCIATES
                               PA - PHILADELPHIA COUNTY COURT OF COMMON
LAURENT, STEFANIE                                                           200500389              EISENBERG, ROTHWEILER, WINKLER
                               PLEAS
                               PA - PHILADELPHIA COUNTY COURT OF COMMON
LAURENT, STEFANIE                                                           200500389              MUELLER LAW PLLC
                               PLEAS
LAURIE DAVIE                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02747          ASHCRAFT & GEREL

LAURIE DAVIE                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02747          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAURIELLO, LOIS                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003250-20        COHEN, PLACITELLA & ROTH

LAURIELLO, LOIS                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003250-20        FLETCHER V. TRAMMELL

LAURSEN, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18613          JOHNSON LAW GROUP



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           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

LAURY, CAROLINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00525          WILLIAMS HART LAW FIRM

LAUTERBACH, CATHERINE         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000975-18        MORELLI LAW FIRM, PLLC

LAUVAS, TRUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11467          THE MILLER FIRM, LLC

LAUVER, NIKOLAJA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14989          JOHNSON LAW GROUP

LAUX-VANDEHEY, WENDY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08531          WILLIAMS HART LAW FIRM

LAUZIERE, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09741          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAVALAIS, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10766          NACHAWATI LAW GROUP

LAVANDERA, RAMONA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19547          NACHAWATI LAW GROUP

LAVECK, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08141          ONDERLAW, LLC

LAVEDER, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06482          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAVENA, VERA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13556          ONDERLAW, LLC

LAVENDER, AUDREY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14778          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAVENDER, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAVENDER, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          ONDERLAW, LLC

LAVENDER, KAREN               CA - SUPERIOR COURT - SONOMA COUNTY          SCV-261471             ONDERLAW, LLC

LAVENDER, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          PORTER & MALOUF, PA

LAVENDER, KAREN               CA - SUPERIOR COURT - SONOMA COUNTY          SCV-261471             SALKOW LAW, APC

LAVENDER, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          THE SMITH LAW FIRM, PLLC

LAVENHAR, CHELSEA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12126          FLETCHER V. TRAMMELL

LAVERDI, LYNN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17935          ONDERLAW, LLC

LAVERGNE, LOUISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06840          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LAVERGNE, RUTH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13528          ONDERLAW, LLC

LAVERTY, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00072          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LAVIGNA, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAVIGNA, MARY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2250-17          GOLOMB SPIRT GRUNFELD PC

LAVIGNA, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          ONDERLAW, LLC

LAVIGNA, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          PORTER & MALOUF, PA

LAVIGNA, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          THE SMITH LAW FIRM, PLLC

LAVIOLETTE, TERRI             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00797          NAPOLI SHKOLNIK, PLLC

LAVOIE, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13600          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAVOIE, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17816          ONDERLAW, LLC

LAVON HOELMER                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LAVONNE SMITH                 FEDERAL - MDL                                3:21-CV-18781          BARON & BUDD, P.C.




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             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LAW, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17249          ONDERLAW, LLC

LAW, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16022          NACHAWATI LAW GROUP

LAW, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18669          ASHCRAFT & GEREL, LLP

LAWDIS, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14313          ARNOLD & ITKIN LLP

LAWHON, TEENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16730          JOHNSON LAW GROUP

LAWHON, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LAWHON, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LAWHON, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LAWING, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14667          ROSS FELLER CASEY, LLP

LAWLER, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12513          ONDERLAW, LLC

LAWLER, BELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15471          ASHCRAFT & GEREL, LLP

LAWLER, BELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15471          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAWLER, CHEVELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02728          GORI JULIAN & ASSOCIATES, P.C.

LAWLESS, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07105          ONDERLAW, LLC

LAWLEY, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01895          ONDERLAW, LLC

LAWLOR, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10412          GORI JULIAN & ASSOCIATES, P.C.

LAWRENCE, ALICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01163          ASHCRAFT & GEREL, LLP

LAWRENCE, ALICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01163          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAWRENCE, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14071          NAPOLI SHKOLNIK, PLLC

LAWRENCE, BETSY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00095          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LAWRENCE, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15152          ASHCRAFT & GEREL

LAWRENCE, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15152          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAWRENCE, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05970          JOHNSON LAW GROUP

LAWRENCE, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12705          LIAKOS LAW APC

LAWRENCE, DEBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02198          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

LAWRENCE, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09448          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAWRENCE, ELLEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14861          LENZE LAWYERS, PLC

LAWRENCE, ELLEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14861          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LAWRENCE, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05571          MORRIS BART & ASSOCIATES

LAWRENCE, JOSHALYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03998          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAWRENCE, JUNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13258          ONDERLAW, LLC

LAWRENCE, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20914          CELLINO & BARNES, P.C.

LAWRENCE, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19678          ONDERLAW, LLC

LAWRENCE, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10411          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LAWRENCE, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00161          ONDERLAW, LLC

LAWRENCE, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06982          BARRETT LAW GROUP

LAWRENCE, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11913          ASHCRAFT & GEREL, LLP

LAWRENCE, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11913          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAWRENCE, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06751          THE SIMON LAW FIRM, PC

LAWRENCE, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02388          ONDERLAW, LLC

LAWRENCE, SALLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07108          ONDERLAW, LLC

LAWRENCE, SAMANTHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00153          ARNOLD & ITKIN LLP

LAWRENCE, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19266          NACHAWATI LAW GROUP

LAWRENCE, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01037          ONDERLAW, LLC

LAWRENCE, SHELLKILA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16053          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LAWRENCE, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10726          GOLDENBERGLAW, PLLC

LAWRENCE, SYLVIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13135          THE MILLER FIRM, LLC

LAWS, CHERLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02198          ONDERLAW, LLC

LAWS, FLORENCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17817          ONDERLAW, LLC

LAWS, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03946          ONDERLAW, LLC

LAWSHE, VALERIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10240          ONDERLAW, LLC

LAWSON, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08701          THORNTON LAW FIRM LLP

LAWSON, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11565          THORNTON LAW FIRM LLP

LAWSON, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17469          NACHAWATI LAW GROUP

LAWSON, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10968          ASHCRAFT & GEREL, LLP

LAWSON, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14846          LENZE LAWYERS, PLC

LAWSON, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16890          ONDERLAW, LLC

LAWSON, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14846          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LAWSON, EDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12322          PENDLEY, BAUDIN & COFFIN, LLP

LAWSON, ETHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06043          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

LAWSON, JENNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20586          ONDERLAW, LLC

LAWSON, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07136          ONDERLAW, LLC

LAWSON, JULIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11623          NACHAWATI LAW GROUP

LAWSON, KANDACE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04412          JOHNSON LAW GROUP

LAWSON, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03260          ONDERLAW, LLC

LAWSON, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09583          ONDERLAW, LLC

LAWSON, LOIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15096          ASHCRAFT & GEREL

LAWSON, LOIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15096          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

LAWSON, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00020          ASHCRAFT & GEREL

LAWSON, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00020          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAWSON, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09501          KLINE & SPECTER, P.C.

LAWTON, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08721          WILLIAMS HART LAW FIRM

LAWTON, RONNI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11647          JOHNSON BECKER, PLLC

LAWTON-MINETTI, SHARON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13804          FLETCHER V. TRAMMELL

LAX, CECELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18557          DRISCOLL FIRM, P.C.

LAX, NETTIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07893          ONDERLAW, LLC

LAY, MELVINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11995          ONDERLAW, LLC

LAY, TAMMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12420          NAPOLI SHKOLNIK, PLLC

LAY, TERESA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10747          PARKER WAICHMAN, LLP

LAYFIELD, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07884          SLACK & DAVIS LLP

LAYLAND, VANESSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12914          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAYMAN, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02409          HOVDE, DASSOW, & DEETS, LLC

LAYMAN, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02409          THE MILLER FIRM, LLC

LAYMAN, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21094          CELLINO & BARNES, P.C.

LAYMAN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01275          JOHNSON LAW GROUP

LAYMAN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03301          ONDERLAW, LLC

LAYNE, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20589          ONDERLAW, LLC

LAYPO, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12406          ONDERLAW, LLC

LAYTON, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10786          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAYTON, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09370          ONDERLAW, LLC

LAYTON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10676          ASHCRAFT & GEREL

LAYTON, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06058          HOLLAND LAW FIRM

LAZAR, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16781          ARNOLD & ITKIN LLP

LAZARE, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08814          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAZARO, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16264          DALIMONTE RUEB, LLP

LAZARUS, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10804          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LAZENBY, LILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05279          ONDERLAW, LLC
LAZETTE, DIANNE AND LAZETTE,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-007561-20        WEITZ & LUXENBERG
CHRISTOPHER
LAZIK, GERALDINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01243          ONDERLAW, LLC

LAZO, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05273          ONDERLAW, LLC

LAZZARA, ELIZABETH                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003267-21        WEITZ & LUXENBERG

LAZZARA, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07282          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LAZZARINO, GINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17495          NACHAWATI LAW GROUP

LAZZARINO, GINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09493          ONDERLAW, LLC

LE AITKEN, FRANKIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15904          NACHAWATI LAW GROUP

LE BLANC, TRINNITY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08708          ONDERLAW, LLC

LE DOYEN, CECILIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LE DOYEN, CECILIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

LE DOYEN, CECILIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

LE DOYEN, CECILIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

LEA, LETHA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20590          ONDERLAW, LLC

LEA, PHYLLIS                      LA - DISTRICT COURT - ORLEANS PARISH         2018-2613              THE CHEEK LAW FIRM

LEACH, ALICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17306          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEACH, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07372          ONDERLAW, LLC

LEACH, EVELYN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001471-18        GOLOMB SPIRT GRUNFELD PC

LEACH, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02871          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEACH, JO ELLEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12157          DRISCOLL FIRM, P.C.

LEACH, MARCIEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17888          YAEGER LAW, PLLC

LEACH, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09556          CELLINO & BARNES, P.C.

LEACH, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12487          THE DIAZ LAW FIRM, PLLC

LEACH, SUSAN                      IL - CIRCUIT COURT - COOK COUNTY             2018-L-1301            CLIFFORD LAW OFFICES, P.C.

LEACH, SUSAN                      IL - CIRCUIT COURT - COOK COUNTY             2018-L-1301            TAFT STETTINIUS & HOLLISTER LLP

LEACH, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18892          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEACH-JAYROE, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10420          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEADLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEADLEY, MARY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11681           ONDERLAW, LLC

LEADLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          ONDERLAW, LLC

LEADLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          PORTER & MALOUF, PA

LEADLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          THE SMITH LAW FIRM, PLLC

LEAF, MAUREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02179          HAFELI STARAN & CHRIST , P.C.

LEAHY, BRIDGET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16104          ONDERLAW, LLC

LEAHY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12839          POGUST BRASLOW & MILLROOD, LLC

LEAKE, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEAMAN, THURMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06944          BARRETT LAW GROUP

LEAMER, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08535          WILLIAMS HART LAW FIRM




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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

LEANN DECK                        FEDERAL - MDL                                3:21-CV-18004          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

LEANN NICHOLAS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18712          MOTLEY RICE, LLC

LEANNA LAMBERT                    FEDERAL - MDL                                3:21-CV-16518          DAVIS, BETHUNE & JONES, L.L.C.

LEAR, ANGIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11192          NACHAWATI LAW GROUP

LEARCH, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15097          ASHCRAFT & GEREL

LEARCH, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15097          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEARED, TAMMRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16368          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEARY, JANINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17862          ASHCRAFT & GEREL, LLP

LEARY, JANINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17862          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEARY, SHANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LEARY, SHANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LEARY, SHANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEAS, CATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17518          NACHAWATI LAW GROUP

LEASE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LEASE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14916          LENZE LAWYERS, PLC

LEASE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LEASE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14916          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEASE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEATH, GAYNELL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002362-20        GOLOMB & HONIK, P.C.

LEATH, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08071          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEATHERMAN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05491          ONDERLAW, LLC

LEATHERS, ANITA                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02742          ASHCRAFT & GEREL, LLP

LEATHERS, ANITA                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02742          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEATHERS, ELAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11436          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEATHERWOOD, FONTAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00070          ASHCRAFT & GEREL

LEAVELLE, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08177          FLETCHER V. TRAMMELL

LEAVER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEBARON, ALEENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09083          ONDERLAW, LLC

LEBBERT-HERLEN, STACEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12052          DANIEL & ASSOCIATES, LLC

LEBEAU, ROSEMARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04246          WILLIAMS HART LAW FIRM

LEBEAU-KEEN, ROSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEBER, JUNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08934          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEBLANC, ANGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11269          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEBLANC, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15123          HENINGER GARRISON DAVIS, LLC



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             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LEBLANC, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10926          FLETCHER V. TRAMMELL

LEBLANC, GERTRUDE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17537          NACHAWATI LAW GROUP

LEBLANC, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11699          THORNTON LAW FIRM

LEBLANC, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10835          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEBOEUF, PENNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14578          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEBOEUF, TAIRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18372          ONDERLAW, LLC

LEBOUEF, ELOISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08000          THE DUGAN LAW FIRM, APLC

LEBOUEF, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LEBOUEF, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LEBOUEF, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEBRON, INGRID                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12561          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LECATES, VICKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11859          ARNOLD & ITKIN LLP

LECHIA DANIEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18528          ONDERLAW, LLC

LECHNER, ELEANOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16617          ASHCRAFT & GEREL

LECHNER, ELEANOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16617          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LECHUGA, MYRNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04249          WILLIAMS HART LAW FIRM

LECK, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05886          ONDERLAW, LLC

LECKEY, PATSY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01245          GORI JULIAN & ASSOCIATES, P.C.

LECKY, BARBARA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003417-20        MORELLI LAW FIRM, PLLC

LECKY, BARBARA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003417-20        THE SEGAL LAW FIRM

LECLAIR, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14868          WILLIAMS HART LAW FIRM

LECLERC, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11966          NACHAWATI LAW GROUP

LECLERCQ, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08067          FLETCHER V. TRAMMELL

LECOMPTE-CHRISTHILF, DONNA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12379          ONDERLAW, LLC

LECONCE, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15776          NACHAWATI LAW GROUP

LEDAY, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14654          ARNOLD & ITKIN LLP

LEDBETTER, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10393          THE SIMON LAW FIRM, PC

LEDBETTER, JEANNETTE            DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02748          ASHCRAFT & GEREL, LLP

LEDBETTER, JEANNETTE            DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02748          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEDBETTER, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09972          GORI JULIAN & ASSOCIATES, P.C.

LEDBETTER, MELINDA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

LEDBETTER, MELINDA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

LEDBETTER, MELINDA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

LEDELL, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12212          ONDERLAW, LLC



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LEDER, CATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00230          NACHAWATI LAW GROUP

LEDER, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07975          ONDERLAW, LLC

LEDERMANN, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09174          SANDERS VIENER GROSSMAN, LLP

LEDESMA, CARMEN                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC671565               PANISH, SHEA & BOYLE

LEDESMA, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18151          NACHAWATI LAW GROUP

LEDESMA, JEANNETT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01733          DALIMONTE RUEB, LLP

LEDESMA, SONIA                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321185             THE MILLER FIRM, LLC

LEDFORD, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19266          DRISCOLL FIRM, P.C.

LEDFORD, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01187          ASHCRAFT & GEREL

LEDFORD, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01187          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEDFORD, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15033          NACHAWATI LAW GROUP

LEDFORD, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08943          ONDERLAW, LLC

LEDRIDGE, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LEDRIDGE, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LEDRIDGE, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEE, ADA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05859          ONDERLAW, LLC

LEE, AMANDA                       CANADA - B.C. SUPREME COURT - VANCOUVER      VLC-S-S-2011369        HARPER GREY LLP

LEE, AMY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15830          NACHAWATI LAW GROUP

LEE, ANNIE                        CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC623923               BOUCHER LLP

LEE, ANNIE                        CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC623923               KIESEL LAW, LLP

LEE, APRIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02484          MOORE LAW GROUP PLLC

LEE, ASHLEY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003227-21        WEITZ & LUXENBERG

LEE, BETSY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18894          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEE, BETTY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11533          DALIMONTE RUEB, LLP

LEE, BEVERLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21- CV-15352         GOLDENBERGLAW, PLLC

LEE, CALLISTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08805          MORRIS BART & ASSOCIATES

LEE, CAROLINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13572          NACHAWATI LAW GROUP

LEE, CATHY                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002467-20        GOLOMB & HONIK, P.C.

LEE, CHARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05304          JAMES, VERNON & WEEKS, PA

LEE, CHASITY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2717-17          GOLOMB SPIRT GRUNFELD PC

LEE, CHRISTINA AND LEE, TED       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002759-20        WEITZ & LUXENBERG

LEE, CYNTHIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09996          MOTLEY RICE, LLC

LEE, DANIELLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18169          NACHAWATI LAW GROUP




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              Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

LEE, DARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09112          ONDERLAW, LLC

LEE, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11993          FLETCHER V. TRAMMELL

LEE, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11700          GOZA & HONNOLD, LLC

LEE, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10725          NACHAWATI LAW GROUP

LEE, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17375          ONDERLAW, LLC

LEE, DESIDELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00204          ASHCRAFT & GEREL

LEE, DESIDELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00204          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEE, DIANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00473          MUELLER LAW PLLC

LEE, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15849          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEE, DONA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14688          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEE, DOREEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13069          CELLINO & BARNES, P.C.

LEE, ELISE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06244          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEE, GEORGE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16136          WAGSTAFF & CARTMELL, LLP

LEE, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03294          JOHNSON LAW GROUP

LEE, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11976          MORELLI LAW FIRM, PLLC

LEE, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09602          ONDERLAW, LLC

LEE, GWENDOLLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19072          NACHAWATI LAW GROUP

LEE, HELLENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEE, HELLENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

LEE, HELLENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

LEE, HELLENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

LEE, INEZ                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17795          WAGSTAFF & CARTMELL, LLP

LEE, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12931          FLEMING, NOLEN & JEZ, LLP

LEE, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LEE, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14927          LENZE LAWYERS, PLC

LEE, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LEE, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14927          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEE, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEE, JILL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14669          ANDRUS WAGSTAFF, P.C.

LEE, JUDY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

LEE, JUDY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

LEE, JUDY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LEE, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14699          WEITZ & LUXENBERG

LEE, KIMBERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10266          ONDERLAW, LLC

LEE, LAURA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02274          ONDERLAW, LLC

LEE, LESLIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14704          ONDERLAW, LLC

LEE, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07554          WILLIAMS HART LAW FIRM

LEE, LOU                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16179          MUELLER LAW PLLC

LEE, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01700          COHEN & MALAD, LLP

LEE, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12564          ASHCRAFT & GEREL, LLP

LEE, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12564          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEE, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00482          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEE, MATILDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09071          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEE, MAY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13501          WILLIAMS HART LAW FIRM

LEE, MELINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01928          ONDERLAW, LLC

LEE, MELISSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11296          SIMMONS HANLY CONROY

LEE, NATALIE                      CA - SUPERIOR COURT - STANISLAUS COUNTY      CV-18-000341           ASPEY, WATKINS & DIESEL, PLLC

LEE, NATALIE                      CA - SUPERIOR COURT - STANISLAUS COUNTY      CV-18-000341           BURNS CHAREST LLP

LEE, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08374          DENNIS F. OBRIEN, P.A.

LEE, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19632          ONDERLAW, LLC

LEE, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16115          ONDERLAW, LLC

LEE, PEGGY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03369          ONDERLAW, LLC

LEE, RAMELLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06039          WATERS & KRAUS, LLP

LEE, REBECCA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000229-19        GOLOMB SPIRT GRUNFELD PC

LEE, RHONDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20591          ONDERLAW, LLC

LEE, SANDRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03548          THE DEATON LAW FIRM

LEE, SARAH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16947          ASHCRAFT & GEREL

LEE, SUE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12941          CELLINO & BARNES, P.C.

LEE, TAMERA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11263          ARNOLD & ITKIN LLP

LEE, VERONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07265          ONDERLAW, LLC

LEE, YOLANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18158          NACHAWATI LAW GROUP

LEEBERN, SHANNON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09509          ONDERLAW, LLC

LEE-DARKO, CHRISTINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16705          ASHCRAFT & GEREL

LEE-DARKO, CHRISTINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16705          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEEDY, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01558          ONDERLAW, LLC

LEEN, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19080          NACHAWATI LAW GROUP



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LEEN, LEAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19333          NACHAWATI LAW GROUP

LEES, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01044          ASHCRAFT & GEREL

LEFEVERE, CARRIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09655          GORI JULIAN & ASSOCIATES, P.C.

LEFLORE, DIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07127          JOHNSON LAW GROUP

LEFTWICH, AUTUMN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00309          THE BENTON LAW FIRM, PLLC

LEGAY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01836          ASHCRAFT & GEREL

LEGAY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01836          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEGENDRE, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05794          ASHCRAFT & GEREL

LEGENDRE, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05794          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEGER, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06358          ONDERLAW, LLC

LEGGANS, POLLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05884          ONDERLAW, LLC

LEGGET, LACHARRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08143          ONDERLAW, LLC

LEGGETT, JO ANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20346          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEGGETT, VICKI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10969          NACHAWATI LAW GROUP

LEGGIERE, LEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13766          ONDERLAW, LLC

LEGOFF, MAUREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13332          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEGRAND, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08351          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEHMAN, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00917          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEHMAN, KAY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07995          ONDERLAW, LLC

LEHMAN, KELLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05952          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEHMAN, LUZ                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10981          NACHAWATI LAW GROUP

LEHMAN, SHANNON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-4733           ONDERLAW, LLC

LEHMAN, TRUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07195          STEWART & STEWART

LEHMANN, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15857          GIRARDI & KEESE

LEHMANN, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10962          NACHAWATI LAW GROUP

LEHN, ELLISSA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

LEHN, ELLISSA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

LEHN, ELLISSA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

LEHN, ELLISSA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

LEHNHOFF-MCCRAY, ROBIN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LEHNHOFF-MCCRAY, ROBIN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LEHNHOFF-MCCRAY, ROBIN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEHR, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09100          SIMMONS HANLY CONROY

LEICHLITER, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06907          ONDERLAW, LLC



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               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

LEIER, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16306          ONDERLAW, LLC

LEIGH, JANIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12907          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEIGH, NELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06799          NAPOLI SHKOLNIK, PLLC

LEIGH, RACHEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12001          NACHAWATI LAW GROUP

LEIGHTON, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15009          BERMAN & SIMMONS, P. A.

LEIGHTON, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20454          ASHCRAFT & GEREL, LLP

LEIKNESS, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14705          LENZE LAWYERS, PLC

LEIKNESS, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14705          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEINEN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03433          CLIFFORD LAW OFFICES, P.C.

LEIRER, GAYLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05889          ONDERLAW, LLC

LEISCHNER, SHERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00659          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEISTLER, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03672          BERNSTEIN LIEBHARD LLP

LEISURE, EVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14868          LENZE LAWYERS, PLC

LEISURE, EVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14868          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEITNER, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06976          THE SIMON LAW FIRM, PC

LEITZMAN, VERNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05730          WILLIAMS HART LAW FIRM

LEJARDE, ROSARITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09622          ONDERLAW, LLC

LEJEUNE, LANORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20321          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEMANOWICH, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16692          WAGSTAFF & CARTMELL, LLP

LEMASTER, CHRISTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13419          POTTS LAW FIRM

LEMASTER, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08477          SIMMONS HANLY CONROY

LEMASTER, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01362          ONDERLAW, LLC
LEMEAR,GORDON EST OF PHILLIP
                                  IL - CIRCUIT COURT - MADISON COUNTY          20-L-0024              FLINT LAW FIRM LLC
LAMEAR
LEMELIN, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09256          ONDERLAW, LLC

LEMELIN, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09256          ONDERLAW, LLC

LEMELIN, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09256          ONDERLAW, LLC

LEMELLE, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10203          GORI JULIAN & ASSOCIATES, P.C.

LEMELLE, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09088          ARNOLD & ITKIN LLP

LEMIEUX, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17667          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

LEMIRE, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11472          THE MILLER FIRM, LLC

LEMIRE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08577          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEMKE, JANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18182          NACHAWATI LAW GROUP

LEMMONS, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14942          ONDERLAW, LLC

LEMON, GABRIELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13770          ONDERLAW, LLC



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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

LEMON, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07861          WILLIAMS HART LAW FIRM

LEMONS, BOBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05738          WILLIAMS HART LAW FIRM

LEMONS, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06901          ASHCRAFT & GEREL, LLP

LEMOTTE, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03737          WILLIAMS HART LAW FIRM

LEMOX, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05877          ONDERLAW, LLC

LEMUS, LETICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19294          NACHAWATI LAW GROUP

LENGELE, CINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11319          HART MCLAUGHLIN & ELDRIDGE

LENK, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09915          ONDERLAW, LLC

LENNON, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01803          DRISCOLL FIRM, P.C.

LENOCI, NANCI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12300          DIAZ LAW FIRM, PLLC

LENON, DARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03762          JOHNSON LAW GROUP

LENORT, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12222          POTTS LAW FIRM

LENS, AURELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10590          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LENT, JILL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16373          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LENTINE, PATRICIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002908-21        WEITZ & LUXENBERG

LENTINE, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09026          ONDERLAW, LLC

LENTZ, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00027          THE SEGAL LAW FIRM

LEO, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07798          ROSS FELLER CASEY, LLP

LEON, GUADALUPE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02353          DAVIS, BETHUNE & JONES, L.L.C.

LEON, KARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06991          THE SIMON LAW FIRM, PC

LEON, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18264          NACHAWATI LAW GROUP

LEON, MIGDALIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

LEONARD, BARBARA                 FL - CIRCUIT COURT - BROWARD COUNTY          CACE-20-021156         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEONARD, BARBARA                 FL - CIRCUIT COURT - BROWARD COUNTY          CACE-20-021156         KELLEY UUSTAL, PLC

LEONARD, JACKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09731          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEONARD, JAMES                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LEONARD, LATANYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01983          FLETCHER V. TRAMMELL

LEONARD, LATANYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05277          ONDERLAW, LLC

LEONARD, LAUREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14824          ONDERLAW, LLC

LEONARD, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18625          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEONARD, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07417          DALIMONTE RUEB, LLP

LEONARD, LOUVINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02832          DUGAN LAW FIRM, PLC

LEONARD, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09970          HOLLAND LAW FIRM




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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

LEONARD, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20941          WEXLER WALLACE LLP

LEONARD, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06131          ALLAN BERGER AND ASSOCIATES

LEONARD, SHARONETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01796          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LEONARDI, RANDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13133          DRISCOLL FIRM, P.C.

LEONBERGER, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08105          JASON J. JOY & ASSCIATES P.L.L.C.

LEONE, ROSEMARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09451          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEON-TABOADA, MIGDALIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08809          DAVIS, BETHUNE & JONES, L.L.C.

LEOPARD, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10938          NACHAWATI LAW GROUP

LEPE, MARGARITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09160          HOLLAND LAW FIRM

LEPIN, LINDSEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03803          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LEPKOWSKI, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05596          LEVIN SIMES LLP

LEPORE, GALE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20575          CELLINO & BARNES, P.C.

LEPORIS, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08173          ONDERLAW, LLC

LEPPER, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13540          ONDERLAW, LLC

LEPPIG, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02516          MOTLEY RICE, LLC

LERMA, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09968          DALIMONTE RUEB, LLP

LERMA, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10879          ARNOLD & ITKIN LLP

LERNER, ELISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03427          ONDERLAW, LLC

LEROY, MARLENE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000842-20        GOLOMB SPIRT GRUNFELD PC

LEROY, MARLENE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001134-21        JOHNSON LAW GROUP

LESAGE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13093          NAPOLI SHKOLNIK, PLLC

LESCAILLE, MERCEDES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01523          ONDERLAW, LLC

LESEBERG, LUCINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13675          DRISCOLL FIRM, P.C.

LESHER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08129          ONDERLAW, LLC

LESHINE, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13022          MORRIS BART & ASSOCIATES

LESKO, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01844          THE MILLER FIRM, LLC

LESLEY, NATARSHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18115          WEITZ & LUXENBERG

LESLIE HARF                       FEDERAL - MDL                                3:21-CV-19062          MOTLEY RICE, LLC

LESLIE WARNER                     FEDERAL - MDL                                3:21-CV-16733          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LESLIE, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00790          JOHNSON LAW GROUP

LESLIE, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03195          THE MILLER FIRM, LLC

LESLIE, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06265          DALIMONTE RUEB, LLP

LESLIE, ETHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00954          MORRIS BART & ASSOCIATES

LESLIE, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14047          ONDERLAW, LLC



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LESLIE, KATRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05317          ONDERLAW, LLC

LESMEISTER, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04961          FLETCHER V. TRAMMELL

LESNIAK, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12563          ASHCRAFT & GEREL, LLP

LESNIAK, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12563          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LESTER, ADIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12879          FLETCHER V. TRAMMELL

LESTER, ANITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

LESTER, ANITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

LESTER, ANITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

LESTER, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11085          NACHAWATI LAW GROUP

LESTER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03037          REICH & BINSTOCK, LLP

LESTER, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01518          ONDERLAW, LLC

LESTER, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09874          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

LESTER, JEWELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05483          ONDERLAW, LLC

LESTER, LORRAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18271          NACHAWATI LAW GROUP

LESTER, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12563          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LESTER, PATRYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02875          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LESTER, RENEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18545          ARNOLD & ITKIN LLP

LESTER, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03419          NACHAWATI LAW GROUP

LESTER, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LESTER, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LESTER, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16109          ONDERLAW, LLC

LESTER, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LESURE, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11240          CELLINO & BARNES, P.C.

LETHCOE, AUDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07841          ASHCRAFT & GEREL

LETHCOE, AUDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07841          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LETKE, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00244          CELLINO & BARNES, P.C.

LETO, PATSY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06458          ONDERLAW, LLC

LETOURNEAUT, MAGDALENA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11330          HART MCLAUGHLIN & ELDRIDGE

LETT, AMBER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17882          ONDERLAW, LLC

LETT, KATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09693          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LETTIRE, MICHELE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15474          ASHCRAFT & GEREL, LLP

LETTIRE, MICHELE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15474          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LETTMAN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16142          NACHAWATI LAW GROUP

LEU, CORY                         IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC



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              Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

LEVAN, MYRNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11627          NACHAWATI LAW GROUP

LEVANDO, VERA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14703          WILLIAMS HART LAW FIRM

LEVARI, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19282          NACHAWATI LAW GROUP

LEVARIO, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11528          NACHAWATI LAW GROUP

LEVAY, TERI                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18276          NACHAWATI LAW GROUP

LEVENBURG, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12650          MORGAN & MORGAN

LEVENSON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09278          ONDERLAW, LLC

LEVENTIS, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12494          FLETCHER V. TRAMMELL

LEVEQUE, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07483          ONDERLAW, LLC

LEVERCOM, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15742          ONDERLAW, LLC

LEVERETT, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11542          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEVERING, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19573          ASHCRAFT & GEREL, LLP

LEVERING, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19573          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEVERING, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19573          ONDERLAW, LLC

LEVI, JONIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00213          ONDERLAW, LLC

LEVIN, LOIS                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05386          KLINE & SPECTER, P.C.
                                    PA - COURT OF COMMON PLEAS - PHILADELPHIA
LEVINE, ANDREA                                                                   211100114              SALTZ, MONGELUZZI & BENDESKY, P.C.
                                    COUNTY
LEVINE, ANNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12884          DALIMONTE RUEB, LLP

LEVINE, JOANNA                      NY - SUPREME COURT - NYCAL                   190251/2020            MAUNE RAICHLE HARTLEY FRENCH & MUDD

LEVINE, JOANNA AND SPAHR, TIMOTHY   NY - SUPREME COURT - NYCAL                   190251/2020            LEVY KONIGSBERG LLP

LEVINE, SALLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06250          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEVINS-COMER, AULANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09167          MORELLI LAW FIRM, PLLC

LEVITT, MARY                        BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230666         PRESZLER LAW FIRM LLP

LEVOYER, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10103          WILLIAMS HART LAW FIRM

LEVULIS, LORREE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10061          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEVY, BEAULAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20558          FLETCHER V. TRAMMELL

LEVY, CAROL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12654          ONDERLAW, LLC

LEVY, DOROTHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06302          ONDERLAW, LLC

LEVY, GERALD                        NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-007671-20        WEITZ & LUXENBERG

LEVY, INA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18244          NAPOLI SHKOLNIK, PLLC

LEVY, JEARLEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13839          JOHNSON LAW GROUP

LEVY, MIRIAM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14029          DALIMONTE RUEB, LLP

LEVY, PAM                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18967          LEVIN SIMES ABRAMS LLP

LEVY, SHEILA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15129          ASHCRAFT & GEREL



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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

LEVY, SHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15129          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEW, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07345          ONDERLAW, LLC

LEWALLEN, MACHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12854          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEWANDOWSKI, DEBORAH              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002238-20        GOLOMB & HONIK, P.C.

LEWANDOWSKI, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06091          NACHAWATI LAW GROUP

LEWANDOWSKI, LOUISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18342          MOTLEY RICE, LLC

LEWIN, COLLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18694          FLETCHER V. TRAMMELL

LEWINSKI, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12237          ONDERLAW, LLC

LEWIS, ANDREA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01556          ONDERLAW, LLC

LEWIS, ANGELA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-426-18           ROSS FELLER CASEY, LLP

LEWIS, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09270          BURNS CHAREST LLP

LEWIS, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09270          BURNS CHAREST LLP

LEWIS, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20333          ONDERLAW, LLC

LEWIS, ANNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00697          THE MILLER FIRM, LLC

LEWIS, ANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15154          ASHCRAFT & GEREL

LEWIS, ANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15154          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13815          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18296          JOHNSON LAW GROUP

LEWIS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09557          MORELLI LAW FIRM, PLLC

LEWIS, BERLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03122          ONDERLAW, LLC

LEWIS, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00098          CHAPPELL, SMITH & ARDEN, P.A.

LEWIS, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06804          NAPOLI SHKOLNIK, PLLC

LEWIS, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08144          ONDERLAW, LLC

LEWIS, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18626          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEWIS, BRIDGET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15001          JASON J. JOY & ASSCIATES P.L.L.C.

LEWIS, BRITTANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20432          DRISCOLL FIRM, P.C.

LEWIS, CANDACE                    IL - CIRCUIT COURT - MADISON COUNTY          2015L000409            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, CANDACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19005          NACHAWATI LAW GROUP

LEWIS, CANDACE                    IL - CIRCUIT COURT - MADISON COUNTY          2015L000409            ONDERLAW, LLC

LEWIS, CARLA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002957-15        SEEGER WEISS LLP

LEWIS, CARLESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00085          ONDERLAW, LLC

LEWIS, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11007          ONDERLAW, LLC

LEWIS, CARRIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13547          ARNOLD & ITKIN LLP




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LEWIS, CARRIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16385          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEWIS, CHANTEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18350          NACHAWATI LAW GROUP

LEWIS, CHRISTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05746          WILLIAMS HART LAW FIRM

LEWIS, CINDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19922          ARNOLD & ITKIN LLP

LEWIS, CINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03813          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, CRYSTAL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003286-20        COHEN, PLACITELLA & ROTH

LEWIS, CRYSTAL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003286-20        FLETCHER V. TRAMMELL

LEWIS, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03307          ASHCRAFT & GEREL

LEWIS, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03307          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10699          NACHAWATI LAW GROUP

LEWIS, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12064          LAW OFFICES OF JAMES SCOTT FARRIN

LEWIS, DARNICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14800          LENZE LAWYERS, PLC

LEWIS, DARNICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14800          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LEWIS, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09173          DAVIS, BETHUNE & JONES, L.L.C.

LEWIS, DIANA                      GA - STATE COURT OF COWETA COUNTY            19SV0641E              BARNES LAW GROUP, LLC

LEWIS, DIANA                      GA - STATE COURT OF COWETA COUNTY            19SV0641E              CHEELEY LAW GROUP

LEWIS, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10736          NACHAWATI LAW GROUP

LEWIS, DINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08037          ONDERLAW, LLC

LEWIS, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03558          ONDERLAW, LLC

LEWIS, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11941          BURNS CHAREST LLP

LEWIS, E.J.                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LEWIS, EIRLYS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16594          SUMMERS & JOHNSON, P.C.

LEWIS, EMILY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05227          ONDERLAW, LLC

LEWIS, ERNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06702          ONDERLAW, LLC

LEWIS, FIFI                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     21STCV30485            BISNAR AND CHASE

LEWIS, FRANKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18855          NACHAWATI LAW GROUP

LEWIS, FRANKIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-377-15           SEEGER WEISS LLP

LEWIS, GAIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17556          ONDERLAW, LLC

LEWIS, GINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11947          MORELLI LAW FIRM, PLLC

LEWIS, HANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18324          NACHAWATI LAW GROUP

LEWIS, JACKIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, JACKIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

LEWIS, JACKIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

LEWIS, JACKIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC



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                Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LEWIS, JANETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18309          DRISCOLL FIRM, P.C.

LEWIS, JANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15845          THE SEGAL LAW FIRM

LEWIS, JEANETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18891          ROSS FELLER CASEY, LLP

LEWIS, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16983          THE MILLER FIRM, LLC

LEWIS, JONI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12918          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, JOSEPHINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15005          FLETCHER V. TRAMMELL

LEWIS, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09225          MORRIS BART & ASSOCIATES

LEWIS, JULIA                       FL - CIRCUIT COURT - MARION COUNTY           2018CA002282           THE FERRARO LAW FIRM, P.A.

LEWIS, KAISE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18339          NACHAWATI LAW GROUP

LEWIS, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04831          MURRAY LAW FIRM

LEWIS, KARYEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08051          FLETCHER V. TRAMMELL

LEWIS, LAJOYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16892          ONDERLAW, LLC

LEWIS, LAKESIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18281          NACHAWATI LAW GROUP

LEWIS, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18698          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEWIS, LAURA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01719          JOHNSON LAW GROUP

LEWIS, LAURA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

LEWIS, LAURA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

LEWIS, LAURA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

LEWIS, LENA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05955          ONDERLAW, LLC

LEWIS, LETICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03747          ONDERLAW, LLC

LEWIS, LILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06354          THE SIMON LAW FIRM, PC

LEWIS, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01267          NACHAWATI LAW GROUP

LEWIS, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03127          ONDERLAW, LLC

LEWIS, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17858          THE MILLER FIRM, LLC

LEWIS, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00071          ASHCRAFT & GEREL

LEWIS, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00071          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, MARIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11722          NACHAWATI LAW GROUP

LEWIS, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20326          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15029          NACHAWATI LAW GROUP

LEWIS, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09532          SANDERS VIENER GROSSMAN, LLP

LEWIS, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16427          ARNOLD & ITKIN LLP

LEWIS, MERICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20031          NACHAWATI LAW GROUP




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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

LEWIS, MISSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02762          THE SEGAL LAW FIRM

LEWIS, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20032          NACHAWATI LAW GROUP

LEWIS, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18317          NACHAWATI LAW GROUP

LEWIS, MONIQUE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00588          JASON J. JOY & ASSCIATES P.L.L.C.

LEWIS, MONIQUE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00588          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

LEWIS, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00269          COHEN & MALAD, LLP

LEWIS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05912          ONDERLAW, LLC

LEWIS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06729          THE SIMON LAW FIRM, PC

LEWIS, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09260          MORRIS BART & ASSOCIATES

LEWIS, RAMONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17677          ONDERLAW, LLC

LEWIS, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16252          NACHAWATI LAW GROUP

LEWIS, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11858          ARNOLD & ITKIN LLP

LEWIS, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11008          NACHAWATI LAW GROUP

LEWIS, SAUNDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08001          THE DUGAN LAW FIRM, APLC

LEWIS, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06637          ARNOLD & ITKIN LLP

LEWIS, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10731          THE BENTON LAW FIRM, PLLC

LEWIS, STACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00107          CHAPPELL, SMITH & ARDEN, P.A.

LEWIS, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19140          ONDERLAW, LLC

LEWIS, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16621          THE MILLER FIRM, LLC

LEWIS, TAMMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19950          FLETCHER V. TRAMMELL

LEWIS, TAMMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12029          ONDERLAW, LLC

LEWIS, TERRI                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02734          ASHCRAFT & GEREL, LLP

LEWIS, TERRI                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02734          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10635          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, URACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03468          ONDERLAW, LLC

LEWIS, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17818          ONDERLAW, LLC

LEWIS, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS, VIVIAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2232-17          GOLOMB SPIRT GRUNFELD PC

LEWIS, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          ONDERLAW, LLC

LEWIS, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          PORTER & MALOUF, PA

LEWIS, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          THE SMITH LAW FIRM, PLLC

LEWIS, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LEWIS, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LEWIS, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LEWIS, YVETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00200          ASHCRAFT & GEREL

LEWIS, YVETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00200          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LEWIS-GOMEZ, NANNELL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18365          NACHAWATI LAW GROUP

LEWIS-GOMEZ, NANNELL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04360          ONDERLAW, LLC

LEWIS-HORN, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14642          NAPOLI SHKOLNIK, PLLC

LEWIS-JONES, SONIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13836          ONDERLAW, LLC

LEYBIKHINA, IRINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11077          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

LEYRER, MEREDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15391          ONDERLAW, LLC

LEYVAS, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10819          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LEZAMA, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19574          NACHAWATI LAW GROUP

LHOTA, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIANI, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13338          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LIANZO, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18705          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LIBERATORE, FORTUNATA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18861          MOTLEY RICE, LLC

LIBERSTON, CAREN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2718-17          GOLOMB SPIRT GRUNFELD PC

LIBERT, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06795          ONDERLAW, LLC

LIBMAN, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12921          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LICH, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01198          DRISCOLL FIRM, P.C.

LICHENSTEIN, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05907          ONDERLAW, LLC

LICHTENFELS, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12365          ASHCRAFT & GEREL

LICHTENFELS, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12365          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LICHTENWALNER, LORI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11522          NACHAWATI LAW GROUP

LICHTIG, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03384          KLINE & SPECTER, P.C.

LICKTEIG, GWENDOLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11023          ONDERLAW, LLC

LICKTEIG, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07419          ONDERLAW, LLC

LICON, DORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02263          MOTLEY RICE, LLC

LIDDELL, MYRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10877          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LIDDELL, SYLVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09695          GORI JULIAN & ASSOCIATES, P.C.

LIDDIL, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIDDIL, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

LIDDIL, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

LIDDIL, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

LIDDIL, RITA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

LIDDLE, LEEANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17451          KIRTLAND & PACKARD, LLP



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LIDDLE, MARYANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16388          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LIDYOFF, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06350          ONDERLAW, LLC

LIEBEL, CATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09507          ONDERLAW, LLC

LIEBERMAN, ADRIENNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13498          ONDERLAW, LLC

LIEBERMAN, ASTRID                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06809          NAPOLI SHKOLNIK, PLLC

LIEBERMAN, MARCIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08870          ONDERLAW, LLC

LIECHTY, JOAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002301-20        GOLOMB & HONIK, P.C.

LIENHART, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11063          NACHAWATI LAW GROUP

LIEURANCE, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09024          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIEVANOS, MARIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

LIEVANOS, MARIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

LIEVANOS, MARIA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

LIGGETT, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11347          ARNOLD & ITKIN LLP

LIGGETT, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16095          NACHAWATI LAW GROUP

LIGGETT, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11240          BURNS CHAREST LLP

LIGGETT, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11240          BURNS CHAREST LLP

LIGGINS, TIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09784          ARNOLD & ITKIN LLP

LIGHT, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15271          JOHNSON LAW GROUP

LIGHT, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01436          ONDERLAW, LLC

LIGHT, ELAINE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIGHT, ELAINE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

LIGHT, ELAINE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

LIGHT, ELAINE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

LIGHT, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14456          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LIGHT, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10065          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIGHT, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19603          NACHAWATI LAW GROUP

LIGHTCAP-MILLER, EILEEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08017          ONDERLAW, LLC

LIGHTFOOT, BRANDY                 LA - DISTRICT COURT - ORLEANS PARISH         2017-7443              POURCIAU LAW FIRM, LLC

LIGHTFOOT, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20333          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIGHTSEY, DONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12332          ONDERLAW, LLC

LIGHTWINE, COLLEEN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002122-20        GOLOMB & HONIK, P.C.

LIGNEY, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LIGNEY, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LIGNEY, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09558          MORELLI LAW FIRM, PLLC



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LIGNEY, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LIGON, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15690          NACHAWATI LAW GROUP

LIHANI, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02073          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIKA, MEVLUDE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09075          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LILES, BRANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05788          ONDERLAW, LLC

LILEY, JACQUELINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002239-20        GOLOMB & HONIK, P.C.

LILIANA KIRSHNER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18780          MOTLEY RICE, LLC

LILL, EVANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17845          ASHCRAFT & GEREL, LLP

LILL, EVANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17845          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LILLARD, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12213          ONDERLAW, LLC

LILLEOIEN, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01780          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LILLIAM DELGUIDICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18262          ONDERLAW, LLC

LILLIE BROWN                      FEDERAL - MDL                                3:21-CV-19171          ONDERLAW, LLC

LILLIE, LAMEQUE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01189          ASHCRAFT & GEREL

LILLIE, LAMEQUE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01189          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LILLIS, CONSTANCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20610          BARON & BUDD, P.C.

LILLY, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22160          DRISCOLL FIRM, P.C.

LILLY, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10617          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LILLY, SHAUNDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09079          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIM, ARWANI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12711          BARON & BUDD, P.C.

LIMA, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18374          NACHAWATI LAW GROUP

LIMING, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15514          ARNOLD & ITKIN LLP

LIN, CHIN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18248          THE SEGAL LAW FIRM

LINARES, MAGDALENA                CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321196             THE MILLER FIRM, LLC

LINCECUM, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11046          JOHNSON BECKER, PLLC

LINCOLN, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20417          DIAZ LAW FIRM, PLLC

LINCOLN, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08533          GORI JULIAN & ASSOCIATES, P.C.

LINCOLN, LANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10868          NACHAWATI LAW GROUP

LIND, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13491          ONDERLAW, LLC

LIND, ROBERTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01839          CORRIE YACKULIC LAW FIRM, PLLC

LINDA AMERKANIAN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002332-21        SLATER, SLATER, SCHULMAN, LLP

LINDA CARNEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18016          THE MILLER FIRM, LLC

LINDA DUNLOP                      FEDERAL - MDL                                3:21-CV-18659          FLETCHER V. TRAMMELL

LINDA EASTBURG                    FEDERAL - MDL                                3:21-CV-19528          ONDERLAW, LLC



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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LINDA FROMAN                   FEDERAL - MDL                                3:21-CV-17156          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINDA LESMEISTER               FEDERAL - MDL                                3:21-CV-18734          FLETCHER V. TRAMMELL

LINDA MURRAY-DAVIES            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18111          WEITZ & LUXENBERG

LINDA PERDOMO                  FEDERAL - MDL                                3:21-CV-19802          ONDERLAW, LLC

LINDA RAY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15703          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LINDA SCHUETZ                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15704          LENZE LAWYERS, PLC

LINDA SCHUETZ                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15704          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LINDA SCHWARTZ                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15705          LENZE LAWYERS, PLC

LINDA SCHWARTZ                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15705          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LINDA SIMPSON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15709          LENZE LAWYERS, PLC

LINDA SIMPSON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15709          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LINDA STANLEY                  FEDERAL - MDL                                3:21-CV-19170          MOTLEY RICE, LLC

LINDA STOKMAN                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02751          ASHCRAFT & GEREL

LINDA STOKMAN                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02751          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINDA WALKER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18305          ONDERLAW, LLC

LINDA WILLMAN                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LINDAHL, CORAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17846          ASHCRAFT & GEREL, LLP

LINDAHL, CORAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17846          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINDAHL, VICKI                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINDAHL, VICKI                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

LINDAHL, VICKI                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

LINDAHL, VICKI                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

LINDAHL, VICKI                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

LINDBERG, CARMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13626          SANDERS PHILLIPS GROSSMAN, LLC

LINDBERG, KATHRYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07818          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINDBLOM, LAURA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16770          ONDERLAW, LLC

LINDE, ANA VANDE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05771          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINDELL, SUELLA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-996-16           GOLOMB SPIRT GRUNFELD PC

LINDEMAN, JOANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18399          NACHAWATI LAW GROUP

LINDER, JEANETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18401          NACHAWATI LAW GROUP

LINDGREN, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04347          ONDERLAW, LLC

LINDGREN, KELLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01170          MOTLEY RICE, LLC

LINDNER, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02246          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LINDQUIST, SUZANNE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINDQUIST, SUZANNE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

LINDQUIST, SUZANNE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

LINDQUIST, SUZANNE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

LINDQUIST, SUZANNE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

LINDSAY, BREEANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05266          ONDERLAW, LLC

LINDSAY, FLOSSIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08185          FLETCHER V. TRAMMELL

LINDSAY, KATIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10258          DRISCOLL FIRM, P.C.

LINDSAY, LARAYNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09672          ONDERLAW, LLC

LINDSAY, SHELLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09969          MEDLEY LAW GROUP

LINDSAY, SHELLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09969          TALMADGE BRADDOCK

LINDSEY, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05863          ONDERLAW, LLC

LINDSEY, CHARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08658          JOHNSON LAW GROUP

LINDSEY, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09458          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINDSEY, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10424          NACHAWATI LAW GROUP

LINDSEY, KIARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18406          NACHAWATI LAW GROUP

LINDSEY, KRIS                  NJ - USDC - EASTERN DISTRICT OF MISSOURI     4:21-CV00374           FLINT LAW FIRM LLC

LINDSEY, LILLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04947          FLETCHER V. TRAMMELL

LINDSEY, LYDIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09366          ONDERLAW, LLC

LINDSEY, MARIBEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00820          ONDERLAW, LLC

LINDSEY, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16976          ASHCRAFT & GEREL

LINDSEY, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16976          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINDSEY, MELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14623          FLETCHER V. TRAMMELL

LINDSEY, OLIF                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17591          ONDERLAW, LLC

LINDSEY, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18403          NACHAWATI LAW GROUP

LINDSTROM, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12584          DIAMOND LAW

LINDSTROM, MARIANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15462          ONDERLAW, LLC

LINDTNER, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21432          PARKER WAICHMAN, LLP

LINDY, TAMMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09135          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINFIELD, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05036          POTTS LAW FIRM

LINGARD, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21189          CELLINO & BARNES, P.C.

LINGEN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15476          ASHCRAFT & GEREL, LLP

LINGEN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15476          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINGNER, ONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16197          ONDERLAW, LLC



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LINHORST, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14207          NAPOLI SHKOLNIK, PLLC

LINHORST, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-14207             NAPOLI SHKOLNIK, PLLC

LINICOMN, VERTENIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

LINICOMN, VERTENIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

LINICOMN, VERTENIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

LINK, BEVERLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18803          ARNOLD & ITKIN LLP

LINK, GLENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10969          ASHCRAFT & GEREL, LLP

LINN, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10613          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINN, JOANN                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003051-18        WILENTZ, GOLDMAN & SPITZER, P.A.

LINN, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14618          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LINNE, ALEXIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04065          ONDERLAW, LLC

LINSCOMB, COURTNEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08096          FLETCHER V. TRAMMELL

LINSEY, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10382          NACHAWATI LAW GROUP

LINSEY, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04907          THE MILLER FIRM, LLC

LINSEY, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06795          THE SIMON LAW FIRM, PC

LINTON, JONI                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002468-20        GOLOMB & HONIK, P.C.

LINTZ, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18410          NACHAWATI LAW GROUP

LINTZENICH, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13616          THE MILLER FIRM, LLC

LINVILLE, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18898          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIPCOMB, MADDONNA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

LIPCOMB, MADDONNA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

LIPCOMB, MADDONNA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

LIPCOMB, MADDONNA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

LIPDSKI, MAGDALENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18414          NACHAWATI LAW GROUP

LIPFORD, BEATRICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22049          DRISCOLL FIRM, P.C.

LIPKE, GEORGIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11398          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LIPMAN, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIPMAN, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

LIPMAN, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

LIPMAN, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

LIPPINCOTT, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15956          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LIPPOLT, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16791          MORGAN & MORGAN

LIPPS, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10091          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIPPS, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18917          CELLINO & BARNES, P.C.



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               Claimant Name                          State Filed                       Docket Number                               Plaintiff Counsel

LIPSCOMB, MINNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21544             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIPSEY, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16846             THE MILLER FIRM, LLC

LIPTON, DIANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03797             WALKER, HAMILTON & KOENIG, LLP

LIRANZO, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18390             FLETCHER V. TRAMMELL

LISA AYERS-ZIEGLER                  FEDERAL - MDL                                3:21-CV-19152             ASHCRAFT & GEREL

LISA BOWLING                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15714             LENZE LAWYERS, PLC

LISA BOWLING                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15714             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LISA GARCIA                         FEDERAL - MDL                                3:21-CV-17119             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LISA GRANDE                         IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                 NAPOLI SHKOLNIK, PLLC

LISA GREEN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18457             WEITZ & LUXENBERG

LISA HAYES                          FEDERAL - MDL                                3:21-CV-19455             LINVILLE LAW GROUP

LISA HOLIC                          FEDERAL - MDL                                3:21-CV-19709             JOHNSON BECKER, PLLC

LISA LEA HUMPICHROBERT TAYLOR SR.   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                 NAPOLI SHKOLNIK, PLLC
LISA LYNN HOWARD, TRUSTEE FOR THE
                                    ONTARIO (TORONTO)                            CV-22-00679128-0000       PRESZLER INJURY LAWYERS
ESTATE OF MARY ANNE BROOKS,
LISA MILLS                          FEDERAL - MDL                                3:21-CV-19695             ONDERLAW, LLC

LISA MONGELLI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18532             ONDERLAW, LLC

LISA PIGNATIELLO                    FEDERAL - MDL                                3:21-CV-19700             JOHNSON BECKER, PLLC

LISA RASH                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18357             ONDERLAW, LLC

LISA WANG                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15721             LENZE LAWYERS, PLC

LISA WANG                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15721             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LISA YOCOM                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15719             LENZE LAWYERS, PLC

LISA YOCOM                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15719             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LISAK, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13632             NACHAWATI LAW GROUP

LISENBY, NITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11221             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LISH, DENISE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06132             THE ENTREKIN LAW FIRM

LISKEY, SHERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16135             ASHCRAFT & GEREL, LLP

LISKEY, SHERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16135             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LISLE, LORRAINE                     CA - SUPERIOR COURT - VENTURA COUNTY         56-2018-00513949-CU-PL-VTA ASHCRAFT & GEREL

LISLE, LORRAINE                     CA - SUPERIOR COURT - VENTURA COUNTY         56-2018-00513949-CU-PL-VTA ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LISS, VICKIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18423             NACHAWATI LAW GROUP

LISSIMORE, ANTOINETTE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003333-21           WEITZ & LUXENBERG

LISSIMORE, YOLANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08381             ONDERLAW, LLC

LISTENGART, JANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20729             CELLINO & BARNES, P.C.

LISTER, BERTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06561             ONDERLAW, LLC



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LISTON, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14532          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LISTON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14590          ANDRUS WAGSTAFF, P.C.

LITSON, SARAH                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LITSON, SARAH                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

LITSON, SARAH                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

LITSON, SARAH                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

LITSON, SARAH                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

LITTLE, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11501          NACHAWATI LAW GROUP

LITTLE, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01145          GORI JULIAN & ASSOCIATES, P.C.

LITTLE, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21140          NACHAWATI LAW GROUP

LITTLE, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09460          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LITTLE, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08380          BARRETT LAW GROUP



LITTLE, DERVIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11264          NACHAWATI LAW GROUP


LITTLE, ERMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02155          WATERS & KRAUS, LLP

LITTLE, GAYLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01614          GOZA & HONNOLD, LLC

LITTLE, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22183          DRISCOLL FIRM, P.C.

LITTLE, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19576          ONDERLAW, LLC

LITTLE, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03004          JOHNSON LAW GROUP

LITTLE, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17311          FLETCHER V. TRAMMELL

LITTLE, NELLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19349          ONDERLAW, LLC

LITTLE, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10361          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LITTLE, VALISIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07530          ASHCRAFT & GEREL, LLP

LITTLE, VALISIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07530          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LITTLEBIRD, CHLORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17443          THE MILLER FIRM, LLC

LITTLEJOHN, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11094          ONDERLAW, LLC

LITTLEJOHN, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14356          FRAZER PLC

LITTLEJOHN, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19409          SEEGER WEISS LLP

LITTLETON, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01073          NAPOLI SHKOLNIK, PLLC

LITTLETON, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03345          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LITTLJOHN, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18536          NACHAWATI LAW GROUP

LITVIN, EILEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03000          CELLINO & BARNES, P.C.



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LITZKOW, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19672          ONDERLAW, LLC

LIU, TANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20563          PARKER WAICHMAN, LLP

LIVAUDAIS, SHARON                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIVAUDAIS, SHARON                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

LIVAUDAIS, SHARON                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

LIVAUDAIS, SHARON                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

LIVELY, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08093          DUGAN LAW FIRM, PLC

LIVELY, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09556          FLETCHER V. TRAMMELL

LIVENGOOD, BETSY BELL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17202          THE MILLER FIRM, LLC

LIVESAY, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10234          ONDERLAW, LLC

LIVESEY, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17318          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIVINGSTON, ARCOLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20156          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIVINGSTON, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03308          ASHCRAFT & GEREL

LIVINGSTON, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIVINGSTON, JULIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13573          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LIVINGSTON, KATHRYN              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV332884             KIESEL LAW, LLP

LIVINGSTON, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12065          THE CRONE LAW FIRM, PLC

LIVINGSTON, SANDRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LIVINGSTON, SANDRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

LIVINGSTON, SANDRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

LIVINGSTON, SANDRA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

LIZAOLA, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10134          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LLANES, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11806          BLIZZARD & NABERS, LLP

LLINAS, ROSEMARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01731          DALIMONTE RUEB, LLP

LLORIN, LENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LLORIN, LENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LLORIN, LENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LLOYD, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12926          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LLOYD, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01692          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LLOYD, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02243          JOHNSON LAW GROUP

LLOYD, JEANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18429          NACHAWATI LAW GROUP

LLOYD, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01203          ONDERLAW, LLC

LLOYD, KELLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07630          ASHCRAFT & GEREL, LLP

LLOYD, MARCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17086          THE CUFFIE LAW FIRM



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           Claimant Name                          State Filed                       Docket Number                              Plaintiff Counsel

LLOYD, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09453          KLINE & SPECTER, P.C.

LLOYD, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15692          NACHAWATI LAW GROUP

LLOYD, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19946          NACHAWATI LAW GROUP

LLOYD-LEE, BELINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01555          ONDERLAW, LLC

LOADER, JANET LEE CHAMBERS      ONTARIO (TORONTO)                            CV-22-00678642-0000    PRESZLER INJURY LAWYERS

LOAFMAN, JANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11013          THE CARLSON LAW FIRM

LOBATO, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16501          JOHNSON LAW GROUP

LOBDELL, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08938          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

LOBIANCO, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06974          THE SIMON LAW FIRM, PC

LOCICERO, ANNE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002704-20        GOLOMB & HONIK, P.C.

LOCK, JUDITH                    NY - SUPREME COURT - NYCAL                   190223/2019            WEITZ & LUXENBERG

LOCKARD, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09881          WAGSTAFF & CARTMELL, LLP

LOCKARD, JOHNNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15326          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOCKE, ASHLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOCKE, ASHLEY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2253-17          GOLOMB SPIRT GRUNFELD PC

LOCKE, ASHLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          ONDERLAW, LLC

LOCKE, ASHLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          PORTER & MALOUF, PA

LOCKE, ASHLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929          THE SMITH LAW FIRM, PLLC

LOCKE, DANIELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11399          NACHAWATI LAW GROUP

LOCKE, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13539          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOCKE, LINDA KLAUS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02325          ONDERLAW, LLC

LOCKE, PAULETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06568          LAW OFFICES OF SEAN M. CLEARY

LOCKE, TAMMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09696          ONDERLAW, LLC

LOCKETT, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05686          ONDERLAW, LLC

LOCKHART, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06430          NAPOLI SHKOLNIK, PLLC

LOCKHART, BETSY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09263          ONDERLAW, LLC

LOCKHART, BRANDI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04644          ONDERLAW, LLC

LOCKHART, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20337          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOCKLEAR, BERNICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10660          GOLOMB SPIRT GRUNFELD PC

LOCKLEAR, GEROLDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09094          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOCKLEAR, ROSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18445          NACHAWATI LAW GROUP

LOCKLEAR, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00602          GOLOMB SPIRT GRUNFELD PC

LOCKLIN, TERRIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05874          ONDERLAW, LLC




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LOCKWOOD, CHRISTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00109          FLETCHER V. TRAMMELL

LOCKWOOD, SAMANTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16377          JOHNSON LAW GROUP

LOCKWOOD, VICKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17435          THE SEGAL LAW FIRM

LOCONTE, BARBARANN                NY - SUPREME COURT - NYCAL                   190289/2020            WEITZ & LUXENBERG

LODAHL, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08539          TORHOERMAN LAW LLC

LODGE, JOAN EST LODGE, EDWARD     IL - CIRCUIT COURT - MADISON COUNTY          20-L-0031              SWMW LAW, LLC

LODGE, LOTTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09099          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LODHI, BEBEM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01417          ONDERLAW, LLC

LODOVICO, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17847          ASHCRAFT & GEREL, LLP

LODOVICO, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17847          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOE, TERRY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOE, TERRY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

LOE, TERRY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

LOE, TERRY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

LOE, TERRY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

LOEHR, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08900          SANDERS VIENER GROSSMAN, LLP

LOFGREN, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12274          ONDERLAW, LLC

LOFLAND, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00890          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LOFLIN, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10036          ONDERLAW, LLC

LOFQUIST, KELLY                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC697959               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LOFTON, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07460          ASHCRAFT & GEREL

LOFTON, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07460          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOFTON, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05146          ONDERLAW, LLC

LOFTON, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09428          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOFTUS, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10880          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LOFTUS, THERESE                   IL - CIRCUIT COURT - COOK COUNTY             2020-L-4094            SALVI, SCHOSTOK & PRITCHARD P.C.

LOFTUS, THERESE                   IL - CIRCUIT COURT - COOK COUNTY             2020-L-4094            SANDERS PHILLIPS GROSSMAN, LLC

LOGAN, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12684          NAPOLI SHKOLNIK, PLLC

LOGAN, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07100          BURNS CHAREST LLP

LOGAN, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07100          BURNS CHAREST LLP

LOGAN, JESSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16020          NACHAWATI LAW GROUP

LOGAN, MARIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15441          BOURDETTE & PARTNERS

LOGAN, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08360          MORELLI LAW FIRM, PLLC

LOGAN, MARTA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09169          ONDERLAW, LLC



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LOGAN, PAULETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11482          BURNS CHAREST LLP

LOGAN, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10864          THE MILLER FIRM, LLC

LOGAN, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10802          THE MILLER FIRM, LLC

LOGAN, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08938          LAW OFF OF ROGER 'ROCKY' WALTON, PC

LOGAN, SHUNTEKA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10612          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOGAN, WYNESTER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09357          GORI JULIAN & ASSOCIATES, P.C.

LOGGAINS, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10524          ONDERLAW, LLC

LOGGIA, RAMONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10111          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOGOZZO, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01873          MOTLEY RICE, LLC

LOGRASSO, CARMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01207          COHEN & MALAD, LLP

LOGRIPPO, MARIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003309-21        WEITZ & LUXENBERG

LOHR, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16974          ASHCRAFT & GEREL

LOHR, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16974          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOHR, LAUREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06110          NAPOLI SHKOLNIK, PLLC

LOHR, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16923          ONDERLAW, LLC

LOHR, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07420          ONDERLAW, LLC

LOHRENZE, PATTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06422          WILLIAMS HART LAW FIRM

LOIS DAPRILE                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02667          ASHCRAFT & GEREL, LLP

LOIS DAPRILE                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02667          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOIS GRAY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18730          JOHNSON LAW GROUP

LOIS MILLER                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02759          ASHCRAFT & GEREL

LOIS MILLER                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02759          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOISELLE, JAZMINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02920          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOKER, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18143          SIMMONS HANLY CONROY

LOKEY, JAMES AND LOKEY, MARIAN   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006594           WEITZ & LUXENBERG

LOLITA SUMPTER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15730          LENZE LAWYERS, PLC

LOLITA SUMPTER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15730          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LOLLAR, LAURAMAE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18088          ARNOLD & ITKIN LLP

LOLLEY, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04710          ONDERLAW, LLC

LOLLIS, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LOLLIS, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LOLLIS, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15252          LENZE LAWYERS, PLC

LOLLIS, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03006          ONDERLAW, LLC




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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

LOLLIS, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOLLIS, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15252          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LOMACK, SUSANNAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10461          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOMAS, MARYHELEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2705-17          KEEFE BARTELS

LOMAS, MARYHELEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2705-17          LAW OFFICE OF GRANT D. AMEY, LLC

LOMBARDI, BERNADETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21584          FLETCHER V. TRAMMELL

LOMBARDI, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07598          ASHCRAFT & GEREL, LLP

LOMBARDI, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07598          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOMBARDI, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18454          NACHAWATI LAW GROUP

LOMBARDI, VALERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11627          THE MILLER FIRM, LLC

LOMBARDO, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14400          CELLINO & BARNES, P.C.

LOMBARDO, KATRINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10113          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOMBARDO, LOUISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10684          ASHCRAFT & GEREL

LOMBARDO, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20711          ONDERLAW, LLC

LOMBARI, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00766          NACHAWATI LAW GROUP

LOMELI, FRANCISCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18254          JOHNSON LAW GROUP

LOMELO, DEBORAH                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002535-21        GOLOMB & HONIK, P.C.

LOMO, NAKESHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20092          ARNOLD & ITKIN LLP

LON, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18623          DRISCOLL FIRM, P.C.

LONDON, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06442          NAPOLI SHKOLNIK, PLLC

LONG, ANTONIQUE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19817          NACHAWATI LAW GROUP

LONG, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10655          NACHAWATI LAW GROUP

LONG, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16586          THE SEGAL LAW FIRM

LONG, CARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03573          CELLINO & BARNES, P.C.

LONG, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13208          DAVIS, BETHUNE & JONES, L.L.C.

LONG, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06073          ONDERLAW, LLC

LONG, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09764          GOLOMB SPIRT GRUNFELD PC

LONG, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07413          DALIMONTE RUEB, LLP

LONG, DEBRAQIRS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10071          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

LONG, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00464          ONDERLAW, LLC

LONG, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18604          THE SEGAL LAW FIRM

LONG, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20939          WEXLER WALLACE LLP

LONG, FRANCINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01716          ONDERLAW, LLC

LONG, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09464          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

LONG, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16881          THE MILLER FIRM, LLC

LONG, JAMIE                      GA - STATE COURT OF GWINNETT COUNTY          18C039942              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LONG, JAMIE                      GA - STATE COURT OF GWINNETT COUNTY          18C039942              CHILDERS, SCHLUETER & SMITH, LLC

LONG, JAMIE                      GA - STATE COURT OF GWINNETT COUNTY          18C039942              ONDERLAW, LLC

LONG, JOANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11819          NACHAWATI LAW GROUP

LONG, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17530          KIESEL LAW, LLP

LONG, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17530          MARTINIAN & ASSOCIATES, INC.

LONG, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17530          THE LAW OFFICES OF HAYTHAM FARAJ

LONG, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12308          ASHCRAFT & GEREL

LONG, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LONG, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21374          EISENBERG, ROTHWEILER, WINKLER

LONG, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18901          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LONG, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11073          PARKER WAICHMAN, LLP

LONG, MARION                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16242          JOHNSON LAW GROUP

LONG, MARLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11330          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LONG, NOBUKO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06435          NAPOLI SHKOLNIK, PLLC

LONG, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05795          ASHCRAFT & GEREL

LONG, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05795          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LONG, RACHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08502          GOLDENBERGLAW, PLLC

LONG, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20341          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LONG, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16257          ONDERLAW, LLC

LONG, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14468          ONDERLAW, LLC

LONG, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12964          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LONG, TRINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LONG, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09742          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LONG, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13783          MOTLEY RICE, LLC

LONGANECKER, MARYLOU             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09206          ONDERLAW, LLC

LONGBERRY, AUTUMN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21439          POTTS LAW FIRM

LONGENECKER, JOELLA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC

LONGFELLOW, ANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09502          NACHAWATI LAW GROUP

LONGLEY, LYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10401          ARNOLD & ITKIN LLP

LONGMIRE, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LONGMIRE, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

LONGMIRE, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA



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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

LONGMIRE, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

LONGMIRE, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17438          JOHNSON LAW GROUP

LONGO, BERNICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02130          NAPOLI SHKOLNIK, PLLC

LONGO, VICTORIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002592-20        GOLOMB & HONIK, P.C.

LONGOBARDI, ROSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11810          GORI JULIAN & ASSOCIATES, P.C.

LONGORIA, ALIMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10072          ONDERLAW, LLC

LONGORIA, ELVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13791          SHAW COWART, LLP
LONGORIA, JACKIE AND LONGORIA,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07866-19AS       WEITZ & LUXENBERG
DANIEL
LONIE, ALICIA                    IL - CIRCUIT COURT - COOK COUNTY             2019L005819            DRISCOLL FIRM, P.C.

LONIGRO, LYNNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09946          ASHCRAFT & GEREL

LONNIE JOYCE                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LOOKINGBILL, FRANCES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOOKINGBILL, FRANCES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          ONDERLAW, LLC

LOOKINGBILL, FRANCES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          PORTER & MALOUF, PA

LOOKINGBILL, FRANCES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          THE SMITH LAW FIRM, PLLC

LOO-LEW, CAROLINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00584          KIESEL LAW, LLP

LOO-LEW, CAROLINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00584          LAW OFFICE OF HAYTHAM FARAJ

LOO-LEW, CAROLINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00584          MARTINIAN & ASSOCIATES, INC.

LOOMIS, DIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04636          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

LOOMIS, SONIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09304          ONDERLAW, LLC

LOONEY, MAUREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01766          ONDERLAW, LLC

LOOPER, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00933          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LOPA, ROSANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01210          ONDERLAW, LLC

LOPATKA, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10729          REICH & BINSTOCK, LLP

LOPATO, ALEA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15862          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOPER, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18490          NACHAWATI LAW GROUP

LOPEZ, ADELITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10117          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOPEZ, ALMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16591          NACHAWATI LAW GROUP

LOPEZ, ALMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16577          NACHAWATI LAW GROUP

LOPEZ, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07203          THE BENTON LAW FIRM, PLLC

LOPEZ, AMELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12387          ONDERLAW, LLC

LOPEZ, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12446          THE MILLER FIRM, LLC

LOPEZ, ARCANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10712          ASHCRAFT & GEREL

LOPEZ, ARCANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10712          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LOPEZ, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOPEZ, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

LOPEZ, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

LOPEZ, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

LOPEZ, BARBARA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

LOPEZ, BERNADETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03642          BARON & BUDD, P.C.

LOPEZ, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19690          SANDERS PHILLIPS GROSSMAN, LLC

LOPEZ, CAROLINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06202          ONDERLAW, LLC

LOPEZ, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15795          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOPEZ, DARLENE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2629-17          KEEFE BARTELS

LOPEZ, DARLENE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2629-17          LAW OFFICE OF GRANT D. AMEY, LLC

LOPEZ, ELISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16389          DALIMONTE RUEB, LLP

LOPEZ, EVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11022          NACHAWATI LAW GROUP

LOPEZ, FLORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02151          ONDERLAW, LLC

LOPEZ, GAYLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16610          WEITZ & LUXENBERG

LOPEZ, GRETA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08283          ONDERLAW, LLC

LOPEZ, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18898          NACHAWATI LAW GROUP

LOPEZ, JANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18504          NACHAWATI LAW GROUP

LOPEZ, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18550          NACHAWATI LAW GROUP

LOPEZ, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01292          ASHCRAFT & GEREL

LOPEZ, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01292          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOPEZ, JOSEFINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19543          ARNOLD & ITKIN LLP

LOPEZ, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09442          FLETCHER V. TRAMMELL

LOPEZ, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07706          ONDERLAW, LLC

LOPEZ, KRIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01956          DIAMOND LAW

LOPEZ, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15903          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LOPEZ, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19752          ONDERLAW, LLC

LOPEZ, LOURDES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09877          ONDERLAW, LLC

LOPEZ, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00539          ONDERLAW, LLC

LOPEZ, MARGEAUX                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03386          MOTLEY RICE, LLC

LOPEZ, MARIA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOPEZ, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11982          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOPEZ, MARIA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LOPEZ, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12942          PAUL LLP

LOPEZ, MARIA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

LOPEZ, MARIA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

LOPEZ, MARITZA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06867          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOPEZ, MARTA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000778-21        GOLOMB & HONIK, P.C.

LOPEZ, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09774          ONDERLAW, LLC

LOPEZ, MILAGROS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06890          ASHCRAFT & GEREL, LLP

LOPEZ, MILAGROS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13345          BURNS CHAREST LLP

LOPEZ, NATASHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05318          ONDERLAW, LLC

LOPEZ, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13686          DEGARIS WRIGHT MCCALL

LOPEZ, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10917          NACHAWATI LAW GROUP

LOPEZ, ROSA                       CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV322211             KIESEL LAW, LLP

LOPEZ, ROSA                       CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV322211             KNIGHT LAW GROUP, LLP

LOPEZ, ROSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06739          THE SIMON LAW FIRM, PC

LOPEZ, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18416          THE MILLER FIRM, LLC

LOPEZ, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14679          ONDERLAW, LLC

LOPEZ, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05934          JOHNSON LAW GROUP

LOPEZ, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07000          ONDERLAW, LLC

LOPEZ, VANESSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08383          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LOPEZ-LUCERO, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07384          FLETCHER V. TRAMMELL

LOPEZ-MONGUIA, SONIA              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC720951               ASHCRAFT & GEREL

LOPEZ-MONGUIA, SONIA              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC720951               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOPEZ-REY, SELENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LOPEZ-REY, SELENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LOPEZ-REY, SELENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOPEZ-RODRIGUEZ, ELIZABETH        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOPEZ-RODRIGUEZ, ELIZABETH        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

LOPEZ-RODRIGUEZ, ELIZABETH        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

LOPEZ-RODRIGUEZ, ELIZABETH        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

LOPOSKY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01202          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOPRESTI, JOANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13984          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

LOQUIST, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05246          TORHOERMAN LAW LLC

LOR, SONIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05171          ONDERLAW, LLC

LORA PARKER                       DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02749          ASHCRAFT & GEREL, LLP



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              Claimant Name                          State Filed                       Docket Number                             Plaintiff Counsel

LORA PARKER                        DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02749          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LORBER, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09470          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LORD, CHRISTINE AND LORD, EDWARD   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02148-19AS       LEVY KONIGSBERG LLP

LORD, CYNTHIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04986          FLETCHER V. TRAMMELL

LORD, DEBORAH                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002945-15        SEEGER WEISS LLP

LORD, JAYNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01196          GORI JULIAN & ASSOCIATES, P.C.

LORD, SHIRLEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02297          ONDERLAW, LLC

LOREDO, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04808          WILLIAMS HART LAW FIRM

LORENA GALLOW                      FEDERAL - MDL                                3:21-CV-19111          BARON & BUDD, P.C.

LORENNA TAYLOR                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15734          LENZE LAWYERS, PLC

LORENNA TAYLOR                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15734          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LORENTZ, CHERYLL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11518          NACHAWATI LAW GROUP

LORENZ, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10904          ONDERLAW, LLC

LORETH, JULIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08126          LEVIN SIMES LLP

LORETTA BOOLUKOS                   FEDERAL - MDL                                3:21-CV-19805          JOHNSON BECKER, PLLC

LORETTA SANDUSKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15739          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LORI BELLIVEAU                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18626          WATERS & KRAUS, LLP

LORI BONHEYO                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15745          LENZE LAWYERS, PLC

LORI BONHEYO                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15745          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LORI BROWN                         FEDERAL - MDL                                3:21-CV-16468          DAVIS, BETHUNE & JONES, L.L.C.

LORI COLTON                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18976          JOHNSON LAW GROUP

LORI GUZIKOWSKI                    FEDERAL - MDL                                3:21-CV-19017          MOTLEY RICE, LLC

LORI SEWELL                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003318-21        WEITZ & LUXENBERG

LORI ZEOLI                         NJ - STATE                                   ATL-L-003372-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

LORRAINE COPERTINO                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LORRIE HOWELL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18809          MOTLEY RICE, LLC

LOS, ROBIN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16246          NACHAWATI LAW GROUP

LOSCHIAVO, DOROTHY                 CA - SUPERIOR COURT - SAN LUIS OBISPO COUNTY 18CVP15                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOSE, STACY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02023          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

LOSER, TONI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17325          NACHAWATI LAW GROUP

LOSEY, HEATHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20458          ASHCRAFT & GEREL, LLP

LOSEY, HEATHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20458          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LOSI, SANDRA                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LOSOYA, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12565          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LOSTOCCO, GERALDINE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001311-21        GOLOMB & HONIK, P.C.

LOSTROH, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15447          WILLIAMS HART LAW FIRM

LOSURE, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12795          MORELLI LAW FIRM, PLLC

LOTHIAN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01365          ONDERLAW, LLC

LOTT, MARCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17326          NACHAWATI LAW GROUP

LOTT, ROBIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13434          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOUANE RAYMOND                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LOUDERBOUGH, ROSAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08342          ONDERLAW, LLC

LOUDERMILK, ETHEL                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LOUDERMILK, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04225          ONDERLAW, LLC

LOUDON, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02128          BURNS CHAREST LLP

LOUDON, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02128          BURNS CHAREST LLP

LOUGH, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08615          ONDERLAW, LLC

LOUGHLIN, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09110          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOUGHRAN, MAUREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21032          TORHOERMAN LAW LLC

LOUGHRAN, REGINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09449          ONDERLAW, LLC

LOUGHREY, BARBARA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00050020              GOLOMB SPIRT GRUNFELD PC

LOUHISDON, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10788          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOUIS, JENELL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11364          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LOUPE, ELSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14546          MORRIS BART & ASSOCIATES

LOUPE, MARGIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11130          BLOCK LAW FIRM, APLC

LOUQUE, SHEILA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003311-21        WEITZ & LUXENBERG

LOUT, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20560          FLETCHER V. TRAMMELL

LOUTHAN, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12566          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LOUVIERE, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06107          LENZE LAWYERS, PLC

LOUVIERE, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09257          ONDERLAW, LLC

LOUVIERE, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09257          ONDERLAW, LLC

LOUVIERE, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09257          ONDERLAW, LLC

LOVATO, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12923          FLETCHER V. TRAMMELL

LOVE, APRIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04968          ONDERLAW, LLC

LOVE, BRANDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05611          ONDERLAW, LLC




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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LOVE, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08155          ONDERLAW, LLC

LOVE, CLAIRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18974          JOHNSON LAW GROUP

LOVE, DIXIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03932          ONDERLAW, LLC

LOVE, JOELANE                    CA - SUPERIOR COURT - NAPA COUNTY            17CV001192             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOVE, LOLA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

LOVE, LOLA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

LOVE, LOLA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

LOVE, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05036          ONDERLAW, LLC

LOVE, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03156          ASHCRAFT & GEREL, LLP

LOVE, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LOVE, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LOVE, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17327          NACHAWATI LAW GROUP

LOVE, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOVE, SHAWNEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12377          DAVIS, BETHUNE & JONES, L.L.C.

LOVE, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09117          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOVE, TARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09456          KLINE & SPECTER, P.C.

LOVE, TORY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LOVE, TORY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LOVE, TORY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOVE-CAMPBELL, SANDRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10552          ONDERLAW, LLC

LOVE-HOWARD, GLINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03859          ONDERLAW, LLC

LOVEJOY, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09170          ONDERLAW, LLC

LOVEJOY, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11713          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOVEJOY, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01822          CELLINO & BARNES, P.C.

LOVELACE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00899          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LOVELACE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14734          LENZE LAWYERS, PLC

LOVELACE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14734          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOVELADY, CYNDY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOVELADY, CYNDY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

LOVELADY, CYNDY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

LOVELADY, CYNDY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

LOVELADY, CYNDY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

LOVELAND, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09527          CELLINO & BARNES, P.C.

LOVELESS, TINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07532          ASHCRAFT & GEREL, LLP



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             Claimant Name                            State Filed                         Docket Number                              Plaintiff Counsel

LOVELESS, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07532             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOVELL, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12159             FLETCHER V. TRAMMELL

LOVELL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15818             NACHAWATI LAW GROUP

LOVELL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03421             ONDERLAW, LLC

LOVELL, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21942             ONDERLAW, LLC

LOVELL, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05222             ASHCRAFT & GEREL

LOVELL, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05222             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOVELL, PAUL AND LOVELL, KATHRYN   MA - SUPERIOR COURT - MIDDLESEX COUNTY       21-2086                   THORNTON LAW FIRM LLP

LOVELL, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04263             ONDERLAW, LLC

LOVERN, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16109             ONDERLAW, LLC

LOVETT, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05801             ASHCRAFT & GEREL

LOVETT, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05801             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOVETT-DURHAM, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10446             BARNES LAW GROUP, LLC

LOVETT-DURHAM, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10446             CHEELEY LAW GROUP

LOVIN, JENNIFER                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC624387                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LOVINCY, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03927             THE SEGAL LAW FIRM

LOVING, CAMISHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11966             ONDERLAW, LLC

LOVITT, MAVIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19092             LUNDY, LUNDY, SOILEAU & SOUTH, LLP

LOW, KATHERINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15155             ASHCRAFT & GEREL

LOW, KATHERINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15155             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOW, RHONDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08727             COHEN & MALAD, LLP

LOWDER, BEVERLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20139             ARNOLD & ITKIN LLP

LOWDER, GEROLDINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11059             PARKER WAICHMAN, LLP

LOWE, ADRIENNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12469             ARNOLD & ITKIN LLP

LOWE, ADRIENNE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002              ONDERLAW, LLC

LOWE, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08101             FLETCHER V. TRAMMELL

LOWE, CATHERINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10845             ASHCRAFT & GEREL

LOWE, CHERYL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203             GOLDENBERGLAW, PLLC

LOWE, CHERYL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203             ONDERLAW, LLC

LOWE, CHERYL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203             PORTER & MALOUF, PA

LOWE, CHERYL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203             THE SMITH LAW FIRM, PLLC

LOWE, DAWN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09121             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOWE, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12757             THE MILLER FIRM, LLC

LOWE, GLORIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13218             POTTS LAW FIRM



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             Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

LOWE, JAMES AND LOWE, LAURA      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000382-21        WEITZ & LUXENBERG

LOWE, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17087          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

LOWE, KRISTINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01245          NACHAWATI LAW GROUP

LOWE, LORENA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-299025           THE MILLER FIRM, LLC

LOWE, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06222          FLETCHER V. TRAMMELL

LOWE, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09576          ONDERLAW, LLC

LOWE, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05603          ONDERLAW, LLC

LOWELL, DIMITY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

LOWELL, DIMITY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

LOWELL, DIMITY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

LOWELL, JACKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18710          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LOWENBERG, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19444          ASHCRAFT & GEREL, LLP

LOWENBERG, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19444          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOWERY, ALLISON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02112          ONDERLAW, LLC

LOWERY, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20453          ONDERLAW, LLC

LOWERY, CASSANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11309          NACHAWATI LAW GROUP

LOWERY, CHRISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17857          THE MILLER FIRM, LLC

LOWERY, DONNA NUNLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12578          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LOWERY, ELEANOR                  GA - STATE COURT OF SUMTER COUNTY            20CV00103              BARNES LAW GROUP, LLC

LOWERY, ELEANOR                  GA - STATE COURT OF SUMTER COUNTY            20CV00103              CHEELEY LAW GROUP

LOWERY, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10074          ARNOLD & ITKIN LLP

LOWERY, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09949          ONDERLAW, LLC

LOWERY, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13521          THE MILLER FIRM, LLC

LOWERY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13650          MORELLI LAW FIRM, PLLC

LOWERY, NICOLE                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

LOWMAN, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17336          NACHAWATI LAW GROUP

LOWMAN, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

LOWMAN, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14940          LENZE LAWYERS, PLC

LOWMAN, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

LOWMAN, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14940          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOWMAN, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LOWMAN, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11092          ONDERLAW, LLC

LOWREY, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10999          MORRIS BART & ASSOCIATES




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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LOWREY, KRISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19071          NACHAWATI LAW GROUP

LOWRY, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18713          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LOWRY, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17337          NACHAWATI LAW GROUP

LOWRY, JESSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18634          DRISCOLL FIRM, P.C.

LOWRY, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04814          POTTS LAW FIRM

LOYD, CAROLINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

LOYD, CAROLINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

LOYD, CAROLINE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

LOYD, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11429          NACHAWATI LAW GROUP

LOZA, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16741          THE SEGAL LAW FIRM

LOZA, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02156          ONDERLAW, LLC

LOZADO, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20740          ARNOLD & ITKIN LLP

LOZANO, JANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02191          JOHNSON BECKER, PLLC

LOZANO, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LOZANO, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

LOZANO, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

LOZANO, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

LUALLIN, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08193          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUAVASA, DIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13266          ARNOLD & ITKIN LLP

LUBAHN, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02265          BRADSHAW, FOWLER, PROCTOR &

LUBAS-SIRIANNI, ELIZABETH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18225          CELLINO & BARNES, P.C.

LUBBERS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06000          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUBCKE, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10690          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUBIN, NOREEN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000948-20        PARKER WAICHMAN, LLP

LUBINSKI, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03400          ONDERLAW, LLC

LUBINSKI, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09116          SLATER, SLATER, SCHULMAN, LLP

LUBKOWSKI, HENRIETTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14664          CELLINO & BARNES, P.C.

LUBOFF, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00135          ROSS FELLER CASEY, LLP

LUC, CATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00415          DIAZ LAW FIRM, PLLC

LUCANTONI, YVETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07765          CELLINO & BARNES, P.C.

LUCAS, AMBER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08343          ONDERLAW, LLC

LUCAS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02064          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LUCAS, CRESIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12424          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LUCAS, DIANNA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6750-14          SEEGER WEISS LLP

LUCAS, GERTIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08112          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUCAS, JESSICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11959          NACHAWATI LAW GROUP

LUCAS, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18036          ONDERLAW, LLC

LUCAS, KARIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09310          ONDERLAW, LLC

LUCAS, LUCILE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18392          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUCAS, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11213          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUCAS, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12562          ASHCRAFT & GEREL, LLP

LUCAS, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12562          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUCAS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00123          CELLINO & BARNES, P.C.

LUCAS, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08893          NACHAWATI LAW GROUP

LUCAS, SANDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12489          ONDERLAW, LLC

LUCAS, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09960          MORRIS BART & ASSOCIATES

LUCCI, DOREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13065          ROSS FELLER CASEY, LLP

LUCENTE, KIMBERLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03500          SULLO & SULLO, LLP

LUCERO, ANANI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05202          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUCERO, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06495          ONDERLAW, LLC

LUCERO, FRANCHESCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09710          ONDERLAW, LLC

LUCERO, NATALIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06010          ONDERLAW, LLC

LUCERO, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19211          ARNOLD & ITKIN LLP

LUCES, AIDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07684          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUCEY, PRISCILLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10284          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUCIA RUIZ                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15751          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LUCIA, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03506          WEXLER WALLACE LLP

LUCIANI, CARRIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

LUCIANI, CARRIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

LUCIANI, CARRIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

LUCIANI, CARRIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

LUCIER, CLAUDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15392          ONDERLAW, LLC

LUCILE BERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15755          LENZE LAWYERS, PLC

LUCILE BERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15755          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

LUCINDA DROST                     FEDERAL - MDL                                3:21-CV-19721          JOHNSON BECKER, PLLC

LUCIO, MIGDALIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06112          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUCIOUS, OZELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15263          THE SEGAL LAW FIRM



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LUCIUS, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02554          ONDERLAW, LLC

LUCKETT, LORETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19852          MORELLI LAW FIRM, PLLC

LUCKEY, CARABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00326          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LUCKNER-BABASH, ANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08524          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUCY JITE-OGBUEHI                 FEDERAL - MDL                                3:21-CV-15181          LENZE LAWYERS, PLC

LUCY JITE-OGBUEHI                 FEDERAL - MDL                                3:21-CV-15181          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LUCY LANDI                        DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02733          ASHCRAFT & GEREL

LUCY LANDI                        DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02733          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUDEKE, NAIDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15616          NACHAWATI LAW GROUP

LUDEMAN, MARCIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09157          ARNOLD & ITKIN LLP

LUDINGTON, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20592          ONDERLAW, LLC

LUDWICK, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03317          ASHCRAFT & GEREL

LUDWICK, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUDWIG, AMBER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19054          NACHAWATI LAW GROUP

LUDWIG, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11296          NACHAWATI LAW GROUP

LUDWIG, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00227          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUDWIG, MELYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06121          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUE, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19936          NACHAWATI LAW GROUP

LUECKE, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10531          ONDERLAW, LLC

LUECKER, KATHERINE                CA - SUPERIOR COURT - SANTA CLARA COUNTY     16CV303435             LEVIN SIMES LLP

LUEDEKE, NADIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15212          DRISCOLL FIRM, P.C.

LUEDTKE, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14735          LENZE LAWYERS, PLC

LUEDTKE, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14735          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LUERA, JOSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15944          JOHNSON LAW GROUP

LUERA, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12396          MORELLI LAW FIRM, PLLC

LUERA, SONIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02972          ONDERLAW, LLC

LUERSSEN, EDWINA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-299-18           GOLOMB SPIRT GRUNFELD PC

LUERSSEN, EDWINA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-299-18           SKIKOS, CRAWFORD, SKIKOS & JOSEPH

LUETTE, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17434          ONDERLAW, LLC

LUFFMAN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01274          JOHNSON LAW GROUP

LUFT, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04884          MORELLI LAW FIRM, PLLC

LUGLI, CHRISTINE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-999-16           GOLOMB SPIRT GRUNFELD PC

LUGO, JULIENNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12396          MORELLI LAW FIRM, PLLC

LUGO, MARISELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10536          ONDERLAW, LLC



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LUJAN, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09061          ONDERLAW, LLC

LUJAN, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14509          DALIMONTE RUEB, LLP

LUKASEWICZ, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09943          GORI JULIAN & ASSOCIATES, P.C.

LUKASIK, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00210          NACHAWATI LAW GROUP

LUKE, OSA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03582          ASHCRAFT & GEREL, LLP

LUKE, RUTH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08335          ONDERLAW, LLC

LUKEN, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00212          ASHCRAFT & GEREL

LUKEN, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00212          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUKER, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12412          ARNOLD & ITKIN LLP

LUKIC, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08385          ONDERLAW, LLC

LUM, DAVID                        NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02450-18AS       LEVY KONIGSBERG LLP

LUMAN, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04440          MURRAY LAW FIRM

LUMAS, TANASHISKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-06694          BARRETT LAW GROUP

LUMBRERA, JENNY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01414          ONDERLAW, LLC

LUMPKIN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06492          CELLINO & BARNES, P.C.

LUMPP, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18994          NACHAWATI LAW GROUP

LUMSDEN, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16057          BROWN READDICK BUMGARTNER CARTER

LUMSDEN, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16057          J. ALAN WELCH P. C.

LUNA, ABBIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12149          NACHAWATI LAW GROUP

LUNA, BELINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14746          LENZE LAWYERS, PLC

LUNA, BELINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14746          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LUNA, BISSOONDAI                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003472-20        GOLOMB & HONIK, P.C.

LUNA, DAISY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07158          ONDERLAW, LLC

LUNA, EDITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05777          PARKER WAICHMAN LLP

LUNA, JESSICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12324          MOTLEY RICE, LLC

LUNA, JOSIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12214          ONDERLAW, LLC

LUNA, JUANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11465          NACHAWATI LAW GROUP

LUNA, MAGGIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002123-20        GOLOMB & HONIK, P.C.

LUNA, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03701          HOLLAND LAW FIRM

LUNA, NAYDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11785          SALTZ MONGELUZZI & BENDESKY PC

LUNA, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01696          JOHNSON LAW GROUP

LUNA, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17848          ASHCRAFT & GEREL, LLP

LUNA, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17848          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

LUNA, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11394          MORELLI LAW FIRM, PLLC

LUNARDINI, CECILIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05545          PRIBANIC & PRIBANIC, LLC

LUND, DOLORES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13442          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUND, ELEANOR                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15860          JOHNSON LAW GROUP

LUND, JANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00950          MOTLEY RICE, LLC

LUND, JENNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01540          ONDERLAW, LLC

LUND, KARLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10843          NACHAWATI LAW GROUP

LUND, LAUREL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12055          BARRETT LAW GROUP

LUNDBERG, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01225          COHEN & MALAD, LLP

LUNDE, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10543          JOHNSON LAW GROUP

LUNDON, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15394          ONDERLAW, LLC

LUNDQUIST, KRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00822          ONDERLAW, LLC

LUNN, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00596          NAPOLI SHKOLNIK, PLLC

LUNN, ELLEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08909          ASHCRAFT & GEREL

LUNN, ELLEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08909          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUNN, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11037          DALIMONTE RUEB, LLP

LUPE MATA                         FEDERAL - MDL                                3:21-CV-15182          LENZE LAWYERS, PLC

LUPE MATA                         FEDERAL - MDL                                3:21-CV-15182          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LUPE, LAVINIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03965          DIAMOND LAW

LURTY, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06701          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUSARDI, MADELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00010          POTTS LAW FIRM

LUSBY, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16154          ASHCRAFT & GEREL, LLP

LUSBY, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16154          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUSK, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16686          THE MILLER FIRM, LLC

LUSTER, JO ELLEN                  IL - CIRCUIT COURT - COOK COUNTY             2019-L-9219            CLIFFORD LAW OFFICES, P.C.

LUTE, BROOKE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17342          ONDERLAW, LLC

LUTES, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02088          LAW OFFICES OF PETER G ANGELOS, PC

LUTHER, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16984          ARNOLD & ITKIN LLP

LUTHER, FRANKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05386          ONDERLAW, LLC

LUTHER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10836          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUTHER, LISA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC700403               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LUTJENS, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08742          ONDERLAW, LLC

LUTON, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11619          BISNAR AND CHASE

LUTON, SALLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03621          ONDERLAW, LLC



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

LUTRINGER, LANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21978          CELLINO & BARNES, P.C.

LUTTRELL, JESSICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07011          ONDERLAW, LLC

LUTTRELL, SENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17338          NACHAWATI LAW GROUP

LUTTRELL, TA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06405          ONDERLAW, LLC

LUTZ, CATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04703          TAUTFEST BOND

LUTZ, CHRISTENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

LUTZ, CHRISTENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

LUTZ, CHRISTENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

LUTZ, EMMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14386          THE BENTON LAW FIRM, PLLC

LUTZ, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09417          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LUTZ, KELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01175          GORI JULIAN & ASSOCIATES, P.C.

LUTZ, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16431          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LUTZ, SHANNON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02326          ONDERLAW, LLC

LUU, KIM                          ONTARIO (TORONTO)                            CV-22-00679019-0000    PRESZLER INJURY LAWYERS

LUYE, RITA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08194          POTTS LAW FIRM

LY, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14508          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LYDAY, ERIKA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11128          ARNOLD & ITKIN LLP

LYDEN, SHARYN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002703-20        GOLOMB & HONIK, P.C.

LYDIA TORRES                      FEDERAL - MDL                                3:21-CV-18242          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

LYDIA TORRES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18242          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LYDIA, NAOMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01023          MARY ALEXANDER & ASSOCIATES, P.C.

LYERLA, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13543          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LYERLA, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19160          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

LYFORD, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07351          ONDERLAW, LLC

LYLE, DORRAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17945          ONDERLAW, LLC

LYLE, KATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05004          ONDERLAW, LLC

LYLES, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00113          FLETCHER V. TRAMMELL

LYLES, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06727          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LYLES, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07608          DRISCOLL FIRM, P.C.

LYLES, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12291          CELLINO & BARNES, P.C.

LYLES, GERALDINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09556          MORELLI LAW FIRM, PLLC

LYMAN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11926          NACHAWATI LAW GROUP

LYMAN, NANCY                      IL - CIRCUIT COURT - COOK COUNTY             2018-L-1787            CLIFFORD LAW OFFICES, P.C.




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LYMAN, TERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07142          THORNTON LAW FIRM LLP

LYN, HEATHER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17692          NACHAWATI LAW GROUP

LYNCH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03335          ONDERLAW, LLC

LYNCH, CHERNICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16760          ONDERLAW, LLC

LYNCH, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13768          ONDERLAW, LLC

LYNCH, ELEANOR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13445          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LYNCH, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06679          ONDERLAW, LLC

LYNCH, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11256          SIMMONS HANLY CONROY

LYNCH, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19350          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LYNCH, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09701          ONDERLAW, LLC

LYNCH, LADONNA                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318678             KIESEL LAW, LLP

LYNCH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15165          LENZE LAWYERS, PLC

LYNCH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15165          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

LYNCH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14417          WILLIAMS HART LAW FIRM

LYNCH, MAMIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19770          NACHAWATI LAW GROUP

LYNCH, SAUNDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08675          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

LYNCH, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14286          BURNS CHAREST LLP

LYNCH, VANESSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12971          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LYNCH, WHITNEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12044          ARNOLD & ITKIN LLP

LYNCH-BRADSHER, KAYE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13334          GORI JULIAN & ASSOCIATES, P.C.

LYND, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06125          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LYNN DONAGHY                      FEDERAL - MDL                                3:21-CV-18074          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

LYNN KERIAZAKOS                   FEDERAL - MDL                                3:21-CV-19064          MOTLEY RICE, LLC

LYNN, BETTYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11201          NACHAWATI LAW GROUP

LYNN, ELOISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13345          HILLIARD MARTINEZ GONZALES, LLP

LYNN, JANNIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2725-15          GOLOMB SPIRT GRUNFELD PC

LYNN, JUDY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08405          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

LYNN, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12228          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LYNN, KAY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14707          WILLIAMS HART LAW FIRM

LYNN, SANDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16479          FLETCHER V. TRAMMELL

LYNN, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01997          NACHAWATI LAW GROUP

LYON, VICKIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11536          ASHCRAFT & GEREL

LYONS, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07320          ONDERLAW, LLC

LYONS, ALTHEA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09500          MUELLER LAW PLLC



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

LYONS, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06387          ONDERLAW, LLC

LYONS, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13142          NACHAWATI LAW GROUP

LYONS, BLANCHIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15034          NACHAWATI LAW GROUP

LYONS, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07837          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

LYONS, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17339          NACHAWATI LAW GROUP

LYONS, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14680          WATERS & KRAUS, LLP

LYONS, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04538          ANDRUS WAGSTAFF, P.C.

LYONS, LAMESHIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002951-21        WEITZ & LUXENBERG

LYONS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09713          ONDERLAW, LLC

LYONS, MAGDALENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14161          WEITZ & LUXENBERG

LYONS, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09777          ONDERLAW, LLC

LYONS, OLIVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17340          NACHAWATI LAW GROUP

LYONS, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09138          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

LYONS, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05326          POTTS LAW FIRM

LYONS, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01284          ARNOLD & ITKIN LLP

LYONS-FAIRBANKS, JANET           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002929-21        WEITZ & LUXENBERG

LYSZCZAK, MARLENE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001059-21        GOLOMB & HONIK, P.C.

LYTCH, TANISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19716          ARNOLD & ITKIN LLP

LYTLE, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03405          MUELLER LAW PLLC

LYTLE, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13538          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
M FABIAN, M BOTVINICK AND D
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07184-19AS       WEITZ & LUXENBERG
BOTVINICK
M. BLACKMORE                     FEDERAL - MDL                                3:21-CV-19090          MOTLEY RICE, LLC

MAASBERG, ANN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003339-21        WEITZ & LUXENBERG

MAASS, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20219          CELLINO & BARNES, P.C.

MABE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02950          ONDERLAW, LLC

MABILE, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09270          MORRIS BART & ASSOCIATES

MABILE, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11995          NACHAWATI LAW GROUP

MABRY, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10035          NAPOLI SHKOLNIK, PLLC

MABRY, NAKEYAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11801          ARNOLD & ITKIN LLP

MABSON, LATAISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01835          DRISCOLL FIRM, P.C.

MACALUSO, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03999          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACAPULAY, SALLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04117          ONDERLAW, LLC

MACARTHUR, LYNN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13245          GORI JULIAN & ASSOCIATES, P.C.




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             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MACCIOLI, MARY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1957-16          ASHCRAFT & GEREL

MACCIOLI, MARY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1957-16          GOLOMB SPIRT GRUNFELD PC

MACCUTCHEON, ROBERTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02774          THORNTON LAW FIRM LLP

MACDONALD, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09883          ONDERLAW, LLC

MACDONALD, AUDREY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10058          ONDERLAW, LLC

MACDONALD, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09259          JOHNSON LAW GROUP

MACDONALD, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15931          HOLLAND LAW FIRM

MACDONALD, EILEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20698          ONDERLAW, LLC

MACDONALD, LAURA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002138-20        GOLOMB & HONIK, P.C.

MACDONALD, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19558          NACHAWATI LAW GROUP

MACDONALD, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03128          ONDERLAW, LLC

MACDONALD, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11041          NACHAWATI LAW GROUP

MACDONALD, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14242          ASHCRAFT & GEREL, LLP

MACDONALD, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14242          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACDOUGAL, SHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09202          DALIMONTE RUEB, LLP

MACE, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21235          FRANCOLAW PLLC

MACE, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21235          FRANCOLAW PLLC

MACE, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21235          ONDERLAW, LLC

MACE, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19658          NACHAWATI LAW GROUP

MACERA, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03916          ONDERLAW, LLC

MACFARLAND, VICTORIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08905          WAGSTAFF & CARTMELL, LLP

MACH, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06826          ONDERLAW, LLC

MACHADO, ASHLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05952          ONDERLAW, LLC

MACHADO, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18886          NACHAWATI LAW GROUP

MACHADO, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18643          NACHAWATI LAW GROUP

MACHANGO, MADELEINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07688          ONDERLAW, LLC

MACHI, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06164          ONDERLAW, LLC

MACHIA, REGINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00360          MORELLI LAW FIRM, PLLC

MACIAS, ELEONOR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01321          SIMMONS HANLY CONROY

MACIAS, FRANCIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01309          POTTS LAW FIRM

MACIAS, FRANKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13723          ARNOLD & ITKIN LLP

MACIAS, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10537          ONDERLAW, LLC

MACIAS, MARIA                   CA - SUPERIOR COURT - SAN DIEGO COUNTY       19CV342150             ASHCRAFT & GEREL




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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MACIAS, MARIA                    CA - SUPERIOR COURT - SAN DIEGO COUNTY       19CV342150             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MACIAS, ROSALINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06782          ONDERLAW, LLC

MACILHANEY, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04958          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACINTYRE, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06747          DALIMONTE RUEB, LLP

MACK, ARMENTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04754          ARNOLD & ITKIN LLP

MACK, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03795          ARNOLD & ITKIN LLP

MACK, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05131          ONDERLAW, LLC

MACK, FELECIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06316          FLETCHER V. TRAMMELL

MACK, GALEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09608          PARKER WAICHMAN, LLP

MACK, JACQUELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14577          MORRIS BART & ASSOCIATES

MACK, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03318          ASHCRAFT & GEREL

MACK, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03318          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACK, LINSHASA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11897          DAVIS, BETHUNE & JONES, L.L.C.

MACK, LYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09130          ONDERLAW, LLC

MACK, NICOLINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15425          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACK, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MACK, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MACK, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MACK, QUEENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11400          NACHAWATI LAW GROUP

MACK, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20308          ONDERLAW, LLC

MACKAY, VELICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11042          NACHAWATI LAW GROUP

MACKENZIE, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKENZIE, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

MACKENZIE, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

MACKENZIE, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06131          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKERETH, ROBERTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10286          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKERT, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22067          DRISCOLL FIRM, P.C.

MACKEY, CORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09144          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKEY, ELIZABETH ANN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14279          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKEY, GERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14302          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15395          ONDERLAW, LLC

MACKEY, NINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01200          POTTS LAW FIRM

MACKEY, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07806          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKEY, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06003          ONDERLAW, LLC



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              Claimant Name                         State Filed                       Docket Number                               Plaintiff Counsel

MACKEY-JONES, BERTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09830             MORRIS BART & ASSOCIATES

MACK-GIBSON, AIMEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06763             NAPOLI SHKOLNIK, PLLC

MACKIEWICZ, JUMIATI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00952             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKIEWICZ, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02345             JOHNSON LAW GROUP

MACKIN, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06163             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MACKINAW, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01191             ASHCRAFT & GEREL

MACKINAW, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01191             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKINNEY, HEIDI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13976             MORGAN & MORGAN

MACK-MCCORMICK, DOROTHY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13278             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACKOUSE, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08199             ONDERLAW, LLC

MACLENNAN, PRISCILLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06680             ONDERLAW, LLC

MACLEOND, RONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17825             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACMINN, GERALDINE N. ET AL,      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00002-20AS          WEITZ & LUXENBERG

MACMULLEN, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13920             MESHBESHER & SPENCE, LTD.

MACMURPHY, CHRISTINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05700             POGUST BRASLOW & MILLROOD, LLC

MACNAUGHTON, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04234             ONDERLAW, LLC

MACO, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10320             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACOMBER, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07764             ONDERLAW, LLC

MACON, LUCRITIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09619             FLETCHER V. TRAMMELL

MACON, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06074             ASHCRAFT & GEREL, LLP

MACON, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06074             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MACON, TCIAYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13972             JOHNSON LAW GROUP

MACY, PAULA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12959             ONDERLAW, LLC

MADAJ-BERGER, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03040             REICH & BINSTOCK, LLP

MADDALENA, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00116             CELLINO & BARNES, P.C.

MADDEN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10674             NACHAWATI LAW GROUP

MADDEN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07613             ONDERLAW, LLC

MADDEN, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02472             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MADDEN, DEBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01727             ONDERLAW, LLC

MADDEN, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09983             GORI JULIAN & ASSOCIATES, P.C.

MADDEN, ELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01028             SKIKOS, CRAWFORD, SKIKOS & JOSEPH

MADDEN, KAREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07912             ONDERLAW, LLC

MADDEN, KAREEN                    CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-41757-CU-PL-CTL   ONDERLAW, LLC

MADDEN, KAREEN                    CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-41757-CU-PL-CTL   SALKOW LAW, APC



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              Claimant Name                         State Filed                         Docket Number                            Plaintiff Counsel

MADDEN, LAURIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13062            NAPOLI SHKOLNIK, PLLC

MADDEN, LENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04835            ONDERLAW, LLC

MADDEN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06567            JOHNSON LAW GROUP

MADDEN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02736            DALIMONTE RUEB, LLP

MADDEN, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08417            DALIMONTE RUEB, LLP

MADDERN, SUSAN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002383-20          GOLOMB & HONIK, P.C.

MADDOX, AMBER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18073            WEITZ & LUXENBERG

MADDOX, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10728            MORRIS BART & ASSOCIATES

MADDOX, BERTHA                    NY - SUPREME COURT - NYCAL                   190169/2020              LEVY KONIGSBERG LLP

MADDOX, DEANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20681            GORI JULIAN & ASSOCIATES, P.C.

MADDOX, DOVIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08314            FLETCHER V. TRAMMELL

MADDOX, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12518            ONDERLAW, LLC

MADDOX, JENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05803            ASHCRAFT & GEREL

MADDOX, JENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05803            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MADDOX, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05936            PARKER WAICHMAN, LLP

MADDREY, SHELINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04054            ONDERLAW, LLC

MADDUX, LORAIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15342            MORGAN & MORGAN

MADERA, CHRISTINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-00948-18           RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

MADEWELL, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08065            ONDERLAW, LLC

MADHO, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21062            CELLINO & BARNES, P.C.

MADISON, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09042            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MADISON, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02937            ONDERLAW, LLC

MADISON, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00090            MORRIS BART & ASSOCIATES

MADISON, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06126            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MADISON, WILLIET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450            DONALD L. SCHLAPPRIZZI P.C.

MADISON, WILLIET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15537            LENZE LAWYERS, PLC

MADISON, WILLIET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450            LENZE LAWYERS, PLC

MADISON, WILLIET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15537            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MADISON, WILLIET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
MADLIK, DONALD C EST MARILYN
                                  NY - SUPREME COURT - NYCAL                   190139                   WEITZ & LUXENBERG
MADLIK
MADOLE, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12872            THE BENTON LAW FIRM, PLLC

MADONNA MCALEER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18264            JOHNSON LAW GROUP

MADRAZO, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18791            GOLDENBERGLAW, PLLC

MADRETZKE, MICHELLE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-001759-18            ROSS FELLER CASEY, LLP



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             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MADRID, CLARA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MADRID, CLARA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

MADRID, CLARA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

MADRID, CLARA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

MADRID, CLARA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

MADRID, GEORGIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11195          NACHAWATI LAW GROUP

MADRID, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15066          CELLINO & BARNES, P.C.

MADRIGAL, BRIGIDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12005          NACHAWATI LAW GROUP

MADRIGAL, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13854          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MADRIGAL, SYLVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11100          NACHAWATI LAW GROUP

MADSEN, DORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10541          ONDERLAW, LLC

MADSEN, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10242          ONDERLAW, LLC

MADSEN, JACQULYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10952          NACHAWATI LAW GROUP

MADSEN, SHARRON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12521          ARNOLD & ITKIN LLP

MADY REGENSBURG                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15772          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MAESTRI, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15095          MORRIS BART & ASSOCIATES

MAFFEI, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17820          ONDERLAW, LLC

MAFFETT, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13997          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAFFIN, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13228          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAGALLANES, DANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00143          THE DUGAN LAW FIRM, APLC

MAGANA, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09064          ONDERLAW, LLC

MAGANA, GUADALUPE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2193-17          KEEFE BARTELS

MAGANA, GUADALUPE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2193-17          LAW OFFICE OF GRANT D. AMEY, LLC

MAGANA, GUADALUPE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06578          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MAGAO, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14467          DALIMONTE RUEB, LLP

MAGBAG, PRISCILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05822          ASHCRAFT & GEREL

MAGBAG, PRISCILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05822          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAGDZIAK, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17816          HENINGER GARRISON DAVIS, LLC

MAGEE, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16004          NACHAWATI LAW GROUP

MAGEE, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00943          MORRIS BART & ASSOCIATES

MAGEE, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07481          ONDERLAW, LLC

MAGEE, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15992          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MAGEE, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17966          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MAGEE, QUANDARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09378          JOHNSON LAW GROUP

MAGER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MAGER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14935          LENZE LAWYERS, PLC

MAGER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MAGER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14935          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MAGER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MAGERA, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14663          CELLINO & BARNES, P.C.

MAGG, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01714          ONDERLAW, LLC

MAGGARD, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12656          NAPOLI SHKOLNIK, PLLC

MAGGARD, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08381          THE ENTREKIN LAW FIRM

MAGGARD, JEANNETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02316          ONDERLAW, LLC

MAGGIORE, LORRAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08480          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAGHIAR, NIKKI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04802          ONDERLAW, LLC

MAGID, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14351          MOTLEY RICE, LLC

MAGILL, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18951          WILLIAMS HART LAW FIRM

MAGLIOCHETTI, MICHELLE           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002171-20        GOLOMB & HONIK, P.C.

MAGLONE, VERONICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20595          THE MILLER FIRM, LLC

MAGNANTI, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08711          CELLINO & BARNES, P.C.

MAGNUSON, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08366          HOLLAND LAW FIRM

MAGRUDER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08617          ONDERLAW, LLC

MAGUIRE, ANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10423          GOLDENBERGLAW, PLLC

MAGUIRE, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19749          JOHNSON BECKER, PLLC

MAGUIRE, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10284          GORI JULIAN & ASSOCIATES, P.C.

MAGUREAN, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17821          ONDERLAW, LLC

MAHABIR, LILLIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00086          CELLINO & BARNES, P.C.

MAHAFFEY, LISHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04674          JOHNSON LAW GROUP

MAHALEY, RACHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03730          HOLLAND LAW FIRM

MAHAN, JERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16818          JOHNSON BECKER, PLLC

MAHAN, LANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13987          FLETCHER V. TRAMMELL

MAHARAJ, GENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14723          ARNOLD & ITKIN LLP

MAHARG, DENISE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

MAHARG, DENISE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

MAHARG, DENISE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

MAHARRY, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11295          ONDERLAW, LLC



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             Claimant Name                         State Filed                      Docket Number                                  Plaintiff Counsel

MAHER, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12212             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAHER, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11956             ASHCRAFT & GEREL, LLP

MAHER, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11956             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAHER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01291             SKIKOS, CRAWFORD, SKIKOS & JOSEPH

MAHER, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01010             ONDERLAW, LLC

MAHER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00240             BURNS CHAREST LLP

MAHER-DRISCOLL, DIANE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09309             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAHINSKE, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08658             SANDERS VIENER GROSSMAN, LLP

MAHLERT, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08281             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAHN, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02782             THE MILLER FIRM, LLC

MAHOLICK, ELAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20943             CELLINO & BARNES, P.C.

MAHON, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17458             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

MAHONE, HARRIET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12944             OLEARY, SHELTON, CORRIGAN PETERSON

MAHONE, HARRIET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12944             THE MILLER FIRM, LLC

MAHONEY, CATHERINE              IL - CIRCUIT COURT - COOK COUNTY             20-L-8209                 COONEY AND CONWAY

MAHONEY, CONSTANCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06930             ONDERLAW, LLC

MAHONEY, JUDY                   CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00988014-CU-MT-CXC BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAHONEY, JUDY                   CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00988014-CU-MT-CXC ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MAHONEY, JUDY                   CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00988014-CU-MT-CXC THE SMITH LAW FIRM, PLLC

MAHONEY, MAUREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20415             ASHCRAFT & GEREL, LLP

MAHONEY, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13007             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAHONEY-SEXTON, JEANNINE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00278             HAUSFELD

MAHRA,, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18815             ONDERLAW, LLC

MAHTANI, SHOBA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08083             ONDERLAW, LLC

MAHUKA, TAMMYLEIGH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12876             FLETCHER V. TRAMMELL

MAIBACH, DAWN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAIBACH, DAWN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              GOLDENBERGLAW, PLLC

MAIBACH, DAWN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              ONDERLAW, LLC

MAIBACH, DAWN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              PORTER & MALOUF, PA

MAIBACH, DAWN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443              THE SMITH LAW FIRM, PLLC

MAIDEN, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09150             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAIDEN, RANDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20998             CELLINO & BARNES, P.C.

MAIELI, CINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16071             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAIER, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15156             ASHCRAFT & GEREL



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              Claimant Name                        State Filed                        Docket Number                                Plaintiff Counsel

MAIER, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15156            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAIER, JOANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16296            MURRAY LAW FIRM

MAIKHAIL, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01476            ONDERLAW, LLC

MAIN, HOLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17343            NACHAWATI LAW GROUP

MAIN, RICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07320            WILLIAMS HART LAW FIRM

MAINE, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13224            HILLIARD MARTINEZ GONZALES, LLP

MAINER, VERA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11777            NACHAWATI LAW GROUP

MAINES, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17996            ASHCRAFT & GEREL

MAINES, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17996            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAINES, MELODY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06048            JOHNSON LAW GROUP

MAINORD, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17351            NACHAWATI LAW GROUP

MAINVILLE, BOBBY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18039            ASHCRAFT & GEREL

MAINVILLE, BOBBY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18039            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAIOCCO, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09319            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAISH, CARRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03128            ONDERLAW, LLC

MAITLAND, ELOISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAITLAND, ELOISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394            ONDERLAW, LLC

MAITLAND, ELOISE                 CA - SUPERIOR COURT - VENTURA COUNTY          56-2017-00503557-CU-PL-VTA ONDERLAW, LLC

MAITLAND, ELOISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394            PORTER & MALOUF, PA

MAITLAND, ELOISE                 CA - SUPERIOR COURT - VENTURA COUNTY          56-2017-00503557-CU-PL-VTA SALKOW LAW, APC

MAITLAND, ELOISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394            THE SMITH LAW FIRM, PLLC

MAJCHER, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07609            CELLINO & BARNES, P.C.

MAJCHER, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10564            NACHAWATI LAW GROUP
                                 NY - USDC FOR THE EASTERN DISTRICT OF NEW
MAJEED, NESHA                                                                  1:21-CV-04956            CELLINO & BARNES, P.C.
                                 YORK
                                 NY - USDC FOR THE EASTERN DISTRICT OF NEW
MAJEED, NESHA                                                                  1:21-CV-04956            CELLINO & BARNES, P.C.
                                 YORK
MAJESKI, GEORGETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06764            THE MILLER FIRM, LLC

MAJKO, KALEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01341            DRISCOLL FIRM, P.C.

MAJOR, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02502            ONDERLAW, LLC

MAJOR, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06856            CELLINO & BARNES, P.C.

MAJORS, MAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09559            FLETCHER V. TRAMMELL

MAJORS, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17059            THE MILLER FIRM, LLC

MAKAROPLOS, DAWN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05590            HOLLAND LAW FIRM




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              Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

MAKAS SR., JERRY                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MAKER, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00544          HOLLAND LAW FIRM

MAKI, ANISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06352          LINVILLE LAW GROUP

MAKOR, ANNAMAE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03413          BURNS CHAREST LLP

MAKOR, ANNAMAE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03413          BURNS CHAREST LLP

MAKSYN, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00428          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MALANDRA, ELFREDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05288          ONDERLAW, LLC

MALAPERO, MARIANNE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2540-17          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MALASKI, ROBERTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15396          ONDERLAW, LLC

MALATINO, ANGELICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06999          JOHNSON LAW GROUP

MALAVES, CATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06381          MORGAN & MORGAN

MALAZARTE, MYRNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08372          JOHNSON LAW GROUP

MALCHRIST, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03281          MURRAY LAW FIRM

MALCOLM, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MALCOLM, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14928          LENZE LAWYERS, PLC

MALCOLM, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MALCOLM, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14928          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MALCOLM, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MALDONADO, CLARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18774          NACHAWATI LAW GROUP

MALDONADO, ELSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21946          ONDERLAW, LLC

MALDONADO, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10547          ONDERLAW, LLC

MALDONADO, GENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10725          THE MILLER FIRM, LLC

MALDONADO, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

MALDONADO, JEANETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17341          NACHAWATI LAW GROUP

MALDONADO, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19351          NACHAWATI LAW GROUP

MALDONADO, MARIA                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MALDONADO, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11037          ONDERLAW, LLC
MALDONADO, MOISES EST OF SARA
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05030-19AS       WEITZ & LUXENBERG
MALDONADO
MALDONADO, NOHELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00295          FLETCHER V. TRAMMELL

MALDONADO, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18301          ONDERLAW, LLC

MALDONADO, REJENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08754          ONDERLAW, LLC

MALDONADO, TAMMY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MALDONADO, TAMMY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

MALDONADO, TAMMY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

MALDONADO, TAMMY              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

MALDONADO, VELSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08279          BURNS CHAREST LLP

MALDONADO, VELSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08279          BURNS CHAREST LLP

MALDONADO, YOLANDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15464          SUMMERS & JOHNSON, P.C.

MALENICK, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09687          GOLOMB SPIRT GRUNFELD PC

MALESKI, RENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01678          MESHBESHER & SPENCE, LTD.

MALEY, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09600          ONDERLAW, LLC

MALGERI, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11064          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

MALHERBE, LOUANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04231          ONDERLAW, LLC

MALIK, SHASHI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08116          ONDERLAW, LLC

MALINKY, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05959          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MALINOWSKI, DIANA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03886          ONDERLAW, LLC

MALKIEWICZ, GINA              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV331107             DANIEL & ASSOCIATES, LLC

MALKIEWICZ, GINA              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV331107             KIESEL LAW, LLP

MALKIEWICZ, GINA              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV331107             THE WHITEHEAD LAW FIRM, LLC

MALLARD, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07727          ONDERLAW, LLC

MALLARD, JACQUELINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02889          ONDERLAW, LLC

MALLARD, JENNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05693          ONDERLAW, LLC

MALLARD, LILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13837          NACHAWATI LAW GROUP

MALLARD, LOLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12359          HARRISON DAVIS STEAKLEY MORRISON

MALLARI, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15936          JOHNSON LAW GROUP

MALLAS, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06636          ONDERLAW, LLC

MALLETT, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14646          NAPOLI SHKOLNIK, PLLC

MALLETT, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05593          HEYGOOD, ORR & PEARSON

MALLIA-STACHE, JO-ANN         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002304-20        GOLOMB & HONIK, P.C.

MALLICOAT, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02433          ONDERLAW, LLC

MALLMANN, JAMIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00193          NACHAWATI LAW GROUP

MALLON, JANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09464          ONDERLAW, LLC

MALLON, KARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15823          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MALLON, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10608          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MALLORY, ARWYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12690          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MALLORY, NANNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22066          CELLINO & BARNES, P.C.

MALLORY, REBA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15240          WILLIAMS HART LAW FIRM

MALLORY, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MALLORY, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MALLORY, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MALLOW, HAZEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09658          ONDERLAW, LLC

MALLOY, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13982          WAGSTAFF & CARTMELL, LLP

MALLOY, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11752          NACHAWATI LAW GROUP

MALLOY, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05576          ONDERLAW, LLC

MALLOY, SHEILA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15477          ASHCRAFT & GEREL, LLP

MALLOY, SHEILA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15477          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MALLOY, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02768          ONDERLAW, LLC

MALLUM, CYNDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18884          NACHAWATI LAW GROUP

MALM, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04855          ONDERLAW, LLC

MALM, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10700          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

MALM, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08744          ONDERLAW, LLC

MALM, MISTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16517          JOHNSON LAW GROUP

MALMBERG, STEPHANIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19454          NACHAWATI LAW GROUP

MALONE, BESSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16690          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MALONE, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06509          HENINGER GARRISON DAVIS, LLC

MALONE, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09750          ONDERLAW, LLC

MALONE, FRANCES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18934          NACHAWATI LAW GROUP

MALONE, GRACIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07147          ONDERLAW, LLC

MALONE, JOANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01252          ONDERLAW, LLC

MALONE, KANDICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13500          HILLIARD MARTINEZ GONZALES, LLP

MALONE, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10327          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MALONEY, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07765          ONDERLAW, LLC

MALONEY, RITA                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006031-21        NAPOLI SHKOLNIK, PLLC

MALONEY, SILVANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13383          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MALOTT, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07160          GOLDENBERGLAW, PLLC

MALOTT, LAUREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11756          DUERRING LAW OFFICES

MALTESE, JENNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17327          ONDERLAW, LLC




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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MALTOS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04633          JOHNSON LAW GROUP

MALTOS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04633          LEVIN SIMES LLP

MALVIN, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12801          ONDERLAW, LLC

MALY, GAYLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13752          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAMIE HALL-NASH                  FEDERAL - MDL                                3:21-CV-15185          LENZE LAWYERS, PLC

MAMIE HALL-NASH                  FEDERAL - MDL                                3:21-CV-15185          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MAMON, EDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19394          NACHAWATI LAW GROUP

MANAHAN, JOSEPHINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15051          JOHNSON LAW GROUP

MANAOIS, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02938          ONDERLAW, LLC

MANCHA, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18146          ONDERLAW, LLC

MANCINI, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09782          ARNOLD & ITKIN LLP

MANCINI, CATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11202          ONDERLAW, LLC

MANCINI, ELEANOR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12662          NAPOLI SHKOLNIK, PLLC

MANCINO, MARY                    CA - SUPERIOR COURT - SAN DIEGO COUNTY       2018-10026-CU-PL-NC    SIMMONS HANLY CONROY

MANDEL, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14254          ARNOLD & ITKIN LLP

MANDEL, MARCIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09377          ONDERLAW, LLC

MANDEL, MARCIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13741          POGUST BRASLOW & MILLROOD, LLC

MANDIS, MAGDELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05981          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MANDRELL, DARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12943          HOLLAND LAW FIRM

MANERING, SAMANTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09758          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MANES, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03299          DALIMONTE RUEB, LLP

MANESS, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11136          DANIEL & ASSOCIATES, LLC

MANESS, JORDAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15197          SALTZ MONGELUZZI & BENDESKY PC

MANESS, RETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-07607          ONDERLAW, LLC

MANESS-MCMINN, CHRISTIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11454          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MANEVICH, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19341          ASHCRAFT & GEREL, LLP

MANFREDE, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14963          ASHCRAFT & GEREL, LLP

MANFREDE, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14963          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MANGANO, ANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01776          SAUNDERS & WALKER, P.A.

MANGANO, HEATHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08002          THE DUGAN LAW FIRM, APLC

MANGERI, SANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00793          JOHNSON LAW GROUP

MANGES, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11921          MORELLI LAW FIRM, PLLC

MANGIONE, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14760          LENZE LAWYERS, PLC

MANGIONE, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14760          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MANGOINE, SHEILA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07574          ONDERLAW, LLC

MANGREN, YVETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06655          ONDERLAW, LLC

MANGUM, CASSANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07234          ONDERLAW, LLC

MANHART, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12423          FLETCHER V. TRAMMELL

MANIEKA GARRETT                  FEDERAL - MDL                                3:21-CV-19096          MOTLEY RICE, LLC

MANIEKA GARRETT                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19096          MOTLEY RICE, LLC

MANISCALCO, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18223          CELLINO & BARNES, P.C.

MANIULIT, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05385          ONDERLAW, LLC

MANKINS, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09461          MURRAY LAW FIRM

MANLA, JOSEPHINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003351-20        ALOIA LAW FIRM LLC

MANLEY, JOANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02199          ONDERLAW, LLC

MANLEY, KAREN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000197-18        COHEN, PLACITELLA & ROTH

MANLEY, LETHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20199          NACHAWATI LAW GROUP

MANLEY, SABRINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10910          THE MILLER FIRM, LLC

MANN, ERIN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

MANN, ERIN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

MANN, ERIN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MANN, ERIN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MANN, KATHE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08059          ONDERLAW, LLC

MANN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12028          ROSS FELLER CASEY, LLP

MANN, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09733          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MANN, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09910          GORI JULIAN & ASSOCIATES, P.C.

MANN, MAUREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15332          ONDERLAW, LLC

MANN, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14296          ASHCRAFT & GEREL, LLP

MANN, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14296          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MANN, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18303          ONDERLAW, LLC

MANN, NELLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02393          ONDERLAW, LLC

MANN, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05858          DALIMONTE RUEB, LLP

MANN, VENUS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15162          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MANN, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06948          THE POTTS LAW FIRM, LLP

MANNA, SANNA-MARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11867          NACHAWATI LAW GROUP

MANNERS, JUNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04770          ONDERLAW, LLC

MANNI, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11388          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MANNING, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05638          ONDERLAW, LLC



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           Claimant Name                         State Filed                       Docket Number                             Plaintiff Counsel

MANNING, GLENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09050          ONDERLAW, LLC

MANNING, HAZEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01249          HOVDE, DASSOW, & DEETS, LLC

MANNING, HAZEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01249          THE MILLER FIRM, LLC

MANNING, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16402          JOHNSON BECKER, PLLC

MANNING, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MANNING, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10607          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MANNING, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14999          ONDERLAW, LLC

MANNING, MONIKA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17574          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

MANNING, MONIQUE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00107          NACHAWATI LAW GROUP

MANNING, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08649          DAVIS, BETHUNE & JONES, L.L.C.

MANNING, PATRICIA              NY - SUPREME COURT - NYCAL                   190052/2020            WEITZ & LUXENBERG

MANNING, PHYLLIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09384          SANDERS VIENER GROSSMAN, LLP

MANNING, RUBY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17344          NACHAWATI LAW GROUP

MANNING, SHEILA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14057          HILLIARD MARTINEZ GONZALES, LLP

MANNING, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20004          ONDERLAW, LLC

MANNINGS, ALTHEA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10633          NACHAWATI LAW GROUP

MANNINO, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01991          RODAL LAW, P.A.

MANNS, MARLITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11317          NACHAWATI LAW GROUP

MANRING, DIXIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15373          HENINGER GARRISON DAVIS, LLC

MANSFIELD, CINDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01857          JOHNSON LAW GROUP

MANSFIELD, CINDY GONZALES      FL - CIRCUIT COURT - BROWARD COUNTY          CACE20002075           OSBORNE & FRANCIS LAW FIRM PLLC

MANSFIELD, CINDY GONZALES      FL - CIRCUIT COURT - BROWARD COUNTY          CACE20002075           WILLIAMS KHERKHER HART BOUNDAS, LLP

MANSFIELD, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11331          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MANSFIELD, KATHRYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02437          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MANSFIELD, STEPHANIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05114          ROSS FELLER CASEY, LLP

MANSFIELD, WILMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18723          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MANSOURI, HEDIEH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08800          ONDERLAW, LLC

MANSUN, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10768          GOLDENBERGLAW, PLLC

MANSUR, NAJULLAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17348          NACHAWATI LAW GROUP

MANSY, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18995          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MANTEGNA, DEBBI                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001868-21        GOLOMB & HONIK, P.C.

MANTEL, MARY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002290-20        GOLOMB & HONIK, P.C.

MANTHEIY, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13817          ASHCRAFT & GEREL, LLP

MANTOLINO, CORAZON             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001394-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP



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            Claimant Name                           State Filed                       Docket Number                             Plaintiff Counsel

MANTON, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08979           ONDERLAW, LLC

MANTOVI, LORRAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11392           MORELLI LAW FIRM, PLLC

MANUEL, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13010           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MANUEL, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07298           ONDERLAW, LLC

MANUEL, JOSEFEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13234           HILLIARD MARTINEZ GONZALES, LLP

MANUEL, KELLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02897           FLETCHER V. TRAMMELL

MANUEL, KIMMARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17349           NACHAWATI LAW GROUP

MANUEL, LONNETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17350           NACHAWATI LAW GROUP

MANUEL, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12150           FLETCHER V. TRAMMELL

MANUELE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13964           TRAMMELL PC

MANUZON, ROSANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01717           ONDERLAW, LLC

MANWARREN, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07810           ONDERLAW, LLC

MANZ, ROBERT                      NJ - USDC - DISTRICT OF NEW JERSEY           3:18-CV-14083-PGS-TJB   WEITZ & LUXENBERG

MANZANARES-VELASQUEZ, JEANNETTE   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10902           ASHCRAFT & GEREL, LLP

MANZI, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450           DONALD L. SCHLAPPRIZZI P.C.

MANZI, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450           LENZE LAWYERS, PLC

MANZI, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MANZI, TANIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00966           DIAMOND LAW

MANZO, FERN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14710           ONDERLAW, LLC

MAPLES, ALBIZIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02876           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAPLES, REINESHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14388           THE BENTON LAW FIRM, PLLC

MAPP, VIRGINIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20224           THE SEGAL LAW FIRM

MARABLE, GWENDOLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11421           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MARABLE-DONOVAN, MARGARET         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01783           ONDERLAW, LLC

MARANO, BERNICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08541           THE MILLER FIRM, LLC

MARASCO, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07850           FLETCHER V. TRAMMELL

MARBLE, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09778           BARON & BUDD, P.C.

MARBLE, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04939           SKIKOS, CRAWFORD, SKIKOS & JOSEPH

MARBLE, ROCHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450           DONALD L. SCHLAPPRIZZI P.C.

MARBLE, ROCHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450           LENZE LAWYERS, PLC

MARBLE, ROCHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARBLE, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19813           NACHAWATI LAW GROUP

MARCEL, JOYCE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1955-16           ASHCRAFT & GEREL

MARCEL, JOYCE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1955-16           GOLOMB SPIRT GRUNFELD PC



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           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MARCEL, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16342          THE SEGAL LAW FIRM

MARCELLA VONOESEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18072          WEITZ & LUXENBERG

MARCELLO, DENISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08902          ASHCRAFT & GEREL

MARCELLO, DENISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08902          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARCELLO, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09416          ONDERLAW, LLC

MARCENGILL, JAMIE             GA - STATE COURT OF GWINNETT COUNTY          19-C-05049-S2          HARRIS LOWRY MANTON LLP

MARCHAND, ANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09358          ONDERLAW, LLC

MARCHANT, MARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02159          ONDERLAW, LLC

MARCHELL, AQUILANTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02090          ONDERLAW, LLC

MARCHESANO, ROSEMARY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10006          COHEN, PLACITELLA & ROTH

MARCHESE, DEBORAH             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000899-21        GOLOMB & HONIK, P.C.

MARCHESE, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20440          DRISCOLL FIRM, P.C.

MARCHESE, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09678          MORELLI LAW FIRM, PLLC

MARCHESKIE, RACHAEL           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06266          FLETCHER V. TRAMMELL

MARCHETTI, CAMMY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08082          CHEELEY LAW GROUP

MARCHETTI, MARIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14145          ASHCRAFT & GEREL

MARCHMAN-FAKE, PEGGY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11146          WAGSTAFF & CARTMELL, LLP

MARCIA RAY-KRIEGER            FEDERAL - MDL                                3:21-CV-19775          ONDERLAW, LLC

MARCIA WIDNER                 FEDERAL - MDL                                3:21-CV-19550          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

MARCINEK, LORAINE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-956-15           GOLOMB SPIRT GRUNFELD PC

MARCINIAK, CELINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16964          HURLEY MCKENNA & MERTZ

MARCLEY, DARSHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11139          FLETCHER V. TRAMMELL

MARCOLINE, ANITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02797          ASHCRAFT & GEREL

MARCUM, ANNITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13452          FLETCHER V. TRAMMELL

MARCUM, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18449          HOLLAND LAW FIRM

MARCUM, CANDICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03544          ONDERLAW, LLC

MARCUM, CHRIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13769          ONDERLAW, LLC

MARCUM, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MARCUM, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MARCUM, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARCUS, DALE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06903          ONDERLAW, LLC

MARCUS, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18904          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARCZYNSKI, PATRICIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09590          HUTTON & HUTTON




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           Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

MARDEN, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARDEN, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

MARDEN, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

MARDEN, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

MARDIS, LEANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13032          PARKER WAICHMAN, LLP

MAREIRA, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09922          ONDERLAW, LLC

MAREK, JANIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13176          ONDERLAW, LLC

MAREK, STARLETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02887          FLETCHER V. TRAMMELL

MARELLI, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARENT, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13487          ONDERLAW, LLC

MARES, URSULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03129          ONDERLAW, LLC

MARESH-DRISCOLL, BONNIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18500          NACHAWATI LAW GROUP

MARETT, KEVIN AND MARETT, LORI   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07486-17AS       WEITZ & LUXENBERG

MARFISI, MINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17500          NACHAWATI LAW GROUP

MARGARET CAMPBELL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18253          ONDERLAW, LLC

MARGARET GREENWALD               FEDERAL - MDL                                3:21-CV-15188          LENZE LAWYERS, PLC

MARGARET GREENWALD               FEDERAL - MDL                                3:21-CV-15188          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARGARET LAMAN                   FEDERAL - MDL                                3:21-CV-15189          LENZE LAWYERS, PLC

MARGARET LAMAN                   FEDERAL - MDL                                3:21-CV-15189          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARGARET MCCULTY                 FEDERAL - MDL                                3:21-CV-15190          LENZE LAWYERS, PLC

MARGARET MCCULTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15190          LENZE LAWYERS, PLC

MARGARET MCCULTY                 FEDERAL - MDL                                3:21-CV-15190          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARGARET MCCULTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15190          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARGARET MORGENSTERN             FEDERAL - MDL                                3:21-CV-16141          SLATER, SLATER, SCHULMAN, LLP

MARGARET MORGENSTERN             FEDERAL - MDL                                3:21-CV-16141          SLATER, SLATER, SCHULMAN, LLP

MARGARETTE MCNEECE               FEDERAL - MDL                                3:21-CV-15400          LENZE LAWYERS, PLC

MARGARETTE MCNEECE               FEDERAL - MDL                                3:21-CV-15400          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARGENE WIRTZ                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18189          ONDERLAW, LLC

MARGENE WIRTZ                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18189          ONDERLAW, LLC

MARGERETTE MCNEECE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15400          LENZE LAWYERS, PLC

MARGERETTE MCNEECE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15400          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARGERUM, AGNES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14499          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARGIE CHARLIE                   FEDERAL - MDL                                3:21-CV-19664          ONDERLAW, LLC

MARGIE DOVE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003324-21        GOLOMB SPIRT GRUNFELD PC



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MARGRETTA, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06681          ONDERLAW, LLC

MARGUERITE PENNINGTON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15773          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARGULIES, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02431          CATES MAHONEY, LLC

MARIA BENITEZ                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15774          LENZE LAWYERS, PLC

MARIA BENITEZ                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15774          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARIA HORTON                     FEDERAL - MDL                                3:21-CV-15436          LENZE LAWYERS, PLC

MARIA HORTON                     FEDERAL - MDL                                3:21-CV-15436          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARIA KLINE                      FEDERAL - MDL                                3:21-CV-18153          BARON & BUDD, P.C.

MARIA KUBIAK                     FEDERAL - MDL                                3:21-CV-15438          LENZE LAWYERS, PLC

MARIA KUBIAK                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15438          LENZE LAWYERS, PLC

MARIA KUBIAK                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15438          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARIA LOGRIPPO                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003309-21        WEITZ & LUXENBERG

MARIA MALDONADO                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARIA MYERS                      FEDERAL - MDL                                3:21-CV-15439          LENZE LAWYERS, PLC

MARIA MYERS                      FEDERAL - MDL                                3:21-CV-15439          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARIA PEREZ                      FEDERAL - MDL                                3:21-CV-16725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARIA SOTO                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15796          LENZE LAWYERS, PLC

MARIA SOTO                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15796          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARIA VUKELICH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15791          LENZE LAWYERS, PLC

MARIA VUKELICH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15791          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARIAN WILSON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15793          LENZE LAWYERS, PLC

MARIAN WILSON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15793          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARIANACCIO, DOLORES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10587          ONDERLAW, LLC

MARIANELA SANCHEZ                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18015          THE MILLER FIRM, LLC

MARIANNE GENNARIO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18174          WATERS & KRAUS, LLP

MARIANNE GENNARIO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18174          WATERS & KRAUS, LLP

MARIE JOHNSON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18371          THE MILLER FIRM, LLC

MARIE, MERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13771          MORRIS BART & ASSOCIATES

MARILYN BERGER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15799          LENZE LAWYERS, PLC

MARILYN BERGER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15799          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARILYN MATESKI                  FEDERAL - MDL                                3:21-CV-19205          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

MARILYN VALENCIA                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARILYN WILLIAMS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15802          LENZE LAWYERS, PLC

MARILYN WILLIAMS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15802          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.



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           Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

MARIN, BECKY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16262          NACHAWATI LAW GROUP

MARIN, DEBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17074          ONDERLAW, LLC

MARIN, GRACIELA               IL - CIRCUIT COURT - COOK COUNTY             2021L000544            ARNOLD & ITKIN LLP

MARIN, GRACIELA               IL - CIRCUIT COURT - COOK COUNTY             2021L000544            MEYERS & FLOWERS, LLC

MARINACCIO, BONITA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05873          MOTLEY RICE, LLC

MARINACE, JESSICA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11882          ROSS FELLER CASEY, LLP

MARINARO, DEBBIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19080          CELLINO & BARNES, P.C.

MARINELLI, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04720          ONDERLAW, LLC

MARINELLI, VERONICA           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000641-21        GOLOMB & HONIK, P.C.

MARINO, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11038          ONDERLAW, LLC

MARINO, MARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07427          HEYGOOD, ORR & PEARSON

MARINUS, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09919          ONDERLAW, LLC

MARION HAMMITT                FEDERAL - MDL                                3:21-CV-15579          LENZE LAWYERS, PLC

MARION HAMMITT                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15579          LENZE LAWYERS, PLC

MARION HAMMITT                FEDERAL - MDL                                3:21-CV-15579          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARION HAMMITT                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15579          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARION, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14042          THE MILLER FIRM, LLC

MARISA SACKS                  FEDERAL - MDL                                3:21-CV-19895          ONDERLAW, LLC

MARISA SACKS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19895          ONDERLAW, LLC

MARJORIE EASTER               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARK HARRIS                   FEDERAL - MDL                                3:21-CV-15589          LENZE LAWYERS, PLC

MARK HARRIS                   FEDERAL - MDL                                3:21-CV-15589          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARK KINNEY                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARK SCWANTJE                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARKARIAN, HILDA              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC716008               GIRARDI & KEESE

MARKER, GINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12389          ONDERLAW, LLC

MARKEY, EILEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15697          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARKHAM, DELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04932          ONDERLAW, LLC

MARKHAM, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07842          ASHCRAFT & GEREL

MARKHAM, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07842          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARKHAM, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13356          NACHAWATI LAW GROUP

MARKHAM, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08821          ONDERLAW, LLC

MARKIN, TANYA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

MARKIN, TANYA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MARKIN, TANYA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MARKIN, TANYA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MARKLAND, DIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13178          ONDERLAW, LLC

MARKLEY, LEIGH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07029          ONDERLAW, LLC

MARKOVIC, DANIJELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20712          ONDERLAW, LLC

MARKOVITZ, CATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07505          THE ENTREKIN LAW FIRM

MARKS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12328          MORELLI LAW FIRM, PLLC

MARKS, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11386          NACHAWATI LAW GROUP

MARKS, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09163          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARKS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15041          NACHAWATI LAW GROUP

MARKS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08250          THE ENTREKIN LAW FIRM

MARKS, NELLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02435          ONDERLAW, LLC

MARKS, NELLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07731          THE MILLER FIRM, LLC

MARKS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08866          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARKS, RUTH P. AND ALAN MARKS    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-06622-17AS       LEVY KONIGSBERG LLP

MARKS, WEIDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07578          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARKS, ZONIWEESE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17489          NACHAWATI LAW GROUP

MARKUS, KELLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11620          BISNAR AND CHASE

MARKUS, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13268          ARNOLD & ITKIN LLP

MARKWARDT, LUCILLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12531          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARLA SCHNECK                    FEDERAL - MDL                                3:21-CV-19041          MOTLEY RICE, LLC

MARLAND, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02918          THE MILLER FIRM, LLC

MARLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17273          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARLIN, JULIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002950-21        WEITZ & LUXENBERG

MARLOW, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15763          BART DURHAM INJURY LAW

MARLOW, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06234          DRISCOLL FIRM, P.C.

MARLOW, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15763          FRAZER PLC

MARLOW, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14754          DALIMONTE RUEB, LLP

MARLOW, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00997          ONDERLAW, LLC

MARLOW, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10709          ARNOLD & ITKIN LLP

MARLYS WRIGHT                    FEDERAL - MDL                                3:21-CV-18454          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

MARNEY, VIVIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17256          ASHCRAFT & GEREL, LLP

MARNEY, VIVIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17256          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MARO, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     #:21-CV-02692          ONDERLAW, LLC

MAROFSKY, ADRIENNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05405          GOLOMB SPIRT GRUNFELD PC

MAROFSKY, ADRIENNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13500          POTTS LAW FIRM

MAROHNIC, OLGA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18196          CLARK ROBB MASON COULMBE, ET AL.

MARONEY, LINDSAY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02356          DAVIS, BETHUNE & JONES, L.L.C.

MARONEY, SHELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04620          LANGDON & EMISON
MAROTTA, JACQUELINE & MAROTTA,
                                 CA - SUPERIOR COURT - LOS ANGELES            19STCV46925            FROST LAW FIRM, PC
JOHN
MAROTTA, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13468          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARPLES, CAROLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12885          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARQUARDT, COLLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13042          DANIEL & ASSOCIATES, LLC

MARQUETT, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03905          ONDERLAW, LLC

MARQUEZ, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16631          NACHAWATI LAW GROUP

MARQUEZ, CECILY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12972          THE DEATON LAW FIRM

MARQUEZ, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04083          ONDERLAW, LLC

MARQUEZ, DOLORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08084          ONDERLAW, LLC

MARQUEZ, EDUVIJES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06508          ONDERLAW, LLC

MARQUEZ, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03130          ONDERLAW, LLC

MARQUEZ, MARYLOU                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02877          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARQUEZ-REPISO, ILEANA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18402          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARQUIS, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14721          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARR, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09171          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARRACCINO, JOSPEHINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08657          ONDERLAW, LLC

MARRACHE, YVIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14337          KIESEL LAW, LLP

MARRERO, GLENDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002789-21        WEITZ & LUXENBERG

MARRERO, LIBRADA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17482          NACHAWATI LAW GROUP

MARRERO, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11959          ASHCRAFT & GEREL, LLP

MARRERO, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11959          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARRERO, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11093          PARKER WAICHMAN, LLP

MARRIMON, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11168          PARKER WAICHMAN, LLP

MARRIOTT, GENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19233          NACHAWATI LAW GROUP

MARRON, MARIA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC705965               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MARRON, MARIA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC705965               ROSS FELLER CASEY, LLP

MARROQUIN, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08033          ASHCRAFT & GEREL

MARROTT, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02411          JOHNSON LAW GROUP



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           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MARROW, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09176          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARRUFO, CHARLOTTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08747          MURPHY, FALCON & MURPHY, P.A.

MARRUFO, CHARLOTTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08747          THE GORNY LAW FIRM, LC

MARRUJO, GINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00228          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARSCHKE, IRENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04944          ONDERLAW, LLC

MARSEE, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10597          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARSEY, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16788          GORI JULIAN & ASSOCIATES, P.C.

MARSH, ABBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18729          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MARSH, ALESHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15642          NACHAWATI LAW GROUP

MARSH, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20721          ONDERLAW, LLC

MARSH, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03345          ONDERLAW, LLC

MARSH, HETTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02911          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARSH, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07265          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARSHA UNDERWOOD              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15809          LENZE LAWYERS, PLC

MARSHA UNDERWOOD              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15809          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARSHA WOHLMAN                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARSHAK, JODY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04820          ASHCRAFT & GEREL, LLP

MARSHALL, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05124          ONDERLAW, LLC

MARSHALL, CATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13589          NACHAWATI LAW GROUP

MARSHALL, CHE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12464          ONDERLAW, LLC

MARSHALL, ELISA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08246          ONDERLAW, LLC

MARSHALL, ETHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARSHALL, ETHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

MARSHALL, ETHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

MARSHALL, ETHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

MARSHALL, FANNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-20003          DALIMONTE RUEB, LLP

MARSHALL, GWENDOLYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11241          NACHAWATI LAW GROUP

MARSHALL, JENNONE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02866          FLETCHER V. TRAMMELL

MARSHALL, JILL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15469          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MARSHALL, JOYCE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10689          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARSHALL, KATHLEEN            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000744-18        ASPEY, WATKINS & DIESEL, PLLC

MARSHALL, KATINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02707          ONDERLAW, LLC




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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

MARSHALL, LACEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10476          ONDERLAW, LLC

MARSHALL, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07271          DUGAN LAW FIRM, PLC

MARSHALL, LORETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02882          ONDERLAW, LLC

MARSHALL, LYTASHE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17507          NACHAWATI LAW GROUP

MARSHALL, MARILYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18649          NACHAWATI LAW GROUP

MARSHALL, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07420          ONDERLAW, LLC

MARSHALL, MATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04803          ONDERLAW, LLC

MARSHALL, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11640          THE DIAZ LAW FIRM, PLLC

MARSHALL, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05518          ONDERLAW, LLC

MARSHALL, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18639          KIESEL LAW, LLP

MARSHALL, STEPHANIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05713          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARSHALL, TENEKA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19799          NACHAWATI LAW GROUP

MARSHALL, TONYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13348          HILLIARD MARTINEZ GONZALES, LLP

MARSHALL, VIRGINIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19839          NACHAWATI LAW GROUP

MARSHALL-GRAHAM, MYRTLE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11575          NACHAWATI LAW GROUP

MARSHALL-PARRIS, LATRECIA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03597          ONDERLAW, LLC

MARSON, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01327          JASON J. JOY & ASSCIATES P.L.L.C.

MARS-PRINE, TAMMY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11327          PARKER WAICHMAN, LLP

MARSTELLER, SUZANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08565          JOHNSON LAW GROUP

MARSTON, DALE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07282          DIAZ LAW FIRM, PLLC

MARSTON, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21301          HOLLAND LAW FIRM

MARSZALEC, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09829          ONDERLAW, LLC

MARTEL, MINA                   CA - SUPERIOR COURT - SACRAMENTO COUNTY      T182069                ASHCRAFT & GEREL

MARTEL, MINA                   CA - SUPERIOR COURT - SACRAMENTO COUNTY      T182069                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARTELLA, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08439          ONDERLAW, LLC

MARTEN, EILEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11245          ASHCRAFT & GEREL

MARTEN, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTEN, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

MARTEN, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

MARTEN, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

MARTENS, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10969          ONDERLAW, LLC

MARTER, JAQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09030          ONDERLAW, LLC

MARTHA HEMPHILL                FEDERAL - MDL                                3:21-CV-19069          MOTLEY RICE, LLC




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           Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

MARTHA MCKEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18307          ONDERLAW, LLC

MARTHA OROPEZA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15807          LENZE LAWYERS, PLC

MARTHA OROPEZA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15807          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARTHA POZO                   FEDERAL - MDL                                3:21-CV-19612          THE BARNES FIRM, P.C.

MARTIN, ALICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03630          JOHNSON LAW GROUP

MARTIN, ALTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03344          LUDWIG LAW FIRM, PLC

MARTIN, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11191          ONDERLAW, LLC

MARTIN, ANNA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002546-20        GOLOMB & HONIK, P.C.

MARTIN, ANNEMARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16189          NACHAWATI LAW GROUP

MARTIN, ARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09834          JOHNSON LAW GROUP

MARTIN, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10060          ONDERLAW, LLC

MARTIN, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11914          ASHCRAFT & GEREL, LLP

MARTIN, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11914          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02137          ONDERLAW, LLC

MARTIN, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11140          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

MARTIN, BONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19741          ASHCRAFT & GEREL, LLP

MARTIN, BONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19741          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, BRITTANY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17558          ONDERLAW, LLC

MARTIN, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03015          ONDERLAW, LLC

MARTIN, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11916          ASHCRAFT & GEREL, LLP

MARTIN, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10970          ASHCRAFT & GEREL, LLP

MARTIN, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12216          ONDERLAW, LLC

MARTIN, CLAUDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14785          LENZE LAWYERS, PLC

MARTIN, CLAUDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14785          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARTIN, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10608          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, CONSTANCE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001141-20        MORELLI LAW FIRM, PLLC

MARTIN, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04234          ONDERLAW, LLC

MARTIN, DAWN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1818-16          ROSS FELLER CASEY, LLP

MARTIN, DELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08649          FLEMING, NOLEN & JEZ, LLP

MARTIN, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14265          DRISCOLL FIRM, P.C.

MARTIN, DIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05561          MOTLEY RICE, LLC

MARTIN, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12247          MUELLER LAW PLLC




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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

MARTIN, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09898          ONDERLAW, LLC

MARTIN, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16583          THE BENTON LAW FIRM, PLLC

MARTIN, EARNESTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06425          WILLIAMS HART LAW FIRM

MARTIN, ELEANOR                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15159          ASHCRAFT & GEREL

MARTIN, ELEANOR                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15159          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, ELISABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12465          JOHNSON BECKER, PLLC

MARTIN, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20708          ONDERLAW, LLC

MARTIN, ETHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15096          MORRIS BART & ASSOCIATES

MARTIN, EVE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09251          ONDERLAW, LLC

MARTIN, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18964          NACHAWATI LAW GROUP

MARTIN, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09562          ONDERLAW, LLC

MARTIN, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07274          BARRETT LAW GROUP

MARTIN, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00145          ASHCRAFT & GEREL

MARTIN, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00145          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, JAMESENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17451          JOHNSON LAW GROUP

MARTIN, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09255          DAVIS, BETHUNE & JONES, L.L.C.

MARTIN, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17187          MORELLI LAW FIRM, PLLC

MARTIN, JOEANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13320          ROSS FELLER CASEY, LLP

MARTIN, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12215          ONDERLAW, LLC

MARTIN, JULIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12630          ANDRUS WAGSTAFF, P.C.

MARTIN, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07448          JOHNSON LAW GROUP

MARTIN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11574          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11043          PARKER WAICHMAN, LLP

MARTIN, KARLA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002305-20        GOLOMB & HONIK, P.C.

MARTIN, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21947          ONDERLAW, LLC

MARTIN, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07268          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, KATIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003101-21        WEITZ & LUXENBERG

MARTIN, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02173          BURNS CHAREST LLP

MARTIN, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02173          BURNS CHAREST LLP

MARTIN, LARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00230          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, LAURENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02370          DAVIS, BETHUNE & JONES, L.L.C.

MARTIN, LESLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17521          DRISCOLL FIRM, P.C.

MARTIN, LINDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002469-20        GOLOMB & HONIK, P.C.

MARTIN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06440          KLINE & SPECTER, P.C.



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MARTIN, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05634          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MARTIN, LIZABETH                  GA - STATE COURT OF FORSYTH COUNTY           19SC-1733-B            BARNES LAW GROUP, LLC

MARTIN, LIZABETH                  GA - STATE COURT OF FORSYTH COUNTY           19SC-1733-B            CHEELEY LAW GROUP

MARTIN, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15872          ASHCRAFT & GEREL

MARTIN, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17280          ASHCRAFT & GEREL, LLP

MARTIN, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17280          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16973          ASHCRAFT & GEREL

MARTIN, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16973          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11264          BOHRER LAW FIRM, LLC

MARTIN, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09702          ONDERLAW, LLC

MARTIN, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03441          WILLIAMS HART LAW FIRM

MARTIN, MARJORY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08177          MOTLEY RICE, LLC

MARTIN, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07275          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12952          CELLINO & BARNES, P.C.

MARTIN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22166          DRISCOLL FIRM, P.C.

MARTIN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09027          ONDERLAW, LLC

MARTIN, MELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07262          WAGSTAFF & CARTMELL, LLP

MARTIN, MURIEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01785          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11943          ONDERLAW, LLC

MARTIN, NORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05101          ONDERLAW, LLC

MARTIN, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15446          SULLO & SULLO, LLP

MARTIN, PRISCILLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18040          ASHCRAFT & GEREL

MARTIN, PRISCILLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18040          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10166          THE LAW OFFICES OF SEAN M CLEARY

MARTIN, RENELLE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-3320-19          COHEN, PLACITELLA & ROTH

MARTIN, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15869          GIRARDI & KEESE

MARTIN, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

MARTIN, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

MARTIN, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

MARTIN, RHONDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

MARTIN, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01543          BURNS CHAREST LLP

MARTIN, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01543          BURNS CHAREST LLP

MARTIN, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08367          HUTTON & HUTTON



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            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MARTIN, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03593          ONDERLAW, LLC

MARTIN, SHELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14620          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, SHERRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11507          ONDERLAW, LLC

MARTIN, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MARTIN, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MARTIN, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARTIN, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00142          ASHCRAFT & GEREL

MARTIN, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00142          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MARTIN, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MARTIN, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARTIN, SONDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11424          NACHAWATI LAW GROUP

MARTIN, SONJA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19446          NACHAWATI LAW GROUP

MARTIN, TAMIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07512          ONDERLAW, LLC

MARTIN, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04121          ONDERLAW, LLC

MARTIN, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15464          ONDERLAW, LLC

MARTIN, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08600          ONDERLAW, LLC

MARTIN, VALERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06384          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, VERONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10751          ONDERLAW, LLC

MARTIN, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14246          ASHCRAFT & GEREL, LLP

MARTIN, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14246          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00146          ROSS FELLER CASEY, LLP

MARTIN, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16538          ARNOLD & ITKIN LLP

MARTINCHALK, SUZANNE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTINDALE, GWINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11985          NACHAWATI LAW GROUP

MARTINEZ, AILIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04866          JOHNSON LAW GROUP

MARTINEZ, ALMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06545          DIAMOND LAW

MARTINEZ, ANGELINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11341          NACHAWATI LAW GROUP

MARTINEZ, ANNA                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARTINEZ, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05597          LEVIN SIMES LLP

MARTINEZ, CAMELLIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01914          JOHNSON LAW GROUP

MARTINEZ, CARMEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11655          PARKER WAICHMAN, LLP

MARTINEZ, CAROLINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13695          POTTS LAW FIRM

MARTINEZ, CATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19146          NACHAWATI LAW GROUP



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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MARTINEZ, CECILIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06597          ONDERLAW, LLC

MARTINEZ, CHARLOTTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09984          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MARTINEZ, CLORISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14484          THE MILLER FIRM, LLC

MARTINEZ, DANIEL               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARTINEZ, DANIEL               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARTINEZ, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06941          POTTS LAW FIRM

MARTINEZ, DINICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01109          HEYGOOD, ORR & PEARSON

MARTINEZ, DONILA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16066          HOVDE, DASSOW, & DEETS, LLC

MARTINEZ, DONILA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16066          THE MILLER FIRM, LLC

MARTINEZ, ELISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00507          THE SEGAL LAW FIRM

MARTINEZ, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13708          ARNOLD & ITKIN LLP

MARTINEZ, ELOISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19179          NACHAWATI LAW GROUP

MARTINEZ, ESTHER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09841          SANDERS VIENER GROSSMAN, LLP

MARTINEZ, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14902          LENZE LAWYERS, PLC

MARTINEZ, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14902          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARTINEZ, JAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MARTINEZ, JAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14912          LENZE LAWYERS, PLC

MARTINEZ, JAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MARTINEZ, JAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14912          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARTINEZ, JAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARTINEZ, JULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18604          ONDERLAW, LLC

MARTINEZ, JULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18604          ONDERLAW, LLC

MARTINEZ, KRISTI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17529          ARNOLD & ITKIN LLP

MARTINEZ, LAURA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09627          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTINEZ, LILLIAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08750          MICHAEL DAVID LAW

MARTINEZ, LINDALEE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09997          MOTLEY RICE, LLC

MARTINEZ, LYNDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

MARTINEZ, LYNDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

MARTINEZ, LYNDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

MARTINEZ, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21769          HOLLAND LAW FIRM

MARTINEZ, MARGARET             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00008-20AS       WEITZ & LUXENBERG

MARTINEZ, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTINEZ, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          GOLDENBERGLAW, PLLC

MARTINEZ, MARIA                CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318716             KIESEL LAW, LLP



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           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MARTINEZ, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17515          NACHAWATI LAW GROUP

MARTINEZ, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17519          NACHAWATI LAW GROUP

MARTINEZ, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          ONDERLAW, LLC

MARTINEZ, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07699          ONDERLAW, LLC

MARTINEZ, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          PORTER & MALOUF, PA

MARTINEZ, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          THE SMITH LAW FIRM, PLLC

MARTINEZ, MARRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14614          FLETCHER V. TRAMMELL

MARTINEZ, MARRY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002470-20        GOLOMB & HONIK, P.C.

MARTINEZ, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09047          JOHNSON LAW GROUP

MARTINEZ, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02228          ONDERLAW, LLC

MARTINEZ, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16063          HOVDE, DASSOW, & DEETS, LLC

MARTINEZ, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20030          MUELLER LAW PLLC

MARTINEZ, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09657          ONDERLAW, LLC

MARTINEZ, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16063          THE MILLER FIRM, LLC

MARTINEZ, MELINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04474          LEVIN SIMES LLP

MARTINEZ, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14984          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTINEZ, MISTY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002933-21        WEITZ & LUXENBERG

MARTINEZ, NOELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12439          LIEFF CABRASER HEIMANN & BERNSTEIN

MARTINEZ, ORALIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03108          MARTINIAN & ASSOCIATES, INC.

MARTINEZ, ORALIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03108          THE LAW OFFICES OF HAYTHAM FARAJ

MARTINEZ, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03106          ONDERLAW, LLC

MARTINEZ, ROSABELLE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06945          ONDERLAW, LLC

MARTINEZ, ROSALINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08415          HILLIARD MARTINEZ GONZALES, LLP

MARTINEZ, SALLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08145          ONDERLAW, LLC

MARTINEZ, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15480          ASHCRAFT & GEREL, LLP

MARTINEZ, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15480          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTINEZ, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19723          THE BARNES FIRM, P.C.

MARTINEZ, SANTOS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08308          ONDERLAW, LLC

MARTINEZ, SHELBY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10874          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARTINEZ, SHIRLEY             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARTINEZ, SULEMA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16161          JOHNSON LAW GROUP

MARTINEZ, SYBIL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12453          NAPOLI SHKOLNIK, PLLC

MARTINEZ, TAMMY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20291          MUELLER LAW PLLC

MARTINEZ, TANOA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12391          ONDERLAW, LLC



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            Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

MARTINEZ, VICKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06060          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTINEZ, YOLANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06884          ONDERLAW, LLC

MARTINEZ, YVETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07294          ONDERLAW, LLC

MARTINEZ-AUGUSTINE, YOLANDA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16895          ONDERLAW, LLC

MARTINEZ-BAEZA, ELIZABETH        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002471-20        GOLOMB & HONIK, P.C.

MARTINEZ-HERRON, SANDRA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06112          DALIMONTE RUEB, LLP

MARTINEZ-MELO, NORMA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17438          ONDERLAW, LLC

MARTIN-GORDON, JACQUELINE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13548          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIN-HATFIELD, LINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MARTIN-HATFIELD, LINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MARTIN-HATFIELD, LINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARTIN-MCCLURKIN, OLETA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08927          ONDERLAW, LLC

MARTINO-STRID, GRACE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20370          TRAMMELL PC

MARTINOWICZ, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18558          NACHAWATI LAW GROUP

MARTINS, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14164          DANIEL & ASSOCIATES, LLC

MARTINSON, SUSAN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002125-20        GOLOMB & HONIK, P.C.

MARTINTONI, MARIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12178          ARNOLD & ITKIN LLP

MARTIRE, LORRAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12539          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTIS, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00484          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTLING, KATY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01132          POTTS LAW FIRM

MARTONE, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19162          CELLINO & BARNES, P.C.

MARTORELLI, CHERYL               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000326-21        MOTLEY RICE NEW JERSEY LLC

MARTOVITZ, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13553          POTTS LAW FIRM

MARTSOLF, TERESE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21661          ONDERLAW, LLC

MARTUSCELLI, MARILYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10165          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

MARTY, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04940          POTTS LAW FIRM

MARTZ, LYNNE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001491-18        ASHCRAFT & GEREL

MARTZ, LYNNE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001491-18        GOLOMB SPIRT GRUNFELD PC

MARTZ, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARTZ, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

MARTZ, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

MARTZ, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

MARTZ, PATRICIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC




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             Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

MARUNA, DOREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00999          ONDERLAW, LLC

MARUNA, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11114          ONDERLAW, LLC

MARVEL, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00246          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARVIN, DARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10149          ONDERLAW, LLC

MARX, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18306          ONDERLAW, LLC

MARX, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02809          ONDERLAW, LLC

MARX, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11041          WAGSTAFF & CARTMELL, LLP

MARXER, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06919          ONDERLAW, LLC

MARY BAKER                      FEDERAL - MDL                                3:21-CV-19864          ONDERLAW, LLC

MARY BROGDON                    FEDERAL - MDL                                3:21-CV-10443          THE DIETRICH LAW FIRM, PC

MARY BROGDON                    FEDERAL - MDL                                3:21-CV-10443          THE DIETRICH LAW FIRM, PC

MARY BROWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18421          ONDERLAW, LLC

MARY CHRISTOPHERSEN             FEDERAL - MDL                                3:21-CV-15599          LENZE LAWYERS, PLC

MARY CHRISTOPHERSEN             FEDERAL - MDL                                3:21-CV-15599          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARY CUOZZO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18562          ONDERLAW, LLC

MARY CURTIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18067          WEITZ & LUXENBERG

MARY DODD                       FEDERAL - MDL                                3:21-CV-15582          LENZE LAWYERS, PLC

MARY DODD                       FEDERAL - MDL                                3:21-CV-15582          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARY DODD                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15582          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARY DRODDY                     FEDERAL - MDL                                3:21-CV-19787          ONDERLAW, LLC

MARY EDWARDS                    FEDERAL - MDL                                3:21-CV-18101          FLETCHER V. TRAMMELL

MARY ERPINAR                    FEDERAL - MDL                                3:21-CV-19654          JOHNSON BECKER, PLLC

MARY ERVI                       FEDERAL - MDL                                3:21-CV-19725          JOHNSON BECKER, PLLC

MARY HALL                       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARY HAMMER                     FEDERAL - MDL                                3:21-CV-15585          LENZE LAWYERS, PLC

MARY HAMMER                     FEDERAL - MDL                                3:21-CV-15585          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARY HIATT                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MARY KING                       FEDERAL - MDL                                3:21-CV-19103          MOTLEY RICE, LLC

MARY MANZI                      FEDERAL - MDL                                3:21-CV-15597          LENZE KAMERRER MOSS, PLC

MARY MANZI                      FEDERAL - MDL                                3:21-CV-15597          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MARY MCCAUGHAN                  FEDERAL - MDL                                3:21-CV-19070          MOTLEY RICE, LLC

MARY TAYLOR                     FEDERAL - MDL                                3:21-CV-16464          DAVIS, BETHUNE & JONES, L.L.C.

MARY UNDERDALE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18013          THE MILLER FIRM, LLC

MARY WEINER                     DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02752          ASHCRAFT & GEREL



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MARY WEINER                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02752          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARY WHITE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15814          LENZE LAWYERS, PLC

MARY WHITE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15814          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MARY YELVERTON                   FEDERAL - MDL                                3:21-CV-19085          MOTLEY RICE, LLC

MARY ZECCHINI                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003391-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

MAR-YAM-YAHRIB, AATEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17430          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MARZKA, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13985          MOTLEY RICE, LLC

MASCHINOT, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02091          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MASCHMAN, DANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09846          FLETCHER V. TRAMMELL

MASCHMAN, DANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09336          ONDERLAW, LLC

MASCITELLI, LISA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000653-18        GOLOMB SPIRT GRUNFELD PC

MASCITELLI, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02151          ONDERLAW, LLC

MASHBURN, JANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14351          WILLIAMS HART LAW FIRM

MASHELL, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20264          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MASHIKE, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18190          ONDERLAW, LLC

MASI, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11484          NACHAWATI LAW GROUP

MASIELLO, CAROLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09862          ONDERLAW, LLC

MASKO, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14383          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MASLOWSKI, JANET                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002547-20        GOLOMB & HONIK, P.C.

MASON, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08895          WAGSTAFF & CARTMELL, LLP

MASON, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16515          TRAMMELL PC

MASON, CHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

MASON, CHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

MASON, CHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MASON, CHERYL                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MASON, CLARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16133          ASHCRAFT & GEREL, LLP

MASON, CLARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16133          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MASON, CLAUDETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11235          DALIMONTE RUEB, LLP

MASON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03570          ASHCRAFT & GEREL, LLP

MASON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14810          LENZE LAWYERS, PLC

MASON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14810          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MASON, DELPHINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12479          SIMMONS HANLY CONROY

MASON, DONA AND MASON, KEN       NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07484-17AS       WEITZ & LUXENBERG

MASON, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00802          THE MILLER FIRM, LLC



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MASON, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05107          BURG SIMPSON ELDREDGE HERSH JARDINE

MASON, HOPE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

MASON, HOPE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

MASON, HOPE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

MASON, JEANNINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03008          ONDERLAW, LLC

MASON, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09428          ONDERLAW, LLC

MASON, LATRICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11047          THE SIMON LAW FIRM, PC

MASON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12290          CELLINO & BARNES, P.C.

MASON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14774          ONDERLAW, LLC

MASON, MIRIAM                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20024          NACHAWATI LAW GROUP

MASON, PANDORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06440          FLETCHER V. TRAMMELL

MASON, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09866          ONDERLAW, LLC

MASON, POLLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06517          ONDERLAW, LLC

MASON, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10579          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MASON, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00885          ONDERLAW, LLC

MASON, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12600          LAW OFF OF ROGER 'ROCKY' WALTON, PC

MASON, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04573          WAGSTAFF & CARTMELL, LLP

MASON-REIBSON, MYNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11582          THE MILLER FIRM, LLC

MASORTI, BECKI                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2724-15          GOLOMB SPIRT GRUNFELD PC

MASSAGEE, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08479          HARRISON DAVIS STEAKLEY MORRISON

MASSARO, ELISABETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08226          NAPOLI SHKOLNIK, PLLC

MASSARO, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11026          LIEFF CABRASER HEIMANN & BERNSTEIN

MASSENGILL, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11241          THE SIMON LAW FIRM, PC

MASSER, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06262          ONDERLAW, LLC

MASSETTI, KIMBERLY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002578-20        GOLOMB & HONIK, P.C.

MASSEY, BONITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06736          ONDERLAW, LLC

MASSEY, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07435          ONDERLAW, LLC

MASSEY, EFFIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02881          ONDERLAW, LLC

MASSEY, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00053          ONDERLAW, LLC

MASSEY, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20256          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MASSEY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18042          ASHCRAFT & GEREL

MASSEY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18042          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MASSEY, MARCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16475          ARNOLD & ITKIN LLP

MASSEY, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04590          WAGSTAFF & CARTMELL, LLP



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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

MASSEY-GOLEMATIS, JOYCE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09223          ASHCRAFT & GEREL

MASSEY-GUINN, JENNIFER           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05291          ONDERLAW, LLC

MASSI, JENNIFER                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV330513             THE MILLER FIRM, LLC

MASSICOT, KRISTIN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003158-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

MASSIE, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21237          FRANCOLAW PLLC

MASSIE, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21237          ONDERLAW, LLC

MASSIE, SANDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01708          JOHNSON LAW GROUP

MASSINGILL, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14845          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MASSINGILL, PAMELA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002174-20        GOLOMB & HONIK, P.C.

MAST, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18899          NACHAWATI LAW GROUP

MAST, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19278          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MASTERS, KIM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01843          THE MILLER FIRM, LLC

MASTERS, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10346          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MASTERS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MASTERS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15478          LENZE LAWYERS, PLC

MASTERS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MASTERS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15478          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MASTERS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MASTERS, SUSANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17480          JOHNSON LAW GROUP

MASTERSON, KATELYNN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22134          ONDERLAW, LLC

MASTERSON, NINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MASTERSON, NINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MASTERSON, NINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MASTRANDREA, CLARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19557          NACHAWATI LAW GROUP

MASTRANGELO, HELENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12136          ONDERLAW, LLC

MASTRIANNI, JEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10868          THE MILLER FIRM, LLC

MASTRIPPOLITO, KIM               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06511          HENINGER GARRISON DAVIS, LLC

MASTRIPPOLITO, KIMBERLY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02013          MOTLEY RICE, LLC

MASUD, FAIROZ                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17522          NACHAWATI LAW GROUP

MATA, CARMEN                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     18STCV10445            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MATA, ELVIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18584          THE BENTON LAW FIRM, PLLC

MATA, JOLYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02372          DAVIS, BETHUNE & JONES, L.L.C.

MATA, LUPE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MATA, LUPE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC



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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MATA, LUPE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MATAMOROS, ARACELI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13966          ONDERLAW, LLC

MATARAZZO, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08814          DAVIS, BETHUNE & JONES, L.L.C.

MATATT, CAROLINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09494          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATAYA, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13217          DALIMONTE RUEB, LLP

MATE, JOZSEFNE                   NY - SUPREME COURT - NYCAL                   190110/2017            MEIROWITZ & WASSERBERG, LLP

MATE, JOZSEFNE                   NY - SUPREME COURT - NYCAL                   190110/2017            MEIROWITZ & WASSERBERG, LLP

MATELJAN, CAROLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05823          ASHCRAFT & GEREL

MATELJAN, CAROLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05823          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATEO, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15877          GIRARDI & KEESE

MATERASSCO, VITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01259          GORI JULIAN & ASSOCIATES, P.C.

MATESKI, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19205          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MATEUS, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08357          ONDERLAW, LLC

MATEYUNAS, LORETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05689          PARKER WAICHMAN LLP

MATHAT, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07286          ONDERLAW, LLC

MATHE, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07256          ONDERLAW, LLC

MATHENY, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10968          ONDERLAW, LLC

MATHEOS, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20301          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATHERNE, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14495          MORRIS BART & ASSOCIATES

MATHEWS, BOBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09066          ONDERLAW, LLC

MATHEWS, CLAUDELL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07289          ONDERLAW, LLC

MATHEWS, DAWNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16438          ARNOLD & ITKIN LLP

MATHEWS, JUNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21213          DALIMONTE RUEB, LLP

MATHEWS, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18536          ONDERLAW, LLC

MATHEWS, MELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08162          ONDERLAW, LLC

MATHEWS, NOLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02801          ONDERLAW, LLC

MATHIES, ZOE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17194          JOHNSON LAW GROUP

MATHIS, ADA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATHIS, ADA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

MATHIS, ADA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

MATHIS, ADA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

MATHIS, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06359          ONDERLAW, LLC

MATHIS, MARCELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10992          NACHAWATI LAW GROUP




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MATHIS, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19387          NACHAWATI LAW GROUP

MATHIS, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14223          JOHNSON LAW GROUP

MATHIS, TERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12116          THE MILLER FIRM, LLC

MATHIS, TRACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10875          WAGSTAFF & CARTMELL, LLP

MATHSON, MARCIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13252          ONDERLAW, LLC

MATHURIN, LILIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18300          ONDERLAW, LLC

MATHURINE, LYDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10571          ONDERLAW, LLC

MATIAS, ADILENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16000          NACHAWATI LAW GROUP

MATIAS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11052          THE SEGAL LAW FIRM

MATIAS, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04258          FLETCHER V. TRAMMELL

MATIAS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10689          ASHCRAFT & GEREL

MATIKONIS, JOANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05635          LEVIN SIMES LLP

MATLOCK, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10847          ASHCRAFT & GEREL

MATNEY, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10850          ASHCRAFT & GEREL

MATNEY, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05724          JOHNSON LAW GROUP

MATONIK, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10573          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATOS, TAISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02004          ONDERLAW, LLC

MATOS, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14697          SANDERS PHILLIPS GROSSMAN, LLC

MATOUS, FAITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14483          JOHNSON LAW GROUP

MATRANGA, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09394          LEVIN SIMES LLP

MATSAYKO, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13554          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATSON, LISA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002126-20        GOLOMB & HONIK, P.C.

MATSUMOTO, LUANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06315          BURNS CHAREST LLP

MATSUOKA, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19641          NACHAWATI LAW GROUP

MATTEI, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09618          GOLOMB SPIRT GRUNFELD PC

MATTEO, NICOLE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1375-18          COHEN, PLACITELLA & ROTH

MATTEONI, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14454          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MATTERN, GEORGIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18370          THE SEGAL LAW FIRM

MATTERN, MISTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03133          ONDERLAW, LLC

MATTESON, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17664          CELLINO & BARNES, P.C.

MATTESON, VICKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05809          BURNS CHAREST LLP

MATTESON, VICKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05809          BURNS CHAREST LLP

MATTHEW, CAROLINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02243          BURNS CHAREST LLP

MATTHEW, CAROLINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02243          BURNS CHAREST LLP



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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MATTHEW, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13315          NACHAWATI LAW GROUP

MATTHEW, VERDMAY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13688          POTTS LAW FIRM

MATTHEWS, BARBARA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002176-20        GOLOMB & HONIK, P.C.

MATTHEWS, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13611          DRISCOLL FIRM, P.C.

MATTHEWS, CHAPLE MOORE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14344          FRAZER PLC

MATTHEWS, CLAIRE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATTHEWS, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20260          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATTHEWS, DEBORAH             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATTHEWS, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09470          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MATTHEWS, DEBORAH             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

MATTHEWS, DEBORAH             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

MATTHEWS, DEBORAH             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

MATTHEWS, DELORES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00162          ONDERLAW, LLC

MATTHEWS, ELISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14157          ASHCRAFT & GEREL

MATTHEWS, EVELYNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18671          ASHCRAFT & GEREL, LLP

MATTHEWS, JESSICA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09280          ONDERLAW, LLC

MATTHEWS, JESSIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19503          ONDERLAW, LLC

MATTHEWS, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15584          THE SIMON LAW FIRM, PC

MATTHEWS, LAUREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07490          LAW OFFICE OF JOHN D. SILEO, LLC

MATTHEWS, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05119          FLETCHER V. TRAMMELL

MATTHEWS, MEGAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06063          POGUST BRASLOW & MILLROOD, LLC

MATTHEWS, MICHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15933          WEITZ & LUXENBERG

MATTHEWS, OPHELIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13140          DRISCOLL FIRM, P.C.

MATTHEWS, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05965          JOHNSON LAW GROUP

MATTHEWS, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04146          ONDERLAW, LLC

MATTHEWS, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17527          NACHAWATI LAW GROUP

MATTHEWS, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13488          ONDERLAW, LLC

MATTHEWS, PEARL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09580          FLETCHER V. TRAMMELL

MATTHEWS, ROBIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08741          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MATTHEWS, SANDRA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

MATTHEWS, SANDRA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

MATTHEWS, SANDRA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

MATTHEWS, STEPHANIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11263          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MATTHEWS, TAMMY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18578          JOHNSON LAW GROUP



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           Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

MATTHEWS, WENDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03989          JOHNSON LAW GROUP

MATTHEWS-HARDEN, ADRIAN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19070          NACHAWATI LAW GROUP

MATTHEY, PATRICIA               FL - CIRCUIT COURT - SARASOTA COUNTY         2018CA004809           MOTLEY RICE, LLC

MATTHEY, PATRICIA               FL - CIRCUIT COURT - SARASOTA COUNTY         2018CA004809           MOTLEY RICE, LLC

MATTHEY, PATRICIA               FL - CIRCUIT COURT - SARASOTA COUNTY         2018CA004809           THE WHITTEMORE LAW GROUP, PA

MATTHIS, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15807          NACHAWATI LAW GROUP

MATTIA, SHELAH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATTIA, SHELAH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

MATTIA, SHELAH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

MATTIA, SHELAH                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

MATTICK, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16644          JOHNSON LAW GROUP

MATTIE HOLLOWAY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18116          MORELLI LAW FIRM, PLLC

MATTINGLY, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19356          ONDERLAW, LLC

MATTINGLY, GINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00355          ONDERLAW, LLC

MATTINGLY, JO                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002548-20        GOLOMB & HONIK, P.C.
MATTOCKS, ROBIN & WINTERROWD,
                                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00319-20AS       WEITZ & LUXENBERG
LORNA
MATTOS, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20376          JOHNSON LAW GROUP

MATTOS, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14305          JOHNSON LAW GROUP

MATTOX, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08287          THE MILLER FIRM, LLC

MATTOX, CANDANCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17822          ONDERLAW, LLC

MATTOX, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14847          LENZE LAWYERS, PLC

MATTOX, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14847          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MATTOX, SHARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21955          CHILDERS, SCHLUETER & SMITH, LLC

MATTSON, LAVONNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20485          ONDERLAW, LLC

MATTSON, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATTSON, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

MATTSON, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

MATTSON, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

MATTY, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00203          NACHAWATI LAW GROUP

MATULICH, ERIKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09633          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MATUS, BOBBY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18914          NACHAWATI LAW GROUP

MATYOLA, CATHERINE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001779-18        LEVY BALDANTE FINNEY & RUBENSTEIN

MATZEN, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05749          WILLIAMS HART LAW FIRM

MAUCERI, COLLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02014          ONDERLAW, LLC



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           Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

MAUCH, FLORINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19196          NACHAWATI LAW GROUP

MAUCH, FLORINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03908          ONDERLAW, LLC

MAUER, CHRISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10076          ARNOLD & ITKIN LLP

MAUER, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09522          ONDERLAW, LLC

MAUER, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08820          THE SIMON LAW FIRM, PC

MAULDEN, KATHERYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12291          JOHNSON LAW GROUP

MAULDEN, KATHERYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12291          LEVIN SIMES LLP

MAULE-FIELDS, CONNIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07953          ONDERLAW, LLC

MAULL, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17573          NACHAWATI LAW GROUP

MAUPIN, CAROLYNN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10137          SAUNDERS & WALKER, P.A.

MAUPIN, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14582          ASHCRAFT & GEREL

MAUPIN, LYNDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09302          DALIMONTE RUEB, LLP

MAUREEN LAURENT               FEDERAL - MDL                                3:21-CV-15602          LENZE KAMERRER MOSS, PLC

MAUREEN LAURENT               FEDERAL - MDL                                3:21-CV-15602          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MAURER, TARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16038          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MAURICE, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18729          FLETCHER V. TRAMMELL

MAURIELLO, DIANE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001578-18        GOLOMB SPIRT GRUNFELD PC

MAURO, DEBORAH                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC682106               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MAURO, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11961          ONDERLAW, LLC

MAURONI, CYNDI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10690          NACHAWATI LAW GROUP

MAXA, MAXINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06759          NAPOLI SHKOLNIK, PLLC

MAXAM, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22073          CELLINO & BARNES, P.C.

MAXAM-FRANK, ELIZABETH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12050          NACHAWATI LAW GROUP

MAXEL, KATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13560          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAXEY, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAXEY, TAMARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10157          MORGAN & MORGAN

MAXINE FLORES                 FEDERAL - MDL                                3:21-CV-15604          LENZE LAWYERS, PLC

MAXINE FLORES                 FEDERAL - MDL                                3:21-CV-15604          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MAXON, JEANETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12544          THE SIMON LAW FIRM, PC

MAXSON, JILL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04777          MOTLEY RICE, LLC

MAXTED, DEIRDRE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09268          ONDERLAW, LLC

MAXWELL, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05236          BURNS CHAREST LLP

MAXWELL, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10912          THE POINTE




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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MAXWELL, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13479          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAXWELL, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11541          NACHAWATI LAW GROUP

MAXWELL, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09510          ONDERLAW, LLC

MAXWELL, DAWNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13179          NACHAWATI LAW GROUP

MAXWELL, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13169          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

MAXWELL, JACQUELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08509          DALIMONTE RUEB, LLP

MAXWELL, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21342          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

MAXWELL, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02184          JOHNSON BECKER, PLLC

MAXWELL, PHEBE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17571          NACHAWATI LAW GROUP

MAXWELL, SHARON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAXWELL, SHARON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

MAXWELL, SHARON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

MAXWELL, SHARON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

MAXWELL, SHARON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

MAXWELL, SHEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02128          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAXWELL, VICKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00558          JOHNSON BECKER, PLLC

MAY, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03884          ONDERLAW, LLC

MAY, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17569          NACHAWATI LAW GROUP

MAY, IDA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

MAY, IDA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

MAY, IDA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MAY, IDA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MAY, JEANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11756          JIM S. HALL & ASSOCIATES, LLC

MAY, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14377          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAY, LESLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08046          ONDERLAW, LLC

MAY, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MAY, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MAY, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MAY, MYRTIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11271          ASHCRAFT & GEREL

MAY, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17290          ASHCRAFT & GEREL, LLP

MAY, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17290          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
MAY, PEGGY A. ESTATE OF BERTHA
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002568-21AS      WEITZ & LUXENBERG
HOSECLAW
MAY, PENNY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00251          ANDRUS WAGSTAFF, P.C.




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MAY, ROSEMARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09642          HEYGOOD, ORR & PEARSON

MAY, SUSIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17565          NACHAWATI LAW GROUP

MAY, TREVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08882          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAYBEE, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09374          ONDERLAW, LLC

MAYBERRY, AILEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05144          ONDERLAW, LLC

MAYBERRY, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12356          ARNOLD & ITKIN LLP

MAYE, KATIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07044          ONDERLAW, LLC

MAYE, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05286          ONDERLAW, LLC

MAYER, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01293          ASHCRAFT & GEREL

MAYER, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAYER, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10918          ASHCRAFT & GEREL, LLP

MAYER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15160          ASHCRAFT & GEREL

MAYER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15160          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAYER, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08863          ONDERLAW, LLC

MAYER, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09792          ONDERLAW, LLC

MAYER, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16499          JOHNSON LAW GROUP

MAYES, CHARLEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18912          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAYES, LINNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19478          NACHAWATI LAW GROUP

MAYES, TONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18633          WEITZ & LUXENBERG

MAYETTE, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16504          ASHCRAFT & GEREL, LLP

MAYFIELD, ALOMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05962          ONDERLAW, LLC

MAYFIELD, GAYLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05582          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MAYFIELD, THEODORA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002549-20        GOLOMB & HONIK, P.C.

MAYFIELD, TORRIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10029          TRAMMELL PC

MAYFIELD, TRENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10161          ONDERLAW, LLC

MAYID, MARISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14678          SANDERS PHILLIPS GROSSMAN, LLC

MAYKOWSKI, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11050          JOHNSON BECKER, PLLC

MAYNARD, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02476          ONDERLAW, LLC

MAYNARD, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04137          ONDERLAW, LLC

MAYNARD, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17582          NACHAWATI LAW GROUP

MAYNARD-SCHOOBAAR, GERVAISE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15881          GIRARDI & KEESE

MAYNOR, SHANETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13771          ONDERLAW, LLC

MAYO, CALAMITY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13264          ARNOLD & ITKIN LLP

MAYO, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13643          POTTS LAW FIRM



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             Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MAYO, HATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11425          NACHAWATI LAW GROUP

MAYO, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06947          ONDERLAW, LLC

MAYO, REBA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06331          NAPOLI SHKOLNIK, PLLC

MAYO, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17584          NACHAWATI LAW GROUP

MAYO-FAULKS, CAROLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10255          HOLLAND LAW FIRM

MAYOL, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08004          THE DUGAN LAW FIRM, APLC

MAYON, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10774          ASHCRAFT & GEREL, LLP

MAYORGA, HILDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09172          DAVIS, BETHUNE & JONES, L.L.C.

MAY-ROSARIO, VENITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15784          NACHAWATI LAW GROUP

MAYS, ADRIENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10620          NACHAWATI LAW GROUP

MAYS, BOBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18495          NACHAWATI LAW GROUP

MAYS, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11196          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAYS, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06657          CHILDERS, SCHLUETER & SMITH, LLC

MAYS, WILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03242          THE MILLER FIRM, LLC

MAYS-DICKENS, SHUANA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20152          NACHAWATI LAW GROUP

MAYSON, GLADYS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03476          ROSS FELLER CASEY, LLP

MAYSONET, ILEANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01162          ONDERLAW, LLC

MAYTIDU, ROBERT                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00227619              THE MILLER FIRM, LLC

MAZANETZ, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12499          JOHNSON BECKER, PLLC

MAZARESE, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08855          HOLLAND LAW FIRM
MAZARIEGOS, H ESTATE OF DARLA
                                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-007039-20        LEVY KONIGSBERG LLP
MAZARIEGOS
MAZEAU-AHKEAH, REBECCA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02110          ONDERLAW, LLC

MAZUREK, ELLEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07423          HEYGOOD, ORR & PEARSON

MAZUROWSKI, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09344          NACHAWATI LAW GROUP

MAZYCK, VALERIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06060          PARKER WAICHMAN, LLP

MAZZARELLA, MARCIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01683          JOHNSON LAW GROUP

MAZZELLA, LINDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000790-18        LOCKS LAW FIRM

MAZZEO, SHANNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAZZUCA, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MAZZUCA, KATHLEEN               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2254-17          GOLOMB SPIRT GRUNFELD PC

MAZZUCA, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          ONDERLAW, LLC

MAZZUCA, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          PORTER & MALOUF, PA

MAZZUCA, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          THE SMITH LAW FIRM, PLLC




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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

MAZZUCA, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04316          WILLIAMS HART LAW FIRM

MCABEE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09568          ONDERLAW, LLC

MCADAMS, LOU                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04240          ASHCRAFT & GEREL, LLP

MCAFEE, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18734          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MCAFEE, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14429          ASHCRAFT & GEREL

MCAFEE, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05824          ASHCRAFT & GEREL

MCAFEE, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05824          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCAFFEE, HEATHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02176          ONDERLAW, LLC

MCAFFEE, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14360          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCALEXANDER, ALICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05342          ROSS FELLER CASEY, LLP

MCALILEY, SUANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MCALILEY, SUANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MCALILEY, SUANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCALISTER, DELORIES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17591          NACHAWATI LAW GROUP

MCALISTER, GENOVEVA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09087          ONDERLAW, LLC

MCALISTER, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10418          GOLOMB SPIRT GRUNFELD PC

MCALPIN, JO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04621          LANGDON & EMISON

MCANALLY, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11619          NACHAWATI LAW GROUP

MCANALLY, MARCI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03969          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCANALLY, TANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17597          NACHAWATI LAW GROUP

MCANDREWS, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09287          ONDERLAW, LLC

MCANINCH, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11239          NACHAWATI LAW GROUP

MCARTHUR, AMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00046          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MCARTHUR, SYMPHONI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13514          DRISCOLL FIRM, P.C.

MCAVEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09330          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCAVOY, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01503          ONDERLAW, LLC

MCBEE, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08652          DAVIS, BETHUNE & JONES, L.L.C.

MCBEE, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14753          ONDERLAW, LLC

MCBRAYER, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08087          DUGAN LAW FIRM, PLC

MCBRIDE, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16807          THE MILLER FIRM, LLC

MCBRIDE, BRIDGET                 LA - DISTRICT COURT - ORLEANS PARISH         2016-09413             GALANTE & BIVALACQUA LLC

MCBRIDE, BRIDGET                 LA - DISTRICT COURT - ORLEANS PARISH         2016-09413             POURCIAU LAW FIRM, LLC

MCBRIDE, BRIDGET                 LA - DISTRICT COURT - ORLEANS PARISH         2016-09413             THE CHEEK LAW FIRM




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MCBRIDE, CARMEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14757          LENZE LAWYERS, PLC

MCBRIDE, CARMEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14757          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCBRIDE, CRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15266          JOHNSON LAW GROUP

MCBRIDE, JUNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02722          ONDERLAW, LLC

MCBRIDE, MARCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12342          LAW OFFICES OF JAMES S. ROGERS

MCBRIDE, MARCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12342          PANISH, SHEA & BOYLE

MCBRIDE, MARLO                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17599          NACHAWATI LAW GROUP

MCBRIDE, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10895          NACHAWATI LAW GROUP

MCBRIDE, RAE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19702          NACHAWATI LAW GROUP

MCBRIDE, RONALD                  IN - SUPERIOR COURT - MARION COUNTY          49D13-2110-MI-034781   DEAN OMAR BRANHAM, LLP

MCBRIDE, RONALD                  IN - SUPERIOR COURT - MARION COUNTY          49D13-2110-MI-034781   DOBS & FARINAS, LLP

MCBRIDE, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02886          SLATER, SLATER, SCHULMAN, LLP

MCBRIDE, VERONICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19827          NACHAWATI LAW GROUP

MCBROOM, DEBRA ANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21- CV- 16815        JOHNSON LAW GROUP

MCBROOM, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17628          NACHAWATI LAW GROUP

MCBRYANT, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15915          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MCCABE, BELINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06220          DIAMOND LAW

MCCABE, JOLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01862          HOLLAND LAW FIRM

MCCABE, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCABE, STACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17849          ASHCRAFT & GEREL, LLP

MCCABE, STACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17849          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCABE-GERMAN, SHARON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08230          ONDERLAW, LLC

MCCAFFERY, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13659          THE DUGAN LAW FIRM, APLC

MCCAIN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05096          SIMMONS HANLY CONROY

MCCAIN, BERNICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19515          NACHAWATI LAW GROUP

MCCAIN, HILDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09150          ASHCRAFT & GEREL, LLP

MCCAIN, MILDRED                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09694          JOHNSON LAW GROUP

MCCAIN, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02140          ONDERLAW, LLC

MCCALEB, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06238          ONDERLAW, LLC

MCCALISTER, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20805          ONDERLAW, LLC

MCCALL, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09363          GORI JULIAN & ASSOCIATES, P.C.

MCCALL, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03592          ONDERLAW, LLC

MCCALL, LOIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10683          BLIZZARD & NABERS, LLP

MCCALL, MARLENE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1416-19          GOLOMB SPIRT GRUNFELD PC



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           Claimant Name                            State Filed                       Docket Number                            Plaintiff Counsel

MCCALL, MAUREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16325          ONDERLAW, LLC

MCCALL, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12080          ONDERLAW, LLC

MCCALL, SHUBIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19441          NACHAWATI LAW GROUP

MCCALLA, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06743          THE SIMON LAW FIRM, PC

MCCALLION, KELLY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003019-21        COHEN, PLACITELLA & ROTH

MCCALLISTER, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07525          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCALLISTER, VALERIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13305          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCALLUM, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16134          ASHCRAFT & GEREL, LLP

MCCALLUM, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16134          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCANDLESS, SANDRA                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC688562               ASHCRAFT & GEREL

MCCANDLESS, SANDRA                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC688562               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCCANE, GWEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10818          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCANN, BRITTANY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09398          MOTLEY RICE, LLC

MCCANN, GINGER                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MCCANN, HILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17189          MORELLI LAW FIRM, PLLC

MCCANN, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10589          ONDERLAW, LLC

MCCANN, KRIS-ANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00559          JOHNSON BECKER, PLLC

MCCANN, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09338          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
MCCANN, PATRICK EST OF JAMES
                                  IL - CIRCUIT COURT - MADISON COUNTY          19-L-1661              SIMMONS HANLY CONROY LLC
MCCANN
MCCANN, TEQUITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10934          NACHAWATI LAW GROUP

MCCANN-MUELLER, HEATHER           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08344          ONDERLAW, LLC

MCCANTS, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13764          ONDERLAW, LLC

MCCARGISH, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19171          NACHAWATI LAW GROUP

MCCARIUS, DANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14210          DRISCOLL FIRM, P.C.

MCCARLEY, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05528          ARNOLD & ITKIN LLP

MCCARLEY, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06329          NAPOLI SHKOLNIK, PLLC

MCCARRELL, SAMANTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18014          REICH & BINSTOCK, LLP

MCCARTER, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19520          ARNOLD & ITKIN LLP

MCCARTER, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11192          ONDERLAW, LLC

MCCARTHY, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11919          MORELLI LAW FIRM, PLLC

MCCARTHY, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02050          JOHNSON LAW GROUP

MCCARTHY, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18962          JOHNSON LAW GROUP

MCCARTHY, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14137          WAGSTAFF & CARTMELL, LLP

MCCARTHY, GERALDINE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002003-20        SANDERS PHILLIPS GROSSMAN, LLC



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           Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

MCCARTHY, KERRIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11498          BARRETT LAW GROUP

MCCARTHY, KRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03616          ONDERLAW, LLC

MCCARTHY, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06568          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCARTHY, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15916          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MCCARTHY, MAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17823          ONDERLAW, LLC

MCCARTHY, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17998          ASHCRAFT & GEREL

MCCARTHY, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17998          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCARTHY, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13379          JOHNSON LAW GROUP

MCCARTHY, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10187          ONDERLAW, LLC

MCCARTHY, WENDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11853          ARNOLD & ITKIN LLP

MCCARTNEY, CATHY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000860-18        GOLOMB SPIRT GRUNFELD PC

MCCARTNEY, MEGAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09008          ONDERLAW, LLC

MCCARTY, ELIZABETH               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000407-21        GOLOMB & HONIK, P.C.

MCCARTY, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01329          ASHCRAFT & GEREL

MCCARTY, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCARTY, JERI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18579          NACHAWATI LAW GROUP

MCCARTY, PAULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09349          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCARTY, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18931          CELLINO & BARNES, P.C.

MCCARTY, TONJA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13001          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCARVER, JANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03131          JOHNSON LAW GROUP

MCCARVER, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07407          THE DUGAN LAW FIRM, APLC

MCCARY, TAMMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17099          ONDERLAW, LLC

MCCASLAND, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08159          ONDERLAW, LLC

MCCASLIN, DANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13722          THE MILLER FIRM, LLC

MCCASLIN, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03283          ONDERLAW, LLC

MCCASTER, SABRINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10262          GOLDENBERGLAW, PLLC

MCCAUGHAN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19070          MOTLEY RICE, LLC

MCCAULEY, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
MCCAULEY, THOMAS AND MCCAULEY,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01191-20AS       WEITZ & LUXENBERG
GAIL
MCCAWLEY, SARITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15035          WATERS & KRAUS, LLP

MC-CAW-MUSSIO, LYNETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14638          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCLAFLIN, TERI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16631          JOHNSON LAW GROUP




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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MCCLAIN, BRENDOLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04119          ONDERLAW, LLC

MCCLAIN, DON                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MCCLAIN, DON                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MCCLAIN, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16298          THE MILLER FIRM, LLC

MCCLAIN, JILL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05854          ONDERLAW, LLC

MCCLAIN, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06556          ONDERLAW, LLC

MCCLAIN, LOIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14507          BURNS CHAREST LLP

MCCLAIN, MELISSA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

MCCLAIN, MELISSA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

MCCLAIN, MELISSA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MCCLAIN, MELISSA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MCCLAIN, MERRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00462          THE MILLER FIRM, LLC

MCCLAIN, RITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06328          NAPOLI SHKOLNIK, PLLC

MCCLAIN, SELINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09359          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCLAIN-COSTON, THELMA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06431          ONDERLAW, LLC

MCCLANAHAN, KAREN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCLANAHAN, KAREN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

MCCLANAHAN, KAREN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

MCCLANAHAN, KAREN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

MCCLANAHAN, KAREN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

MCCLANAHAN, REBECCA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10124          JAMES MORRIS LAW FIRM PC

MCCLANAHAN, REGINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17494          JOHNSON LAW GROUP

MCCLARNON, LORI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17636          NACHAWATI LAW GROUP

MCCLEAD, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05601          ONDERLAW, LLC

MCCLEARN, MEILING              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCLEARN, MEILING              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

MCCLEARN, MEILING              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

MCCLEARY, JACQUELINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09884          ONDERLAW, LLC

MCCLELAND, MARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16956          THE DUGAN LAW FIRM, APLC

MCCLELAND, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17644          NACHAWATI LAW GROUP

MCCLELLAN, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15834          WAGSTAFF & CARTMELL, LLP

MCCLELLAN, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05640          ONDERLAW, LLC

MCCLELLAND, GAYLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15325          ONDERLAW, LLC

MCCLELLON, REGINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17652          NACHAWATI LAW GROUP



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           Claimant Name                          State Filed                       Docket Number                              Plaintiff Counsel

MCCLENDON, BRIANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17657          NACHAWATI LAW GROUP

MCCLENDON, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10567          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCLENDON, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00230          BURNS CHAREST LLP

MCCLENDON, RUTH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03141          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCLENDON, SHANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00943          MURRAY LAW FIRM

MCCLENDON-MITCHELL, SPRING      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10746          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCCLENNEN, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13773          ONDERLAW, LLC

MCCLENON, BELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05295          ONDERLAW, LLC

MCCLENTON, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05828          ASHCRAFT & GEREL

MCCLENTON, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05828          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCLEOD, CORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08369          ONDERLAW, LLC

MCCLESKEY, FASHONDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09720          ONDERLAW, LLC

MCCLINTOCK, SONYA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02938          ONDERLAW, LLC

MCCLINTOCK, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15392          KIESEL LAW, LLP

MCCLINTOCK, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15392          LAW OFFICE OF HAYTHAM FARAJ

MCCLINTOCK, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15392          MARTINIAN & ASSOCIATES, INC.

MCCLINTON, MAMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11911          MORELLI LAW FIRM, PLLC

MCCLINTON-MATTHEWS, JULIE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03329          MCSWEENEY/LANGEVIN, LLC

MCCLOSKEY, CHARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06176          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MCCLOSKEY, LAUREL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02635          ONDERLAW, LLC

MCCLOUD, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16971          PARKER WAICHMAN, LLP

MCCLOUD, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03020          ONDERLAW, LLC

MCCLUER, SHERILL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06420          NAPOLI SHKOLNIK, PLLC

MCCLUNEY, ANGELEAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15711          NACHAWATI LAW GROUP

MCCLUNG, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17824          ONDERLAW, LLC

MCCLURE, CORREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10758          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCLURE, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17517          JOHNSON LAW GROUP

MCCLURE, HEIDI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05392          KLINE & SPECTER, P.C.

MCCLURE, KATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10015          JASON J. JOY & ASSCIATES P.L.L.C.

MCCLURE, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03713          BLIZZARD & NABERS, LLP

MCCLURE, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03425          NAPOLI SHKOLNIK, PLLC

MCCLURE, MARGHANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11312          NACHAWATI LAW GROUP

MCCLURG, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05879          ONDERLAW, LLC




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           Claimant Name                          State Filed                      Docket Number                            Plaintiff Counsel

MCCLURG, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08147          THE LAW OFFICES OF SEAN M CLEARY

MCCLUSKEY, MARYELLEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08085          FLETCHER V. TRAMMELL

MCCLUSKY, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03186          ARNOLD & ITKIN LLP

MCCOLLEY, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11418          NACHAWATI LAW GROUP

MCCOLLINS, SYLVIA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002236-20        GOLOMB & HONIK, P.C.

MCCOLLUM, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13138          DALIMONTE RUEB, LLP

MCCOMB, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13785          SIMMONS HANLY CONROY

MCCOMBS, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08414          ONDERLAW, LLC

MCCONAHIE-GEORGE, KRISTIE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07205          SIMMONS HANLY CONROY

MCCONKEY-LONG, SHEILA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01893          ONDERLAW, LLC

MCCONNELL, HEATHER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08184          FLETCHER V. TRAMMELL

MCCONNELL, LAURA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002259-20        GOLOMB & HONIK, P.C.

MCCONNELL, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03829          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCONNELL, RUTH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05825          ASHCRAFT & GEREL

MCCONNELL, RUTH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05825          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCONNELL, WHITNEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07571          ONDERLAW, LLC

MCCONNER, FRANCES              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327339             THE MILLER FIRM, LLC

MCCOOL, JACQULYNNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18521          NACHAWATI LAW GROUP

MCCOOL, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17114          THE MILLER FIRM, LLC

MCCORD, CAMELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13754          COHEN & MALAD, LLP

MCCORD, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04307          ONDERLAW, LLC

MCCORKLE, AVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13958          SIMMONS HANLY CONROY

MCCORKLE, NATHALIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11087          SILL LAW GROUP, PLLC

MCCORMACK, ARLENE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-394-18           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MCCORMACK, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09364          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCORMACK, JOANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19753          NACHAWATI LAW GROUP

MCCORMICK, CAROLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14755          NAPOLI SHKOLNIK, PLLC

MCCORMICK, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21185          THE MILLER FIRM, LLC

MCCORMICK, DEBORAH             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002260-20        GOLOMB & HONIK, P.C.

MCCORMICK, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02852          ONDERLAW, LLC

MCCORMICK, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11266          NACHAWATI LAW GROUP

MCCORMICK, HEATHER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05486          ONDERLAW, LLC

MCCORMICK, JAMES               AZ - SUPERIOR COURT - MARICOPA COUNTY        CV2021-000747          ELY BETTINI ULMAN ROSENBLATT & OZER

MCCORMICK, JOAN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC



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             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MCCORMICK, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17579          ONDERLAW, LLC

MCCORMICK, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09571          ONDERLAW, LLC

MCCORMICK, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17827          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCORMICK, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03982          THE SEGAL LAW FIRM

MCCORMICK, MONIQUE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09132          ONDERLAW, LLC

MCCORMICK, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09918          ONDERLAW, LLC

MCCORMICK, SAMANTHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06121          CRAIG SWAPP & ASSOCIATES

MCCORMICK, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13716          POTTS LAW FIRM

MCCORMICK-OTIS, PATRICIA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03895          THE SEGAL LAW FIRM

MCCORVEY, CHIQUETTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16287          JOHNSON LAW GROUP

MCCOTTER, SHANNON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11078          FRAZER LAW LLC

MCCOWN, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08551          ONDERLAW, LLC

MCCOWN, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13510          ONDERLAW, LLC

MCCOY, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04252          ASHCRAFT & GEREL, LLP

MCCOY, ANNE-MARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08900          DRISCOLL FIRM, P.C.

MCCOY, AWILDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11200          ONDERLAW, LLC

MCCOY, CARLA                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV314869             MCNULTY LAW FIRM

MCCOY, CHRISTI (SMITH)          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22085          LANGSTON & LOTT, PLLC

MCCOY, INA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02697          ONDERLAW, LLC

MCCOY, JANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MCCOY, JANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14917          LENZE LAWYERS, PLC

MCCOY, JANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MCCOY, JANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14917          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCCOY, JANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCCOY, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06168          ONDERLAW, LLC

MCCOY, KRYSTLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08544          NACHAWATI LAW GROUP

MCCOY, LUBERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08556          ONDERLAW, LLC

MCCOY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15903          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCCOY, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09600          FLETCHER V. TRAMMELL

MCCOY, ROBERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19135          NACHAWATI LAW GROUP

MCCOY, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00235          LANGSTON & LOTT, PLLC

MCCOY, SATARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07776          ASHCRAFT & GEREL, LLP

MCCOY, SHANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09044          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MCCOY, TAMARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18396          THE SEGAL LAW FIRM

MCCOY, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MCCOY, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MCCOY, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCCOY, TIFFANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13481          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCOY, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19614          MOTLEY RICE, LLC

MCCOY, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14456          NAPOLI SHKOLNIK, PLLC

MCCOY, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11296          DANIEL & ASSOCIATES, LLC

MCCRACKEN, SUE-ELLEN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14037          FLETCHER V. TRAMMELL

MCCRAE, PEGGI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18387          THE BENTON LAW FIRM, PLLC

MCCRARY, VIVIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13542          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCRAY, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01642          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCRAY, ESTELL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13906          DALIMONTE RUEB, LLP

MCCRAY, IRENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16033          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MCCRAY, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05087          ONDERLAW, LLC

MCCRAY, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06720          ONDERLAW, LLC

MCCRAY, ODESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13115          CELLINO & BARNES, P.C.

MCCRAY, WILLIAM               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MCCRAY, WILLIAM               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MCCREA, TERRI                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MCCREADY, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02863          ONDERLAW, LLC

MCCREARY, WILLIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13106          FLETCHER V. TRAMMELL

MCCREE, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16734          THE SEGAL LAW FIRM

MCCREIGHT, SANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03270          ASHCRAFT & GEREL

MCCREIGHT, SANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03270          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCRORY, KATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10763          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCROSKEY, JESSICA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06146          ONDERLAW, LLC

MCCROSKEY, TONYA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07832          ASHCRAFT & GEREL

MCCROSKEY, WANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18663          FLETCHER V. TRAMMELL

MCCROSKIE, DANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12607          JUSTINIAN & ASSOCIATES PLLC

MCCROSSEN, CYNDY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21548          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCUE, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00361          MORELLI LAW FIRM, PLLC

MCCUIN, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05553          ARNOLD & ITKIN LLP




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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MCCUIN, LATRICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05516          ONDERLAW, LLC

MCCULLEN, CAROL               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

MCCULLEN, CAROL               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

MCCULLEN, CAROL               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

MCCULLERS, BEVERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15161          ASHCRAFT & GEREL

MCCULLERS, BEVERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15161          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCULLEY, CANDACE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19351          ONDERLAW, LLC

MCCULLEY, LYNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14823          JOHNSON LAW GROUP

MCCULLEY, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19575          ONDERLAW, LLC

MCCULLEY, STACY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16691          THE MILLER FIRM, LLC

MCCULLOUGH, HEIDI             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12165          THE SEGAL LAW FIRM

MCCULLOUGH, IRAZELLA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14185          ASHCRAFT & GEREL, LLP

MCCULLOUGH, LEONA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-284-20           DARCY JOHNSON DAY, P.C.

MCCULLOUGH, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17852          ASHCRAFT & GEREL, LLP

MCCULLOUGH, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17852          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCULLOUGH, PEGGY             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002307-20        GOLOMB & HONIK, P.C.

MCCULLOUGH, ROSE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05987          ONDERLAW, LLC

MCCULLY, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01615          FLETCHER V. TRAMMELL

MCCULTY, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14349          ARNOLD & ITKIN LLP

MCCULTY, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MCCULTY, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MCCULTY, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCCUMBEE, PENNY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02473          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCUMBER, EVELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13171          HEYGOOD, ORR & PEARSON

MCCUNE, ANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09730          DRISCOLL FIRM, P.C.

MCCUNE, ANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04085          ONDERLAW, LLC

MCCUNE, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13506          WILLIAMS HART LAW FIRM

MCCURDY, CAROLINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11300          NACHAWATI LAW GROUP

MCCURDY, CINDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14717          BURNS CHAREST LLP

MCCURDY, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18712          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCURDY, QUINDELL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14326          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCCURTY, CORINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00783          POTTS LAW FIRM

MCDADE, MAUREEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

MCDADE, MAUREEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MCDADE, MAUREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCDADE, MELODY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05875          ONDERLAW, LLC

MCDAMIEL, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14011          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDANIEL, CORLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17296          SALTZ MONGELUZZI & BENDESKY PC

MCDANIEL, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00006          ONDERLAW, LLC

MCDANIEL, JACKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13241          THE MILLER FIRM, LLC

MCDANIEL, JILL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07134          TRAMMELL PC

MCDANIEL, LATASHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02910          FLETCHER V. TRAMMELL

MCDANIEL, LYNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17113          NACHAWATI LAW GROUP

MCDANIEL, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18193          ONDERLAW, LLC

MCDANIEL, SYLENIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12137          FLETCHER V. TRAMMELL

MCDANIEL, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09354          GORI JULIAN & ASSOCIATES, P.C.

MCDANIELS, AMIKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14272          ARNOLD & ITKIN LLP

MCDEAVITT, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07283          BURNS CHAREST LLP

MCDEAVITT, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07283          BURNS CHAREST LLP

MCDERMAID, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     MCDERMAID, JANET       ONDERLAW, LLC

MCDERMAND, EDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06649          ONDERLAW, LLC

MCDERMITT-WEBER, EILEEN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01138          THE DUGAN LAW FIRM, APLC

MCDERMOTT, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15652          ASHCRAFT & GEREL, LLP

MCDERMOTT, LAURIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13014          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDERMOTT, NANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12075          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDOE, ELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17364          NACHAWATI LAW GROUP

MCDONALD, ANGELIA                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02735          ASHCRAFT & GEREL

MCDONALD, ANGELIA                DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02735          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDONALD, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11358          NACHAWATI LAW GROUP

MCDONALD, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13587          MCSWEENEY/LANGEVIN, LLC

MCDONALD, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04888          ONDERLAW, LLC

MCDONALD, BRITTANY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002550-20        GOLOMB & HONIK, P.C.

MCDONALD, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17827          ONDERLAW, LLC

MCDONALD, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07548          ONDERLAW, LLC

MCDONALD, DEBORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09418          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDONALD, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13590          THE SEGAL LAW FIRM

MCDONALD, FAYE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11732          NACHAWATI LAW GROUP

MCDONALD, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00999          BURNS CHAREST LLP



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           Claimant Name                         State Filed                        Docket Number                              Plaintiff Counsel

MCDONALD, IRENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00610            FLETCHER V. TRAMMELL

MCDONALD, JAYD                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09566            ONDERLAW, LLC

MCDONALD, JAYNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08294            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDONALD, JERRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07671            DALIMONTE RUEB, LLP

MCDONALD, KRISTY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12472            POTTS LAW FIRM

MCDONALD, LAURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08154            NACHAWATI LAW GROUP

MCDONALD, LILLIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02679            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MCDONALD, MARILYN             CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1809839               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCDONALD, MARJORIE            CA - SUPERIOR COURT - SHASTA COUNTY          190511                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDONALD, MARJORIE            CA - SUPERIOR COURT - SHASTA COUNTY          190511                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCDONALD, MARJORIE            CA - SUPERIOR COURT - SHASTA COUNTY          190511                   THE SMITH LAW FIRM, PLLC

MCDONALD, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10515            NACHAWATI LAW GROUP

MCDONALD, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00007            ONDERLAW, LLC

MCDONALD, MATTHEW             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00122-18AS         WEITZ & LUXENBERG

MCDONALD, MAYONA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDONALD, MAYONA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            ONDERLAW, LLC

MCDONALD, MAYONA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            PORTER & MALOUF, PA

MCDONALD, MAYONA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792            THE SMITH LAW FIRM, PLLC

MCDONALD, NELL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08549            JOHNSON LAW GROUP

MCDONALD, NICOLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17187            NACHAWATI LAW GROUP

MCDONALD, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01536            THE MILLER FIRM, LLC

MCDONALD, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17172            NACHAWATI LAW GROUP

MCDONALD, ROBIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12164            DRISCOLL FIRM, P.C.

MCDONALD, RUBY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15036            THE BENTON LAW FIRM, PLLC

MCDONALD, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12444            ONDERLAW, LLC

MCDONALD, SHELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17156            NACHAWATI LAW GROUP

MCDONALD, TAMMY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04959            NAPOLI SHKOLNIK, PLLC

MCDONALD, TONI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00055            ONDERLAW, LLC

MCDONALD-ADDISON, TERESA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20285            CELLINO & BARNES, P.C.

MCDONNELL, JUDITH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16064            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MCDONOUGH, CHERYL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04235            ONDERLAW, LLC

MCDONOUGH, COLLEEN            NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-001512-21          LEVY KONIGSBERG LLP

MCDONOUGH, COLLEEN            NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-001512-21          MAUNE RAICHLE HARTLEY FRENCH & MUDD

MCDOUGAL, DEBBIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09369            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MCDOUGALL, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02527          ARNOLD & ITKIN LLP

MCDOUGALL, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01726          DALIMONTE RUEB, LLP

MCDOUGLE, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11963          ASHCRAFT & GEREL, LLP

MCDOUGLE, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11963          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDOWELL, DENISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11254          NACHAWATI LAW GROUP

MCDOWELL, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17580          ONDERLAW, LLC

MCDOWELL, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17580          ONDERLAW, LLC

MCDOWELL, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02697          LANGDON & EMISON

MCDOWELL, KRISTI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13855          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDOWELL, LAURIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17680          SULLO & SULLO, LLP

MCDOWELL, MARGUERITE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11907          MORRIS BART & ASSOCIATES

MCDOWELL, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20309          ONDERLAW, LLC

MCDOWELL, NASHIRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20048          ARNOLD & ITKIN LLP

MCDOWELL, NASHIRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11020          THE CARLSON LAW FIRM

MCDOWELL, RUBY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19428          NACHAWATI LAW GROUP

MCDOWELL, SARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09856          ONDERLAW, LLC

MCDOWELL, TAMARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10383          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCDUFFIE, FRANCINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07314          WAGSTAFF & CARTMELL, LLP

MCDUFFIE, VESTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12082          ASHCRAFT & GEREL, LLP

MCDUFFIE, VESTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12082          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCELHANEY, CYNTHIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05564          THE MILLER FIRM, LLC

MCELHANEY, DARLENE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14088          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCELMEEL, AMANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18437          NACHAWATI LAW GROUP

MCELMURRAY, KRYSTAL           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13724          SLATER, SLATER, SCHULMAN, LLP

MCELROY, CHRISTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13569          NACHAWATI LAW GROUP
                              NJ - USDC - EASTERN DISTRICT OF NORTH
MCELROY, PATRICIA                                                          5:21-CV-00179          FLINT LAW FIRM LLC
                              CAROLINA
MCELROY, SHERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00112          CELLINO & BARNES, P.C.
MCELROY,PATRICIA &            NJ - USDC - EASTERN DISTRICT OF NORTH
                                                                           5:21-CV-00179          WARD BLACK LAW
MCELROY,STEPHEN               CAROLINA
MCELROY-ELLISON, ROSA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17169          NACHAWATI LAW GROUP

MCELVEEN, PAULINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00577          BART DURHAM INJURY LAW

MCELVEEN, PAULINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00577          FRAZER PLC

MCELVENEY, JACQUELINE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11918          PARKER WAICHMAN, LLP

MCELWEE, INGRIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08474          ONDERLAW, LLC

MCENDREE, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19616          MOTLEY RICE, LLC



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           Claimant Name                          State Filed                       Docket Number                             Plaintiff Counsel

MCEUEN, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06995          BARRETT LAW GROUP

MCFADDEN, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16435          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MCFADDEN, DEBBY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11844          GORI JULIAN & ASSOCIATES, P.C.

MCFADDEN, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08075          HOLLAND LAW FIRM

MCFADDEN, MATTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19672          NACHAWATI LAW GROUP

MCFADDEN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10996          NACHAWATI LAW GROUP

MCFADDEN, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13074          FLETCHER V. TRAMMELL

MCFALL, APRIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14944          ONDERLAW, LLC

MCFALL, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13563          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCFALL, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04585          ONDERLAW, LLC

MCFALL, JANEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02883          ONDERLAW, LLC

MCFALL, TASHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18173          GORI JULIAN & ASSOCIATES, P.C.

MCFARLAND, ANNETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15971          DALIMONTE RUEB, LLP

MCFARLAND, JANIE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002551-20        GOLOMB & HONIK, P.C.

MCFARLAND, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15931          DRISCOLL FIRM, P.C.

MCFARLAND, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12427          LAW OFFICES OF JAMES SCOTT FARRIN

MCFARLAND-BOGAN, CASSANDRA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01222          NACHAWATI LAW GROUP

MCFARLANE, JENNY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10592          ONDERLAW, LLC

MCFATE, MADELINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002344-21        MORELLI LAW FIRM, PLLC

MCFATE, MADELINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002344-21        THE SEGAL LAW FIRM

MCFETRIDGE, EILEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05822          BURNS CHAREST LLP

MCGANN, ELLEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-332-18           DARCY JOHNSON DAY, P.C.

MCGARRITY, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11173          CELLINO & BARNES, P.C.

MCGARRY, ALYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19051          NACHAWATI LAW GROUP

MCGARTH, SHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16493          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGARVEY-TANEBAUM, GENEVIEVE    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12753          CPC

MCGASKEY, KYNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14275          ARNOLD & ITKIN LLP

MCGAUGHY, JASSMEKA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08843          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGEAR, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12569          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MCGEE, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11243          DALIMONTE RUEB, LLP

MCGEE, BARBE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15738          ONDERLAW, LLC

MCGEE, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08779          ONDERLAW, LLC

MCGEE, CHIQUITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04273          ONDERLAW, LLC




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           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MCGEE, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14259          HOLLAND LAW FIRM

MCGEE, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18812          NACHAWATI LAW GROUP

MCGEE, SHANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15739          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MCGEE-LEMONS, DIANE           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003100-21        WEITZ & LUXENBERG

MCGHEE, BAMBI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14563          FLETCHER V. TRAMMELL

MCGHEE, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00369          MORELLI LAW FIRM, PLLC

MCGHEE, DELORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17018          MORELLI LAW FIRM, PLLC

MCGHEE, MICALYNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15039          THE BENTON LAW FIRM, PLLC

MCGIBBONEY, BRENDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15370          ROSS FELLER CASEY, LLP

MCGILL, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08674          LINVILLE LAW GROUP

MCGILL, GWENDOLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14220          ONDERLAW, LLC

MCGILL, JOHNNIE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003277-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

MCGILL, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10777          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGILL, MELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10767          FLETCHER V. TRAMMELL

MCGILL, PHYLLIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14476          GHIORSO LAW OFFICE

MCGILL, PHYLLIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14476          WILLIAM D. BRANDT, P.C.

MCGILL, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08339          JASON J. JOY & ASSCIATES P.L.L.C.

MCGILL, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03967          ONDERLAW, LLC

MCGILLIS, YVONNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15075          THE BENTON LAW FIRM, PLLC

MCGINNIS, BERNADETTE          IL - CIRCUIT COURT - COOK COUNTY             2018-L-1628            CLIFFORD LAW OFFICES, P.C.

MCGINNIS, BERNADETTE          IL - CIRCUIT COURT - COOK COUNTY             2018-L-1628            TAFT STETTINIUS & HOLLISTER LLP

MCGINNIS, PATTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15200          MORRIS BART & ASSOCIATES

MCGIRT, PAULETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10900          ONDERLAW, LLC

MCGLOCKLIN, MELISSA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00249          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGLONE, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08005          ONDERLAW, LLC

MCGLOTHIN, RIKAYAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07924          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGLOTHIN, RIKAYAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07924          ONDERLAW, LLC

MCGLOTHIN, RIKAYAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07924          PORTER & MALOUF, PA

MCGLOTHIN, RIKAYAH            CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318644             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCGLOTHIN, RIKAYAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07924          THE SMITH LAW FIRM, PLLC

MCGONIGLE, JOYCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGONIGLE, JOYCE              DE - SUPERIOR COURT - NEW CASTLE COUNTY      N17C-11-033 TAL        NAPOLI SHKOLNIK, PLLC

MCGONIGLE, JOYCE              DE - SUPERIOR COURT - NEW CASTLE COUNTY      N17C-11-033 TAL        NAPOLI SHKOLNIK, PLLC

MCGONIGLE, JOYCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          ONDERLAW, LLC



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           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MCGONIGLE, JOYCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          PORTER & MALOUF, PA

MCGONIGLE, JOYCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          THE SMITH LAW FIRM, PLLC

MCGOUGH, AGNES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01040          ONDERLAW, LLC

MCGOUGH, CATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09375          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGOVERN, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05643          ONDERLAW, LLC

MCGOVERN, FERN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:18-CV-00347              COHEN, PLACITELLA & ROTH
                              PA - PHILADELPHIA COUNTY COURT OF COMMON
MCGOVERN, SHEILA                                                       210701318                  EISENBERG, ROTHWEILER, WINKLER
                              PLEAS
MCGOWAN, ANGELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:21-CV-18219              ONDERLAW, LLC

MCGOWAN, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11202          PARKER WAICHMAN, LLP

MCGOWAN, DELETHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04982          ONDERLAW, LLC

MCGOWAN, LENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17236          NACHAWATI LAW GROUP

MCGOWAN, SHANNON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00977          FLETCHER V. TRAMMELL

MCGOWAN, STEPHANIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00821          MORELLI LAW FIRM, PLLC

MCGOWIN, ALEXANDRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15162          ASHCRAFT & GEREL

MCGOWIN, ALEXANDRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15162          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGOWIN, CHIQUITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15799          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGRADY, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02133          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

MCGRADY, KARIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04743          JOHNSON LAW GROUP

MCGRAIL, RENEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03509          ONDERLAW, LLC

MCGRATH, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05454          ONDERLAW, LLC

MCGRATH, GWENDOLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17053          MORRIS BART & ASSOCIATES

MCGRAW, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10563          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGRAW, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15042          JOHNSON LAW GROUP

MCGRAW, NICHOLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14218          ONDERLAW, LLC

MCGREGOR, KARIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00720          BURNS CHAREST LLP

MCGREGOR, KARIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00720          BURNS CHAREST LLP

MCGREGOR, RUTHIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09817          FLETCHER V. TRAMMELL

MCGREGOR, TERRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07459          ASHCRAFT & GEREL

MCGREW, VONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18001          ASHCRAFT & GEREL

MCGREW, VONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18001          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGRIFF, MARQUETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01691          JOHNSON LAW GROUP

MCGRUDER, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12716          TRAMMELL PC

MCGUINNESS, ERIN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09482          LEVIN SIMES ABRAMS LLP




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            Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

MCGUIRE, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12935          DRISCOLL FIRM, P.C.

MCGUIRE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08806          ONDERLAW, LLC

MCGUIRE, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03973          ONDERLAW, LLC

MCGUIRE, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04798          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MCGUIRE, JASMINE H.A. EST OF
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-06036-19AS       LEVY KONIGSBERG LLP
JAZETHRINE
MCGUIRE, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00252          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCGUIRE, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11755          ARNOLD & ITKIN LLP

MCGUIRE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10082          ONDERLAW, LLC

MCHENRY, TERI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03805          THE MILLER FIRM, LLC

MCHUGH, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15923          ASHCRAFT & GEREL, LLP

MCHUGH, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15923          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCHUGH, TRACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15540          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCHUGH, TREVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18389          THE SEGAL LAW FIRM

MCINERNEY, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17449          THE MILLER FIRM, LLC

MCINERNEY, MARJORIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14174          JOHNSON LAW GROUP

MCINNIS, LESLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08994          MORELLI LAW FIRM, PLLC

MCINNIS, MAJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05961          MURRAY LAW FIRM

MCINTIRE, REITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15290          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCINTOSH, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18647          ONDERLAW, LLC

MCINTOSH, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04828          ONDERLAW, LLC

MCINTOSH, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03463          JOHNSON LAW GROUP

MCINTOSH, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08247          GORI JULIAN & ASSOCIATES, P.C.

MCINTYRE, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09562          ONDERLAW, LLC

MCINTYRE, DARETHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18009          ROSS FELLER CASEY, LLP

MCINTYRE, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16147          JASON J. JOY & ASSCIATES P.L.L.C.

MCISAAC, VERONICA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002308-20        GOLOMB & HONIK, P.C.

MCKAIN, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07998          ONDERLAW, LLC

MCKAY, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11629          THE MILLER FIRM, LLC

MCKAY, EMER                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002461-20        GOLOMB & HONIK, P.C.

MCKAY, HELENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09380          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKAY, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17362          ASHCRAFT & GEREL, LLP

MCKAY, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17362          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MCKAY, MARY                   IL - CIRCUIT COURT - MADISON COUNTY          2021-L-00025           FLINT LAW FIRM LLC

MCKAY, NORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08558          WAGSTAFF & CARTMELL, LLP

MCKAY, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12461          ONDERLAW, LLC

MCKEAL, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12373          ONDERLAW, LLC

MCKEAN, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03257          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKEE, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16182          WATERS & KRAUS, LLP

MCKEE, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09574          ONDERLAW, LLC

MCKEE, CYNTHIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKEE, CYNTHIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

MCKEE, CYNTHIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

MCKEE, CYNTHIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

MCKEE, CYNTHIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

MCKEE, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16881          JOHNSON BECKER, PLLC

MCKEE, HATTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09848          ONDERLAW, LLC

MCKEE, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08060          ONDERLAW, LLC

MCKEE, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18307          ONDERLAW, LLC

MCKEE, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11570          NACHAWATI LAW GROUP

MCKEE, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17182          NACHAWATI LAW GROUP

MCKEE, ROBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11475          MUELLER LAW PLLC

MCKEE, ROBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11475          VAUGHAN LAW FIRM PC

MCKEE, SHELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02878          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKEE, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11306          ASHCRAFT & GEREL

MCKEE, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09795          BARON & BUDD, P.C.

MCKEE, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11476          NACHAWATI LAW GROUP

MCKEEVER, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:18-CV-10084              ONDERLAW, LLC
                              PA - PHILADELPHIA COUNTY COURT OF COMMON
MCKELLEY, DOMINQUE                                                     200500385                  ROSS FELLER CASEY, LLP
                              PLEAS
MCKELPHIN, JUDITH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:20-CV-14797              ARNOLD & ITKIN LLP

MCKELPHIN, PAULETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15100          ARNOLD & ITKIN LLP

MCKENNA, ANN-MARIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03995          ONDERLAW, LLC

MCKENNA, BARBARA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1953-17          GOLOMB SPIRT GRUNFELD PC

MCKENNA, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05806          WILLIAMS HART LAW FIRM

MCKENNA, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15429          GORI JULIAN & ASSOCIATES, P.C.

MCKENNA, MARJORIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13907          ONDERLAW, LLC




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              Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

MCKENNA, STACI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12110          THE MILLER FIRM, LLC

MCKENNEY, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19583          NACHAWATI LAW GROUP

MCKENNEY, SANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11841          GORI JULIAN & ASSOCIATES, P.C.

MCKENNEY, SHANEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03730          ONDERLAW, LLC

MCKENNIE, BERNICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09172          BARRETT LAW GROUP

MCKENZIE, ABBY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13394          MORGAN & MORGAN

MCKENZIE, ANDREA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19050          NACHAWATI LAW GROUP

MCKENZIE, EDRENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12398          ONDERLAW, LLC

MCKENZIE, JANNES; TONEY, GLENDA   CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV308034             THE MILLER FIRM, LLC

MCKENZIE, JENNIFER                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000180-21        GOLOMB & HONIK, P.C.

MCKENZIE, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15615          TAUTFEST BOND

MCKENZIE, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20937          ONDERLAW, LLC

MCKENZIE, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12633          ANDRUS WAGSTAFF, P.C.

MCKENZIE, QMETEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22074          DRISCOLL FIRM, P.C.

MCKENZIE, TERI                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     17CV02472              THE DUGAN LAW FIRM

MCKEOWN, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12622          SANDERS VIENER GROSSMAN, LLP
MCKERNAN, DIANE AND MCKERNAN,
                                  NY - SUPREME COURT -ERIE COUNTY              804275/2021            WEITZ & LUXENBERG
JAMES
MCKERR, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18641          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MCKEW, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10477          ARNOLD & ITKIN LLP

MCKIE, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00554          JOHNSON BECKER, PLLC

MCKIERMAN, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKIERMAN, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

MCKIERMAN, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

MCKIERMAN, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

MCKILLOP, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12350          ASHCRAFT & GEREL

MCKILLOP, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12350          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKIM, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20763          ONDERLAW, LLC

MCKIM, OPAL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06877          ONDERLAW, LLC

MCKINIGHT, LISA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

MCKINIGHT, LISA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

MCKINIGHT, LISA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MCKINIGHT, LISA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MCKINLEY, CAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09261          ONDERLAW, LLC




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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MCKINLEY, CAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09261          ONDERLAW, LLC

MCKINLEY, CAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09261          ONDERLAW, LLC

MCKINLEY, CHRISTINE           MO - CIRCUIT COURT - CITY OF ST. LOUIS       2122-CC00080           ONDERLAW, LLC

MCKINLEY, DEBERIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11455          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MCKINLEY, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10696          ASHCRAFT & GEREL

MCKINLEY, LADY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09935          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKINLEY, MONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10594          ONDERLAW, LLC

MCKINLEY, RAMONA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03346          NAPOLI SHKOLNIK, PLLC

MCKINLEY, SHEREE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03728          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MCKINLEY, TERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13655          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKINNEY, BROOKER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09383          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKINNEY, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11965          ASHCRAFT & GEREL, LLP

MCKINNEY, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11965          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKINNEY, DERLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02147          ONDERLAW, LLC

MCKINNEY, DORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19354          NACHAWATI LAW GROUP

MCKINNEY, ETHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11723          NACHAWATI LAW GROUP

MCKINNEY, GERTIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13352          NACHAWATI LAW GROUP

MCKINNEY, HARRIET             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-373-18           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MCKINNEY, JANET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11607          NACHAWATI LAW GROUP

MCKINNEY, JANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10508          ONDERLAW, LLC

MCKINNEY, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07391          WILLIAMS HART LAW FIRM

MCKINNEY, LINDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKINNEY, LINDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

MCKINNEY, LINDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

MCKINNEY, LINDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

MCKINNEY, LINDA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

MCKINNEY, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18952          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKINNEY, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11638          NACHAWATI LAW GROUP

MCKINNEY, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15137          LINVILLE LAW GROUP

MCKINNEY, SCHUWONDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14098          ONDERLAW, LLC

MCKINNEY, SHERRILL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19359          NACHAWATI LAW GROUP

MCKINNEY, TANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03546          ONDERLAW, LLC




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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MCKINNEY, VIRGIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02284          HENINGER GARRISON DAVIS, LLC

MCKINNON, BELINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19199          SANDERS PHILLIPS GROSSMAN, LLC

MCKINNON, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10526          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKINSEY, JULIE                  CA - SUPERIOR COURT - SANTA BARBARA          17CV04382              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCKINZIE, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCKINZIE, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          ONDERLAW, LLC

MCKINZIE, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          PORTER & MALOUF, PA

MCKINZIE, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396          THE SMITH LAW FIRM, PLLC

MCKNAB, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17502          JOHNSON LAW GROUP

MCKNIGHT, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02399          BERGSTRESSER & POLLOCK PC

MCKNIGHT, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02399          MOTLEY RICE, LLC

MCKNIGHT, DELPHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00471          THE SEGAL LAW FIRM

MCKNIGHT, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07399          LENZE LAWYERS, PLC

MCKNIGHT, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11887          NACHAWATI LAW GROUP

MCKNIGHT, ROSE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00317          THE MILLER FIRM, LLC

MCKNIGHT, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13750          POTTS LAW FIRM

MCKNIGHT, VERNELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20014          ARNOLD & ITKIN LLP

MCKNIGHT-FOSTER, CAROL           NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-000312-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

MCKONE, CLARISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08328          ONDERLAW, LLC

MCKOY, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17877          THE MILLER FIRM, LLC

MCKOY, MOYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11837          BURNS CHAREST LLP

MCKOY, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19078          NACHAWATI LAW GROUP

MCLACHLAN, DORRET                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002461-21        WEITZ & LUXENBERG

MCLAIN, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03456          ONDERLAW, LLC
MCLANAHAN, REBECCA; SHEELEY,
                                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC630912               MORRIS LAW FIRM
ALVINA
MCLANE, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCLANE, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

MCLANE, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

MCLANE, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

MCLANE, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

MCLANE, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19943          MUELLER LAW PLLC

MCLAREN, ASHLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11264          WATERS & KRAUS, LLP

MCLAT, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15784          GIRARDI & KEESE

MCLAUGHLIN, CAMILLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16215          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MCLAUGHLIN, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12423          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCLAUGHLIN, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17365          ASHCRAFT & GEREL, LLP

MCLAUGHLIN, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17365          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCLAUGHLIN, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07706          MOTLEY RICE, LLC

MCLAUGHLIN, MANDY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1208-16          ROSS FELLER CASEY, LLP

MCLAUGHLIN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00586          JOHNSON LAW GROUP

MCLAUGHLIN, PAULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08841          ONDERLAW, LLC

MCLAURIN, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02266          MOTLEY RICE, LLC

MCLAURIN, EXIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05532          THE MITCHELL FIRM, PLLC

MCLAURY, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08952          ONDERLAW, LLC

MCLEAN, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11973          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCLEAN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03697          WILLIAMS HART LAW FIRM

MCLEAN, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00054          ONDERLAW, LLC

MCLEAN, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCLEAN, JILL                      CA - SUPERIOR COURT - CONTRA COSTA COUNTY    MSC17-02144            ONDERLAW, LLC

MCLEAN, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          ONDERLAW, LLC

MCLEAN, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          PORTER & MALOUF, PA

MCLEAN, JILL                      CA - SUPERIOR COURT - CONTRA COSTA COUNTY    MSC17-02144            SALKOW LAW, APC

MCLEAN, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946          THE SMITH LAW FIRM, PLLC

MCLEAN, MAJESTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09705          ONDERLAW, LLC

MCLEAN, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19272          ARNOLD & ITKIN LLP

MCLEAN, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09503          ONDERLAW, LLC

MCLEAREN, ANDREA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08067          ASHCRAFT & GEREL

MCLELLAN, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17353          NACHAWATI LAW GROUP

MCLEMORE, PATTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10604          ONDERLAW, LLC

MCLENDON, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06322          NAPOLI SHKOLNIK, PLLC

MCLENNAN, MARIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15111          JASON J. JOY & ASSCIATES P.L.L.C.

MCLEOD, OLIVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07791          ASHCRAFT & GEREL

MCLEOD, OLIVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07791          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCLEOD, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12256          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCLIN, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02298          ONDERLAW, LLC

MCLOUGHLIN, SHARI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03208          GOLOMB & HONIK, P.C.

MCLOUGHLIN, SHARI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08532          HENINGER GARRISON DAVIS, LLC




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           Claimant Name                        State Filed                         Docket Number                              Plaintiff Counsel

MCLUCAS, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10457            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MCLUCAS, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11709            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCMACKIN, VIOLET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12533            BLASINGAME, BURCH, GARRARD & ASHLEY, PC

MCMAHAN, PATTI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17444            JOHNSON LAW GROUP

MCMAHON, LESLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01331            ASHCRAFT & GEREL

MCMAHON, LESLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01331            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCMANIGLE, LEONA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08940            ONDERLAW, LLC

MCMANUS, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04798            JOHNSON LAW GROUP

MCMANUS, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14558            ONDERLAW, LLC

MCMANUS, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450            DONALD L. SCHLAPPRIZZI P.C.

MCMANUS, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450            LENZE LAWYERS, PLC

MCMANUS, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCMANUS, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12543            TRAMMELL PC

MCMANUS, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17828            ONDERLAW, LLC

MCMANUS, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12128            POTTS LAW FIRM

MCMANUS, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14173            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCMASTER, CATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15483            ASHCRAFT & GEREL, LLP

MCMASTER, CATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15483            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCMASTER, GLORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17829            ONDERLAW, LLC

MCMASTER, POLLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06793            THE SIMON LAW FIRM, PC

MCMATH, LYNDA                 CA - SUPERIOR COURT - SHASTA COUNTY          188579                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCMATH, PATSY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16496            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCMICHAEL, LORETTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19475            ASHCRAFT & GEREL, LLP

MCMICHAEL, LORETTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19475            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCMICKLE, LUANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05415            DANIEL & ASSOCIATES, LLC

MCMILLAN, CONSTANCE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11909            MORELLI LAW FIRM, PLLC

MCMILLAN, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05431            ONDERLAW, LLC

MCMILLAN, GWENDOLYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07609            ASHCRAFT & GEREL, LLP

MCMILLAN, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450            DONALD L. SCHLAPPRIZZI P.C.

MCMILLAN, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14909            LENZE LAWYERS, PLC

MCMILLAN, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450            LENZE LAWYERS, PLC

MCMILLAN, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14909            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCMILLAN, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




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           Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

MCMILLAN, LORI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08504          ONDERLAW, LLC

MCMILLAN, MAKEISHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17226          NACHAWATI LAW GROUP

MCMILLAN, TIFFANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06912          ONDERLAW, LLC

MCMILLEN, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01205          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCMILLER, BERTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08469          SIMMONS HANLY CONROY

MCMILLER, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02851          ONDERLAW, LLC

MCMILLER-IFEADIKE, ROSALIND      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03934          NACHAWATI LAW GROUP

MCMILLIAN, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19943          NACHAWATI LAW GROUP

MCMILLIAN, CRISTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01797          JOHNSON LAW GROUP

MCMILLIAN, MILDRED               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

MCMILLIAN, MILDRED               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

MCMILLIAN, MILDRED               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

MCMILLIAN, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17153          NACHAWATI LAW GROUP

MCMILLIAN-GRACE, ELLA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06777          ONDERLAW, LLC

MCMINN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17019          TORHOERMAN LAW LLC

MCMONTGOMERY, LOIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16293          ARNOLD & ITKIN LLP

MCMORRIS, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13289          ASHCRAFT & GEREL, LLP

MCMULLAN, CLAIRE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13374          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MCMULLEN, CONCETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19648          NACHAWATI LAW GROUP

MCMULLEN, DIXIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14841          LENZE LAWYERS, PLC

MCMULLEN, DIXIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14841          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCMULLEN, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16096          ONDERLAW, LLC

MCMURRAY, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06802          THE SIMON LAW FIRM, PC

MCMURRAY, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13824          ONDERLAW, LLC

MCMURTREY, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03799          ONDERLAW, LLC

MCNABB, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13019          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCNABB, HUE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

MCNABB, HUE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

MCNABB, HUE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

MCNABB, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10130          BISNAR AND CHASE

MCNAIR, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09971          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCNAIR, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13492          ONDERLAW, LLC

MCNAIR, LEDELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15431          THE SEGAL LAW FIRM

MCNAMARA, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10625          MOTLEY RICE, LLC



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            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MCNAMARA, DEIDRE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002250-20        GOLOMB & HONIK, P.C.

MCNAMARA, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05641          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MCNAMEE, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11354          CELLINO & BARNES, P.C.

MCNAMEE, WINIFRED              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16588          THE MILLER FIRM, LLC

MCNATT, VICKIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002309-20        GOLOMB & HONIK, P.C.

MCNEAL, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15610          ANAPOL WEISS

MCNEAL, TONYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09826          ONDERLAW, LLC

MCNEECE, MARGERETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MCNEECE, MARGERETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MCNEECE, MARGERETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCNEEL, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22053          DRISCOLL FIRM, P.C.

MCNEELY, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07822          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCNEELY, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08745          ONDERLAW, LLC

MCNEESE, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03143          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCNEIL, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10596          ONDERLAW, LLC

MCNEIL, BRENNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCNEIL, ROSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19151          NACHAWATI LAW GROUP

MCNEIL, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03134          ONDERLAW, LLC

MCNEILL, COLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07387          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCNEILL, DEBRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000219-19        ASHCRAFT & GEREL

MCNEILL, DEBRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000219-19        GOLOMB SPIRT GRUNFELD PC

MCNEILL, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12812          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCNEILL, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13000          SLATER, SLATER, SCHULMAN, LLP

MCNEILL-GEORGE, DANGELA M      NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07049-16AS       COHEN, PLACITELLA & ROTH

MCNELIS, ELISSA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002066-21        GOLOMB & HONIK, P.C.

MCNESBY, JEANNINE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001464-20        ROSS FELLER CASEY, LLP

MCNETT, JANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00066          THE FERRARO LAW FIRM, P.A.

MCNEVIN, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06603          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCNEW, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15487          BART DURHAM INJURY LAW

MCNEW, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15487          FRAZER PLC

MCNICHOLAS, SIOBHAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00033          BARRETT LAW GROUP

MCNICHOLS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05722          ONDERLAW, LLC

MCNULTY, GAIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05031          MUELLER LAW PLLC

MCNULTY, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10068          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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            Claimant Name                        State Filed                       Docket Number                                 Plaintiff Counsel

MCNUTT, KATIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00633             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCNUTT, SARANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10062             TRAMMELL PC

MCNUTT, SUSAN                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02736             ASHCRAFT & GEREL

MCNUTT, SUSAN                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02736             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCPARTLIN, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06050             POGUST BRASLOW & MILLROOD, LLC

MCPHERSON, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22155             DRISCOLL FIRM, P.C.

MCPHERSON, DAWN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10584             DALIMONTE RUEB, LLP

MCPHERSON, ROBIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01229             ONDERLAW, LLC

MCPHERSON, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03961             ONDERLAW, LLC

MCPHILLIP, JEAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18044             ASHCRAFT & GEREL

MCPHILLIP, JEAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18044             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCPHILLIPS, LAURIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13859             DANIEL & ASSOCIATES, LLC

MCPHILLIPS, LAURIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450             DONALD L. SCHLAPPRIZZI P.C.

MCPHILLIPS, LAURIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450             LENZE LAWYERS, PLC

MCPHILLIPS, LAURIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCQUADE, ROBIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06513             THE MILLER FIRM, LLC

MCQUAIN, LIBBY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06616             JOHNSON BECKER, PLLC

MCQUATE, KATRINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13160             ONDERLAW, LLC

MCQUAY, WENDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13601             WILLIAMS HART LAW FIRM

MCQUEEN, DAPHNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02511             ARNOLD & ITKIN LLP

MCQUEEN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09396             NACHAWATI LAW GROUP

MCQUILLAN, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791             JACOBS OHARA MCMULLEN , P.C.

MCQUILLAN, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791             ONDERLAW, LLC

MCQUILLAN, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791             THE POTTS LAW FIRM, LLP

MCQUILLAN, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791             ZEVAN DAVIDSON ROMAN LLC

MCQUILLEN, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCQUILLEN, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790             GOLDENBERGLAW, PLLC

MCQUILLEN, KAREN               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2255-17             GOLOMB SPIRT GRUNFELD PC

MCQUILLEN, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790             ONDERLAW, LLC

MCQUILLEN, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790             PORTER & MALOUF, PA

MCQUILLEN, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790             THE SMITH LAW FIRM, PLLC

MCQUITTY, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20056             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCQUOWN, LINDA                 CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-38363-CU-PL-CTL   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCQUOWN, LINDA                 CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-38363-CU-PL-CTL   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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           Claimant Name                         State Filed                      Docket Number                                 Plaintiff Counsel

MCQUOWN, LINDA                CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-38363-CU-PL-CTL   THE SMITH LAW FIRM, PLLC

MCRAE, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01008             ONDERLAW, LLC

MCRAE, GWENDLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10778             NACHAWATI LAW GROUP

MCRAE, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13602             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCREYNOLDS, ELKE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00824             MORELLI LAW FIRM, PLLC

MCSHANE, DARLENE              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC719091                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCSHANE, DARLENE              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC719091                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MCSHANE, DARLENE              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC719091                  THE SMITH LAW FIRM, PLLC

MCSHEA, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19319             CELLINO & BARNES, P.C.

MCSHERRY, REBECCA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16613             CHILDERS, SCHLUETER & SMITH, LLC

MCSURDY, ROSINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06285             ONDERLAW, LLC

MCSWAIN, DEANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13559             ONDERLAW, LLC

MCSWAIN, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19714             ARNOLD & ITKIN LLP

MCSWAIN, PHYLLIS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13878             DALIMONTE RUEB, LLP

MCTAMNEY, LAURALEE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCTAMNEY, LAURALEE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726             ONDERLAW, LLC

MCTAMNEY, LAURALEE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726             PORTER & MALOUF, PA

MCTAMNEY, LAURALEE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726             THE SMITH LAW FIRM, PLLC

MCTAMNEY, LAURELEE            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2258-17             GOLOMB SPIRT GRUNFELD PC

MCTIGUE, CAROLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01033             NAPOLI SHKOLNIK, PLLC

MCVAY, MARCIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00031             POTTS LAW FIRM

MCVAY, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00052             ONDERLAW, LLC

MCVEAN, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCVEAN, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              GOLDENBERGLAW, PLLC

MCVEAN, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              ONDERLAW, LLC

MCVEAN, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              PORTER & MALOUF, PA

MCVEAN, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134              THE SMITH LAW FIRM, PLLC

MCVEY, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10664             NACHAWATI LAW GROUP

MCVEY, LANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02569             THE SEGAL LAW FIRM

MCWATERS, LOU                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18375             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCWATTY, LORNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05906             MOTLEY RICE, LLC

MCWHORTER, MADGE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10769             SANDERS VIENER GROSSMAN, LLP

MCWILLIAMS, CATHERINE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12276             THE DIAZ LAW FIRM, PLLC

MCWILLIE, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07787             ASHCRAFT & GEREL



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MCWILLIE, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07787          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MCWOODS, SUNDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00867          ASHCRAFT & GEREL, LLP

MCZEAL, ANISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01502          ONDERLAW, LLC

MEACHAM, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04503          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEACHEM, JERI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04988          THE BENTON LAW FIRM, PLLC

MEACHEM, ROBERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09391          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEAD, NAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06156          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEAD, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01118          NACHAWATI LAW GROUP

MEAD, STANLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03609          ONDERLAW, LLC

MEADE, ARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15735          ARNOLD & ITKIN LLP

MEADE, HEIDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07631          BARRETT LAW GROUP

MEADOR, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05178          ONDERLAW, LLC

MEADOR, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEADOR, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

MEADOR, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

MEADOR, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

MEADOR, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

MEADOR, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06303          ONDERLAW, LLC

MEADOWS, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10598          ONDERLAW, LLC

MEADOWS, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16266          JOHNSON LAW GROUP

MEADOWS, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06233          DRISCOLL FIRM, P.C.

MEADOWS, LUANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09887          FLETCHER V. TRAMMELL

MEADOWS, MELISSA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003058-21        WEITZ & LUXENBERG

MEADOWS, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01193          ONDERLAW, LLC

MEADOWS, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17144          NACHAWATI LAW GROUP

MEADOWS, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04380          SIMMONS HANLY CONROY

MEADWOS, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19751          NACHAWATI LAW GROUP

MEALS, VICKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08080          ONDERLAW, LLC

MEALY, BECKY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00748          JOHNSON LAW GROUP

MEANS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00955          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEANS, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18737          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MEANS, LANDRIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15586          MORRIS BART & ASSOCIATES




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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MEARA, DEBORAH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002306-20        GOLOMB & HONIK, P.C.

MEARS, FRANCIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20451          ONDERLAW, LLC

MEARS, MARCIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

MEARS, MARCIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEARS, MARCIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

MEARS, MARCIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

MEARS, MARCIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

MEARS, ORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19096          NACHAWATI LAW GROUP

MECADON, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02398          ONDERLAW, LLC

MECHELLE DOBBS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18113          WEITZ & LUXENBERG

MECOM, SONJA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17531          JOHNSON LAW GROUP

MEDCALF, MARJORIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11966          ASHCRAFT & GEREL, LLP

MEDCALF, MARJORIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11966          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEDD, COURTNEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13484          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEDEIROS, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08227          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEDELLIN, GRACIELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08466          ONDERLAW, LLC

MEDFORD, CHRISTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15744          NACHAWATI LAW GROUP

MEDFORD, NADINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10838          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEDGES, JANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12460          ONDERLAW, LLC

MEDINA, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05928          ONDERLAW, LLC

MEDINA, ANDRIANA               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MEDINA, ANGELINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13009          FLETCHER V. TRAMMELL

MEDINA, ANTOINETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16312          NACHAWATI LAW GROUP

MEDINA, DENELDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09857          JOHNSON LAW GROUP

MEDINA, DESTINY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13368          FLETCHER V. TRAMMELL
MEDINA, DORIS AND MEDINA,
                               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002681-20        WEITZ & LUXENBERG
TEMISTOCOLE
MEDINA, FRNACES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEDINA, FRNACES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

MEDINA, FRNACES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

MEDINA, FRNACES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

MEDINA, IVELISSE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04993          JOHNSON LAW GROUP

MEDINA, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04365          HILLARD MUNOZ GONZALES, LLP

MEDINA, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05878          ONDERLAW, LLC

MEDINA, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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           Claimant Name                              State Filed                      Docket Number                              Plaintiff Counsel

MEDINA, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

MEDINA, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

MEDINA, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

MEDINA, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00275          BACHUS & SCHANKER LLC

MEDINA, MIGDALIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00740          BURNS CHAREST LLP

MEDINA, MIGDALIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00740          BURNS CHAREST LLP

MEDINA, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10095          DALIMONTE RUEB, LLP

MEDINA, RAQUEL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002364-21        WEITZ & LUXENBERG

MEDINA, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21076          KIESEL LAW, LLP

MEDINA, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03136          ONDERLAW, LLC

MEDINA, VIENGXAY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-002552-20        GOLOMB & HONIK, P.C.
MEDINA,MIRNDA,POULOT,BARSA,BARRN,
                                  CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC620876               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
HAWRTH,
MEDLENNOFF, PAM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04693          JOHNSON LAW GROUP

MEDLEY, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11231          NACHAWATI LAW GROUP

MEDLEY, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10031          TRAMMELL PC

MEDLEY, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02543          JOHNSON BECKER, PLLC

MEDLEY, JODY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06319          NAPOLI SHKOLNIK, PLLC

MEDLIN, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04415          WAGSTAFF & CARTMELL, LLP

MEDLOCK, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14892          WILLIAMS HART LAW FIRM

MEDLOCK, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17219          NACHAWATI LAW GROUP

MEDRANO, DORA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC658888               NAPOLI SHKOLNIK, PLLC

MEDRANO, EMELIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06593          ONDERLAW, LLC

MEDRANO, IRMA                      NY - SUPREME COURT - NYCAL                   190055/2018            MEIROWITZ & WASSERBERG, LLP

MEDRANO, IRMA                      NY - SUPREME COURT - NYCAL                   190055/2018            MEIROWITZ & WASSERBERG, LLP

MEDRANO, KIMBERLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06869          JOHNSON LAW GROUP

MEDRANO, MOLLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15722          ONDERLAW, LLC

MEDRANO, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09263          DAVIS, BETHUNE & JONES, L.L.C.

MEDSKER, MAGGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17230          NACHAWATI LAW GROUP

MEDSKER, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08541          HENINGER GARRISON DAVIS, LLC

MEDVED, ANDREA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15886          NACHAWATI LAW GROUP

MEDVED, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06052          POGUST BRASLOW & MILLROOD, LLC

MEEHAN, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03123          FLETCHER V. TRAMMELL

MEEHAN, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09771          ONDERLAW, LLC




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           Claimant Name                              State Filed                      Docket Number                              Plaintiff Counsel

MEEK, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08623          ONDERLAW, LLC

MEEK, CAROL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02076          ONDERLAW, LLC

MEEK, VIVIAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09547          JOHNSON LAW GROUP

MEEKINS, DELZORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10522          BARON & BUDD, P.C.

MEEKINS, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00404          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEEKINS, TELISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04717          ONDERLAW, LLC

MEEKS, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10819          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEEKS, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11532          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MEEKS, JESSLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEEKS, JESSLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

MEEKS, JESSLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

MEEKS, JESSLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

MEEKS, REBECCA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

MEEKS, REBECCA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

MEEKS, REBECCA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

MEEKS, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11445          NACHAWATI LAW GROUP
MEERDO, ELEANOR ESTATE OF GEORGE   PA - COURT OF COMMON PLEAS - PHILADELPHIA
                                                                                2103023652             WEITZ & LUXENBERG
MEERDO                             COUNTY
MEFFORD, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05989          ONDERLAW, LLC

MEGARIOTIS, JOANNA                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-001970-21        WEITZ & LUXENBERG

MEGGETT, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15466          ONDERLAW, LLC

MEGHAED, SHARVAT                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04690          ONDERLAW, LLC

MEGHANA, JOSHI                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     JCCP4872               BARNES & THORNBURG LLP

MEGHANA, JOSHI                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     JCCP4872               KIESEL LAW, LLP

MEHAFFY, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03820          ONDERLAW, LLC

MEHOCHKO, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13057          MOTLEY RICE NEW JERSEY LLC

MEHR, HASINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13329          DAVIS, BETHUNE & JONES, L.L.C.

MEHREN, MARGARET                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002311-20        GOLOMB & HONIK, P.C.

MEHRINGER, JESSICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13808          CORY, WATSON, CROWDER & DEGARIS P.C.

MEIER, ARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12893          ONDERLAW, LLC

MEIER, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEIER, CYNTHIA                     CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2017-00221571       ONDERLAW, LLC

MEIER, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          ONDERLAW, LLC

MEIER, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          PORTER & MALOUF, PA




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              Claimant Name                          State Filed                       Docket Number                              Plaintiff Counsel

MEIER, CYNTHIA                     CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2017-00221571       SALKOW LAW, APC

MEIER, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720          THE SMITH LAW FIRM, PLLC

MEIER, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01459          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEIERS, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05717          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MEIKLE, AMBER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07422          ARNOLD & ITKIN LLP

MEIKLE, ELIZABETH                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-0033771-20AS     MAUNE RAICHLE HARTLEY FRENCH & MUDD
MEIKLE, ELIZABETH C. AND MEIKLE,
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-0033771-20AS     LEVY KONIGSBERG LLP
GARY P.
MEINERS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07584          ONDERLAW, LLC

MEINHARDT, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16074          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEINHOLD, CORINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07120          FLETCHER V. TRAMMELL

MEIROWITZ, HARRIETT                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02293          CELLINO & BARNES, P.C.

MEISINGER, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12789          ONDERLAW, LLC

MEISTER, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17114          GORI JULIAN & ASSOCIATES, P.C.

MEIXNER, ELLEN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000303-21        ARNOLD & ITKIN LLP

MEIXNER, ELLEN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000303-21        COHEN, PLACITELLA & ROTH

MEJIA, AHUILITZLI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09467          FLETCHER V. TRAMMELL

MEJIA, ANNETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09069          ONDERLAW, LLC

MEJIA, CYNTHIA                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC688033               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MEJIA, MIRYAM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11736          NACHAWATI LAW GROUP

MEJIA, NELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10086          WATERS & KRAUS, LLP

MEJIA, TRISHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02552          THE SEGAL LAW FIRM

MEJIA, ZENAIDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05378          GORI JULIAN & ASSOCIATES, P.C.

MEL A. WILSON                      IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MELANCON, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01129          ONDERLAW, LLC

MELANCON, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09272          MORRIS BART & ASSOCIATES

MELANIE TRUDEAU                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18436          ONDERLAW, LLC

MELANSON, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MELANSON, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

MELANSON, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

MELANSON, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

MELBA RODRIGUEZ                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003280-21        WEITZ & LUXENBERG

MELBERGER, BERNADETTE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2307-17          GOLOMB SPIRT GRUNFELD PC




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           Claimant Name                              State Filed                       Docket Number                              Plaintiff Counsel
MELBERGER,B, RHODE,J; ROCKS,P;
                                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07910          ASHCRAFT & GEREL
WORLEY,K
MELBERGER,B, RHODE,J; ROCKS,P;
                                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
WORLEY,K
MELBERGER,B, RHODE,J; ROCKS,P;
                                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07910          ONDERLAW, LLC
WORLEY,K
MELBERGER,B, RHODE,J; ROCKS,P;
                                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07910          PORTER & MALOUF, PA
WORLEY,K
MELBERGER,B, RHODE,J; ROCKS,P;
                                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07910          THE SMITH LAW FIRM, PLLC
WORLEY,K
MELBY, MELISSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12378          DAVIS, BETHUNE & JONES, L.L.C.

MELCHER, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19159          NACHAWATI LAW GROUP

MELCHI, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06163          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MELCHIOR, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09433          WILLIAMS HART LAW FIRM

MELDER, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06753          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MELE, ELEANOR                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12946          NAPOLI SHKOLNIK, PLLC

MELENCIANO, ISABEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17257          NACHAWATI LAW GROUP

MELENDEZ, ALIDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04728          ONDERLAW, LLC

MELENDEZ, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01791          JOHNSON LAW GROUP

MELHORN, DEBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10844          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MELILLO, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10484          WILLIAMS HART LAW FIRM

MELINDA BARFIELD                    FEDERAL - NON-MDL                            5:21-CV-00384          LOBER & DOBSON, LLC

MELINDA BARFIELD                    FEDERAL - NON-MDL                            5:21-CV-00384          LOBER & DOBSON, LLC

MELINDA BERGMAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18968          CORY, WATSON, CROWDER & DEGARIS, P.C.

MELINDA BOHLMAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003237-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

MELISSA BAZAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18444          ONDERLAW, LLC

MELISSA BURKE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18660          FLETCHER V. TRAMMELL

MELISSA BURKE                       FEDERAL - MDL                                3:21-CV-18660          FLETCHER V. TRAMMELL

MELISSA EATON                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18068          WEITZ & LUXENBERG

MELISSA GIRTON                      FEDERAL - MDL                                3:21-CV-15606          LENZE LAWYERS, PLC

MELISSA GIRTON                      FEDERAL - MDL                                3:21-CV-15606          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MELISSA NELSON                      FEDERAL - MDL                                3:21-CV-19699          ONDERLAW, LLC

MELISSA NELSON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19699          ONDERLAW, LLC

MELISSA POOL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:212-CV-15819         LENZE LAWYERS, PLC

MELISSA POOL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:212-CV-15819         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MELISSA RAULSTON                    FEDERAL - MDL                                3:21-CV-19803          JOHNSON BECKER, PLLC

MELISSA RAULSTON                    FEDERAL - MDL                                3:21-CV-19803          JOHNSON BECKER, PLLC




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MELISSIA BOHNET                   FEDERAL - MDL                                3:21-CV-19657          JOHNSON BECKER, PLLC

MELIUS, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12257          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MELKUMOVA, IRINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19783          ONDERLAW, LLC

MELL, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13239          THE MILLER FIRM, LLC

MELL, ROSE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04659          ONDERLAW, LLC

MELLINGER, VIVIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13488          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MELNYK, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13163          ASHCRAFT & GEREL, LLP

MELNYK, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13163          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MELODY YINGLING                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15821          LENZE LAWYERS, PLC

MELODY YINGLING                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15821          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MELSON, CANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02004          FLETCHER V. TRAMMELL

MELTON, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17037          MUELLER LAW PLLC

MELTON, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11423          NACHAWATI LAW GROUP

MELTON, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18773          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MELTON, KELLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00874          THE SEGAL LAW FIRM

MELTON, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17249          NACHAWATI LAW GROUP

MELTON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18754          NACHAWATI LAW GROUP

MELTON, SLOANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01213          DRISCOLL FIRM, P.C.

MELTON, TAMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05814          WILLIAMS HART LAW FIRM

MELTON, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13593          ONDERLAW, LLC

MELTZER, ELISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13903          THE SEGAL LAW FIRM

MELVILLE, JOANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20971          CELLINO & BARNES, P.C.

MELVIN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16441          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MELVIN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05530          ONDERLAW, LLC

MELVIN, YVETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09856          ONDERLAW, LLC

MEMEH, IJEOMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09757          GOLOMB SPIRT GRUNFELD PC

MEMOLI, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08703          ONDERLAW, LLC

MENA, IRENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14903          LENZE LAWYERS, PLC

MENA, IRENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14903          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MENARD, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13710          ONDERLAW, LLC

MENDEL, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19163          NACHAWATI LAW GROUP

MENDENHALL, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00358          NACHAWATI LAW GROUP



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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MENDENHALL, JULIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06846          ONDERLAW, LLC

MENDES, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07743          BISNAR AND CHASE

MENDES, HOLLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15536          ANAPOL WEISS

MENDES, NICOLE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-209-18           COHEN, PLACITELLA & ROTH

MENDES-HOLMES, DEBRA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05042          ONDERLAW, LLC

MENDEZ, DELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18937          NACHAWATI LAW GROUP

MENDEZ, DELIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

MENDEZ, DELIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

MENDEZ, DELIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

MENDEZ, ESTER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06863          NACHAWATI LAW GROUP

MENDEZ, MORENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09167          ARNOLD & ITKIN LLP

MENDEZ, NILDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02161          MOTLEY RICE, LLC

MENDEZ, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15647          THE BENTON LAW FIRM, PLLC

MENDEZ, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12287          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MENDICINO, LORI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06025          MOTLEY RICE, LLC

MENDO, JULIETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02216          THE MILLER FIRM, LLC

MENDONSA, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16678          JOHNSON LAW GROUP

MENDOZA, ADELAIDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08992          MORELLI LAW FIRM, PLLC

MENDOZA, AMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03655          ARNOLD & ITKIN LLP

MENDOZA, ANNETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09376          KENT M. LUCACCIONI, LTD.

MENDOZA, BRIDGET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12379          DAVIS, BETHUNE & JONES, L.L.C.

MENDOZA, CONSTANCE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11569          NACHAWATI LAW GROUP

MENDOZA, FLORENCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01964          COHEN & MALAD, LLP

MENDOZA, JULIETA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11838          WATERS & KRAUS, LLP

MENDOZA, LETITIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08245          SULLO & SULLO, LLP

MENDOZA, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09725          NACHAWATI LAW GROUP

MENDOZA, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16815          FLETCHER V. TRAMMELL

MENDOZA, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17533          KIESEL LAW, LLP

MENDOZA, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17533          MARTINIAN & ASSOCIATES, INC.

MENDOZA, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11564          NACHAWATI LAW GROUP

MENDOZA, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17533          THE LAW OFFICES OF HAYTHAM FARAJ

MENDOZA, ROSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09525          ONDERLAW, LLC

MENDOZA, VANESSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02228          HOLLAND LAW FIRM

MENEFEE, ELVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06601          ONDERLAW, LLC



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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MENEFEE, GALE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11276          NACHAWATI LAW GROUP

MENEFEE, LINDA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002473-20        GOLOMB & HONIK, P.C.

MENEFEE, NASHERNEDRA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14029          DAVIS, BETHUNE & JONES, L.L.C.

MENEFEE, TEMEKA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003335-21        WEITZ & LUXENBERG

MENENDEZ, IRENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10860          NACHAWATI LAW GROUP

MENENDEZ, JESSICA             FL - CIRCUIT COURT - MIAMI DADE COUNTY       2020-014749-CA-01      THE FERRARO LAW FIRM, P.A.

MENESES, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11273          NACHAWATI LAW GROUP

MENG, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MENG, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

MENG, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

MENG, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

MENG, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10348          ONDERLAW, LLC

MENGEL, DIANE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004011-20        GOLOMB & HONIK, P.C.

MENHAL, PATTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06370          ASHCRAFT & GEREL

MENHAL, PATTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06370          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MENKING, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00792          BLIZZARD & NABERS, LLP

MENNE, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04795          ONDERLAW, LLC

MENNELLA, THEODORA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19971          COHEN, PLACITELLA & ROTH

MENNOR, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21311          FLETCHER V. TRAMMELL

MENOKEN, JUANITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16972          ASHCRAFT & GEREL

MENOKEN, JUANITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16972          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MENSTER, KRISTINE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MENSTER, KRISTINE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

MENSTER, KRISTINE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

MENSTER, KRISTINE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

MENSTER, KRISTINE             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

MENTO, CATHERINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

MENTO, CATHERINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MENTO, CATHERINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

MENTO, CATHERINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

MENTO, CATHERINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

MENUCK, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17292          BURNS CHAREST LLP

MENZEL, PEGGY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

MENZEL, PEGGY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA



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           Claimant Name                             State Filed                      Docket Number                              Plaintiff Counsel

MENZEL, PEGGY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

MEO, CONSTANCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20155          NACHAWATI LAW GROUP

MERCADO, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01801          THE MILLER FIRM, LLC

MERCADO, ESTHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19168          NACHAWATI LAW GROUP

MERCADO, KATHRYN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

MERCADO, KATHRYN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

MERCADO, KATHRYN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

MERCADO, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01243          NACHAWATI LAW GROUP

MERCER, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08746          ONDERLAW, LLC

MERCER, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08702          BURNS CHAREST LLP

MERCER, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08702          BURNS CHAREST LLP

MERCER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12991          DALIMONTE RUEB, LLP

MERCER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11347          JOHNSON LAW GROUP

MERCER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11347          LEVIN SIMES LLP

MERCER, MELONEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06796          THE SIMON LAW FIRM, PC

MERCER, PIER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17120          GORI JULIAN & ASSOCIATES, P.C.

MERCER, REBEKAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00257          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
MERCER, ROBERT C AND MERCER,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03007-19AS       WEITZ & LUXENBERG
KATHLEEN
MERCER, TARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05415          ONDERLAW, LLC

MERCER, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12937          ONDERLAW, LLC

MERCHANT, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00300          BURNS CHAREST LLP

MERCHANT, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00300          BURNS CHAREST LLP

MERCHANT, VIVIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01728          DALIMONTE RUEB, LLP

MERCIER, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08194          ONDERLAW, LLC

MERECKA, SAN JUANITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10590          NACHAWATI LAW GROUP

MEREDITH, AISHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEREDITH, AISHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           ONDERLAW, LLC

MEREDITH, AISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09676          ONDERLAW, LLC

MEREDITH, AISHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           PORTER & MALOUF, PA

MEREDITH, AISHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533           THE SMITH LAW FIRM, PLLC

MEREDITH, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13233          DALIMONTE RUEB, LLP

MEREE, LUCILLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14978          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MERENA, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05242          TORHOERMAN LAW LLC

MERENDA, TAMARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04334          WILLIAMS HART LAW FIRM



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MERICLE, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04174          ONDERLAW, LLC

MERIDA, KARYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18670          ASHCRAFT & GEREL, LLP

MERINO, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01816          THE MILLER FIRM, LLC

MERINO, SONIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MERIWETHER, TONI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18229          MORGAN & MORGAN

MERKLE, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13489          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MERKLE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12967          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MERKNER, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13661          ONDERLAW, LLC

MERKURIS, SANDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08088          DUGAN LAW FIRM, PLC

MERLO, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07715          ONDERLAW, LLC

MERRELL, GINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11348          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MERRELL, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08355          FLETCHER V. TRAMMELL

MERRICK, ALTHEA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14701          LENZE LAWYERS, PLC

MERRICK, ALTHEA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14701          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MERRILL, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15073          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MERRILL, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08656          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MERRILL, SONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03405          ARNOLD & ITKIN LLP

MERRILL, VANESSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20486          ONDERLAW, LLC

MERRILL, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09302          ONDERLAW, LLC

MERRIMAN, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12425          TRAMMELL PC

MERRIMAN, EBONEY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MERRIMAN, EBONEY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

MERRIMAN, EBONEY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

MERRIMAN, EBONEY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

MERRIT, NADIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09095          CELLINO & BARNES, P.C.

MERRITT, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18045          ASHCRAFT & GEREL

MERRITT, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18045          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MERRITT, DESIREE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08256          HAUSFELD

MERRITT, FRAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MERRITT, FRAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

MERRITT, FRAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

MERRITT, FRAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

MERRITT, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10111          ONDERLAW, LLC




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              Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

MERRITT, SUE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11056          ONDERLAW, LLC

MERRITT, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07539          ONDERLAW, LLC

MERRIWETHER, CHARLOTTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19177          NACHAWATI LAW GROUP

MERROW, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10362          NACHAWATI LAW GROUP

MERRY, TAMI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05996          MARLIN & SALTZMAN LLP

MERRYFIELD, DEANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13486          ONDERLAW, LLC

MERRYMAN, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18046          ASHCRAFT & GEREL

MERRYMAN, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18046          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MERRYMAN, NORMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11739          NACHAWATI LAW GROUP

MERSINO, JILL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01396          ONDERLAW, LLC

MERSON, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02181          WEXLER WALLACE LLP

MERVINE, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08844          EISENBERG, ROTHWEILER, WINKLER

MERZ, BEVERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20745          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MERZ, JEANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17425          ONDERLAW, LLC

MESA, MARIA                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     20STCV47898            ONDERLAW, LLC

MESA, MARIA                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     20STCV47898            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MESCIA, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14777          LENZE LAWYERS, PLC

MESCIA, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14777          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MESEROLE, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04752          ASHCRAFT & GEREL

MESKISESKIS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08312          ONDERLAW, LLC

MESLER, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05830          ASHCRAFT & GEREL

MESLER, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05830          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MESSENGER, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03691          ONDERLAW, LLC

MESSER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11691          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MESSER, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06654          ONDERLAW, LLC

MESSER, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05257          ONDERLAW, LLC

MESSER, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09866          ONDERLAW, LLC

MESSER, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20280          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
MESSERLI, CAROL A AND MESSERLI,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-06690-19AS       WEITZ & LUXENBERG
TERRY A
MESSINA, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19745          ONDERLAW, LLC

MESSINA, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11467          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MESSING, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13724          JOHNSON LAW GROUP

MESTRE, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18775          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

METCALF, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08701          ONDERLAW, LLC



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

METCALF, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12745          NACHAWATI LAW GROUP

METCALF, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11031          NACHAWATI LAW GROUP

METCALFE, CORDELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07547          ASHCRAFT & GEREL, LLP

METCALFE, CORDELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07547          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

METCALF-STEM, TINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11776          SALTZ MONGELUZZI & BENDESKY PC

METHENEY, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14301          ASHCRAFT & GEREL, LLP

METHENEY, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14301          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

METOYER, CHARLOTTE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002312-20        GOLOMB & HONIK, P.C.

METSCHER, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08170          ONDERLAW, LLC

METTETAL, KIMBERLY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002553-20        GOLOMB & HONIK, P.C.

METTLER, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10444          GOLDENBERGLAW, PLLC

METTS, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11504          PARKER WAICHMAN, LLP

METZ, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00173          ASHCRAFT & GEREL

METZ, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00173          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

METZ, SUSAN                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC689870               JAMES MORRIS LAW FIRM PC

METZ, TIFFANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

METZ, TIFFANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15534          LENZE LAWYERS, PLC

METZ, TIFFANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

METZ, TIFFANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06316          NAPOLI SHKOLNIK, PLLC

METZ, TIFFANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15534          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

METZ, TIFFANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

METZGER, CAROL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

METZGER, CAROL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

METZGER, CAROL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

METZGER, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11738          NACHAWATI LAW GROUP

METZGER, JOYCE                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

METZGER, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01781          ONDERLAW, LLC

METZGER, PAULINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17180          NACHAWATI LAW GROUP

METZKE, JUNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05506          ONDERLAW, LLC

METZLER, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00860          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

METZLER, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14658          NACHAWATI LAW GROUP

METZLER, DIANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

METZLER, DIANNA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2263-17          GOLOMB SPIRT GRUNFELD PC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

METZLER, DIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          ONDERLAW, LLC

METZLER, DIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          PORTER & MALOUF, PA

METZLER, DIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          THE SMITH LAW FIRM, PLLC

METZLER, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

METZLER, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

METZLER, LINDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001115-21        GOLOMB & HONIK, P.C.

METZNER, ROSEMARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13856          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEYER, ALISON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12945          CELLINO & BARNES, P.C.

MEYER, ANDREA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08964          MORRIS BART & ASSOCIATES

MEYER, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12571          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MEYER, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11504          NACHAWATI LAW GROUP

MEYER, CARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04590          ONDERLAW, LLC

MEYER, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11996          ONDERLAW, LLC

MEYER, CONSTANCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08660          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEYER, DEIRDRE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16709          ONDERLAW, LLC

MEYER, GAIL                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002261-20        GOLOMB & HONIK, P.C.

MEYER, JOLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08578          COHEN & MALAD, LLP

MEYER, JOLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08578          NIX PATTERSON & ROACH

MEYER, LUCINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10820          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEYER, MARIJO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08951          MORELLI LAW FIRM, PLLC

MEYER, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18741          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MEYER, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13493          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEYER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEYER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01453          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEYER, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11908          MORELLI LAW FIRM, PLLC

MEYER, RUDEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15756          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MEYER, SABRENEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14240          CHAFFIN LUHANA LLP

MEYER, SONIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16095          HENINGER GARRISON DAVIS, LLC

MEYERS, DESIREE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08520          MOTLEY RICE, LLC

MEYERS, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13126          THE MILLER FIRM, LLC
MEYERS, ELIZABETH EST OF ROBERT
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003547-20AS      LEVY KONIGSBERG LLP
MEYERS
MEYERS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09698          NACHAWATI LAW GROUP

MEYERS, MICHELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08779          ONDERLAW, LLC




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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

MEYERS-BURNS, EILEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08757          ONDERLAW, LLC

MEYHOFER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01625          NAPOLI SHKOLNIK, PLLC

MEZA, GUADALUPE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05172          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MEZA, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07457          ARNOLD & ITKIN LLP

MICALE, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10605          LIAKOS LAW APC

MICALLEF, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10600          ONDERLAW, LLC

MICHAEL CHILARSKI                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MICHAEL OCONNELL                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MICHAEL, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11967          ASHCRAFT & GEREL, LLP

MICHAEL, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11967          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MICHAEL, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10162          ONDERLAW, LLC

MICHAEL, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00630          MCGOWAN, HOOD & FELDER, LLC

MICHAELIS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07692          GOLDENBERGLAW, PLLC

MICHAELS, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00051          POTTS LAW FIRM

MICHAELS, CHRYSTASYA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16981          THE POTTS LAW FIRM, LLP

MICHAELS, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13564          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MICHAELS, FRANCES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08353          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MICHAELSON, BARBARA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-330-18           COHEN, PLACITELLA & ROTH

MICHAELSON, KIM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11903          BISNAR AND CHASE

MICHALES, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03321          ASHCRAFT & GEREL

MICHALES, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03321          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MICHALIK, FELICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00310          ONDERLAW, LLC

MICHALSKI, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13333          CELLINO & BARNES, P.C.

MICHALSKI, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09154          ONDERLAW, LLC

MICHALSKI, WENDI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18530          NACHAWATI LAW GROUP

MICHAUD, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09393          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MICHAUD, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14434          GORI JULIAN & ASSOCIATES, P.C.

MICHAUD-SCHEVIS, MICHELINE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10601          ONDERLAW, LLC

MICHEL, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09278          JOHNSON LAW GROUP

MICHEL, JANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07465          ONDERLAW, LLC

MICHELE PERRONE                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02737          ASHCRAFT & GEREL

MICHELE PERRONE                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02737          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MICHELE VITALE                   NJ - STATE                                   ATL-L-003369-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

MICHELLE ALVAREZ                 FEDERAL - MDL                                3:21-CV-19859          ONDERLAW, LLC



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           Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

MICHELLE BUNKER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18527          CHILDERS, SCHLUETER & SMITH, LLC

MICHELLE CLARK                 FEDERAL - MDL                                3:21-CV-10497          ONDERLAW, LLC

MICHELLE HIVELY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18523          ONDERLAW, LLC

MICHELLE KRUMM                 FEDERAL - MDL                                3:21-CV-18818          MOTLEY RICE, LLC

MICHELLE MAY                   FEDERAL - MDL                                3:21-CV-15610          LENZE LAWYERS, PLC

MICHELLE MAY                   FEDERAL - MDL                                3:21-CV-15610          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MICHELLE WHITSON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18489          ONDERLAW, LLC

MICHELLI, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09022          ONDERLAW, LLC

MICHELS, ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02342          JOHNSON LAW GROUP

MICHELSON-BOYLE, JAN DEBORAH   NY - SUPREME COURT - NYCAL                   190333/2020            LEVY KONIGSBERG LLP

MICHINI, MARGARET              DE - SUPERIOR COURT - NEW CASTLE COUNTY      N18C-05-100 TAL        NAPOLI SHKOLNIK, PLLC

MICHINI, MARGARET              DE - SUPERIOR COURT - NEW CASTLE COUNTY      N18C-05-100 TAL        NAPOLI SHKOLNIK, PLLC

MICHLES, BERNICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17582          ONDERLAW, LLC

MICHLONEY, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04354          WILLIAMS HART LAW FIRM

MICHNOWSKI, NANCY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08580          NACHAWATI LAW GROUP

MICHON, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08298          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MICHOT, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05644          ONDERLAW, LLC

MICK, LU                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

MICK, LU                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

MICK, LU                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MICK, LU                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MICKELSON, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10085          ONDERLAW, LLC

MICKENS, GLADYS                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000299-1         GOLOMB & HONIK, P.C.

MICKEY, DIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06656          ONDERLAW, LLC

MIDDAUGH, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10549          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIDDLEBROOKS, PATRICIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11881          NACHAWATI LAW GROUP

MIDDLETON, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18510          NACHAWATI LAW GROUP

MIDEY, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02804          ONDERLAW, LLC

MIER, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06067          RILEYCATE, LLC

MIERA, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14297          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIERA, PAMELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIERA, PAMELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

MIERA, PAMELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MIERA, PAMELA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

MIGHELLS, CHARMAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11779          MOTLEY RICE, LLC

MIGHT, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02106          ONDERLAW, LLC

MIGUEL, ILIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15083          THE MILLER FIRM, LLC

MIGUEZ, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05186          ONDERLAW, LLC

MIHALITSAS, ANTONIETTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10609          ONDERLAW, LLC

MIJANGOS, EUSEBIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16369          THE BENTON LAW FIRM, PLLC

MIJARES, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08112          ONDERLAW, LLC

MIKELS, JUNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00035          DALIMONTE RUEB, LLP

MIKI, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16110          ONDERLAW, LLC

MIKKELSEN, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01197          ONDERLAW, LLC

MIKKELSEN, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12851          WILLIAMS HART LAW FIRM

MIKKELSEN, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14163          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MIKOLAJCZAK, TERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11982          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIKULA, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02500          MOTLEY RICE, LLC

MIKULKA, LOIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20224          CELLINO & BARNES, P.C.

MIKUS, MARIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11226          NACHAWATI LAW GROUP

MILAM, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MILAM, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MILAM, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MILAN, ELIZABETH                  NY - SUPREME COURT - NYCAL                   190354/2018            WEITZ & LUXENBERG

MILANO, LUCI                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001807-18        GOLOMB SPIRT GRUNFELD PC

MILANO, SAFFRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08089          DUGAN LAW FIRM, PLC

MILBURN, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09395          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILBY, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02146          ONDERLAW, LLC

MILBY, VIOLET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15835          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILDRED JOHNSON                   FEDERAL - MDL                                3:21-CV-19540          ONDERLAW, LLC

MILEM, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19795          NACHAWATI LAW GROUP

MILES, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15877          ASHCRAFT & GEREL, LLP

MILES, ANTOINETTE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002909-21        WEITZ & LUXENBERG

MILES, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09699          GORI JULIAN & ASSOCIATES, P.C.

MILES, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09136          ONDERLAW, LLC

MILES, BELINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12729          THE MILLER FIRM, LLC




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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MILES, BETTYGLEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04235          ONDERLAW, LLC

MILES, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00743          COHEN & MALAD, LLP

MILES, COURTNEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02589          ONDERLAW, LLC

MILES, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00474          CORRIE YACKULIC LAW FIRM, PLLC

MILES, JUANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02973          THE MILLER FIRM, LLC

MILES, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12539          CORRIE YACKULIC LAW FIRM, PLLC

MILES, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17232          NACHAWATI LAW GROUP

MILES, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06314          NAPOLI SHKOLNIK, PLLC

MILES, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03044          ARNOLD & ITKIN LLP

MILES, PINNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10078          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

MILES, RACHEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17175          NACHAWATI LAW GROUP

MILES, SHANTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13922          ONDERLAW, LLC

MILETICH, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13494          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILEY, DARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05261          ONDERLAW, LLC

MILEY, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06852          MORRIS BART & ASSOCIATES

MILFORD, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05831          ASHCRAFT & GEREL

MILFORD, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILGRIM, JIMMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20296          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILHOUSE, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06847          ONDERLAW, LLC

MILIAN, NIRIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18573          ONDERLAW, LLC

MILIANO, ROSEMARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01630          ONDERLAW, LLC

MILICH, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20800          GOLDENBERGLAW, PLLC

MILICI, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13663          NACHAWATI LAW GROUP

MILINA, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10055          JOHNSON LAW GROUP

MILINA, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08964          ONDERLAW, LLC

MILITELLO, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08001          ONDERLAW, LLC

MILITRANO, ELIZANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02443          ASHCRAFT & GEREL

MILLAR, EVE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLAR, EVE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

MILLAR, EVE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

MILLAR, EVE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

MILLEN, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07504          ONDERLAW, LLC

MILLER, ALLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15138          WILLIAMS HART LAW FIRM

MILLER, ANN AND MILLER, JEFFREY   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002710-AS        WEITZ & LUXENBERG



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            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MILLER, ARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08525          ONDERLAW, LLC

MILLER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14736          LENZE LAWYERS, PLC

MILLER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03210          ONDERLAW, LLC

MILLER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00682          ONDERLAW, LLC

MILLER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14736          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MILLER, BERNADINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19503          NACHAWATI LAW GROUP

MILLER, BETSY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00137          ASHCRAFT & GEREL

MILLER, BETSY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00137          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03490          JOHNSON LAW GROUP

MILLER, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07785          ONDERLAW, LLC

MILLER, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18910          NACHAWATI LAW GROUP

MILLER, BRONWYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04422          ONDERLAW, LLC

MILLER, CARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13817          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14764          LENZE LAWYERS, PLC

MILLER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CC-14764          LENZE LAWYERS, PLC

MILLER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14764          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MILLER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CC-14764          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MILLER, CAROLANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08497          ONDERLAW, LLC

MILLER, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05525          ONDERLAW, LLC

MILLER, CATHIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03970          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, CERMORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10015          GORI JULIAN & ASSOCIATES, P.C.

MILLER, CHARLOTTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11388          NACHAWATI LAW GROUP

MILLER, CHERIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-610-16           GOLOMB SPIRT GRUNFELD PC

MILLER, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10018          FLETCHER V. TRAMMELL

MILLER, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05795          ONDERLAW, LLC

MILLER, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20519          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MILLER, CIMME                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03447          BARON & BUDD, P.C.

MILLER, CLARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11126          ARNOLD & ITKIN LLP

MILLER, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08244          GORI JULIAN & ASSOCIATES, P.C.

MILLER, CRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00129          POTTS LAW FIRM

MILLER, DANIECE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19083          MOTLEY RICE, LLC

MILLER, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01765          WILLIAMS HART LAW FIRM

MILLER, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01602          LAW OFF OF PETER G. ANGELOS, P.C.

MILLER, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19182          NACHAWATI LAW GROUP



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MILLER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09570          ONDERLAW, LLC

MILLER, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03306          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MILLER, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09899          ONDERLAW, LLC

MILLER, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04902          ROSS FELLER CASEY, LLP

MILLER, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01195          ASHCRAFT & GEREL

MILLER, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01195          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07839          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

MILLER, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08479          CELLINO & BARNES, P.C.

MILLER, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10769          NACHAWATI LAW GROUP

MILLER, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14910          WEXLER WALLACE LLP

MILLER, EDEN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2699-17          KEEFE BARTELS

MILLER, EDEN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2699-17          LAW OFFICE OF GRANT D. AMEY, LLC

MILLER, ELAINE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002177-20        GOLOMB & HONIK, P.C.

MILLER, ELAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11390          NACHAWATI LAW GROUP

MILLER, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05226          ASHCRAFT & GEREL

MILLER, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05226          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, ELENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06993          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

MILLER, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07639          ONDERLAW, LLC

MILLER, ELIZABETH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002709-21        WEITZ & LUXENBERG

MILLER, ELONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06176          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, ESTHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08728          HUTTON & HUTTON

MILLER, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21099          CELLINO & BARNES, P.C.

MILLER, GAYLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17584          ONDERLAW, LLC

MILLER, GEORGIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16449          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MILLER, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11744          NACHAWATI LAW GROUP

MILLER, HEATHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10970          ONDERLAW, LLC

MILLER, IDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05833          ASHCRAFT & GEREL

MILLER, IDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05833          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, IMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12292          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, INA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09905          NACHAWATI LAW GROUP

MILLER, INA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08844          ONDERLAW, LLC

MILLER, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03646          BARON & BUDD, P.C.

MILLER, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03884          MOORE LAW GROUP PLLC

MILLER, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16460          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



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               Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

MILLER, JANET                        GA - STATE COURT OF GWINNETT COUNTY          18C039912              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, JANET                        GA - STATE COURT OF GWINNETT COUNTY          18C039912              CHILDERS, SCHLUETER & SMITH, LLC

MILLER, JANET                        GA - STATE COURT OF GWINNETT COUNTY          18C039912              ONDERLAW, LLC

MILLER, JANET EST STEPHANIE MILLER   NY - SUPREME COURT - NYCAL                   190188/2017            LEVY KONIGSBERG LLP

MILLER, JEAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12125          FLETCHER V. TRAMMELL

MILLER, JEANETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11199          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, JENNIFER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21611          HUTTON & HUTTON

MILLER, JENNIFER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16776          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MILLER, JOAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02456          ONDERLAW, LLC

MILLER, JOAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16302          THE MILLER FIRM, LLC

MILLER, JOANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02071          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, JOSEPHINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01015          NAPOLI SHKOLNIK, PLLC

MILLER, JUDITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17602          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MILLER, JULIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17850          ASHCRAFT & GEREL, LLP

MILLER, JULIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17850          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, JUSTINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04429          FLETCHER V. TRAMMELL

MILLER, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14174          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09235          DALIMONTE RUEB, LLP

MILLER, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05727          HUTTON & HUTTON

MILLER, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00828          ONDERLAW, LLC

MILLER, KATHERINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10452          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, KATHLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, KATHLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00766          ONDERLAW, LLC

MILLER, KATHY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17520          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MILLER, KAY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13565          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, KAYDEE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01335          JOHNSON LAW GROUP

MILLER, KIMBERLEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08242          FLETCHER V. TRAMMELL

MILLER, LABRONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13129          THE MILLER FIRM, LLC

MILLER, LEANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05815          WILLIAMS HART LAW FIRM

MILLER, LEIGH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09559          JOHNSON LAW GROUP

MILLER, LESLEY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10612          NACHAWATI LAW GROUP

MILLER, LILIAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09214          ONDERLAW, LLC

MILLER, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02860          FLETCHER V. TRAMMELL

MILLER, LINDA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002579-20        GOLOMB & HONIK, P.C.



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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MILLER, LINDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002343-20        GOLOMB & HONIK, P.C.

MILLER, LINDSAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13060          NAPOLI SHKOLNIK, PLLC

MILLER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21626          GORI JULIAN & ASSOCIATES, P.C.

MILLER, LISA                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     16-CV-299993           LEVIN SIMES LLP

MILLER, LIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07694          GOLDENBERGLAW, PLLC

MILLER, LOIS                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02759          ASHCRAFT & GEREL

MILLER, LOIS                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02759          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00066          JASON J. JOY & ASSCIATES P.L.L.C.

MILLER, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14711          WILLIAMS HART LAW FIRM

MILLER, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01794          JOHNSON LAW GROUP

MILLER, LORRAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03507          ONDERLAW, LLC

MILLER, LORRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03838          ONDERLAW, LLC

MILLER, LULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11536          NACHAWATI LAW GROUP

MILLER, LYNNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09240          MURRAY LAW FIRM

MILLER, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15604          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10206          JAMES MORRIS LAW FIRM PC

MILLER, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05013          ONDERLAW, LLC

MILLER, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04177          ONDERLAW, LLC

MILLER, MARGE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11117          ONDERLAW, LLC

MILLER, MARGERY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03591          ONDERLAW, LLC

MILLER, MARILU                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17224          NACHAWATI LAW GROUP

MILLER, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08941          DALIMONTE RUEB, LLP

MILLER, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09727          ONDERLAW, LLC

MILLER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08958          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12782          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09094          ONDERLAW, LLC

MILLER, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12762          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07181          NACHAWATI LAW GROUP

MILLER, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14405          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12297          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15746          GIRARDI & KEESE

MILLER, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-20728          ONDERLAW, LLC

MILLER, MYRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12738          LAW OFFICES OF CHARLES H. JOHNSON




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              Claimant Name                          State Filed                       Docket Number                                Plaintiff Counsel

MILLER, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05883            ONDERLAW, LLC

MILLER, NANCY AND REIS, JOAN       IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291                NAPOLI SHKOLNIK, PLLC

MILLER, NANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13177            ONDERLAW, LLC

MILLER, PAM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04730            THE MILLER FIRM, LLC

MILLER, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13713            ONDERLAW, LLC

MILLER, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16792            TRAMMELL PC

MILLER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13939            ASHCRAFT & GEREL

MILLER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13939            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09436            LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MILLER, PATSY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13282            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, PAULINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02066            ASHCRAFT & GEREL

MILLER, PRUDENCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15469            ONDERLAW, LLC

MILLER, RACHEAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19281            ARNOLD & ITKIN LLP

MILLER, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05402            ONDERLAW, LLC

MILLER, RENATE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08488            ONDERLAW, LLC

MILLER, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933            GOLDENBERGLAW, PLLC

MILLER, ROBIN                      CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952776-CU-PL-CXC ONDERLAW, LLC

MILLER, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08782            ONDERLAW, LLC

MILLER, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933            ONDERLAW, LLC

MILLER, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933            PORTER & MALOUF, PA

MILLER, ROBIN                      CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952776-CU-PL-CXC SALKOW LAW, APC

MILLER, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07933            THE SMITH LAW FIRM, PLLC
MILLER, RONALD RAYMOND, EST OF V
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05972-17AS         LEVY KONIGSBERG LLP
MILLER
MILLER, RUTHANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05014            THE SEGAL LAW FIRM

MILLER, SABRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11544            THE MILLER FIRM, LLC

MILLER, SABRINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05647            ONDERLAW, LLC

MILLER, SALLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07462            ARNOLD & ITKIN LLP

MILLER, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01229            GORI JULIAN & ASSOCIATES, P.C.

MILLER, SAUNDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15961            TORHOERMAN LAW LLC

MILLER, SHANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10546            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, SHARRON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16292            ASHCRAFT & GEREL, LLP

MILLER, SHEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06425            ONDERLAW, LLC




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            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MILLER, SHEILA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09818          ONDERLAW, LLC

MILLER, SHERRY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002554-20        GOLOMB & HONIK, P.C.

MILLER, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14700          NAPOLI SHKOLNIK, PLLC

MILLER, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08591          ONDERLAW, LLC

MILLER, SONYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02094          GORI JULIAN & ASSOCIATES, P.C.

MILLER, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17674          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MILLER, SUSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13351          THE SEGAL LAW FIRM

MILLER, TAMI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04118          ONDERLAW, LLC

MILLER, TAMRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08616          ONDERLAW, LLC

MILLER, TASHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15790          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MILLER, TERESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02384          CATES MAHONEY, LLC

MILLER, TIERNEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07889          ONDERLAW, LLC

MILLER, TIFFANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02428          ONDERLAW, LLC

MILLER, TRACI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09938          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15105          ARNOLD & ITKIN LLP

MILLER, VERONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14544          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, VERONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16449          JOHNSON BECKER, PLLC

MILLER, VIVIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02446          ONDERLAW, LLC

MILLER, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20267          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLER, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08685          ONDERLAW, LLC

MILLER, WILMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10844          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLET, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11438          MORRIS BART & ASSOCIATES

MILLETT, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19277          NACHAWATI LAW GROUP

MILLICAN, AUNDREAX             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12241          THE BENTON LAW FIRM, PLLC

MILLIER, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15267          JOHNSON LAW GROUP

MILLIGAN, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05834          ASHCRAFT & GEREL

MILLIGAN, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05834          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLIGAN, VICKEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02200          ONDERLAW, LLC

MILLIKEN, MAUREEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-06693          ROSS FELLER CASEY, LLP

MILLINER, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16440          FLETCHER V. TRAMMELL

MILLING, SHANNON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12155          DRISCOLL FIRM, P.C.

MILLING, SHANNON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12219          ONDERLAW, LLC




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MILLINGER, SUNNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01450          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLIORN, MICHELE                 CA - SUPERIOR COURT - ALAMEDA COUNTY         16843729               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MILLIREN, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12164          HELMSDALE LAW, LLP

MILLIS, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06079          ANAPOL WEISS

MILLIS, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06079          CRAIG SWAPP & ASSOCIATES

MILLISON, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00363          MORELLI LAW FIRM, PLLC

MILLS, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15858          MCSWEENEY/LANGEVIN, LLC

MILLS, ARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17691          JOHNSON LAW GROUP

MILLS, BESSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08650          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MILLS, BESSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03297          JOHNSON LAW GROUP

MILLS, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20487          ONDERLAW, LLC

MILLS, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MILLS, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15166          LENZE LAWYERS, PLC

MILLS, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MILLS, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15166          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MILLS, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MILLS, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11128          SANDERS VIENER GROSSMAN, LLP

MILLS, CONCETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00432          THORNTON LAW FIRM LLP

MILLS, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17780          ASHCRAFT & GEREL, LLP

MILLS, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17780          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLS, DIANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16621          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MILLS, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01867          FLETCHER V. TRAMMELL

MILLS, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07065          ONDERLAW, LLC

MILLS, EFFIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14164          ARNOLD & ITKIN LLP

MILLS, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18743          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MILLS, ERMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10780          NACHAWATI LAW GROUP

MILLS, HAZELENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06311          NAPOLI SHKOLNIK, PLLC

MILLS, JOSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05127          HOLLAND LAW FIRM

MILLS, JULIET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14426          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MILLS, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10848          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLS, LIDIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15121          HENINGER GARRISON DAVIS, LLC

MILLS, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11344          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MILLS, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14096          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLS, MARIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001840-21        GOLOMB & HONIK, P.C.



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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MILLS, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11155          ONDERLAW, LLC

MILLS, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20488          ONDERLAW, LLC

MILLS, MERILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02618          THE MILLER FIRM, LLC

MILLS, ROSEMARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00016          BELLUCK & FOX, LLP

MILLS, SHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16595          THE MILLER FIRM, LLC

MILLS, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15572          NAPOLI SHKOLNIK, PLLC

MILLS-ALEXANDER, LINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00405          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILLSAPS, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06865          ONDERLAW, LLC

MILLS-MCCOY, ANNETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09481          THE MILLER FIRM, LLC

MILNE, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11787          WILLIAMS HART LAW FIRM

MILNE-PEDERSEN, JOANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09462          ONDERLAW, LLC

MILNER, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05007          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILNER, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10112          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MILO, ERLINDO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08539          DAVIS, BETHUNE & JONES, L.L.C.

MILO, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14026          BLIZZARD & NABERS, LLP

MILORO, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11314          DANIEL & ASSOCIATES, LLC

MILSTEAD, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09300          MORRIS BART & ASSOCIATES

MILTON, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15740          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MILWOOD, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04819          MOTLEY RICE, LLC

MIMS, ANGELICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14564          FLETCHER V. TRAMMELL

MIMS, BERTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08467          ONDERLAW, LLC

MIMS, ROSA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09734          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIMS-MYERS, OLIVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17802          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MINA WILLIAMS                     IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MINARD, TOMMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09125          ONDERLAW, LLC

MINATREA, NERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07692          ONDERLAW, LLC

MINCH, SONJA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MINDOCK, GINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17170          ONDERLAW, LLC

MINER, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18408          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MINER, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12788          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MINER, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13496          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MINER, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11968          ASHCRAFT & GEREL, LLP

MINER, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11968          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MING, AMANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19854          ASHCRAFT & GEREL, LLP



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MING, AMANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19854          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MING, GAYNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11225          NACHAWATI LAW GROUP

MINGGIA, VANESSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06869          THE MILLER FIRM, LLC

MINICK, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12789          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MINIELLY, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18938          CELLINO & BARNES, P.C.

MININNI, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17453          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MINIX, VERONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11325          JOHNSON LAW GROUP

MINIX, VERONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11325          LEVIN SIMES LLP

MINJAREZ-HOLMES, THERESA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02105          ONDERLAW, LLC

MINK, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16970          ASHCRAFT & GEREL

MINK, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16970          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MINKLER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02934          ONDERLAW, LLC

MINNA, TONYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07827          BISNAR AND CHASE

MINNER, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09252          ONDERLAW, LLC

MINNICK, JUANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10717          ONDERLAW, LLC

MINNICK, MICHAELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15872          JOHNSON LAW GROUP

MINNIE NANCE                      FEDERAL - MDL                                3:21-CV-15611          LENZE LAWYERS, PLC

MINNIE NANCE                      FEDERAL - MDL                                3:21-CV-15611          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MINNIEFIELD, RUBY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16160          MORRIS BART & ASSOCIATES

MINNIX, CHANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02539          ONDERLAW, LLC

MINOR, BRIDGETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15454          JOHNSON LAW GROUP

MINOR, SHEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12146          NACHAWATI LAW GROUP

MINOR, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10634          LEVIN SIMES LLP
MINOR,EST MARGARETTE OF
                                  IL - CIRCUIT COURT - COOK COUNTY             21-L-6683              COONEY AND CONWAY
MINOR,CAROL
MINOR-JACKSON, DEENEAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20272          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MINSQUERO, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06344          JOHNSON LAW GROUP

MINTER, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17415          THE FERRARO LAW FIRM, P.A.

MINTON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05133          ONDERLAW, LLC

MINTZER, BOBBI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03555          THE DEATON LAW FIRM

MINYARD, FLORENCE JONES           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17530          JOHNSON LAW GROUP

MINYARD, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12438          DALIMONTE RUEB, LLP

MINZGHOR, SARAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01453          ONDERLAW, LLC

MIOLEN, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17238          NACHAWATI LAW GROUP

MIRABAL, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04070          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

MIRABELLI, CECILIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15165          ASHCRAFT & GEREL

MIRABELLI, CECILIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15165          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIRACLE, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13289          NACHAWATI LAW GROUP

MIRACLE, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10535          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIRACLE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05577          ONDERLAW, LLC

MIRACLE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04355          THE MILLER FIRM, LLC

MIRANDA, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00140          ASHCRAFT & GEREL

MIRANDA, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00140          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIRANDA, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14774          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIRANDA, MARGO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00342          THE BENTON LAW FIRM, PLLC

MIRANDA, MARIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2970-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIRANDA, MARIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2970-15          PORTER & MALOUF, PA

MIRANDA, MARIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2970-15          SEEGER WEISS LLP

MIRANDA, MARIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2970-15          THE SMITH LAW FIRM, PLLC

MIRANDA, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10466          ARNOLD & ITKIN LLP

MIRCHANDANI, RAJINI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04366          ROSS FELLER CASEY, LLP

MIRE, MICHELE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11200          ASHCRAFT & GEREL

MIRELES, JOSEFINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12091          ARNOLD & ITKIN LLP

MIRIAM SOLIVAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18510          WEITZ & LUXENBERG

MIRROW, HEIDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06388          LAW OFF OF ROGER 'ROCKY' WALTON, PC

MISARES-MOTRONEA, VALERIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13703          MILLER DELLAFERA PLC

MISBACH, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19757          NACHAWATI LAW GROUP

MISCHLER, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12039          ONDERLAW, LLC

MISER, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12774          THE DEATON LAW FIRM

MISFELDT, GLORIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002481-21        WEITZ & LUXENBERG

MISHOE, LAFAYE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00851          ARNOLD & ITKIN LLP

MISIR, JULIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12411          ARNOLD & ITKIN LLP

MISKOFF, LAURIE EST OF MURARY BECK NY - SUPREME COURT - NYCAL                   190074/2020            KARST & VON OISTE, LLP

MISKOFSKI, KERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08557          ONDERLAW, LLC

MISURA, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07612          MOTLEY RICE, LLC

MITCHELL, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06032          ONDERLAW, LLC

MITCHELL, ANSELMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15245          HILLIARD MARTINEZ GONZALES, LLP

MITCHELL, ANTOINETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00258          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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            Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

MITCHELL, ARETHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05527          ONDERLAW, LLC

MITCHELL, ARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13524          THE MILLER FIRM, LLC

MITCHELL, BERNADETTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03887          ONDERLAW, LLC

MITCHELL, BONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08954          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHELL, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13187          BERMAN & SIMMONS, P. A.

MITCHELL, CALISTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05964          ONDERLAW, LLC

MITCHELL, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19619          BISNAR AND CHASE

MITCHELL, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10042          ONDERLAW, LLC

MITCHELL, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09153          ONDERLAW, LLC

MITCHELL, CHINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002931-21        WEITZ & LUXENBERG

MITCHELL, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10528          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHELL, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12113          THE MILLER FIRM, LLC

MITCHELL, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00975          THE SEGAL LAW FIRM

MITCHELL, CLARISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09707          FLETCHER V. TRAMMELL

MITCHELL, CLAUDINE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002474-20        GOLOMB & HONIK, P.C.

MITCHELL, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14106          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHELL, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11793          WILLIAMS HART LAW FIRM

MITCHELL, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10920          ASHCRAFT & GEREL, LLP

MITCHELL, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14464          DALIMONTE RUEB, LLP

MITCHELL, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05475          ONDERLAW, LLC

MITCHELL, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18819          NACHAWATI LAW GROUP

MITCHELL, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14503          NAPOLI SHKOLNIK, PLLC

MITCHELL, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04380          LEVIN SIMES LLP

MITCHELL, DENISE               CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318638             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MITCHELL, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17367          NACHAWATI LAW GROUP

MITCHELL, DIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07931          ONDERLAW, LLC

MITCHELL, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06911          ONDERLAW, LLC

MITCHELL, ESSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09410          ONDERLAW, LLC

MITCHELL, EVETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12925          ONDERLAW, LLC

MITCHELL, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08073          ASHCRAFT & GEREL

MITCHELL, IMOGENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15201          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MITCHELL, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19190          NACHAWATI LAW GROUP

MITCHELL, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15425          KIESEL LAW, LLP




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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MITCHELL, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15425          LAW OFFICE OF HAYTHAM FARAJ

MITCHELL, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15425          MARTINIAN & ASSOCIATES, INC.

MITCHELL, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17254          NACHAWATI LAW GROUP

MITCHELL, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00947          MORRIS BART & ASSOCIATES

MITCHELL, JEANINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12728          ASHCRAFT & GEREL

MITCHELL, JEANNINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08330          ONDERLAW, LLC

MITCHELL, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11327          JOHNSON LAW GROUP

MITCHELL, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11327          LEVIN SIMES LLP

MITCHELL, JOY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16968          ASHCRAFT & GEREL

MITCHELL, JOY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16968          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHELL, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06278          ONDERLAW, LLC

MITCHELL, JULIET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHELL, JULIET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

MITCHELL, JULIET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

MITCHELL, JULIET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

MITCHELL, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05225          JOHNSON LAW GROUP

MITCHELL, KATHRYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10373          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHELL, KATHRYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06319          FLETCHER V. TRAMMELL

MITCHELL, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09327          ONDERLAW, LLC

MITCHELL, LAURA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05677          HOVDE, DASSOW, & DEETS, LLC

MITCHELL, LAURA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05677          THE MILLER FIRM, LLC

MITCHELL, LAURIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHELL, LAURIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

MITCHELL, LAURIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

MITCHELL, LAURIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

MITCHELL, LAURIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

MITCHELL, LETITIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01475          ONDERLAW, LLC

MITCHELL, LILLIAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13489          ONDERLAW, LLC

MITCHELL, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02005          COHEN & MALAD, LLP

MITCHELL, LINDA                CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318679             KIESEL LAW, LLP

MITCHELL, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02005          NIX PATTERSON & ROACH

MITCHELL, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07912          ONDERLAW, LLC

MITCHELL, MARZETTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17214          NACHAWATI LAW GROUP




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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MITCHELL, MYRTLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08619          ONDERLAW, LLC

MITCHELL, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16469          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MITCHELL, PATRICA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17623          ONDERLAW, LLC

MITCHELL, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08538          GORI JULIAN & ASSOCIATES, P.C.

MITCHELL, PAULA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19061          NAPOLI SHKOLNIK, PLLC

MITCHELL, REBECCA             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-007360-20        FLINT LAW FIRM LLC

MITCHELL, REBECCA             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-007360-20        MOTLEY RICE, LLC

MITCHELL, RITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08853          ONDERLAW, LLC

MITCHELL, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MITCHELL, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08447          JOHNSON LAW GROUP

MITCHELL, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MITCHELL, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MITCHELL, ROZENIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17167          NACHAWATI LAW GROUP

MITCHELL, SABRINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09694          GOLOMB SPIRT GRUNFELD PC

MITCHELL, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00021          ASHCRAFT & GEREL

MITCHELL, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00021          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHELL, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13670          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHELL, TAMI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09082          THE LAW OFFICES OF SEAN M CLEARY

MITCHELL, TISHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17356          NACHAWATI LAW GROUP

MITCHELL, TRENISE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06134          THE ENTREKIN LAW FIRM

MITCHELL, VANESSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01486          ONDERLAW, LLC

MITCHELL, VANESSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02829          ONDERLAW, LLC

MITCHELL, VONCIELE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17360          NACHAWATI LAW GROUP

MITCHELL-EVAK, LAURA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11104          ONDERLAW, LLC

MITCHELL-TILLEY, MARILYN      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18595          NACHAWATI LAW GROUP

MITCHEM, CARLETTA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHEM, CARLETTA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

MITCHEM, CARLETTA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

MITCHEM, CARLETTA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

MITCHEM, CARLETTA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

MITCHMORE, KRYSTAL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17243          NACHAWATI LAW GROUP

MITCHUM, SUSAN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MITCHUM, SUSAN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

MITCHUM, SUSAN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MITCHUM, SUSAN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

MITCHUSSON, RHONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12421          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

MITTS, HEATHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18573          NACHAWATI LAW GROUP

MIXON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10854          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIXON-GIBSON, NAOMI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03056          FLETCHER V. TRAMMELL

MIZAK, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10819          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIZE, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13497          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIZELL, ADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08936          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MIZELL, CARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13552          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

MIZELL-WILLIAMS, REBECCA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17653          JOHNSON LAW GROUP

MKRTCHYAN, ELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05768          CELLINO & BARNES, P.C.

MOAK, JEANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07703          THE SIMON LAW FIRM, PC
MOBERS, ANDY ESTATE OF ELZA
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005066-21        FLINT LAW FIRM LLC
MOBERS
MOBERS, ELZA                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-005066-21        MOTLEY RICE, LLC

MOBLEY, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08854          ONDERLAW, LLC

MOBLEY, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04797          ONDERLAW, LLC

MOBLEY, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11350          NACHAWATI LAW GROUP

MOBLEY, DOROTHY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-130-18           KEEFE BARTELS

MOBLEY, DOROTHY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-130-18           LAW OFFICE OF GRANT D. AMEY, LLC

MOBLEY, JAMES                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MOCADLO, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13503          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOCERI, PEARL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11857          NACHAWATI LAW GROUP

MOCHEL, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00656          LEVIN SIMES LLP

MOCK, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07459          ONDERLAW, LLC

MOCKLER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07650          ONDERLAW, LLC

MODENESSI, DORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11819          ARNOLD & ITKIN LLP

MODENESSI, DORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06960          ONDERLAW, LLC

MODISETTE, MARTHA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

MODISETTE, MARTHA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

MODISETTE, MARTHA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MODISETTE, MARTHA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MOE, CORRINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09787          GOLOMB SPIRT GRUNFELD PC

MOELLENDORF, MARALEE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14160          MOTLEY RICE, LLC




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              Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

MOELLER, COSETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02871          FLETCHER V. TRAMMELL

MOEN, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10703          WALTON TELKEN FOSTER, LLC

MOERS, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07838          ONDERLAW, LLC

MOFFATT, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17260          NACHAWATI LAW GROUP

MOFFETT, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03324          ASHCRAFT & GEREL

MOFFETT, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03324          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOFFITT, ELEANOR                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06685          THE SIMON LAW FIRM, PC

MOFIELD, LEONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11770          NACHAWATI LAW GROUP

MOGAN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10749          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOHAMED, EILEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05806          ONDERLAW, LLC

MOHAMMAD, CYNTHIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-401-16           BLIZZARD & NABERS, LLP

MOHAMMAD, CYNTHIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-401-16           JAVERBAUM WURGAFT HICKS KAHN WIKSTROM & SININS, P.C.

MOHAMMADI, DANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17138          NACHAWATI LAW GROUP

MOHAMMAD-ZADEH, DIANNA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18840          NACHAWATI LAW GROUP

MOHAMMED, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13534          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOHAMMED, TAHIRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04131          ONDERLAW, LLC

MOHEAD, CHRISTIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09599          SALTZ MONGELUZZI & BENDESKY PC

MOHLER, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16642          NACHAWATI LAW GROUP

MOHLER, KELSEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16258          ONDERLAW, LLC

MOHLER, LISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12487          THE SEGAL LAW FIRM

MOHLER, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11724          NACHAWATI LAW GROUP

MOHR, ALLANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08745          ONDERLAW, LLC

MOHR, ANN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08225          ONDERLAW, LLC

MOHRE, LILY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11773          NACHAWATI LAW GROUP

MOHROR, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14737          LENZE LAWYERS, PLC

MOHROR, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14737          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
MOHYDE, PATRICE AND SCALIZI,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-08181-18AS       WEITZ & LUXENBERG
MICHAEL
MOISE, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19077          NACHAWATI LAW GROUP

MOJARADI, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13012          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MOLDENHAUER, ANGELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15912          NACHAWATI LAW GROUP

MOLER, LANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05819          JOHNSON BECKER, PLLC

MOLINA, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10658          GOLOMB SPIRT GRUNFELD PC

MOLINA, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12353          ONDERLAW, LLC




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             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MOLINA, PEDRO                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MOLINA, PEDRO                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MOLINA, YOLANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18117          WEITZ & LUXENBERG

MOLINAR, STEPHANY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21551          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOLINARO, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21999          ONDERLAW, LLC

MOLINELLI, LOURDES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01598          JOHNSON LAW GROUP

MOLINSKI, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12694          ONDERLAW, LLC

MOLKO, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05605          KLINE & SPECTER, P.C.

MOLL, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08358          ONDERLAW, LLC

MOLLER, ANTOINETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06109          MORGAN & MORGAN

MOLLERE, BEATRIZ                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02285          MOTLEY RICE, LLC

MOLLEUR, JOLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08448          ASHCRAFT & GEREL

MOLLEUR, JOLIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002555-20        GOLOMB & HONIK, P.C.

MOLLOY, NICKI-ANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09093          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MOLLOY, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08457          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOLLOY, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08115          ONDERLAW, LLC

MOLLOY, VICKI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08514          MOTLEY RICE, LLC

MOLNAR, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15954          DALIMONTE RUEB, LLP

MOLNAR, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14738          LENZE LAWYERS, PLC

MOLNAR, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17813          REICH & BINSTOCK, LLP

MOLNAR, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14738          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOLOGNE, KALA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17254          ONDERLAW, LLC

MOLTER, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14439          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOLY, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05457          ONDERLAW, LLC

MOMAN, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17352          NACHAWATI LAW GROUP

MOMOKI, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11976          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOMOU, HORTENSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09899          JOHNSON BECKER, PLLC

MONA HAMMONS                    FEDERAL - MDL                                3:21-CV-19020          MOTLEY RICE, LLC

MONACO, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15567          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MONACO, DELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20885          PARKER WAICHMAN, LLP

MONACO, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15607          NACHAWATI LAW GROUP

MONAHAN, SHANNON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00136          CELLINO & BARNES, P.C.

MONAHAN, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07881          ASHCRAFT & GEREL




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MONCADA, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18488          NACHAWATI LAW GROUP

MONCALIERI, EILEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06071          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONCHILOVICH, COLLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13021          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONCY, AMIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09082          ONDERLAW, LLC

MONDEAUX, TANYAGALE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10712          THE LAW OFFICES OF SEAN M CLEARY

MONDOK, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10490          NACHAWATI LAW GROUP

MONDRAGON, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12973          THE DEATON LAW FIRM

MONDRAY, ALFREDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11418          THE MILLER FIRM, LLC

MONDRO, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09795          GOLOMB SPIRT GRUNFELD PC

MONDUL, CHARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06512          ONDERLAW, LLC

MONDY, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09737          ONDERLAW, LLC

MONDY, OLEVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14756          DALIMONTE RUEB, LLP

MONDY, OLIVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07829          ONDERLAW, LLC

MONE, NEETA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003029-20        GOLOMB & HONIK, P.C.

MONETTE, NICOLE SUZANNE MARIE    BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230671         PRESZLER LAW FIRM LLP

MONFET, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12266          MORELLI LAW FIRM, PLLC

MONGE, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21568          JOHNSON BECKER, PLLC

MONGELLI, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18532          ONDERLAW, LLC

MONGO, MAUREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17212          NACHAWATI LAW GROUP

MONGONE, ANGELINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15083          CELLINO & BARNES, P.C.

MONIA, JANER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17586          KIESEL LAW, LLP

MONIA, JANER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17586          LAW OFFICE OF HAYTHAM FARAJ

MONIA, JANER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17586          MARTINIAN & ASSOCIATES, INC.

MONICA GRAVES                    FEDERAL - MDL                                3:21-CV-19477          ONDERLAW, LLC

MONICA SALAZAR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15824          LENZE LAWYERS, PLC

MONICA SALAZAR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15824          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MONICA SANCHEZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15826          LENZE LAWYERS, PLC

MONICA SANCHEZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15826          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

MONIZ, PAULINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07442          ONDERLAW, LLC

MONJE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01049          ARNOLD & ITKIN LLP

MONKEMEIER, LILLIAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17629          ONDERLAW, LLC

MONKEN, MONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17673          JOHNSON LAW GROUP

MONKIEWICZ, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17699          JOHNSON LAW GROUP

MONKS, VALARIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2053-17          COHEN, PLACITELLA & ROTH



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           Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MONLUX, ROXANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00401          FLETCHER V. TRAMMELL

MONNIER, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10396          JOHNSON LAW GROUP

MONREAL, KRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06038          ASHCRAFT & GEREL, LLP

MONROE, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12425          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MONROE, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15440          ONDERLAW, LLC

MONROE, DORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06655          FLETCHER V. TRAMMELL

MONROE, EXIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2310-17          GOLOMB SPIRT GRUNFELD PC

MONROE, EXIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02397          SIMMONS HANLY CONROY

MONROE, FRANCES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14792          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MONROE, ISABELLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05610          ONDERLAW, LLC

MONROE, JAYME                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05835          WILLIAMS HART LAW FIRM

MONROE, JERRILYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02139          ONDERLAW, LLC

MONROE, KHALID                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MONROE, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02344          POTTS LAW FIRM

MONROE, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11969          ASHCRAFT & GEREL, LLP

MONROE, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11969          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONROE, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10760          PARKER WAICHMAN, LLP

MONROE, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11689          NACHAWATI LAW GROUP

MONROE, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13674          LENZE KAMERRER MOSS, PLC

MONROE, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20935          ONDERLAW, LLC

MONROE, TAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05578          ONDERLAW, LLC

MONROE, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15078          DALIMONTE RUEB, LLP

MONSON, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13721          ASHCRAFT & GEREL, LLP

MONSOUR, MARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07790          THE MILLER FIRM, LLC

MONTAGUE, LEATHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05838          WILLIAMS HART LAW FIRM

MONTAGUE, SHANNON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00321          BURNS CHAREST LLP

MONTAIE, NAOMI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08333          ONDERLAW, LLC

MONTALVAN, BERTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18474          NACHAWATI LAW GROUP

MONTALVO, CARLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03965          ONDERLAW, LLC

MONTALVO, JENNIFER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MONTALVO, JENNIFER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MONTALVO, JENNIFER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MONTALVO, RAMONA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17314          JOHNSON LAW GROUP

MONTANA, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13241          DALIMONTE RUEB, LLP



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           Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

MONTANEZ, SELINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01799          JOHNSON LAW GROUP

MONTANEZ, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05839          WILLIAMS HART LAW FIRM

MONTANO, PENNY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONTANO, PENNY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

MONTANO, PENNY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

MONTANO, PENNY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

MONTANO, PENNY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

MONTE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08942          DALIMONTE RUEB, LLP

MONTE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09822          ONDERLAW, LLC

MONTEJANO, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02650          ONDERLAW, LLC

MONTEJO, MARIA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC694136               BARRETT LAW GROUP

MONTEJO, MARIA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC694136               PRATT & ASSOCIATES

MONTELEONE, ANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08322          ONDERLAW, LLC

MONTERO, LUZVIMINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13537          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONTERROSO, JOANN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

MONTERROSO, JOANN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

MONTERROSO, JOANN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MONTERROSO, JOANN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MONTES, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06623          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONTES, IRENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12549          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONTES, SYLVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00583          DIAMOND LAW

MONTEZ, EVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13689          DRISCOLL FIRM, P.C.

MONTEZ, EVANGELINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01501          ONDERLAW, LLC

MONTGOMERY, BROKIKIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14581          DAVIS, BETHUNE & JONES, L.L.C.

MONTGOMERY, CHARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10187          GOLDENBERGLAW, PLLC

MONTGOMERY, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15150          ONDERLAW, LLC

MONTGOMERY, JESSICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03647          BARON & BUDD, P.C.
MONTGOMERY, JOHN P EST OF K
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003582-20AS      WEITZ & LUXENBERG
MONTGOMERY
MONTGOMERY, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15814          GIRARDI & KEESE

MONTGOMERY, LILLY                CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327340             THE MILLER FIRM, LLC

MONTGOMERY, MARCIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19774          NACHAWATI LAW GROUP

MONTGOMERY, MARLO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05550          ONDERLAW, LLC

MONTGOMERY, MELANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13128          ARNOLD & ITKIN LLP

MONTGOMERY, ROCHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17738          NACHAWATI LAW GROUP



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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MONTGOMERY, TERESA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00134          ASHCRAFT & GEREL

MONTGOMERY, TERESA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00134          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONTGOMERY, TRACEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08356          ONDERLAW, LLC

MONTIE, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10405          SANDERS VIENER GROSSMAN, LLP

MONTIEL, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18288          WEITZ & LUXENBERG

MONTIHO, MARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11770          COHEN & MALAD, LLP

MONTIHO, MARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11770          NIX PATTERSON & ROACH

MONTIJO, TRACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08518          DAVIS, BETHUNE & JONES, L.L.C.

MONTOOTH, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09803          NACHAWATI LAW GROUP

MONTOSA, SYLVIA               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC703746               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MONTOSA, SYLVIA               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC703746               ROSS FELLER CASEY, LLP

MONTOYA, AIDE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05787          PARKER WAICHMAN LLP

MONTOYA, ANNABELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15019          SULLO & SULLO, LLP

MONTOYA, ERNISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17752          NACHAWATI LAW GROUP

MONTOYA, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02644          ONDERLAW, LLC

MONTOYA, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19267          DRISCOLL FIRM, P.C.

MONTOYA, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17973          DIAMOND LAW

MONTOYA, ROSE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONTOYA, ROSE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

MONTOYA, ROSE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

MONTOYA, ROSE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

MONTSINGER, JENIFER           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11450          NACHAWATI LAW GROUP

MONTZ, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09523          LILLIS LAW FIRM

MONTZ, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09523          MARTZELL, BICKFORD & CENTOLA

MONTZ, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09523          MICHAEL HINGLE & ASSOCIATES, LLC

MONZON, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03904          ONDERLAW, LLC

MONZON, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18390          JOHNSON LAW GROUP

MONZON, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MONZON, MARIA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318680             KIESEL LAW, LLP

MONZON, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          ONDERLAW, LLC

MONZON, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          PORTER & MALOUF, PA

MONZON, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          THE SMITH LAW FIRM, PLLC




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MOODT, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12145          GOZA & HONNOLD, LLC

MOODY, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02605          MOTLEY RICE, LLC

MOODY, CARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10476          ARNOLD & ITKIN LLP

MOODY, JAYMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00132          ASHCRAFT & GEREL

MOODY, JAYMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00132          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOODY, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05818          NAPOLI SHKOLNIK, PLLC

MOODY, KAITLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11691          THE MILLER FIRM, LLC

MOODY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07599          ASHCRAFT & GEREL, LLP

MOODY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12550          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOODY, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07599          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOODY, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17291          ASHCRAFT & GEREL, LLP

MOODY, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17291          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOODY, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13390          LAW OFFICE OF CHARLES H JOHNSON, PA

MOOLAH, PATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09794          NACHAWATI LAW GROUP

MOOMEY, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08644          THE DUGAN LAW FIRM, APLC

MOON, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08427          ONDERLAW, LLC

MOON, COYOTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16682          JOHNSON LAW GROUP

MOON, JILL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04580          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

MOON, KOURTNEY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002475-20         GOLOMB & HONIK, P.C.

MOON, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08951          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOON, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17770          NACHAWATI LAW GROUP

MOON, TAMATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17013          THORNTON LAW FIRM LLP

MOONE, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10247          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOONEY, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20611          ONDERLAW, LLC

MOONEY, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19828          CELLINO & BARNES, P.C.

MOONEY, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21668          ONDERLAW, LLC

MOON-GAINES, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16382          KIESEL LAW, LLP

MOON-GAINES, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16382          LAW OFFICE OF HAYTHAM FARAJ

MOORE, ADRIENNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07138          ONDERLAW, LLC

MOORE, AGORITSA                  BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230702         PRESZLER LAW FIRM LLP

MOORE, AMBER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17226          ONDERLAW, LLC

MOORE, AMIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17066          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP




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           Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

MOORE, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10971          ASHCRAFT & GEREL, LLP

MOORE, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00179          CELLINO & BARNES, P.C.

MOORE, ANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01754          WILLIAMS HART LAW FIRM

MOORE, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09924          LENZE KAMERRER MOSS, PLC

MOORE, APRIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20671          GORI JULIAN & ASSOCIATES, P.C.

MOORE, AUDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11792          ONDERLAW, LLC

MOORE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09586          BARON & BUDD, P.C.

MOORE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

MOORE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          LENZE LAWYERS, PLC

MOORE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16897          ONDERLAW, LLC

MOORE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15093          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOORE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                              PA - ALLEGHENY COUNTY COURT OF COMMON
MOORE, BERNADINE                                                           170104504              THE MILLER FIRM, LLC
                              PLEAS
MOORE, BERTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01506          MURRAY LAW FIRM

MOORE, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01609          HEYGOOD, ORR & PEARSON

MOORE, BLONDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12995          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20283          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, BRIDGET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10599          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00348          ASHCRAFT & GEREL

MOORE, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00348          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, CASSANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10254          GORI JULIAN & ASSOCIATES, P.C.

MOORE, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05453          ONDERLAW, LLC

MOORE, CHARLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08203          ONDERLAW, LLC

MOORE, CHARLOTTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11353          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13160          NACHAWATI LAW GROUP

MOORE, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11537          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MOORE, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08748          ONDERLAW, LLC

MOORE, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18716          JOHNSON LAW GROUP

MOORE, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17828          NACHAWATI LAW GROUP

MOORE, DAWN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002646-21        WEITZ & LUXENBERG

MOORE, DEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09398          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, DEANNA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, DEANNA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC




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             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MOORE, DEANNA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

MOORE, DEANNA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

MOORE, DEBORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12933          CELLINO & BARNES, P.C.

MOORE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17527          KIRTLAND & PACKARD, LLP

MOORE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17786          NACHAWATI LAW GROUP

MOORE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05529          ONDERLAW, LLC

MOORE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15777          ONDERLAW, LLC

MOORE, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02939          ONDERLAW, LLC

MOORE, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00174          BURNS CHAREST LLP

MOORE, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05910          ONDERLAW, LLC

MOORE, DONNA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC698820               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOORE, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11970          ASHCRAFT & GEREL, LLP

MOORE, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11970          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07691          WAGSTAFF & CARTMELL, LLP

MOORE, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10613          ONDERLAW, LLC

MOORE, EPHYANIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00926          MORRIS BART & ASSOCIATES

MOORE, ERICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01266          GORI JULIAN & ASSOCIATES, P.C.

MOORE, ERIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08345          ONDERLAW, LLC

MOORE, ERIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09703          ONDERLAW, LLC

MOORE, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20307          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11062          NACHAWATI LAW GROUP

MOORE, GERTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07204          THE BENTON LAW FIRM, PLLC

MOORE, GRACE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-148-18           KEEFE BARTELS

MOORE, GRACE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-148-18           LAW OFFICE OF GRANT D. AMEY, LLC

MOORE, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07053          ONDERLAW, LLC

MOORE, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13470          THE BENTON LAW FIRM, PLLC

MOORE, HWA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00001          THE SEGAL LAW FIRM

MOORE, JACQUELIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13639          NACHAWATI LAW GROUP

MOORE, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07468          ONDERLAW, LLC

MOORE, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06141          ONDERLAW, LLC

MOORE, JAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19610          NACHAWATI LAW GROUP

MOORE, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12836          FRAZER PLC

MOORE, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18419          ONDERLAW, LLC




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MOORE, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MOORE, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14933          LENZE LAWYERS, PLC

MOORE, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MOORE, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14933          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOORE, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOORE, JOHNNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19761          NACHAWATI LAW GROUP

MOORE, JONELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18745          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MOORE, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20162          NACHAWATI LAW GROUP

MOORE, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17743          CELLINO & BARNES, P.C.

MOORE, KARMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10002          GORI JULIAN & ASSOCIATES, P.C.

MOORE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12053          MORELLI LAW FIRM, PLLC

MOORE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10086          ONDERLAW, LLC

MOORE, KATRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12533          THE MILLER FIRM, LLC

MOORE, KATY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12165          DRISCOLL FIRM, P.C.

MOORE, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20205          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, KRISTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13133          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14271          ASHCRAFT & GEREL, LLP

MOORE, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14271          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, LEONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12217          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, LESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14754          ONDERLAW, LLC

MOORE, LILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15436          HEYGOOD, ORR & PEARSON

MOORE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05835          ASHCRAFT & GEREL

MOORE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05835          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MOORE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MOORE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01395          ONDERLAW, LLC

MOORE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOORE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06564          ROSS FELLER CASEY, LLP

MOORE, LINDSAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15650          HILLIARD MARTINEZ GONZALES, LLP

MOORE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11533          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MOORE, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19636          NACHAWATI LAW GROUP

MOORE, LOU                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-929-16           SEEGER WEISS LLP

MOORE, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MOORE, LOUISE                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318684             KIESEL LAW, LLP

MOORE, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          ONDERLAW, LLC

MOORE, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          PORTER & MALOUF, PA

MOORE, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798          THE SMITH LAW FIRM, PLLC

MOORE, MABEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10426          GORI JULIAN & ASSOCIATES, P.C.

MOORE, MAE K.                    CA - SUPERIOR COURT - LOS ANGELES            21STCV05513            DEAN OMAR BRANHAM, LLP

MOORE, MAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13595          NACHAWATI LAW GROUP

MOORE, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21383          NACHAWATI LAW GROUP

MOORE, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07595          DAVIS, BETHUNE & JONES, L.L.C.

MOORE, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00241          CELLINO & BARNES, P.C.

MOORE, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05063          POTTS LAW FIRM

MOORE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20816          ASHCRAFT & GEREL, LLP

MOORE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12298          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03820          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02570          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOORE, MARYLL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17777          NACHAWATI LAW GROUP

MOORE, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01821          SCHROEDER MAUNDRELL BARBIERE POWERS

MOORE, MYRNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01155          ONDERLAW, LLC

MOORE, NANCY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001045-21        GOLOMB & HONIK, P.C.

MOORE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09942          GORI JULIAN & ASSOCIATES, P.C.

MOORE, NANCY                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321201             THE MILLER FIRM, LLC

MOORE, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11656          HARRISON DAVIS STEAKLEY MORRISON

MOORE, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03432          JOHNSON BECKER, PLLC

MOORE, ORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16605          ASHCRAFT & GEREL

MOORE, ORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16605          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, PAMULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MOORE, PAMULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MOORE, PAMULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOORE, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01655          MOTLEY RICE, LLC

MOORE, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19690          NACHAWATI LAW GROUP

MOORE, RAMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07023          BARRETT LAW GROUP

MOORE, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09640          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05148          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOORE, ROSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15016          STEVENSON LEGAL GROUP, PLLC



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             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MOORE, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MOORE, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MOORE, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOORE, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09133          MOTLEY RICE, LLC

MOORE, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12200          ONDERLAW, LLC

MOORE, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07047          ONDERLAW, LLC

MOORE, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12070          NACHAWATI LAW GROUP

MOORE, SCOTT                    IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MOORE, SHANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19208          JOHNSON LAW GROUP

MOORE, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17810          NACHAWATI LAW GROUP

MOORE, SHELLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11726          NACHAWATI LAW GROUP

MOORE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16472          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MOORE, STACEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14426          ASHCRAFT & GEREL

MOORE, STACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02233          ONDERLAW, LLC

MOORE, SUE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19490          ARNOLD & ITKIN LLP

MOORE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20310          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21381          NACHAWATI LAW GROUP

MOORE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17183          ONDERLAW, LLC

MOORE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-03510          WAGSTAFF & CARTMELL, LLP

MOORE, TALIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13089          WAGSTAFF & CARTMELL, LLP

MOORE, TAMMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05500          ONDERLAW, LLC

MOORE, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17499          JOHNSON LAW GROUP

MOORE, TERRY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

MOORE, TERRY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

MOORE, TERRY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

MOORE, TONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11908          ASHCRAFT & GEREL, LLP

MOORE, TONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11908          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08357          HOLLAND LAW FIRM

MOORE, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11203          ONDERLAW, LLC

MOORE, WILLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09837          CHILDERS, SCHLUETER & SMITH, LLC

MOORE, WILLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13531          THE MILLER FIRM, LLC

MOORE, YAZMEIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08950          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORE-ALLEN, LILLIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09468          THE MILLER FIRM, LLC




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           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MOORE-BLACK, LATASHA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07192          ONDERLAW, LLC

MOORE-GAINES, PAMELA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01821          GORI JULIAN & ASSOCIATES, P.C.

MOORE-HAZELWOOD, SONJA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04247          ONDERLAW, LLC

MOOREHEAD, KATHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19471          ASHCRAFT & GEREL, LLP

MOOREHEAD, KATHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19471          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOORERE, CHARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17855          NACHAWATI LAW GROUP

MOORE-WILBURN, JEROLENE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16590          SUMMERS & JOHNSON, P.C.

MOORHEAD, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16029          ASHCRAFT & GEREL

MOORHEAD, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16029          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOOROW, CAROL                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MOPPIN, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05841          WILLIAMS HART LAW FIRM

MOQUIN, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-06599          ONDERLAW, LLC

MORA, AMPARO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15556          JOHNSON LAW GROUP

MORACE, DANIELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12668          ONDERLAW, LLC

MORADO, FEDERIKA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06592          ONDERLAW, LLC

MORAGA, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12302          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORAHAN, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10576          DAVIS, BETHUNE & JONES, L.L.C.

MORAITAKIS, LISA              GA - STATE COURT OF COBB COUNTY              21-A-1334              BARNES LAW GROUP, LLC

MORAITAKIS, LISA              GA - STATE COURT OF COBB COUNTY              21-A-1334              CHEELEY LAW GROUP

MORALE, JOANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06073          POGUST BRASLOW & MILLROOD, LLC

MORALES, ALMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12909          DRISCOLL FIRM, P.C.

MORALES, ARCELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00534          BURNS CHAREST LLP

MORALES, CARMEN               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORALES, CARMEN               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           PORTER & MALOUF, PA

MORALES, CARMEN               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           THE SMITH LAW FIRM, PLLC

MORALES, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10752          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORALES, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00962          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MORALES, JACKELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19592          NACHAWATI LAW GROUP

MORALES, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10759          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORALES, LEILANI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09650          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORALES, LETICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17685          JOHNSON LAW GROUP

MORALES, LILLIAN              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1937-16          NAPOLI SHKOLNIK, PLLC

MORALES, LYDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19064          BERNSTEIN LIEBHARD LLP

MORALES, MARION               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04946          ONDERLAW, LLC



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           Claimant Name                              State Filed                       Docket Number                              Plaintiff Counsel
MORALES, MARLENE M & EST OF OSCAR
                                    NY - SUPREME COURT - NYCAL                   190430/2018            MEIROWITZ & WASSERBERG, LLP
MORALES
MORALES, MARLENE MASKOW             NY - SUPREME COURT - NYCAL                   190430/2018            MEIROWITZ & WASSERBERG, LLP

MORALES, NAOMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORALES, NAOMI                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318688             KIESEL LAW, LLP

MORALES, NAOMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          ONDERLAW, LLC

MORALES, NAOMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          PORTER & MALOUF, PA

MORALES, NAOMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800          THE SMITH LAW FIRM, PLLC

MORALES, OLGA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17830          ONDERLAW, LLC

MORALES, OMAYRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05427          ONDERLAW, LLC

MORALES, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06459          ONDERLAW, LLC

MORALES, ROSEMARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09627          ONDERLAW, LLC

MORALES, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04809          ONDERLAW, LLC

MORALES, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16289          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORALES, SHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03955          ONDERLAW, LLC

MORALES, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04031          ONDERLAW, LLC

MORALES, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02032          ONDERLAW, LLC

MORAN, CLARE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04589          ONDERLAW, LLC

MORAN, EVELYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06296          ONDERLAW, LLC

MORAN, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11675          MORGAN & MORGAN

MORAN, LORETTA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13214          LAW OFF OF ROGER 'ROCKY' WALTON, PC

MORAN, MARGARITA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-262-18           COHEN, PLACITELLA & ROTH

MORAN, MARIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08728          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MORAN, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15560          ONDERLAW, LLC

MORAN, PENELOPE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17873          NACHAWATI LAW GROUP

MORANDA, PATRICIA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321199             THE MILLER FIRM, LLC

MORAR, STEPHANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00686          ROSS FELLER CASEY, LLP

MORAST, FRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16854          MORGAN & MORGAN

MORAVINSKI, ELAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06753          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MORDESSA, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20109          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORE, DEBRA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11520          NACHAWATI LAW GROUP

MOREAU, STEPHANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09745          ONDERLAW, LLC

MOREELS, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17878          NACHAWATI LAW GROUP

MOREHEAD, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08932          THE MILLER FIRM, LLC

MOREIRA, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14819          LENZE LAWYERS, PLC



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           Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MOREIRA, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14819          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MOREIRA, MARIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000127-19        GOLOMB SPIRT GRUNFELD PC

MOREIRA, MARITZA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002833-21        MORELLI LAW FIRM, PLLC

MOREIRA, MARITZA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002833-21        THE SEGAL LAW FIRM

MOREJON, ROSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05865          WILLIAMS HART LAW FIRM

MOREL, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02532          THE RUTH LAW TEAM

MORELLI, MARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00283          BURNS CHAREST LLP

MORELLI, ROSALIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12167          THE MILLER FIRM, LLC

MORELOCK, GAIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05613          JOHNSON LAW GROUP

MORENO, ADRIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10609          NACHAWATI LAW GROUP

MORENO, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08252          NAPOLI SHKOLNIK, PLLC

MORENO, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01846          ONDERLAW, LLC

MORENO, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15709          NACHAWATI LAW GROUP

MORENO, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17149          CELLINO & BARNES, P.C.

MORENO, ESPERANZA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17906          NACHAWATI LAW GROUP

MORENO, ESTELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17900          NACHAWATI LAW GROUP

MORENO, IRENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12544          ONDERLAW, LLC

MORENO, MARTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12572          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MORENO, ORELIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02145          ONDERLAW, LLC

MORENO, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05925          ONDERLAW, LLC

MORENO, SILVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10149          DAVIS, BETHUNE & JONES, L.L.C.

MORENO, TAMERA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17890          NACHAWATI LAW GROUP

MORENO, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORENO, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

MORENO, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

MORENO, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

MORETTI, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07017          ONDERLAW, LLC

MORETZ, JENNY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06432          WILLIAMS HART LAW FIRM

MOREY, CLARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16903          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOREY, COURTNEY               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

MOREY, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17505          ONDERLAW, LLC

MORGAN, AIMEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16296          NACHAWATI LAW GROUP




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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MORGAN, AMBER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19060          NACHAWATI LAW GROUP

MORGAN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MORGAN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MORGAN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORGAN, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14719          LENZE LAWYERS, PLC

MORGAN, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14719          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORGAN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17854          ASHCRAFT & GEREL, LLP

MORGAN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17854          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORGAN, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06839          ONDERLAW, LLC

MORGAN, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18720          WILLIAMS HART LAW FIRM

MORGAN, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11042          PARKER WAICHMAN, LLP

MORGAN, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05680          MOTLEY RICE, LLC

MORGAN, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14773          LENZE LAWYERS, PLC

MORGAN, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14773          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORGAN, CRYSTAL                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002478-20        GOLOMB & HONIK, P.C.

MORGAN, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORGAN, CYNTHIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2265-17          GOLOMB SPIRT GRUNFELD PC

MORGAN, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          ONDERLAW, LLC

MORGAN, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          PORTER & MALOUF, PA

MORGAN, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945          THE SMITH LAW FIRM, PLLC

MORGAN, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06216          ONDERLAW, LLC

MORGAN, DELORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22198          ONDERLAW, LLC

MORGAN, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07199          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MORGAN, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MORGAN, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MORGAN, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORGAN, DOROTHEA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11029          THE SIMON LAW FIRM, PC

MORGAN, HESTER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18688          NACHAWATI LAW GROUP

MORGAN, INELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16751          JOHNSON BECKER, PLLC

MORGAN, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13052          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORGAN, JEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17399          NACHAWATI LAW GROUP

MORGAN, JENNIFER                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002476-20         GOLOMB & HONIK, P.C.

MORGAN, JO                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19717          ARNOLD & ITKIN LLP

MORGAN, JOANNE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-465-18           LEVY BALDANTE FINNEY & RUBENSTEIN



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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MORGAN, JOY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15883          ASHCRAFT & GEREL, LLP

MORGAN, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12997          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORGAN, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12123          FLETCHER V. TRAMMELL

MORGAN, JULIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17724          NACHAWATI LAW GROUP

MORGAN, KEITHER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04086          ONDERLAW, LLC

MORGAN, LEAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08405          SUMMERS & JOHNSON, P.C.

MORGAN, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09860          FLETCHER V. TRAMMELL

MORGAN, MARIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002477-20        GOLOMB & HONIK, P.C.

MORGAN, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10407          ARNOLD & ITKIN LLP

MORGAN, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09044          ONDERLAW, LLC

MORGAN, MARY                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV330990             DANIEL & ASSOCIATES, LLC

MORGAN, MARY                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV330990             KIESEL LAW, LLP

MORGAN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08005          THE DUGAN LAW FIRM, APLC

MORGAN, MARY                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV330990             THE WHITEHEAD LAW FIRM, LLC

MORGAN, MELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15397          ONDERLAW, LLC

MORGAN, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06516          KLINE & SPECTER, P.C.

MORGAN, PENELOPE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14800          JOHNSON LAW GROUP

MORGAN, REGINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08941          BARON & BUDD, P.C.

MORGAN, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11977          ASHCRAFT & GEREL

MORGAN, ROSELEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13264          MORELLI LAW FIRM, PLLC

MORGAN, SALLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12573          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

MORGAN, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06033          TORHOERMAN LAW LLC

MORGAN, SARA-FAYE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07848          ONDERLAW, LLC

MORGAN, SHAYLYNN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21029          HOLLAND LAW FIRM

MORGAN, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04823          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORGAN, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12603          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORGAN, TERI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16131          ONDERLAW, LLC

MORGAN, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05869          WILLIAMS HART LAW FIRM

MORGAN, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12720          THE MILLER FIRM, LLC

MORGAN, VALERIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           ONDERLAW, LLC

MORGAN, VALERIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           PORTER & MALOUF, PA

MORGAN, VALERIE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165           THE SMITH LAW FIRM, PLLC

MORGAN, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20709          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MORGANFIELD, LINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11535          NACHAWATI LAW GROUP



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MORGAN-ROEHRICH, KRISTINE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13539          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORGAN-SIMPSON, DIANNE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17800          BURNETT LAW FIRM

MORGEN, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17388          THE MILLER FIRM, LLC

MORGENROTH, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12518          HENINGER GARRISON DAVIS, LLC

MORI, SUMIYO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08751          ONDERLAW, LLC

MORICETTES, MARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10770          ONDERLAW, LLC

MORICI, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12518          ARNOLD & ITKIN LLP

MORIGI, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08297          BARRETT LAW GROUP

MORIMITSU, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00835          LENZE LAWYERS, PLC

MORIN, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13165          ASHCRAFT & GEREL, LLP

MORIN, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13165          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORIN-OUELLETTE, DEBRA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19207          BERMAN & SIMMONS, P. A.

MORIS, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12488          FLETCHER V. TRAMMELL

MORLAN, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01677          FLETCHER V. TRAMMELL

MORO, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19893          CELLINO & BARNES, P.C.

MORPHEW, MARCIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11016          ONDERLAW, LLC

MORQUECHO, ROSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13629          NACHAWATI LAW GROUP

MORRA, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20997          CELLINO & BARNES, P.C.

MORRELL, ARLENE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003030-20        GOLOMB & HONIK, P.C.

MORRELL, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06368          ASHCRAFT & GEREL

MORRELL, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06368          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORRELL, GRACE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORRELL, GRACE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

MORRELL, GRACE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

MORRELL, GRACE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

MORRELL, GRACE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

MORRILL, PAMELA                  IL - CIRCUIT COURT - COOK COUNTY             2017-L-8094            CLIFFORD LAW OFFICES, P.C.

MORRILL, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07304          JASON J. JOY & ASSCIATES P.L.L.C.

MORRIS, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20061          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORRIS, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13370          NACHAWATI LAW GROUP

MORRIS, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04411          GORI JULIAN & ASSOCIATES, P.C.

MORRIS, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09130          ONDERLAW, LLC




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MORRIS, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09236          MORRIS BART & ASSOCIATES

MORRIS, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01140          THE DUGAN LAW FIRM, APLC

MORRIS, CAROLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17459          NACHAWATI LAW GROUP

MORRIS, CATHERINE                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     19STCV38693            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORRIS, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00549          BARON & BUDD, P.C.

MORRIS, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14256          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MORRIS, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11262          ASHCRAFT & GEREL

MORRIS, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01657          HOLLAND LAW FIRM

MORRIS, DAWANAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18809          NACHAWATI LAW GROUP

MORRIS, DEBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08484          WILLIAMS HART LAW FIRM

MORRIS, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18249          ONDERLAW, LLC

MORRIS, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04088          ONDERLAW, LLC

MORRIS, FREDDIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15130          ASHCRAFT & GEREL

MORRIS, FREDDIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15130          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORRIS, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11006          ONDERLAW, LLC

MORRIS, JESSICA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002597-20        GOLOMB & HONIK, P.C.

MORRIS, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04924          ONDERLAW, LLC

MORRIS, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06691          KLINE & SPECTER, P.C.

MORRIS, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00869          ASHCRAFT & GEREL, LLP

MORRIS, KIMBERLY                  CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1800043             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORRIS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10588          DALIMONTE RUEB, LLP

MORRIS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12664          NAPOLI SHKOLNIK, PLLC

MORRIS, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15825          ARNOLD & ITKIN LLP

MORRIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07883          ASHCRAFT & GEREL

MORRIS, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11746          ARNOLD & ITKIN LLP

MORRIS, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10087          ONDERLAW, LLC

MORRIS, ROXANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13598          DRISCOLL FIRM, P.C.

MORRIS, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11676          ASHCRAFT & GEREL

MORRIS, SELESTER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17528          NACHAWATI LAW GROUP

MORRIS, SHANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13542          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORRIS, SHANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04142          ONDERLAW, LLC

MORRIS, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01030          NAPOLI SHKOLNIK, PLLC

MORRIS, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15131          ASHCRAFT & GEREL

MORRIS, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15131          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MORRIS, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08321          DALIMONTE RUEB, LLP

MORRIS, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10167          ONDERLAW, LLC

MORRIS, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15084          CHISHOLM & CHISHOLM, P.C.

MORRIS, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15084          MURRAY LAW FIRM

MORRIS, SYLVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07723          ONDERLAW, LLC

MORRIS, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08997          MORELLI LAW FIRM, PLLC

MORRIS, TEAZU-TATIANA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08418          FLETCHER V. TRAMMELL

MORRIS, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17481          NACHAWATI LAW GROUP

MORRIS, THELMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13692          THE BARNES FIRM, P.C.

MORRIS, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21557          ONDERLAW, LLC

MORRIS, TRAYCEE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2605-17          COHEN, PLACITELLA & ROTH

MORRIS, UNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17589          NACHAWATI LAW GROUP

MORRIS, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MORRIS, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MORRIS, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17520          NACHAWATI LAW GROUP

MORRIS, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORRIS, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MORRIS, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MORRIS, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORRISION, ROSETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01641          MCSWEENEY/LANGEVIN, LLC

MORRIS-JACKSON, SUSAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06559          ONDERLAW, LLC

MORRISON, ANNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001850-20        GOLOMB & HONIK, P.C.

MORRISON, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10088          ONDERLAW, LLC

MORRISON, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17473          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

MORRISON, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01589          ONDERLAW, LLC

MORRISON, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01408          ARNOLD & ITKIN LLP

MORRISON, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20702          ASHCRAFT & GEREL, LLP

MORRISON, DIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17603          NACHAWATI LAW GROUP

MORRISON, GYPSY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13353          NACHAWATI LAW GROUP

MORRISON, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01072          ONDERLAW, LLC

MORRISON, JAYNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06859          JOHNSON LAW GROUP

MORRISON, JEANETTIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01334          ASHCRAFT & GEREL

MORRISON, JEANETTIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01334          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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           Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

MORRISON, KENESHIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09974          ONDERLAW, LLC

MORRISON, MARION              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02507          BURNS CHAREST LLP

MORRISON, MARION              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02507          BURNS CHAREST LLP

MORRISON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06442          ONDERLAW, LLC

MORRISON, PAULA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18343          NACHAWATI LAW GROUP

MORRISON, RAYNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13023          CELLINO & BARNES, P.C.

MORRISON, ROSEANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10188          THE LAW OFFICES OF SEAN M CLEARY

MORRISON, RUBY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05641          ONDERLAW, LLC

MORRISON, SHELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15771          BISNAR AND CHASE

MORRISON, TAMMY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02229          ONDERLAW, LLC

MORRISSEY, CAROLE             IL - CIRCUIT COURT - COOK COUNTY             2021L003700            CORBOY & DEMETRIO, P.C.

MORROW, DANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02012          ONDERLAW, LLC

MORROW, IDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04701          ONDERLAW, LLC

MORROW, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11886          NACHAWATI LAW GROUP

MORROW, KESHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05265          ONDERLAW, LLC

MORROW, LATISHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06868          ONDERLAW, LLC

MORROW, MARGARET WHEELER      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04385          DALIMONTE RUEB, LLP

MORROW, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08892          WAGSTAFF & CARTMELL, LLP

MORSE, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11693          THE MILLER FIRM, LLC

MORSE, CORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05836          ASHCRAFT & GEREL

MORSE, CORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05836          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORSE, DEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09971          WATERS & KRAUS, LLP

MORSE, JAVONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16428          ARNOLD & ITKIN LLP

MORSE, JOSEPHINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15398          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MORSE, ROSEMARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19207          NACHAWATI LAW GROUP

MORSE, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08373          THE SEGAL LAW FIRM

MORSTADT, ANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13807          FLETCHER V. TRAMMELL

MORTELLARO, MADELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06187          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORTEZAZADEH, MITRA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09340          ONDERLAW, LLC

MORTIMER, CATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12519          ONDERLAW, LLC

MORTIMER, DIANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12239          THORNTON LAW FIRM

MORTIMER, LAURA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1232-16          ASHCRAFT & GEREL, LLP

MORTIMER, LAURA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1232-16          GOLOMB SPIRT GRUNFELD PC

MORTIS, INGER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03941          ONDERLAW, LLC



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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MORTON, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09657          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MORTON, BAHIYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11840          DANIEL & ASSOCIATES, LLC

MORTON, BEVERLY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003226-21        WEITZ & LUXENBERG

MORTON, CARSON                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002479-20        GOLOMB & HONIK, P.C.

MORTON, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10084          GORI JULIAN & ASSOCIATES, P.C.

MORTON, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09572          ONDERLAW, LLC

MORTON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05534          BOHRER LAW FIRM, LLC

MORTON, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06035          KIRKENDALL DWYER LLP

MORTON-MAULTSBY, ROSIE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06309          NAPOLI SHKOLNIK, PLLC

MORTZ, SUZETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05431          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MORYKAN, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02316          JOHNSON LAW GROUP

MORZAN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18217          CELLINO & BARNES, P.C.

MOSBACHER, MARSHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13707          FLETCHER V. TRAMMELL

MOSBY, LASHAUN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17637          NACHAWATI LAW GROUP

MOSCHETTO, JOAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11017          WAGSTAFF & CARTMELL, LLP

MOSCHOGIANIS, NANCY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19240          MESHBESHER & SPENCE, LTD.

MOSCOVICI, HEDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00264          HEYGOOD, ORR & PEARSON

MOSELEY, AGNES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19028          NACHAWATI LAW GROUP

MOSER, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16923          ASHCRAFT & GEREL

MOSER, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16923          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOSER, BRANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00001          ONDERLAW, LLC

MOSER, JANALEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05837          ASHCRAFT & GEREL

MOSER, JANALEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOSER, JOYCE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

MOSER, JOYCE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

MOSER, JOYCE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

MOSER, RHONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02565          ONDERLAW, LLC

MOSER, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14030          THE SEGAL LAW FIRM

MOSES, CASEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04607          ONDERLAW, LLC

MOSES, TIELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06396          ARNOLD & ITKIN LLP

MOSHER, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10615          ONDERLAW, LLC

MOSHIER, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01278          ASHCRAFT & GEREL

MOSHIER, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01278          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOSKAL, LOUISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21507          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

MOSKOWITZ, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09268          POGUST BRASLOW & MILLROOD, LLC

MOSLEY, DALE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03940          ONDERLAW, LLC

MOSLEY, DIANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07548          ASHCRAFT & GEREL, LLP

MOSLEY, DIANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07548          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOSLEY, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17098          MORRIS BART & ASSOCIATES

MOSLEY, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05787          ASHCRAFT & GEREL

MOSLEY, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05787          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOSLEY, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05360          ONDERLAW, LLC

MOSLEY, HAZEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09223          ONDERLAW, LLC

MOSLEY, JEFFELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00587          BART DURHAM INJURY LAW

MOSLEY, JEFFELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00587          FRAZER PLC

MOSLEY, JOSLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05992          ONDERLAW, LLC

MOSLEY, KATIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10877          ARNOLD & ITKIN LLP

MOSLEY, LATASHA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002480-20        GOLOMB & HONIK, P.C.

MOSLEY, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11279          ASHCRAFT & GEREL, LLP

MOSLEY, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05581          ONDERLAW, LLC

MOSQUEDA, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15471          SUMMERS & JOHNSON, P.C.

MOSQUEDA, ELIDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14249          ASHCRAFT & GEREL, LLP

MOSQUEDA, ELIDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14249          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOSS, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12665          BARON & BUDD, P.C.

MOSS, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09683          ONDERLAW, LLC

MOSS, DAVONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06543          SEIDMAN MARGULIS & FAIRMAN, LLP

MOSS, DELPHINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10809          ARNOLD & ITKIN LLP

MOSS, DELPHINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19201          NACHAWATI LAW GROUP

MOSS, FLORENCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12945          HOLLAND LAW FIRM

MOSS, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03139          ASHCRAFT & GEREL

MOSS, MARLAINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10832          ASHCRAFT & GEREL

MOSS, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02306          ONDERLAW, LLC

MOSS, PENNY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00033          COHEN & MALAD, LLP

MOSS, PENNY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00033          NIX PATTERSON & ROACH

MOSSA, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00952          MORELLI LAW FIRM, PLLC

MOSTELLER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18250          ONDERLAW, LLC

MOTA, MARITZA                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00573-21         WEITZ & LUXENBERG

MOTA-DUBON, JULIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15917          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MOTE, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10310          THE MILLER FIRM, LLC

MOTEN, DIETRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11490          BARRETT LAW GROUP

MOTES, ALISHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00189          POTTS LAW FIRM

MOTLEY, OCTAVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17646          NACHAWATI LAW GROUP

MOTOLA, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13144          VENTURA LAW

MOTRONI, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13325          NACHAWATI LAW GROUP

MOTSINGER, LOIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05892          DALIMONTE RUEB, LLP

MOTT, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18428          JOHNSON LAW GROUP

MOTT, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01720          JOHNSON LAW GROUP

MOTTER, STEPHENIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01931          JOHNSON LAW GROUP

MOTTOLA, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00478          ASHCRAFT & GEREL, LLP

MOULD, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18916          NACHAWATI LAW GROUP

MOULTRIE, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19645          NACHAWATI LAW GROUP

MOUNT, COLETTE                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318737             MARY ALEXANDER & ASSOCIATES, P.C.

MOUNT, JUANITA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002179-20        GOLOMB & HONIK, P.C.

MOUNT, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13556          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOUNT, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08041          HOLLAND LAW FIRM

MOUNTAIN, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18519          THE SEGAL LAW FIRM
                                 LA - DISTRICT COURT - EAST BATON ROUGE
MOUTON, GENEVA                                                                C66012122              POURCIAU LAW FIRM, LLC
                                 PARISH
MOUTON, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02482          THE SEGAL LAW FIRM

MOUTREY, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10546          NACHAWATI LAW GROUP

MOWBRAY, SUSAN HELEN             BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230642         PRESZLER LAW FIRM LLP

MOWERY, AMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02668          ONDERLAW, LLC

MOXEY, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20056          TRAMMELL PC

MOXLEY, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02952          ONDERLAW, LLC

MOY, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14594          JOHNSON LAW GROUP

MOYA, ERIKA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01452          ONDERLAW, LLC

MOYA, KRISTI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06262          DALIMONTE RUEB, LLP

MOYE, LYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00083          FLETCHER V. TRAMMELL

MOYE, ROSEMARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12740          ASHCRAFT & GEREL

MOYER, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09484          BISNAR AND CHASE

MOYER, DIANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10352          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOYER, JUNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13136          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOYER, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07408          THE DUGAN LAW FIRM, APLC



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             Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MOYERS, MELANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09561          JOHNSON LAW GROUP

MOYES, EDNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05301          POTTS LAW FIRM

MOYNIHAN, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06325          NAPOLI SHKOLNIK, PLLC

MOZINGO, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15917          ASHCRAFT & GEREL, LLP

MOZINGO, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15917          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MOZINGO, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16189          ONDERLAW, LLC

MRAVEC, REGENIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12214          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MRAVINTZ, KRYSTAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17452          WEITZ & LUXENBERG

MRAZ, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05886          ASHCRAFT & GEREL

MRAZ, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05886          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MROZEK, PHYLLIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13485          ONDERLAW, LLC

MSZYCO, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09317          ONDERLAW, LLC

MUCCI, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10494          ROSS FELLER CASEY, LLP

MUCHA, ERICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19305          ARNOLD & ITKIN LLP

MUCHE, ROSEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14463          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MUCKLER, MARSHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09246          ONDERLAW, LLC

MUDD, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08019          ONDERLAW, LLC

MUDD, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08970          ONDERLAW, LLC

MUDD, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17661          NACHAWATI LAW GROUP

MUDGE, NATALIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14583          DAVIS, BETHUNE & JONES, L.L.C.

MUELLER, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12264          WATERS & KRAUS, LLP

MUELLER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11298          NACHAWATI LAW GROUP

MUELLER-DOHERTY, DIANE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11032          LEVIN SIMES LLP

MUHLBAIER, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07493          ONDERLAW, LLC

MUHLHAUSER, KATHRYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08734          ONDERLAW, LLC

MULANAX-CRAWFORD, MONICA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07724          BISNAR AND CHASE

MULBERRY, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULBERRY, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

MULBERRY, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

MULBERRY, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

MULDER, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01794          ONDERLAW, LLC

MULDOON, TINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13341          JOHNSON LAW GROUP

MULDOWNEY, CHARLOTTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15738          NACHAWATI LAW GROUP




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              Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

MULDREW, DEBRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULDREW, DEBRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

MULDREW, DEBRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

MULDREW, DEBRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

MULDREW, DEBRA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

MULDREW, ETTA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10043          ONDERLAW, LLC

MULDROW, ALLESIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01468          TORHOERMAN LAW LLC

MULE, ANGELA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11971          ASHCRAFT & GEREL, LLP

MULE, ANGELA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11971          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULE, MARGARET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01141          THE DUGAN LAW FIRM, APLC

MULHOLLAND, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13557          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULIER, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08624          ONDERLAW, LLC

MULINS, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02166          ONDERLAW, LLC

MULLAN, MARILOU RE: ARDYS C. LANE   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05788-19AS       WEITZ & LUXENBERG

MULLEN, JOANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20461          ASHCRAFT & GEREL, LLP

MULLEN, JOANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20461          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULLEN, JOY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06968          ARNOLD & ITKIN LLP

MULLEN, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10856          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULLEN, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06263          FLETCHER V. TRAMMELL

MULLEN, MIMI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00788          NAPOLI SHKOLNIK, PLLC

MULLENDORE, JAMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15497          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULLENNAX, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11667          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULLER, CECILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01388          NAPOLI SHKOLNIK, PLLC

MULLER, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04061          MORGAN & MORGAN

MULLER, MEREDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12344          LAW OFFICES OF JAMES S. ROGERS

MULLER, MEREDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12344          PANISH, SHEA & BOYLE

MULLER, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17671          NACHAWATI LAW GROUP

MULLICA, ALICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15045          THE BENTON LAW FIRM, PLLC

MULLICA, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05969          ONDERLAW, LLC

MULLINS, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05389          FLETCHER V. TRAMMELL

MULLINS, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13969          SIMMONS HANLY CONROY

MULLINS, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09106          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULLINS, GINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20313          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULLINS, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02451          ONDERLAW, LLC



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             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MULLINS, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07734          BISNAR AND CHASE

MULLINS, JULIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11039          THE CARLSON LAW FIRM

MULLINS, LORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21515          FLETCHER V. TRAMMELL

MULLINS, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01564          ONDERLAW, LLC

MULLINS, MONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04477          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

MULLINS, MONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04477          SALTZ MONGELUZZI & BENDESKY PC

MULLINS, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06200          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MULLINS, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13252          GORI JULIAN & ASSOCIATES, P.C.

MULVEY, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12114          TORHOERMAN LAW LLC

MULVEY, KAY F                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05973-17AS       LEVY KONIGSBERG LLP

MULVHILL, SHANNON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15801          NACHAWATI LAW GROUP

MULVIHILL, SHANNON              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002648-21        WEITZ & LUXENBERG

MUMALLAH, LESLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01787          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUMMAREDDI, SANDHYA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04081          ONDERLAW, LLC

MUMMERT, NOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17853          ASHCRAFT & GEREL, LLP

MUMMERT, NOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17853          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUNCEY, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08283          GORI JULIAN & ASSOCIATES, P.C.

MUNCH, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUNCH, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05372          ONDERLAW, LLC

MUNCHRATH, ANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19746          JOHNSON BECKER, PLLC

MUND, EILEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13291          ASHCRAFT & GEREL, LLP

MUNDEN, DIONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18559          ONDERLAW, LLC

MUNDEN, KIM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09764          ONDERLAW, LLC

MUNDO, ANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16711          NACHAWATI LAW GROUP

MUNGER, MARCELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04763          ONDERLAW, LLC

MUNGLE, CONNIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2474-17          KEEFE BARTELS

MUNGUIA, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02021          THE BENTON LAW FIRM, PLLC

MUNGUIA, ROSE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08166          ONDERLAW, LLC

MUNIZ, ELICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15815          GIRARDI & KEESE

MUNIZ, MARIBEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13729          ONDERLAW, LLC

MUNIZ, MAYRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09854          ONDERLAW, LLC

MUNN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10437          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUNNS, MARIZELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11116          FAY LAW GROUP PLLC




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           Claimant Name                         State Filed                      Docket Number                                  Plaintiff Counsel

MUNNS, MARIZELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11116             GOLDENBERGLAW, PLLC

MUNOZ, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19993             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUNOZ, DELFINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450             DONALD L. SCHLAPPRIZZI P.C.

MUNOZ, DELFINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450             LENZE LAWYERS, PLC

MUNOZ, DELFINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MUNOZ, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08263             CELLINO & BARNES, P.C.

MUNOZ-ANELLO, CRISTINA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12221             FLEMING, NOLEN & JEZ, LLP

MUNRO, CLARINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09713             ASHCRAFT & GEREL

MUNRO, CLARINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09713             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUNRO, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09947             NACHAWATI LAW GROUP

MUNSELLE, TERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13041             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MUNSON, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04061             JOHNSON BECKER, PLLC

MUNSON, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14217             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUNSON, NICKOLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02481             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUNSTERMAN, DENISE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21021             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUNTER, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUNTER, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872              ONDERLAW, LLC

MUNTER, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872              PORTER & MALOUF, PA

MUNTER, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872              THE SMITH LAW FIRM, PLLC

MUNZ, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03452             ONDERLAW, LLC

MUNZER, XAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08834             LEVIN SIMES LLP

MURARIK, CATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19353             ONDERLAW, LLC

MURCHISON, CLAUDINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00882             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MURDOCK, ADELL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11182             NACHAWATI LAW GROUP

MURDOCK, ALISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13474             FLETCHER V. TRAMMELL

MURDOCK, RHONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09662             NACHAWATI LAW GROUP

MURDOCK, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15277             WAGSTAFF & CARTMELL, LLP

MUREUX, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20626             CELLINO & BARNES, P.C.

MURGA, KIMBERLY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002744-21           WEITZ & LUXENBERG

MURILLO, REBECCA              CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-38085-CU-PL-CTL   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURILLO, REBECCA              CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-38085-CU-PL-CTL   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MURILLO, REBECCA              CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-38085-CU-PL-CTL   THE SMITH LAW FIRM, PLLC

MURLINE NELSON                FEDERAL - MDL                                3:21-CV-18906             MOTLEY RICE, LLC

MURPHY, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12503             COHEN & MALAD, LLP



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MURPHY, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13246          THE MILLER FIRM, LLC

MURPHY, ANNMARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13285          JOHNSON LAW GROUP

MURPHY, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06420          ONDERLAW, LLC

MURPHY, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06819          ONDERLAW, LLC

MURPHY, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00139          ASHCRAFT & GEREL

MURPHY, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00139          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURPHY, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12150          PARKER WAICHMAN, LLP

MURPHY, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00002          ONDERLAW, LLC

MURPHY, DAWN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

MURPHY, DAWN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

MURPHY, DAWN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

MURPHY, DAWN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

MURPHY, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11785          MOTLEY RICE, LLC

MURPHY, EUGENIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10502          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURPHY, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18108          JOHNSON LAW GROUP

MURPHY, IDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11415          POTTS LAW FIRM

MURPHY, JACQUELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17680          NACHAWATI LAW GROUP

MURPHY, JAYMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07206          THE BENTON LAW FIRM, PLLC

MURPHY, JUDI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12341          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURPHY, KANDACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03139          ONDERLAW, LLC

MURPHY, KELLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18021          ASHCRAFT & GEREL

MURPHY, KELLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18021          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
MURPHY, KERRY AND MURPHY,        OH - COURT OF COMMON PLEASE - CUYAHOGA
                                                                              CV-21-953284           KELLEY & FERRARO, LLP
MICHAEL                          COUNTY
MURPHY, LINNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08788          ONDERLAW, LLC

MURPHY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10663          GOLOMB SPIRT GRUNFELD PC

MURPHY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04868          ONDERLAW, LLC

MURPHY, MEREDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15041          JOHNSON LAW GROUP

MURPHY, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08146          ONDERLAW, LLC

MURPHY, NELLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12380          DAVIS, BETHUNE & JONES, L.L.C.

MURPHY, PAULETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05442          ONDERLAW, LLC

MURPHY, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13857          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURPHY, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MURPHY, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MURPHY, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

MURPHY, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10972          ASHCRAFT & GEREL, LLP

MURPHY, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01498          BURNS CHAREST LLP

MURPHY, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01498          BURNS CHAREST LLP

MURPHY, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11439          NACHAWATI LAW GROUP

MURPHY, SHELLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10538          ONDERLAW, LLC

MURPHY, SONORA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MURPHY, SONORA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MURPHY, SONORA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MURPHY, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01294          THE SEGAL LAW FIRM

MURPHY, TARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01558          ONDERLAW, LLC

MURPHY, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10825          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURPHY, ZOELLEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12693          JOHNSON LAW GROUP

MURPHY-AMOS, TIFFANY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08260          CHAPPELL, SMITH & ARDEN, P.A.

MURPHY-CLEARY, PAMELA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18804          CELLINO & BARNES, P.C.

MURPHY-COONEY, COLLEEN        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19391          NACHAWATI LAW GROUP

MURPHY-MCCOY, CHARLENE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15128          HENINGER GARRISON DAVIS, LLC

MURRAY, BERDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08774          ONDERLAW, LLC

MURRAY, BESSIE BLAND          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13465          HAFELI STARAN & CHRIST , P.C.

MURRAY, BILLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08407          JOHNSON LAW GROUP

MURRAY, COLLETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19807          JOHNSON BECKER, PLLC

MURRAY, CORINNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12309          ASHCRAFT & GEREL

MURRAY, CORINNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12309          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURRAY, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15479          ONDERLAW, LLC

MURRAY, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00522          THE BENTON LAW FIRM, PLLC

MURRAY, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01484          ONDERLAW, LLC

MURRAY, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURRAY, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

MURRAY, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

MURRAY, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

MURRAY, DORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17691          NACHAWATI LAW GROUP

MURRAY, ELAINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

MURRAY, EVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09640          MORELLI LAW FIRM, PLLC

MURRAY, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08186          ONDERLAW, LLC




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MURRAY, HEATHER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13226          FLETCHER V. TRAMMELL

MURRAY, JAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13059          NAPOLI SHKOLNIK, PLLC

MURRAY, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09139          ONDERLAW, LLC

MURRAY, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00996          FLETCHER V. TRAMMELL

MURRAY, LELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01366          ONDERLAW, LLC

MURRAY, LESLIE                   CA - SUPERIOR COURT - MONTERREY COUNTY       19CV004711             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MURRAY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07405          ASHCRAFT & GEREL

MURRAY, LORI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08012          THE MILLER FIRM, LLC

MURRAY, LORRAINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000172-21        GOLOMB & HONIK, P.C.

MURRAY, LOUIS                    NY - SUPREME COURT - NYCAL                   190059/2018            MEIROWITZ & WASSERBERG, LLP

MURRAY, LOUIS J                  NY - SUPREME COURT - NYCAL                   190059/2018            MEIROWITZ & WASSERBERG, LLP

MURRAY, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05306          ONDERLAW, LLC

MURRAY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07445          ARNOLD & ITKIN LLP

MURRAY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10434          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURRAY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09108          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURRAY, MARYLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10826          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURRAY, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15656          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MURRAY, SHARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01392          ONDERLAW, LLC

MURRAY, SHARON                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002601-20        GOLOMB & HONIK, P.C.

MURRAY, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18309          ONDERLAW, LLC

MURRAY, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06318          FLETCHER V. TRAMMELL

MURRAY-AKINS, DONNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10620          ONDERLAW, LLC

MURRAY-BAUGH, LISA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13671          DRISCOLL FIRM, P.C.

MURRAY-DAVIES, LINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18111          WEITZ & LUXENBERG

MURRELL, GERIANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09677          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURRIEL, MATTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12867          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MURRY, FAYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13162          ONDERLAW, LLC

MURRY, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04357          WILLIAMS HART LAW FIRM

MURRY, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08581          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUSARRA, MICHELE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16187          CELLINO & BARNES, P.C.

MUSCHETTE, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01198          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MUSCI, LISA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001847-21        GOLOMB & HONIK, P.C.

MUSE, MEGAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21545          JOHNSON LAW GROUP

MUSE, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11016          PARKER WAICHMAN, LLP



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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

MUSETTI, MINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10641          ONDERLAW, LLC

MUSGRAVE, ADRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09736          ONDERLAW, LLC

MUSGRAVE, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10427          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUSGRAVE, GAYLE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV321873             BOUCHER LLP

MUSGRAVE, GAYLE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV321873             KIESEL LAW, LLP

MUSGROVE, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09264          ONDERLAW, LLC

MUSGROVE, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09264          ONDERLAW, LLC

MUSGROVE, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09264          ONDERLAW, LLC

MUSGROVE, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-06568          BOODELL & DOMANSKIS, LLC

MUSGROVE, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-06568          BURNS CHAREST LLP

MUSICK, MELINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07844          ASHCRAFT & GEREL

MUSICK, MELINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07844          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUSIN, SHARRON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08673          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MUSSELMAN, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05944          MURRAY LAW FIRM

MUSSER, VIRGINIA                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003368-20AS      WEITZ & LUXENBERG

MUSTARO, MARYANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05387          KLINE & SPECTER, P.C.

MUSTON, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00759          ONDERLAW, LLC

MUTSCHLER, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19213          ARNOLD & ITKIN LLP

MUTTA, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07419          HEYGOOD, ORR & PEARSON

MUTTS, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08996          MORELLI LAW FIRM, PLLC

MUZYTSCHENKO, MARCIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13716          ONDERLAW, LLC

MY GEISHA CLARKSON               FEDERAL - MDL                                3:21-CV-19644          JOHNSON BECKER, PLLC

MYCHAYLIW, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14963          NAPOLI SHKOLNIK, PLLC

MYER, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10722          ASHCRAFT & GEREL

MYEROW, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12509          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS, ADESIMBO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03790          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

MYERS, ANDREA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13392          DANIEL & ASSOCIATES, LLC

MYERS, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22082          ASHCRAFT & GEREL, LLP

MYERS, BILLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20612          ONDERLAW, LLC

MYERS, BONNIE J.                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02585-18AS       WEITZ & LUXENBERG

MYERS, BUFFIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09043          JOHNSON LAW GROUP

MYERS, CANDACE                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC632333               THE MILLER FIRM, LLC

MYERS, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09811          ONDERLAW, LLC

MYERS, CHARMAINE                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MYERS, CLAUDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00486          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS, COLLINS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14761          LENZE LAWYERS, PLC

MYERS, COLLINS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14761          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MYERS, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17841          ARNOLD & ITKIN LLP

MYERS, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00489          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS, ELAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06251          ONDERLAW, LLC

MYERS, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18285          ONDERLAW, LLC

MYERS, JALANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17697          NACHAWATI LAW GROUP

MYERS, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05567          ONDERLAW, LLC

MYERS, JARMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15305          ARNOLD & ITKIN LLP

MYERS, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09305          ONDERLAW, LLC

MYERS, JOLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12869          HEYGOOD, ORR & PEARSON

MYERS, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04421          WILLIAMS DECLARK TUSCHMAN CO, LPA

MYERS, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17446          JOHNSON LAW GROUP

MYERS, LOUANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01791          ONDERLAW, LLC

MYERS, MANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09979          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

MYERS, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

MYERS, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

MYERS, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12859          WILLIAMS HART LAW FIRM

MYERS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03972          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19472          ASHCRAFT & GEREL, LLP

MYERS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19472          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06786          MOTLEY RICE, LLC

MYERS, REVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19447          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12587          POGUST BRASLOW & MILLROOD, LLC

MYERS, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12587          SANDERS PHILLIPS GROSSMAN, LLC

MYERS, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00014          MURRAY LAW FIRM

MYERS, STELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09509          FLETCHER V. TRAMMELL

MYERS, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06842          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS, TAMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13110          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

MYERS, TERETHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18200          THE MILLER FIRM, LLC

MYERS, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02619          ONDERLAW, LLC




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

MYERS, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00863          ASHCRAFT & GEREL

MYERS, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00863          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00355          ASHCRAFT & GEREL

MYERS, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00355          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYERS-ANTROBUS, TERESA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11233          JOHNSON LAW GROUP

MYGRANT, LOU                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14911          WILLIAMS HART LAW FIRM

MYLES, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19218          NACHAWATI LAW GROUP

MYLES, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00357          ASHCRAFT & GEREL

MYLES, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00357          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYLES, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03346          ONDERLAW, LLC

MYLES, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11972          ASHCRAFT & GEREL, LLP

MYLES, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11972          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYLOVE SALTER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19141          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

MYRA BOWLES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18595          ONDERLAW, LLC

MYRICK, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06541          DRISCOLL FIRM, P.C.

MYRICKS, DAPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13605          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYRICKS, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02940          ONDERLAW, LLC

MYRNA GAFFNEY                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02720          ASHCRAFT & GEREL, LLP

MYRNA GAFFNEY                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

MYTON, DEBRA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002345-20        GOLOMB & HONIK, P.C.

NABORS, ELEANOR                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03992          ONDERLAW, LLC

NABORS, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17816          NACHAWATI LAW GROUP

NABZDYK, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01688          JOHNSON LAW GROUP

NACE, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17656          ASHCRAFT & GEREL

NACKERUD, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12374          ASHCRAFT & GEREL

NACKERUD, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12374          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NADA KRNJAIC                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18437          JOHNSON LAW GROUP

NADEAU, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10862          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NADEAU, GRAYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11595          THE MILLER FIRM, LLC

NADEAU, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17261          TORHOERMAN LAW LLC

NADEL, ESTHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09112          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NADIA BURNS                      FEDERAL - MDL                                3:21-CV-19094          MOTLEY RICE, LLC

NADYA, NIETO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16108          ONDERLAW, LLC




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

NADZIEJKO, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03547          DALIMONTE RUEB, LLP

NAELITZ, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12000          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAGEL, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09396          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

NAGEL, MAE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15144          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

NAGEL, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03278          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAGY, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19729          ARNOLD & ITKIN LLP

NAGY, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08529          THE MILLER FIRM, LLC

NAILLING, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15929          NACHAWATI LAW GROUP

NAIR, KEMLESH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03257          ONDERLAW, LLC

NAIR, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10649          ONDERLAW, LLC

NAIRN, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11723          BLIZZARD & NABERS, LLP

NAJAR, CAROLINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11547          NACHAWATI LAW GROUP

NAJERA-DUNBAR, PAMELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18683          NACHAWATI LAW GROUP

NAJWA KASH                        FEDERAL - MDL                                3:21-CV-15614          LENZE LAWYERS, PLC

NAJWA KASH                        FEDERAL - MDL                                3:21-CV-15614          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NALEPINSKI, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21592          GORI JULIAN & ASSOCIATES, P.C.

NALICK, RITA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003364-21        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

NALLE, ELEANOR                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001303-21        COHEN, PLACITELLA & ROTH

NALLEY, LAURIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19919          ARNOLD & ITKIN LLP

NALLS, CLARISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10471          ENVIRONMENTAL LITIGATION GROUP, PC

NALLS-PORTIS, TEMARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12149          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAMUGENYI, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02424          ONDERLAW, LLC

NAN ROBINSON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15829          LENZE LAWYERS, PLC

NAN ROBINSON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15829          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

NANAANSAH, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06054          TRAMMELL PC

NANCARROW, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00355          NACHAWATI LAW GROUP

NANCE, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13419          DRISCOLL FIRM, P.C.

NANCE, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03683          THE SEGAL LAW FIRM

NANCE, DORENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05305          ONDERLAW, LLC

NANCE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10347          ONDERLAW, LLC

NANCE, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10828          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NANCE, MELONIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02421          ONDERLAW, LLC

NANCE, MINNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

NANCE, MINNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC



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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

NANCE, MINNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NANCE, RHODA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00887          THE SEGAL LAW FIRM

NANCE, SHARON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

NANCE, SHARON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

NANCE, SHARON                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

NANCE, TIFFENY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15838          NACHAWATI LAW GROUP

NANCY CROWE                    FEDERAL - MDL                                3:21-CV-15617          LENZE LAWYERS, PLC

NANCY CROWE                    FEDERAL - MDL                                3:21-CV-15617          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NANCY KREJCI                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

NANCY LEBOUEF                  FEDERAL - MDL                                3:21-CV-15619          LENZE LAWYERS, PLC

NANCY LEBOUEF                  FEDERAL - MDL                                3:21-CV-15619          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NANCY MILLERJOAN REIS          IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

NANCY PETERSON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18754          MCSWEENEY/LANGEVIN, LLC

NANCY RADTKE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003310-21        WEITZ & LUXENBERG

NANCY ROBERTS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15831          LENZE LAWYERS, PLC

NANCY ROBERTS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15831          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

NANCY STRATTON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15833          LENZE LAWYERS, PLC

NANCY STRATTON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15833          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

NANTISTA, FRANCES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10349          ONDERLAW, LLC

NANTZE, MONTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02707          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAOMI FAAPOULI                 FEDERAL - MDL                                3:21-CV-15622          LENZE LAWYERS, PLC

NAOMI FAAPOULI                 FEDERAL - MDL                                3:21-CV-15622          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NAPIER, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03800          ONDERLAW, LLC

NAPIER, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08126          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAPIER, JOANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11999          ONDERLAW, LLC

NAPIER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01604          LAW OFFICES OF PETER G ANGELOS, PC

NAPIER, REVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17263          NACHAWATI LAW GROUP

NAPIER, TERRILEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05051          ONDERLAW, LLC

NAPIERALA, LYNNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03021          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

NAPITUPULU, TAMBARIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14354          JOHNSON LAW GROUP

NAPOLEAN, TEBERIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17269          NACHAWATI LAW GROUP

NAPOLI, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16064          ASHCRAFT & GEREL, LLP

NAPOLI, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16064          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAPOLI, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18220          KNAPP & ROBERTS, P.C.



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

NAPOLITANO, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAPOLITANO, LORI                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2289-17          GOLOMB SPIRT GRUNFELD PC

NAPOLITANO, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          ONDERLAW, LLC

NAPOLITANO, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          PORTER & MALOUF, PA

NAPOLITANO, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00726          THE SMITH LAW FIRM, PLLC

NAPPIER, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10646          ONDERLAW, LLC

NAQUIN, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00492          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAQUIN, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NARAD, GYONGYIKE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08513          DAVIS, BETHUNE & JONES, L.L.C.

NARANJO, EVANGELY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01342          DRISCOLL FIRM, P.C.

NARANJO, KIMBERLY                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-006108-21          COHEN, PLACITELLA & ROTH

NARASIMHAN, SHEELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12621          JOHNSON LAW GROUP

NARCAVAGE, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10044          ONDERLAW, LLC

NARCOMEY, CARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01139          GORI JULIAN & ASSOCIATES, P.C.

NARD, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07916          PRIBANIC & PRIBANIC, LLC

NARON, CARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NARRAGON, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09572          ONDERLAW, LLC

NASATSKY, LOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11341          MOLL LAW GROUP

NASCO, PEI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17271          ONDERLAW, LLC

NASH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06192          JOHNSON LAW GROUP

NASH, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19576          ONDERLAW, LLC

NASH, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

NASH, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447          LENZE LAWYERS, PLC

NASH, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NASH, LANACE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17270          NACHAWATI LAW GROUP

NASH, SUZANNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NASH, SUZANNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

NASH, SUZANNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

NASH, SUZANNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

NASH, SUZANNE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

NASH, TERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10422          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NASHWINTER, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17408          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NASON, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06732          THE SIMON LAW FIRM, PC

NASSON, BESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12766          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC



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             Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

NASSOUR, DANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00951          MORELLI LAW FIRM, PLLC

NASTASI, MARISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10416          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NATALIA BURGESS                 FEDERAL - MDL                                3:21-CV-19667          JOHNSON BECKER, PLLC

NATALIE BAUMAN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003387-21        COHEN, PLACITELLA & ROTH

NATARAJAN, NALINI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15782          THE MILLER FIRM, LLC

NATARSHA LESLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18115          WEITZ & LUXENBERG

NATERA, ERICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13546          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

NATHAN, ARLETHEA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16339          NACHAWATI LAW GROUP

NATHAN, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01771          ONDERLAW, LLC

NATHAN, FRAIDA                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006101-21        LEVY KONIGSBERG LLP

NATHAN, FRAIDA                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006101-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

NATHAN, LYNN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08781          ONDERLAW, LLC

NATHAN, ROSHONE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00634          BURNS CHAREST LLP

NATHAN, ROSHONE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00634          BURNS CHAREST LLP

NATION, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14421          WILLIAMS HART LAW FIRM

NATIONAL COUNCIL NEGRO WOMEN    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14270          NAPOLI SHKOLNIK, PLLC

NATIONS, CARRIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15409          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

NATTER, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11508          ASHCRAFT & GEREL, LLP

NATTRESS, INGE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NATTRESS, INGE                  CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2017-00221569       ONDERLAW, LLC

NATTRESS, INGE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          ONDERLAW, LLC

NATTRESS, INGE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          PORTER & MALOUF, PA

NATTRESS, INGE                  CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2017-00221569       SALKOW LAW, APC

NATTRESS, INGE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          THE SMITH LAW FIRM, PLLC

NAUD, LEONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02728          ONDERLAW, LLC

NAUERT, CHIQUITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16444          ONDERLAW, LLC

NAUGHTON, RANEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01913          GORI JULIAN & ASSOCIATES, P.C.

NAUGLE, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15287          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

NAUSER, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03596          ONDERLAW, LLC

NAVA, AMEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12427          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

NAVARRETE, CECILIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08246          FLETCHER V. TRAMMELL

NAVARRETE, MARIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004015-20        GOLOMB & HONIK, P.C.

NAVARRO, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20722          ASHCRAFT & GEREL, LLP

NAVARRO, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02079          JOHNSON LAW GROUP



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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

NAVARRO, DAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02079          LEVIN SIMES ABRAMS LLP

NAVARRO, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13163          ONDERLAW, LLC

NAVARRO, MARIAM                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12899          GORI JULIAN & ASSOCIATES, P.C.

NAVARRO, MARINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

NAVARRO, MARINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC

NAVARRO, MARINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NAVARRO, RUFINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09737          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAVARRO, SENAIDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10310          ONDERLAW, LLC

NAVATTA, RACHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11131          ONDERLAW, LLC

NAVELLI, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22219          NACHAWATI LAW GROUP

NAVY, ROMOLICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06820          ONDERLAW, LLC

NAWROCKI, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09605          ONDERLAW, LLC

NAY, LANIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04670          ONDERLAW, LLC

NAY, PEGGY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01554          ONDERLAW, LLC

NAYSHLOS, ZHANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12391          CELLINO & BARNES, P.C.

NAZARKO, XHENSILA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07845          ASHCRAFT & GEREL

NAZARKO, XHENSILA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07845          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NAZAROVA, NATALIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20146          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

NAZIM, CELESTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01792          ASHCRAFT & GEREL

NAZIM, CELESTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NDZEIDZE, RAQUEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02703          SIMMONS HANLY CONROY

NEAL, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14726          LENZE LAWYERS, PLC

NEAL, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14726          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NEAL, ASHLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11168          NACHAWATI LAW GROUP

NEAL, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02149          ONDERLAW, LLC

NEAL, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14288          JASON J. JOY & ASSCIATES P.L.L.C.

NEAL, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10071          ONDERLAW, LLC

NEAL, CINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18644          NACHAWATI LAW GROUP

NEAL, GENESIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03416          ONDERLAW, LLC

NEAL, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10389          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEAL, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06206          FLETCHER V. TRAMMELL

NEAL, LOLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02037          ONDERLAW, LLC




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               Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

NEAL, LORNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17369             NACHAWATI LAW GROUP

NEAL, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19167             LENZE LAWYERS, PLC

NEAL, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17185             MORELLI LAW FIRM, PLLC

NEAL, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10393             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEAL, RHONDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02797             DALIMONTE RUEB, LLP

NEAL, ROBIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05620             ONDERLAW, LLC

NEAL, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11214             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEAL, SHONIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17358             NACHAWATI LAW GROUP

NEAL, TAMARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07252             ONDERLAW, LLC

NEAL, VICKIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06926             JOHNSON LAW GROUP

NEAL, YVETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18367             ONDERLAW, LLC

NEALEY, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13525             THE MILLER FIRM, LLC

NEALING, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13560             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEALON, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09878             SANDERS VIENER GROSSMAN, LLP

NEAL-SMITH, SHONA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002585-20           COHEN, PLACITELLA & ROTH

NEARS, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19721             CELLINO & BARNES, P.C.

NEBEKER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15486             ASHCRAFT & GEREL, LLP

NEBEKER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15486             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEBORSKY, SANDRA                  CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-38194-CU-PL-CTL   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

NED, DELONDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13405             NACHAWATI LAW GROUP

NEDD, JEAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18436             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEEDHAM, DANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10512             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEEDHAM, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13211             ONDERLAW, LLC

NEEDHAM, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05338             ONDERLAW, LLC

NEEDS, MARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15982             WATERS & KRAUS, LLP

NEEL, DORIS JOHNSON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11577             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEEL, SAMINATHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01410             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

NEELAND, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10922             ASHCRAFT & GEREL, LLP

NEELD, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14862             LENZE LAWYERS, PLC

NEELD, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14862             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NEELEY, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04589             ONDERLAW, LLC

NEELEY, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17618             ONDERLAW, LLC

NEEME, JERILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12168             THE MILLER FIRM, LLC

NEENHOLD, BARBARA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000196-18           COHEN, PLACITELLA & ROTH



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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

NEESE, ANDREA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08124          ONDERLAW, LLC

NEESE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05031          THE CARLSON LAW FIRM

NEFF, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13607          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEFF, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08371          ONDERLAW, LLC

NEFF, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01799          THE BARNES FIRM, P.C.

NEFF, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17388          NACHAWATI LAW GROUP

NEGRETE, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20060          ARNOLD & ITKIN LLP

NEGRON, GENEVIEVE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17393          NACHAWATI LAW GROUP

NEGRON, JOHANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13717          ONDERLAW, LLC

NEIBERT, VALERIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17402          NACHAWATI LAW GROUP

NEICE, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03398          MORELLI LAW FIRM, PLLC

NEICE, SAMANTHA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002910-21        WEITZ & LUXENBERG

NEIDIG, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07399          ONDERLAW, LLC

NEIDIG, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20324          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEIDLINGER, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14034          ONDERLAW, LLC

NEIGHBORS, BETSY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18366          THE MILLER FIRM, LLC

NEILL, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03325          ASHCRAFT & GEREL

NEILL, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEILL, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEILSON, STARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09069          ONDERLAW, LLC

NEILSON, VICTORIA                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC666982               ANDREW THORNTON HIGGINS RAZMARA LLP

NEISES, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11008          ONDERLAW, LLC

NEISS, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12769          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEJMAN, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09366          GORI JULIAN & ASSOCIATES, P.C.

NELIGH, SHYLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-08521             DAVIS, BETHUNE & JONES, L.L.C.

NELIGH, SHYLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08521          DAVIS, BETHUNE & JONES, L.L.C.

NELL BURKHART                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18982          WEITZ & LUXENBERG

NELLEN, ENOLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10923          ASHCRAFT & GEREL, LLP

NELSON, ADRIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07882          ONDERLAW, LLC

NELSON, AFTON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10535          HEYGOOD, ORR & PEARSON

NELSON, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09584          MUELLER LAW PLLC

NELSON, AMELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00476          THE SEGAL LAW FIRM

NELSON, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17512          NACHAWATI LAW GROUP

NELSON, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10521          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

NELSON, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14728          ONDERLAW, LLC

NELSON, CHARLOTTE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002346-20        GOLOMB & HONIK, P.C.

NELSON, CHRISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11266          PARKER WAICHMAN LLP

NELSON, DEBORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05965          ONDERLAW, LLC

NELSON, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14822          LENZE LAWYERS, PLC

NELSON, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14822          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NELSON, DELIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NELSON, DELIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

NELSON, DELIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

NELSON, DELIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

NELSON, DELIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

NELSON, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06300          ARNOLD & ITKIN LLP

NELSON, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15166          ASHCRAFT & GEREL

NELSON, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07619          ASHCRAFT & GEREL, LLP

NELSON, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15166          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NELSON, DONNA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ASHCRAFT & GEREL

NELSON, DONNA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NELSON, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10745          NACHAWATI LAW GROUP

NELSON, DONNA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           ONDERLAW, LLC

NELSON, DONNA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           PORTER & MALOUF, PA

NELSON, DONNA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811           THE SMITH LAW FIRM, PLLC

NELSON, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00526          THE BENTON LAW FIRM, PLLC

NELSON, ERIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17416          NACHAWATI LAW GROUP

NELSON, EVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08416          NACHAWATI LAW GROUP

NELSON, HANNAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14886          LENZE LAWYERS, PLC

NELSON, HANNAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14886          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NELSON, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13756          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NELSON, JO                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13091          FLETCHER V. TRAMMELL

NELSON, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06471          STANLEY LAW GROUP

NELSON, JOSETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10831          NACHAWATI LAW GROUP

NELSON, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          DONALD L. SCHLAPPRIZZI P.C.

NELSON, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14950          LENZE KAMERRER MOSS, PLC

NELSON, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          LENZE LAWYERS, PLC




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               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

NELSON, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14950          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NELSON, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13450          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NELSON, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20331          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NELSON, LAUREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03918          ONDERLAW, LLC

NELSON, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02264          JOHNSON BECKER, PLLC

NELSON, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08730          ONDERLAW, LLC

NELSON, LUCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19765          NACHAWATI LAW GROUP

NELSON, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13561          ONDERLAW, LLC

NELSON, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17533          NACHAWATI LAW GROUP

NELSON, MARTINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01275          JOHNSON LAW GROUP

NELSON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

NELSON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10790          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NELSON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NELSON, MECO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05460          ONDERLAW, LLC

NELSON, MELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12041          ARNOLD & ITKIN LLP

NELSON, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02212          ONDERLAW, LLC

NELSON, MURLINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18906          MOTLEY RICE, LLC

NELSON, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13193          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

NELSON, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14379          JOHNSON LAW GROUP

NELSON, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21012          CELLINO & BARNES, P.C.

NELSON, ROSEMARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07473          ONDERLAW, LLC

NELSON, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13581          LINVILLE LAW GROUP

NELSON, SADIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10761          THE MILLER FIRM, LLC

NELSON, SELENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19551          ASHCRAFT & GEREL, LLP

NELSON, SELENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19551          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NELSON, SHERRYE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14187          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

NELSON, STACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10526          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NELSON, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16081          SUMMERS & JOHNSON, P.C.

NELSON, VANESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11025          NACHAWATI LAW GROUP

NELSON, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07703          BURNS CHAREST LLP

NELSON, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07703          BURNS CHAREST LLP

NELSON, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09274          SANDERS PHILLIPS GROSSMAN, LLC

NELSON-EDWARDS, DENISE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11906          MORELLI LAW FIRM, PLLC

NELSON-HINDS, LORI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10816          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

NELSON-MAYO, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04133          ONDERLAW, LLC

NEMATI, PAULINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06415          ONDERLAW, LLC

NEMECEK, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12982          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEMEROFSKY, MARYLOU               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07143          ONDERLAW, LLC

NEMITZ, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08818          ONDERLAW, LLC

NESBETH, JORDANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10424          GOLOMB SPIRT GRUNFELD PC

NESBIT, SANDI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00761          ONDERLAW, LLC

NESBITT, CORALITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12267          MORELLI LAW FIRM, PLLC

NESBITT, ROXANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11508          ONDERLAW, LLC

NESBITT, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13772          ONDERLAW, LLC

NESKO, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13643          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NESS, JAMIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05111          ONDERLAW, LLC

NESS, JOLEEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13205          REICH & BINSTOCK, LLP

NESSET, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04716          ONDERLAW, LLC

NESSETH, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02915          ARNOLD & ITKIN LLP

NETHERLAND, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

NETHERLAND, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15432          LENZE LAWYERS, PLC

NETHERLAND, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

NETHERLAND, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15432          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NETHERLAND, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NETTERVILLE, DEBBIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08022          ASHCRAFT & GEREL

NETTLES, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14739          LENZE LAWYERS, PLC

NETTLES, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14739          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NETTLES, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00103          CHAPPELL, SMITH & ARDEN, P.A.

NETTLES, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04967          ONDERLAW, LLC

NETTLES, TERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01442          ONDERLAW, LLC

NETTLETON, JENNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17534          NACHAWATI LAW GROUP

NEUBAUM, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21559          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEUCKLAVOK, PAMELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16920          ONDERLAW, LLC

NEUENSWANDER, KELLY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002593-20        GOLOMB & HONIK, P.C.

NEUFELD, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08193          ONDERLAW, LLC

NEUMAN, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08948          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEUMAN, MILAGROS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08452          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

NEUMAN, SHARRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

NEUMAN, SHARRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

NEUMAN, SHARRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NEUMANN, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09869          ONDERLAW, LLC

NEUMANN, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09379          ONDERLAW, LLC

NEUMANN, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18075          CELLINO & BARNES, P.C.

NEUMANN, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02396          JOHNSON LAW GROUP

NEUMAYER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02073          ONDERLAW, LLC

NEVAREZ, IRMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17585          ONDERLAW, LLC

NEVAREZ, STACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06431          HOVDE, DASSOW, & DEETS, LLC

NEVAREZ, STACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06431          THE MILLER FIRM, LLC

NEVARRAH KING                    FEDERAL - MDL                                3:21-CV-19603          ONDERLAW, LLC

NEVEL, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13037          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEVERETTE, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09797          BARON & BUDD, P.C.

NEVINS, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06289          SULLO & SULLO, LLP

NEVINS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16643          CELLINO & BARNES, P.C.

NEW, SHERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09034          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWAYNO, DIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00474          THE SEGAL LAW FIRM

NEWBERN, MAE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20338          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                 CA - SUPERIOR COURT - SAN BERNARDINO
NEWBERRY, BARBARA                                                             CIVDS1725849           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC
                                 COUNTY
NEWBERRY, FLORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12845          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWBRAUGH, MURINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002180-20        GOLOMB & HONIK, P.C.

NEWBURN, LENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWBURN, LENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

NEWBURN, LENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

NEWBURN, LENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

NEWBURN, PEARL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04924          FLETCHER V. TRAMMELL

NEWBURY, ANDREA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08804          ONDERLAW, LLC

NEWBURY, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09697          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWBY, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10664          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWCOMB, KIRSTEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12391          ONDERLAW, LLC

NEWCOMB, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11930          NACHAWATI LAW GROUP

NEWCOMB, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11220          THE CARLSON LAW FIRM

NEWCOME, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09953          GORI JULIAN & ASSOCIATES, P.C.



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

NEWELL, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04884          ONDERLAW, LLC

NEWELL, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07941          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWELL, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10529          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWKIRK, GLENNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWKIRK, GLENNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

NEWKIRK, GLENNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

NEWKIRK, GLENNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

NEWKIRK, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11248          DALIMONTE RUEB, LLP

NEWKIRK, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02177          JOHNSON LAW GROUP

NEWKIRK, SONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09722          NACHAWATI LAW GROUP

NEWLIN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13347          JOHNSON LAW GROUP

NEWLIN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14717          LENZE LAWYERS, PLC

NEWLIN, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14717          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NEWLIN, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00954          MORELLI LAW FIRM, PLLC

NEWLUN, DENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWMAN, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06614          FLETCHER V. TRAMMELL

NEWMAN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15716          NACHAWATI LAW GROUP

NEWMAN, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11381          NACHAWATI LAW GROUP

NEWMAN, IRINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01210          MORELLI LAW FIRM, PLLC

NEWMAN, JILL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13004          SHAW COWART, LLP

NEWMAN, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03007          ONDERLAW, LLC

NEWMAN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12934          JOHNSON LAW GROUP

NEWMAN, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06406          FLETCHER V. TRAMMELL

NEWMAN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20712          ONDERLAW, LLC

NEWMAN, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17227          ONDERLAW, LLC

NEWMAN, PATSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08913          ONDERLAW, LLC

NEWMAN, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21370          DALIMONTE RUEB, LLP

NEWMAN, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02803          ONDERLAW, LLC

NEWMAN, YNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12675          MORRIS BART & ASSOCIATES

NEWMAN-OVERTON, SHERYL           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08218          THE DUGAN LAW FIRM, APLC

NEWSOM, HATTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17535          NACHAWATI LAW GROUP

NEWSOME, AFTON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16188          ONDERLAW, LLC

NEWSOME, ETHELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17206          THE MILLER FIRM, LLC




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             Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

NEWSOME, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09908          NACHAWATI LAW GROUP

NEWSOME, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12273          THE DIAZ LAW FIRM, PLLC

NEWSOME, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17146          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

NEWSOME, VELMA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000982-18        SANDERS VIENER GROSSMAN, LLP

NEWTON, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12375          ASHCRAFT & GEREL

NEWTON, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12375          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWTON, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07409          DUGAN LAW FIRM, PLC

NEWTON, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12748          ROSS FELLER CASEY, LLP

NEWTON, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10375          JOHNSON LAW GROUP

NEWTON, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04935          ASHCRAFT & GEREL

NEWTON, DEBORAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-525-16           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NEWTON, DEBORAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-525-16           PORTER & MALOUF, PA

NEWTON, DEBORAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-525-16           SEEGER WEISS LLP

NEWTON, DEBORAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-525-16           THE SMITH LAW FIRM, PLLC

NEWTON, JERRY B. AND NEWTON, PATSY TX - DISTRICT COURT - DALLAS COUNTY          DC-19-09317            DEAN OMAR BRANHAM, LLP

NEWTON, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02878          JASON J. JOY & ASSCIATES P.L.L.C.

NEWTON, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17536          NACHAWATI LAW GROUP

NEWTON, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11004          NACHAWATI LAW GROUP

NEWTON, STACEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17718          FLETCHER V. TRAMMELL

NEWTON, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08422          CHILDERS, SCHLUETER & SMITH, LLC

NEWTON, TIARXA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04090          ONDERLAW, LLC

NEY, MARY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04572          ROSS FELLER CASEY, LLP

NEZ, CHARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19995          ONDERLAW, LLC

NG, BRENDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18348          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

NG, SHERRY                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001060-21        GOLOMB & HONIK, P.C.

NGUYEN, ANNIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00324119              FELDMAN & PINTO

NGUYEN, HIEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14897          LENZE LAWYERS, PLC

NGUYEN, HIEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14897          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NGUYEN, LYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15969          NACHAWATI LAW GROUP

NGUYEN, NGAN                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC697829               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

NGUYEN, THI BE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12045          ARNOLD & ITKIN LLP

NGUYEN, THU                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05268          ONDERLAW, LLC

NGUYEN, TUYET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03948          THE SEGAL LAW FIRM

NGUYEN, VAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16492          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



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            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

NIBA, FLORENCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11035          THE SIMON LAW FIRM, PC

NIBLOCK, STELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14391          BISNAR AND CHASE

NICASTRO, DOREEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10074          GORI JULIAN & ASSOCIATES, P.C.

NICASTRO, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17915          ROSS FELLER CASEY, LLP

NICE, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17558          NACHAWATI LAW GROUP

NICELY, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13010          GORI JULIAN & ASSOCIATES, P.C.

NICHOL, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11551          NACHAWATI LAW GROUP

NICHOLAS, BERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09851          JOHNSON LAW GROUP

NICHOLAS, DAWN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20203          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLAS, DELOIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20141          ARNOLD & ITKIN LLP

NICHOLAS, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06631          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLAS, JENNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02286          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLAS, LAURI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06433          WILLIAMS HART LAW FIRM

NICHOLAS, LEANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18712          MOTLEY RICE, LLC

NICHOLAS, ROSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05158          ONDERLAW, LLC

NICHOLE WILSON                 FEDERAL - MDL                                3:21-CV-10833          ONDERLAW, LLC

NICHOLLS, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06308          ONDERLAW, LLC

NICHOLS, ADELE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02375          HEYGOOD, ORR & PEARSON

NICHOLS, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10534          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLS, BERNICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05008          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLS, BRIDGETT              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03957          ONDERLAW, LLC

NICHOLS, CHERI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10544          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLS, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11974          ASHCRAFT & GEREL, LLP

NICHOLS, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11974          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLS, FAITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLS, FAITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          ONDERLAW, LLC

NICHOLS, FAITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          PORTER & MALOUF, PA

NICHOLS, FAITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00796          THE SMITH LAW FIRM, PLLC

NICHOLS, HENRIETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09460          NAPOLI SHKOLNIK, PLLC

NICHOLS, LASONIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20447          DRISCOLL FIRM, P.C.

NICHOLS, LOUELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17581          NACHAWATI LAW GROUP

NICHOLS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08375          DALIMONTE RUEB, LLP

NICHOLS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11260          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC




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            Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

NICHOLS, PEARLINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13434          THE DIAZ LAW FIRM, PLLC

NICHOLS, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08601          MURRAY LAW FIRM

NICHOLS, SANDRA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

NICHOLS, SANDRA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

NICHOLS, SANDRA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

NICHOLS, SHNISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11591          SALTZ MONGELUZZI & BENDESKY PC

NICHOLS, SHONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17567          NACHAWATI LAW GROUP

NICHOLS, TONETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07014          ONDERLAW, LLC

NICHOLS, TRISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13826          THE MICHAEL BRADY LYNCH FIRM

NICHOLS, TRISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13826          THE MICHAEL BRADY LYNCH FIRM

NICHOLS, VERNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00956          MORELLI LAW FIRM, PLLC

NICHOLS, VIRGIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17574          NACHAWATI LAW GROUP

NICHOLSON, ANGEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21137          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLSON, CAREY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18387          ONDERLAW, LLC

NICHOLSON, CYNTHIA              CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV331856             THE MILLER FIRM, LLC

NICHOLSON, CYRIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20747          FLETCHER V. TRAMMELL

NICHOLSON, DIANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16365          ONDERLAW, LLC

NICHOLSON, HAZEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09824          MORRIS BART & ASSOCIATES

NICHOLSON, HELEN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002129-20        GOLOMB & HONIK, P.C.

NICHOLSON, JOYCIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11489          THE DILORENZO LAW FIRM, LLC

NICHOLSON, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03356          THE BENTON LAW FIRM, PLLC

NICHOLSON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00602          THE SEGAL LAW FIRM

NICHOLSON, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20691          ONDERLAW, LLC
NICHOLSON, NATHAN ESTATE OF H
                                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004402-21        WEITZ & LUXENBERG
NICHOLSON
NICHOLSON, RITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18311          ONDERLAW, LLC

NICHOLSON, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15449          ANDRUS WAGSTAFF, P.C.

NICHOLSON, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09704          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICHOLSON, VANESSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18170          GORI JULIAN & ASSOCIATES, P.C.

NICKALOFF, LANA                 CA - SUPERIOR COURT - ALAMEDA COUNTY         HG17878348             BOUCHER LLP

NICKALOFF, LANA                 CA - SUPERIOR COURT - ALAMEDA COUNTY         HG17878348             KIESEL LAW, LLP

NICKEL, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14013          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICKELL, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00052          GOZA & HONNOLD, LLC

NICKELLS, EMILY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05461          ONDERLAW, LLC




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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

NICKELS, KRISTAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00939          ONDERLAW, LLC

NICKERSON, BEA                 CA - SUPERIOR COURT - ORANGE COUNTY          00879323CXC            KIESEL LAW, LLP

NICKLE, TRACEY LEE-ANN         BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230668         PRESZLER LAW FIRM LLP

NICKLES, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03997          ONDERLAW, LLC

NICKSON, ALETHEA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22000          ONDERLAW, LLC

NICODEM, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11917          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICOL, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13124          JOHNSON LAW GROUP

NICOL, SHERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICOLAN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10820          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NICOLARD, DEANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15120          JOHNSON LAW GROUP

NICOLAY, MARY                  IL - CIRCUIT COURT - COOK COUNTY             2021L007382            CORBOY & DEMETRIO, P.C.

NICOLE BROWN                   FEDERAL - MDL                                3:21-CV-19873          ONDERLAW, LLC

NICOLE LOWERY                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

NICOLETTE, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00085          POTTS LAW FIRM

NICOLL, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04720          THE MILLER FIRM, LLC

NICOSIA, JUDITH                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002161-18        GOLOMB & HONIK, P.C.

NICOTRA, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09412          ONDERLAW, LLC

NIDAY, LAUREL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17588          ONDERLAW, LLC

NIEBERGER, RAE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19435          ARNOLD & ITKIN LLP

NIEBUHR, STACEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06691          ONDERLAW, LLC

NIEDBALSKI, MARGUERITE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18510          JOHNSON LAW GROUP

NIEDERBERGER, CRYSTAL          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06966          ARNOLD & ITKIN LLP

NIEDERBERGER, CRYSTAL          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02215          FLETCHER V. TRAMMELL

NIEDZWIECKI, CHERYL            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-664-17           ROSS FELLER CASEY, LLP

NIEHAUS, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17587          NACHAWATI LAW GROUP

NIEHUAS, DANA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

NIEHUAS, DANA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

NIEHUAS, DANA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

NIELSEN, ADRIENNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12534          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NIELSEN, AMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05403          ONDERLAW, LLC

NIELSEN, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NIELSEN, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

NIELSEN, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC




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             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

NIELSEN, CYNTHIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

NIELSEN, CYNTHIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC

NIELSEN, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04590          ONDERLAW, LLC

NIELSEN, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

NIELSEN, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14932          LENZE LAWYERS, PLC

NIELSEN, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

NIELSEN, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14932          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NIELSEN, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NIELSEN, KARIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05270          ONDERLAW, LLC

NIELSEN, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09433          BURNS CHAREST LLP

NIELSEN, REBECCA                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

NIELSON, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00282          COHEN & MALAD, LLP

NIELSON, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11783          MOTLEY RICE, LLC

NIESEN, MARGIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03271          ASHCRAFT & GEREL

NIESEN, MARGIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03271          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NIESEN, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09424          DALIMONTE RUEB, LLP

NIETO, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14169          JOHNSON LAW GROUP

NIETO, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13016          THE MILLER FIRM, LLC

NIETO, ROSEMARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16028          JOHNSON LAW GROUP

NIETO, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03118          ONDERLAW, LLC

NIEVES, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06650          ONDERLAW, LLC

NIEVES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02408          HOVDE, DASSOW, & DEETS, LLC

NIEVES, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02408          THE MILLER FIRM, LLC

NIFOROS, TONYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06272          ONDERLAW, LLC

NIKEL, VIVIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08944          DALIMONTE RUEB, LLP

NIKI COSBY                      FEDERAL - MDL                                3:21-CV-19616          BISNAR AND CHASE

NIKIESHA GIBSON-MEADOWS         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003284-21        WEITZ & LUXENBERG

NIKKI WRIGHT                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18600          ONDERLAW, LLC

NIKOGHOSYAN, ZARUHI             CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC723622               GIRARDI & KEESE

NIKOLAUS, DEANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09628          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

NIKOUI, NEDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11046          NACHAWATI LAW GROUP

NILAN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07563          THE DUGAN LAW FIRM, APLC

NILGES, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09051          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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                Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

NIMITZ, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17876          ASHCRAFT & GEREL, LLP

NIMITZ, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17876          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NIMORI, JILL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12806          THE BENTON LAW FIRM, PLLC

NINA MASTERSON                     FEDERAL - MDL                                3:21-CV-15623          LENZE LAWYERS, PLC

NINA MASTERSON                     FEDERAL - MDL                                3:21-CV-15623          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NINI, BARBARA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002261-19        SANDERS PHILLIPS GROSSMAN, LLC

NINI, LETICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01014          NAPOLI SHKOLNIK, PLLC

NIPPERT, LAURIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12306          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NIRO, RITA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09101          WILLIAMS HART LAW FIRM

NISAR, DARLINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15407          HILLIARD MARTINEZ GONZALES, LLP

NISHA, AMINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12938          ONDERLAW, LLC

NISSEN, BELMAR                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001843-21        GOLOMB & HONIK, P.C.

NISSEN, LYDIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04104          ONDERLAW, LLC

NISWONGER, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04801          JOHNSON LAW GROUP

NISWONGER, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13720          ONDERLAW, LLC

NIVENS, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00382          ASHCRAFT & GEREL

NIVENS, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00382          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NIVNSKI, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15133          ASHCRAFT & GEREL

NIVNSKI, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15133          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NIX, ELLEN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14863          LENZE LAWYERS, PLC

NIX, ELLEN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14863          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NIX, GLORIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03385          ONDERLAW, LLC

NIX, JOYCE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04603          ONDERLAW, LLC

NIX, KIMBERLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11642          NACHAWATI LAW GROUP

NIX, VICTORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06627          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NIXON, AMBER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16190          ONDERLAW, LLC

NIXON, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03073          ONDERLAW, LLC

NIXON, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17104          DIAZ LAW FIRM, PLLC

NIXON, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03363          ONDERLAW, LLC

NIXON, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05681          ONDERLAW, LLC

NIXON, GWEN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11821          ARNOLD & ITKIN LLP

NIXON, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13245          NACHAWATI LAW GROUP

NIXON, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13493          MUELLER LAW PLLC

NIXON, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11745          THE MILLER FIRM, LLC



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

NIXON, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00100          CHAPPELL, SMITH & ARDEN, P.A.

NIXON, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21658          ONDERLAW, LLC

NIXON, SHELBY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07992          THE PENTON LAW FIRM

NIXON, URSULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09514          ONDERLAW, LLC

NIXON, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21035          TORHOERMAN LAW LLC

NIYA TAYLOR                      FEDERAL - MDL                                3:21-CV-19525          ONDERLAW, LLC

NIZNIK, LILYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21639          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOAH, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20029          ARNOLD & ITKIN LLP

NOAKER, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15919          NACHAWATI LAW GROUP

NOAKER, HALIMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19460          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

NOBLE, ALEASE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06282          ONDERLAW, LLC

NOBLE, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12528          THE MILLER FIRM, LLC

NOBLE, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09444          ONDERLAW, LLC

NOBLE, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17223          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

NOBLE, JOANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15545          SALTZ MONGELUZZI & BENDESKY PC

NOBLE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03692          JOHNSON LAW GROUP

NOBLE, TANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15167          ASHCRAFT & GEREL

NOBLE, TANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15167          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOBLE, TRACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05331          JOHNSON BECKER, PLLC

NOBLES, ALLYSON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16222          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOBLES, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00861          ASHCRAFT & GEREL

NOBLES, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00861          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOBLES, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17396          NACHAWATI LAW GROUP

NOBLES, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09860          SULLO & SULLO, LLP

NOBLITT, JEWEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08631          ONDERLAW, LLC

NOE, BILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14538          FLETCHER V. TRAMMELL

NOE, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12265          MORELLI LAW FIRM, PLLC

NOE, VIOLET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06925          ONDERLAW, LLC

NOEL, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18562          DRISCOLL FIRM, P.C.

NOEL, EVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05920          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOEL, SALLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01596          ONDERLAW, LLC

NOGA, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10257          CRAIG SWAPP & ASSOCIATES

NOGUEIRA, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05181          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC




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             Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

NOLA GEER                       FEDERAL - MDL                                3:21-CV-15626          LENZE LAWYERS, PLC

NOLA GEER                       FEDERAL - MDL                                3:21-CV-15626          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NOLAN, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06037          WATERS & KRAUS, LLP

NOLAN, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08296          NACHAWATI LAW GROUP

NOLAN, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02513          WILLIAMS HART LAW FIRM

NOLAN, MILDRED                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05035          MUELLER LAW PLLC

NOLAN, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05738          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOLAN, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15350          MOTLEY RICE, LLC

NOLE, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05851          CELLINO & BARNES, P.C.

NOLEN, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11975          ASHCRAFT & GEREL, LLP

NOLEN, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11975          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOLEN, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15398          ONDERLAW, LLC

NOLES, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06198          ONDERLAW, LLC

NOLL, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09779          NACHAWATI LAW GROUP

NOLTING, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13697          ASHCRAFT & GEREL, LLP

NONNWEILER, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13077          THE MILLER FIRM, LLC

NOON, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01725          ASHCRAFT & GEREL

NOON, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOONAN, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07634          MORELLI LAW FIRM, PLLC

NOONAN, JULIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15168          ASHCRAFT & GEREL

NOONAN, JULIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15168          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOORDA, GABRIELA                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC690361               JAMES MORRIS LAW FIRM PC

NOOTE, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06713          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NORCROSS, MELISSA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000861-18        GOLOMB & HONIK, P.C.

NORD, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21220          ONDERLAW, LLC

NORDICK, TRUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

NORDICK, TRUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

NORDICK, TRUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NORDLUND, DOVIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04754          BURNS CHAREST LLP

NORDLUND, DOVIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04754          BURNS CHAREST LLP

NORDLUND, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14524          FLETCHER V. TRAMMELL

NORDSTORM, GISELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08040          ONDERLAW, LLC

NOREEN HACHEY                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

NORENBERG, COLETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10674          KLINE & SPECTER, P.C.



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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

NORHEIM, JULIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NORHEIM, JULIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

NORHEIM, JULIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

NORHEIM, JULIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

NORHEIM, JULIE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

NORICK, LYDIA JANE             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01815-19AS       WEITZ & LUXENBERG

NORINSKY, RHONA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003031-20        GOLOMB & HONIK, P.C.

NORMA BYRD                     FEDERAL - MDL                                3:21-CV-19576          ONDERLAW, LLC

NORMA DUKES                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02715          ASHCRAFT & GEREL, LLP

NORMA DUKES                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02715          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NORMA JONES                    FEDERAL - MDL                                3:21-CV-15630          LENZE LAWYERS, PLC

NORMA JONES                    FEDERAL - MDL                                3:21-CV-15630          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NORMA STROH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15865          LENZE LAWYERS, PLC

NORMA STROH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15865          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

NORMAN, AUBREY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07955          ONDERLAW, LLC

NORMAN, BOBBIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003099-21        WEITZ & LUXENBERG

NORMAN, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07899          ONDERLAW, LLC

NORMAN, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10888          NACHAWATI LAW GROUP

NORMAN, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11062          THE SIMON LAW FIRM, PC

NORMAN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19655          NACHAWATI LAW GROUP

NORMAN, OLLIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-296-16           SEEGER WEISS LLP

NORMAN, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12767          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NORMAN, TAMORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17513          NACHAWATI LAW GROUP

NORMANDEAU, OPAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10971          GORI JULIAN & ASSOCIATES, P.C.

NORMANDIN, CAROLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08346          ONDERLAW, LLC

NORRED, SHERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15928          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

NORRIS, AMANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NORRIS, AMANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

NORRIS, AMANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

NORRIS, AMANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

NORRIS, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10553          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NORRIS, DIANE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-729-16           GOLOMB SPIRT GRUNFELD PC

NORRIS, DORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08059          ONDERLAW, LLC




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

NORRIS, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07210          THE BENTON LAW FIRM, PLLC

NORRIS, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15457          ONDERLAW, LLC

NORRIS, KANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11932          PARKER WAICHMAN, LLP

NORRIS, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05209          ONDERLAW, LLC

NORRIS, KRISTIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15708          WATERS & KRAUS, LLP

NORRIS, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08854          EISENBERG, ROTHWEILER, WINKLER

NORRIS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13908          ONDERLAW, LLC

NORRIS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01171          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

NORRIS, REDITH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

NORRIS, REDITH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

NORRIS, REDITH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

NORRIS, REDITH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

NORRIS, SARAH                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002654-21        WEITZ & LUXENBERG

NORRIS, SHELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06475          BURNS CHAREST LLP

NORRIS, TANSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09920          ONDERLAW, LLC

NORRIS, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14324          THE DUGAN LAW FIRM

NORRIS-MARTIN, RITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV18149           ONDERLAW, LLC

NORTH, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11267          NACHAWATI LAW GROUP

NORTH, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07295          ONDERLAW, LLC

NORTHCOTT-PARKS, TERESA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19808          NACHAWATI LAW GROUP

NORTHROP, NICOLETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18439          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NORTHROP, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08153          ONDERLAW, LLC

NORTHUP-DALTON, SHARON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13551          LENZE LAWYERS, PLC

NORTON, CATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05395          JOHNSON BECKER, PLLC

NORTON, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20066          NACHAWATI LAW GROUP

NORTON, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02310          CELLINO & BARNES, P.C.

NORTON, GLENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14879          LENZE LAWYERS, PLC

NORTON, GLENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14879          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NORTON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02721          THE MILLER FIRM, LLC

NORTON, MOLLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20345          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NORTON, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04300          ROSS FELLER CASEY, LLP

NORTON, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09304          MORRIS BART & ASSOCIATES

NORTON, TRACIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02759          THE MILLER FIRM, LLC

NORWICH, STEFANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03614          ONDERLAW, LLC



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            Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

NORWOOD, DELORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01143          ARNOLD & ITKIN LLP

NORWOOD, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18518          ONDERLAW, LLC

NORWOOD, GLADYS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08183          ONDERLAW, LLC

NORWOOD, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08385          THE SEGAL LAW FIRM

NORWOOD, MEMORY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05849          ASHCRAFT & GEREL

NORWOOD, MEMORY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05849          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOSIK, LARISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08108          JASON J. JOY & ASSCIATES P.L.L.C.

NOTTERMANN, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17883          ASHCRAFT & GEREL, LLP

NOTTERMANN, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17883          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOTTINGHAM, JUNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11265          NACHAWATI LAW GROUP

NOTTINGHAM, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04418          ONDERLAW, LLC
NOTTINGHAM,PATRICIA EST OF J
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002377-21AS      LEVY KONIGSBERG LLP
NOTTINGHAM
NOULLET, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02150          MOTLEY RICE, LLC

NOUTSARINH SAENSANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18196          ONDERLAW, LLC

NOVACK, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15422          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOVACK, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16618          ASHCRAFT & GEREL

NOVACK, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16618          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOVAK, ANNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02406          HOVDE, DASSOW, & DEETS, LLC

NOVAK, ANNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02406          THE MILLER FIRM, LLC

NOVAK, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04792          ONDERLAW, LLC

NOVAK-HALLWAY, TRUDY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOVELLINO, PETER                  NY - SUPREME COURT - NYCAL                   190266/2019            MEIROWITZ & WASSERBERG, LLP
NOVELLINO, PETER & EST OF KAREN
                                  NY - SUPREME COURT - NYCAL                   190266/2019            MEIROWITZ & WASSERBERG, LLP
NOVELLINO
NOVICKY, DOLORES                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-56-18            COHEN, PLACITELLA & ROTH

NOVIKOFF, ELENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12736          ANDREW THORNTON HIGGINS RAZMARA LLP

NOVOSEL, ROSEMARIE                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOVOSEL, ROSEMARIE                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           ONDERLAW, LLC

NOVOSEL, ROSEMARIE                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           PORTER & MALOUF, PA

NOVOSEL, ROSEMARIE                MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448           THE SMITH LAW FIRM, PLLC

NOWAK, MANUELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13233          THE MILLER FIRM, LLC

NOWAKOWSKI, JEANETTE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002130-20        GOLOMB & HONIK, P.C.

NOWAKOWSKI, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17211          THE MILLER FIRM, LLC

NOWE, MARGARET                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-297-18           GOLOMB SPIRT GRUNFELD PC

NOWELL, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00560          JOHNSON BECKER, PLLC



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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

NOWICKI, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06072          ASHCRAFT & GEREL, LLP

NOWICKI, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06072          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NOWICKI, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17162          CELLINO & BARNES, P.C.

NOWICKI, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08833          ONDERLAW, LLC

NOWINSKI, BARBARA             CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC688228               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

NOWINSKI, BARBARA             CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC688228               ROSS FELLER CASEY, LLP

NOWLIN, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05060          ONDERLAW, LLC

NOWLIN, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00003          ONDERLAW, LLC

NOYES, CANDI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12846          POGUST BRASLOW & MILLROOD, LLC

NUCHERENO, LYNNE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002524           COHEN, PLACITELLA & ROTH

NUCKLES, AGNES                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

NUCKLES, AGNES                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

NUCKLES, AGNES                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

NUCKLES, SALLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06037          KIRKENDALL DWYER LLP

NUCKOLS, ETHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01404          THE MICHAEL BRADY LYNCH FIRM

NUCKOLS, PEGGY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06301          ONDERLAW, LLC

NUFFER, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

NUFFER, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

NUFFER, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

NUGENT, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16886          ONDERLAW, LLC

NUGENT, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16194          ONDERLAW, LLC

NUGENT, YONG                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09128          CELLINO & BARNES, P.C.

NULTY, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00297          FLETCHER V. TRAMMELL

NUNAN, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00377          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

NUNES, LAURIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09710          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NUNEZ, ANTONIA                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC656226               PANISH, SHEA & BOYLE

NUNEZ, CHRISTINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12254          ONDERLAW, LLC

NUNEZ, GAITRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19688          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

NUNEZ, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13324          MOTLEY RICE NEW JERSEY LLC

NUNEZ, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06254          FLETCHER V. TRAMMELL

NUNEZ, MINNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04298          ONDERLAW, LLC

NUNEZ, REGINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13460          FLETCHER V. TRAMMELL

NUNLEY, JULIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08948          NAPOLI SHKOLNIK, PLLC




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

NUNLEY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10594          ONDERLAW, LLC

NUNLEY, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03476          THE DUGAN LAW FIRM, APLC

NUNLEY-CALLENDER, ZONIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01088          BART DURHAM INJURY LAW

NUNLEY-CALLENDER, ZONIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01088          FRAZER PLC

NUNN, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06136          THE ENTREKIN LAW FIRM

NUNN, LASHAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11145          GOLDENBERGLAW, PLLC

NUNN, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09309          MORRIS BART & ASSOCIATES

NUNNERY, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00713          BURNS CHAREST LLP

NUNNERY, VIOLET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10773          GORI JULIAN & ASSOCIATES, P.C.

NUNZIATO, MARIO                  CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046             ROCHON GENOVA LLP

NURYS, NINO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17591          ONDERLAW, LLC

NUSBAUM, SHARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15276          DALIMONTE RUEB, LLP

NUSS, DAWN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13058          NAPOLI SHKOLNIK, PLLC

NUSS, KATHRYN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1295-18          GOLOMB SPIRT GRUNFELD PC

NUSSBAUM, BETTE                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01641-19AS       WEITZ & LUXENBERG

NUTALL, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12955          JOHNSON LAW GROUP

NUTGRASS, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17503          NACHAWATI LAW GROUP

NUTTER, TRISTAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18747          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

NUZZO, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09142          ONDERLAW, LLC

NWABA, UCHECHI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01214          DRISCOLL FIRM, P.C.

NWOKOGBA, MELODY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12152          FLETCHER V. TRAMMELL

NYHAN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05923          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

NYMAN, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19567          NACHAWATI LAW GROUP

NYMAN, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11031          PARKER WAICHMAN, LLP

NYSTROM, MEGAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09495          ONDERLAW, LLC

O, BETTY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00682          GORI JULIAN & ASSOCIATES, P.C.

O, MARGARET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18936          CELLINO & BARNES, P.C.

O, PATRICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09788          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OACHS, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10647          ONDERLAW, LLC

OAKES, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06968          LEVIN SIMES LLP

OAKES, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10069          ARNOLD & ITKIN LLP

OAKES, MARIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09915          ONDERLAW, LLC

OAKLEY, KATHLEEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-3343-19          COHEN, PLACITELLA & ROTH




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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

OAKLEY, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08787          ONDERLAW, LLC

OAKLEY, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08691          ONDERLAW, LLC

OAKLEY, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10119          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OAKLEY, SALLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19158          NACHAWATI LAW GROUP

OAKMAN, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08368          FLETCHER V. TRAMMELL

OAKS, LORI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OAKS, LORI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           GOLDENBERGLAW, PLLC

OAKS, LORI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           ONDERLAW, LLC

OAKS, LORI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           PORTER & MALOUF, PA

OAKS, LORI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134           THE SMITH LAW FIRM, PLLC

OASIN, LEA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09434          WILLIAMS HART LAW FIRM

OATIS, BARBARA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC631959               THE MILLER FIRM, LLC

OATIS, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13066          FRAZER LAW LLC

OATMAN, JANICE                   FL - CIRCUIT COURT - PALM BEACH COUNTY       502020CA010260         OSBORNE & FRANCIS LAW FIRM PLLC

OATMAN, JANICE                   FL - CIRCUIT COURT - PALM BEACH COUNTY       502020CA010260         OSBORNE & FRANCIS LAW FIRM PLLC

OATMAN, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07549          ASHCRAFT & GEREL, LLP

OATMAN, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07549          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OBAL, EDNA ELSIE                 BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230661         PRESZLER LAW FIRM LLP

OBANION, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02738          NAPOLI SHKOLNIK, PLLC

OBANNON, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13118          NACHAWATI LAW GROUP

OBASI, NKEM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10930          MORELLI LAW FIRM, PLLC

OBENDORFER, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09740          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OBER, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01457          ONDERLAW, LLC

OBER, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15818          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OBERDIER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05479          THE DUGAN LAW FIRM, APLC

OBERG, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15915          THE SEGAL LAW FIRM

OBERHAUSEN, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05180          ONDERLAW, LLC

OBERLIN, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08258          HAUSFELD

OBERMILLER, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15460          HEYGOOD, ORR & PEARSON

OBERTACZ, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17593          ONDERLAW, LLC

OBRIAN, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00420          ASHCRAFT & GEREL

OBRIEN, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10973          ASHCRAFT & GEREL, LLP

OBRIEN, CORINNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13542          JOHNSON LAW GROUP




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               Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

OBRIEN, ERIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03294          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

OBRIEN, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04598          ONDERLAW, LLC

OBRIEN, HELENE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2439-17          KEEFE BARTELS

OBRIEN, HELENE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2439-17          LAW OFFICE OF GRANT D. AMEY, LLC

OBRIEN, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17493          NACHAWATI LAW GROUP

OBRIEN, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19771          ONDERLAW, LLC

OBRIEN, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08094          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

OBRIEN, MICHELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20281          CELLINO & BARNES, P.C.

OBRIEN, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08724          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OBRIEN, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16238          THE MILLER FIRM, LLC

OBRIEN, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

OBRIEN, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ONDERLAW, LLC

OBRIEN, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          THE POTTS LAW FIRM, LLP

OBRIEN, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

OBRYANT, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16197          ONDERLAW, LLC

OCADIZ, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13703          ARNOLD & ITKIN LLP

OCAIN, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02607          JOHNSON BECKER, PLLC

OCALLAGHAN, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12349          BARRETT LAW GROUP

OCAMPO, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14835          LENZE LAWYERS, PLC

OCAMPO, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14835          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OCAMPO, VERDELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15693          NACHAWATI LAW GROUP

OCANAS, MARIBEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10259          DRISCOLL FIRM, P.C.

OCCHUIZZO, GINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10648          ONDERLAW, LLC

OCHOA, DELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10270          GOLDENBERGLAW, PLLC

OCHOA, LORRAINE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002348-20        GOLOMB & HONIK, P.C.

OCHOA, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12495          FLEMING, NOLEN & JEZ, LLP

OCHOTECO, IRMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OCHOTECO, IRMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

OCHOTECO, IRMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

OCHOTECO, IRMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

OCKERT, RITA GREGORY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02499          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OCKMOND, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07580          ONDERLAW, LLC

OCLANDER, PATRICIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002556-20        GOLOMB & HONIK, P.C.




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           Claimant Name                              State Filed                      Docket Number                              Plaintiff Counsel

OCONNELL, AILEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09702          ONDERLAW, LLC

OCONNELL, ANNEMARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00632          GOLOMB SPIRT GRUNFELD PC

OCONNELL, GERALDINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

OCONNELL, GERALDINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04562          JOHNSON LAW GROUP

OCONNELL, GERALDINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

OCONNELL, GERALDINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

O'CONNELL, JOHN; BERKOWITZ, ALAN   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

OCONNELL, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12947          ASHCRAFT & GEREL, LLP

OCONNELL, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12935          PAUL LLP

OCONNELL, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

OCONNELL, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

OCONNELL, LINDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

OCONNELL, LORETTA & OCONNELL, JOHN NY - SUPREME COURT - NYCAL                   190237/2020            KARST & VON OISTE, LLP

O'CONNELL, MICHAEL                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

OCONNELL, TRACI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12722          ONDERLAW, LLC

OCONNOR, ADA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000691-20        ROSS FELLER CASEY, LLP

OCONNOR, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01534          BURNS CHAREST LLP

OCONNOR, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01534          BURNS CHAREST LLP

OCONNOR, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08273          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

OCONNOR, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11034          ONDERLAW, LLC

OCONNOR, ECKO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY   3:19-CV-08873            ONDERLAW, LLC
                                   NY - USDC FOR THE NORTHERN DISTRICT OF NEW
OCONNOR, HARRIET                                                              3:21-CV-00857            CELLINO & BARNES, P.C.
                                   YORK
OCONNOR, ILENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY   3:21-CV-14900            LENZE LAWYERS, PLC

OCONNOR, ILENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17275          ONDERLAW, LLC

OCONNOR, ILENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14900          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OCONNOR, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00561          JOHNSON BECKER, PLLC

OCONNOR, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09816          ONDERLAW, LLC

OCONNOR, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20871          CELLINO & BARNES, P.C.

OCONNOR, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19594          NACHAWATI LAW GROUP

OCONNOR, MAUREAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11633          THE MILLER FIRM, LLC

OCONNOR, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06917          JOHNSON BECKER, PLLC

OCONNOR, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13856          DANIEL & ASSOCIATES, LLC

OCONNOR, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13856          THE WHITEHEAD LAW FIRM, LLC

OCONNOR, SHARON                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002131-20        GOLOMB & HONIK, P.C.



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

OCONNOR-FITZGEREALD, JANE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03129          ONDERLAW, LLC

ODDSON, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13364          FLETCHER V. TRAMMELL

ODELL, JOAN                      CA - SUPERIOR COURT - SONOMA COUNTY          SCV261914              SIMMONS HANLY CONROY

ODELL, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02459          THE SEGAL LAW FIRM

ODHIAMBO, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09850          ONDERLAW, LLC

ODLE, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06855          COLLEY SHROYER & ABRAHAM CO. LLC

ODOM, CHARLES                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004851-21        WEITZ & LUXENBERG

ODOM, DOLORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17485          NACHAWATI LAW GROUP

ODOM, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01061          ARNOLD & ITKIN LLP

ODOM, MARIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13773          ONDERLAW, LLC

ODOM, PEARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13320          MURRAY LAW FIRM
ODOM, SHERRI EST OF JAMES
                                 AZ - SUPERIOR COURT - MARICOPA COUNTY        CV2021-000747          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
MCCORMICK
ODOM, TREINA                     CA - SUPERIOR COURT - FRESNO COUNTY          18CECG01649            ASPEY, WATKINS & DIESEL, PLLC

ODOM, TREINA                     CA - SUPERIOR COURT - FRESNO COUNTY          18CECG01649            BURNS CHAREST LLP

ODOM, TRUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12628          BARRETT LAW GROUP

ODOM, ZEBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05421          BURNS CHAREST LLP

ODOM, ZEBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05421          BURNS CHAREST LLP

ODONNELL, ANNMARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01959          DIAMOND LAW

ODONNELL, AUDREY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05747          ONDERLAW, LLC

ODONNELL, CALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13229          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ODONNELL, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09140          ONDERLAW, LLC

ODONNELL, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08955          ONDERLAW, LLC

ODONNELL, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12978          JOHNSON LAW GROUP

ODONNELL, RUTHANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09916          ONDERLAW, LLC

ODONNELL, SALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12897          MORELLI LAW FIRM, PLLC

ODONNELL, SHERREL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00041          DALIMONTE RUEB, LLP

ODRISCOLL, YVONNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20709          ONDERLAW, LLC

ODUMS, JO                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07914          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

ODWYER, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02213          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

OECHSNER, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20729          ONDERLAW, LLC

OECHSNER, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16288          THE BENTON LAW FIRM, PLLC

OEHLERT, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13393          NACHAWATI LAW GROUP




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

OEHLERT, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13246          DALIMONTE RUEB, LLP

OEI LIPP, LIAN SIANG             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15479          ASHCRAFT & GEREL, LLP

OEI LIPP, LIAN SIANG             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15479          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OELKE, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09453          ONDERLAW, LLC

OESTERLE, DOWAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02455          MONTROSE LAW LLP

OESTERLE, SYLVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09900          ONDERLAW, LLC

OETINGER, HOLLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09254          ONDERLAW, LLC

OFARRELL, LOUISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09901          ONDERLAW, LLC

OFERT, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17474          NACHAWATI LAW GROUP

OFFERMAN, ADELAIDE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2236-17          GOLOMB SPIRT GRUNFELD PC

OFFILL, ETHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08752          ONDERLAW, LLC

OFFUTT, IDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10498          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OFIELD, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12767          THE MILLER FIRM, LLC

OFSTAD, BRANDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18748          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

OGBOMAN, MONEERA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05692          ONDERLAW, LLC

OGBOMON, MONEERA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08949          DALIMONTE RUEB, LLP

OGBONNAH, OBIAGELI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01201          ASHCRAFT & GEREL

OGBONNAH, OBIAGELI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01201          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OGG, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00126          LAW OFFICE OF ISAAC TOVEG

OGLE III, JAMES                  IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

OGLE, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09094          ROSS FELLER CASEY, LLP

OGLE, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08163          ONDERLAW, LLC

OGLE, TYWANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19911          ARNOLD & ITKIN LLP

OGLESBY, CECILIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08813          COHEN & MALAD, LLP

OGLESBY, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08996          ONDERLAW, LLC

OGLESBY, PATTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01105          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

OGLESBY, RITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11670          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OGLETREE, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05693          ONDERLAW, LLC

OGLETREE, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05874          MOTLEY RICE, LLC

OGORMAN, TRACEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00421          ASHCRAFT & GEREL

OGORMAN, TRACEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00421          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OGRADY, MARNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16497          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

OGRAM, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12699          FRAZER PLC




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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

OHALLORAN, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12422          CLIFFORD LAW OFFICES, P.C.

OHANLON, ANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09913          ONDERLAW, LLC

OHANLON, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001356-20        COHEN, PLACITELLA & ROTH

OHANLON, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001356-20        FLETCHER V. TRAMMELL

OHANLON-YOUNG, PATRICIA          CA - SUPERIOR COURT - LOS ANGELES COUNTY     18CV328945             THE MILLER FIRM, LLC

OHARA, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OHARA, LORI                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318695             KIESEL LAW, LLP

OHARA, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          ONDERLAW, LLC

OHARA, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          PORTER & MALOUF, PA

OHARA, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793          THE SMITH LAW FIRM, PLLC

OHARA, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08849          EISENBERG, ROTHWEILER, WINKLER

OHARA, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09718          ONDERLAW, LLC

OHARE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10925          NACHAWATI LAW GROUP

OHERN, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09914          VICKERY & SHEPHERD, LLP

OHLENBUSCH, GRACE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18749          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

OHLER, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20502          LENZE LAWYERS, PLC

OHLINGER, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08056          DALIMONTE RUEB, LLP

OHLMAIER, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09122          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OHLMS, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12157          ONDERLAW, LLC
OHLUND, STEVEN AND OHLUND,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006781-20        WEITZ & LUXENBERG
PATRICIA
OHMAN, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16915          JOHNSON LAW GROUP

OHRING, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08848          ONDERLAW, LLC

OINONEN, CATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01822          THE MILLER FIRM, LLC

OJEDA BAELLO, SANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

OJO, REBECCA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19726          ARNOLD & ITKIN LLP

OKANE, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05118          FLETCHER V. TRAMMELL

OKE, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OKEEFE, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20679          ONDERLAW, LLC

OKEEFFEE, ERIN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OKEEFFEE, ERIN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

OKEEFFEE, ERIN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

OKEEFFEE, ERIN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

OKELLEY, SHERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07413          THE DUGAN LAW FIRM, APLC

OKEN, WILDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08676          WATERS & KRAUS, LLP



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

OKERSON, ROBERTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08219          THE DUGAN LAW FIRM, APLC

OKON, TARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08643          THE DUGAN LAW FIRM, APLC

OKORO, ALETHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11147          NACHAWATI LAW GROUP

OLA DAVIS                        FEDERAL - MDL                                3:21-CV-15643          LENZE LAWYERS, PLC

OLA DAVIS                        FEDERAL - MDL                                3:21-CV-15643          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OLANYK, LADONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06558          JOHNSON LAW GROUP

OLAUGLIN, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12498          KLINE & SPECTER, P.C.

OLBRYS, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17521          NACHAWATI LAW GROUP

OLDES, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17539          NACHAWATI LAW GROUP

OLDHAM, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09988          GORI JULIAN & ASSOCIATES, P.C.

OLDHAM, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13535          DRISCOLL FIRM, P.C.

OLDHAM, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01723          ASHCRAFT & GEREL

OLDHAM, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01723          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLDHAM, SANDRA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

OLDS, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15170          ASHCRAFT & GEREL

OLDS, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15170          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLDS, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01590          ONDERLAW, LLC

OLEARY, MAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15621          JOHNSON LAW GROUP

OLEARY, NANCY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003189-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

OLECH, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00232          NACHAWATI LAW GROUP

OLGE, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16205          NACHAWATI LAW GROUP

OLICHNEY, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07537          MURRAY LAW FIRM

OLINDE, ELLEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07567          ONDERLAW, LLC

OLINER, RENEE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLINER, RENEE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

OLINER, RENEE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

OLINGER, FREDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06130          ONDERLAW, LLC

OLINSKI, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09739          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLIPHANT, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08987          ONDERLAW, LLC

OLIVA, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00004          ONDERLAW, LLC

OLIVACZ, BARBARA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001061-21        GOLOMB & HONIK, P.C.

OLIVAREZ, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09751          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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                Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

OLIVE, DORINE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13971          SIMMONS HANLY CONROY

OLIVE, LIZZIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03914          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLIVER, ABBIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09995          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLIVER, ALICE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02659          ONDERLAW, LLC

OLIVER, ASHLI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01478          ONDERLAW, LLC

OLIVER, CASEY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03986          ONDERLAW, LLC

OLIVER, DOROTHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06480          ONDERLAW, LLC

OLIVER, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19589          NACHAWATI LAW GROUP

OLIVER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

OLIVER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

OLIVER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15231          LENZE LAWYERS, PLC

OLIVER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OLIVER, FAITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15231          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

OLIVER, GERLENE ; PALMER; DORINNE   IL - CIRCUIT COURT - COOK COUNTY             2019-L-3345            CORBOY & DEMETRIO, P.C.

OLIVER, GLENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17660          ASHCRAFT & GEREL

OLIVER, JOSEPHINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06815          BARON & BUDD, P.C.

OLIVER, KELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06635          ARNOLD & ITKIN LLP

OLIVER, LAROYAL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11752          ARNOLD & ITKIN LLP

OLIVER, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

OLIVER, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

OLIVER, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OLIVER, MARLA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

OLIVER, MARLA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

OLIVER, MARLA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

OLIVER, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20304          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLIVER, RAMONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06582          ONDERLAW, LLC

OLIVER, ROSEMARIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002948-15        SEEGER WEISS LLP

OLIVER, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00716          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OLIVERAS, NILDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12602          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

OLIVERO, NIDIA, E                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00529-18AS       WEITZ & LUXENBERG

OLIVER-WRIGHT, ANGELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00505          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

OLIVIER, CLAIRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05273          JOHNSON LAW GROUP

OLIVIER, KILEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14465          LINVILLE LAW GROUP

OLIVO, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09759          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                          State Filed                      Docket Number                              Plaintiff Counsel

OLIX, TERA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12666          CELLINO & BARNES, P.C.

OLKIVES, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09468          ONDERLAW, LLC

OLLER, NITA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03272          ASHCRAFT & GEREL

OLLER, NITA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03272          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLLER, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09867          ONDERLAW, LLC

OLLIFF, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05976          ONDERLAW, LLC

OLLIS, CONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18872          NACHAWATI LAW GROUP

OLLMAN, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16094          THE WEINBERG LAW FIRM

OLMELIO, VILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15776          GOLOMB & HONIK, P.C.

OLMOS, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15364          SALTZ MONGELUZZI & BENDESKY PC

OLSEN, ALETA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13725          ONDERLAW, LLC

OLSEN, CHARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07290          ONDERLAW, LLC

OLSEN, IRENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08076          ONDERLAW, LLC

OLSEN, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10749          ASHCRAFT & GEREL

OLSEN, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00698          GORI JULIAN & ASSOCIATES, P.C.

OLSHEFSKI, MARIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15786          NACHAWATI LAW GROUP

OLSON, ADELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09574          ONDERLAW, LLC

OLSON, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16872          THE WEINBERG LAW FIRM

OLSON, CAROLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19067          MOTLEY RICE, LLC

OLSON, DARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00558          ONDERLAW, LLC

OLSON, DIANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02980          ONDERLAW, LLC

OLSON, DIANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03891          THE SEGAL LAW FIRM

OLSON, DONNA A. AND ROBERT M.      NY - SUPREME COURT - NYCAL                   190328/2017            LEVY KONIGSBERG LLP

OLSON, DONNA A. AND ROBERT M.      NY - SUPREME COURT - NYCAL                   190328/2017            LEVY KONIGSBERG LLP

OLSON, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16018          NACHAWATI LAW GROUP

OLSON, KATHLEEN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLSON, KATHLEEN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

OLSON, KATHLEEN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

OLSON, KATHLEEN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

OLSON, KELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19774          ONDERLAW, LLC

OLSON, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05121          ONDERLAW, LLC

OLSON, MARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06275          ONDERLAW, LLC

OLSON, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19231          ONDERLAW, LLC




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              Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

OLSON, NANCY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08677          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLSON, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13562          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLSON, SANDRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03347          ONDERLAW, LLC

OLSON, SHELLI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00537          BURNS CHAREST LLP

OLSON, THELMA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003098-21        WEITZ & LUXENBERG

OLSON, VANESSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14188          ANDRUS WAGSTAFF, P.C.

OLTEN, THERESE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15171          ASHCRAFT & GEREL

OLTEN, THERESE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15171          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OLVERA, LENCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11284          FLETCHER V. TRAMMELL

OLVERA, LENCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10540          SIMMONS HANLY CONROY

OLVERA, LIDIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02200          FLETCHER V. TRAMMELL

OLVERSON, TAMEEKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05547          ONDERLAW, LLC

OMALLEY, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10017          ROSS FELLER CASEY, LLP

OMALLEY, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10395          ONDERLAW, LLC

OMALLEY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13164          ONDERLAW, LLC

OMALLEY, MARCELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10639          BARON & BUDD, P.C.

OMALLEY, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12737          DALIMONTE RUEB, LLP

OMALLEY-KOSTNER, KAREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OMALLEY-KOSTNER, KAREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

OMALLEY-KOSTNER, KAREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

OMALLEY-KOSTNER, KAREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

OMANOFF, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05118          ONDERLAW, LLC

OMAR, LUCRECIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11217          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OMBRELLINO, CONCETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18312          ONDERLAW, LLC

ONAN, VIRGINIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11372          MORELLI LAW FIRM, PLLC

ONDA, WENDY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16432          ARNOLD & ITKIN LLP

ONDELL, CATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06862          ONDERLAW, LLC

ONEAL, BONNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02258          MOTLEY RICE, LLC

ONEAL, D FULMORE EST OF C FULMORE   NY - SUPREME COURT - NYCAL                   190157/2020            WEITZ & LUXENBERG

ONEAL, HAZEL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09817          SANDERS VIENER GROSSMAN, LLP

ONEAL, JAMILA                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     20STCV25809            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ONEAL, JAMILA                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     20STCV25809            WILLIAMS HART LAW FIRM

ONEAL, LISA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03445          CLIFFORD LAW OFFICES, P.C.

ONEAL, MELISSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10495          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

ONEIL, ANNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15760          POTTS LAW FIRM

ONEIL, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09451          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ONEILL, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22070          DRISCOLL FIRM, P.C.

ONEILL, BONNITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07610          GORI JULIAN & ASSOCIATES, P.C.

ONEILL, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02475          JOHNSON LAW GROUP

ONEILL, DIANA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002813-18        ROSS FELLER CASEY, LLP

ONEILL, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05714          MOTLEY RICE, LLC

ONEILL, KATHRYN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001462-20        ROSS FELLER CASEY, LLP

ONEILL, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05123          ONDERLAW, LLC

ONEILL, RITA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC705653               ASPEY, WATKINS & DIESEL, PLLC

ONEILL, RITA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC705653               BURNS CHAREST LLP

ONEILL-PIRRUNG, CAROLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00021          CELLINO & BARNES, P.C.

ONEY, BETH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11087          PARKER WAICHMAN, LLP

ONIFADE, DEATRUS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08109          ARNOLD & ITKIN LLP

ONKURU, VARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22045          HOLLAND LAW FIRM

ONOPA, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04012          ANAPOL WEISS

ONORATO, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13624          LAW OFFICE OF CHARLES H JOHNSON, PA

ONTARIO, HOSEA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07238          ONDERLAW, LLC

ONUKIAVAGE, MARYANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16376          JOHNSON BECKER, PLLC

OOTEN, JERI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00579          ARNOLD & ITKIN LLP

OPAL HARDY                        FEDERAL - MDL                                3:21-CV-19577          ONDERLAW, LLC

OPENSHAW, JIMMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09491          ONDERLAW, LLC

OPPEL, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15330          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OPPENBERG, JOSEPHINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00585          DIAMOND LAW

OPPERMAN, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09765          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OQUENDO, SYLVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11401          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

OQUINN, TIFFANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19375          NACHAWATI LAW GROUP

ORBEN, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15810          JOHNSON LAW GROUP

ORCINO, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15098          MORRIS BART & ASSOCIATES

ORCUTT, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06997          JOHNSON LAW GROUP

ORCUTT, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02077          CELLINO & BARNES, P.C.

ORCUTT, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16445          WATERS & KRAUS, LLP

ORDER, BARBARA VAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20384          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORDETX, ZONIA                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC671566               PANISH, SHEA & BOYLE



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                Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

ORDONEZ, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13994          JOHNSON LAW GROUP

ORDOYNE, ROXANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11367          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ORE, MARTHA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04185          ASHCRAFT & GEREL

OREAR, PRUDENCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22148          CHILDERS, SCHLUETER & SMITH, LLC

OREBAUGH, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03145          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORECCHIA, LAVINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07811          ASHCRAFT & GEREL

OREILLY, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00921          HOLLAND LAW FIRM

OREILLY, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20583          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

OREILLY, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09138          ONDERLAW, LLC

OREL, INA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01614          PARKER WAICHMAN, LLP

ORELLANA, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09658          GOLOMB SPIRT GRUNFELD PC

ORELLANA, LUZ                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10657          ONDERLAW, LLC

OREM, LAURA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05589          GOLOMB SPIRT GRUNFELD PC

OREM, MARTHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04778          THE BENTON LAW FIRM, PLLC

OREY, MARSHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18154          ONDERLAW, LLC

ORF, MARQUITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09130          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORH, DEBRA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01732          PROVOST UMPHREY LAW FIRM

ORISCHAK, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09308          ONDERLAW, LLC

ORITI, ELISSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12648          NAPOLI SHKOLNIK, PLLC

ORLANDO, AURORA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2702-17          COHEN, PLACITELLA & ROTH

ORLANDO, DEANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07937          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

ORLANDO, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07513          DALIMONTE RUEB, LLP

ORLANDO, KRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18793          CELLINO & BARNES, P.C.

ORLANDO, MAUREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17123          GORI JULIAN & ASSOCIATES, P.C.

ORLICH, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

ORLICH, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

ORLICH, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15068          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ORLICH, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ORLIK, ROSALBA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20682          ONDERLAW, LLC

ORLIN, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11578          CORY, WATSON, CROWDER & DEGARIS P.C.

ORLOSKI, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08003          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ORLOWSKI, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05913          ONDERLAW, LLC



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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

ORMAN, MICHELLE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-247-16           ASHCRAFT & GEREL

ORMAN, MICHELLE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-247-16           GOLOMB SPIRT GRUNFELD PC

ORMOND, AMBER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09620          GOLOMB SPIRT GRUNFELD PC

ORMSBY, DOROTHY                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

ORNDOFF, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19898          CELLINO & BARNES, P.C.

ORNELAS, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17594          ONDERLAW, LLC

ORONA, EVANGELISTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORONA, EVANGELISTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

ORONA, EVANGELISTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

ORONA, EVANGELISTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

ORONA-SHELL, JOSEFINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19786          NACHAWATI LAW GROUP

OROPEZA, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

OROPEZA, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15807          LENZE LAWYERS, PLC

OROPEZA, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

OROPEZA, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15807          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OROPEZA, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OROS, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03429          TRAMMELL PC

OROVET, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06559          ROSS FELLER CASEY, LLP

OROZCO, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17694          JOHNSON LAW GROUP

OROZCO, SOPHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OROZCO, SOPHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          ONDERLAW, LLC

OROZCO, SOPHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          PORTER & MALOUF, PA

OROZCO, SOPHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059          THE SMITH LAW FIRM, PLLC

OROZCO, YOLANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10999          NACHAWATI LAW GROUP

ORPINEDA, BERSABELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09138          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORR, ANNIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16943          JOHNSON BECKER, PLLC

ORR, ASHLEY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17006          ONDERLAW, LLC

ORR, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12310          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORR, CYNTHIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17540          NACHAWATI LAW GROUP

ORR, JACQUELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19597          NACHAWATI LAW GROUP

ORR, KATHLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08569          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORSI, CLARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18724          FLETCHER V. TRAMMELL

ORSINI, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11723          ASHCRAFT & GEREL, LLP




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

ORTA-VALDOVINOD, PAMELA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09637          MORELLI LAW FIRM, PLLC

ORTEGA, CARMEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09141          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORTEGA, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02485          BURNS CHAREST LLP

ORTEGA, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02485          BURNS CHAREST LLP

ORTEGA, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02715          MARY ALEXANDER & ASSOCIATES, P.C.

ORTEGA, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06752          DALIMONTE RUEB, LLP

ORTEGA, ELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10464          ONDERLAW, LLC

ORTEGA, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01464          ONDERLAW, LLC

ORTEGA, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10949          JOHNSON LAW GROUP

ORTEGA, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11477          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORTEGA, RACQUEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02470          ONDERLAW, LLC

ORTEGA, RONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01429          ONDERLAW, LLC

ORTEN, SHELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08753          ONDERLAW, LLC

ORTHMANN, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03369          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ORTIGOZA, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00588          DIAMOND LAW

ORTISI, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00224          NACHAWATI LAW GROUP

ORTIZ, ADRIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17785          JOHNSON LAW GROUP

ORTIZ, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16397          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

ORTIZ, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12311          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORTIZ, BETH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05854          ASHCRAFT & GEREL

ORTIZ, BETH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05854          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORTIZ, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03631          ONDERLAW, LLC

ORTIZ, EILEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04745          FLETCHER V. TRAMMELL

ORTIZ, ERICA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002656-21        WEITZ & LUXENBERG

ORTIZ, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04741          ASHCRAFT & GEREL

ORTIZ, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04741          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORTIZ, FRANCISCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01378          ONDERLAW, LLC

ORTIZ, GLADYS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17636          MOTLEY RICE, LLC

ORTIZ, INGRID                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02503          ONDERLAW, LLC

ORTIZ, ISABEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11967          NACHAWATI LAW GROUP

ORTIZ, KAYLA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORTIZ, KAYLA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

ORTIZ, KAYLA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

ORTIZ, KAYLA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

ORTIZ, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10400          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORTIZ, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16584          TRAMMELL PC

ORTIZ, MARISELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03973          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORTIZ, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02606          JOHNSON BECKER, PLLC

ORTIZ, NAARA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003097-21        WEITZ & LUXENBERG

ORTIZ, NATALIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004014-20        GOLOMB & HONIK, P.C.

ORTIZ, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07675          DALIMONTE RUEB, LLP

ORTIZ, SHERLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13179          MOTLEY RICE, LLC

ORTIZ, SONIA                      FL - CIRCUIT COURT - BROWARD COUNTY          CACE17015669           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ORTIZ, SONIA                      FL - CIRCUIT COURT - BROWARD COUNTY          CACE17015669           KELLEY UUSTAL, PLC

ORTIZ, SONIA                      FL - CIRCUIT COURT - BROWARD COUNTY          CACE17015669           THE MADALON LAW FIRM

ORTMAN, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03285          ONDERLAW, LLC

ORTNER, LEANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13727          ONDERLAW, LLC

ORTOLANO, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03016          REICH & BINSTOCK, LLP

ORTON, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15631          ARNOLD & ITKIN LLP

ORVILLE, ELDER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04569          ASHCRAFT & GEREL

ORZECK, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09459          FLETCHER V. TRAMMELL

OSBORNE, CLAUDETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02545          ONDERLAW, LLC

OSBORNE, DEANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03814          ONDERLAW, LLC

OSBORNE, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06643          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OSBORNE, IDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06030          ARNOLD & ITKIN LLP

OSBORNE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01719          ASHCRAFT & GEREL

OSBORNE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OSBORNE-CURRY, JANNIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17205          THE MILLER FIRM, LLC

OSBURN, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08147          ONDERLAW, LLC

OSCHMAN, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15766          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

OSHAUGHNESSY, SHELLIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02106          FLETCHER V. TRAMMELL

OSHEA, CLAIRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19831          CORRIE YACKULIC LAW FIRM, PLLC

OSHEA, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19720          ARNOLD & ITKIN LLP

OSHEI, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10867          GORI JULIAN & ASSOCIATES, P.C.

OSORIO, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02686          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OSSEN, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19440          CELLINO & BARNES, P.C.

OSTEN, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20443          ASHCRAFT & GEREL, LLP

OSTEN, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20443          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                           State Filed                       Docket Number                            Plaintiff Counsel

OSTERDOCK, APRIL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002133-20        GOLOMB & HONIK, P.C.

OSTERHOUDT, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12640          FLETCHER V. TRAMMELL

OSTERLAND, RENEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19746          ASHCRAFT & GEREL, LLP

OSTERLAND, RENEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19746          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OSTOLAZA, LUISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02134          ONDERLAW, LLC

OSTRANDER, DEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17216          ONDERLAW, LLC

OSTRAWSKI, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05965          ONDERLAW, LLC

OSTRENGA, LUCILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09343          ONDERLAW, LLC

OSTROFF, MICHELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09448          SANDERS VIENER GROSSMAN, LLP

OSTROM, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08285          ONDERLAW, LLC

OSTROSKI, DEBORAH                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1140-15          GOLOMB SPIRT GRUNFELD PC

OSTROSKI, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17207          THE MILLER FIRM, LLC

OSTROVSKIS, LILIJA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20604          CELLINO & BARNES, P.C.

OSTROWSKI, KRISTIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000823-21        WEITZ & LUXENBERG

OSUCH, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19554          NACHAWATI LAW GROUP

OSUNLAJA, ANDREA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12877          ONDERLAW, LLC

OSWALD, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09277          JOHNSON LAW GROUP

OSWALD, NORMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03609          ONDERLAW, LLC

OTA, MARGARET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04929          ONDERLAW, LLC

OTAVAKA-DUREW, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06306          NAPOLI SHKOLNIK, PLLC

OTERO, IMARA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20738          CELLINO & BARNES, P.C.

OTERO, LILY I & EST OF JOSEPH ARROYO NY - SUPREME COURT - NYCAL                  190063/2018            MEIROWITZ & WASSERBERG, LLP

OTERO, LILY IVETTE ROSARIO          NY - SUPREME COURT - NYCAL                   190063/2018            MEIROWITZ & WASSERBERG, LLP
                                    LA - DISTRICT COURT - EAST BATON ROUGE
OTILLIO, CORRIN                                                                  C-702021-22            JOHNSON LAW GROUP
                                    PARISH
                                    LA - DISTRICT COURT - EAST BATON ROUGE
OTILLIO, CORRIN                                                                  C-702021-22            WATERS & KRAUS, LLP
                                    PARISH
OTIS, BARBARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13913          KIESEL LAW, LLP

OTIS, BARBARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13913          LAW OFFICE OF HAYTHAM FARAJ

OTIS, BARBARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13913          MARTINIAN & ASSOCIATES, INC.

OTIS, DET                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14171          MORELLI LAW FIRM, PLLC

OTIS, MAREE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22200          ONDERLAW, LLC

OTIS, PACIENCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12348          ONDERLAW, LLC

OTOOLE, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01488          ONDERLAW, LLC

OTOOLE, TIFFANY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10756          SIMMONS HANLY CONROY

OTT, DARLENE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18752          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

OTT, JANIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13732          ONDERLAW, LLC

OTT, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05879          HOLLAND LAW FIRM

OTT, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09482          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OTT, SUSAN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

OTT, SUSAN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

OTT, SUSAN                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

OTTEMAN, MADELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17542          NACHAWATI LAW GROUP

OTTENS, CHANTELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14772          LENZE LAWYERS, PLC

OTTENS, CHANTELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14772          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OTTENS, CHANTELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09168          SANDERS VIENER GROSSMAN, LLP

OTTER, LEWANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06617          FLETCHER V. TRAMMELL

OTTIANO, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08949          ONDERLAW, LLC

OUELLETTE, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03043          REICH & BINSTOCK, LLP

OUELLETTE, MICHELLE              IL - CIRCUIT COURT - COOK COUNTY             20-L-13651             FLINT LAW FIRM LLC

OUELLETTE, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12263          LAW OFFICE OF GRANT D. AMEY, LLC

OUGH, KEELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09209          ONDERLAW, LLC

OUIMETTE, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15502          THE MILLER FIRM, LLC

OUIMETTE, DONNICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17718          JOHNSON LAW GROUP

OULES, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13569          ASHCRAFT & GEREL

OUSLEY, BERNADINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14747          LENZE LAWYERS, PLC

OUSLEY, BERNADINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14747          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OUSLEY, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13735          ONDERLAW, LLC

OVER, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13277          WAGSTAFF & CARTMELL, LLP

OVERBY, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20929          SANDERS PHILLIPS GROSSMAN, LLC

OVERDAHL, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03034          WEXLER WALLACE LLP

OVERMAN, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11009          ONDERLAW, LLC

OVERMAN, ANGIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06472          ONDERLAW, LLC

OVERMAN, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09674          ONDERLAW, LLC

OVERMAN, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     03:21-CV-09674         ONDERLAW, LLC

OVERSON, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14893          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

OVERSTREET, RAMONA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09999          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OVERSTREET, VIVIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15007          KIESEL LAW, LLP

OVERSTREET, VIVIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15007          LAW OFFICE OF HAYTHAM FARAJ




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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

OVERSTREET, VIVIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15007          MARTINIAN & ASSOCIATES, INC.

OVERTON, ANNA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002824-20        COHEN, PLACITELLA & ROTH

OVERTON, ANNA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002824-20        FLETCHER V. TRAMMELL

OVERTON, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13859          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OVERTON, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00786          BLIZZARD & NABERS, LLP

OVERTON, GLENNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08097          FLETCHER V. TRAMMELL

OVERTON, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14284          BURNS CHAREST LLP

OVERTON, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09131          ONDERLAW, LLC

OVERTON, TONI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03038          REICH & BINSTOCK, LLP

OVIEDO, HILDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08482          ONDERLAW, LLC

OVIEDO, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13848          DANIEL & ASSOCIATES, LLC

OVIEDO, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14233          JOHNSON LAW GROUP

OVIEDO, MARIA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     CVPO1871861            MOTLEY RICE, LLC

OVIEDO, MARIA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     CVPO1871861            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OVITT, DARNELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11054          ONDERLAW, LLC

OVITT, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19249          SANDERS PHILLIPS GROSSMAN, LLC

OWEN, ALICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07741          BISNAR AND CHASE

OWEN, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01729          JOHNSON LAW GROUP

OWEN, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10007          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OWEN, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06696          THE SIMON LAW FIRM, PC

OWEN, DESIRAE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05654          ONDERLAW, LLC

OWEN, EVA                        CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV334053             THE MILLER FIRM, LLC

OWEN, JERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14309          JOHNSON LAW GROUP

OWEN, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

OWEN, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14936          LENZE LAWYERS, PLC

OWEN, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

OWEN, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14936          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OWEN, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OWEN, MAIRIOIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11224          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OWEN, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01601          ONDERLAW, LLC

OWENS, BERNIDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002453-18        MORELLI LAW FIRM, PLLC

OWENS, BOBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17252          HILLIARD MARTINEZ GONZALES, LLP

OWENS, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08052          ASHCRAFT & GEREL




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              Claimant Name                            State Filed                      Docket Number                              Plaintiff Counsel

OWENS, BRENDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02665          GORI JULIAN & ASSOCIATES, P.C.

OWENS, CALLIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18986          NACHAWATI LAW GROUP

OWENS, CARRIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12614          ARNOLD & ITKIN LLP

OWENS, CHARSSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18809          MORELLI LAW FIRM, PLLC

OWENS, CHAVALLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04724          DRISCOLL FIRM, P.C.

OWENS, CRYSTAL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07117          THE SIMON LAW FIRM, PC

OWENS, DARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15658          NACHAWATI LAW GROUP

OWENS, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08347          ONDERLAW, LLC

OWENS, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14414          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OWENS, DENISE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000645-18        GOLOMB SPIRT GRUNFELD PC

OWENS, DISHANNON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04061          ONDERLAW, LLC

OWENS, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08561          ONDERLAW, LLC

OWENS, EVELYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17544          NACHAWATI LAW GROUP

OWENS, HELEN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02983          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OWENS, HOLLY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

OWENS, HOLLY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

OWENS, HOLLY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

OWENS, HOLLY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

OWENS, JANET                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10656          GOLOMB SPIRT GRUNFELD PC

OWENS, JANET                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17686          JOHNSON LAW GROUP

OWENS, JOHN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09944          GORI JULIAN & ASSOCIATES, P.C.

OWENS, KAREN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07648          ONDERLAW, LLC

OWENS, KAREN J. EST OF HELEN KINNEY IN - SUPERIOR COURT - MARION COUNTY          49D12-2012-MI-042553   KROGER GARDIS & REGAS, LLP

OWENS, LATRISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17008          THE SEGAL LAW FIRM

OWENS, LENA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08314          KLINE & SPECTER, P.C.

OWENS, LENA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04167          ONDERLAW, LLC

OWENS, LISA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06048          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OWENS, LISA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09312          ONDERLAW, LLC

OWENS, MARGARET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15747          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OWENS, MARJORIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15836          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                    CA - SUPERIOR COURT - SAN BERNARDINO
OWENS, MARY                                                                      CIVDS1618507           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                                    COUNTY
OWENS, MICA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17543          NACHAWATI LAW GROUP




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

OWENS, PERMEISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12070          MORELLI LAW FIRM, PLLC

OWENS, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18580          ONDERLAW, LLC

OWENS, RUNNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10795          THE MILLER FIRM, LLC

OWENS, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16028          ASHCRAFT & GEREL, LLP

OWENS, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16028          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

OWENS, SHAMONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14511          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OWENS, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19392          MCSWEENEY/LANGEVIN, LLC

OWENS, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19788          NACHAWATI LAW GROUP

OWENS, SUSAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002481-20        GOLOMB & HONIK, P.C.

OWENS, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14136          MOTLEY RICE NEW JERSEY LLC

OWENS, TONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11828          ONDERLAW, LLC

OWENS, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13361          FLETCHER V. TRAMMELL

OWINGS, ANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11152          NACHAWATI LAW GROUP

OWINGS, DAWNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14804          LENZE LAWYERS, PLC

OWINGS, DAWNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14804          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OWSLEY, CONSUELO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06437          ONDERLAW, LLC

OWSLEY, YOLANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19143          ONDERLAW, LLC

OWUSU, DINAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12800          BARRETT LAW GROUP

OXENDINE, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12579          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

OXENDINE, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06543          DRISCOLL FIRM, P.C.

OXENDINE, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

OXENDINE, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15565          LENZE LAWYERS, PLC

OXENDINE, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

OXENDINE, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15565          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OXENDINE, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

OXENRIDER, DEBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14303          SULLO & SULLO, LLP

OXFORD, CLARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04039          ONDERLAW, LLC

OYEBAMIJI, SHALONDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13199          MOTLEY RICE NEW JERSEY LLC

OYLER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13681          ANAPOL WEISS

PAAHANA, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19779          NACHAWATI LAW GROUP

PAAHANA, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03368          ONDERLAW, LLC

PABON, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10897          ONDERLAW, LLC

PABON, ZEMINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03693          ONDERLAW, LLC




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

PABROS, GIZELDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13980          JOHNSON LAW GROUP

PACE, BETTYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10297          DALIMONTE RUEB, LLP

PACE, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18940          NACHAWATI LAW GROUP

PACE, DIANE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-00095920         COHEN, PLACITELLA & ROTH

PACE, GWENDOLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06286          WILLIAMS HART LAW FIRM

PACE, HOLLIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05920          ARNOLD & ITKIN LLP

PACE, INEZ                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18310          DRISCOLL FIRM, P.C.

PACE, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11881          THE MILLER FIRM, LLC

PACE, MICHELLE                    GA - STATE COURT OF GWINNETT COUNTY          18C05635-2             CHILDERS, SCHLUETER & SMITH, LLC

PACE, MICHELLE                    GA - STATE COURT OF GWINNETT COUNTY          18C05635-2             ONDERLAW, LLC

PACE, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12275          ONDERLAW, LLC

PACE, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01695          JOHNSON LAW GROUP

PACE, TAMARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02103          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

PACE, TAMBRIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11227          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PACE, TERRIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20870          CELLINO & BARNES, P.C.

PACE, WILLA                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC705960               ASPEY, WATKINS & DIESEL, PLLC

PACE, WILLA                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC705960               BURNS CHAREST LLP

PACE, WILLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03451          CELLINO & BARNES, P.C.

PACHECO, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08503          ONDERLAW, LLC

PACHECO, GILBERTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19225          NACHAWATI LAW GROUP

PACHECO, IRENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11247          NACHAWATI LAW GROUP

PACHECO, JO-ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10013          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PACHECO, MARGIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05447          BURNS CHAREST LLP

PACHECO, NINFA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05798          LAW OFFICES OF DONALD G. NORRIS

PACHECO, RACHEAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07329          ONDERLAW, LLC

PACHECO, TRUDY                    CA - SUPERIOR COURT - TULARE COUNTY          VCU271547              BISNAR AND CHASE

PACHLA, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00930          DALIMONTE RUEB, LLP

PACHOV, ASHLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10772          THE MILLER FIRM, LLC

PACHT, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09266          ONDERLAW, LLC

PACHT, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09266          ONDERLAW, LLC

PACHT, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09266          ONDERLAW, LLC

PACHULSKI, NITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17660          NACHAWATI LAW GROUP

PACI, COLLEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17047          MORELLI LAW FIRM, PLLC




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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PACILLI, ROSEMARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07231          BURNS CHAREST LLP

PACILLI, ROSEMARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07231          BURNS CHAREST LLP

PACK, CARMALEE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

PACK, CARMALEE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

PACK, CARMALEE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

PACK, CARMALEE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

PACK, DONETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01481          ONDERLAW, LLC

PACK, MARSHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09712          JOHNSON LAW GROUP

PACKER, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10113          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PACKER, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07866          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PACKER, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00802          ROSS FELLER CASEY, LLP

PACKETT, NORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13948          NACHAWATI LAW GROUP

PACKETT, NORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09221          ONDERLAW, LLC

PACKWOOD, CHARLENE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003131-21        GOLOMB & HONIK, P.C.

PACKWOOD, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05871          WILLIAMS HART LAW FIRM

PADALINO, KRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02514          WILLIAMS HART LAW FIRM

PADELSKY, STEPHANIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01897          JOHNSON LAW GROUP

PADFIELD, LAURA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18487          THE SEGAL LAW FIRM

PADGETT, JULAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11165          NACHAWATI LAW GROUP

PADGETT, KARSANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12611          THE DIAZ LAW FIRM, PLLC

PADGETT, SHERMAN               IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

PADGETT, VERONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

PADGETT, VERONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

PADGETT, VERONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

PADILLA, ANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15852          NACHAWATI LAW GROUP

PADILLA, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10045          ONDERLAW, LLC

PADILLA, DORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11393          POTTS LAW FIRM

PADILLA, ERIC                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004609-20        WEITZ & LUXENBERG

PADILLA, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08789          ONDERLAW, LLC

PADILLA, NORMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17486          JOHNSON LAW GROUP

PADILLA, ROSE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PADILLA, ROSE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

PADILLA, ROSE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PADILLA, ROSE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

PADILLA, ROSE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

PADILLA, YOLANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09738          ONDERLAW, LLC

PADILLA-REYES, ANDREA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06829          ONDERLAW, LLC

PADIN, BETZALDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17331          MORELLI LAW FIRM, PLLC

PAFUNDI, SILVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14576          FLETCHER V. TRAMMELL

PAFUNEI, SILVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04671          ONDERLAW, LLC

PAGAN, HOPE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05446          DRISCOLL FIRM, P.C.

PAGANO, CARMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17471          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

PAGE, ANTOINETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08475          NAPOLI SHKOLNIK, PLLC

PAGE, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16448          THE MILLER FIRM, LLC

PAGE, BONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17654          NACHAWATI LAW GROUP

PAGE, CHERISH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08112          ARNOLD & ITKIN LLP

PAGE, CONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11104          WAGSTAFF & CARTMELL, LLP

PAGE, CRYSTAL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14579          DAVIS, BETHUNE & JONES, L.L.C.

PAGE, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09565          ONDERLAW, LLC

PAGE, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19006          MORGAN & MORGAN

PAGE, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16076          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAGE, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09316          ONDERLAW, LLC

PAGE, FLORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19029          NACHAWATI LAW GROUP

PAGE, JOSEPH O.                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02379-19AS       WEITZ & LUXENBERG

PAGE, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02862          ONDERLAW, LLC

PAGE, RACHEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13564          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAGE, ROBIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16244          FLETCHER V. TRAMMELL

PAGE, TAMARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09385          SANDERS VIENER GROSSMAN, LLP

PAGE, THERESA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318657             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PAGE, TINA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20482          MOTLEY RICE, LLC

PAGE, VIVIAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02841          ONDERLAW, LLC

PAGEL, ANNABELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16739          JOHNSON LAW GROUP

PAGLIA, CARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18893          NACHAWATI LAW GROUP

PAGLICCIA, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06111          ONDERLAW, LLC

PAGNANI, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12165          THE MILLER FIRM, LLC

PAGUE, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21944          JOHNSON LAW GROUP

PAIGE, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08400          ONDERLAW, LLC



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             Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

PAIGE, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12777          THE DEATON LAW FIRM

PAIGE, CORINNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09923          ONDERLAW, LLC

PAIGE, EARNESTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06219          ONDERLAW, LLC

PAIGE, JASMINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06258          ONDERLAW, LLC

PAIGE, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01902          ARNOLD & ITKIN LLP

PAIGE, SYLVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14588          ONDERLAW, LLC

PAINTER, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10558          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAINTER, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07544          ONDERLAW, LLC

PAINTER, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08534          WAGSTAFF & CARTMELL, LLP

PAINTER-IRISH, DEBORAH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09769          NACHAWATI LAW GROUP

PAIT, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15127          ARNOLD & ITKIN LLP

PAKAN, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12200          FLETCHER V. TRAMMELL

PALACIO, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11417          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PALACIOS, DINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08145          POULIN, WILLEY, ANASTOPOULO, LLC

PALACIOS, ERMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19237          NACHAWATI LAW GROUP

PALACIOS, LIZZETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18778          NACHAWATI LAW GROUP

PALACIOS, VICTORIA              CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318697             KIESEL LAW, LLP

PALACIOUS, VICTORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALACIOUS, VICTORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          ONDERLAW, LLC

PALACIOUS, VICTORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          PORTER & MALOUF, PA

PALACIOUS, VICTORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944          THE SMITH LAW FIRM, PLLC

PALADINO, JO ANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16437          ARNOLD & ITKIN LLP

PALADINO, PAULINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11384          NACHAWATI LAW GROUP

PALAFOX, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03693          JOHNSON BECKER, PLLC

PALANO, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15748          GIRARDI & KEESE

PALASCHAK, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08354          FLETCHER V. TRAMMELL

PALAZZO, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06501          BURNS CHAREST LLP

PALAZZO, COLLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02149          JOHNSON LAW GROUP

PALAZZO, JEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PALAZZO, JEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14925          LENZE LAWYERS, PLC

PALAZZO, JEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PALAZZO, JEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14925          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PALAZZO, JEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PALAZZO, ZOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05559          ONDERLAW, LLC



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              Claimant Name                         State Filed                      Docket Number                               Plaintiff Counsel

PALEPALE, LEUTU                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20087          ARNOLD & ITKIN LLP

PALERMO, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALERMO, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

PALERMO, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

PALERMO, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

PALERMO, MARLETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17045          ONDERLAW, LLC

PALETTA, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10161          GOLOMB SPIRT GRUNFELD PC

PALISOC, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09922          ONDERLAW, LLC

PALL, DEVRE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALL, DEVRE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

PALL, DEVRE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

PALL, DEVRE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

PALLAS, SAUNDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08554          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PALLETTE, MARCIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17596          ONDERLAW, LLC

PALM, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08557          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALM, TRUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13662          ONDERLAW, LLC

PALMA, DIK                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16985          ONDERLAW, LLC

PALMA, GAYLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18448          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALMAI, CAROL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-202-18           THE MILLER FIRM, LLC

PALMER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07051          BARRETT LAW GROUP

PALMER, BOBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16033          AVA LAW GROUP, INC.

PALMER, BOBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16501          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PALMER, CHARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15327          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALMER, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13612          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALMER, DAISY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08257          FLEMING, NOLEN & JEZ, LLP

PALMER, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16504          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PALMER, JAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00232          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PALMER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17651          NACHAWATI LAW GROUP

PALMER, MARCIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06328          PARKER WAICHMAN, LLP

PALMER, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05455          THE FERRARO LAW FIRM, P.A.

PALMER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALMER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19647          NACHAWATI LAW GROUP

PALMER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC




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              Claimant Name                        State Filed                          Docket Number                              Plaintiff Counsel

PALMER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276             PORTER & MALOUF, PA

PALMER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276             THE SMITH LAW FIRM, PLLC

PALMER, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01722             ASHCRAFT & GEREL

PALMER, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01722             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALMER, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12042             MORELLI LAW FIRM, PLLC

PALMER, ROSLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10661             ONDERLAW, LLC

PALMER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16845             MORELLI LAW FIRM, PLLC

PALMER, TONI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04602             JOHNSON LAW GROUP

PALMERTON, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17717             FLETCHER V. TRAMMELL

PALMORE, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01357             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALNICK, IRENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17918             ROSS FELLER CASEY, LLP

PALOMINO, APRIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04012             TRAMMELL PC

PALONE, RIKKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10829             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PALTER, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16726             CHAFFIN LUHANA LLP

PALUH, SALLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12158             ONDERLAW, LLC

PALUMBO, BETSY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10727             BLIZZARD & NABERS, LLP

PALUMBO, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02141             NAPOLI SHKOLNIK, PLLC

PALUMBO, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08348             ONDERLAW, LLC

PALUMBO, ROSEANN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000197-19           MORELLI LAW FIRM, PLLC

PALUMBO, ROSEANN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000212-19           ROSS FELLER CASEY, LLP

PALUMBO, SABRINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09223             DALIMONTE RUEB, LLP

PALUZZI, JANICE                  MA - SUPERIOR COURT - MIDDLESEX COUNTY       21-2109                   EARLY LUCARELLI SWEENEY & MEISENKOTHEN

PALUZZI, LORRAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18520             JOHNSON LAW GROUP

PAMALA RYALS                     FL - STATE                                   18-030244                 THE FERRARO LAW FIRM, P.A.

PAMALA RYALS                     FL - STATE                                   18-030244                 THE FERRARO LAW FIRM, P.A.

PAMELA COHEE                     NY - SUPREME COURT - NYCAL                   190082/2018               MEIROWITZ & WASSERBERG, LLP

PAMELA DENNIS                    FEDERAL - MDL                                3:21-CV-15647             LENZE LAWYERS, PLC

PAMELA DENNIS                    FEDERAL - MDL                                3:21-CV-15647             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PAMELA DYER                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02717             ASHCRAFT & GEREL

PAMELA DYER                      DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02717             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAMELA GALAT                     FEDERAL - MDL                                3:21-CV-15655             LENZE KAMERRER MOSS, PLC

PAMELA GALAT                     FEDERAL - MDL                                3:21-CV-15655             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PAMELA GRAHAM                    FEDERAL - MDL                                3:21-CV-19537             ONDERLAW, LLC

PAMELA HINTZ                     FEDERAL - MDL                                3:21-CV-19888             ONDERLAW, LLC



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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

PAMELA HORVATH                   FEDERAL - MDL                                3:21-CV-19618          BISNAR AND CHASE

PAMELA MONAGHAN                  FEDERAL - MDL                                3:21-CV-18854          MOTLEY RICE, LLC

PAMELA TAYLOR                    FEDERAL - MDL                                3:21-CV-19562          THE DIETRICH LAW FIRM, PC

PAMELA UTTERBACK                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15875          LENZE LAWYERS, PLC

PAMELA UTTERBACK                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15875          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

PAMELA VALENTI                   FEDERAL - MDL                                3:21-CV-18753          MOTLEY RICE, LLC

PAMELA WILLIAMS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15879          LENZE LAWYERS, PLC

PAMELA WILLIAMS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15879          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

PAMPLIN, CRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11240          NACHAWATI LAW GROUP

PAMS, LATOYIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2759-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAMS, LATOYIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2759-15          PORTER & MALOUF, PA

PAMS, LATOYIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2759-15          SEEGER WEISS LLP

PAMS, LATOYIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2759-15          THE SMITH LAW FIRM, PLLC

PAMULA MOORE                     FEDERAL - MDL                                3:21-CV-15658          LENZE LAWYERS, PLC

PAMULA MOORE                     FEDERAL - MDL                                3:21-CV-15658          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PAN, LILING                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

PAN, LILING                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681605               ONDERLAW, LLC

PAN, LILING                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ONDERLAW, LLC

PAN, LILING                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC681605               SALKOW LAW, APC

PAN, LILING                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          THE POTTS LAW FIRM, LLP

PAN, LILING                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

PANAGOS, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02192          JOHNSON LAW GROUP

PANALIGAN, ELAIZA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13330          DAVIS, BETHUNE & JONES, L.L.C.

PANARO, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09987          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PANDOLA, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09641          TRAMMELL PC

PANDOLFO, BEATRICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PANE, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18365          ONDERLAW, LLC

PANERIS, ALEXANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00396          DALIMONTE RUEB, LLP

PANFIL, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00303          FLETCHER V. TRAMMELL

PANICHELLA, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12674          MORRIS BART & ASSOCIATES

PANIZA, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09118          ONDERLAW, LLC

PANKINS, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16230          ONDERLAW, LLC

PANKONIEN, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03568          THE DEATON LAW FIRM

PANKOW, DELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09774          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PANNELL, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00389          ASHCRAFT & GEREL

PANNELL, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00389          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PANNELL, NANCY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PANNELL, NANCY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

PANNELL, NANCY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

PANNELL, NANCY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

PANNELL, NANCY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

PANNULLO, ANTONELLA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05437          ONDERLAW, LLC

PANNULLO, MAUREEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16917          ASHCRAFT & GEREL

PANNULLO, MAUREEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16917          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PANTALONE, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10791          THE MILLER FIRM, LLC

PANTERA, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02935          CELLINO & BARNES, P.C.

PANTOJA, CHRYSTAL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12888          WATERS & KRAUS, LLP

PANTOJA, PRISCILLA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10020          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PANULLO, LOIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06546          ONDERLAW, LLC

PAOLONE, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20483          JOHNSON LAW GROUP

PAONE, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10212          ARNOLD & ITKIN LLP

PAPA, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02666          HABUSH HABUSH & ROTTIER SC

PAPAGNI, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16294          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAPICH, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16953          ASHCRAFT & GEREL

PAPICH, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16953          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAPIOMITIS, CYNTHIA            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003132-21        GOLOMB & HONIK, P.C.

PAPPAS, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17597          ONDERLAW, LLC

PAPPAS, MARYANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07395          FLETCHER V. TRAMMELL

PAPPAS, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09539          JOHNSON LAW GROUP

PAPP-ROCHE, EVELYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10596          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAPP-ROCHE, EVELYN             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

PAPP-ROCHE, EVELYN             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

PAPP-ROCHE, EVELYN             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

PAQUETTE, ANDREA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

PAQUETTE, ANDREA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

PAQUETTE, ANDREA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

PARADISE, VIRGINIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06124          ONDERLAW, LLC




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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PARAISON, MAMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06379          ONDERLAW, LLC

PARANDIAN, SOUDABEH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10029          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARAS, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01240          SIMMONS HANLY CONROY

PARDASANI, VIDYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13912          THE SEGAL LAW FIRM

PARDO, KAMMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03458          MORELLI LAW FIRM, PLLC

PARDUE, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22202          ONDERLAW, LLC

PAREDES, ANNABELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12115          DALIMONTE RUEB, LLP

PAREDES, NICHOLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17635          ONDERLAW, LLC

PARENT, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09923          ONDERLAW, LLC

PARENTEAU, ROBERTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15715          ONDERLAW, LLC

PARENTI, DAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13426          NACHAWATI LAW GROUP

PARHAM, BEVERLY                  CA - SUPERIOR COURT - SANTA BARBARA          18CV03200              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARHAM, BEVERLY                  CA - SUPERIOR COURT - SANTA BARBARA          18CV03200              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PARHAM, BEVERLY                  CA - SUPERIOR COURT - SANTA BARBARA          18CV03200              THE SMITH LAW FIRM, PLLC

PARHAM, ESSILENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06307          NAPOLI SHKOLNIK, PLLC

PARHAM, LORI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06212          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARIS, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05517          ONDERLAW, LLC

PARIS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14033          FLETCHER V. TRAMMELL

PARIS, DANI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14795          LENZE LAWYERS, PLC

PARIS, DANI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14795          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PARISH, KITTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02836          ONDERLAW, LLC

PARISHER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01506          JOHNSON LAW GROUP

PARISI, CHRISTINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-266-18           COHEN, PLACITELLA & ROTH

PARISI, LYNDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000583-21        GOLOMB & HONIK, P.C.

PARISIEN, CRYSTAL                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

PARISIEN, CRYSTAL                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

PARISIEN, CRYSTAL                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

PARISIEN, CRYSTAL                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

PARISON, JENNIFER                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002482-20         GOLOMB & HONIK, P.C.

PARK, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10253          FRAZER LAW LLC

PARK, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02734          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARK, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06731          ONDERLAW, LLC

PARK, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10299          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PARK, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01808          MOTLEY RICE, LLC



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

PARKE, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10803          NACHAWATI LAW GROUP

PARKE, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15780          THE MILLER FIRM, LLC

PARKER, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05699          NACHAWATI LAW GROUP

PARKER, ALISON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00130          POTTS LAW FIRM

PARKER, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13718          FLETCHER V. TRAMMELL

PARKER, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16925          ASHCRAFT & GEREL

PARKER, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16925          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARKER, BETHANY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06621          DECOF, BARRY, MEGA & QUINN, P.C.

PARKER, BETTYE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09177          CHILDERS, SCHLUETER & SMITH, LLC

PARKER, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18901          NACHAWATI LAW GROUP

PARKER, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10465          GORI JULIAN & ASSOCIATES, P.C.

PARKER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARKER, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19244          NACHAWATI LAW GROUP

PARKER, CINDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10034          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARKER, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09650          THE MILLER FIRM, LLC

PARKER, DEANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06483          BISNAR AND CHASE

PARKER, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15529          HEYGOOD, ORR & PEARSON

PARKER, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08636          ONDERLAW, LLC

PARKER, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08447          CHILDERS, SCHLUETER & SMITH, LLC

PARKER, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11957          ONDERLAW, LLC

PARKER, EDNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11695          NACHAWATI LAW GROUP

PARKER, FREDDIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10562          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARKER, GAYLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07056          ONDERLAW, LLC

PARKER, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11096          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PARKER, IVY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10662          ONDERLAW, LLC

PARKER, JAMI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03684          SANDERS PHILLIPS GROSSMAN, LLC

PARKER, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19110          BARON & BUDD, P.C.

PARKER, JUANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08249          FLETCHER V. TRAMMELL

PARKER, JUANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02173          ONDERLAW, LLC

PARKER, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15359          SANDERS VIENER GROSSMAN, LLP

PARKER, KATIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10962          ONDERLAW, LLC

PARKER, KRISTYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14266          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARKER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19464          ARNOLD & ITKIN LLP

PARKER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06156          STRAUSS TROY CO., LPA



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            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

PARKER, LORA                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02749          ASHCRAFT & GEREL, LLP

PARKER, LORA                   DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02749          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                               CA - SUPERIOR COURT - SAN BERNARDINO
PARKER, LOWELLA                                                             CIVD618152019          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                               COUNTY
                               CA - SUPERIOR COURT - SAN BERNARDINO
PARKER, LOWELLA                                                             CIVD618152019          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                               COUNTY
                               CA - SUPERIOR COURT - SAN BERNARDINO
PARKER, LOWELLA                                                             CIVD618152019          THE SMITH LAW FIRM, PLLC
                               COUNTY
PARKER, MADELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06308          ENVIRONMENTAL LITIGATION GROUP, PC

PARKER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16517          NAPOLI SHKOLNIK, PLLC

PARKER, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05906          DALIMONTE RUEB, LLP

PARKER, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05678          ONDERLAW, LLC

PARKER, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06874          ONDERLAW, LLC

PARKER, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07552          ONDERLAW, LLC

PARKER, PENNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12302          GORI JULIAN & ASSOCIATES, P.C.

PARKER, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13694          ASHCRAFT & GEREL, LLP

PARKER, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11531          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PARKER, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05629          JOHNSON LAW GROUP

PARKER, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16376          SMITH, GILDEA & SCHMIDT LLC

PARKER, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20351          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARKER, VANESSA                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC686436               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PARKER, VARNICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11391          NACHAWATI LAW GROUP

PARKER, VENESSA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-288-15           GOLOMB SPIRT GRUNFELD PC

PARKER, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07666          BURNS CHAREST LLP

PARKER, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07666          BURNS CHAREST LLP

PARKERS, ASMODEUS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17812          REICH & BINSTOCK, LLP

PARKERSON, ODESSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17645          NACHAWATI LAW GROUP

PARKERSON, REBECCA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002657-21        WEITZ & LUXENBERG

PARKERSON-STROMAN, LUCY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19759          NACHAWATI LAW GROUP

PARKHILL, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12423          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARKHURST, VERLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13787          ONDERLAW, LLC

PARKIN, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16282          NACHAWATI LAW GROUP

PARKINSON, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00215          ONDERLAW, LLC

PARKISON, SHEILIA              CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321111             THE MILLER FIRM, LLC

PARKMAN, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01883          ONDERLAW, LLC

PARKS, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11774          MORELLI LAW FIRM, PLLC

PARKS, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09528          ONDERLAW, LLC



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              Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

PARKS, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02979            ONDERLAW, LLC

PARKS, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06626            ONDERLAW, LLC

PARKS, DONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10597            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARKS, ELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20613            ONDERLAW, LLC

PARKS, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17585            NACHAWATI LAW GROUP

PARKS, KATERIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18755            NACHAWATI LAW GROUP

PARKS, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09215            HILLIARD MARTINEZ GONZALES, LLP

PARKS, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17635            NACHAWATI LAW GROUP

PARKS, SHERLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19302            NACHAWATI LAW GROUP

PARKS-FRISKEY, GEANNIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19378            REICH & BINSTOCK, LLP

PARMAR, KOKILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19963            CELLINO & BARNES, P.C.

PARMELEE, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05404            ONDERLAW, LLC

PARMENTIER, HEIDI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01935            ONDERLAW, LLC

PARMER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00608            KAHN WIKSTROM & SININS, P.C.

PARNAGIAN, ADELTRAUD             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14364            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PARNELL, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02374            DAVIS, BETHUNE & JONES, L.L.C.

PARNELL, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10260            DRISCOLL FIRM, P.C.

PARNITZKE, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10354            ONDERLAW, LLC

PARRA, RACHAEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18590            THE SEGAL LAW FIRM

PARRAS, ANN                      CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2020-00045616-CU-MT-CTL LENZE LAWYERS, PLC

PARRIGIN, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08791            ONDERLAW, LLC

PARRILLA, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11112            ONDERLAW, LLC

PARRIOTT, JAIME                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10779            JOHNSON BECKER, PLLC

PARRIS, KENDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09004            ONDERLAW, LLC

PARRISH, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05760            ONDERLAW, LLC

PARRISH, DELCINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03117            BURNS CHAREST LLP

PARRISH, DELCINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03117            BURNS CHAREST LLP

PARRISH, GLALINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17627            NACHAWATI LAW GROUP

PARRISH, INGE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13565            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARRISH, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20267            NACHAWATI LAW GROUP

PARRISH, MARY                    CA - SUPERIOR COURT - FRESNO COUNTY          18CECG03022              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARRISH, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13090            ONDERLAW, LLC




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            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

PARRISH, MARY                  CA - SUPERIOR COURT - FRESNO COUNTY          18CECG03022            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PARRISH, MARY                  CA - SUPERIOR COURT - FRESNO COUNTY          18CECG03022            THE SMITH LAW FIRM, PLLC

PARRISH, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10017          GORI JULIAN & ASSOCIATES, P.C.

PARRISH, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10061          TRAMMELL PC

PARRISH, VERONICA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002068-21        GOLOMB & HONIK, P.C.

PARRY, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18402          MUELLER LAW PLLC

PARRY, JOANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03283          THE SIMON LAW FIRM, PC

PARSELLS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13996          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARSHALL, INGE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10038          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARSHALL, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12808          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

PARSLEY, LEANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02238          JOHNSON LAW GROUP

PARSLEY, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16530          NAPOLI SHKOLNIK, PLLC

PARSON, BETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07337          JOHNSON LAW GROUP

PARSONS, CHASTITY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07019          ONDERLAW, LLC

PARSONS, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09316          ONDERLAW, LLC

PARSONS, DORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10190          MOTLEY RICE, LLC

PARSONS, JANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11427          NACHAWATI LAW GROUP

PARSONS, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10600          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARSONS, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08300          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARSONS, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11514          DALIMONTE RUEB, LLP

PARSONS, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09885          ONDERLAW, LLC

PARSONS, LENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17417          JOHNSON LAW GROUP

PARSONS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06810          ONDERLAW, LLC

PARSONS, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17678          NACHAWATI LAW GROUP

PARSONS, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21967          FRIEDMAN RUBIN, PLLP

PARSONS, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21967          GARY C. JOHNSON P.S.C.

PARSONS, NICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09779          ONDERLAW, LLC

PARSONS, ROSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13583          DALIMONTE RUEB, LLP

PARSONS, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03862          FLETCHER V. TRAMMELL

PARSONS, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08577          ONDERLAW, LLC

PARSONS, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19892          CELLINO & BARNES, P.C.

PARSONS, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10109          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARTEE, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17687          NACHAWATI LAW GROUP




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             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PARTEN, BILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09477          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARTEN, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03867          FLETCHER V. TRAMMELL

PARTISH, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00438          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PARTON, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02174          ROSS FELLER CASEY, LLP

PARTON, RENEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08173          FLETCHER V. TRAMMELL

PARTON, RUTHANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10089          ONDERLAW, LLC

PARTRIDGE, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00391          ASHCRAFT & GEREL

PARTRIDGE, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00391          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARTRIDGE, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08976          ONDERLAW, LLC

PARTRIDGE, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08369          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PARYS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09037          JOHNSON LAW GROUP

PAS, CARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06613          ONDERLAW, LLC

PASACA, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17694          NACHAWATI LAW GROUP

PASCARELLI, GWENDOLYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11903          NACHAWATI LAW GROUP

PASCAVAGE, FRANCES              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001073-18        GOLOMB SPIRT GRUNFELD PC

PASCHALL, ELIZABETH             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           ONDERLAW, LLC

PASCHALL, ELIZABETH             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           PORTER & MALOUF, PA

PASCHALL, ELIZABETH             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042           THE SMITH LAW FIRM, PLLC

PASCHANG, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02091          GORI JULIAN & ASSOCIATES, P.C.

PASCOE, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13567          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PASCUAL, MERCEDES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15076          THE BENTON LAW FIRM, PLLC

PASCUAL, SACHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PASCUAL, SACHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PASCUAL, SACHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PASCUCCI, BEATRICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10726          MCSWEENEY/LANGEVIN, LLC

PASCUZZO, ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12785          ASHCRAFT & GEREL

PASHA, MARSHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PASHA, MARSHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           GOLDENBERGLAW, PLLC

PASHA, MARSHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           ONDERLAW, LLC

PASHA, MARSHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           PORTER & MALOUF, PA

PASHA, MARSHA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443           THE SMITH LAW FIRM, PLLC

PASKOSKI, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05858          ASHCRAFT & GEREL

PASKOSKI, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PASKOVICH, LAURETTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18783          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



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              Claimant Name                          State Filed                      Docket Number                               Plaintiff Counsel

PASOS, MARCELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19894          CELLINO & BARNES, P.C.

PASQUALE, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12522          FLEMING, NOLEN & JEZ, LLP

PASQUARELLI, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11119          ONDERLAW, LLC

PASS, DOROTHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01779          ONDERLAW, LLC

PASS, VIRGINIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03094          ONDERLAW, LLC

PASSANDER, MARILYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-09229          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

PASSIK, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11976          ASHCRAFT & GEREL, LLP

PASSIK, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11976          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PASSIO, REGINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01829          ONDERLAW, LLC

PASSMORE, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05836          DALIMONTE RUEB, LLP

PASSON, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05715          JOHNSON LAW GROUP

PASTERNACK, BEVERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07010          THE SIMON LAW FIRM, PC

PASTERNAK, MARILYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11492          POTTS LAW FIRM

PASTOR, ELAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17605          JOHNSON LAW GROUP

PASTOR, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13407          NACHAWATI LAW GROUP

PASTORE, JACLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12889          FLETCHER V. TRAMMELL

PASTORE, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10488          WILLIAMS HART LAW FIRM

PASTORI, VERONIQUE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14948          ONDERLAW, LLC

PASTOVIC, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16289          NACHAWATI LAW GROUP

PAT, KATHERINE AND PATE, ROBERT   MO - CIRCUIT COURT - CITY OF ST. LOUIS       2022-CC01119           SWMW LAW, LLC

PATAKY, MAGDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07487          ONDERLAW, LLC

PATAKY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17292          ASHCRAFT & GEREL, LLP

PATAKY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17292          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATALIK, CHERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09400          ONDERLAW, LLC

PATE, ANN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00538          MARLIN & SALTZMAN LLP

PATE, ANNETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11217          MURRAY LAW FIRM

PATE, CHRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08061          ONDERLAW, LLC

PATE, CHRISTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17361          ASHCRAFT & GEREL, LLP

PATE, CHRISTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17361          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATE, ETTA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12732          ASHCRAFT & GEREL

PATE, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17798          NACHAWATI LAW GROUP

PATE, LEIGH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11456          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PATE, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16143          NACHAWATI LAW GROUP

PATE, RUBY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15345          ONDERLAW, LLC



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               Claimant Name                         State Filed                      Docket Number                             Plaintiff Counsel

PATE, TINA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08915          ONDERLAW, LLC

PATEL, CHANDRKLEKHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05176          ONDERLAW, LLC

PATEL, JAINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09890          ONDERLAW, LLC

PATEL, NILABEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00126          POTTS LAW FIRM

PATEL, PREETY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02717          MARY ALEXANDER & ASSOCIATES, P.C.

PATEL, SUDHA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

PATEL, URMILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-07938          POTTS LAW FIRM

PATEL, USHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16186          HENINGER GARRISON DAVIS, LLC

PATEL, VAISHALI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00482          BARON & BUDD, P.C.

PATEMAN, PAULA CLAIRE             BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230700         PRESZLER LAW FIRM LLP

PATERNOSTER, ANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11193          PARKER WAICHMAN, LLP

PATINO, BLANCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12742          ASHCRAFT & GEREL

PATINO, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10354          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATISHNOCK, ROBERTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08535          ONDERLAW, LLC

PATLA, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09012          THE MILLER FIRM, LLC

PATMORE, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08339          ONDERLAW, LLC

PATOCK, CARRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13637          DAVIS, BETHUNE & JONES, L.L.C.

PATOCK, CARRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01636          JOHNSON LAW GROUP

PATRANELLA, LENORA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12847          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATRICIA DACUS                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02746          ASHCRAFT & GEREL, LLP

PATRICIA DACUS                    DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02746          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATRICIA DELVALLE                 FEDERAL - MDL                                3:21-CV-15659          LENZE KAMERRER MOSS, PLC

PATRICIA DELVALLE                 FEDERAL - MDL                                3:21-CV-15659          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PATRICIA DERANGE                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02708          ASHCRAFT & GEREL, LLP

PATRICIA DERANGE                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02708          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATRICIA DIAS                     FEDERAL - MDL                                3:21-CV-15661          LENZE KAMERRER MOSS, PLC

PATRICIA DIAS                     FEDERAL - MDL                                3:21-CV-15661          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PATRICIA GALLARNEAU               FEDERAL - MDL                                3:21-CV-19658          ONDERLAW, LLC

PATRICIA GLAZE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18459          WEITZ & LUXENBERG

PATRICIA GORDEN-OZGUL             FEDERAL - MDL                                3:21-CV-15664          LENZE LAWYERS, PLC

PATRICIA GORDEN-OZGUL             FEDERAL - MDL                                3:21-CV-15664          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PATRICIA HAMMOND                  FEDERAL - MDL                                3:21-CV-15665          LENZE LAWYERS, PLC

PATRICIA HAMMOND                  FEDERAL - MDL                                3:21-CV-15665          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PATRICIA HAYS                     FEDERAL - MDL                                3:21-CV-15666          LENZE LAWYERS, PLC



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            Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

PATRICIA HAYS                  FEDERAL - MDL                                3:21-CV-15666          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PATRICIA HOBSON                FEDERAL - MDL                                3:21-CV-19719          JOHNSON BECKER, PLLC

PATRICIA JOHNSON               FEDERAL - MDL                                3:21-CV-15668          LENZE LAWYERS, PLC

PATRICIA JOHNSON               FEDERAL - MDL                                3:21-CV-15668          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PATRICIA LEMIEUX               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17667          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PATRICIA MACK                  FEDERAL - MDL                                3:21-CV-15670          LENZE LAWYERS, PLC

PATRICIA MACK                  FEDERAL - MDL                                3:21-CV-15670          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PATRICIA PEACOCK               FEDERAL - MDL                                3:21-CV-18762          MOTLEY RICE, LLC

PATRICIA TALAMANTES            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15891          LENZE LAWYERS, PLC

PATRICIA TALAMANTES            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15891          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

PATRICIA VANDERPOOL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15904          LENZE LAWYERS, PLC

PATRICIA VANDERPOOL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15904          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

PATRICIA WHITE                 FEDERAL - MDL                                3:21-CV-19190          MOTLEY RICE, LLC

PATRICK DAVIS                  NY - SUPREME COURT - NYCAL                   190339/2016            MEIROWITZ & WASSERBERG, LLP

PATRICK, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19376          MOTLEY RICE, LLC

PATRICK, CLARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10188          ONDERLAW, LLC

PATRICK, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04922          ASHCRAFT & GEREL, LLP

PATRICK, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     03:21-CV-04922         ASHCRAFT & GEREL, LLP

PATRICK, JOLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08861          ONDERLAW, LLC

PATRICK, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16220          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PATRICK, LORI                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002465-21        WEITZ & LUXENBERG

PATRICK, LORRAINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14555          HOLLAND LAW FIRM

PATRICK, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17703          NACHAWATI LAW GROUP

PATRICK, STARLIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05586          NAPOLI SHKOLNIK, PLLC

PATRONSKI, NELLIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18980          CELLINO & BARNES, P.C.

PATTEN, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11610          KLEIN FRANK, P.C.

PATTERSON, ANNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTERSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03307          JOHNSON LAW GROUP

PATTERSON, BONNEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01129          JOHNSON LAW GROUP

PATTERSON, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00392          ASHCRAFT & GEREL

PATTERSON, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00392          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTERSON, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08818          COHEN & MALAD, LLP

PATTERSON, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08818          DELISE & HALL

PATTERSON, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08818          DELISE & HALL



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           Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PATTERSON, CECILIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10824          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTERSON, CHRISTINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15491          THE BENTON LAW FIRM, PLLC

PATTERSON, CYNTHIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18218          CELLINO & BARNES, P.C.

PATTERSON, DONNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02455          ONDERLAW, LLC

PATTERSON, EVA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00207          ASHCRAFT & GEREL

PATTERSON, EVA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00207          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTERSON, JANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03913          THE DUGAN LAW FIRM, APLC

PATTERSON, JEWELLENE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13912          ONDERLAW, LLC

PATTERSON, KARAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21730          FLETCHER V. TRAMMELL

PATTERSON, LAURA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00313          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PATTERSON, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06232          ONDERLAW, LLC

PATTERSON, LORI               CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327827             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PATTERSON, MARGARET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10606          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTERSON, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09182          TORHOERMAN LAW LLC

PATTERSON, MATTIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04601          WAGSTAFF & CARTMELL, LLP

PATTERSON, PENELOPE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05405          ONDERLAW, LLC

PATTERSON, RAHESHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17706          NACHAWATI LAW GROUP

PATTERSON, SANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17355          ASHCRAFT & GEREL, LLP

PATTERSON, SANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17355          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTERSON, SHANNON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02673          ONDERLAW, LLC

PATTERSON, SHELLEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PATTERSON, SHELLEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PATTERSON, SHELLEY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PATTERSON, SHERRILL           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20716          ONDERLAW, LLC

PATTERSON, SONYA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14207          DRISCOLL FIRM, P.C.

PATTERSON, SUSAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12456          ONDERLAW, LLC

PATTERSON, SUZANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10487          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTERSON, SUZANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18227          ONDERLAW, LLC

PATTERSON, SUZANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09271          ONDERLAW, LLC

PATTERSON, SUZANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09271          ONDERLAW, LLC

PATTERSON, SUZANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09271          ONDERLAW, LLC

PATTERSON, SUZANNE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

PATTERSON, SUZANNE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

PATTERSON, SUZANNE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC



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             Claimant Name                        State Filed                       Docket Number                               Plaintiff Counsel

PATTERSON, TIFFANY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06446          FLEMING, NOLEN & JEZ, LLP

PATTERSON, VANITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17705          NACHAWATI LAW GROUP

PATTERSON, VICKI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09902          ONDERLAW, LLC

PATTERSON, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00773          COHEN & MALAD, LLP

PATTERSON, WANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00773          NIX PATTERSON & ROACH

PATTI FORD                      FEDERAL - MDL                                3:21-CV-18335          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

PATTI WHELAN                    FEDERAL - MDL                                3:21-CV-19784          ONDERLAW, LLC

PATTI, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13600          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTI, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09414          ONDERLAW, LLC

PATTISON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15489          ASHCRAFT & GEREL, LLP

PATTISON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15489          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTIT, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00667          CELLINO & BARNES, P.C.

PATTON, BECKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19456          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTON, CALVET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09535          ONDERLAW, LLC

PATTON, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18162          ONDERLAW, LLC

PATTON, DOREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19571          NACHAWATI LAW GROUP

PATTON, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20316          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTON, JESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04681          JOHNSON LAW GROUP

PATTON, JESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09299          ONDERLAW, LLC

PATTON, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17707          NACHAWATI LAW GROUP

PATTON, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05129          POTTS LAW FIRM

PATTON, MARCELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07926          ANAPOL WEISS

PATTON, MARCELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07926          CRAIG SWAPP & ASSOCIATES

PATTON, MILDRED                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16291          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTON, PENNY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01163          MOTLEY RICE, LLC

PATTON, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07550          ASHCRAFT & GEREL, LLP

PATTON, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07550          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTON, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14476          HILLIARD MARTINEZ GONZALES, LLP

PATTON, TRACI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14621          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PATTON, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09421          MORRIS BART & ASSOCIATES

PAUGH, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13736          THE MILLER FIRM, LLC

PAUL, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20738          ARNOLD & ITKIN LLP

PAUL, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16949          ASHCRAFT & GEREL




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              Claimant Name                            State Filed                       Docket Number                            Plaintiff Counsel

PAUL, BRENDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16949          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAUL, BRENDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17708          NACHAWATI LAW GROUP

PAUL, EVA                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03308          ONDERLAW, LLC

PAUL, EVELYN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16642          CELLINO & BARNES, P.C.

PAUL, KAREN EST PATRICIA SCHILLACI   IL - CIRCUIT COURT - MADISON COUNTY          20-L-0320              MAUNE RAICHLE HARTLEY FRENCH & MUDD

PAUL, SHORINE                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002675-21        WEITZ & LUXENBERG

PAUL, SUSAN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02218          JOHNSON LAW GROUP

PAULA FAUST                          FEDERAL - MDL                                3:21-CV-19573          ONDERLAW, LLC

PAULA GARNER                         DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02721          ASHCRAFT & GEREL, LLP

PAULA GARNER                         DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02721          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAULA HORNER                         FEDERAL - MDL                                3:21-CV-19100          MOTLEY RICE, LLC

PAULA LOVETT                         FEDERAL - MDL                                3:21-CV-18731          FLETCHER V. TRAMMELL

PAULA OLSON-MARTIN                   FEDERAL - MDL                                3:21-CV-19890          ONDERLAW, LLC

PAULETTE JOSHUA                      FEDERAL - MDL                                3:21-CV-15671          LENZE LAWYERS, PLC

PAULETTE JOSHUA                      FEDERAL - MDL                                3:21-CV-15671          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PAULETTE SAUNDERS                    NJ - STATE                                   ATL-L-002665-21        NACHAWATI LAW GROUP

PAULETTE SAUNDERS                    NJ - STATE                                   ATL-L-002665-21        ZINNS LAW, LLC

PAULETTE, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02180          ONDERLAW, LLC

PAULETTI, CELINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13585          JOHNSON LAW GROUP

PAULEY, MARIANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12586          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAULEY, ROSEMARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05142          ONDERLAW, LLC

PAULEY, SHERRY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03487          THE DUGAN LAW FIRM, APLC

PAULINE HALL                         FEDERAL - MDL                                3:21-CV-19101          SULLO & SULLO, LLP

PAULING, GERALDINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16946          ASHCRAFT & GEREL

PAULING, GERALDINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAULS, ANTOINETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15049          WILLIAMS HART LAW FIRM

PAULSEN, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12054          MORELLI LAW FIRM, PLLC

PAULSON, JULIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12590          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAULSON, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09913          ONDERLAW, LLC

PAULSON, REINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19564          ONDERLAW, LLC

PAULSON, ROBERTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19357          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAULSON, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06239          ONDERLAW, LLC

PAULSON, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

PAULSON, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ONDERLAW, LLC



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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

PAULSON, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          THE POTTS LAW FIRM, LLP

PAULSON, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

PAULSON-APICELLA, BARBARA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18303          ARNOLD & ITKIN LLP

PAULUS, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07804          JOHNSON LAW GROUP

PAULY, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00216          NACHAWATI LAW GROUP

PAVANO, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08999          MORELLI LAW FIRM, PLLC

PAVEY, ANA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002136-20        GOLOMB & HONIK, P.C.

PAVEY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08070          ONDERLAW, LLC

PAVLAK, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11589          NACHAWATI LAW GROUP

PAVLIK, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09926          ONDERLAW, LLC

PAVY, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10464          ARNOLD & ITKIN LLP

PAVY, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11335          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PAWELCZYK, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15341          ONDERLAW, LLC

PAWLAK, JOEY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002676-21        WEITZ & LUXENBERG

PAWLICK, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13532          THE MILLER FIRM, LLC

PAWLICKI, KATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08318          ONDERLAW, LLC

PAWLOW, JEANETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08071          ASHCRAFT & GEREL

PAXMAN, LYNDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05124          ONDERLAW, LLC

PAXTON, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05584          ONDERLAW, LLC

PAXTON, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03144          ONDERLAW, LLC

PAXTON, TELLAR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12065          NACHAWATI LAW GROUP

PAYER, GABRIELE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05548          ONDERLAW, LLC

PAYNE, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09853          ONDERLAW, LLC

PAYNE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11583          THE MILLER FIRM, LLC

PAYNE, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21914          CHILDERS, SCHLUETER & SMITH, LLC

PAYNE, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03145          ONDERLAW, LLC

PAYNE, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09868          ONDERLAW, LLC

PAYNE, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16379          ONDERLAW, LLC

PAYNE, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12557          ONDERLAW, LLC

PAYNE, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15520          CAMPBELL & ASSOCIATES

PAYNE, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15520          FRAZER PLC

PAYNE, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06502          BURNS CHAREST LLP

PAYNE, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12617          ARNOLD & ITKIN LLP




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PAYNE, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09367          ONDERLAW, LLC

PAYNE, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07654          ONDERLAW, LLC

PAYNE, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        ONDERLAW, LLC

PAYNE, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        PORTER & MALOUF, PA

PAYNE, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01        THE SMITH LAW FIRM, PLLC

PAYNE, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10484          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAYNE, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19251          NACHAWATI LAW GROUP

PAYNE, PATSY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10614          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAYNE, SHELBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11768          NACHAWATI LAW GROUP

PAYNE, TREASA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08709          HOLLAND LAW FIRM

PAYNE, TUCHLIN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          GOLDENBERGLAW, PLLC

PAYNE, TUCHLIN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          ONDERLAW, LLC

PAYNE, TUCHLIN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          PORTER & MALOUF, PA

PAYNE, TUCHLIN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203          THE SMITH LAW FIRM, PLLC

PAYNE-THOMAS, SENNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19257          NACHAWATI LAW GROUP

PAYSON, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13019          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAYTE, LORIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01603          ONDERLAW, LLC

PAYTON, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19509          NACHAWATI LAW GROUP

PAYTON, BEATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02346          JOHNSON LAW GROUP

PAYTON, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17713          NACHAWATI LAW GROUP

PAYTON, GEZELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16931          THE MILLER FIRM, LLC

PAYTON, LEVONE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01506          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PAYTON, MALISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17454          ONDERLAW, LLC

PAYTON, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17721          NACHAWATI LAW GROUP

PAYTON, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16355          THE SEGAL LAW FIRM

PAZDUR, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20133          HAUSFELD

PAZEN, THEA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06827          ONDERLAW, LLC

PEABODY, VITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17293          ASHCRAFT & GEREL, LLP

PEABODY, VITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEACE, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17386          NACHAWATI LAW GROUP

PEACE, LEANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PEACE, LEANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PEACE, LEANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PEACE, MAGGIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08653          DAVIS, BETHUNE & JONES, L.L.C.



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PEACE, MAGGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06412          DRISCOLL FIRM, P.C.

PEACE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04428          ONDERLAW, LLC

PEACE, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20036          ONDERLAW, LLC

PEACE, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06542          DRISCOLL FIRM, P.C.

PEACH, CHRISTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13025          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

PEACH, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20437          ASHCRAFT & GEREL, LLP

PEACH, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20437          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEACOCK, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18762          MOTLEY RICE, LLC

PEACOCK, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10618          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEAK, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17601          ONDERLAW, LLC

PEAK, ROBBIN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001313-21        GOLOMB & HONIK, P.C.

PEARCE, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06567          ONDERLAW, LLC

PEARCE, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00006          ONDERLAW, LLC

PEARCE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15494          ASHCRAFT & GEREL, LLP

PEARCE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15494          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEARCE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11064          DALIMONTE RUEB, LLP

PEARL FOX                        FEDERAL - MDL                                3:21-CV-18664          FLETCHER V. TRAMMELL

PEARL, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11132          ARNOLD & ITKIN LLP

PEARLMAN, GOLDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03401          GITLIN, HORN AND VAN DE KIEFT, LLP

PEARLSTEIN, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05580          JOHNSON LAW GROUP

PEARSON, AGNES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17392          THE MILLER FIRM, LLC

PEARSON, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11319          NACHAWATI LAW GROUP

PEARSON, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21018          MUELLER LAW PLLC

PEARSON, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08289          ROSS FELLER CASEY, LLP

PEARSON, DEIRDRE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09416          NACHAWATI LAW GROUP

PEARSON, ETHEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00931          THE SEGAL LAW FIRM

PEARSON, EUGENIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEARSON, EUGENIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

PEARSON, EUGENIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA

PEARSON, EUGENIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

PEARSON, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10090          ONDERLAW, LLC

PEARSON, JOANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10892          THE MILLER FIRM, LLC

PEARSON, JOANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEARSON, JOHNNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05866          ASHCRAFT & GEREL



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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

PEARSON, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11273          ASHCRAFT & GEREL

PEARSON, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11977          ASHCRAFT & GEREL, LLP

PEARSON, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11977          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEARSON, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21229          ONDERLAW, LLC

PEARSON, LAURA                   FL - CIRCUIT COURT - PALM BEACH COUNTY       502020CA011203         OSBORNE & FRANCIS LAW FIRM PLLC

PEARSON, LELON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17736          NACHAWATI LAW GROUP

PEARSON, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05756          ONDERLAW, LLC

PEARSON, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09576          ONDERLAW, LLC

PEARSON, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00860          POTTS LAW FIRM

PEARSON, VERNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19336          NACHAWATI LAW GROUP

PEARTREE, EVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10961          ASHCRAFT & GEREL

PEARTREE, EVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10961          ONDERLAW, LLC

PEARYER, SHEILA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000091-19        MORELLI LAW FIRM, PLLC

PEASE, SHAUNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08158          LEVIN SIMES LLP

PEASLEE, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12430          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

PEAVY, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14885          NACHAWATI LAW GROUP

PECARSKY, ROSEMARIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08268          ONDERLAW, LLC

PECK, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14852          SANDERS PHILLIPS GROSSMAN, LLC

PECK, COURTNEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16321          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PECK, EDWARD                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00590          DIAMOND LAW

PECK, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08693          WILLIAMS HART LAW FIRM

PECK, SANDRA                     LA - DISTRICT COURT - CALCASIEU PARISH       2017-3179B             POURCIAU LAW FIRM, LLC

PECK, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14015          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PECK, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08254          WILSON LAW PA

PECKHAM, JOYAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02731          ONDERLAW, LLC

PECKINPAUGH, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09706          FLETCHER V. TRAMMELL

PECKINS, STEFANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08438          FLETCHER V. TRAMMELL

PECKMAN, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17494          WAGSTAFF & CARTMELL, LLP

PECORA, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17736          CELLINO & BARNES, P.C.

PECOT, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04249          ONDERLAW, LLC

PEDERSEN, CARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04829          ONDERLAW, LLC

PEDERSEN, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07936          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

PEDERSEN, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PEDERSEN, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC



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              Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

PEDERSEN, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PEDERSON, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11879          NACHAWATI LAW GROUP

PEDI, ANNA                       CA - SUPERIOR COURT - VENTURA COUNTY         56-2018-00508539       SIMMONS HANLY CONROY

PEDIGO, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09746          ONDERLAW, LLC

PEDRAZA, VERONICA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003315-21        WEITZ & LUXENBERG

PEDRONI, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08392          ONDERLAW, LLC

PEDROZA, NIDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

PEEBLES, CHEYRLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12272          THE DIAZ LAW FIRM, PLLC

PEEK, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21212          DALIMONTE RUEB, LLP

PEELER, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02702          ONDERLAW, LLC

PEEPLES, ZINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10620          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEERY, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07651          THE MILLER FIRM, LLC

PEGGY HORTON                     FEDERAL - MDL                                3:21-CV-15673          LENZE LAWYERS, PLC

PEGGY HORTON                     FEDERAL - MDL                                3:21-CV-15673          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PEGGY STRICKLAND                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

PEGLOW, AMANDA                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-05859-18AS       WEITZ & LUXENBERG

PEGUES, CHRISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09762          NACHAWATI LAW GROUP

PEHLE, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12961          ONDERLAW, LLC

PEHOWIC, AUDREY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06434          WILLIAMS HART LAW FIRM

PEINE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17265          JOHNSON LAW GROUP

PEIRCE, KARINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10033          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEIRCE, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13593          ONDERLAW, LLC

PEKAR, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05232          ONDERLAW, LLC

PELAEZ, ALFREDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17929          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PELAGIO, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01431          ARNOLD & ITKIN LLP

PELLECHIA, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05268          ASHCRAFT & GEREL

PELLEGRINI, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

PELLEGRINI, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10783          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PELLEGRINI, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PELLETIER, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09758          JOHNSON LAW GROUP

PELLETIER, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05105          THORNTON LAW FIRM

PELLETIER, ROBIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11420          THE MILLER FIRM, LLC

PELLETIER, SALLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03792          ARNOLD & ITKIN LLP

PELLMAN, JANIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17463          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                          State Filed                          Docket Number                              Plaintiff Counsel

PELT, PEGGY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11887             THE MILLER FIRM, LLC

PELTER, ISABELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20996             CELLINO & BARNES, P.C.

PELTIER, JERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10105             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PELTON, MYRNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18620             DRISCOLL FIRM, P.C.

PELTZ, JUDITH                       MA - SUPERIOR COURT - MIDDLESEX COUNTY       21-1612                   THORNTON LAW FIRM LLP

PELTZ, JUDITH AND PELTZ, BENJAMIN   MA - SUPERIOR COURT - MIDDLESEX COUNTY       21-1612                   DEAN OMAR BRANHAM, LLP

PELTZER-MCGOIE, EVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07829             ONDERLAW, LLC

PELULLO, BARBARA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000972-21           MESSA & ASSOCIATES, P.C.

PELUZZO, ANTOINETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15469             THE SEGAL LAW FIRM

PEMBERTON, KRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18141             JOHNSON LAW GROUP

PEMBERTON, TATINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02493             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PENA, BEVERLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16742             JOHNSON LAW GROUP

PENA, CHER                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03020             FLETCHER V. TRAMMELL

PENA, HELENA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17474             NACHAWATI LAW GROUP

PENA, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10865             NACHAWATI LAW GROUP

PENA, LILLIAM                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004013-20           GOLOMB & HONIK, P.C.

PENA, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20646             CELLINO & BARNES, P.C.

PENA, REYNA                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003317-21           WEITZ & LUXENBERG

PENA, ROSA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15720             ARNOLD & ITKIN LLP

PENA, ROSA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13073             JOHNSON LAW GROUP

PENA, SILVIA                        CA - SUPERIOR COURT - PLUMAS COUNTY          CVIS-00099                ASPEY, WATKINS & DIESEL, PLLC

PENA, SILVIA                        CA - SUPERIOR COURT - PLUMAS COUNTY          CVIS-00099                BURNS CHAREST LLP

PENA, SYLIVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943             BARRETT LAW GROUP, P.A.

PENA, SYLIVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943             BURNS CHAREST LLP

PENA, SYLIVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943             BURNS CHAREST LLP

PENA, SYLIVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943             GOLDENBERG HELLER & ANTOGNOLI, PC

PENA, VANESSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20089             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PENADO, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15455             JOHNSON LAW GROUP

PENAFLOR, CECILIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14770             LENZE LAWYERS, PLC

PENAFLOR, CECILIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14770             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PENALOZA, BLANCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14362             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PENCE, CHRISTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13273             MORELLI LAW FIRM, PLLC

PENCIAK, MOIRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12591             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PENDEA, ADRIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07879             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PENDER, JOAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000963-21        MORELLI LAW FIRM, PLLC

PENDER, JOAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000963-21        THE SEGAL LAW FIRM

PENDERGAST, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10477          ONDERLAW, LLC

PENDERGAST, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13195          DIAMOND LAW

PENDERGRASS, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17917          NACHAWATI LAW GROUP

PENDER-KING, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18983          WEITZ & LUXENBERG

PENDLETON, BARBARA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PENDLETON, BARBARA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

PENDLETON, BARBARA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

PENDLETON, BARBARA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

PENDLETON, GWENDOLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19161          NACHAWATI LAW GROUP

PENDLEY, GAIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08278          ONDERLAW, LLC

PENDLEY, GAIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05682          REICH & BINSTOCK, LLP

PENEDO, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14503          DALIMONTE RUEB, LLP

PENIKIS, KRISTEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13202          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PENLEY, BRITTANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08914          NAPOLI SHKOLNIK, PLLC

PENLEY, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06216          BARON & BUDD, P.C.

PENN, DIANE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           ONDERLAW, LLC

PENN, DIANE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           PORTER & MALOUF, PA

PENN, DIANE                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821           THE SMITH LAW FIRM, PLLC

PENNER, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10263          THE SEGAL LAW FIRM

PENNEY, DIANE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003096-21        WEITZ & LUXENBERG

PENNIE HITCHCOCK                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18445          JOHNSON LAW GROUP

PENNINGTON, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20002          ONDERLAW, LLC

PENNINGTON, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10757          NACHAWATI LAW GROUP

PENNINGTON, MARGUERITE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PENNINGTON, MARGUERITE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PENNINGTON, MARGUERITE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15773          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PENNINGTON, MARGUERITE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PENNINGTON, MARVETTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08791          WILLIAMS HART LAW FIRM

PENNINGTON, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13009          MORELLI LAW FIRM, PLLC

PENNY HORD                       FEDERAL - MDL                                3:21-CV-15674          LENZE LAWYERS, PLC

PENNY HORD                       FEDERAL - MDL                                3:21-CV-15674          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PENNY YESCAS                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003393-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP



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              Claimant Name                         State Filed                      Docket Number                                 Plaintiff Counsel

PENNYWELL, MARLENE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003095-21           WEITZ & LUXENBERG

PENSON, THELMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02987             JOHNSON LAW GROUP

PENTA, CECILE                    CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00982485-CU-PL-CXC ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PENTECOST, ANGLIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07959             ONDERLAW, LLC

PENTECOST, ASHLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11268             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PENTELLA, VICKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00871             ASHCRAFT & GEREL, LLP

PENTINIO, TIESHIA PEREA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02463             COHEN & MALAD, LLP

PEOPLES, MARJORIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13227             THE SEGAL LAW FIRM

PEOPLES, SHEREE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11211             THE SIMON LAW FIRM, PC

PEPIN, ELAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10407             GORI JULIAN & ASSOCIATES, P.C.

PEPIN, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16840             ASHCRAFT & GEREL, LLP

PEPIN, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443             DONALD L. SCHLAPPRIZZI P.C.

PEPIN, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443             LENZE LAWYERS, PLC

PEPIN, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PEPLINSKI, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17951             NACHAWATI LAW GROUP

PEPPER, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17965             NACHAWATI LAW GROUP

PEPPIN, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14722             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEQUENO, BERTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06342             JOHNSON LAW GROUP

PERA, CHRISTA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERA, CHRISTA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237              ONDERLAW, LLC

PERA, CHRISTA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237              THE SMITH LAW FIRM, PLLC

PERALES, MARGARITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11291             NACHAWATI LAW GROUP

PERALTA, GISELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17973             NACHAWATI LAW GROUP

PERAMAS, CARMEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12032             WEITZ & LUXENBERG

PERARCE, MELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01224             ONDERLAW, LLC

PERAULT, JOANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01146             BOUCHER LLP

PERAULT, JOANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01146             KIESEL LAW, LLP

PERAZA, LYNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00883             JOHNSON LAW GROUP

PERC, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00007             ONDERLAW, LLC

PERCHINSKY, TERRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08545             GORI JULIAN & ASSOCIATES, P.C.

PERDOMO, KINSEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02699             ONDERLAW, LLC

PERDUE, PENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01997             ONDERLAW, LLC

PEREA, NORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05954             JOHNSON LAW GROUP

PEREGRINA, FELICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07924             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

PEREGRINA, FELICIA                CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318704             KIESEL LAW, LLP

PEREGRINA, FELICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07924          ONDERLAW, LLC

PEREGRINA, FELICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07924          PORTER & MALOUF, PA

PEREGRINA, FELICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07924          THE SMITH LAW FIRM, PLLC

PEREIRA, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10624          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEREIRA, ROSY                     CA - SUPERIOR COURT - ALAMEDA COUNTY         RG17-886872            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PEREYRA, PAULINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13687          DRISCOLL FIRM, P.C.

PEREZ JR., EDUARDO                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

PEREZ, ANGELICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20143          ARNOLD & ITKIN LLP

PEREZ, ANGELITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09513          FLETCHER V. TRAMMELL

PEREZ, AWILDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20982          HOLLAND LAW FIRM

PEREZ, BELEN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002349-20        GOLOMB & HONIK, P.C.

PEREZ, BELINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13971          ONDERLAW, LLC

PEREZ, CARMEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13027          JOHNSON LAW GROUP
PEREZ, CELIA EST OF ELUTERIA
                                  TX - COUNTY COURT - HIDALGO COUNTY           CL-20-4341-B           NACHAWATI LAW GROUP
RODRIGUEZ
PEREZ, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04832          ONDERLAW, LLC

PEREZ, DAJON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04988          ONDERLAW, LLC

PEREZ, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05115          FLETCHER V. TRAMMELL

PEREZ, FRANCISCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17989          NACHAWATI LAW GROUP

PEREZ, JESENIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003442-20        SLATER, SLATER, SCHULMAN, LLP

PEREZ, KATIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19566          ASHCRAFT & GEREL, LLP

PEREZ, KATIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19566          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEREZ, LAURIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02775          JOHNSON LAW GROUP

PEREZ, LINDA                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV324505             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEREZ, LINDA                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV324505             KIESEL LAW, LLP

PEREZ, LUCILLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16562          MCSWEENEY/LANGEVIN, LLC

PEREZ, LUCILLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12485          SANDERS PHILLIPS GROSSMAN, LLC

PEREZ, MARGARITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10710          MORELLI LAW FIRM, PLLC

PEREZ, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03731          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

PEREZ, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04867          ONDERLAW, LLC

PEREZ, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00653          BURNS CHAREST LLP

PEREZ, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00653          BURNS CHAREST LLP

PEREZ, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06563          ONDERLAW, LLC




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

PEREZ, MELINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09712          ARNOLD & ITKIN LLP

PEREZ, MINERBA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002837-21        GOLOMB & HONIK, P.C.

PEREZ, MONICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18493          JOHNSON LAW GROUP

PEREZ, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04712          THE MILLER FIRM, LLC

PEREZ, NIDIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000433-19        THE MILLER FIRM, LLC

PEREZ, NILDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16290          THE BENTON LAW FIRM, PLLC

PEREZ, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13949          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PEREZ, RUBYANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12049          MORELLI LAW FIRM, PLLC

PEREZ, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06211          WATERS & KRAUS, LLP

PEREZ, SOPHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00063          ONDERLAW, LLC

PEREZ, SUSAN AND PEREZ, ERNESTO   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00838-20AS       WEITZ & LUXENBERG

PEREZ, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21337          KIESEL LAW, LLP

PEREZ, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21337          LAW OFFICE OF HAYTHAM FARAJ

PEREZ, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21337          MARTINIAN & ASSOCIATES, INC.

PEREZ, TRINI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08063          THE ENTREKIN LAW FIRM

PEREZ, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07003          HOLLAND LAW FIRM

PEREZ-HUDSON, GABRIELA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05482          ONDERLAW, LLC

PEREZ-MATOS, CECILIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02536          BURNS CHAREST LLP

PEREZ-MATOS, CECILIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02536          BURNS CHAREST LLP

PEREZ-VALDEZ, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03457          MORELLI LAW FIRM, PLLC

PERICHT, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14479          DALIMONTE RUEB, LLP

PERIDORE, MICKAEL                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1959-16          ASHCRAFT & GEREL

PERIDORE, MICKAEL                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1959-16          GOLOMB SPIRT GRUNFELD PC

PERIGO, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01645          ONDERLAW, LLC

PERIMAN, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03165          JOHNSON LAW GROUP

PERKIN, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06795          THE ENTREKIN LAW FIRM

PERKINS, ALYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERKINS, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03808          ONDERLAW, LLC

PERKINS, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16202          NACHAWATI LAW GROUP

PERKINS, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11744          SILL LAW GROUP, PLLC

PERKINS, CARRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09124          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERKINS, DARYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06594          BURNS CHAREST LLP

PERKINS, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03015          FLETCHER V. TRAMMELL




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              Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

PERKINS, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2849-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERKINS, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2849-15          PORTER & MALOUF, PA

PERKINS, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2849-15          SEEGER WEISS LLP

PERKINS, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2849-15          THE SMITH LAW FIRM, PLLC

PERKINS, EDNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16963          ONDERLAW, LLC

PERKINS, FAYE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18052          NACHAWATI LAW GROUP

PERKINS, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02884          JASON J. JOY & ASSCIATES P.L.L.C.

PERKINS, JAMESETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19601          NACHAWATI LAW GROUP

PERKINS, JEANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03005          BERNSTEIN LIEBHARD LLP

PERKINS, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09691          GORI JULIAN & ASSOCIATES, P.C.

PERKINS, JESSICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11304          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PERKINS, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08083          DAVIS, BETHUNE & JONES, L.L.C.

PERKINS, JUNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10985          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PERKINS, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14899          ASHCRAFT & GEREL

PERKINS, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11863          LAW OFF OF ROGER 'ROCKY' WALTON, PC

PERKINS, LADAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11065          JOHNSON BECKER, PLLC

PERKINS, LILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01236          GORI JULIAN & ASSOCIATES, P.C.

PERKINS, MARIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09741          ONDERLAW, LLC

PERKINS, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02371          ROSS FELLER CASEY, LLP

PERKINS, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05967          JOHNSON LAW GROUP

PERKINS, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09316          ONDERLAW, LLC

PERKINS, PATRICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18085          ARNOLD & ITKIN LLP

PERKINS, PEARLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18287          ARNOLD & ITKIN LLP

PERKINS, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01942          ONDERLAW, LLC

PERKINS, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13960          FLETCHER V. TRAMMELL

PERKINSON, TAMAR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PERKINSON, TAMAR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PERKINSON, TAMAR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PERKINS-TAYLOR, TRENETTE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17413          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERKOLA, CAROLYN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002182-20        GOLOMB & HONIK, P.C.

PERKOLA, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06835          HEYGOOD, ORR & PEARSON

PERKS, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21702          FLETCHER V. TRAMMELL

PERKS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11755          MOTLEY RICE, LLC




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PERL, ROSEMARIE                   NY - SUPREME COURT - NYCAL                   190087/2021            WEITZ & LUXENBERG

PERLMAN, ALYSE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001117-21        GOLOMB & HONIK, P.C.

PERLMAN, ALYSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14702          LENZE LAWYERS, PLC

PERLMAN, ALYSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14702          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PERLMAN, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10153          ONDERLAW, LLC

PERLMAN, SARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18056          NACHAWATI LAW GROUP

PERLOFF, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17466          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERMAUL, CHUNAWATTIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09581          DALIMONTE RUEB, LLP

PERMENTER, DARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18440          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERNYESZI, JOLANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18070          NACHAWATI LAW GROUP

PERO, ADELYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10335          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PERRAULT, SHELIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10657          NACHAWATI LAW GROUP

PERREIRA, MEGHAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05057          ONDERLAW, LLC

PERRERO, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18225          ARNOLD & ITKIN LLP

PERRI, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09317          ONDERLAW, LLC

PERRIN, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04868          JOHNSON LAW GROUP

PERRINO, LAMAYI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09819          FLETCHER V. TRAMMELL

PERRONE, MICHELE                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02737          ASHCRAFT & GEREL

PERRONE, MICHELE                  DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02737          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRONE-SIMON, PEGGY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19265          NACHAWATI LAW GROUP

PERROTT, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08184          GORI JULIAN & ASSOCIATES, P.C.

PERROTTA, RONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19475          SULLO & SULLO, LLP

PERROTTO, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13626          CORY, WATSON, CROWDER & DEGARIS P.C.

PERROTTO, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10579          DALIMONTE RUEB, LLP

PERRY, ALMETRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10988          ONDERLAW, LLC

PERRY, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12559          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12580          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

PERRY, CARRIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08738          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11188          NACHAWATI LAW GROUP

PERRY, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06473          ONDERLAW, LLC

PERRY, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12408          ONDERLAW, LLC

PERRY, DEBORAH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, DEBORAH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

PERRY, DEBORAH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC



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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PERRY, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14820          LENZE LAWYERS, PLC

PERRY, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14820          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PERRY, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01294          ASHCRAFT & GEREL

PERRY, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01294          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, DOROTHY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, DOROTHY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

PERRY, DOROTHY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

PERRY, DOROTHY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

PERRY, EARNESTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15399          ONDERLAW, LLC

PERRY, ELLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11978          ASHCRAFT & GEREL, LLP

PERRY, ELLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11978          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10823          ASHCRAFT & GEREL, LLP

PERRY, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15058          WILLIAMS HART LAW FIRM

PERRY, JOQUAYLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05631          ONDERLAW, LLC

PERRY, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00762          ONDERLAW, LLC

PERRY, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00325          NAPOLI SHKOLNIK, PLLC

PERRY, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08770          ONDERLAW, LLC

PERRY, JULIETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08277          SANDERS VIENER GROSSMAN, LLP

PERRY, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11163          GOLDENBERGLAW, PLLC

PERRY, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04056          ONDERLAW, LLC

PERRY, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18063          THE MILLER FIRM, LLC

PERRY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15027          SANDERS VIENER GROSSMAN, LLP

PERRY, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12381          DAVIS, BETHUNE & JONES, L.L.C.

PERRY, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13728          ROSS FELLER CASEY, LLP

PERRY, LOUISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03975          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, LUCRETIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16433          ARNOLD & ITKIN LLP

PERRY, MARCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06303          NAPOLI SHKOLNIK, PLLC

PERRY, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18075          NACHAWATI LAW GROUP

PERRY, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09085          ONDERLAW, LLC

PERRY, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07551          ASHCRAFT & GEREL, LLP

PERRY, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07551          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, PATSY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10636          WATERS & KRAUS, LLP

PERRY, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12560          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, ROBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17526          NACHAWATI LAW GROUP



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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PERRY, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11658          DAVIS, BETHUNE & JONES, L.L.C.

PERRY, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02785          THE MILLER FIRM, LLC

PERRY, SHANNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08887          ONDERLAW, LLC

PERRY, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17604          ONDERLAW, LLC

PERRY, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15496          ASHCRAFT & GEREL, LLP

PERRY, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15496          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERRY, SUZANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12513          JOHNSON BECKER, PLLC

PERRY, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02194          FLETCHER V. TRAMMELL

PERRY, TREVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12371          ONDERLAW, LLC

PERSAUD, DEOMATTIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08366          JOHNSON LAW GROUP

PERSICHILLI, DENISE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17590          NACHAWATI LAW GROUP

PERSICK, EDNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08678          ONDERLAW, LLC

PERSICO, ASHLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06408          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

PERSINGER, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00754          LEVIN SIMES LLP

PERSON, DEEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16916          ASHCRAFT & GEREL

PERSON, DEEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERSON, JANESE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06644          LAW OFFICES OF SEAN M. CLEARY

PERSON, TRANETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20218          THE SEGAL LAW FIRM

PERSONS, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08942          BARON & BUDD, P.C.

PERTEETE, ANNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12569          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERU, DELORES                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERU, DELORES                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          ONDERLAW, LLC

PERU, DELORES                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          PORTER & MALOUF, PA

PERU, DELORES                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792          THE SMITH LAW FIRM, PLLC

PERULLO, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14481          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PERVENANZE, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15771          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PESCITELLI, BARBARA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11365          NACHAWATI LAW GROUP

PESICEK, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09910          MOTLEY RICE, LLC

PESICKA, ALMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05956          NAPOLI SHKOLNIK, PLLC

PESTELL, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06203          ONDERLAW, LLC

PETALOUS, SHARON               CA - SUPERIOR COURT - KERN COUNTY            BCV-17-102563          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETER RUPPEL                   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

PETER, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05287          ONDERLAW, LLC

PETERS, ANTONIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15063          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



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               Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel

PETERS, APRIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13631          DALIMONTE RUEB, LLP

PETERS, ARLYS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13601          NAPOLI SHKOLNIK, PLLC

PETERS, BELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERS, BELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          GOLDENBERGLAW, PLLC

PETERS, BELINDA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318705             KIESEL LAW, LLP

PETERS, BELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          ONDERLAW, LLC

PETERS, BELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          PORTER & MALOUF, PA

PETERS, BELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00790          THE SMITH LAW FIRM, PLLC

PETERS, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11257          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PETERS, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06558          MARLIN & SALTZMAN LLP

PETERS, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00008          ONDERLAW, LLC

PETERS, CORINNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00225          NACHAWATI LAW GROUP

PETERS, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00075          ASHCRAFT & GEREL

PETERS, ERIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14203          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PETERS, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11818          NACHAWATI LAW GROUP

PETERS, JOELENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12124          FLETCHER V. TRAMMELL

PETERS, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13131          JOHNSON LAW GROUP

PETERS, JUNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18908          NACHAWATI LAW GROUP

PETERS, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12480          JOHNSON BECKER, PLLC

PETERS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09939          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERS, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07359          THE MILLER FIRM, LLC

PETERS, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02804          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

PETERS, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10030          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERS, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19882          NACHAWATI LAW GROUP

PETERSEN, GARNETT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09435          WILLIAMS HART LAW FIRM

PETERSEN, INHTA                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERSEN, INHTA                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           PORTER & MALOUF, PA

PETERSEN, INHTA                   MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893           THE SMITH LAW FIRM, PLLC

PETERSEN, JANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01971          ONDERLAW, LLC

PETERSEN, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00892          MOTLEY RICE, LLC

PETERSEN, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12573          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERSEN, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06389          FLETCHER V. TRAMMELL

PETERSEN, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01135          HEYGOOD, ORR & PEARSON

PETERSON, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14411          CELLINO & BARNES, P.C.



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            Claimant Name                            State Filed                      Docket Number                            Plaintiff Counsel

PETERSON, ANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02041          CELLINO & BARNES, P.C.

PETERSON, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00260          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERSON, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09891          ONDERLAW, LLC

PETERSON, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09639          ONDERLAW, LLC

PETERSON, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14778          LENZE LAWYERS, PLC

PETERSON, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14778          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PETERSON, CINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11292          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERSON, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01395          NAPOLI SHKOLNIK, PLLC

PETERSON, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18560          DRISCOLL FIRM, P.C.

PETERSON, DELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02743          BURNS CHAREST LLP

PETERSON, DELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02743          BURNS CHAREST LLP

PETERSON, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002350-20        GOLOMB & HONIK, P.C.
PETERSON, DREW EST OF D & L
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-01957-18AS       WEITZ & LUXENBERG
PETERSON
PETERSON, JANET                   CA - SUPERIOR COURT - BUTTE COUNTY           17CV02548              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERSON, JANET                   CA - SUPERIOR COURT - BUTTE COUNTY           17CV02548              KIESEL LAW, LLP

PETERSON, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05740          NAPOLI SHKOLNIK, PLLC

PETERSON, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17642          NACHAWATI LAW GROUP

PETERSON, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09018          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERSON, KARIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10155          ONDERLAW, LLC

PETERSON, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19274          NACHAWATI LAW GROUP

PETERSON, LILIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06104          ONDERLAW, LLC

PETERSON, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17656          NACHAWATI LAW GROUP

PETERSON, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06997          THE SIMON LAW FIRM, PC

PETERSON, LORIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14269          ASHCRAFT & GEREL, LLP

PETERSON, LORIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14269          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERSON, LYDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12626          ANDREW THORNTON HIGGINS RAZMARA LLP

PETERSON, LYNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09142          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERSON, MARILEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09028          MOTLEY RICE, LLC

PETERSON, MARJORIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21523          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
PETERSON, MATTHEW RE: DR. GREGG
                                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1922-CC11161           FLINT LAW FIRM LLC
PETERSON
PETERSON, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09472          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETERSON, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18754          MCSWEENEY/LANGEVIN, LLC

PETERSON, OLGA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10697          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                           State Filed                      Docket Number                             Plaintiff Counsel

PETERSON, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11360          NACHAWATI LAW GROUP

PETERSON, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14423          DALIMONTE RUEB, LLP

PETERSON, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02418          ONDERLAW, LLC

PETERSON, PAULETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11497          BARRETT LAW GROUP

PETERSON, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08490          FLETCHER V. TRAMMELL

PETERSON, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10664          ONDERLAW, LLC

PETERSON, STANLEY                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03435-18AS       THE EARLY FIRM, LLC
PETERSON, STANLEY & PETERSON,
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-03435-18AS       DEAN OMAR BRANHAM, LLP
DEBBY
PETERSON, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00746          COHEN & MALAD, LLP

PETERSON, VICKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04720          ASHCRAFT & GEREL

PETERSON, VICKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETETANT, COURTNEY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002677-21        WEITZ & LUXENBERG

PETKA, ANNE                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000654-18        GOLOMB SPIRT GRUNFELD PC

PETRACO, CAROL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2405-17          GOLOMB SPIRT GRUNFELD PC

PETREDIS, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12575          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETRICCIOLLI, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03195          ONDERLAW, LLC

PETRIDES, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04870          PARKER WAICHMAN LLP

PETRIE, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01159          GORI JULIAN & ASSOCIATES, P.C.

PETRIE, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11150          ONDERLAW, LLC

PETRO, BONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02649          LAW OFFICES OF PETER G ANGELOS, PC

PETRO, NORMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04768          ONDERLAW, LLC

PETROFF, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15498          ASHCRAFT & GEREL, LLP

PETROFF, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15498          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETRONE, KATHLEEN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-162416           COHEN, PLACITELLA & ROTH

PETRONE, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2635-L           ROSS FELLER CASEY, LLP

PETROSINO, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21977          CELLINO & BARNES, P.C.

PETROSKY, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08234          CRAIG SWAPP & ASSOCIATES

PETROSYAN, YERANUHI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08550          DAVIS, BETHUNE & JONES, L.L.C.

PETROVANI, NICOLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13572          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETROVANI, NICOLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20710          ONDERLAW, LLC

PETROVEY, LORRAINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETROVEY, LORRAINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           ONDERLAW, LLC

PETROVEY, LORRAINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           PORTER & MALOUF, PA




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PETROVEY, LORRAINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872           THE SMITH LAW FIRM, PLLC

PETRUCCI, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17298          BURNS CHAREST LLP

PETRUCELLI, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04781          THE BENTON LAW FIRM, PLLC

PETRUCELLI-SWITZER, TRACEY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08364          NACHAWATI LAW GROUP

PETRUS, PAMELA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001400-21        NACHAWATI LAW GROUP

PETRUS, PAMELA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001400-21        ZINNS LAW, LLC

PETRY, JAMIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04395          ONDERLAW, LLC

PETT, ANN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15298          CELLINO & BARNES, P.C.

PETTAWAY, SONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01502          ASHCRAFT & GEREL

PETTAWAY, SONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01502          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETTI, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13755          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETTI, ROSEMARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11340          LEVIN SIMES LLP

PETTIES, DEZBA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03147          ONDERLAW, LLC

PETTIGREW, ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16438          JOHNSON LAW GROUP

PETTIGREW, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04122          JOHNSON LAW GROUP

PETTIGREW, DANNETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03869          VENTURA LAW

PETTIS, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02968          CHILDERS, SCHLUETER & SMITH, LLC

PETTIT, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETTIT, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          ONDERLAW, LLC

PETTIT, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          PORTER & MALOUF, PA

PETTIT, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276          THE SMITH LAW FIRM, PLLC

PETTITT, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17744          NACHAWATI LAW GROUP

PETTS, PATSY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11757          NACHAWATI LAW GROUP

PETTUS, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17570          NACHAWATI LAW GROUP

PETTWAY, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00397          ASHCRAFT & GEREL

PETTWAY, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00397          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETTWAY, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17698          NACHAWATI LAW GROUP

PETTWAY, TASHA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-255-15           GOLOMB SPIRT GRUNFELD PC

PETTY, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11745          ARNOLD & ITKIN LLP

PETTY, GABRIELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16224          CELLINO & BARNES, P.C.

PETTY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12495          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PETTY, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09376          ROSS FELLER CASEY, LLP

PETTY, RUBY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15645          ONDERLAW, LLC




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              Claimant Name                             State Filed                      Docket Number                            Plaintiff Counsel

PETTY, SANDRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16098          ONDERLAW, LLC

PETTY-OLSON, DARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00184          JOHNSON LAW GROUP

PEUGH, PATRICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12001          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PEVETO, PATSY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00060          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PFEFFER, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00751          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PFEFFER, MARSHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12276          WILLIAMS HART LAW FIRM

PFEIFER, JOAN                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919           ONDERLAW, LLC

PFEIFER, PATRINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PFEIFER, PATRINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PFEIFER, PATRINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PFEIFFER, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11684          THE MILLER FIRM, LLC

PFEIFFER, DANIELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03487          ONDERLAW, LLC

PFEIFFER, DAWN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16849          PARKER WAICHMAN, LLP

PFEIFFER, ELLEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09435          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PFEIFFER, TAMMY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002485-20         GOLOMB & HONIK, P.C.

PFIFER, ALLYSON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05869          ASHCRAFT & GEREL

PFIFER, ALLYSON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05869          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PFISTER, PEGGY ESTATE OF NANCY ANN   IN - SUPERIOR COURT - MARION COUNTY          49D13-2108-MI-029127   DEAN OMAR BRANHAM, LLP

PFRENZINGER, HARRIET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05110          ONDERLAW, LLC

PHALEN, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13104          HABUSH HABUSH & ROTTIER SC

PHANNENSTIEL, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17593          NACHAWATI LAW GROUP

PHANOR, LOU                          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002497-20        GOLOMB & HONIK, P.C.

PHEIFER, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08220          THE DUGAN LAW FIRM, APLC

PHELPS, CARLEEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11205          NACHAWATI LAW GROUP

PHELPS, CONNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12740          DALIMONTE RUEB, LLP

PHELPS, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00067          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PHELPS, PAMELA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02935          ONDERLAW, LLC

PHELPS, RONDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15110          ARNOLD & ITKIN LLP

PHELPS, RONDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18487          ONDERLAW, LLC

PHILEMON, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11644          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

PHILLIP, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13132          NACHAWATI LAW GROUP

PHILLIPPE, JESSICA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002959-21        WEITZ & LUXENBERG

PHILLIPPELLO, ELISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10548          MORRIS BART & ASSOCIATES

PHILLIPS, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06423          ONDERLAW, LLC



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             Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PHILLIPS, ARNELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14360          THE SEGAL LAW FIRM

PHILLIPS, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16144          NACHAWATI LAW GROUP

PHILLIPS, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00358          ONDERLAW, LLC

PHILLIPS, BEVERLY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2663-17          KEEFE BARTELS

PHILLIPS, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14986          ONDERLAW, LLC

PHILLIPS, CHERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14774          LENZE LAWYERS, PLC

PHILLIPS, CHERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18933          NACHAWATI LAW GROUP

PHILLIPS, CHERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08114          ONDERLAW, LLC

PHILLIPS, CHERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14774          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PHILLIPS, CONNIE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002351-20        GOLOMB & HONIK, P.C.

PHILLIPS, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03484          ONDERLAW, LLC

PHILLIPS, DANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14445          ASHCRAFT & GEREL

PHILLIPS, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19894          ONDERLAW, LLC

PHILLIPS, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05011          JOHNSON LAW GROUP

PHILLIPS, DESTINI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10925          ASHCRAFT & GEREL, LLP

PHILLIPS, DIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00381          FLETCHER V. TRAMMELL

PHILLIPS, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10746          NACHAWATI LAW GROUP

PHILLIPS, EDWARD                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291              NAPOLI SHKOLNIK, PLLC

PHILLIPS, EMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01499          ONDERLAW, LLC

PHILLIPS, ERIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00687          WILLIAMS HART LAW FIRM

PHILLIPS, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19017          NACHAWATI LAW GROUP

PHILLIPS, FAYE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08514          ONDERLAW, LLC

PHILLIPS, GERALDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06485          ONDERLAW, LLC

PHILLIPS, GERALDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13249          THE MILLER FIRM, LLC

PHILLIPS, IRENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07745          ONDERLAW, LLC

PHILLIPS, IRENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04271          ONDERLAW, LLC

PHILLIPS, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16644          ASHCRAFT & GEREL

PHILLIPS, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16644          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PHILLIPS, JOANN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PHILLIPS, JOANN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

PHILLIPS, JOANN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

PHILLIPS, JODI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05871          ASHCRAFT & GEREL

PHILLIPS, JODI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05871          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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             Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

PHILLIPS, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12674          DRISCOLL FIRM, P.C.

PHILLIPS, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13112          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PHILLIPS, KIM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03185          GORI JULIAN & ASSOCIATES, P.C.

PHILLIPS, LESLEYANN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12947          PAUL LLP

PHILLIPS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17934          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PHILLIPS, LORILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08221          THE DUGAN LAW FIRM, APLC

PHILLIPS, LORINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04740          DRISCOLL FIRM, P.C.

PHILLIPS, LOUISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00009          ONDERLAW, LLC

PHILLIPS, MAE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17329          MORELLI LAW FIRM, PLLC

PHILLIPS, MARCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10463          GOLDENBERGLAW, PLLC

PHILLIPS, MARCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07786          THE DIAZ LAW FIRM, PLLC

PHILLIPS, MARJORIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14254          HOLLAND LAW FIRM

PHILLIPS, MARY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-428-18           KEEFE BARTELS

PHILLIPS, MARY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-428-18           LAW OFFICE OF GRANT D. AMEY, LLC

PHILLIPS, MELDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04637          ONDERLAW, LLC

PHILLIPS, MESHI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09927          ONDERLAW, LLC

PHILLIPS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18786          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PHILLIPS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PHILLIPS, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20297          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PHILLIPS, ROBYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01570          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

PHILLIPS, ROBYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15334          ONDERLAW, LLC

PHILLIPS, ROSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00481          THE SEGAL LAW FIRM

PHILLIPS, ROXANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02313          JOHNSON LAW GROUP

PHILLIPS, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03976          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PHILLIPS, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10651          ONDERLAW, LLC

PHILLIPS, TAMI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08349          ONDERLAW, LLC

PHILLIPS, TARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00192          NACHAWATI LAW GROUP

PHILLIPS, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17741          NACHAWATI LAW GROUP

PHILLIPS, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02037          ONDERLAW, LLC

PHILLIPS, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00699          BURNS CHAREST LLP

PHILLIPS, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00699          BURNS CHAREST LLP

PHILLIPS, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14520          SALVI, SCHOSTOK & PRITCHARD P.C.

PHILLIPS, WILLORA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04750          ASHCRAFT & GEREL

PHILLIPS, WILLORA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04750          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                         State Filed                      Docket Number                            Plaintiff Counsel

PHILLIPS, WILMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07908          ONDERLAW, LLC

PHILLIPS-COX, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19793          NACHAWATI LAW GROUP

PHILPOT, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14095          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PHIPPEN, PATSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00399          ASHCRAFT & GEREL

PHIPPEN, PATSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00399          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PHIPPS, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02405          HOVDE, DASSOW, & DEETS, LLC

PHIPPS, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02405          THE MILLER FIRM, LLC

PHIPPS, LIZA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05174          JOHNSON LAW GROUP

PHIPPS, LIZA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05174          LEVIN SIMES LLP

PHIPPS, LORRAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10964          NACHAWATI LAW GROUP

PHIPPS, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17663          NACHAWATI LAW GROUP

PHYLLIS ETTINGER                  FEDERAL - MDL                                3:21-CV-19204          REICH & BINSTOCK, LLP

PHYLLIS FARROW                    FEDERAL - MDL                                3:21-CV-19884          ONDERLAW, LLC

PHYLLIS KENNEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18314          ONDERLAW, LLC

PIACENZA, LORIN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002557-20        GOLOMB & HONIK, P.C.

PIASCIK, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12056          MORELLI LAW FIRM, PLLC

PIASCZYK, EROLETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03391          ONDERLAW, LLC

PIATT-RUTLEDGE, SHANNON           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002           ONDERLAW, LLC

PIAZZA, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09423          MORRIS BART & ASSOCIATES

PICARDI, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09425          BURNS CHAREST LLP

PICCIANO, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04424          ONDERLAW, LLC

PICCIRILLO, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15674          NACHAWATI LAW GROUP

PICCOLO, NANCY                    NY - SUPREME COURT - NYCAL                   190090/2020            LEVY KONIGSBERG LLP

PICHARDO, HUMBERTO                NY - SUPREME COURT - NYCAL                   190151/2018            MEIROWITZ & WASSERBERG, LLP

PICHARDO, HUMBERTO                NY - SUPREME COURT - NYCAL                   190151/2018            MEIROWITZ & WASSERBERG, LLP

PICKAR, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06137          THE ENTREKIN LAW FIRM

PICKARD, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04882          ONDERLAW, LLC

PICKARD, MILAGROS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20447          ASHCRAFT & GEREL, LLP

PICKARD, MILAGROS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20447          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PICKETT, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05688          REICH & BINSTOCK, LLP

PICKETT, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02741          THE SEGAL LAW FIRM

PICKETT, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09856          WILLIAMS HART LAW FIRM

PICKETT, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11099          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PICKLE, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-12872          ARNOLD & ITKIN LLP



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                Claimant Name                           State Filed                      Docket Number                              Plaintiff Counsel

PICKLE, MARY                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PICKLE, MARY                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          GOLDENBERGLAW, PLLC

PICKLE, MARY                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          ONDERLAW, LLC

PICKLE, MARY                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          PORTER & MALOUF, PA

PICKLE, MARY                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837          THE SMITH LAW FIRM, PLLC
                                     SC - COURT OF COMMON PLEAS - RICHLAND
PICKLESIMER, ROBERT                                                               2020CP4002868          KASSEL MCVEY
                                     COUNTY
                                     SC - COURT OF COMMON PLEAS - RICHLAND
PICKLESIMER, ROBERT & PICKLESIMER,                                                2020CP4002868          DEAN OMAR BRANHAM, LLP
                                     COUNTY
PICKNEY, DOROTHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05653          BURNS CHAREST LLP

PICONE, MARIA                        CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC699887               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

PICOU, CINDY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00838          COHEN & MALAD, LLP

PICOU, CINDY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00838          DELISE & HALL

PICOU, GLENDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00925          MORRIS BART & ASSOCIATES

PICOU, ROSE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11884          THE MILLER FIRM, LLC

PIECH, SANDRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00634          GORI JULIAN & ASSOCIATES, P.C.

PIECORO-HEATON, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10098          PARKER WAICHMAN, LLP

PIEFER, SUE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13548          LENZE LAWYERS, PLC

PIEKANSKI, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12837          POGUST BRASLOW & MILLROOD, LLC

PIEKLIK, SUZANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16778          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PIEL, DORCAS                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08825          ONDERLAW, LLC

PIELACH, CONCETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10528          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIEPER, KELLY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04348          ONDERLAW, LLC

PIEPER, VICKI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PIEPER, VICKI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PIEPER, VICKI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PIERCE, CAROL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16505          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PIERCE, DEANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09578          ONDERLAW, LLC

PIERCE, ESSIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09941          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIERCE, JOYCE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17324          ASHCRAFT & GEREL, LLP

PIERCE, JOYCE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17324          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIERCE, JULIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16506          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PIERCE, KATHY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06594          ONDERLAW, LLC

PIERCE, LETITIA                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321202             THE MILLER FIRM, LLC

PIERCE, MARION                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03750          THE PENTON LAW FIRM

PIERCE, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07719          NACHAWATI LAW GROUP



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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

PIERCE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10892          ONDERLAW, LLC

PIERCE, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00927          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PIERCE, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05849          ONDERLAW, LLC

PIERCE, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16600          WATERS & KRAUS, LLP

PIERCE, SHANIKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18763          NACHAWATI LAW GROUP

PIERCE, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00688          BURNS CHAREST LLP

PIERCE, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00688          BURNS CHAREST LLP

PIERCE, SHARYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04244          ONDERLAW, LLC

PIERCE, SONDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02259          JOHNSON BECKER, PLLC

PIERCE, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05726          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PIERCE, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19834          NACHAWATI LAW GROUP

PIERCE-FITZGERALD, RENETTA        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003204-21        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

PIERCEY, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PIERCEY, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14937          LENZE LAWYERS, PLC

PIERCEY, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PIERCEY, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14937          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PIERCEY, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PIERI, PAULINE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002352-20        GOLOMB & HONIK, P.C.

PIERRE-LOUISE, GLYNIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05122          FLETCHER V. TRAMMELL

PIERSON, PORTIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13024          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIESCHEK, DAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14124          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PIETRON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06242          WILLIAMS HART LAW FIRM

PIETRUSZKA, MARTA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001470-18        GOLOMB SPIRT GRUNFELD PC

PIETSCH, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16154          ONDERLAW, LLC

PIETZKE, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19139          ONDERLAW, LLC

PIETZKE-WITMER, SILVIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04244          COHEN, PLACITELLA & ROTH

PIFER, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09819          SANDERS VIENER GROSSMAN, LLP

PIGG, KATHY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09143          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIGNATELLI, DELANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00862          ASHCRAFT & GEREL

PIGNATELLI, DELANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00862          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIKE, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12066          MORELLI LAW FIRM, PLLC

PIKE, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10669          BLIZZARD & NABERS, LLP




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

PIKE, TAMMARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00749          COHEN & MALAD, LLP

PIKUL, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15499          ASHCRAFT & GEREL, LLP

PIKUL, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15499          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIKULA, TERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13522          DRISCOLL FIRM, P.C.

PILAKINGTON, TAMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PILAKINGTON, TAMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PILAKINGTON, TAMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PILAPIL, JOCELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10841          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

PILCH, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07274          WAGSTAFF & CARTMELL, LLP

PILCHER, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12255          CELLINO & BARNES, P.C.

PILCHER, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08022          ONDERLAW, LLC

PILE, ELEANOR                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09618          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PILEGARD, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PILEGARD, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PILEGARD, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PILIPOVICH, JOANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12521          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

PILKINGTON, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09385          ONDERLAW, LLC

PILLE, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00010          ONDERLAW, LLC

PILLEN, AMIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11219          NACHAWATI LAW GROUP

PILLERS, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13389          NACHAWATI LAW GROUP

PIMENTEL, MONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08857          HOLLAND LAW FIRM

PIMENTEL, NORMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02968          ONDERLAW, LLC

PINA, MARGIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07414          THE DUGAN LAW FIRM, APLC

PINCHELN, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07555          ONDERLAW, LLC

PINCHEON, ANGIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11529          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PINCKNEY, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13230          DALIMONTE RUEB, LLP

PINCKNEY-DUGAN, KRISTEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11955          FLETCHER V. TRAMMELL

PINE, NICOLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10666          ONDERLAW, LLC

PINEDA, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06617          ONDERLAW, LLC

PINEDA, ISIDORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20615          ONDERLAW, LLC

PINEDA, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12752          TRAMMELL PC

PINEIRO, LOYDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11857          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PINEIRO-ZUCKER, DIANE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00079          ASHCRAFT & GEREL




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               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

PINEIRO-ZUCKER, DIANE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00079          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PINES, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09133          CELLINO & BARNES, P.C.

PINGREE, REBECCA A/K/A WASHAKIE   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18472          DALIMONTE RUEB, LLP

PINHEIRO, CARMEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09431          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PINIZZOTTO, DIANE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1873-17          WILENTZ, GOLDMAN & SPITZER, P.A.

PINK, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02291          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PINKER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15296          CELLINO & BARNES, P.C.

PINKERTON, JACQUELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17626          NACHAWATI LAW GROUP

PINKERTON, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01545          THE MILLER FIRM, LLC

PINKOSKI, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17691          JOHNSON LAW GROUP

PINKSTON, ADRIENNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02053          ONDERLAW, LLC

PINNACLE, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09889          FLETCHER V. TRAMMELL

PINNIX, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15135          ASHCRAFT & GEREL

PINNIX, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15135          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PINO, ANDREA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09928          ONDERLAW, LLC

PINO, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18993          NACHAWATI LAW GROUP

PINO, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16101          THE SEGAL LAW FIRM

PINSKE, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00514          THE MILLER FIRM, LLC

PINTARCH, SARAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17540          ASHCRAFT & GEREL

PINTO, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09472          ONDERLAW, LLC

PINTO, LORI                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003643-20        ARNOLD & ITKIN LLP

PINTO, LORI                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003643-20        COHEN, PLACITELLA & ROTH

PIONTKOWSKI, JOANNE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002836-20        GOLOMB & HONIK, P.C.

PIPER, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

PIPER, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ONDERLAW, LLC

PIPER, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          THE POTTS LAW FIRM, LLP

PIPER, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

PIPER, JUANADYNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01479          ONDERLAW, LLC

PIPER, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08490          ROSS FELLER CASEY, LLP

PIPER, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19999          ONDERLAW, LLC

PIPES, MARY                       CA - SUPERIOR COURT - SANTA CLARA COUNTY     16CV296848             THE MILLER FIRM, LLC

PIPKIN, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16253          NACHAWATI LAW GROUP

PIPKIN, DELORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01830          ONDERLAW, LLC

PIPKIN, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13529          ONDERLAW, LLC



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               Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

PIPKINS, DELNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11373          NACHAWATI LAW GROUP

PIPKINS, FELICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05519          ONDERLAW, LLC

PIPKINS, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

PIPKINS, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

PIPKINS, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PIPOLO, GRACE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18795          CELLINO & BARNES, P.C.

PIPPITT, ALEXANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01747          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

PIQUE, CALLEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00004          ONDERLAW, LLC

PIRIE, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10336          BARON & BUDD, P.C.

PIRRAGLIA, HOLLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00081          HEYGOOD, ORR & PEARSON

PIRRELLO, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15501          ASHCRAFT & GEREL, LLP

PIRRELLO, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15501          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIRTLE, JANEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12899          MORELLI LAW FIRM, PLLC

PISANESCHI, NICOLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17707          DALIMONTE RUEB, LLP

PISANO, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18316          ONDERLAW, LLC

PISANO, CARISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07456          ARNOLD & ITKIN LLP

PISANO, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12582          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PISANO, MICHELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09938          WILLIAMS HART LAW FIRM

PISAPIA, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00179          ASHCRAFT & GEREL

PISAPIA, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00179          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PISCIONE, EVE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04289          ASHCRAFT & GEREL, LLP

PISH, KRISTI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17607          ONDERLAW, LLC

PISSAS, MIRIAM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19889          NACHAWATI LAW GROUP

PISTOLE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17846          JOHNSON LAW GROUP

PITCHER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15821          GIRARDI & KEESE

PITCHFORD, ROSE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19284          NACHAWATI LAW GROUP

PITCOCK, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04092          ONDERLAW, LLC

PITEA, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18503          NACHAWATI LAW GROUP

PITEO, JEAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05217          ONDERLAW, LLC

PITRE, ALENA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05284          LIAKOS LAW APC

PITSTICK, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17713          NACHAWATI LAW GROUP

PITT, BEVERLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11508          NACHAWATI LAW GROUP
PITTAWAY, COLIN & EST OF FRANCES
                                   NY - SUPREME COURT - NYCAL                   190161/2019            MEIROWITZ & WASSERBERG, LLP
PITTAWAY




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

PITTAWAY, FRANCES                 NY - SUPREME COURT - NYCAL                   190161/2019            MEIROWITZ & WASSERBERG, LLP

PITTEL, CHRISTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01687          JOHNSON LAW GROUP

PITTMAN, CAROLINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11403          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PITTMAN, FREDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PITTMAN, KALONI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02865          ONDERLAW, LLC

PITTMAN, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02104          DRISCOLL FIRM, P.C.

PITTMAN, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05963          ONDERLAW, LLC

PITTMAN, LIZZIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14919          ONDERLAW, LLC

PITTMAN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15876          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PITTMAN, TEENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12352          ASHCRAFT & GEREL

PITTMAN, YVONNE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003367-21        WEITZ & LUXENBERG

PITTOF, JOHANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11880          NACHAWATI LAW GROUP

PITTS, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13985          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PITTS, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05882          ONDERLAW, LLC

PITTS, ERIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07934          ONDERLAW, LLC

PITTS, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15106          ARNOLD & ITKIN LLP

PITTS, KYNESHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13591          DRISCOLL FIRM, P.C.

PITTS, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11684          WATERS & KRAUS, LLP

PITTS, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11945          MORRIS BART & ASSOCIATES

PITTS, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12042          ARNOLD & ITKIN LLP

PITTS, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02173          NACHAWATI LAW GROUP

PITTS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17716          NACHAWATI LAW GROUP

PITTS, ROSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16865          MORELLI LAW FIRM, PLLC

PITTS, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14848          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PITTS, SHEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06190          ONDERLAW, LLC

PITTS, TALICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19719          ARNOLD & ITKIN LLP

PITTSLEY, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05406          ONDERLAW, LLC

PIUROWSKI, AMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05011          MUELLER LAW PLLC

PIVAC, JANESS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01823          ASHCRAFT & GEREL

PIVAC, JANESS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01823          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIXLER, TRACI                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002186-20        GOLOMB & HONIK, P.C.

PIZANO, IRMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18603          JOHNSON LAW GROUP

PIZINGER, CARYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09547          MOTLEY RICE, LLC




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PIZON, MARTA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01607          ONDERLAW, LLC

PIZZO, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01559          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PIZZONI, VENUS                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     18CV339081             CHILDERS, SCHLUETER & SMITH, LLC

PIZZONI, VENUS                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     18CV339081             KIESEL LAW, LLP

PIZZONIA, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00087          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PIZZUTI, LORRAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04838          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PLACE, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03898          PARKER WAICHMAN, LLP

PLAISANCE, MARCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10115          LAW OFFICE OF JOHN D. SILEO, LLC

PLAISANCE, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14547          ANDRUS WAGSTAFF, P.C.

PLAKAS, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01836          DRISCOLL FIRM, P.C.

PLANK, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06951          ONDERLAW, LLC

PLANK, SUSAN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PLANK, SUSAN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           ONDERLAW, LLC

PLANK, SUSAN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           PORTER & MALOUF, PA

PLANK, SUSAN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613           THE SMITH LAW FIRM, PLLC

PLANT, MARY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001806-18        GOLOMB SPIRT GRUNFELD PC

PLANTE, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10692          ONDERLAW, LLC

PLANTE, CLAIRE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07235          ONDERLAW, LLC

PLASCENCIA, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20730          ONDERLAW, LLC

PLASS, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01164          GORI JULIAN & ASSOCIATES, P.C.

PLATER, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02162          ONDERLAW, LLC

PLATER, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04220          JOHNSON LAW GROUP

PLATH, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12885          THE MILLER FIRM, LLC

PLATOS, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13164          DALIMONTE RUEB, LLP

PLATT, AMBER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16654          ARNOLD & ITKIN LLP

PLATT, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09086          ONDERLAW, LLC

PLATZ, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19744          ASHCRAFT & GEREL, LLP

PLATZ, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19744          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PLAUTZ, SALLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10906          THE MILLER FIRM, LLC

PLAVAN, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19469          ASHCRAFT & GEREL, LLP

PLAVAN, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19469          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PLAVSIC, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07778          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PLAYFORD, MYTYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10506          MCSWEENEY/LANGEVIN, LLC




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            Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

PLEDGER, JANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01465          ONDERLAW, LLC

PLEFREY, MARY LOU              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06478          ONDERLAW, LLC

PLEMONS, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13235          ROSS FELLER CASEY, LLP

PLENERT, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01600          ONDERLAW, LLC

PLESHE, LU-ANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18788          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PLETSCH, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09641          ONDERLAW, LLC

PLETZER, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12886          VENTURA LAW

PLEW, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12220          ONDERLAW, LLC

PLEXICO, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20942          ONDERLAW, LLC

PLITT, KATHLEEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           ONDERLAW, LLC

PLITT, KATHLEEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           PORTER & MALOUF, PA

PLITT, KATHLEEN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811           THE SMITH LAW FIRM, PLLC

PLOCHER, BETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09107          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PLONT, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18164          ONDERLAW, LLC

PLOTNER, DEANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11299          BARRETT LAW GROUP

PLOTT, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12590          ONDERLAW, LLC

PLOWMAN, BILLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06620          ONDERLAW, LLC

PLOWMAN, LORETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09148          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PLUBELL, DENISE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PLUBELL, DENISE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           GOLDENBERGLAW, PLLC

PLUBELL, DENISE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           ONDERLAW, LLC

PLUBELL, DENISE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           PORTER & MALOUF, PA

PLUBELL, DENISE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545           THE SMITH LAW FIRM, PLLC

PLUM, LYNDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21670          ONDERLAW, LLC

PLUMMER, ETHEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11805          BARRETT LAW GROUP

PLUMMER, HAZEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-08815          BARON & BUDD, P.C.

PLUMMER, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04345          ONDERLAW, LLC

PLUNKETT, SHARI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07718          ANDRUS WAGSTAFF, P.C.

PLUTA, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11992          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POAG, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12340          NAPOLI SHKOLNIK, PLLC

POARCH, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19059          NACHAWATI LAW GROUP

POBICKI, MICHELE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04166          THE MILLER FIRM, LLC

POCHE, MAUREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07501          BRIAN E ADORNO ATTORNEY AT LAW, LLC




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               Claimant Name                         State Filed                      Docket Number                              Plaintiff Counsel

POCHE, MAUREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07501          USRY, WEEKS & MATTHEWS, APLC

POCK, RHONDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11684          NACHAWATI LAW GROUP

POCKLINGTON, SALLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15314          ARNOLD & ITKIN LLP

PODGORSKI, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09651          ONDERLAW, LLC

PODGORSKI, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10965          NACHAWATI LAW GROUP

PODMORE, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20991          CELLINO & BARNES, P.C.

PODNOS, JOAN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PODNOS, JOAN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           ONDERLAW, LLC

PODNOS, JOAN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237           THE SMITH LAW FIRM, PLLC

PODWILS, EILENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05640          ASHCRAFT & GEREL

PODWILS, EILENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05640          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POE, ANNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16528          NAPOLI SHKOLNIK, PLLC

POE, BELINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03146          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POE, CHERYL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02305          ONDERLAW, LLC

POELING, DEANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09416          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POFERL, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10381          GOLDENBERGLAW, PLLC

POFF, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01532          FLETCHER V. TRAMMELL

POGORELC, CHERYL                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002558-20        GOLOMB & HONIK, P.C.

POINDEXTER, BERNITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18470          NACHAWATI LAW GROUP

POINTER, DARCELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12965          ONDERLAW, LLC

POINTER, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17665          NACHAWATI LAW GROUP

POIO, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09436          WILLIAMS HART LAW FIRM
POIRIER, ELIZABETH ROBERTSON
                                  BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230678         PRESZLER LAW FIRM LLP
TUDHOPE
POIRIER, LORRAINE                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02640-18AS       WEITZ & LUXENBERG

POKOS, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06954          THE ENTREKIN LAW FIRM

POKRYSKA, ALEXANDRA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-205-17           WILENTZ, GOLDMAN & SPITZER, P.A.

POLAK, TERESE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12871          KNAPP & ROBERTS, P.C.

POLAN, WILMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15557          BART DURHAM INJURY LAW

POLAN, WILMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15557          FRAZER PLC

POLANCO, ROSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02670          ARNOLD & ITKIN LLP

POLANCO, ROSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08371          DALIMONTE RUEB, LLP

POLAND, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01193          ONDERLAW, LLC

POLAND, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11208          MUELLER LAW PLLC




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              Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

POLAND, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01565          MORELLI LAW FIRM, PLLC

POLCEN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

POLCEN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14953          LENZE LAWYERS, PLC

POLCEN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

POLCEN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09755          NACHAWATI LAW GROUP

POLCEN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14953          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POLCEN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POLE, PAM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13860          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POLES, PATSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04164          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POLIN, MIYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17679          NACHAWATI LAW GROUP

POLINICE, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06643          ONDERLAW, LLC

POLINSKI, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05507          ONDERLAW, LLC

POLITE, CASSANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18835          CELLINO & BARNES, P.C.

POLITO, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11579          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POLITTE, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04358          WILLIAMS HART LAW FIRM

POLIZZI, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13962          ONDERLAW, LLC

POLK, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09210          ONDERLAW, LLC

POLK, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00404          ASHCRAFT & GEREL

POLK, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00404          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POLK, JOANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11654          THE MILLER FIRM, LLC

POLK, KARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16442          CHAFFIN LUHANA LLP

POLK, KIM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13915          ONDERLAW, LLC

POLLACK, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04683          JOHNSON LAW GROUP

POLLARD, DEBORAH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-243-15           SEEGER WEISS LLP

POLLARD, GENEVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00561          ONDERLAW, LLC

POLLARD, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06380          ONDERLAW, LLC

POLLARD, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09773          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POLLARD, REGINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02874          DEGARIS WRIGHT MCCALL

POLLARD, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01828          THE MILLER FIRM, LLC

POLLARD-OJO, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

POLLARD-OJO, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

POLLARD-OJO, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POLLASTRO, ALISON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03080          COHEN, PLACITELLA & ROTH

POLLICK, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00065          ONDERLAW, LLC



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            Claimant Name                        State Filed                       Docket Number                              Plaintiff Counsel
POLLINGER, HELEN R AND
                               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00446-19AS       WEITZ & LUXENBERG
POLLINGER,WILLIAM
POLLOCK, NANETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03340          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

POLLORENA, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20121          NACHAWATI LAW GROUP

POLLORENO, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02840          ONDERLAW, LLC

POLLWORTH, PATSY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08504          DAVIS, BETHUNE & JONES, L.L.C.

POLLY SHUMAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18389          ONDERLAW, LLC

POLLY, HELENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08350          ONDERLAW, LLC

POLOMARENKO, ROBIN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00800          MILLER DELLAFERA PLC

POLSON, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12354          ASHCRAFT & GEREL

POLSON, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12354          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POLTER, KATHIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11634          THE MILLER FIRM, LLC

POLTO, TARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09019          SANDERS VIENER GROSSMAN, LLP

POLUS, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13137          JOHNSON LAW GROUP

POLVINEN, ARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11333          GORI JULIAN & ASSOCIATES, P.C.

POMERLEAU, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01593          JOHNSON LAW GROUP

POMEROY, ANN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002187-20        GOLOMB & HONIK, P.C.

POMPA, ORALIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06942          ONDERLAW, LLC

POMPONIO, CINDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13575          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PONCE, AGNES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04888          ONDERLAW, LLC

PONCE, GRACIELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12987          FLETCHER V. TRAMMELL

PONCHART, JODY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14269          DRISCOLL FIRM, P.C.

PONDER, ALICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05869          ONDERLAW, LLC

PONDER, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06581          ONDERLAW, LLC

PONDER, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08486          FLETCHER V. TRAMMELL

PONDER, GINNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15471          ONDERLAW, LLC

PONDER, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04343          ONDERLAW, LLC

PONDILLO, KATHY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2766-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PONDILLO, KATHY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2766-15          PORTER & MALOUF, PA

PONDILLO, KATHY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2766-15          SEEGER WEISS LLP

PONDILLO, KATHY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2766-15          THE SMITH LAW FIRM, PLLC

PONGRACZ-BARTHA, ERICKA        CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC704115               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

PONGRACZ-BARTHA, ERICKA        CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC704115               ROSS FELLER CASEY, LLP

PONTARELLI, NANCY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01554          MORELLI LAW FIRM, PLLC




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               Claimant Name                        State Filed                       Docket Number                             Plaintiff Counsel

PONTE, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10700          DALIMONTE RUEB, LLP

PONTICELLO, CONSTANCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15905          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PONTIOUS, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00155          BURNS CHAREST LLP

PONTO, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POOL, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

POOL, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:212-CV-15819         LENZE LAWYERS, PLC

POOL, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

POOL, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:212-CV-15819         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POOL, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POOLE, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03974          ONDERLAW, LLC

POOLE, CHARLOTTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17559          NACHAWATI LAW GROUP

POOLE, DAISY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04880          ONDERLAW, LLC

POOLE, DEIDRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17583          NACHAWATI LAW GROUP

POOLE, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POOLE, KRISTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14040          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

POOLE, PATRICIA                   DE - SUPERIOR COURT - NEW CASTLE COUNTY      N17C-05-357            JACOBS & CRUMPLER, P.A.

POOLE, PATRICIA                   DE - SUPERIOR COURT - NEW CASTLE COUNTY      N17C-05-357            THE MILLER FIRM, LLC

POOLE, ROZELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19291          NACHAWATI LAW GROUP

POOLE, TOMMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00690          BURNS CHAREST LLP

POOLE, TOMMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00690          BURNS CHAREST LLP

POOLE, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16944          THE MILLER FIRM, LLC

POORE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18109          WEITZ & LUXENBERG

POPE, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07338          WAGSTAFF & CARTMELL, LLP

POPE, LENORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09743          NACHAWATI LAW GROUP

POPE, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11702          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POPE, ORIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09150          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POPE, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08740          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POPE, STARYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09543          FLETCHER V. TRAMMELL

POPE, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12752          PARKER WAICHMAN, LLP

POPE, WILLETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11970          NACHAWATI LAW GROUP

POPLEON, KENDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11904          NACHAWATI LAW GROUP

POPLICK, HEIDII                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11112          JOHNSON LAW GROUP

POPLICK, HEIDII                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11112          LEVIN SIMES ABRAMS LLP




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               Claimant Name                        State Filed                       Docket Number                            Plaintiff Counsel

POPOV, SHARON                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2290-17          GOLOMB SPIRT GRUNFELD PC

POPOV, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00799          ONDERLAW, LLC

POPP, EILEEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09352          ONDERLAW, LLC

POPP, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01384          LAW OFFICES OF PETER G ANGELOS, PC

POPPINS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09780          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POPVICH, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

POPVICH, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          LENZE LAWYERS, PLC

POPVICH, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POPYNIA, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03352          NAPOLI SHKOLNIK, PLLC

PORCHER, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19882          CELLINO & BARNES, P.C.

PORCHER, PATRICIA S               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03710          JOHNSON LAW GROUP

POREDA, IRENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06813          ONDERLAW, LLC

PORRAZZO, PATRICIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002353-20        GOLOMB & HONIK, P.C.

PORRES, NIVIA                     FL - CIRCUIT COURT - MIAMI DADE COUNTY       2021-001592-CA-01      ARNOLD & ITKIN LLP

PORRES, NIVIA                     FL - CIRCUIT COURT - MIAMI DADE COUNTY       2021-001592-CA-01      SCHLESINGER LAW OFFICES, P.A.

PORSCHIA YOUNG                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15954          LENZE LAWYERS, PLC

PORSCHIA YOUNG                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15954          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

PORTA, JO                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16827          THE MILLER FIRM, LLC

PORTAL, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13182          THE FERRARO LAW FIRM, P.A.

PORTEOUS, HEIDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01369          ONDERLAW, LLC

PORTER, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09269          HILLIARD MARTINEZ GONZALES, LLP

PORTER, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06728          THE SIMON LAW FIRM, PC

PORTER, DOLORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13057          NAPOLI SHKOLNIK, PLLC

PORTER, ECHANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13176          HAFFNER LAW PC

PORTER, GWENDOLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03329          ONDERLAW, LLC

PORTER, INITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18441          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PORTER, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06210          ONDERLAW, LLC

PORTER, LILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22059          DRISCOLL FIRM, P.C.

PORTER, MARNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09132          THE ENTREKIN LAW FIRM

PORTER, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17273          JOHNSON LAW GROUP

PORTER, MISTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22207          ONDERLAW, LLC

PORTER, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17704          NACHAWATI LAW GROUP




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              Claimant Name                         State Filed                        Docket Number                               Plaintiff Counsel

PORTER, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01553          MORELLI LAW FIRM, PLLC

PORTER, ROSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10585          NACHAWATI LAW GROUP

PORTER, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08215          ONDERLAW, LLC

PORTER, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03970          ONDERLAW, LLC

PORTER, SHAYLA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002911-21         WEITZ & LUXENBERG

PORTER, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17726          NACHAWATI LAW GROUP

PORTER, VANESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12905          MORELLI LAW FIRM, PLLC

PORTER, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10826          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PORTERA, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09452           MORRIS BART & ASSOCIATES

PORTERFIELD, MARION               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06843           ONDERLAW, LLC

PORTERFIELD, NANCY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002354-20         GOLOMB & HONIK, P.C.

PORTER-PANT, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05641          JOHNSON LAW GROUP

PORTILLES, DEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12723           THE MILLER FIRM, LLC

PORTILLO, MILAGRO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12254          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PORTILLO, YOLANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09708          ONDERLAW, LLC

PORTMAN, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10493          WILLIAMS HART LAW FIRM
PORTNOI,MARJORIE EST OF HERBERT
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-004551-21        WEITZ & LUXENBERG
PORTNOI
PORTUGAL, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15775          HILLIARD MARTINEZ GONZALES, LLP

POSANTE, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11764          NACHAWATI LAW GROUP

POSERINA, ANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17356          NACHAWATI LAW GROUP

POSEY, JANNAE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POSEY, JANNAE                     CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318707             KIESEL LAW, LLP

POSEY, JANNAE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          ONDERLAW, LLC

POSEY, JANNAE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945           PORTER & MALOUF, PA

POSEY, JANNAE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          THE SMITH LAW FIRM, PLLC

POSILLICO, JEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POSLUSZNY, TIFFANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10763          ASHCRAFT & GEREL

POSNER, ESTHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13897          FLEMING, NOLEN & JEZ, LLP

POSO, TANYA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05600          ONDERLAW, LLC

POSS, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00354          ONDERLAW, LLC

POSTON, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09349          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

POSTON, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17580          NACHAWATI LAW GROUP

POSTON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04111          ONDERLAW, LLC

POTEET, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05470          ONDERLAW, LLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

POTEET, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14782          MORELLI LAW FIRM, PLLC

POTERE, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15853          NACHAWATI LAW GROUP

POTKOSKI, CHARLOTTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07672          WAGSTAFF & CARTMELL, LLP

POTTER, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08210          NAPOLI SHKOLNIK, PLLC

POTTER, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16586          TRAMMELL PC

POTTER, MINNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09282          ONDERLAW, LLC

POTTER, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10094          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POTTER, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07809          ONDERLAW, LLC

POTTERS-TILKIN, CHRISTINE         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-00070120          PARKER WAICHMAN, LLP

POTTS, ANNETTE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POTTS, ANNETTE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

POTTS, ANNETTE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

POTTS, ANNETTE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

POTTS, ANNETTE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           THE SMITH LAW FIRM, PLLC

POTTS, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14041          ONDERLAW, LLC

POTTS, CONTANCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18882          NACHAWATI LAW GROUP

POTTS, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05407          ONDERLAW, LLC

POTTS, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14977           BLASINGAME, BURCH, GARRARD & ASHLEY, PC

POTTS, JANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08725          NACHAWATI LAW GROUP

POTTS, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01142          THE DUGAN LAW FIRM, APLC

POTTS, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12670          DRISCOLL FIRM, P.C.

POTVIN, MICHELE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05867          WILLIAMS HART LAW FIRM

POULAIN, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20069          ARNOLD & ITKIN LLP

POULILLO, REGINA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002204-19         ASHCRAFT & GEREL

POULILLO, REGINA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002204-19         GOLOMB SPIRT GRUNFELD PC

POULIN, CAROL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002188-20         GOLOMB & HONIK, P.C.

POULIN, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09320          ONDERLAW, LLC

POUNDS, BETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04074           JOHNSON LAW GROUP

POUST, LYN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06658          FLETCHER V. TRAMMELL

POVERELLI, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02194          ONDERLAW, LLC

POWE, APRIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05741          WILLIAMS HART LAW FIRM

POWELL, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07751          ONDERLAW, LLC

POWELL, ALICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09476          NACHAWATI LAW GROUP




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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

POWELL, ANNABELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15749          GIRARDI & KEESE

POWELL, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15591          WILLIAMS HART LAW FIRM

POWELL, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11096          ONDERLAW, LLC

POWELL, BETTYE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14440          ASHCRAFT & GEREL

POWELL, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10073          ARNOLD & ITKIN LLP

POWELL, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16599          WATERS & KRAUS, LLP

POWELL, CHARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01489          ONDERLAW, LLC

POWELL, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01574          MORELLI LAW FIRM, PLLC

POWELL, DAWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17576          NACHAWATI LAW GROUP

POWELL, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09388          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POWELL, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14441           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POWELL, DORIS                 DE - SUPERIOR COURT - NEW CASTLE COUNTY       N17C-05-390            JACOBS & CRUMPLER, P.A.

POWELL, DORIS                 DE - SUPERIOR COURT - NEW CASTLE COUNTY       N17C-05-390            THE MILLER FIRM, LLC

POWELL, DOROTHY               CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327496              DANIEL & ASSOCIATES, LLC

POWELL, DOROTHY               CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV327496             KIESEL LAW, LLP

POWELL, DOROTHY               CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV327496             THE WHITEHEAD LAW FIRM, LLC

POWELL, ELLIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00758          HEYGOOD, ORR & PEARSON

POWELL, GENEVA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08253          ONDERLAW, LLC

POWELL, GEORGINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05303           ONDERLAW, LLC

POWELL, GWENEVER              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001718-21         WEITZ & LUXENBERG

POWELL, JOANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06424           DRISCOLL FIRM, P.C.

POWELL, JOHNQUNELL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13739          ONDERLAW, LLC

POWELL, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05408          ONDERLAW, LLC

POWELL, LATINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00255          NACHAWATI LAW GROUP

POWELL, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17853          HENINGER GARRISON DAVIS, LLC

POWELL, MARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16466          NAPOLI SHKOLNIK, PLLC

POWELL, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                              CA - SUPERIOR COURT - SAN BERNARDINO
POWELL, NANCY                                                              CIVDS1721453            ONDERLAW, LLC
                              COUNTY
POWELL, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720          ONDERLAW, LLC

POWELL, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720          PORTER & MALOUF, PA
                              CA - SUPERIOR COURT - SAN BERNARDINO
POWELL, NANCY                                                              CIVDS1721453            SALKOW LAW, APC
                              COUNTY
POWELL, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720          THE SMITH LAW FIRM, PLLC

POWELL, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13508          WILLIAMS HART LAW FIRM




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           Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

POWELL, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13215          ONDERLAW, LLC

POWELL, SARA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-105-18            POGUST BRASLOW & MILLROOD, LLC

POWELL, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07706          ASHCRAFT & GEREL

POWELL, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07706          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POWELL, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13286          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POWELL, STACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17737          NACHAWATI LAW GROUP

POWELL, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13690          ASHCRAFT & GEREL, LLP

POWELL, WANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06463          ONDERLAW, LLC

POWELL, WILMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

POWELL, WILMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06345          ENVIRONMENTAL LITIGATION GROUP, PC

POWELL, WILMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

POWELL, WILMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POWELL-COLE, ROSALIND         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12073          NACHAWATI LAW GROUP

POWELL-PARK, ERIKA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01157           ONDERLAW, LLC

POWER, ESTELL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01472          ONDERLAW, LLC

POWERS, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12997          MORELLI LAW FIRM, PLLC

POWERS, CHRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13058           ONDERLAW, LLC

POWERS, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14781          LENZE LAWYERS, PLC

POWERS, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14781           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POWERS, ELOISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10471          ONDERLAW, LLC

POWERS, EUNICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15560          JOHNSON LAW GROUP

POWERS, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14869          LENZE LAWYERS, PLC

POWERS, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14869          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POWERS, GENEVA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09384          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POWERS, IRENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12498          JOHNSON BECKER, PLLC

POWERS, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03601          ONDERLAW, LLC

POWERS, JOANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04606          ONDERLAW, LLC

POWERS, JOLITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20311          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

POWERS, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08832          ONDERLAW, LLC

POWERS, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09901           ONDERLAW, LLC

POWERS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01835          THE MILLER FIRM, LLC

POWERS, SONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01580          ONDERLAW, LLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

POWERS, STACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09274          ONDERLAW, LLC

POWERS, STACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09274          ONDERLAW, LLC

POWERS, STACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09274          ONDERLAW, LLC

POWERS, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

POWERS, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

POWERS, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

POYNTER, MELINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08756          ONDERLAW, LLC

POZARSKI, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07989           ONDERLAW, LLC

POZO, MARTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19612          THE BARNES FIRM, P.C.

PRACK, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01486          ONDERLAW, LLC

PRADO, NIKOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRADOS, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06706          ONDERLAW, LLC

PRASHER, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00675          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PRASIL, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00562          JOHNSON BECKER, PLLC

PRATER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05228          ONDERLAW, LLC

PRATER, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21734          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRATER, PRISCILLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04813          JOHNSON LAW GROUP

PRATHER, GLENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18990          NACHAWATI LAW GROUP

PRATL, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11285          GORI JULIAN & ASSOCIATES, P.C.

PRATLEY, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09392          JOHNSON LAW GROUP

PRATT, BENITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13577          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRATT, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12233          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRATT, CYNTHIA                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-006368-21        COHEN, PLACITELLA & ROTH

PRATT, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11576          POTTS LAW FIRM

PRATT, LOUISIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07207          JOHNSON LAW GROUP

PRATT, MAGGIE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2506-15           GOLOMB SPIRT GRUNFELD PC

PRATT, REGINA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            ONDERLAW, LLC

PRATT, REGINA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

PRATT, REGINA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           THE SMITH LAW FIRM, PLLC

PRATT, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01890          ONDERLAW, LLC

PRAVATA, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09494          ONDERLAW, LLC

PRAWOTO, JUNI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08094           JOHNSON BECKER, PLLC

PRAY, GALE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08115          ONDERLAW, LLC




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              Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

PREACELY, LULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01877          FLETCHER V. TRAMMELL

PREBLE, STACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14200          ROSS FELLER CASEY, LLP

PRECIADO, EMELENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08472          SIMMONS HANLY CONROY

PRECIADO, PEDRO                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-03702-18AS       LEVY KONIGSBERG LLP

PRECIADO, PEDRO                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-03702-18AS       MAUNE RAICHLE HARTLEY FRENCH & MUDD

PREDDY, LILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12132          ONDERLAW, LLC

PREDIUM-MORRIS, VELMA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20350          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PREECE, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09437          WILLIAMS HART LAW FIRM

PREER, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19846          NACHAWATI LAW GROUP

PREGLER, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15354          ONDERLAW, LLC

PREJEAN, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00873          COHEN & MALAD, LLP

PREJEAN, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00873          DELISE & HALL

PRESBERRY, DIONNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08222          ONDERLAW, LLC

PRESCOTT, ALYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02301          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

PRESCOTT, SUSAN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002559-20         GOLOMB & HONIK, P.C.

PRESLEY, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11266          ASHCRAFT & GEREL

PRESLEY, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01564          BURNS CHAREST LLP

PRESLEY, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01564          BURNS CHAREST LLP

PRESNAL, ROSE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L409-18             GOLOMB SPIRT GRUNFELD PC

PRESTON, ALINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10629          NACHAWATI LAW GROUP

PRESTON, CHLOE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05254          ONDERLAW, LLC

PRESTON, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17288          ONDERLAW, LLC

PRESTON, MARCELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11948          NACHAWATI LAW GROUP

PRESTON, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00407          ASHCRAFT & GEREL

PRESTON, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00407          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRESWORSKY, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08770           ONDERLAW, LLC

PRETE, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00322          NAPOLI SHKOLNIK, PLLC

PRETTYPAINT, LORI                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002189-20         GOLOMB & HONIK, P.C.

PREUSS, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15167          DEGARIS WRIGHT MCCALL

PREUSS, JOY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07389          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PREVITI, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15976          DRISCOLL FIRM, P.C.

PREVOST, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09208          ASHCRAFT & GEREL

PREVOST, GEORGIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16794          GORI JULIAN & ASSOCIATES, P.C.

PREZWODEK, JANICE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

PREZWODEK, JANICE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           ONDERLAW, LLC

PREZWODEK, JANICE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA

PREZWODEK, JANICE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          THE SMITH LAW FIRM, PLLC

PRIBYL, HEIDI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12471          ARNOLD & ITKIN LLP

PRICE, ANDREA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1958-16           GOLOMB SPIRT GRUNFELD PC

PRICE, ANGIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003225-21         WEITZ & LUXENBERG

PRICE, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09037          COHEN & MALAD, LLP

PRICE, BEATRICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05742          WILLIAMS HART LAW FIRM

PRICE, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00914          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PRICE, BOBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11422          THE MILLER FIRM, LLC

PRICE, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06860          JOHNSON LAW GROUP

PRICE, COLLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11220          NACHAWATI LAW GROUP

PRICE, DARNELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14684           THE DUGAN LAW FIRM, APLC

PRICE, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15822           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

PRICE, ERIKA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002190-20         GOLOMB & HONIK, P.C.

PRICE, ESTELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10152          ONDERLAW, LLC

PRICE, GINGER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15981          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

PRICE, GINGER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07524          ONDERLAW, LLC

PRICE, GINGER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04721          POTTS LAW FIRM

PRICE, INEZ                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11193          ONDERLAW, LLC

PRICE, JACKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17600          NACHAWATI LAW GROUP

PRICE, JANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16507           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PRICE, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04251          ONDERLAW, LLC

PRICE, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01536          ONDERLAW, LLC

PRICE, LA SHAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19098          ONDERLAW, LLC

PRICE, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10668          ONDERLAW, LLC

PRICE, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02992          ONDERLAW, LLC

PRICE, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14732          ONDERLAW, LLC

PRICE, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09156          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRICE, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07392          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRICE, TAMRUS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20035          GOLOMB SPIRT GRUNFELD PC

PRICHER, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16418           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PRICKETT, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20353          MILSTEIN JACKSON FAIRCHILD WADE LLP

PRICKETT, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20353          THE MICHAEL BRADY LYNCH FIRM



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

PRIDGEN, BETH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09158          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRIDGEN, HELEN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000639-21         GOLOMB & HONIK, P.C.

PRIDGEN, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07371          FLETCHER V. TRAMMELL

PRIEL, ANDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06469          ONDERLAW, LLC

PRIEST, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17554          NACHAWATI LAW GROUP

PRIEST, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06091          ONDERLAW, LLC

PRIEVO, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01235          SIMMONS HANLY CONROY

PRIM, DOROTHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17595          NACHAWATI LAW GROUP

PRIMMER, JEANNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09647          ONDERLAW, LLC

PRINCE, ANTIONETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00563           JOHNSON BECKER, PLLC

PRINCE, BRENDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRINCE, BRENDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

PRINCE, BRENDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

PRINCE, CLARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17568          NACHAWATI LAW GROUP

PRINCE, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03664          ARNOLD & ITKIN LLP

PRINCE, JUNE                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRINCE, JUNE                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            ONDERLAW, LLC

PRINCE, JUNE                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            PORTER & MALOUF, PA

PRINCE, JUNE                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            THE SMITH LAW FIRM, PLLC

PRINCE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05940           NAPOLI SHKOLNIK, PLLC

PRINCE, KENYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09381          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRINCE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00714          NASS CANCELLIERE BRENNER

PRINCE, NOEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12604          ARNOLD & ITKIN LLP

PRINCE, NOEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16190          THE SEGAL LAW FIRM

PRINCE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19234          NACHAWATI LAW GROUP

PRINCE, PATTI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05536          ONDERLAW, LLC

PRINGLE, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05558          ONDERLAW, LLC

PRINGLE, MARYLADENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06766          THE SIMON LAW FIRM, PC

PRINGLE, NORALEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09376          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRINSTER, BARBARA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002262-20         GOLOMB & HONIK, P.C.

PRINTY, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07703          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

PRINZ, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRISCO, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09134          WAGSTAFF & CARTMELL, LLP

PRISOCK, KELLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17409          LEVIN SIMES ABRAMS LLP



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            Claimant Name                           State Filed                        Docket Number                             Plaintiff Counsel
PRITCHARD, C.AMELIA EST OF D
                                  DE - SUPERIOR COURT - NEW CASTLE COUNTY       N20C-12-060            JACOBS & CRUMPLAR, P.A.
GRAHAM
PRITCHARD, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01208          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRITCHARD, JANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04396          JOHNSON LAW GROUP

PRITCHETT, EDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03511          THE DIAZ LAW FIRM, PLLC

PRITCHETT, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15472           ONDERLAW, LLC

PRIVITERA, TARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16878           THE MILLER FIRM, LLC

PROBERT, EILEEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002937-21         MORELLI LAW FIRM, PLLC

PROBY, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09566          JOHNSON LAW GROUP

PROCOPIO, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11898          NACHAWATI LAW GROUP

PROCTER, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09786          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PROCTOR, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01497          DEGARIS WRIGHT MCCALL

PROCTOR, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09759          ONDERLAW, LLC

PROCTOR, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09373          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PROCTOR, LAYNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00408          ASHCRAFT & GEREL

PROCTOR, LAYNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00408          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PROCTOR, LILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11694          NACHAWATI LAW GROUP

PROFFITT, LUCILLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06649          FLETCHER V. TRAMMELL

PROFFITT, TANYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20476          JOHNSON LAW GROUP

PROKOP, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02385          CATES MAHONEY, LLC

PROPERNICK, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04367          WILLIAMS HART LAW FIRM

PROPES, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02466          DALIMONTE RUEB, LLP

PROPST, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12505          FLETCHER V. TRAMMELL

PROSA, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15781          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PROSA, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10340          NAPOLI SHKOLNIK, PLLC

PROSE, EILEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08407          THORNTON LAW FIRM LLP

PROST, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09206          WILLIAMS HART LAW FIRM

PROST, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12793          HEYGOOD, ORR & PEARSON

PROTOKOWICZ, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08999          BEKMAN, MARDER, & ADKINS, LLC

PROUDFOOT, EVELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03417          MILLER DELLAFERA PLC

PROUT, OLIVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07474          LAW OFFICE OF JOHN D. SILEO, LLC

PROUT, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01482          FLETCHER V. TRAMMELL

PROUTT, NIKKISHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08632           ONDERLAW, LLC

PROVANCE, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07115          THE ENTREKIN LAW FIRM

PROVINCE, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04851          ONDERLAW, LLC



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               Claimant Name                          State Filed                       Docket Number                              Plaintiff Counsel

PROVINCE, LORI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12821           THE MILLER FIRM, LLC

PROVITT, TIFFANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08980           MOTLEY RICE, LLC

PRUDENCIO, CHRISTINA G.            CA - SUPERIOR COURT - ALAMEDA COUNTY         RG20061303              KAZAN MCCLAIN SATTERLEY & GREENWOOD

PRUETT, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03789          ARNOLD & ITKIN LLP

PRUETT, STACI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15278          JOHNSON LAW GROUP

PRUIETT, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11167          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

PRUITT, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05527          ARNOLD & ITKIN LLP

PRUITT, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05644          BURNS CHAREST LLP

PRUITT, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19577          NACHAWATI LAW GROUP

PRUITT, INGRID                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01254          HOVDE, DASSOW, & DEETS, LLC

PRUITT, INGRID                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01254          THE MILLER FIRM, LLC

PRUITT, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17647          NACHAWATI LAW GROUP

PRUITT, LEANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15202          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

PRUNTY, ANTIONETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06658          THE SIMON LAW FIRM, PC

PRUSAK, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13290          CELLINO & BARNES, P.C.

PRUSKIN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08288          FLETCHER V. TRAMMELL

PRYOR, BERTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11181          ONDERLAW, LLC

PRYOR, CAROLYN                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-002649-20        MAUNE RAICHLE HARTLEY FRENCH & MUDD

PRYOR, CAROLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04827          ONDERLAW, LLC

PRYOR, CAROLYN MICHELLE            NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002649-20         LEVY KONIGSBERG LLP

PRYOR, CHRISTINE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001223-20         GOLOMB SPIRT GRUNFELD PC

PRYOR, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13021          MORELLI LAW FIRM, PLLC

PRYOR, GWENDOLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08263           DALIMONTE RUEB, LLP

PRYOR, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PRYOR, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

PRYOR, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

PRYOR, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

PRYOR, HEIDI                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

PRYSLAK, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05966          ONDERLAW, LLC

PRZEKOP,CHARLES & PRZEKOP,DELPHINE NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-003328-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

PRZYBYLOWICZ, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13306          BARON & BUDD, P.C.

PRZYSTUP, BETH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06217          ONDERLAW, LLC

PSCHENICA, CARISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14882          THE SEGAL LAW FIRM




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

PSOLKA, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14545          NAPOLI SHKOLNIK, PLLC

PUCCIA, JOAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12944           CELLINO & BARNES, P.C.

PUCH, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12848          SLATER, SLATER, SCHULMAN, LLP

PUCILOSKI, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07728          MICHAEL S WERNER, PARKER WAICHMAN

PUCKETT, ASHLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09840          ONDERLAW, LLC

PUCKETT, JOELLEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08229          ONDERLAW, LLC

PUCKETT, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20591           DALIMONTE RUEB, LLP

PUCKETT, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09184          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PUCKETT, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02621          ONDERLAW, LLC

PUCKETT, TERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16530          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PUCO, CHRISTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08211          NAPOLI SHKOLNIK, PLLC

PUDELEK, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09405          JOHNSON LAW GROUP

PUDER, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17749          NACHAWATI LAW GROUP

PUDLOSKI, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18968          NACHAWATI LAW GROUP

PUFFENBARGER, GLORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09361           ONDERLAW, LLC

PUGH, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15546          JOHNSON LAW GROUP

PUGH, ANNETTE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2897-15           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PUGH, ANNETTE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2897-15           PORTER & MALOUF, PA

PUGH, ANNETTE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2897-15           SEEGER WEISS LLP

PUGH, ANNETTE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2897-15           THE SMITH LAW FIRM, PLLC

PUGH, BARBARA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PUGH, BARBARA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            ONDERLAW, LLC

PUGH, BARBARA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            PORTER & MALOUF, PA

PUGH, BARBARA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            THE SMITH LAW FIRM, PLLC

PUGH, BETTYE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13469          THE BENTON LAW FIRM, PLLC

PUGH, HEATHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11404           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

PUGH, JANESE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14421           ASHCRAFT & GEREL

PUGH, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11108          BARON & BUDD, P.C.

PUGH, ROSETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06667          ONDERLAW, LLC

PUGH, SINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PUGH, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05664          CELLINO & BARNES, P.C.

PUGLIESE, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13357          NACHAWATI LAW GROUP

PUGLIESE, PRISCILLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07342          DALIMONTE RUEB, LLP

PUGLISSI, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09914          ONDERLAW, LLC



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            Claimant Name                              State Filed                       Docket Number                              Plaintiff Counsel

PULASKI, MICHELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08289           HAUSFELD

PULCINI, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08224          THE DUGAN LAW FIRM, APLC

PULEO, CARMELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03978          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PULIDO, BERTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02560          MOTLEY RICE, LLC

PULIDO, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05548          ARNOLD & ITKIN LLP

PULIDO, MARIA AND PULIDO,, VICTOR   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-04927-18AS       LEVY KONIGSBERG LLP

PULIDO, TERRI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06558          ONDERLAW, LLC

PULLAN, MARIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06039          KIRKENDALL DWYER LLP

PULLEN, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09000          ONDERLAW, LLC

PULLEN, INGRID                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13665          THE DUGAN LAW FIRM, APLC

PULLEN, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04610          JOHNSON LAW GROUP

PULLEY, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13749           JOHNSON LAW GROUP

PULLEY, LYNN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09833          THE MILLER FIRM, LLC

PULLIAM, KAREN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-767-16            LEWIS SAUL & ASSOCIATES, P.C.

PULLIAM, VELMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08738          ONDERLAW, LLC

PULLIN, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08626          THE SEGAL LAW FIRM

PULLUAIM, ROSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05530          ARNOLD & ITKIN LLP

PULVER, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15178          SANDERS PHILLIPS GROSSMAN, LLC

PULVER, HEATHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09634          ONDERLAW, LLC

PUMALA, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17070          JOHNSON LAW GROUP

PUMO, DARLENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13401          FLETCHER V. TRAMMELL

PUNIHAOLE, CECILIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09820           ONDERLAW, LLC

PUNZO, ANGELINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14418          ASHCRAFT & GEREL

PURDUE, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20416          CHAPPELL, SMITH & ARDEN, P.A.

PURDY, DANIELLE                     NY - SUPREME COURT - NYCAL                    190335/2018            MEIROWITZ & WASSERBERG, LLP

PURDY, DARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00440          THE DIAZ LAW FIRM, PLLC

PURDY, JANICE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165            ONDERLAW, LLC

PURDY, JANICE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11165           PORTER & MALOUF, PA

PURDY, JANICE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11165           THE SMITH LAW FIRM, PLLC
PURDY, JEROME & EST OF DANIELLE
                                    NY - SUPREME COURT - NYCAL                    190335/2018            MEIROWITZ & WASSERBERG, LLP
PURDY
PURDY, SANDI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13111           ARNOLD & ITKIN LLP

PURDY, TERESA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19849          WATERS & KRAUS, LLP

PURDY-LEDFORD, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09929          ONDERLAW, LLC




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              Claimant Name                           State Filed                        Docket Number                             Plaintiff Counsel

PURNELL, LAKEYAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09261          DAVIS, BETHUNE & JONES, L.L.C.

PURVES, MARGE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14168          MORELLI LAW FIRM, PLLC

PURVIS, VALENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06913          ONDERLAW, LLC
PURVIS,NICHELLE EST OF EVANGELINE
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-001749-21        WEITZ & LUXENBERG
PURVIS
PURYEAR, ANNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05045          ONDERLAW, LLC

PURYEAR, DORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20725          ONDERLAW, LLC

PUSATERI, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03099          ONDERLAW, LLC

PUSATERI, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13579          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PUSEY, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08653          ONDERLAW, LLC

PUSHARD, SHELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11032          ONDERLAW, LLC
PUST, DONALD J., EST OF DARLENE G
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-05798-17AS       WEITZ & LUXENBERG
PUST
PUSZKARCZUK, ROSEMARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16645          ASHCRAFT & GEREL

PUSZKARCZUK, ROSEMARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16645          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PUTEK, JACQUELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03816          THE SEGAL LAW FIRM

PUTHUMANA, AGEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09187          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PUTIN, DIANNE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003336-21         WEITZ & LUXENBERG

PUTMAN, GERALDINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06866           ONDERLAW, LLC

PUTNAM, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01606          PARKER WAICHMAN, LLP

PUTZ, CHRISTINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11697          ROSS FELLER CASEY, LLP

PUZAK, LORI                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03619          ONDERLAW, LLC

PYBURN, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09368          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PYERITZ-WHITMOYER, DAWN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14056          FLETCHER V. TRAMMELL

PYLANT, MARGUERITE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13023          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

PYLE, MARY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17676          NACHAWATI LAW GROUP

PYNE, KIMBERLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06292          ONDERLAW, LLC

PYRAM, MICHELE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11214           HAUSFELD

QADEER, NADIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11096          ONDERLAW, LLC

QAMARRAH EL-SHABAZZ                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18299          WEITZ & LUXENBERG

QAMARUDDIN, ASLAM                   NY - SUPREME COURT - NYCAL                    190287/2019            MEIROWITZ & WASSERBERG, LLP
QAMARUDDIN, ASLAM & QAMARUDDIN,
                                    NY - SUPREME COURT - NYCAL                    190287/2019            MEIROWITZ & WASSERBERG, LLP
SALMA
QUAGLIESE, VIRGIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05170          THE POINTE

QUAIDER, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04721          ASHCRAFT & GEREL

QUAILES, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20058           ARNOLD & ITKIN LLP




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             Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

QUALIATO, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08224          FLETCHER V. TRAMMELL

QUALLS, BILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18570          ONDERLAW, LLC

QUALLS, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09467          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

QUANNAH SMITH                   FEDERAL - MDL                                 3:21-CV-19108          MOTLEY RICE, LLC

QUARESIMA, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17653           NACHAWATI LAW GROUP

QUARLES, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09356          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

QUARLES, DELORES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20714          ONDERLAW, LLC

QUARLES, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

QUARLES, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

QUARLES, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

QUARLES, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

QUARLES, MARY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           THE SMITH LAW FIRM, PLLC

QUARLES, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10682          BERNSTEIN LIEBHARD LLP

QUASCHNICK, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09543          THE MILLER FIRM, LLC

QUAST, ESTHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19773           NACHAWATI LAW GROUP

QUATTROCIOCCHI, VIRGINIA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-09485          ASHCRAFT & GEREL

QUAVE, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02457          ONDERLAW, LLC

QUEBEC, FE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19026          NACHAWATI LAW GROUP

QUEEN, MCMILLIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06385          ONDERLAW, LLC

QUESADA, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09485          BISNAR AND CHASE

QUEVEDO, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03364           NAPOLI SHKOLNIK, PLLC

QUEZADA, YOLANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12635          JOHNSON LAW GROUP

QUIAMBAO, ELONA                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC650610                LENZE KAMERRER MOSS, PLC

QUIATCHON, VICTORIA             CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV309681              LEVIN SIMES LLP

QUIBODEAUX, CHARLOTTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21780          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

QUICK, MICHELENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13945          ASHCRAFT & GEREL

QUICK, MICHELENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

QUICK, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

QUICK, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

QUICK, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

QUICKLE, BECKY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13580          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

QUIGG, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01000          ONDERLAW, LLC




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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

QUIGLEY, BETH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12355          ASHCRAFT & GEREL

QUIGLEY, BETH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12355          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

QUIGLEY, LAKYIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12430          FLETCHER V. TRAMMELL

QUIGLEY, MARIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10834          ASHCRAFT & GEREL

QUIGLEY, ROBIN                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV333574              DANIEL & ASSOCIATES, LLC

QUIGLEY, ROBIN                    CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV333574             KIESEL LAW, LLP

QUIGLEY, ROBIN                    CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV333574             THE WHITEHEAD LAW FIRM, LLC

QUIJANO, PACITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08164          ONDERLAW, LLC

QUIJENCIO, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17784          ONDERLAW, LLC

QUILES, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01872          THE SEGAL LAW FIRM

QUILES, NINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01108           MOTLEY RICE, LLC

QUILLEN, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07597          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

QUILLEN, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13257          ONDERLAW, LLC

QUILLIN, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17053           JOHNSON LAW GROUP

QUININ, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12309           BARRETT LAW GROUP

QUINION, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09211          ONDERLAW, LLC

QUINLEY, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03731          ONDERLAW, LLC

QUINLIVAN, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01888          ONDERLAW, LLC

QUINN, ANGIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09503          THE MILLER FIRM, LLC

QUINN, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12832          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

QUINN, JACKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07820          POTTS LAW FIRM

QUINN, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18202           MCSWEENEY/LANGEVIN, LLC

QUINN, MICHELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09989          PARKER WAICHMAN, LLP

QUINN, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06142          POGUST BRASLOW & MILLROOD, LLC

QUINN-BRIGGS, KATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18793          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

QUINONES, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15185          SANDERS PHILLIPS GROSSMAN, LLC

QUINONES-GARCIA, GEORGINA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07042          ONDERLAW, LLC

QUINONEZ, YOLANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02969          ONDERLAW, LLC

QUINTANA, DELORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18942          NACHAWATI LAW GROUP

QUINTANA, ESTELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13126           ARNOLD & ITKIN LLP

QUINTANA, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04132          ONDERLAW, LLC

QUINTANA, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06199           JOHNSON LAW GROUP

QUINTANA, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18284          ARNOLD & ITKIN LLP




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

QUINTANILLA, ANGELICA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19908          ARNOLD & ITKIN LLP

QUINTANILLA, DEBBIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08657          DAVIS, BETHUNE & JONES, L.L.C.

QUINTERO, SARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09518          ONDERLAW, LLC

QUINTON, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01623          FLETCHER V. TRAMMELL

QUINTON, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09581          ONDERLAW, LLC

QUIRCH, JOYCELYNN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13482           BISNAR AND CHASE

QUIRK, RAMONA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

QUIRK, RAMONA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

QUIRK, RAMONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11172           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

QUIRK, RAMONA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

QUIRK, RAMONA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

QUIRK, RAMONA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

QUIROGA, JUANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14500          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

QUIROS, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04614           BLIZZARD & NABERS, LLP

QUIROZ, CORINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07960          ONDERLAW, LLC

QUIROZ, PATTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11339          NACHAWATI LAW GROUP

QUIROZ, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05990          ONDERLAW, LLC

QUISENBERRY, THERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04066           ONDERLAW, LLC

QUITTER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10361           KLINE & SPECTER, P.C.

R. CHIONSKI, STANLEY              IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

RA, C                             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12627           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RAAD-BIER, LISA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-730-16            GOLOMB SPIRT GRUNFELD PC

RAASCH, MARIETA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10834          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RABALAIS, ROBYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11371          PARKER WAICHMAN, LLP

RABALAIS, TAHNEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17822           FLETCHER V. TRAMMELL

RABASCA, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09673          GOLOMB SPIRT GRUNFELD PC

RABE, DOTTIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11106          ONDERLAW, LLC

RABENA, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08125          LEVIN SIMES LLP

RABINOVITCH, IRINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04826          PARKER WAICHMAN, LLP

RABINOWITZ, ROBIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06872          MARY ALEXANDER & ASSOCIATES, P.C.

RABUCK, VOHNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13861          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RABURN, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06987          THE SIMON LAW FIRM, PC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RABY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02751          ONDERLAW, LLC

RACASI, LYNNE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003888-20         GOLOMB & HONIK, P.C.

RACE, SUE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14522          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RACHAEL MARCHESKIE               FEDERAL - MDL                                 3:21-CV-19779          ONDERLAW, LLC

RACHAL, HATTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11630          THE MILLER FIRM, LLC

RACHAL, PATSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17720          NACHAWATI LAW GROUP

RACHEL HANSON                    FEDERAL - MDL                                3:21-CV-19894           ONDERLAW, LLC

RACHEL SATNAN                    FEDERAL - MDL                                3:21-CV-18658           FLETCHER V. TRAMMELL

RACHELS, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04735          JOHNSON LAW GROUP

RACHICK, JANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09847          ONDERLAW, LLC

RACIOPPO, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00173          CELLINO & BARNES, P.C.

RACKOV-TOKICH, NELLIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08305          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RACKOW, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09348          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RACKOW, JANET                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

RACKOW, JANET                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

RACKOW, JANET                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

RADA, CECILIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04550          THE BENTON LAW FIRM, PLLC

RADAR, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07856          ONDERLAW, LLC

RADBILL, NATALIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16389          KIESEL LAW, LLP

RADBILL, NATALIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16389          LAW OFFICE OF HAYTHAM FARAJ

RADBILL, NATALIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16389          MARTINIAN & ASSOCIATES, INC.

RADCLIFFE, BETTYE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00041          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RADCLIFFE, GIANNINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20045          ONDERLAW, LLC

RADEL, JAIME                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17620          LENZE LAWYERS, PLC

RADEMACHER, ANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09932          ONDERLAW, LLC

RADEMACHER-HAMILTON, TRACEY      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09649          ONDERLAW, LLC

RADEMAKER, PEARL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12744          ASHCRAFT & GEREL

RADENHAUSEN, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09902          SANDERS VIENER GROSSMAN, LLP

RADER, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16577          WILLIAM G. COLVIN, PLLC

RADER, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08252          ONDERLAW, LLC

RADER, PATRICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10688          COHEN & MALAD, LLP

RADER, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10409          MORELLI LAW FIRM, PLLC

RADFORD, BRIDGET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06004          ONDERLAW, LLC

RADFORD, COLLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20314          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

RADFORD, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13625          DAVIS, BETHUNE & JONES, L.L.C.

RADFORD, LELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11247          MORRIS BART & ASSOCIATES

RADFORD, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15539           THE MILLER FIRM, LLC

RADIG, DOROTHY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002445-21         COHEN, PLACITELLA & ROTH

RADILOFF, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05779          ONDERLAW, LLC

RADKE, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17688          NACHAWATI LAW GROUP

RADOUS, PAUL                      IL - CIRCUIT COURT - COOK COUNTY              20-L-8013              VOGELZANG LAW

RADTKE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RADTKE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RADTKE, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RADTKE, NANCY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003310-21         WEITZ & LUXENBERG

RADZAI, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20352          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAE, PEGGY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07708          ASHCRAFT & GEREL

RAE, PEGGY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07708          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAEL, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17353          WEITZ & LUXENBERG
                                  PA - COURT OF COMMON PLEAS - FAYETTE
RAFAIL, BETTY                                                                  1684-2019               ATTN: DANIEL P. MCDYER
                                  COUNTY
RAFFERTY, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14659          POWERS ROGERS & SMITH LLP

RAFIDI, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10124           THE MILLER FIRM, LLC

RAFIDI, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03615          ONDERLAW, LLC

RAFUSE, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14587          NAPOLI SHKOLNIK, PLLC

RAGAN, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01792          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

RAGER, LANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08795          ONDERLAW, LLC

RAGIS, LOUISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09282          SANDERS VIENER GROSSMAN, LLP

RAGLAND, LORETTA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003060-21         WEITZ & LUXENBERG

RAGLIN, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20250          NACHAWATI LAW GROUP

RAGNO, JODI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15248           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RAGO, KRISTINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01002          ONDERLAW, LLC

RAGONE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00428          ONDERLAW, LLC

RAGONE, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03854          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAGSDALE, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08376           FLETCHER V. TRAMMELL

RAGSDALE, LANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10860           THE MILLER FIRM, LLC

RAGSEALE, DARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12144          FLETCHER V. TRAMMELL

RAGUDO, EVANGELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18941           NACHAWATI LAW GROUP

RAHIMINMANESH, PARVIN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16686          JOHNSON LAW GROUP



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RAHM, BEATRICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20320          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAHMAAN, KLALIHAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09911          ONDERLAW, LLC

RAHMING-WADE, LEARLEAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00647          GORI JULIAN & ASSOCIATES, P.C.

RAIHER, MANDE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07299          ONDERLAW, LLC

RAIMONDI, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08748          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAIMONDI, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20327          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAIMUNDO, JEANNETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12307          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAINDORF, MARCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07416          DUGAN LAW FIRM, PLC

RAINER, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03888          ONDERLAW, LLC

RAINER, KIM                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAINER, KIM                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           ONDERLAW, LLC

RAINER, KIM                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA

RAINER, KIM                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          THE SMITH LAW FIRM, PLLC

RAINES, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12771           ASHCRAFT & GEREL

RAINES, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02400          ONDERLAW, LLC

RAINES-DREW, JUSTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08508          DAVIS, BETHUNE & JONES, L.L.C.

RAINEY, ADRIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03084           JOHNSON BECKER, PLLC

RAINEY, BEATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05505           ONDERLAW, LLC

RAINEY, ETHEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20041          NACHAWATI LAW GROUP

RAINEY, LATOYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05351          THE SEGAL LAW FIRM

RAINEY, LATOYIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06518          ONDERLAW, LLC

RAINEY, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15588           MORRIS BART & ASSOCIATES

RAINEY, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18494          ONDERLAW, LLC

RAINEY, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01248           ONDERLAW, LLC

RAINONE, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18985           NACHAWATI LAW GROUP

RAINS, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10027          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAINS, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10704          THE MILLER FIRM, LLC

RAINVILLE, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAJAMOHAN, SUGIRTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06012           HEYGOOD, ORR & PEARSON

RAJCAN, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19791          NACHAWATI LAW GROUP

RAJUNAS, LORI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07736          ONDERLAW, LLC

RAK, JOANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAK, JOANNA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2355-17           FELDMAN & PINTO




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              Claimant Name                        State Filed                        Docket Number                               Plaintiff Counsel

RAK, JOANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          ONDERLAW, LLC

RAK, JOANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719           PORTER & MALOUF, PA

RAK, JOANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          THE SMITH LAW FIRM, PLLC

RAK, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11288          GORI JULIAN & ASSOCIATES, P.C.

RAKES, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16567          PETERSON & ASSOCIATE, P.C.

RAKIN, CORINNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09162          SANDERS VIENER GROSSMAN, LLP

RAKIP, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11042          ONDERLAW, LLC

RAK-PIETRYLA, CAROL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12859          THE BENTON LAW FIRM, PLLC

RALEIGH, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02391           ONDERLAW, LLC

RALENE RUSSELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18783          MOTLEY RICE, LLC

RALEY, JOHNNYE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17488           MOTLEY RICE, LLC

RALEY, SHARON                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002137-20         GOLOMB & HONIK, P.C.

RALL, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03424          NACHAWATI LAW GROUP

RALLS, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06050          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RALPH, LAURA                     CA - SUPERIOR COURT - COUNTY OF MARIN         CV1704352              SKIKOS, CRAWFORD, SKIKOS & JOSEPH

RALPH, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11011          LEVIN SIMES LLP

RAM, JEANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09829          JAMES MORRIS LAW FIRM PC

RAMA, VIOLETA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00578          NACHAWATI LAW GROUP

RAMBO, CARMEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19901          CELLINO & BARNES, P.C.

RAMBO, LATRESE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09073          WILLIAMS HART LAW FIRM

RAMBO, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00564          JOHNSON BECKER, PLLC

RAMBO, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02736          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAMBOW, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14502           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RAMCHARAN, CHARINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21050          CELLINO & BARNES, P.C.

RAMCHARAN, ROMEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00918          GORI JULIAN & ASSOCIATES, P.C.

RAMDEEN, TESSA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002952-18         ROSS FELLER CASEY, LLP

RAMENSKY, CORALEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13655          THE DUGAN LAW FIRM, APLC

RAMER, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05876          ASHCRAFT & GEREL

RAMER, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05876          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAMEY, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13459          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

RAMEY, DANEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04843          FLEMING, NOLEN & JEZ, LLP

RAMIE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02880          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAMIREZ, ALEJANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15572          JOHNSON LAW GROUP

RAMIREZ, ALISIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05008          MATERN LAW GROUP, PC



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           Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

RAMIREZ, ANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

RAMIREZ, ANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00489          DALIMONTE RUEB, LLP

RAMIREZ, CAMI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06687          THE SIMON LAW FIRM, PC

RAMIREZ, CHRISTINA            CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC655673                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RAMIREZ, DARYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15142          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RAMIREZ, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00529          POTTS LAW FIRM

RAMIREZ, HELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15655          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAMIREZ, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RAMIREZ, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14904          LENZE LAWYERS, PLC

RAMIREZ, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RAMIREZ, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08639          ONDERLAW, LLC

RAMIREZ, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14904          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RAMIREZ, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RAMIREZ, JESUSITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01476           ONDERLAW, LLC

RAMIREZ, JOANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06179          THE DIAZ LAW FIRM, PLLC

RAMIREZ, LUZ                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03151          ONDERLAW, LLC

RAMIREZ, MAGALY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12938          DRISCOLL FIRM, P.C.

RAMIREZ, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09056          DALIMONTE RUEB, LLP

RAMIREZ, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08027          ONDERLAW, LLC

RAMIREZ, MYRNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15750          GIRARDI & KEESE

RAMIREZ, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04243          ONDERLAW, LLC

RAMIREZ, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21184          THE MILLER FIRM, LLC

RAMIREZ, RITA                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC664311                NAPOLI SHKOLNIK, PLLC

RAMIREZ, STEPHANIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00592           DIAMOND LAW

RAMIREZ, SYLVIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00765           ONDERLAW, LLC

RAMIREZ, TATIANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03619          ONDERLAW, LLC

RAMIREZ, WILMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05568          JOHNSON LAW GROUP

RAMLOCHAN, CHANMATTIE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00942          MORRELL LAW FIRM, PLLC

RAMLOCHAN, CHARMATTIE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12135           ONDERLAW, LLC

RAMO, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11676          NACHAWATI LAW GROUP

RAMON, DAYMARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08229          THE DUGAN LAW FIRM, APLC

RAMON, ELIPIHNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14858          LENZE LAWYERS, PLC

RAMON, ELIPIHNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14858           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RAMON, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11460          NACHAWATI LAW GROUP



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

RAMOS, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11489          NACHAWATI LAW GROUP

RAMOS, ARISEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

RAMOS, CARMEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12568          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RAMOS, CONSUELO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-02114          JOHNSON LAW GROUP

RAMOS, IRMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04367          HILLARD MUNOZ GONZALES, LLP

RAMOS, JEMIMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10794          NACHAWATI LAW GROUP

RAMOS, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18833          CELLINO & BARNES, P.C.

RAMOS, LUISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12582           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RAMOS, MANUELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08411          ONDERLAW, LLC

RAMOS, MARGARITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15402           ONDERLAW, LLC

RAMOS, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19328          NACHAWATI LAW GROUP

RAMOS, ROBINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18700          NACHAWATI LAW GROUP

RAMOS, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05669          THE CARLSON LAW FIRM

RAMOS, SHERRYANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04928          ASHCRAFT & GEREL, LLP

RAMOS, SYLVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16441          COHEN & MALAD, LLP

RAMOS, VALERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16217          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RAMOS-MORALES, NILDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20332          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAMOS-MORENO, PURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

RAMOUTAR, CAMLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09291          DALIMONTE RUEB, LLP

RAMPLEY, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11223          THE MILLER FIRM, LLC

RAMPY, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08842          ONDERLAW, LLC

RAMRIEZ, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04589          LAW OFF OF ROGER 'ROCKY' WALTON, PC

RAMSAY, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08970          WILLIAMS HART LAW FIRM

RAMSBURG, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02547          NAPOLI SHKOLNIK, PLLC

RAMSEY, ALVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04004          ONDERLAW, LLC

RAMSEY, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10680          NACHAWATI LAW GROUP

RAMSEY, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12150          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAMSEY, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10334          ONDERLAW, LLC

RAMSEY, GINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06014          ONDERLAW, LLC

RAMSEY, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18269           JOHNSON LAW GROUP

RAMSEY, JOLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06215          ONDERLAW, LLC

RAMSEY, LILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04299          ONDERLAW, LLC

RAMSEY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12357           ONDERLAW, LLC




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             Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

RAMSEY, SHANNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09636          ONDERLAW, LLC

RAMSEY, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00105          CHAPPELL, SMITH & ARDEN, P.A.

RAMUNDO, CAROL                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00294219               GOLOMB SPIRT GRUNFELD PC

RAMXEY, ROBERTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17866           JOHNSON LAW GROUP

RANALDI, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20657          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

RANALLI, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02225          ONDERLAW, LLC

RANATZA, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09566           MORRIS BART & ASSOCIATES

RANCOUR, RHONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11481          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAND, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08642          THE DUGAN LAW FIRM, APLC

RAND, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20616          ONDERLAW, LLC

RAND, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10402          ONDERLAW, LLC

RANDALL, ALVINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03757          ONDERLAW, LLC

RANDALL, CHARLOTTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13324          GORI JULIAN & ASSOCIATES, P.C.

RANDALL, EDNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00554          ONDERLAW, LLC

RANDALL, GINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10675          ONDERLAW, LLC

RANDALL, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12891          BARRETT LAW GROUP

RANDALL, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14054           THE SEGAL LAW FIRM

RANDALL, NICOLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10887           GOLDENBERGLAW, PLLC

RANDALL, NINETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17739           NACHAWATI LAW GROUP

RANDALL, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04879          ONDERLAW, LLC

RANDALL, PORCHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01240          NACHAWATI LAW GROUP

RANDALL, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02890          STEWART & STEWART

RANDALL, VIVIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19842           NACHAWATI LAW GROUP

RANDAZZO, DEBRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004046-20         SLATER, SLATER, SCHULMAN, LLP

RANDAZZO, JOANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16180          HENINGER GARRISON DAVIS, LLC

RANDI SCHERER                   FEDERAL - MDL                                 3:21-CV-19740          JOHNSON BECKER, PLLC

RANDLE, CHIQUITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03326          ASHCRAFT & GEREL

RANDLE, CHIQUITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03326           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RANDLE, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08682          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RANDLE, ESTHER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20471          ONDERLAW, LLC

RANDLE, NICOLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02403           THE MILLER FIRM, LLC

RANDLE, RAISHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10678          ONDERLAW, LLC

RANDOLPH, ALICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16527          NACHAWATI LAW GROUP




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              Claimant Name                         State Filed                       Docket Number                                 Plaintiff Counsel

RANDOLPH, DEBRA                  CA - SUPERIOR COURT - FRESNO COUNTY           18CECG00758               BISNAR AND CHASE

RANDOLPH, SANDRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1243-16              DAMATO LAW FIRM, P.C.

RANDOLPH, SANDRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1243-16              DAMATO LAW FIRM, P.C.

RANGEL, CORINE                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC688032                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RANGEL, LETICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02172             ARNOLD & ITKIN LLP

RANGEL, YOLANDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RANGEL, YOLANDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545              GOLDENBERGLAW, PLLC

RANGEL, YOLANDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545               ONDERLAW, LLC

RANGEL, YOLANDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545              PORTER & MALOUF, PA

RANGEL, YOLANDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545               THE SMITH LAW FIRM, PLLC

RANKE, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09779             ONDERLAW, LLC

RANKIN, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09849             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RANKIN, LAURIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09625              ASHCRAFT & GEREL

RANKIN, LAURIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09625             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RANKIN, MARY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1181-16              GOLOMB SPIRT GRUNFELD PC

RANKIN, MILDRED                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02125             BURNS CHAREST LLP

RANKIN, MILDRED                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02125             BURNS CHAREST LLP

RANKIN, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16295              WATERS & KRAUS, LLP

RANNEY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17724              HEARD LAW FIRM, PLLC

RANOIA, ANTOINETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06056              KLINE & SPECTER, P.C.

RANSDELL, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02669              ONDERLAW, LLC

RANSFORD, JENNIFER               FL - CIRCUIT COURT - BROWARD COUNTY          CACE19000142               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RANSFORD, JENNIFER               FL - CIRCUIT COURT - BROWARD COUNTY          CACE19000142               KELLEY UUSTAL, PLC

RANSFORD, JULIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21434             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

RANSOM, SHARI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08007             ONDERLAW, LLC

RANSOM, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12450              JOHNSON BECKER, PLLC

RANSOM, SHEILA                   CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2017-41733-CU-PL-CTL    ONDERLAW, LLC

RANSOM, SHEILA                   CA - SUPERIOR COURT - SAN DIEGO COUNTY        37-2017-41733-CU-PL-CTL   SALKOW LAW, APC

RANSON, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19371             JOHNSON LAW GROUP

RANSOPHER, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15744              ONDERLAW, LLC

RANTZ, CECELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11384             ONDERLAW, LLC

RANTZ, RETA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06651              FLETCHER V. TRAMMELL

RANZIE, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08757             ONDERLAW, LLC

RAO, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10936             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC



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              Claimant Name                         State Filed                       Docket Number                             Plaintiff Counsel

RAOUF, FARIBA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15637          HILLIARD MARTINEZ GONZALES, LLP

RAPE, CHRIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14725          HILLIARD MARTINEZ GONZALES, LLP

RAPIN, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00207          NACHAWATI LAW GROUP

RAPOSA, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13337           BURNS CHAREST LLP

RAPOZA, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08486          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAPP, KATHY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002            ONDERLAW, LLC

RAPPOLD, MADELEINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04596           BECNEL LAW FIRM, LLC

RAPTIS, MARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11530          ASHCRAFT & GEREL

RARANGA, GRANDELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17610          ONDERLAW, LLC

RAS, JUDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18842           CELLINO & BARNES, P.C.

RASBAND, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16635          JOHNSON LAW GROUP

RASH, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02148          ONDERLAW, LLC

RASH, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07347          ONDERLAW, LLC

RASH, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13679          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

RASHBA, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04282          MOTLEY RICE, LLC

RASHIED, BRENDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1040-16           ASHCRAFT & GEREL

RASHIED, BRENDA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1040-16           GOLOMB SPIRT GRUNFELD PC

RASINSKI, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18799          CELLINO & BARNES, P.C.

RASLER, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06385          SUMMERS & JOHNSON, P.C.

RASLER, WENDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17354          THE MILLER FIRM, LLC

RASMUSSEN, COLLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10920          THE MILLER FIRM, LLC

RASMUSSEN, DARCELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10703          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RASMUSSEN, JOANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01333           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

RASMUSSEN, TAMARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01505           ONDERLAW, LLC

RASNER, LESLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12277          ONDERLAW, LLC

RASNICK, GERALDINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02946           FLETCHER V. TRAMMELL

RASPOTNIK, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17511          NACHAWATI LAW GROUP

RASSEGA, ALLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01337          ASHCRAFT & GEREL

RASSEGA, ALLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01337          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RATAJCZAK, LELANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14234          CELLINO & BARNES, P.C.

RATAJCZYK, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08086          DAVIS, BETHUNE & JONES, L.L.C.

RATCLIFF, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10360          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RATCLIFFE, GINGER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13914          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

RATCLIFFE, PATTI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12242          TAUTFEST BOND

RATHBONE, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10553          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RATHBURN-HUTCHENS, LORI           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19257          SANDERS PHILLIPS GROSSMAN, LLC

RATHSADA, AMBER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04124          ONDERLAW, LLC

RATLIFF, ALYSS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11724          SLATER, SLATER, SCHULMAN, LLP

RATLIFF, CARLEENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06041          WATERS & KRAUS, LLP

RATLIFF, CHERI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09703          GORI JULIAN & ASSOCIATES, P.C.

RATLIFF, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13864          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RATLIFF, JAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13592          ONDERLAW, LLC

RATLIFF, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12078          BURNS CHAREST LLP

RATLIFF, ROBYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05215          ONDERLAW, LLC

RATLIFF, ROBYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18391          THE BENTON LAW FIRM, PLLC

RATTA, RENEE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002944-15         SEEGER WEISS LLP

RATTO, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09165          ONDERLAW, LLC

RAU, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12300          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAU, MARIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09463          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAULERSON, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21784          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAULSTON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10046          ONDERLAW, LLC

RAULSTON, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19803           JOHNSON BECKER, PLLC

RAULT, NICOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08047           MORGAN & MORGAN

RAUSA, PASQUALINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02947          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAUTTER, LORETTA                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321209              THE MILLER FIRM, LLC

RAVAS, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15127          HENINGER GARRISON DAVIS, LLC

RAVELLETTE, BRANDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03956          ONDERLAW, LLC

RAVELLETTE, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13274           MORELLI LAW FIRM, PLLC

RAVENCRAFT, ELAINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-295-18            GOLOMB SPIRT GRUNFELD PC

RAVENEL, TINA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002356-20         GOLOMB & HONIK, P.C.

RAVENELL, TIFFANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02407          ONDERLAW, LLC

RAVENSCROFT, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09461           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAVERT, COLLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15751          GIRARDI & KEESE

RAVILIOUS, IRENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12913          SANDERS PHILLIPS GROSSMAN, LLC

RAVIN, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12057           NACHAWATI LAW GROUP

RAWLINGS, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10681          ONDERLAW, LLC




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             Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RAWLINGS, LINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16756          THE SEGAL LAW FIRM

RAWLINGS, VELVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22002          ONDERLAW, LLC

RAWLINS, CAROL                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1441-16           NAPOLI SHKOLNIK, PLLC

RAWLINS, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10851          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

RAWLS, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14727          LENZE LAWYERS, PLC

RAWLS, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14727          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RAWLS, CAITLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18261          ONDERLAW, LLC

RAWLS, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09151          ONDERLAW, LLC

RAWLS, RUTH                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV322737              THE MILLER FIRM, LLC

RAWNSLEY, ANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10997          EISENBERG, ROTHWEILER, WINKLER

RAWNSLEY, ANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10997           MJR

RAY, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05378          ONDERLAW, LLC

RAY, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00311          ONDERLAW, LLC

RAY, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17869          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAY, CARI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19765          ONDERLAW, LLC

RAY, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13672          DRISCOLL FIRM, P.C.

RAY, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17243          ONDERLAW, LLC

RAY, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09879          WAGSTAFF & CARTMELL, LLP

RAY, DALE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08440          FLETCHER V. TRAMMELL

RAY, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01959          DALIMONTE RUEB, LLP

RAY, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17761          NACHAWATI LAW GROUP

RAY, JENNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07446           ASHCRAFT & GEREL

RAY, KATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00960          HEYGOOD, ORR & PEARSON

RAY, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00473           CELLINO & BARNES, P.C.

RAY, LAURA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAY, LAURA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

RAY, LAURA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

RAY, LAURA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

RAY, LAURA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

RAY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RAY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RAY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RAY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15703          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RAY, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07784          ASHCRAFT & GEREL



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              Claimant Name                             State Filed                        Docket Number                              Plaintiff Counsel

RAY, LISA                             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07784          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAY, LISA                             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15213          PARKER WAICHMAN, LLP

RAY, MARGARET                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10459          GORI JULIAN & ASSOCIATES, P.C.

RAY, MARY                             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10755          CATES MAHONEY, LLC

RAY, MINNIE                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17750          NACHAWATI LAW GROUP

RAY, SABATELLI, III EST OF C. SABATELLI NJ - SUPERIOR COURT - MIDDLESEX COUNTY      MID-L-05902-16AS       LEVY KONIGSBERG LLP

RAY, SABRINA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10153          DAVIS, BETHUNE & JONES, L.L.C.

RAY, SHARON                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16221          NACHAWATI LAW GROUP

RAY, SHELIA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07647          ONDERLAW, LLC

RAY, SHIRLEY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19948          NACHAWATI LAW GROUP

RAY, SUSAN                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05363          ONDERLAW, LLC

RAYBURN, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08424          ONDERLAW, LLC

RAYFORD, OZZIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19275          NACHAWATI LAW GROUP

RAYFORD, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17763          NACHAWATI LAW GROUP

RAY-KRIEGER, MARCIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19775           ONDERLAW, LLC

RAY-LAWSON, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07832           ONDERLAW, LLC

RAYMER, MARSHA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      321-CV-11084           PARKER WAICHMAN, LLP

RAYMOND, ALISHA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16559           NACHAWATI LAW GROUP

RAYMOND, ANGELA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13109           NACHAWATI LAW GROUP

RAYMOND, BECKY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16265          NACHAWATI LAW GROUP

RAYMOND, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15349          ONDERLAW, LLC

RAYMOND, IRENE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13730          ONDERLAW, LLC

RAYMOND, JUDITH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11644          NACHAWATI LAW GROUP

RAYMOND, LOUANE                       IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

RAYMOND, PEGGY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19291           CELLINO & BARNES, P.C.

RAYNE STEENS, LA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAYNE STEENS, LA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

RAYNE STEENS, LA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           LENZE LAWYERS, PLC

RAYNE STEENS, LA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720           ONDERLAW, LLC

RAYNE STEENS, LA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720           PORTER & MALOUF, PA

RAYNE STEENS, LA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RAYNE STEENS, LA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720          THE SMITH LAW FIRM, PLLC

RAYNER, ANITA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03039           MUELLER LAW PLLC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RAYNER, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17614          ONDERLAW, LLC

RAYNES, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10684           ONDERLAW, LLC

RAYNOR, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19856          ASHCRAFT & GEREL, LLP

RAYNOR, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19856          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RAZEK, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07953          DALIMONTE RUEB, LLP

RAZOUK, SHERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09808          ONDERLAW, LLC

RAZZANO, JODI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02064          PETERSON & ASSOCIATE, P.C.

REA, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05830          ONDERLAW, LLC

REA, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11291          SIMMONS HANLY CONROY

REACARD, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17767          NACHAWATI LAW GROUP

READ, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10959          ONDERLAW, LLC

READDY, SHELIA                   GA - STATE COURT OF CLAYTON COUNTY           2020CV00252             BARNES LAW GROUP, LLC

READDY, SHELIA                   GA - STATE COURT OF CLAYTON COUNTY           2020CV00252             CHEELEY LAW GROUP

READE, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02265          JOHNSON BECKER, PLLC

REAGAN, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20270          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REAGAN, RAE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11477          POTTS LAW FIRM

REAGIN, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10510          HENINGER GARRISON DAVIS, LLC

REALE, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05867          ASHCRAFT & GEREL

REALE, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05867          EISENBERG, ROTHWEILER, WINKLER

REAMES, KAY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02737          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REAMS, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05721          WILLIAMS HART LAW FIRM

REAMS, GWENDOLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19329          NACHAWATI LAW GROUP

REAPE, YVONNE                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323966              THE MILLER FIRM, LLC

REASER, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05219          ONDERLAW, LLC

REASON, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14848          LENZE LAWYERS, PLC

REASON, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14848          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REASOR, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01231          COHEN & MALAD, LLP

REAVES, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09622          FLETCHER V. TRAMMELL

REAVES, CAROLINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

REAVES, CAROLINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

REAVES, CAROLINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

REAVY, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14348          GOLOMB SPIRT GRUNFELD PC

REAY, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17775          NACHAWATI LAW GROUP




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

REBECCA FISHER                   FEDERAL - MDL                                 3:21-CV-19838          MORELLI LAW FIRM, PLLC

REBECCA HODAPP                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

REBECCA NIELSEN                  IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

REBO, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06775          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REBOLLEDO, GLORIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REBOLLEDO, GLORIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

REBOLLEDO, GLORIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

REBROVICH, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01202          POTTS LAW FIRM

RECIGNO, GLORIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2634-L            ROSS FELLER CASEY, LLP

RECIO, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11407          DAVIS, BETHUNE & JONES, L.L.C.

RECKER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13946          ASHCRAFT & GEREL

RECKER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RECKNER, GERALDINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02961          WILLIAMS HART LAW FIRM

RECTOR, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07552          ASHCRAFT & GEREL, LLP

RECTOR, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07552          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RECTOR, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06707          ONDERLAW, LLC

RECZKA, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20292           CELLINO & BARNES, P.C.

REDA, EMILIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05761          CELLINO & BARNES, P.C.

REDD, ALISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02494          THE DUGAN LAW FIRM, APLC

REDDELL, RENEE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6798-14           SEEGER WEISS LLP

REDDEN, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REDDEN, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20659          ONDERLAW, LLC

REDDICK, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12234          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REDDICK, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11975          FLETCHER V. TRAMMELL

REDDING, CLARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11845          NACHAWATI LAW GROUP

REDDING, DEBORAH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REDDING, DEBORAH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

REDDING, DEBORAH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

REDDING, DEBORAH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

REDDING, DEBORAH                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

REDDING, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12887           THE MILLER FIRM, LLC

REDDING, ELLEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002498-20         GOLOMB & HONIK, P.C.

REDDING, IDELMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08718          THE MILLER FIRM, LLC

REDDING, LUANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10138           ARNOLD & ITKIN LLP



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

REDDING, OLLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05700          WILLIAMS HART LAW FIRM

REDDIX, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10481          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REDDOCH, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06271          ONDERLAW, LLC

REDDY, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00877          BLIZZARD & NABERS, LLP

REDFEARN, JULIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06604          ONDERLAW, LLC

REDFERN, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06454          ONDERLAW, LLC

REDINGER, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09871           ONDERLAW, LLC

REDMAN, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12340          BARRETT LAW GROUP

REDMAN, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13082          THE MILLER FIRM, LLC

REDMON, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04134          ONDERLAW, LLC

REDMON, VIRGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09950          ONDERLAW, LLC

REDMOND, ANGELA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002357-20         GOLOMB & HONIK, P.C.

REDMOND, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10778          ASHCRAFT & GEREL

REDMOND, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18834          NACHAWATI LAW GROUP

REDMOND, WINIFRED                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17788          NACHAWATI LAW GROUP

REDNER, ROLENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

REDNER, ROLENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

REDNER, ROLENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REDONDO, JULIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06536          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

REDSTOCK, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10019          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REECE, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09452          ONDERLAW, LLC

REECE, CAROLE                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC704056                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

REECE, ROXIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12585           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

REECE, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19796          MCSWEENEY/LANGEVIN, LLC

REECE, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17802          NACHAWATI LAW GROUP

REED, ALICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13867          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REED, AMBER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09833          ONDERLAW, LLC

REED, CARRIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18706          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

REED, CATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17542          ASHCRAFT & GEREL

REED, CHASTITY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07530          WILSON LAW PA

REED, CHYNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17811          NACHAWATI LAW GROUP

REED, DEADRIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11485          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REED, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06537          ONDERLAW, LLC




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

REED, DENA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17473          JOHNSON BECKER, PLLC

REED, EDDIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00812          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REED, ELFA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04624          LANGDON & EMISON

REED, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07838          ASHCRAFT & GEREL

REED, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07838          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REED, ELIZABETH                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-006483-21        MOTLEY RICE, LLC

REED, EMMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00502          THE BENTON LAW FIRM, PLLC

REED, IMOGENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17824          NACHAWATI LAW GROUP

REED, JOANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17128           ARNOLD & ITKIN LLP

REED, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09752          GOLOMB SPIRT GRUNFELD PC

REED, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18624          DRISCOLL FIRM, P.C.

REED, LOUELLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09024          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REED, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13719          BURNS CHAREST LLP

REED, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16736          NAPOLI SHKOLNIK, PLLC

REED, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06461          ONDERLAW, LLC

REED, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07572          ONDERLAW, LLC

REED, NATASHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10883          POTTS LAW FIRM

REED, OLIVIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19297          NACHAWATI LAW GROUP

REED, RAHNEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08688          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REED, ROSE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11541           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

REED, ROXANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13900           WATERS & KRAUS, LLP

REED, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12262          MORELLI LAW FIRM, PLLC

REED, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-04425          ONDERLAW, LLC

REED, SUSANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17625          ONDERLAW, LLC

REED, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13584          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REED, TERRI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16285          JOHNSON BECKER, PLLC

REED, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17852          NACHAWATI LAW GROUP

REED, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10318          THE MILLER FIRM, LLC

REED, VICKIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19585          NACHAWATI LAW GROUP

REED, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15040          ONDERLAW, LLC

REED, YOLANDE SHIRLEY             BRITISH COLUMBIA (VANCOUVER)                  VLC-S-S-230682         PRESZLER LAW FIRM LLP

REED-CHAVEZ, LYNN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19898          NACHAWATI LAW GROUP

REEDER, JOANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08031          ONDERLAW, LLC

REED-HARRIS, CONSTANCE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12963           ONDERLAW, LLC



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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

REED-HINES, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17842          ARNOLD & ITKIN LLP

REED-JOSEPH, ILIZA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14901          LENZE LAWYERS, PLC

REED-JOSEPH, ILIZA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14901          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REEL, STARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18689          NACHAWATI LAW GROUP

REES, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17843          NACHAWATI LAW GROUP

REES, GLADYS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12345          THE DIAZ LAW FIRM, PLLC

REESE, ANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11229          NACHAWATI LAW GROUP

REESE, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04290          ASHCRAFT & GEREL, LLP

REESE, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18281          THORNTON LAW FIRM LLP

REESE, DELORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11785          NACHAWATI LAW GROUP

REESE, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14849           LENZE LAWYERS, PLC

REESE, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14849          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REESE, EDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12296          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REESE, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04097           JOHNSON LAW GROUP

REESE, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REESE, MILLICENT                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11177          ONDERLAW, LLC

REESE, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17847          NACHAWATI LAW GROUP

REESE, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04608          DIAMOND LAW

REESE, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14855          SANDERS PHILLIPS GROSSMAN, LLC

REESE, TERI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04939          ASHCRAFT & GEREL, LLP

REETZ, SALLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19330          NACHAWATI LAW GROUP

REEVE, PEARLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02943          ONDERLAW, LLC

REEVES, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11754          NACHAWATI LAW GROUP

REEVES, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04654          ONDERLAW, LLC

REEVES, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10208          ARNOLD & ITKIN LLP

REEVES, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06569          JOHNSON LAW GROUP

REEVES, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08332          ONDERLAW, LLC

REEVES, KAYLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02363          DAVIS, BETHUNE & JONES, L.L.C.

REEVES, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18685          WILLIAMS HART LAW FIRM

REEVES, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19143          NACHAWATI LAW GROUP

REEVES, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12339          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REEVES, TONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20320          ONDERLAW, LLC

REGALDO, RICHARD G.               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004054-20AS       WEITZ & LUXENBERG




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

REGALIA, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05782          ONDERLAW, LLC

REGELE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09630          ONDERLAW, LLC

REGENOLD, JOSEPHINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02549          THE SEGAL LAW FIRM

REGENSBURG, MADY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

REGENSBURG, MADY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

REGENSBURG, MADY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15772          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REGENSBURG, MADY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REGENWETHER, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12425          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REGINA MITCHELL                   FEDERAL - MDL                                 3:21-CV-19780          ONDERLAW, LLC

REGINA, IVANNSKA LA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002643-21         WEITZ & LUXENBERG

REGISTER, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09532          ONDERLAW, LLC

REGISTER, RENEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13558          ONDERLAW, LLC

REGUERO, YVONNE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002939-20         ARNOLD & ITKIN LLP

REGUERO, YVONNE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002939-20         COHEN, PLACITELLA & ROTH

REHAK, KATHLEEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002618-21         WEITZ & LUXENBERG

REHBECK, ANN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

REHBECK, ANN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

REHBECK, ANN                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

REHBERG, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12428          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REHFELDT, RUTHANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18445          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REHLER, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06177          ONDERLAW, LLC

REHM, ANNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09422          ONDERLAW, LLC

REHMANN, MAUREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17851           NACHAWATI LAW GROUP

REIBMAN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13491           ONDERLAW, LLC

REICH, ESTHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09835          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REICH, NICOLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05657          ONDERLAW, LLC

REICHENBACH-NICHOLS, NORMA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01420          ARNOLD & ITKIN LLP

REID, CHRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07511          ONDERLAW, LLC

REID, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17870          ASHCRAFT & GEREL, LLP

REID, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17870          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REID, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09159          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REID, IDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17387          THE MILLER FIRM, LLC

REID, MARILYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17944          THE LAW FIRM OF LARRY HELVEY

REID, MICHELE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18962          ASHCRAFT & GEREL, LLP



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

REID, MILLICENT                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16863          MORGAN & MORGAN

REID, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09541          BARON & BUDD, P.C.

REID, YASMEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00303          BURNS CHAREST LLP

REID-CARREIRO, KATHRYN            CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21105189              KAZAN MCCLAIN SATTERLEY & GREENWOOD

REIDER, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11337          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

REIDY, LORETTA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002837-20         GOLOMB & HONIK, P.C.

REIFENSTAHL, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00793           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

REIFSTECK, SALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10787          ASHCRAFT & GEREL
REIFSTNIDER, CRAIG EST OF J
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-001904-21        WEITZ & LUXENBERG
REIFSNIDER
REIGLE, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17864          NACHAWATI LAW GROUP

REIL, DEBBIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03959          ONDERLAW, LLC

REILLY, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04072          NAPOLI SHKOLNIK, PLLC

REILLY, ALICE-MARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07557          ASHCRAFT & GEREL, LLP

REILLY, ALICE-MARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07557          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REILLY, ILENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17158          ONDERLAW, LLC

REILLY, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01225          ONDERLAW, LLC

REILY, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15752          GIRARDI & KEESE

REILY, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15752           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REIMAN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00882          ONDERLAW, LLC

REIMERS, DEANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14805          LENZE LAWYERS, PLC

REIMERS, DEANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14805           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REINA, MARLISSE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09003          SIMMONS HANLY CONROY

REINBERGER, MARIETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15347           ONDERLAW, LLC

REINCKE, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04989           ONDERLAW, LLC

REINER, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

REINER, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

REINER, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REINHARD, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09454           FLETCHER V. TRAMMELL

REINHARD, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15828          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

REINHARDT, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20677           ONDERLAW, LLC

REINHARDT, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10717          NACHAWATI LAW GROUP

REINHARDT, MONIKA                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC713772                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REINHARDT, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10396           ONDERLAW, LLC

REINHARDT, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19331          NACHAWATI LAW GROUP



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                Claimant Name                         State Filed                       Docket Number                               Plaintiff Counsel

REINHART, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16869           MORGAN & MORGAN

REINHART, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09625          GOLOMB SPIRT GRUNFELD PC

REINHART, GAIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13869          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REINHOLD, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04725          FLEMING, NOLEN & JEZ, LLP

REINHOLD, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07947          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REINIER, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21791          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REINKE, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13635          PARKER WAICHMAN, LLP

REINSTEDLER, SHERI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20339          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REINUS, JINNI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10804          MUELLER LAW PLLC

REIS, MARIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11894          NACHAWATI LAW GROUP

REISDORF, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17870          NACHAWATI LAW GROUP

REISING, CHRISTINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REISING, CHRISTINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

REISING, CHRISTINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

REISMER, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17884          NACHAWATI LAW GROUP

RELFORD, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05891          ASHCRAFT & GEREL

RELFORD, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05891          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REMBERT, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18848          HENINGER GARRISON DAVIS, LLC

REMER, KITTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08597          ONDERLAW, LLC

REMICK, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12430          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REMINGTON, SUEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07736           ONDERLAW, LLC

REMMER, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08103          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REMMEREID, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05014          LEVIN SIMES LLP

REMOLLINO, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17916          WEITZ & LUXENBERG

REMPAS, LUCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07571          HEYGOOD, ORR & PEARSON

RENATA TRAWICK                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18395          ONDERLAW, LLC

RENCH, PEGGY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20292          MUELLER LAW PLLC

RENCHEN, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00080           ASHCRAFT & GEREL

RENCHER, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10174          VENTURA LAW

RENCK, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05038          ONDERLAW, LLC

RENDA, SHANNON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13376           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

RENDE, CARMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12687          ASHCRAFT & GEREL

RENDLEMAN, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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               Claimant Name                         State Filed                        Docket Number                             Plaintiff Counsel

RENEE BROWN                        FEDERAL - MDL                                 3:21-CV-19149          BARON & BUDD, P.C.

RENEE MORGAN                       FEDERAL - MDL                                 3:21-CV-17978          NACHAWATI LAW GROUP

RENEE ROSECRANS                    DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02739          ASHCRAFT & GEREL, LLP

RENEE ROSECRANS                    DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02739          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RENEE SOLLERS                      FEDERAL - MDL                                3:21-CV-19798           ONDERLAW, LLC

RENES, IRENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15824          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RENEW, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05910          JAMES, VERNON & WEEKS, PA

RENEYA WALKER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18628          WEITZ & LUXENBERG

RENFER, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03598           ONDERLAW, LLC

RENGEL, SABINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07598          ONDERLAW, LLC

RENIE, STACEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12888          THE MILLER FIRM, LLC

RENN, JERRY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02856          MOTLEY RICE, LLC

RENN, STELLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00466          THE SEGAL LAW FIRM

RENNA, GENEIEVE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2268-17           GOLOMB SPIRT GRUNFELD PC

RENNA, GENEVIEVE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

RENNA, GENEVIEVE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          ONDERLAW, LLC

RENNA, GENEVIEVE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          THE POTTS LAW FIRM, LLP

RENNA, GENEVIEVE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          ZEVAN DAVIDSON ROMAN LLC

RENNER, DOLLY                      CA - SUPERIOR COURT - HUMBOLDT COUNTY        DR180322                ASPEY, WATKINS & DIESEL, PLLC

RENNER, DOLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BARRETT LAW GROUP, P.A.

RENNER, DOLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BURNS CHAREST LLP

RENNER, DOLLY                      CA - SUPERIOR COURT - HUMBOLDT COUNTY        DR180322                BURNS CHAREST LLP

RENNER, DOLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BURNS CHAREST LLP

RENNER, DOLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

RENNICK, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12828          NAPOLI SHKOLNIK, PLLC

RENNIE-SMITH, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06920          PARKER WAICHMAN LLP

RENNINGER, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02941          ONDERLAW, LLC

RENO, RENE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07033          ONDERLAW, LLC

RENSHAW, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15365          DAVIS, BETHUNE & JONES, L.L.C.

RENT, MICHELE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17905          NACHAWATI LAW GROUP

RENTERIA, LETITIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15482          ANDRUS WAGSTAFF, P.C.

RENTKO, MARILYN ANN & RENTKO, JOHN NY - SUPREME COURT - NYCAL                    190267/2020            WEITZ & LUXENBERG

RENWAND, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05329          POTTS LAW FIRM




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RENZI, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02870          PARKER WAICHMAN, LLP

RENZI, CLAIRE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003032-20         GOLOMB & HONIK, P.C.

REO, CHERYL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17468          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REPLOGLE, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17898          NACHAWATI LAW GROUP

REPLOGLE, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01096          THE SEGAL LAW FIRM

REPOLA, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17919          NACHAWATI LAW GROUP

REPPELL, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REPPELL, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

REPPELL, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

REPPELL, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

REPPELL, BRENDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            THE SMITH LAW FIRM, PLLC

REPPER, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19332          NACHAWATI LAW GROUP

REPSCHLAGER, DOLORES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00470          CELLINO & BARNES, P.C.

RESAU, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17018          POTTS LAW FIRM

RESENDIS, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03289          MORELLI LAW FIRM, PLLC

RESL-LOSCHNER, ADRIANA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10412           ONDERLAW, LLC

RESNICK, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08826           ONDERLAW, LLC

RESNIK, AMY                       NY - SUPREME COURT - NEW YORK COUNTY         190071/2021             WEITZ & LUXENBERG

RESOR, FAYE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07989          LAW OFFICE OF JOHN D. SILEO, LLC

RESPICIO-SANCHEZ, ARIN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17634          ONDERLAW, LLC

RESSLER, LILLIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-611-16            GOLOMB SPIRT GRUNFELD PC

RESURECCION, BELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12587           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RETANA, GUADALUPE DE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08397          CORRIE YACKULIC LAW FIRM, PLLC

RETHAFORD, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07982          ONDERLAW, LLC

RETRUM, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00799          DALIMONTE RUEB, LLP

RETTER, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12310          ASHCRAFT & GEREL

RETTER, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12310          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RETTIG-BRODY, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10859           THE MILLER FIRM, LLC

REULE, WINNIFRED                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03572          CELLINO & BARNES, P.C.

REUTER, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09154          ONDERLAW, LLC

REUTER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

REUTER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

REUTER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REUTER, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                           State Filed                        Docket Number                              Plaintiff Counsel

REUTER, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15187          LENZE LAWYERS, PLC

REUTER, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

REUTER, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

REUTER, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15187          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REUTER, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

REUTER, ERNESTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17140           CELLINO & BARNES, P.C.

REVELL, SHEILA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09344          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REVELS, RACHEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05866          ONDERLAW, LLC

REVES, SONJA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05612          WATERS & KRAUS, LLP

REVIS, ANITA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08454          ENVIRONMENTAL LITIGATION GROUP, PC

REVIS, GWEN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01816           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REWINSKI, GILLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16132          ASHCRAFT & GEREL, LLP

REWINSKI, GILLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16132          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REY, CECLIA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17268          PARAFINCZUK WOLF, P.A.

REYES, ANN                           CA - SUPERIOR COURT - FRESNO COUNTY           17CECG04347            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REYES, CYNTHIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18807          NACHAWATI LAW GROUP

REYES, DONNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11894          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYES, ELISA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18212          ONDERLAW, LLC

REYES, JESSICA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03604          ONDERLAW, LLC

REYES, LISA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18740          NACHAWATI LAW GROUP

REYES, MARIA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21907          NACHAWATI LAW GROUP

REYES, PAMELA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16088          SUMMERS & JOHNSON, P.C.

REYES, RAMONA                        CA - SUPERIOR COURT - PLACER COUNTY          5CV0040300              MARY ALEXANDER & ASSOCIATES, P.C.

REYES, ROSALINO III & REYES, GEMMA   CA - SUPERIOR COURT - ALAMEDA COUNTY         RG20052391              KAZAN MCCLAIN SATTERLEY & GREENWOOD

REYES, STELLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11473           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

REYES, TINA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16646          ASHCRAFT & GEREL

REYES, TINA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16646          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYES, TRACY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10872          JOHNSON LAW GROUP

REYES, VENUS                         NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-258-18           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

REYES, VIOLA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04584          JOHNSON LAW GROUP

REYES, ZULEYKA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14568          DAVIS, BETHUNE & JONES, L.L.C.

REY-MOLINA, BERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09334          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNA PENA                           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003317-21         WEITZ & LUXENBERG




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           Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

REYNA, ELVIRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04624          ONDERLAW, LLC

REYNA, KOSHELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16056          ONDERLAW, LLC

REYNAGA, BRIDGET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15061          WILLIAMS HART LAW FIRM

REYNARD, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02379          DAVIS, BETHUNE & JONES, L.L.C.

REYNHOUT, THERESA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15592          WILLIAMS HART LAW FIRM

REYNOLDS, ANGALA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02982          ONDERLAW, LLC

REYNOLDS, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11396          CARLSON LAW FIRM

REYNOLDS, ANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01168          THE MILLER FIRM, LLC

REYNOLDS, BESSIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20031          MUELLER LAW PLLC

REYNOLDS, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15502          ASHCRAFT & GEREL, LLP

REYNOLDS, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15502          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNOLDS, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12281          ONDERLAW, LLC

REYNOLDS, CHARLENE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07594          POTTS LAW FIRM

REYNOLDS, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12851          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNOLDS, CONSTANCE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05098          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

REYNOLDS, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13717          THE MILLER FIRM, LLC

REYNOLDS, DANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17677          JOHNSON LAW GROUP

REYNOLDS, DAWN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06144           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

REYNOLDS, DEBBIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06512          BURNS CHAREST LLP

REYNOLDS, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14811          LENZE LAWYERS, PLC

REYNOLDS, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14811          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REYNOLDS, DELTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00756          JOHNSON LAW GROUP

REYNOLDS, DELTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00756          LEVIN SIMES LLP

REYNOLDS, DELTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00756          LEVIN SIMES LLP

REYNOLDS, DIANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12544          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNOLDS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14496          JOHNSON LAW GROUP

REYNOLDS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10678          KLINE & SPECTER, P.C.

REYNOLDS, ELISABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08411           SUMMERS & JOHNSON, P.C.

REYNOLDS, ELLEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20414          ASHCRAFT & GEREL, LLP

REYNOLDS, HARLOW              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000482-21         GOLOMB & HONIK, P.C.

REYNOLDS, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00409          ASHCRAFT & GEREL

REYNOLDS, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00409          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNOLDS, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

REYNOLDS, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           LENZE LAWYERS, PLC



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            Claimant Name                           State Filed                        Docket Number                             Plaintiff Counsel

REYNOLDS, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REYNOLDS, JACQUELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14910          LENZE LAWYERS, PLC

REYNOLDS, JACQUELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14910          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

REYNOLDS, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04655          ONDERLAW, LLC

REYNOLDS, KIERSTEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06794           ONDERLAW, LLC

REYNOLDS, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10361          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNOLDS, LYNNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14479          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNOLDS, LYNNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18766          NACHAWATI LAW GROUP

REYNOLDS, MIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002958-21         WEITZ & LUXENBERG

REYNOLDS, NITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19301           NACHAWATI LAW GROUP

REYNOLDS, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12432          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNOLDS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11621          BISNAR AND CHASE

REYNOLDS, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17950          NACHAWATI LAW GROUP

REYNOLDS, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15473          ONDERLAW, LLC

REYNOLDS, REGINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06993          THE SIMON LAW FIRM, PC

REYNOLDS, ROLANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02928          THE BENTON LAW FIRM, PLLC

REYNOLDS, SABRINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13641          DAVIS, BETHUNE & JONES, L.L.C.

REYNOLDS, SALLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17393          ONDERLAW, LLC

REYNOLDS, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15503          ASHCRAFT & GEREL, LLP

REYNOLDS, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15503          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNOLDS, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20266          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

REYNOLDS, STACEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04371          WILLIAMS HART LAW FIRM

REYNOLDS, STACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19766          ONDERLAW, LLC

REYNOLDS, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03694          ONDERLAW, LLC

REYNOLDS, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18295          ONDERLAW, LLC

REYNOLDS-ENSMINGER, BARBARA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20107          NACHAWATI LAW GROUP

REYNOLDS-PATTERSON, PATRICIA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15346           ONDERLAW, LLC

REYNOSO, AMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09744          JOHNSON LAW GROUP

REYOME, LYNDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17443          ONDERLAW, LLC

REZEK, ALBERTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04797          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RHEA, CHRISTINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12928          ARNOLD & ITKIN LLP

RHEA-GUY, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11546          HILLIARD MARTINEZ GONZALES, LLP

RHEIN, JO ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20191          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RHINA DICKERSON               FEDERAL - MDL                                3:21-CV-19630           JOHNSON BECKER, PLLC

RHINEHART, MACKENZIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06174          JOHNSON LAW GROUP

RHINEHART, MACKENZIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06174          LEVIN SIMES LLP

RHOADES, TAMARA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811            ASHCRAFT & GEREL

RHOADES, TAMARA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RHOADES, TAMARA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811            ONDERLAW, LLC

RHOADES, TAMARA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           PORTER & MALOUF, PA

RHOADES, TAMARA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811            THE SMITH LAW FIRM, PLLC

RHOADS, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11235          THE SIMON LAW FIRM, PC

RHOADS, SUZY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05786          ONDERLAW, LLC

RHOADS, TAMARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22061          DRISCOLL FIRM, P.C.

RHODA, CARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12580          ONDERLAW, LLC

RHODEN, ALICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12964          ONDERLAW, LLC

RHODES, CATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10555          JOHNSON LAW GROUP

RHODES, CHARLOTTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14381          JOHNSON LAW GROUP

RHODES, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06235          ONDERLAW, LLC

RHODES, ESTHER                DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02738          ASHCRAFT & GEREL, LLP

RHODES, ESTHER                DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02738          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RHODES, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20693          ONDERLAW, LLC

RHODES, JASMINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13743          ONDERLAW, LLC

RHODES, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05893           ASHCRAFT & GEREL

RHODES, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05893          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RHODES, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09480          BISNAR AND CHASE

RHODES, PATSY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16427          WAGSTAFF & CARTMELL, LLP

RHODES, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04984          ONDERLAW, LLC

RHODES, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03152          ONDERLAW, LLC

RHODES, TAMARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11678          MURRAY LAW FIRM

RHODES, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RHODIS, ATHENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04769          ONDERLAW, LLC

RHONDA BROWN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17581          THE MILLER FIRM, LLC

RHONDA DAVIS                  FEDERAL - MDL                                 3:21-CV-18369          ANDRUS WAGSTAFF, P.C.

RHONDA-JAMES, AIDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03153          ONDERLAW, LLC

RHYMER, GWEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12731          ASHCRAFT & GEREL

RHYMES, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09148          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                         State Filed                        Docket Number                            Plaintiff Counsel

RIALE, MARCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08147          ONDERLAW, LLC

RIBBENS, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00410          ASHCRAFT & GEREL

RIBBENS, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00410          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIBBS, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20302          ONDERLAW, LLC

RIBKEN, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14583           FLETCHER V. TRAMMELL

RICALDI, FLORENCIA                 NY - SUPREME COURT - NYCAL                   190218/2019             MEIROWITZ & WASSERBERG, LLP
RICALDI, FLORENCIA & RICALDI,
                                   NY - SUPREME COURT - NYCAL                    190218/2019            MEIROWITZ & WASSERBERG, LLP
HIBERMAN
RICCIARDONE, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15617          ONDERLAW, LLC

RICCIUTI, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08579          NIX PATTERSON & ROACH

RICE, CAROL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01849          MOTLEY RICE, LLC

RICE, CHARMEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05718          THE SIMON LAW FIRM, PC

RICE, CORILEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14354          ASHCRAFT & GEREL

RICE, DEBRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16446          MOTLEY RICE, LLC

RICE, DIANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07455          THE DUGAN LAW FIRM

RICE, DOLORES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19832          CELLINO & BARNES, P.C.

RICE, GEORGIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07446          ONDERLAW, LLC

RICE, GLADYS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20309          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICE, JOANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09408          ONDERLAW, LLC

RICE, LAURA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08696          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICE, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08055          DALIMONTE RUEB, LLP

RICE, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08055          GOLDENBERGLAW, PLLC

RICE, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15535          GORI JULIAN & ASSOCIATES, P.C.

RICE, MADELINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13526          FLETCHER V. TRAMMELL

RICE, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13656          CELLINO & BARNES, P.C.

RICE, MICHELLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10652          ONDERLAW, LLC

RICE, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04719          ASHCRAFT & GEREL

RICE, RENEE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12928          DALIMONTE RUEB, LLP

RICE, RENNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12283          BURNS CHAREST LLP

RICE, SABRINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01873          PARKER WAICHMAN, LLP

RICE, SANDRA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002358-20         GOLOMB & HONIK, P.C.

RICE, SARA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12074          NACHAWATI LAW GROUP

RICE, SHERRY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17543          ASHCRAFT & GEREL, LLP

RICE, SONYA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11448          NACHAWATI LAW GROUP

RICE, TERESA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16663          ASHCRAFT & GEREL



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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

RICE, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16663          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICE, TERRI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10622          NACHAWATI LAW GROUP

RICE, VELMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00411          ASHCRAFT & GEREL

RICE, VELMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00411          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                  CA - SUPERIOR COURT - CITY AND COUNTY OF
RICE-CALKINS, PATRICIA                                                         RIC1815497              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                  RIVERSIDE, PALM SPRINGS
                                  CA - SUPERIOR COURT - CITY AND COUNTY OF
RICE-CALKINS, PATRICIA                                                         RIC1815497              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                                  RIVERSIDE, PALM SPRINGS
                                  CA - SUPERIOR COURT - CITY AND COUNTY OF
RICE-CALKINS, PATRICIA                                                         RIC1815497              THE SMITH LAW FIRM, PLLC
                                  RIVERSIDE, PALM SPRINGS
RICH, BERNICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14254          JASON J. JOY & ASSCIATES P.L.L.C.

RICH, GLENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15001          NACHAWATI LAW GROUP

RICH, JANETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20261          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICH, LORRAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09137          ASHCRAFT & GEREL, LLP

RICH, SONIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16213          NACHAWATI LAW GROUP

RICH, WENDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05813          ONDERLAW, LLC

RICHARD WITTROCK                  IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

RICHARD, CRYSTAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11850          GORI JULIAN & ASSOCIATES, P.C.

RICHARD, DALE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10712           MORRIS BART & ASSOCIATES

RICHARD, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07709           ASHCRAFT & GEREL

RICHARD, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07709          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARD, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12309           MARLIN & SALTZMAN LLP

RICHARD, EARLINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03328          ASHCRAFT & GEREL

RICHARD, EARLINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARD, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10974          ASHCRAFT & GEREL, LLP

RICHARD, GWENDOLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00318          POTTS LAW FIRM

RICHARD, JAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07378          WILLIAMS HART LAW FIRM

RICHARD, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00874          COHEN & MALAD, LLP

RICHARD, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00874          DELISE & HALL

RICHARD, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13535          THE MILLER FIRM, LLC

RICHARD, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04729          THE MILLER FIRM, LLC

RICHARD, PAULINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20343          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARD, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08683          ONDERLAW, LLC

RICHARD, UNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09968          MORRIS BART & ASSOCIATES

RICHARDI, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00315           THE MILLER FIRM, LLC

RICHARDS, BERTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02973          WILLIAMS HART LAW FIRM




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            Claimant Name                            State Filed                        Docket Number                              Plaintiff Counsel

RICHARDS, BETHANY ESTATE OF V      WA - SUPERIOR COURT - KING COUNTY            21-2-10988-4            DEAN OMAR BRANHAM, LLP

RICHARDS, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13840           ONDERLAW, LLC

RICHARDS, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10830          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDS, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21167          ONDERLAW, LLC

RICHARDS, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07315           JOHNSON LAW GROUP

RICHARDS, JUANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03383          ONDERLAW, LLC

RICHARDS, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08340          THE SEGAL LAW FIRM

RICHARDS, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17620          ONDERLAW, LLC

RICHARDS, MELODY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08403           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDS, REBECCA FAITH            ONTARIO (TORONTO)                             CV-21-00673571-0000    PRESZLER INJURY LAWYERS

RICHARDS, ROCHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-06661          WILENTZ, GOLDMAN & SPITZER, P.A.

RICHARDS, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06740          DALIMONTE RUEB, LLP

RICHARDS, SHANNON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17803          THE FERRARO LAW FIRM, P.A.

RICHARDS, TASHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09598          ONDERLAW, LLC

RICHARDS, TERRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10687          ONDERLAW, LLC

RICHARDS, VERNA                    WA - SUPERIOR COURT - KING COUNTY             21-2-10988-4           BERGMAN DRAPER OSLUND

RICHARDS-KRACHER, BEVERLY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20189           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDSON, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21781          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDSON, ANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21876          ASHCRAFT & GEREL, LLP

RICHARDSON, AUDREY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16135          ONDERLAW, LLC

RICHARDSON, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19999           ONDERLAW, LLC

RICHARDSON, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17259           ONDERLAW, LLC

RICHARDSON, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17573          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

RICHARDSON, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDSON, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059           ONDERLAW, LLC

RICHARDSON, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

RICHARDSON, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

RICHARDSON, CHRISTI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05698          WILLIAMS HART LAW FIRM

RICHARDSON, CHRISTINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04957          JASON J. JOY & ASSCIATES P.L.L.C.

RICHARDSON, CHRISTINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      03:21-CV-04957         JASON J. JOY & ASSCIATES P.L.L.C.

RICHARDSON, CORTISHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11368          GOLOMB SPIRT GRUNFELD PC

RICHARDSON, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17360          ASHCRAFT & GEREL, LLP




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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RICHARDSON, CYNTHIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17360          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDSON, DEBORAH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12896          MORELLI LAW FIRM, PLLC

RICHARDSON, DENISE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08024          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

RICHARDSON, DOROTHY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14170          MARTIN & JONES

RICHARDSON, ELAINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16323          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDSON, ELEANOR           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12903          MORELLI LAW FIRM, PLLC

RICHARDSON, EVELYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07397           ONDERLAW, LLC

RICHARDSON, KAREN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12928          PAUL LLP

RICHARDSON, KAYLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14237          DRISCOLL FIRM, P.C.

RICHARDSON, KERESA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07736          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDSON, KIMBERLY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10927          NACHAWATI LAW GROUP

RICHARDSON, LAKIESHA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15054          THE BENTON LAW FIRM, PLLC

RICHARDSON, LINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17326          ASHCRAFT & GEREL, LLP

RICHARDSON, LINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17326           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDSON, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RICHARDSON, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15456          LENZE LAWYERS, PLC

RICHARDSON, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RICHARDSON, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15456           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RICHARDSON, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RICHARDSON, LUCY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00047          THE FERRARO LAW FIRM, P.A.

RICHARDSON, MARION            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09737          NACHAWATI LAW GROUP

RICHARDSON, NATASHA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14475           HILLIARD MARTINEZ GONZALES, LLP

RICHARDSON, NATASHA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03933          ONDERLAW, LLC

RICHARDSON, PAM               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002            ONDERLAW, LLC

RICHARDSON, PATRICIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13794          MORRIS BART & ASSOCIATES

RICHARDSON, PAULETTE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05750          TRAMMELL PC

RICHARDSON, RETHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18295          ASHCRAFT & GEREL, LLP

RICHARDSON, ROSE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDSON, ROSE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396           ONDERLAW, LLC

RICHARDSON, ROSE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11681            ONDERLAW, LLC

RICHARDSON, ROSE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          PORTER & MALOUF, PA

RICHARDSON, ROSE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          THE SMITH LAW FIRM, PLLC

RICHARDSON, SANDRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13444          THE SEGAL LAW FIRM

RICHARDSON, SHEILA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07033          SLATER, SLATER, SCHULMAN, LLP



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RICHARDSON, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12002           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHARDSON, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02560          THE SEGAL LAW FIRM

RICHARDSON, SONYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12948          PAUL LLP

RICHARDSON, SYLVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10090          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

RICHARDSON, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09652          ONDERLAW, LLC

RICHARDSON, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12634           ANDRUS WAGSTAFF, P.C.

RICHARDSON, WILLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14293          MUELLER LAW PLLC

RICHBURG, BOBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09482          FLETCHER V. TRAMMELL

RICHBURG, FAYE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15751          NACHAWATI LAW GROUP

RICHBURG, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06694          THE SIMON LAW FIRM, PC

RICHE, ALISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04170          ONDERLAW, LLC

RICHEY, JOY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002560-20         GOLOMB & HONIK, P.C.

RICHEY, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06577          ONDERLAW, LLC

RICHEY-HARRIS, PATSEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17686          NACHAWATI LAW GROUP

RICHMAN, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13395          BERNSTEIN LIEBHARD LLP

RICHMOND, GEORGIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10708           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHMOND, LATOSHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12037          MORELLI LAW FIRM, PLLC

RICHMOND, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-07598          GORI JULIAN & ASSOCIATES, P.C.

RICHMOND, POLLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20701          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RICHTER, CARLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09781          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICHTER, CASSANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12733          ASHCRAFT & GEREL

RICHTER, LANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09592           THE MILLER FIRM, LLC

RICHTER, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17690          NACHAWATI LAW GROUP

RICHTER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     ATL-L-002019-21         NAPOLI SHKOLNIK, PLLC

RICH-WILLIAMS, ADA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-06489           LAW OFF. OF RICHARD R BARRETT, PLLC

RICK, BARBARA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICK, BARBARA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

RICK, BARBARA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

RICKER, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01848          THE MILLER FIRM, LLC

RICKER, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12878          ONDERLAW, LLC

RICKETTS, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08219          ONDERLAW, LLC

RICKETTS, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12682          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICKETTS, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12797           THE DEATON LAW FIRM

RICKETTS, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00232           BURNS CHAREST LLP



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RICKETTS, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06841          ONDERLAW, LLC

RICKETTS, TALISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09760          ONDERLAW, LLC

RICKMAN, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13165          ONDERLAW, LLC

RICKS, COLLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06302          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICKS, COLLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06302          ONDERLAW, LLC

RICKS, COLLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06302          THE SMITH LAW FIRM, PLLC

RICKS, KINYUADA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10823           NACHAWATI LAW GROUP

RICO, AMY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11342          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

RICO, CARLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14417          ASHCRAFT & GEREL

RICO, DIANE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

RICO, DIANE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

RICO, DIANE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

RICO, DIANE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

RICO, LILLIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2903-15           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RICO, LILLIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2903-15           PORTER & MALOUF, PA

RICO, LILLIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2903-15           SEEGER WEISS LLP

RICO, LILLIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2903-15           THE SMITH LAW FIRM, PLLC

RICO, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16152          JASON J. JOY & ASSCIATES P.L.L.C.

RICO-SCHLEGEL, CARMEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12546          BLIZZARD & NABERS, LLP

RIDDEL, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10917          THE MILLER FIRM, LLC

RIDDLE, JANIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09286          ONDERLAW, LLC

RIDDLE, LUCILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05058          FLETCHER V. TRAMMELL

RIDENER, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09332          ONDERLAW, LLC

RIDENOUR, CORINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01859           JOHNSON LAW GROUP

RIDENOUR, DOROTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04367          ROSS FELLER CASEY, LLP

RIDEOUT, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09732          DRISCOLL FIRM, P.C.

RIDEOUT, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02856           FLETCHER V. TRAMMELL

RIDER, CAMI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06135          ONDERLAW, LLC

RIDER, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17695          NACHAWATI LAW GROUP

RIDGE, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12588          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RIDGES, PATSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02619          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

RIDLEY, ANTOINETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11361          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RIDLEY, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09324          ONDERLAW, LLC

RIDLEY, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10092          ONDERLAW, LLC



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               Claimant Name                         State Filed                        Docket Number                            Plaintiff Counsel

RIDNER, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14140          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RIEBESELL, ANN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002152-21         JOHNSON LAW GROUP

RIEBSCHLAGER, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20079          ARNOLD & ITKIN LLP

RIEDERS, SUMMER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10975          ASHCRAFT & GEREL, LLP

RIEGEL, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14707          LENZE LAWYERS, PLC

RIEGEL, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14707          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RIEGEL, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00236          POTTS LAW FIRM

RIEGER, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16186          NACHAWATI LAW GROUP

RIEGLER, BONNIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002461-18         GOLOMB & HONIK, P.C.

RIEKS, MADGE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11905          NACHAWATI LAW GROUP

RIELLY, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13873          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIENDEAU, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12739          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIENZO, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02312          JOHNSON LAW GROUP

RIESER, PATTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15993          ARNOLD & ITKIN LLP

RIFFE, LYNEITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06960          POTTS LAW FIRM

RIFFEL, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10566           ONDERLAW, LLC

RIGAS, FAIDRA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002828-20         GOLOMB & HONIK, P.C.

RIGBY, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12335          ASHCRAFT & GEREL

RIGBY, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12335          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIGGIN, VERONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08972          DRISCOLL FIRM, P.C.

RIGGINS, DEBRA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002359-20         GOLOMB & HONIK, P.C.

RIGGINS, JODI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08989          ONDERLAW, LLC
RIGGINS, LORI M EST OF MAGDALENE
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-07856-18AS       WEITZ & LUXENBERG
BRACE
RIGGINS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00025          ASHCRAFT & GEREL

RIGGINS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00025          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIGGIO, JEANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06201          ONDERLAW, LLC

RIGGIO, LENA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00023          CELLINO & BARNES, P.C.

RIGGIO, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16022          ASHCRAFT & GEREL, LLP

RIGGS, ALICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09539          ONDERLAW, LLC

RIGGS, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05738          ONDERLAW, LLC

RIGGS, ROSANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13383           JOHNSON LAW GROUP

RIGGS, THREASE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12221          ONDERLAW, LLC

RIGGS, TORESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17715          NACHAWATI LAW GROUP

RIGGS-STEPHENSON, EMILY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09912           ONDERLAW, LLC



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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

RIGLER, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04305          ONDERLAW, LLC

RIGOR-FERNANDES, MARIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14161          CELLINO & BARNES, P.C.

RIGSBY, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16776          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RIGSBY, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09583          ONDERLAW, LLC

RIHANI, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00749          WILLIAMS HART LAW FIRM

RIKSVOLD, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17717          NACHAWATI LAW GROUP

RILEY, AMISSA                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-006029-21        NAPOLI SHKOLNIK, PLLC

RILEY, AVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03512          ONDERLAW, LLC

RILEY, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10850          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RILEY, CHRISTINA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001354-20         COHEN, PLACITELLA & ROTH

RILEY, CHRISTINA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001354-20         FLETCHER V. TRAMMELL

RILEY, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19020          ONDERLAW, LLC

RILEY, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18909          NACHAWATI LAW GROUP

RILEY, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13517          DRISCOLL FIRM, P.C.

RILEY, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16900          ONDERLAW, LLC

RILEY, GENA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15836          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RILEY, ILA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11127          ONDERLAW, LLC

RILEY, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07118          THE SIMON LAW FIRM, PC

RILEY, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17728          NACHAWATI LAW GROUP

RILEY, ROSETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11417          NACHAWATI LAW GROUP

RILEY, SHELDON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03907          ONDERLAW, LLC

RILEY, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11035          WAGSTAFF & CARTMELL, LLP

RILEY, TAYLOR                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06554          BURNS CHAREST LLP

RILEY, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17732          NACHAWATI LAW GROUP

RIMP, PAULINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIMP, PAULINE                     CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318710             KIESEL LAW, LLP

RIMP, PAULINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394          ONDERLAW, LLC

RIMP, PAULINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394          PORTER & MALOUF, PA

RIMP, PAULINE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394          THE SMITH LAW FIRM, PLLC

RINCON, DOLORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03381          ONDERLAW, LLC

RINEHART, VICKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11455           ROSS FELLER CASEY, LLP

RINEY, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04241          ONDERLAW, LLC

RING, DEBBIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001974-20         MOTLEY RICE NEW JERSEY LLC

RING, DEBBIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001974-20         WILLIAMS HART LAW FIRM



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RING, DEBRA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002159-18         GOLOMB & HONIK, P.C.

RING, DIANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18999           NACHAWATI LAW GROUP

RINGBAUER, THEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RINGBAUER, THEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

RINGBAUER, THEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

RINGBAUER, THEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

RINGENER, JANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13586          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RINGER, EDITH                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-432-18            KEEFE BARTELS

RINGER, EDITH                     NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-432-18           LAW OFFICE OF GRANT D. AMEY, LLC

RINGER, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13049          THE BENTON LAW FIRM, PLLC

RINGGENBERG, VERLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08668          ARNOLD & ITKIN LLP

RINGLE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11135          GOLDENBERGLAW, PLLC

RINGWALD, ZOE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08831          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RINKS, LACEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02045          ONDERLAW, LLC

RINNIX, JAMISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17735          NACHAWATI LAW GROUP

RINWALSKE, IDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12589           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RION, RUBY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

RION, RUBY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

RION, RUBY                        MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

RIOPEDRE, ROSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13683          CELLINO & BARNES, P.C.

RIORDAN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13201           DIAMOND LAW

RIOS, CECILIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11826          ARNOLD & ITKIN LLP

RIOS, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01477          ONDERLAW, LLC

RIOS, CLAUDIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16372          WATERS & KRAUS, LLP

RIOS, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10193          GOLDENBERGLAW, PLLC

RIOS, ESTHER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14313          ARNOLD & ITKIN LLP

RIOS, JOSIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15068          WILLIAMS HART LAW FIRM

RIOS, MELISSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06183          THE DIAZ LAW FIRM, PLLC

RIOS, RACHEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04356          THE MILLER FIRM, LLC

RIOS, ROSEMARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11580          THE MILLER FIRM, LLC

RIOS-ALVARADO, ANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10665           NACHAWATI LAW GROUP

RIOS-SAMUELS, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05691          WILLIAMS HART LAW FIRM

RIPKA, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08888          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

RIPKA, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08776          ONDERLAW, LLC

RIPLEY, JULIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13638          DRISCOLL FIRM, P.C.

RIPLEY, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04375          WILLIAMS HART LAW FIRM

RIPPEE, DIANE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002365-20         GOLOMB & HONIK, P.C.

RIPPERTON, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10518          WILLIAMS HART LAW FIRM

RIPPIE, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05862          DALIMONTE RUEB, LLP

RIPPIE, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17438          ONDERLAW, LLC

RISBERG, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17363          ASHCRAFT & GEREL, LLP

RISBERG, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17363          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RISCO, ROSARIO                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09797          ONDERLAW, LLC

RISCOE, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18318          ONDERLAW, LLC

RISEMAS, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10976          ASHCRAFT & GEREL, LLP

RISER, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15928          JOHNSON LAW GROUP

RISLEY, HOPE                      IL - CIRCUIT COURT - COOK COUNTY              2020L006924            CLIFFORD LAW OFFICES, P.C.

RISLEY, HOPE                      IL - CIRCUIT COURT - COOK COUNTY             2020L006924             HOVDE, DASSOW, & DEETS, LLC

RISLEY, HOPE                      IL - CIRCUIT COURT - COOK COUNTY             2020L006924             MEYERS & FLOWERS, LLC

RISNER, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13478          JOHNSON BECKER, PLLC

RISNER, SHANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11409          SANDERS VIENER GROSSMAN, LLP

RISSLER, SONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04795           THE MILLER FIRM, LLC

RIST, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04126          LEVIN SIMES LLP

RISTAU, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11322          THE MILLER FIRM, LLC

RITA NALICK                       NJ - STATE                                   ATL-L-003364-21         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

RITCHEY, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11232          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RITCHEY, TONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10961           NACHAWATI LAW GROUP

RITCHIE, BOBBIE-JO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13875          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RITCHIE, CARIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01174          GORI JULIAN & ASSOCIATES, P.C.

RITCHIE, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14985          JOHNSON LAW GROUP

RITCHIE, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00415          ASHCRAFT & GEREL

RITCHIE, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00415          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RITCHIE, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18407           MUELLER LAW PLLC

RITCHIE, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05771          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

RITCHIE, MAE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17740          NACHAWATI LAW GROUP

RITCHIE, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17218           ONDERLAW, LLC




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RITCHIE, TINA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002047-20         COHEN, PLACITELLA & ROTH

RITCHIE, TINA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002047-20         FLETCHER V. TRAMMELL

RITCHIE, TINA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165            ONDERLAW, LLC

RITCHIE, TINA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11165           PORTER & MALOUF, PA

RITCHIE, TINA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11165           THE SMITH LAW FIRM, PLLC

RITENOUR, VIOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03330          ASHCRAFT & GEREL

RITENOUR, VIOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03330          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RITSON, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03979          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RITTENHOUSE, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11123          ONDERLAW, LLC

RITTER, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05689          WILLIAMS HART LAW FIRM

RITTER, MARJORIE                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC711985                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RITTER, MARJORIE                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC711985                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RITTER, MARJORIE                  CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC711985               THE SMITH LAW FIRM, PLLC

RITTER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18380          THE SEGAL LAW FIRM

RITZ, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19522          NACHAWATI LAW GROUP

RITZEN, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16481          NAPOLI SHKOLNIK, PLLC

RIVA, BROOKE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14544          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RIVAS, AIDA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001763-21         GOLOMB & HONIK, P.C.

RIVAS, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11445          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIVAS, NELDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07903          ONDERLAW, LLC

RIVAS, OLIVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08397          ONDERLAW, LLC

RIVER, WILHELMINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05938          NAPOLI SHKOLNIK, PLLC

RIVERA, AMELIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002825-20         GOLOMB & HONIK, P.C.

RIVERA, ANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06621          THE SIMON LAW FIRM, PC

RIVERA, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11071          NACHAWATI LAW GROUP

RIVERA, AUREA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004132-20         GOLOMB & HONIK, P.C.

RIVERA, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04433          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RIVERA, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09319          ONDERLAW, LLC

RIVERA, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20732           ONDERLAW, LLC

RIVERA, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07514           ONDERLAW, LLC

RIVERA, EVELISSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04376          ONDERLAW, LLC

RIVERA, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11907          NACHAWATI LAW GROUP

RIVERA, IVETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

RIVERA, JASMINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16317           HACH ROSE SCHIRRIPA & CHEVERIE LLP



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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

RIVERA, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09257          DAVIS, BETHUNE & JONES, L.L.C.

RIVERA, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15045          JOHNSON LAW GROUP

RIVERA, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19260          ONDERLAW, LLC

RIVERA, LUZ                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02835          FLETCHER V. TRAMMELL

RIVERA, LUZ                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11822          NACHAWATI LAW GROUP

RIVERA, MAGDALIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002478-21         GOLOMB & HONIK, P.C.

RIVERA, MARGARITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04094           ONDERLAW, LLC

RIVERA, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03580          ONDERLAW, LLC

RIVERA, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03618          ONDERLAW, LLC

RIVERA, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10491          ROSS FELLER CASEY, LLP

RIVERA, OLGA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RIVERA, OLGA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15464          LENZE LAWYERS, PLC

RIVERA, OLGA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RIVERA, OLGA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15464          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RIVERA, OLGA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RIVERA, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03994           ONDERLAW, LLC

RIVERA, PRISCILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12581          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RIVERA, SAMANTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18830          CELLINO & BARNES, P.C.

RIVERA, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18724          NACHAWATI LAW GROUP

RIVERA, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11270          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RIVERA, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18746          NACHAWATI LAW GROUP

RIVERA, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10976           NACHAWATI LAW GROUP
                                                                               3:18-CV-00091
RIVERA, YAMILETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY                             ASHCRAFT & GEREL
                                                                               1:17-CV-02298
                                                                               3:18-CV-00091
RIVERA, YAMILETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                                                               1:17-CV-02298
RIVERA-FRENCH, LISA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17743           NACHAWATI LAW GROUP

RIVERO, MAGALY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05703          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIVERO, MARITZA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07909          GOLDENBERG HELLER & ANTOGNOLI, PC

RIVERS, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12593          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RIVERS, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18799          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RIVERS, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22004          ONDERLAW, LLC

RIVERS, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06883          ASHCRAFT & GEREL, LLP

RIVERS, MARGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02359          DAVIS, BETHUNE & JONES, L.L.C.




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RIVERS, VETRESS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16137          ONDERLAW, LLC

RIVET, DEBORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIVET, DEBORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

RIVET, DEBORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

RIVET, DEBORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

RIVET, DEBORAH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

RIVIERA, DANIELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04777          ONDERLAW, LLC

RIYADH, SULMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02989          DALIMONTE RUEB, LLP

RIYADH, SULMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02989          GOLDENBERGLAW, PLLC

RIZZI, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06649          CHILDERS, SCHLUETER & SMITH, LLC

RIZZO, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07833          ONDERLAW, LLC

RIZZO, EVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19186          NACHAWATI LAW GROUP

RIZZO, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11580          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RIZZO, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11354           MARY ALEXANDER & ASSOCIATES, P.C.

RIZZO, SUZETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16533           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RIZZO, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09973          DALIMONTE RUEB, LLP

ROACH, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09776          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROACH, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002360-20         GOLOMB & HONIK, P.C.

ROACH, MOLLI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16524          THE MILLER FIRM, LLC

ROALEF, CAROLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18048          ASHCRAFT & GEREL

ROALEF, CAROLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18048          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROAN, BONNIE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-13-16            ASHCRAFT & GEREL

ROAN, BONNIE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-13-16             GOLOMB SPIRT GRUNFELD PC

ROANE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00187           NACHAWATI LAW GROUP

ROANE, VONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16352          THE MILLER FIRM, LLC

ROARK, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12743          DALIMONTE RUEB, LLP

ROARK, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02202          ONDERLAW, LLC

ROATH, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15537          LEVIN SIMES LLP

ROBALLO, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16764           JOHNSON BECKER, PLLC

ROBB, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13726          FLETCHER V. TRAMMELL

ROBB, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09335          ONDERLAW, LLC

ROBBI BUCHANAN                   FEDERAL - MDL                                3:21-CV-19815           CHAFFIN LUHANA LLP

ROBBIE DAUGHERTY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003297-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

ROBBINS, AILEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15826          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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            Claimant Name                             State Filed                        Docket Number                                 Plaintiff Counsel

ROBBINS, BEVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10733             NACHAWATI LAW GROUP

ROBBINS, CARMELITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02310             JOHNSON LAW GROUP

ROBBINS, CHARLOTTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12829              NAPOLI SHKOLNIK, PLLC

ROBBINS, CINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02386              CATES MAHONEY, LLC

ROBBINS, GWENDOLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13948              ASHCRAFT & GEREL

ROBBINS, GWENDOLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13948             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBBINS, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11387             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

ROBBINS, KAY                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6794-14              SEEGER WEISS LLP

ROBBINS, KIMBERLEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10797             ONDERLAW, LLC

ROBBINS, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09337             ONDERLAW, LLC

ROBBINS, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16596             SUMMERS & JOHNSON, P.C.

ROBBINS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05104             MORELLI LAW FIRM, PLLC

ROBBINS, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17747             NACHAWATI LAW GROUP

ROBBINS, TIFFANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10695             ONDERLAW, LLC

ROBBINS, WILLIAM EST OF M ROBBINS   IL - CIRCUIT COURT - MADISON COUNTY          18-L-0829                  SWMW LAW, LLC

ROBBINS-GAGICH, BELINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14036             ONDERLAW, LLC

ROBEN, DEBROAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBEN, DEBROAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059             ONDERLAW, LLC

ROBEN, DEBROAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059             PORTER & MALOUF, PA

ROBEN, DEBROAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059             THE SMITH LAW FIRM, PLLC

ROBERGE, BONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18883             NACHAWATI LAW GROUP

ROBERSON, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05899             ASHCRAFT & GEREL

ROBERSON, ANITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05899             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERSON, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09508              ONDERLAW, LLC

ROBERSON, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05700             ONDERLAW, LLC

ROBERSON, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17748             NACHAWATI LAW GROUP

ROBERSON, CHARLOTTE                 CA - SUPERIOR COURT - VENTURA COUNTY          56-2016-00486115-CU-PL-VTA KIESEL LAW, LLP

ROBERSON, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12693             ONDERLAW, LLC

ROBERSON, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17751             NACHAWATI LAW GROUP

ROBERT COATS                        IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291                 NAPOLI SHKOLNIK, PLLC

ROBERTA MORELAND                    FEDERAL - MDL                                 3:21-CV-19698             CORY, WATSON, CROWDER & DEGARIS P.C.

ROBERTIELLO, DOROTHY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001870-18            GOLOMB SPIRT GRUNFELD PC

ROBERTS, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14371             ARNOLD & ITKIN LLP




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

ROBERTS, AMANDA                  DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02750          ASHCRAFT & GEREL

ROBERTS, AMANDA                  DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02750          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTS, AUDREY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03105          MARTINIAN & ASSOCIATES, INC.

ROBERTS, AUDREY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03105           THE LAW OFFICES OF HAYTHAM FARAJ

ROBERTS, BETTY                   GA - STATE COURT OF GWINNETT COUNTY           19-C-09697-S5          HARRIS LOWRY MANTON LLP

ROBERTS, BRANDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10669          NACHAWATI LAW GROUP

ROBERTS, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15769          SIMMONS HANLY CONROY

ROBERTS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17789          NACHAWATI LAW GROUP

ROBERTS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14651          ONDERLAW, LLC

ROBERTS, CAROLINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11446          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ROBERTS, CARRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

ROBERTS, CARRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

ROBERTS, CARRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBERTS, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12435           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTS, CHERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17780          NACHAWATI LAW GROUP

ROBERTS, CHERRIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10696           ONDERLAW, LLC

ROBERTS, CHERYLL                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC627457                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBERTS, DEBBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13925           MESHBESHER & SPENCE, LTD.

ROBERTS, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12448           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTS, DEBORAH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002263-20         GOLOMB & HONIK, P.C.

ROBERTS, DIANA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV306647             LEVIN SIMES LLP

ROBERTS, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09715          THE LAW OFFICES OF SEAN M CLEARY

ROBERTS, ELSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05780          ONDERLAW, LLC

ROBERTS, EVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01982          JOHNSON LAW GROUP

ROBERTS, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12966          ONDERLAW, LLC

ROBERTS, IRENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04970          ONDERLAW, LLC

ROBERTS, IRMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13339          ONDERLAW, LLC

ROBERTS, JACKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02974          WILLIAMS HART LAW FIRM

ROBERTS, JANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11410          ONDERLAW, LLC

ROBERTS, JO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14663          WATERS & KRAUS, LLP

ROBERTS, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20020          NACHAWATI LAW GROUP

ROBERTS, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18582          ONDERLAW, LLC

ROBERTS, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06613          FLETCHER V. TRAMMELL




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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

ROBERTS, KIMBERLEE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06391           ONDERLAW, LLC

ROBERTS, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02166          GORI JULIAN & ASSOCIATES, P.C.

ROBERTS, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06503          MCGOWAN, HOOD & FELDER, LLC

ROBERTS, LATISHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06095           ONDERLAW, LLC

ROBERTS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00015          ONDERLAW, LLC

ROBERTS, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTS, LOULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06157          ONDERLAW, LLC

ROBERTS, MARCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00612          DALIMONTE RUEB, LLP

ROBERTS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06223          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09131          JOHNSON LAW GROUP

ROBERTS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01663          ONDERLAW, LLC

ROBERTS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09629          ONDERLAW, LLC

ROBERTS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10642          WATERS & KRAUS, LLP

ROBERTS, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03950          MOTLEY RICE, LLC

ROBERTS, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08351           ONDERLAW, LLC

ROBERTS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

ROBERTS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15831          LENZE LAWYERS, PLC

ROBERTS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

ROBERTS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07445          ONDERLAW, LLC

ROBERTS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15831          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBERTS, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBERTS, ODUSCO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17898          DALIMONTE RUEB, LLP

ROBERTS, PATRICE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002678-21         WEITZ & LUXENBERG

ROBERTS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17471          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17760          NACHAWATI LAW GROUP

ROBERTS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09939          NACHAWATI LAW GROUP

ROBERTS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13644          SANDERS PHILLIPS GROSSMAN, LLC

ROBERTS, PAULINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11093           ONDERLAW, LLC

ROBERTS, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03736          ONDERLAW, LLC

ROBERTS, PENELOPE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003061-21         WEITZ & LUXENBERG

ROBERTS, PHYLLIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04136           ONDERLAW, LLC

ROBERTS, RAMONIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08524           ONDERLAW, LLC

ROBERTS, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           DONALD L. SCHLAPPRIZZI P.C.




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           Claimant Name                        State Filed                         Docket Number                            Plaintiff Counsel

ROBERTS, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443           LENZE LAWYERS, PLC

ROBERTS, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBERTS, SANDRA               IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291               NAPOLI SHKOLNIK, PLLC

ROBERTS, SHAMECA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18269            ONDERLAW, LLC

ROBERTS, STACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00787           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTS, SUE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17169            THE MILLER FIRM, LLC

ROBERTS, SYLVIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12263           GORI JULIAN & ASSOCIATES, P.C.

ROBERTS, TABITHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13589           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTS, TAMARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04706            THE MILLER FIRM, LLC

ROBERTS, TERRI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05897           ASHCRAFT & GEREL

ROBERTS, TERRI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05897           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTS, TIFFANY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17758           NACHAWATI LAW GROUP

ROBERTS, TIMMI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16148           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ROBERTS, TONI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12401           ONDERLAW, LLC

ROBERTS, TRACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10457           ARNOLD & ITKIN LLP

ROBERTS, TRACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00979           TRAMMELL PC

ROBERTS, WENDI                CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1802100               SIMMONS HANLY CONROY

ROBERTSON, ANITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04719           THE MILLER FIRM, LLC

ROBERTSON, ANNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01209           GORI JULIAN & ASSOCIATES, P.C.

ROBERTSON, BELINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18444           NACHAWATI LAW GROUP

ROBERTSON, CAROLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10265           GORI JULIAN & ASSOCIATES, P.C.

ROBERTSON, DAWN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17803           MARY ALEXANDER & ASSOCIATES, P.C.

ROBERTSON, DENISE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09147           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                              PA - PHILADELPHIA COUNTY COURT OF COMMON
ROBERTSON, DOLORES                                                         003493                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                              PLEAS
                              PA - PHILADELPHIA COUNTY COURT OF COMMON
ROBERTSON, DOLORES                                                         003493                   EISENBERG, ROTHWEILER, WINKLER
                              PLEAS
ROBERTSON, DREMA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11304           NAPOLI SHKOLNIK, PLLC

ROBERTSON, GEORGETTE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBERTSON, GRACE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12558           MCGOWAN, HOOD & FELDER, LLC

ROBERTSON, JANICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00795           COHEN & MALAD, LLP

ROBERTSON, JANICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00795            NIX PATTERSON & ROACH

ROBERTSON, JUDY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002580-20          GOLOMB & HONIK, P.C.

ROBERTSON, JUNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09362           POTTS LAW FIRM

ROBERTSON, KIM                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17796           NACHAWATI LAW GROUP




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

ROBERTSON, LORIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17219          JOHNSON LAW GROUP

ROBERTSON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09656           ONDERLAW, LLC

ROBERTSON, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-03907          ONDERLAW, LLC

ROBERTSON, NUVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15153          CELLINO & BARNES, P.C.

ROBERTSON, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01582           ONDERLAW, LLC

ROBERTSON, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12838          JOHNSON LAW GROUP

ROBERTSON, RUTHLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12916          VENTURA LAW

ROBERTSON, SHANNON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14051          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ROBERTSON, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05252          NACHAWATI LAW GROUP

ROBERTSON, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05673           ONDERLAW, LLC

ROBERTSON-WOODCOOK, SALLY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14892          NACHAWATI LAW GROUP

ROBESON, BECKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

ROBESON, BECKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

ROBESON, BECKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBIN CITRON                     DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02664          ASHCRAFT & GEREL, LLP

ROBIN CITRON                     DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02664          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBIN DAVIS                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003334-21         WEITZ & LUXENBERG

ROBIN KORZENICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18630          WEITZ & LUXENBERG

ROBIN RUSSO                      FEDERAL - MDL                                3:21-CV-18409           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ROBIN SIX                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003314-21         WEITZ & LUXENBERG

ROBIN WYATT                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15987          LENZE LAWYERS, PLC

ROBIN WYATT                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15987          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

ROBINS, JERRY                    NY - SUPREME COURT - NYCAL                   190264/2019             MEIROWITZ & WASSERBERG, LLP

ROBINS, JERRY                    NY - SUPREME COURT - NYCAL                   190264/2019             MEIROWITZ & WASSERBERG, LLP

ROBINS, NEDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00768           MORRIS BART & ASSOCIATES

ROBINSON, ADELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10716           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, ALICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10447          GOLOMB SPIRT GRUNFELD PC

ROBINSON, ALISIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12721          BLIZZARD & NABERS, LLP

ROBINSON, ANNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15880          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ROBINSON, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07434          ONDERLAW, LLC

ROBINSON, BENNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06183           ONDERLAW, LLC

ROBINSON, BRANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08939          ONDERLAW, LLC

ROBINSON, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07502          BURNS CHAREST LLP



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            Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

ROBINSON, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07502          BURNS CHAREST LLP

ROBINSON, CAROL                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002139-20         GOLOMB & HONIK, P.C.

ROBINSON, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12654          TRAMMELL PC

ROBINSON, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15226          CAMPBELL & ASSOCIATES

ROBINSON, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15226          FRAZER PLC

ROBINSON, CHARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06752          THE SIMON LAW FIRM, PC

ROBINSON, CHASITY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01695          JOHNSON LAW GROUP

ROBINSON, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05658           ONDERLAW, LLC

ROBINSON, CHERYLEE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05618          ONDERLAW, LLC

ROBINSON, CLAIRE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11950          ASHCRAFT & GEREL, LLP

ROBINSON, CLAIRE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11950          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, CORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03408          CLIFFORD LAW OFFICES, P.C.

ROBINSON, CORINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19560          NACHAWATI LAW GROUP

ROBINSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12214          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, DIANN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003145-20         GOLOMB & HONIK, P.C.

ROBINSON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09972          ASHCRAFT & GEREL, LLP

ROBINSON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09972          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16067           NACHAWATI LAW GROUP

ROBINSON, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16075          NACHAWATI LAW GROUP

ROBINSON, EARLINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02858           ONDERLAW, LLC

ROBINSON, ERNA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2896-15           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, ERNA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2896-15           PORTER & MALOUF, PA

ROBINSON, ERNA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2896-15           SEEGER WEISS LLP

ROBINSON, ERNA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2896-15           THE SMITH LAW FIRM, PLLC

ROBINSON, FELICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08523          KLINE & SPECTER, P.C.

ROBINSON, FELICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06807           ONDERLAW, LLC

ROBINSON, FELISHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05097           ONDERLAW, LLC

ROBINSON, FLEESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05828          BURNS CHAREST LLP

ROBINSON, GLAYDS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12702          MORELLI LAW FIRM, PLLC

ROBINSON, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12222           ONDERLAW, LLC

ROBINSON, GRACITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09072           ONDERLAW, LLC

ROBINSON, HELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02581           SIMMONS HANLY CONROY

ROBINSON, JANET                CA - SUPERIOR COURT - SANTA CLARA COUNTY      16CV299073             LEVIN SIMES LLP




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           Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

ROBINSON, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07360           ONDERLAW, LLC

ROBINSON, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11136          GOLDENBERGLAW, PLLC

ROBINSON, JOAN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000353-18         ROSS FELLER CASEY, LLP

ROBINSON, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00757          ONDERLAW, LLC

ROBINSON, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02701          ONDERLAW, LLC

ROBINSON, KELSEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15417          HILLIARD MARTINEZ GONZALES, LLP

ROBINSON, LAKISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09619          THE MILLER FIRM, LLC

ROBINSON, LANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09524          BURNS CHAREST LLP

ROBINSON, LANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09524          BURNS CHAREST LLP

ROBINSON, LEAH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, LEAH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

ROBINSON, LEAH                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

ROBINSON, LENORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02745          BURNS CHAREST LLP

ROBINSON, LENORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02745          BURNS CHAREST LLP

ROBINSON, LIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20347          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, LILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13101          BURNS CHAREST LLP

ROBINSON, LILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13101          BURNS CHAREST LLP

ROBINSON, LINDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000296-21         GOLOMB & HONIK, P.C.

ROBINSON, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14635           JOHNSON LAW GROUP

ROBINSON, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01569          MORELLI LAW FIRM, PLLC

ROBINSON, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06814          ONDERLAW, LLC

ROBINSON, LUCILLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16130          ASHCRAFT & GEREL, LLP

ROBINSON, LUCILLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16130           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, MARSHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06365          ONDERLAW, LLC

ROBINSON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01664          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10989          ONDERLAW, LLC

ROBINSON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01664          THE BENTON LAW FIRM, PLLC

ROBINSON, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06197           THE MILLER FIRM, LLC
ROBINSON, MILLARD AND ROBINSON,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-01069-19AS       WEITZ & LUXENBERG
MIREILLE
ROBINSON, MITZI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04825          ONDERLAW, LLC

ROBINSON, NAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

ROBINSON, NAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15829          LENZE LAWYERS, PLC

ROBINSON, NAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

ROBINSON, NAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15829          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

ROBINSON, NAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBINSON, OZELLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02370          ROSS FELLER CASEY, LLP

ROBINSON, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08174           ONDERLAW, LLC

ROBINSON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

ROBINSON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

ROBINSON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBINSON, PAULA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07308           JASON J. JOY & ASSCIATES P.L.L.C.

ROBINSON, RACHEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14870          NACHAWATI LAW GROUP

ROBINSON, REYNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17819          NACHAWATI LAW GROUP

ROBINSON, ROBERTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13136           FLETCHER V. TRAMMELL

ROBINSON, ROBIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15124          WILLIAMS HART LAW FIRM

ROBINSON, RUTH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13876          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, RUTH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13981          JOHNSON LAW GROUP

ROBINSON, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19726          CELLINO & BARNES, P.C.

ROBINSON, SANDRA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002361-20         GOLOMB & HONIK, P.C.

ROBINSON, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07267          NACHAWATI LAW GROUP

ROBINSON, SERENA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02534           ONDERLAW, LLC

ROBINSON, SHERI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16075          LENZE LAWYERS, PLC

ROBINSON, SHERI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16075          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBINSON, SHERRI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

ROBINSON, SHERRI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

ROBINSON, SHERRI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROBINSON, SHERRY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12450          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07075           HEYGOOD, ORR & PEARSON

ROBINSON, TAHIRAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15598          NACHAWATI LAW GROUP

ROBINSON, TASHA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

ROBINSON, TASHA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

ROBINSON, TASHA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

ROBINSON, TASHA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

ROBINSON, TELISHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03103          ONDERLAW, LLC

ROBINSON, TERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02998          ONDERLAW, LLC

ROBINSON, TERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06225          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBINSON, THELMA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03803          ONDERLAW, LLC




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              Claimant Name                         State Filed                       Docket Number                             Plaintiff Counsel

ROBINSON, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09551          FLETCHER V. TRAMMELL

ROBINSON, TWANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02905          FLETCHER V. TRAMMELL

ROBINSON, VANESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05435          ONDERLAW, LLC

ROBINSON, WILLYE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04516          WILLIAMS HART LAW FIRM

ROBINSON, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11001           NACHAWATI LAW GROUP

ROBINSON-GRIM, ADDIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01810          GORI JULIAN & ASSOCIATES, P.C.

ROBINSON-HORTON, GAIL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14346          CELLINO & BARNES, P.C.

ROBINSON-HOUGH, MARLENE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13239           ONDERLAW, LLC

ROBINSON-MIODOVSKI, MOLLIE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10022          DAVIS, BETHUNE & JONES, L.L.C.

ROBISHAW, NINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11050          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROBISON, JULIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05672          ONDERLAW, LLC

ROBISON, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15657          ARNOLD & ITKIN LLP

ROBLES, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01552          BURNS CHAREST LLP

ROBLES, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01552          BURNS CHAREST LLP

ROBLES, MARYANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07159          JOHNSON LAW GROUP

ROBLES, MIRIAM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15755          LEVIN SIMES ABRAMS LLP

ROBLES, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19840          NACHAWATI LAW GROUP

ROBOZ, MANIRVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08875          ONDERLAW, LLC

ROBY, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16485          NACHAWATI LAW GROUP

ROBY, DWANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10513          LAW OFFICES OF SEAN M. CLEARY

ROBY, DWANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10513          LAW OFFICES OF SEAN M. CLEARY

ROBYN GRONEK                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18587          JOHNSON LAW GROUP

ROBYN RABALAIS                   FEDERAL - MDL                                 3:21-CV-19745          ONDERLAW, LLC

ROCCI, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03750          ONDERLAW, LLC

ROCCO, ALICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16496          NACHAWATI LAW GROUP

ROCCO, ARLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02735          ROSS FELLER CASEY, LLP

ROCCO, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09574          SANDERS VIENER GROSSMAN, LLP

ROCCO, MARGARET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002            ONDERLAW, LLC

ROCHA, DYMPHNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08430          ONDERLAW, LLC

ROCHA, MARINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13577          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

ROCHE, JEANMARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19138           ONDERLAW, LLC

ROCHELEAU, KIMBERLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14546           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROCHELLE ERNZEN                  FEDERAL - MDL                                 3:21-CV-17242          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

ROCHELLE ESPINOZA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17682          THE MILLER FIRM, LLC

ROCHFORD, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17800          NACHAWATI LAW GROUP

ROCK, BONNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03147          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROCKETT, EULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12301          GORI JULIAN & ASSOCIATES, P.C.

ROCKHOLD, DIONNE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         ONDERLAW, LLC

ROCKHOLD, DIONNE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         PORTER & MALOUF, PA

ROCKHOLD, DIONNE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         THE SMITH LAW FIRM, PLLC

ROCKS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROCKS, PAMELA                    CA - SUPERIOR COURT - YUBA COUNTY            CVPO-XX-XXXXXXX         ONDERLAW, LLC

ROCKS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          ONDERLAW, LLC

ROCKS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          PORTER & MALOUF, PA

ROCKS, PAMELA                    CA - SUPERIOR COURT - YUBA COUNTY            CVPO-XX-XXXXXXX         SALKOW LAW, APC

ROCKS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          THE SMITH LAW FIRM, PLLC

ROCKWELL, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07757          DALIMONTE RUEB, LLP

ROCKWELL, ROSE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01753          CELLINO & BARNES, P.C.

ROCKWELL, TRACY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06549          SALTZ MONGELUZZI & BENDESKY PC

ROCKWELL-JOYCE, JOY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05752          JOHNSON LAW GROUP

ROCKWOOD, GENEVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17640          BURNS CHAREST LLP

ROCKWOOD, GENEVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17640          BURNS CHAREST LLP

ROCKWOOD, ROSEMARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02323          JOHNSON LAW GROUP

ROCRAY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16965          JASON J. JOY & ASSCIATES P.L.L.C.

RODAS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19819          ONDERLAW, LLC

RODDY, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12451          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODDY, DAISY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08116          ARNOLD & ITKIN LLP

RODDY, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03336           ASHCRAFT & GEREL

RODDY, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03336          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODDY, ROUQUKRIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19200           NACHAWATI LAW GROUP

RODDY, SHONDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002561-20         GOLOMB & HONIK, P.C.

RODELIUS, DORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16947          ASHCRAFT & GEREL

RODELIUS, DORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16947          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODEMANN, LYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14776          ONDERLAW, LLC

RODEN, ARDELL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16976           THE MILLER FIRM, LLC

RODEN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20683          ONDERLAW, LLC

RODER, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11000           DAVIS, BETHUNE & JONES, L.L.C.



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           Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

RODERICK, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14767          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODERICK, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08275           DECOF, BARRY, MEGA & QUINN, P.C.

RODGERS, ARLEAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08981          ONDERLAW, LLC

RODGERS, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20661          ONDERLAW, LLC

RODGERS, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15158          NACHAWATI LAW GROUP

RODGERS, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04001          ONDERLAW, LLC

RODGERS, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10851          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODGERS, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02740          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODGERS, THERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02873          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RODGERS, THERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08408          ONDERLAW, LLC

RODGRIGUEZ, BRANDY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01724          ONDERLAW, LLC

RODI, THERESA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-213-18            THE MILLER FIRM, LLC

RODMAN, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00274          BACHUS & SCHANKER LLC

RODOLFO, DOROTHY AND          CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21105291              WEITZ & LUXENBERG

RODRICKS, ANDREA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18297          ASHCRAFT & GEREL, LLP

RODRIGUE, CLAUDIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10014          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODRIGUE, DANIELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11538           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RODRIGUES, IRENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18214           ONDERLAW, LLC

RODRIGUEZ, ALISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19048          NACHAWATI LAW GROUP

RODRIGUEZ, ANDREA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17334           WEITZ & LUXENBERG

RODRIGUEZ, ANYSSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16623           THE MILLER FIRM, LLC

RODRIGUEZ, BERTHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03978          ONDERLAW, LLC

RODRIGUEZ, BLANCA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17286           ONDERLAW, LLC

RODRIGUEZ, BOBBIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09664          ARNOLD & ITKIN LLP

RODRIGUEZ, BONNIE SAVOIE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17765          NACHAWATI LAW GROUP

RODRIGUEZ, BRANDY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14281           DRISCOLL FIRM, P.C.

RODRIGUEZ, CAROLINA           CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC671567                PANISH, SHEA & BOYLE

RODRIGUEZ, CATHERINE          IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

RODRIGUEZ, CELINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:L21-CV-13328         DAVIS, BETHUNE & JONES, L.L.C.

RODRIGUEZ, CLAUDIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03155           ONDERLAW, LLC

RODRIGUEZ, CYNTHIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03124          FLETCHER V. TRAMMELL

RODRIGUEZ, DEBBIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00353          NACHAWATI LAW GROUP

RODRIGUEZ, DELMY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17405           THE FERRARO LAW FIRM, P.A.

RODRIGUEZ, DORA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19915          ARNOLD & ITKIN LLP



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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

RODRIGUEZ, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02001          ONDERLAW, LLC

RODRIGUEZ, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09276          ONDERLAW, LLC

RODRIGUEZ, EMELLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20310          ONDERLAW, LLC

RODRIGUEZ, EUNICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09941          ONDERLAW, LLC

RODRIGUEZ, EVELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15506          ASHCRAFT & GEREL, LLP

RODRIGUEZ, EVELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15506          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODRIGUEZ, EVELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15247          JOHNSON LAW GROUP

RODRIGUEZ, G-ANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17419          JOHNSON LAW GROUP

RODRIGUEZ, GISELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14878          LENZE LAWYERS, PLC

RODRIGUEZ, GISELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14878          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RODRIGUEZ, GRACE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10721          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODRIGUEZ, HAYDEE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

RODRIGUEZ, HOPE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14899          LENZE LAWYERS, PLC

RODRIGUEZ, HOPE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14899           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RODRIGUEZ, IDANIZ              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03921           ONDERLAW, LLC

RODRIGUEZ, IRIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00245          POTTS LAW FIRM

RODRIGUEZ, IRMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17808          NACHAWATI LAW GROUP

RODRIGUEZ, ISABEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RODRIGUEZ, ISABEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RODRIGUEZ, ISABEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15253          LENZE LAWYERS, PLC

RODRIGUEZ, ISABEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RODRIGUEZ, ISABEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15253           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

RODRIGUEZ, JANET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11234          NACHAWATI LAW GROUP

RODRIGUEZ, JASMINE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001182-21         ASHCRAFT & GEREL, LLP

RODRIGUEZ, JASMINE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001182-21         GOLOMB & HONIK, P.C.

RODRIGUEZ, JENNIFER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08324          FLETCHER V. TRAMMELL

RODRIGUEZ, JODY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06284          WILLIAMS HART LAW FIRM

RODRIGUEZ, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODRIGUEZ, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09143           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODRIGUEZ, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03150           CELLINO & BARNES, P.C.

RODRIGUEZ, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15413          HILLIARD MARTINEZ GONZALES, LLP

RODRIGUEZ, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

RODRIGUEZ, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059           PORTER & MALOUF, PA

RODRIGUEZ, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10789           THE MILLER FIRM, LLC



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

RODRIGUEZ, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

RODRIGUEZ, LETICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11688          NACHAWATI LAW GROUP

RODRIGUEZ, LILIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07892          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODRIGUEZ, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10722          ONDERLAW, LLC

RODRIGUEZ, LUCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03723           ONDERLAW, LLC

RODRIGUEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11868          ARNOLD & ITKIN LLP

RODRIGUEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11006          FLETCHER V. TRAMMELL

RODRIGUEZ, MARISELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11888          NACHAWATI LAW GROUP

RODRIGUEZ, MARITZA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03400          ONDERLAW, LLC

RODRIGUEZ, MARY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002500-20         GOLOMB & HONIK, P.C.

RODRIGUEZ, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01212          MORELLI LAW FIRM, PLLC

RODRIGUEZ, NANCY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002617021         WEITZ & LUXENBERG

RODRIGUEZ, OLGA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05412          DALIMONTE RUEB, LLP

RODRIGUEZ, ORTENSIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01841          THE MILLER FIRM, LLC

RODRIGUEZ, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10724          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODRIGUEZ, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21799           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RODRIGUEZ, SHANNON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03939          ONDERLAW, LLC

RODRIGUEZ, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12387          THE BENTON LAW FIRM, PLLC
RODRIGUEZ, TRACY EST OF R
                                 IL - CIRCUIT COURT - COOK COUNTY              21-L-3823              COONEY AND CONWAY
RODRIGUEZ
RODRIGUEZ, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12431          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RODRIGUEZ, VIVIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05904          ONDERLAW, LLC

RODRIGUEZ-BENGE, LINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10249          GOLOMB SPIRT GRUNFELD PC

RODRIGUEZ-CATO, CARMEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00290           CELLINO & BARNES, P.C.

RODRIGUEZ-DIAZ, GRISEL           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06232          LEVIN SIMES ABRAMS LLP

RODRIGUEZ-GARCIA, LAYNYS         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02300          MOTLEY RICE, LLC

RODRIGUEZ-OQUENDO, CARMEN        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808           CARAZO QUETGLAS LAW OFFICES

RODUTA, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05334          ONDERLAW, LLC

RODWELL, ALISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08897          SANDERS VIENER GROSSMAN, LLP

ROE, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19528          NACHAWATI LAW GROUP

ROE, DELORES                     NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-7-16             ASHCRAFT & GEREL

ROE, DELORES                     NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-7-16             GOLOMB SPIRT GRUNFELD PC

ROE, MERRY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07456          THE DUGAN LAW FIRM, APLC

ROE, MINNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10720          THE MILLER FIRM, LLC




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             Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

ROE, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08415          ONDERLAW, LLC

ROE, SHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08857          BISNAR AND CHASE

ROE, SHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18535          ONDERLAW, LLC

ROEBUCK, KAY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02109          LEVIN SIMES ABRAMS LLP

ROEBUCK, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12218          MARLIN & SALTZMAN LLP

ROEBUCK, YVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19921           ARNOLD & ITKIN LLP

ROEDER, CLANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18948          NACHAWATI LAW GROUP

ROEMISCH, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03724          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROEPENACK, DEWELLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14169          MORELLI LAW FIRM, PLLC

ROESCH, BRITTANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02623          ONDERLAW, LLC

ROESCH, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-03881          ONDERLAW, LLC

ROESCHEN, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06483          ONDERLAW, LLC

ROESKE, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14472          ARNOLD & ITKIN LLP

ROESLER, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03304          ONDERLAW, LLC

ROESNER, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04102          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROFFMAN, LORRAINE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001538-21         MOTLEY RICE NEW JERSEY LLC

ROGACH, ROSEANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGACH, ROSEANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

ROGACH, ROSEANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

ROGACH, ROSEANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

ROGER, DIONICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14840          LENZE LAWYERS, PLC

ROGER, DIONICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14840           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROGERS, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14700          LENZE LAWYERS, PLC

ROGERS, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14700          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROGERS, ALLISON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09312          ONDERLAW, LLC

ROGERS, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18828          CELLINO & BARNES, P.C.

ROGERS, ANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13024          MORELLI LAW FIRM, PLLC

ROGERS, BOBBI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15065          RICHARDSON RICHARDSON BOUDREAUX

ROGERS, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02167          ONDERLAW, LLC

ROGERS, CAMILLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11041          THE SIMON LAW FIRM, PC

ROGERS, CARRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14531          FLETCHER V. TRAMMELL

ROGERS, CHARLOTTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16116           ONDERLAW, LLC

ROGERS, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07550          ONDERLAW, LLC

ROGERS, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12866          LINVILLE LAW GROUP



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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

ROGERS, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12745          ASHCRAFT & GEREL

ROGERS, DELORES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15537          ONDERLAW, LLC

ROGERS, DIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04256          ONDERLAW, LLC

ROGERS, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14851          LENZE LAWYERS, PLC

ROGERS, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09651          ONDERLAW, LLC

ROGERS, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14851          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROGERS, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14986          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03607          HOLLAND LAW FIRM

ROGERS, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09973          ASHCRAFT & GEREL, LLP

ROGERS, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09973          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, FRANKIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07488          ONDERLAW, LLC

ROGERS, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09601          ONDERLAW, LLC

ROGERS, GWENDOLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08320          FLETCHER V. TRAMMELL

ROGERS, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05642          BERMAN & SIMMONS, P. A.

ROGERS, JANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02741          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07787          ONDERLAW, LLC

ROGERS, JESSIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02744          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, JOHNNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12386          THE MILLER FIRM, LLC

ROGERS, JULIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02747          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, KATHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01827          GORI JULIAN & ASSOCIATES, P.C.

ROGERS, KEMBERLY               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

ROGERS, KEMBERLY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

ROGERS, KEMBERLY               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

ROGERS, KEMBERLY               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

ROGERS, LATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00724           ONDERLAW, LLC

ROGERS, LAURIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3;21-CV-05557          ONDERLAW, LLC

ROGERS, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10807          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06675          MOTLEY RICE, LLC

ROGERS, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13451          DONALD L. SCHLAPPRIZZI P.C.

ROGERS, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15453           LENZE LAWYERS, PLC

ROGERS, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451           LENZE LAWYERS, PLC

ROGERS, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15453           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROGERS, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13451           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

ROGERS, LUANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12321          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09864           ONDERLAW, LLC

ROGERS, MARGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08281          ARNOLD & ITKIN LLP

ROGERS, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17320          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08789           BARON & BUDD, P.C.

ROGERS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07004          LAW OFF OF ROGER 'ROCKY' WALTON, PC

ROGERS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17848          NACHAWATI LAW GROUP

ROGERS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03156          ONDERLAW, LLC

ROGERS, MYRTLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17189          ONDERLAW, LLC

ROGERS, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19910          ARNOLD & ITKIN LLP

ROGERS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17634           ONDERLAW, LLC

ROGERS, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06589          ONDERLAW, LLC

ROGERS, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-09482          HEYGOOD, ORR & PEARSON

ROGERS, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09975          ASHCRAFT & GEREL, LLP

ROGERS, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09975          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, ROSEMARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13820           ONDERLAW, LLC

ROGERS, SALLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18816          ONDERLAW, LLC

ROGERS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01370          ONDERLAW, LLC
ROGERS, SHANNON ESTATE OF JACK
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-004044-21        WEITZ & LUXENBERG
GARRISON
ROGERS, SHARRON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-03943          WAGSTAFF & CARTMELL, LLP

ROGERS, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16131          ASHCRAFT & GEREL, LLP

ROGERS, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16131          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGERS, SHENITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02002          ONDERLAW, LLC

ROGERS, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07923          THE MILLER FIRM, LLC

ROGERS, STACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15349          ONDERLAW, LLC

ROGERS, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20692          ONDERLAW, LLC

ROGERS, VALLERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08564          ONDERLAW, LLC

ROGERS, VICKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06902          ONDERLAW, LLC

ROGERS, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05468          ONDERLAW, LLC

ROGGENBURG, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13027           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGIENSKI, ARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10261          SANDERS VIENER GROSSMAN, LLP

ROGIER, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13877          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROGOWSKI, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05658          WILLIAMS HART LAW FIRM

ROHANI, LEILA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10142           ARNOLD & ITKIN LLP



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              Claimant Name                             State Filed                        Docket Number                              Plaintiff Counsel

ROHE, PATRICIA A. AND ROHE, WILLIAM   NY - SUPREME COURT - NYCAL                   190202/19               WEITZ & LUXENBERG

ROHLMAN, ELAINE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12311          ASHCRAFT & GEREL

ROHLMAN, ELAINE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12311          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROHR, CATHERINE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09438          WILLIAMS HART LAW FIRM

ROHRER, LAVERNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12885          FLETCHER V. TRAMMELL

ROJAS, ANNA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10899          FLETCHER V. TRAMMELL

ROJAS, CLAUDIA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14237          JOHNSON LAW GROUP

ROJAS, RACHAEL                        NY - SUPREME COURT - NYCAL                   190285/2019             MEIROWITZ & WASSERBERG, LLP

ROLAND, BERNICE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21246          ONDERLAW, LLC

ROLAND, LETITCIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2902-15           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROLAND, LETITCIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2902-15           PORTER & MALOUF, PA

ROLAND, LETITCIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2902-15           SEEGER WEISS LLP

ROLAND, LETITCIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2902-15           THE SMITH LAW FIRM, PLLC

ROLAND, RAMONA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15816          ONDERLAW, LLC

ROLDAN, DEBORAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02991          WILLIAMS HART LAW FIRM

ROLES-MEIER, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11409          DAVIS, BETHUNE & JONES, L.L.C.

ROLEY, KYMBAL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16146          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ROLFE, LYNN                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07072          HEYGOOD, ORR & PEARSON

ROLFER, LAURIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10926          ASHCRAFT & GEREL, LLP

ROLLAND, CHERYL                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002581-20         GOLOMB & HONIK, P.C.

ROLLAND, JANE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16796           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ROLLE, VERA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14773          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROLLER, BONNIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06697          ONDERLAW, LLC

ROLLER, DAWN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07582          THE MILLER FIRM, LLC

ROLLER, VERONICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15501          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROLLING, LAURELL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13658          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROLLING, VIRGINIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10879           ONDERLAW, LLC

ROLLINGS, LEIGH-ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06575           SALTZ MONGELUZZI & BENDESKY PC

ROLLINS, KELLIE                       MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROLLINS, KELLIE                       MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            ONDERLAW, LLC

ROLLINS, KELLIE                       MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            PORTER & MALOUF, PA

ROLLINS, KELLIE                       MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            THE SMITH LAW FIRM, PLLC

ROLLINS, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10047          ONDERLAW, LLC

ROLLINS, SHARON                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14781          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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           Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

ROLLINS, TAMINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03934          ONDERLAW, LLC

ROLLSTIN, CHRISTAL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06059          HOLLAND LAW FIRM

ROLOFF, PHYLLIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18903          JOHNSON LAW GROUP

ROLPH, MARYANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04125          ONDERLAW, LLC

ROMA, ELEANOR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10148          DAVIS, BETHUNE & JONES, L.L.C.

ROMAN, ANISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07503          ONDERLAW, LLC

ROMAN, ANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13129          NACHAWATI LAW GROUP

ROMAN, CARMEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17283          ASHCRAFT & GEREL

ROMAN, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00817          LENZE LAWYERS, PLC

ROMAN, DORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20867          ONDERLAW, LLC

ROMAN, EVELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10327          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

ROMAN, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08376          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROMAN, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06794          THE ENTREKIN LAW FIRM

ROMAN, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17622          ONDERLAW, LLC

ROMAN, MARISOL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07930          ONDERLAW, LLC

ROMANCHOK, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09624          MORELLI LAW FIRM, PLLC

ROMANO, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14787          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROMANO, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13594          GOLOMB & HONIK, P.C.

ROMANO, DOREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17335          ONDERLAW, LLC

ROMANO, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12570           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROMANO, FILOMENA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11866           ARNOLD & ITKIN LLP

ROMANO, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16226          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROMANOFSKI, LORA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02936           ONDERLAW, LLC

ROMANS, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17850          NACHAWATI LAW GROUP

ROMANSKI, CATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11317          PARKER WAICHMAN, LLP

ROMANUS, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13103          CORY, WATSON, CROWDER & DEGARIS P.C.

ROMAN-VILLADA, MAYLEE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00924          DALIMONTE RUEB, LLP

ROMBOLA, IDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08248          ONDERLAW, LLC

ROME, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18210           JOHNSON LAW GROUP

ROMEO, NOREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02899          ONDERLAW, LLC

ROMERO, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06524          ONDERLAW, LLC

ROMERO, CASSANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05362           THE SEGAL LAW FIRM

ROMERO, CHASITY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09686           MORRIS BART & ASSOCIATES




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

ROMERO, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00565           JOHNSON BECKER, PLLC

ROMERO, JACKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07392          ROSS FELLER CASEY, LLP

ROMERO, JULIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04986          ONDERLAW, LLC

ROMERO, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08765          ONDERLAW, LLC

ROMERO, LUCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08071          FLETCHER V. TRAMMELL

ROMERO, MATILDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18738          NACHAWATI LAW GROUP

ROMERO, ROSALINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09445          NACHAWATI LAW GROUP

ROMERO, YVETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12314          BARRETT LAW GROUP

ROMIOUS, CHARITA                 IL - CIRCUIT COURT - ST. CLAIR COUNTY        20-L-0404               ONDERLAW, LLC

ROMMELL, SUSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03032          WILLIAMS HART LAW FIRM

RONA PERROTTA                    FEDERAL - MDL                                 3:21-CV-19475          SULLO & SULLO, LLP

RONDA PHELPS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18487          ONDERLAW, LLC

RONDA, ZULMA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-002693-15        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RONDA, ZULMA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002693-15         PORTER & MALOUF, PA

RONDA, ZULMA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002693-15         SEEGER WEISS LLP

RONDA, ZULMA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002693-15         THE SMITH LAW FIRM, PLLC

RONDON, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20516           DRISCOLL FIRM, P.C.

RONEY, KECIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10809          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RONEY, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07925          MURRAY LAW FIRM

RONEY, MADELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15369          DAVIS, BETHUNE & JONES, L.L.C.

RONGERO, ESTER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12842           NAPOLI SHKOLNIK, PLLC

ROOD, CLARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09976          ASHCRAFT & GEREL, LLP

ROOD, CLARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09976          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROOHAN, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09784           BURNS CHAREST LLP

ROOHAN, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09784           BURNS CHAREST LLP

ROOKER, LESLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15699          NACHAWATI LAW GROUP

ROOKS-BURKIT, CYNTHIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06055          KLINE & SPECTER, P.C.

ROONEY, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15743          ARNOLD & ITKIN LLP

ROONEY-COTTRELL, CAROLYN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06605           ONDERLAW, LLC

ROOP, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12318          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROOT, KORRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09212          ONDERLAW, LLC
                                 CA - SUPERIOR COURT - SAN BERNARDINO
ROOT, LINDA                                                                   CIVDS1811937            ASPEY, WATKINS & DIESEL, PLLC
                                 COUNTY
                                 CA - SUPERIOR COURT - SAN BERNARDINO
ROOT, LINDA                                                                   CIVDS1811937            BURNS CHAREST LLP
                                 COUNTY
ROOT, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08232          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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             Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

ROOTE, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10296          ASHCRAFT & GEREL, LLP

ROOTE, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10296          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROPELE, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06269          ONDERLAW, LLC

ROPER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROPER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276           ONDERLAW, LLC

ROPER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

ROPER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

ROPER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05247           ONDERLAW, LLC

ROPER, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09137          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RORRISON, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00097          CELLINO & BARNES, P.C.

ROSA FLORENTINO                 FEDERAL - MDL                                 3:21-CV-16526          DAVIS, BETHUNE & JONES, L.L.C.

ROSA WARD                       FEDERAL - MDL                                 3:21-CV-19656          CORY, WATSON, CROWDER & DEGARIS P.C.

ROSA, NORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13668          JOHNSON LAW GROUP

ROSADO, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17852          NACHAWATI LAW GROUP

ROSADO, SANTOS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11371           NACHAWATI LAW GROUP

ROSALEE COLGRAVE                IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

ROSALES, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18275           ONDERLAW, LLC

ROSALIE FLORES                  DC - SUPERIOR COURT - DISTRICT OF COLUMBIA    1:21-CV-02756          ASHCRAFT & GEREL

ROSALIE FLORES                  DC - SUPERIOR COURT - DISTRICT OF COLUMBIA    1:21-CV-02756          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSARIO, EVELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17853          NACHAWATI LAW GROUP

ROSARIO, MARILYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12933           ONDERLAW, LLC

ROSARIO, MELINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11381           ONDERLAW, LLC

ROSARIO, RITA CAUSSADE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12595          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ROSARIOEREYES, PAMELA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14099          LENZE KAMERRER MOSS, PLC

ROSAS, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05926          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSATO, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09663          ONDERLAW, LLC

ROSATO, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02120          BURNS CHAREST LLP

ROSATO, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02120          BURNS CHAREST LLP

ROSBERG, KENNALY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17854          NACHAWATI LAW GROUP

ROSBROOK, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17680          JOHNSON LAW GROUP

ROSCOE, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17867          NACHAWATI LAW GROUP

ROSCOE, EALEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06577          ONDERLAW, LLC

ROSCOE, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10239          THE SEGAL LAW FIRM

ROSE BROWN                      FEDERAL - MDL                                 3:21-CV-18760          FLETCHER V. TRAMMELL



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

ROSE, AMBER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16646          NACHAWATI LAW GROUP

ROSE, ARLENE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2703-17           KEEFE BARTELS

ROSE, ARLENE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2703-17           LAW OFFICE OF GRANT D. AMEY, LLC

ROSE, ARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15360          ONDERLAW, LLC

ROSE, ARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02666          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROSE, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07882          SLACK & DAVIS LLP

ROSE, CHERAE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13167          ONDERLAW, LLC

ROSE, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17885          NACHAWATI LAW GROUP

ROSE, CHRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12947          FLETCHER V. TRAMMELL

ROSE, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12122          FLETCHER V. TRAMMELL

ROSE, FERRANTI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14281          ASHCRAFT & GEREL, LLP

ROSE, FERRANTI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14281          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSE, IRENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09549          ONDERLAW, LLC

ROSE, JAMIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03605          ONDERLAW, LLC

ROSE, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00092           ASHCRAFT & GEREL

ROSE, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01300          POTTS LAW FIRM

ROSE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

ROSE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14954          LENZE LAWYERS, PLC

ROSE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

ROSE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02693          ONDERLAW, LLC

ROSE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14954           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROSE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROSE, KRISTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11650          NACHAWATI LAW GROUP

ROSE, LIZZIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06186          ONDERLAW, LLC

ROSE, MARCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17876          NACHAWATI LAW GROUP

ROSE, MARIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17102          CELLINO & BARNES, P.C.

ROSE, MARVELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00039          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ROSE, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08529          ONDERLAW, LLC

ROSE, MEGAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01255          ONDERLAW, LLC

ROSE, MINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14661          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSE, NAKETA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11732          SULLO & SULLO, LLP

ROSE, REBECCA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20733          ONDERLAW, LLC

ROSE, REBECCA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02993          TORHOERMAN LAW LLC




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              Claimant Name                        State Filed                        Docket Number                                 Plaintiff Counsel

ROSE, ROSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09634             MORELLI LAW FIRM, PLLC

ROSE, SUSAN                      CA - SUPERIOR COURT - SANTA CRUZ COUNTY       18CV00909                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSE, SUSAN                      CA - SUPERIOR COURT - SANTA CRUZ COUNTY      18CV00909                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROSE, SUSAN                      CA - SUPERIOR COURT - SANTA CRUZ COUNTY       18CV00909                 THE SMITH LAW FIRM, PLLC

ROSE, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17347             ASHCRAFT & GEREL, LLP

ROSE, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17347             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSE, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05041             ONDERLAW, LLC

ROSE, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14496             THE MILLER FIRM, LLC

ROSE, VICKY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002191-20            GOLOMB & HONIK, P.C.

ROSE-BUCHANAN, ENID              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11910             NACHAWATI LAW GROUP

ROSECRANS, RENEE                 DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02739             ASHCRAFT & GEREL, LLP

ROSECRANS, RENEE                 DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02739             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSEFELD, JOSEPHINE              CA - SUPERIOR COURT - SAN DIEGO COUNTY        37-2018-22837-CU-MT-CTL   ASPEY, WATKINS & DIESEL, PLLC

ROSEFELD, JOSEPHINE              CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-22837-CU-MT-CTL    BURNS CHAREST LLP

ROSELL, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11108             ONDERLAW, LLC

ROSELLE, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15846             NACHAWATI LAW GROUP

ROSELLO, DARBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13532             DRISCOLL FIRM, P.C.

ROSELYN MCMAHON                  FEDERAL - MDL                                3:21-CV-18007              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ROSEMAN, LYN                     CA - SUPERIOR COURT - SANTA CLARA COUNTY      16-CV-295-80V             THE MILLER FIRM, LLC

ROSEMARIA YORK                   FEDERAL - MDL                                3:21-CV-19742              JOHNSON BECKER, PLLC

ROSEMARY BURKE                   FEDERAL - MDL                                3:21-CV-19086              MOTLEY RICE, LLC

ROSEMARY, BROOKS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16869             POTTS LAW FIRM

ROSEMOND, ALICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13555             SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

ROSEN, HILDEGARD                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20158             NACHAWATI LAW GROUP

ROSEN, JULLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15914             ASHCRAFT & GEREL, LLP

ROSEN, JULLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15914             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSEN, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18045             LINVILLE LAW GROUP

ROSEN, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17327             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSENBARGER, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20188              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSENBARKER, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05482             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSENBAUER, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03600              ONDERLAW, LLC

ROSENBERG, AUDREY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17294             ASHCRAFT & GEREL, LLP

ROSENBERG, AUDREY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17294             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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               Claimant Name                          State Filed                        Docket Number                            Plaintiff Counsel

ROSENBERG, CATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09467          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROSENBERG, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18065          WEITZ & LUXENBERG

ROSENBERG, MARSHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17895          NACHAWATI LAW GROUP

ROSENBERG, THELMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08272           THE LAW OFFICES OF SEAN M CLEARY

ROSENBERGER, GLORIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003330-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

ROSENBERGER, SUE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14587          FLETCHER V. TRAMMELL

ROSENBLUM, LINDA                    NY - SUPREME COURT - NYCAL                   190361/2018             MEIROWITZ & WASSERBERG, LLP
ROSENBLUM, LINDA & EST OF BARRY G
                                    NY - SUPREME COURT - NYCAL                    190361/2018            MEIROWITZ & WASSERBERG, LLP
ROSENBLUM
ROSENBLUM, MALKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07477           ONDERLAW, LLC

ROSENCRANCE, MARIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17911          NACHAWATI LAW GROUP

ROSENDIN, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16284           BISNAR AND CHASE

ROSENSTEEL, CRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05781          SIMMONS HANLY CONROY

ROSENSWAIKE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10723           ONDERLAW, LLC

ROSENTHAL, CANDACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05591          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

ROSENTHAL, CARMEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15158           ONDERLAW, LLC

ROSENTHAL, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14324          AVA LAW GROUP, INC.

ROSENTHAL, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSENZWEIG, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15409           ONDERLAW, LLC

ROSETH, KANDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01255          JOHNSON LAW GROUP

ROSETTI, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03601          ONDERLAW, LLC

ROSICK, ELAINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16084          NACHAWATI LAW GROUP

ROSIE SISNEROZ                      IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

ROSINSKI, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08838          BISNAR AND CHASE

ROSINSKI, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00843          NACHAWATI LAW GROUP

ROSKI, JOYCE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06236          ONDERLAW, LLC

ROSKOP, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16972          JOHNSON LAW GROUP

ROSPOND, GABRIELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02600          MOTLEY RICE, LLC

ROSQUETTE, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00042          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ROSS, AMBER                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15863          GIRARDI & KEESE

ROSS, ANISSA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003228-21         WEITZ & LUXENBERG

ROSS, ANN                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05949          JOHNSON LAW GROUP

ROSS, BARBARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07529          MOLL LAW GROUP

ROSS, BERTHA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08961          ONDERLAW, LLC

ROSS, BETSY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09131          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

ROSS, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16945          ASHCRAFT & GEREL

ROSS, BETTY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSS, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08236          MOTLEY RICE, LLC

ROSS, CHATAQUA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12707          LIAKOS LAW APC

ROSS, CHRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11563          NACHAWATI LAW GROUP

ROSS, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09300          DALIMONTE RUEB, LLP

ROSS, CRISTYNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21014          CELLINO & BARNES, P.C.

ROSS, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08361          VENTURA LAW

ROSS, DOROTHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08565          ONDERLAW, LLC

ROSS, ESTHER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06147          ONDERLAW, LLC

ROSS, FRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14257          NAPOLI SHKOLNIK, PLLC

ROSS, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14416          ASHCRAFT & GEREL

ROSS, GRACE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12380          ASHCRAFT & GEREL

ROSS, GRACE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12380          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSS, GRACE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19175          WILLIAMS HART LAW FIRM

ROSS, HELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02777          ONDERLAW, LLC

ROSS, IDELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06854          ONDERLAW, LLC

ROSS, JEWEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17937          NACHAWATI LAW GROUP

ROSS, KEELE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09092          ONDERLAW, LLC

ROSS, LAMEASIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03113          ONDERLAW, LLC

ROSS, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01699          JOHNSON LAW GROUP

ROSS, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04791          HOLLAND GROVES SCHNELLER & STOLZE

ROSS, LUZVIMINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11433          ASHCRAFT & GEREL

ROSS, LYNN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05625          ASHCRAFT & GEREL, LLP

ROSS, LYNN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01803          BURNS CHAREST LLP

ROSS, LYNN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01803          BURNS CHAREST LLP

ROSS, MARILYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12769          THE MILLER FIRM, LLC

ROSS, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18905          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSS, MATTIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17337          ASHCRAFT & GEREL, LLP

ROSS, MATTIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17337          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSS, MATTIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19676          NACHAWATI LAW GROUP

ROSS, NICOLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16264          THE MILLER FIRM, LLC

ROSS, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01204          GORI JULIAN & ASSOCIATES, P.C.




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              Claimant Name                            State Filed                        Docket Number                            Plaintiff Counsel

ROSS, PATRICIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15792          NACHAWATI LAW GROUP

ROSS, PATRICIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09957          NACHAWATI LAW GROUP

ROSS, ROSA                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17920          NACHAWATI LAW GROUP

ROSS, SHARLINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02141           MUELLER LAW PLLC

ROSS, SHERRY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09969          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSS, SUSAN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11148          ONDERLAW, LLC

ROSS, TAMMY                          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002363-20         GOLOMB & HONIK, P.C.

ROSS, TONI                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13092          THE SEGAL LAW FIRM

ROSS, VERONIKA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08937          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSS, VICKI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06426          KLINE & SPECTER, P.C.

ROSS, VIRGINIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00185          CELLINO & BARNES, P.C.

ROSS, WANDA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09427          BLIZZARD & NABERS, LLP
ROSS,NEIL W. ESTATE OF NANCY ELLEN
                                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-008278-20        WEITZ & LUXENBERG
ROSS
ROSS-DUSKIN, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06650           BLASINGAME, BURCH, GARRARD & ASHLEY, PC

ROSSER, BRENDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13072          ROSS FELLER CASEY, LLP

ROSSER, VICKI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10822          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSSER-LEWIS, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03692           ONDERLAW, LLC

ROSSEY, MARYANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00243          BURNS CHAREST LLP

ROSS-GIESE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06405          SCOVERN LAW

ROSSI, DENISE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07862          WILLIAMS HART LAW FIRM

ROSSI, LISA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13646          BARON & BUDD, P.C.

ROSSIGNOL, SONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10617          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROSSIGNOL, SONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10617           KAZAROSIAN COSTELLO LLP

ROSS-JOHNSON, IDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02850          ONDERLAW, LLC

ROSSMAN, HARRIET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09548          BARON & BUDD, P.C.

ROSSOW, CHERYL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11998          ROSS FELLER CASEY, LLP

ROST, PHYLLIS                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08933          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROST-BECK, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09577           ONDERLAW, LLC

ROSTEK, DANIELLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20663          ONDERLAW, LLC

ROSZAK, ROSE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12181          BARRETT LAW GROUP

ROTH, BARBI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01438          ONDERLAW, LLC

ROTH, JANEEN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06433          ONDERLAW, LLC

ROTH, MARILYNN                       CA - SUPERIOR COURT - LOS ANGELES COUNTY      20STCV25150            BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

ROTH, SHERRY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02691          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

ROTH, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11315          DANIEL & ASSOCIATES, LLC

ROTHDEUTSCHM, JOSEPH             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

ROTHSCHILD, KATIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01839          PARKER WAICHMAN, LLP

ROTHSCHILD, LESLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14455          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ROTHWELL, EMMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00093          ASHCRAFT & GEREL

ROTT, DOREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14268          ASHCRAFT & GEREL, LLP

ROTT, DOREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14268          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROTTER, LENORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10093          ONDERLAW, LLC

ROUGHTON, KAYLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14510          ONDERLAW, LLC

ROUNDTREE, JUANTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17945          NACHAWATI LAW GROUP

ROUNSAVILLE, JODY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14941          LENZE LAWYERS, PLC

ROUNSAVILLE, JODY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14941          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROUNSLEY, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03264          ONDERLAW, LLC

ROUSE, ADRIENNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14084          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROUSE, ANNA                      IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

ROUSE, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21172          ONDERLAW, LLC

ROUSE, GRACE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00011          ONDERLAW, LLC

ROUSE, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08586          ASHCRAFT & GEREL, LLP

ROUSE, SALLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05957          JOHNSON LAW GROUP

ROUSE, SHERRYANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04869           ONDERLAW, LLC

ROUSH, MAXINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18908          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROUSSEAU, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15059          THE BENTON LAW FIRM, PLLC

ROUSSEAU, MERI-LYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07657          THE ENTREKIN LAW FIRM

ROUTH, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07718          ONDERLAW, LLC

ROUX, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13382          ASHCRAFT & GEREL

ROVITO, YOLANTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13850          ONDERLAW, LLC

ROWE, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15651          THE BENTON LAW FIRM, PLLC

ROWE, BECKY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08269          ONDERLAW, LLC

ROWE, BRIANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09345          ONDERLAW, LLC

ROWE, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18802          CELLINO & BARNES, P.C.

ROWE, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09692          ONDERLAW, LLC

ROWE, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROWE, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14829          LENZE LAWYERS, PLC




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

ROWE, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14829          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ROWE, KIRSTEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13615          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROWE, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10548          JOHNSON LAW GROUP

ROWE, LOUANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03922          ONDERLAW, LLC

ROWE, RAQUEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22005          ONDERLAW, LLC

ROWE, RAYNEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12453          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROWE, ROSEMARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04996          ONDERLAW, LLC

ROWE, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01259           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

ROWE, TRACIE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003209-21         WEITZ & LUXENBERG

ROWELL, TAMALA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01806          ONDERLAW, LLC

ROWLAND, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03276          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

ROWLAND, KARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12159          BARRETT LAW GROUP

ROWLAND, LYNNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13339          ONDERLAW, LLC

ROWLAND, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10641          CELLINO & BARNES, P.C.

ROWLAND, SHELLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14508          ONDERLAW, LLC

ROWLAND, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05852          MOTLEY RICE, LLC

ROWLEY, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16787          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ROWLEY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09504           ONDERLAW, LLC

ROWSER, FREZENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04705          ONDERLAW, LLC

ROWSEY, SYDNEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13089          ONDERLAW, LLC

ROXANE SUIRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15990          LENZE LAWYERS, PLC

ROXANE SUIRE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15990          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

ROY, ANGELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22011          ONDERLAW, LLC

ROY, CHERYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15592          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ROY, CLAIRE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22009          ONDERLAW, LLC

ROY, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22161          DRISCOLL FIRM, P.C.

ROY, FRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15650          MORRIS BART & ASSOCIATES

ROY, IDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05914          JOHNSON LAW GROUP

ROY, LYNNE                       LA - DISTRICT COURT - ORLEANS PARISH         2020-02718              DEAN OMAR BRANHAM, LLP

ROY, LYNNE                       LA - DISTRICT COURT - ORLEANS PARISH          2020-02718             LANDRY & SWARR, L.L.C.

ROY, MARIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09874          FLETCHER V. TRAMMELL

ROY, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09200           DECOF, BARRY, MEGA & QUINN, P.C.

ROY, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08398           THE MILLER FIRM, LLC




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              Claimant Name                           State Filed                        Docket Number                            Plaintiff Counsel

ROY, SHEILA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09103          ONDERLAW, LLC

ROYAL, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02939          FLETCHER V. TRAMMELL

ROYALL, WOLLO                       NY - SUPREME COURT - NYCAL                    190224/2019            WEITZ & LUXENBERG

ROYBAL, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14320          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

ROYBAL-SALAZAR, GLORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17958          NACHAWATI LAW GROUP

ROYSE, SARAH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15804          JOHNSON LAW GROUP

ROYSTER, MARSHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01458          MOORE LAW GROUP PLLC

ROYSTON, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12146          GOZA & HONNOLD, LLC

ROZUM, KATHRYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18320          ONDERLAW, LLC

RUANE, THERESE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16083          ASHCRAFT & GEREL, LLP

RUANE, THERESE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16083          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUBAGO, ROSANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06551           BURNS CHAREST LLP

RUBATT, DAWN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08433          HILLIARD MARTINEZ GONZALES, LLP

RUBEN, ROXANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03599          ASHCRAFT & GEREL, LLP

RUBENACKER, RENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15864          HEYGOOD, ORR & PEARSON

RUBENSTEIN, SINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13622           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUBIN, ANNE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09347          ONDERLAW, LLC

RUBIN, SHARON                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13490          ONDERLAW, LLC

RUBINO, HEATHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06556          HENINGER GARRISON DAVIS, LLC

RUBIO, LILLIAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17476           LIEFF CABRASER HEIMANN & BERNSTEIN

RUBIO, LILLIAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17476           LIEFF CABRASER HEIMANN & BERNSTEIN

RUBIO, ROMELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16044          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RUBY WALKER                         FEDERAL - MDL                                3:21-CV-19134           MOTLEY RICE, LLC

RUBY YARBOROUGH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15991          LENZE LAWYERS, PLC

RUBY YARBOROUGH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15991          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

RUBY, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01483          ONDERLAW, LLC

RUBY, MADELINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01131          GORI JULIAN & ASSOCIATES, P.C.

RUCH, DELIA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02970          ONDERLAW, LLC

RUCK, VERONICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11819          ONDERLAW, LLC

RUCKER, ALYSSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10977          ASHCRAFT & GEREL, LLP

RUCKER, CARLA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03021          ONDERLAW, LLC
RUCKER, DIANDRE ESTATE OF WILLIAM
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-01414-19AS       WEITZ & LUXENBERG
MCGEE
RUCKER, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09038          JOHNSON LAW GROUP

RUCKER, HARRIETT                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10009          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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            Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

RUCKER, JEANETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14989          ONDERLAW, LLC

RUCKER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09125          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUCKER, TIFFANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06199          DALIMONTE RUEB, LLP

RUCKER, TIFFANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13614          DAVIS, BETHUNE & JONES, L.L.C.

RUCKER, WILLANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11101          ONDERLAW, LLC

RUCKH, DELORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11712          DANIEL & ASSOCIATES, LLC

RUDAN, NICOLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05184          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

RUDD, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04069          ONDERLAW, LLC

RUDEN, XIANGYI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02875          SANDERS PHILLIPS GROSSMAN, LLC

RUDMAN, ANKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04948          ONDERLAW, LLC

RUDNICK, RHONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01853          HAFELI STARAN & CHRIST , P.C.

RUDOFSKY, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01957          DIAMOND LAW

RUDOLPH, EILEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21252          JOHNSON LAW GROUP

RUDOLPH, LORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12455          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUDT, MOLLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19019          ONDERLAW, LLC

RUDY, MADELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12458          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUDZINSKI, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10929          ASHCRAFT & GEREL, LLP

RUE, ROXANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11128          GOLDENBERGLAW, PLLC

RUE, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02817          ARNOLD & ITKIN LLP

RUEDA, JULITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01901          CELLINO & BARNES, P.C.

RUEFF, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16750          NACHAWATI LAW GROUP

RUETZLER, SALLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08913          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUFF, DELORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14791          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUFF, REGINA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002596-20         GOLOMB & HONIK, P.C.

RUFF, WILLISHA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002364-20         GOLOMB & HONIK, P.C.

RUFFIN, CANARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02760          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUFFIN, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02793          ONDERLAW, LLC

RUFFIN, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05632          ONDERLAW, LLC

RUFFIN, RUTHANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RUFFIN, RUTHANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RUFFIN, RUTHANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RUFFIN, TERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05242          ONDERLAW, LLC

RUFFIN, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17978          NACHAWATI LAW GROUP

RUFINO, EVELISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00034          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

RUFUS, NITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06309          NAPOLI SHKOLNIK, PLLC

RUGE, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15753          GIRARDI & KEESE

RUGGIERO, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05699          BURNS CHAREST LLP

RUGGIERO, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05699          BURNS CHAREST LLP

RUHL, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09216          ONDERLAW, LLC

RUHLOW, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02883          FLETCHER V. TRAMMELL

RUIZ, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07584          THE MILLER FIRM, LLC

RUIZ, LOLA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002742-21         WEITZ & LUXENBERG

RUIZ, LUCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RUIZ, LUCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RUIZ, LUCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RUIZ, LUCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15751          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RUIZ, MAKI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18160          JOHNSON LAW GROUP

RUIZ, MARITZA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12536          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

RUIZ, MARITZAENID                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00808           CARAZO QUETGLAS LAW OFFICES

RUIZ, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15507          ASHCRAFT & GEREL, LLP

RUIZ, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15507          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUIZ, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00205          ASHCRAFT & GEREL

RUIZ, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00205          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUIZ, PRISCILLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19682          NACHAWATI LAW GROUP

RUIZ, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17701          NACHAWATI LAW GROUP

RUIZ, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18201          JOHNSON LAW GROUP

RUIZ-LAW, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02077          JOHNSON LAW GROUP

RUIZ-LAW, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02077          LEVIN SIMES LLP

RUIZ-SUTHERLAND, BRUNILDA        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004006-20         GOLOMB & HONIK, P.C.

RUKA, FAITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06840          ONDERLAW, LLC

RULAND, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10045          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RULAND, RHETA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07547          SLACK & DAVIS LLP

RULLI, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07712          ONDERLAW, LLC

RUMBAUGH, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00609          ASHCRAFT & GEREL, LLP

RUMBAUGH, FERN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19778          ONDERLAW, LLC

RUMBLES, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17681          THE MILLER FIRM, LLC

RUMMEL, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07813          JOHNSON LAW GROUP




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             Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

RUMMELL, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13491          ONDERLAW, LLC

RUMORE, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08700           ONDERLAW, LLC

RUMPH, EVETTE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08948          ONDERLAW, LLC

RUMPLE, REGINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10993          DAVIS, BETHUNE & JONES, L.L.C.

RUMRILL, KEVIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14425          ONDERLAW, LLC

RUMSCHLAG, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15923           MCSWEENEY/LANGEVIN, LLC

RUMSEY, GEORGANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00909          GORI JULIAN & ASSOCIATES, P.C.

RUMSEY, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02894           JASON J. JOY & ASSCIATES P.L.L.C.

RUMSEY, KELLI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02217          JOHNSON LAW GROUP

RUNDAG, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08947          ONDERLAW, LLC

RUNDE, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15909          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

RUNDLE, JEANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21274          CELLINO & BARNES, P.C.

RUNDLE, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14184          ARNOLD & ITKIN LLP

RUNION, DORETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16801           BURNS CHAREST LLP

RUNKLE, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06917          WILLIAMS HART LAW FIRM
RUNNELS, MICHAEL W & EST OF JIMMY
                                    NY - SUPREME COURT - NYCAL                    190379/2018            MEIROWITZ & WASSERBERG, LLP
RUNNELS
RUNNELS, MICHAEL WAYNE              NY - SUPREME COURT - NYCAL                   190379/2018             MEIROWITZ & WASSERBERG, LLP

RUNYON, STEPHANIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUNYON, STEPHANIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           ONDERLAW, LLC

RUNYON, STEPHANIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA

RUNYON, STEPHANIE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           THE SMITH LAW FIRM, PLLC

RUPERT, CHARLOTTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18006          NACHAWATI LAW GROUP

RUPERT, ROSA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01362          CELLINO & BARNES, P.C.

RUPERT-SJOLANDER, DEBRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18811           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RUPP, DAWN                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08194          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUPP, JUDY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07421           ROSS FELLER CASEY, LLP

RUPPEL, PETER                       IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

RUSACKAS, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12459          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSH, DONNA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10077          GORI JULIAN & ASSOCIATES, P.C.

RUSH, ELIZABETH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18517          NACHAWATI LAW GROUP

RUSH, FRANCES                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05894          ASHCRAFT & GEREL

RUSH, FRANCES                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05894          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSH, JOAN                          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003360-21         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RUSH, PATRICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14564          MORELLI LAW FIRM, PLLC



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            Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

RUSH, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14214          THE BENTON LAW FIRM, PLLC

RUSHIA, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10299          ASHCRAFT & GEREL, LLP

RUSHIA, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10299          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSHING, KRISTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10300          ASHCRAFT & GEREL, LLP

RUSHING, KRISTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10300          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSHNOCK, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10933          FLETCHER V. TRAMMELL

RUSHWORTH, TINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2894-15           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSHWORTH, TINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2894-15           PORTER & MALOUF, PA

RUSHWORTH, TINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2894-15           SEEGER WEISS LLP

RUSHWORTH, TINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2894-15           THE SMITH LAW FIRM, PLLC

RUSK, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03433          NACHAWATI LAW GROUP

RUSKUSKI, DIANE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003349-20         COHEN, PLACITELLA & ROTH

RUSKUSKI, DIANE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003349-20         FLETCHER V. TRAMMELL

RUSS, BIRGITTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06672          ONDERLAW, LLC

RUSS, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18708          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

RUSSAW, TWILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01474          ONDERLAW, LLC

RUSSELL JAYNES                 IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

RUSSELL, AMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09369          ONDERLAW, LLC

RUSSELL, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15009           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RUSSELL, ARIEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10404          ARNOLD & ITKIN LLP

RUSSELL, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05773          ONDERLAW, LLC

RUSSELL, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17856          THE MILLER FIRM, LLC

RUSSELL, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17339          WEITZ & LUXENBERG

RUSSELL, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00138          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RUSSELL, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18617          JOHNSON LAW GROUP

RUSSELL, CAROLYN               NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-004065-21        WEITZ & LUXENBERG

RUSSELL, DELORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13412          FRAZER LAW LLC

RUSSELL, HOLLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00104          SIMMONS HANLY CONROY

RUSSELL, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08858          ONDERLAW, LLC

RUSSELL, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05531          ONDERLAW, LLC

RUSSELL, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00979           MOTLEY RICE, LLC

RUSSELL, LATRESA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2443-17           KEEFE BARTELS

RUSSELL, LATRESA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2443-17           LAW OFFICE OF GRANT D. AMEY, LLC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RUSSELL, LAURIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18026          NACHAWATI LAW GROUP

RUSSELL, MANDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11405           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RUSSELL, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01446          ASHCRAFT & GEREL

RUSSELL, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01446          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSSELL, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05730          ONDERLAW, LLC

RUSSELL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01358          ARNOLD & ITKIN LLP

RUSSELL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07564          THE DUGAN LAW FIRM, APLC

RUSSELL, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03980          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSSELL, MELLONIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12047          MORELLI LAW FIRM, PLLC

RUSSELL, PAMELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSSELL, PAMELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           ONDERLAW, LLC

RUSSELL, PAMELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA

RUSSELL, PAMELA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           THE SMITH LAW FIRM, PLLC

RUSSELL, RALENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18783          MOTLEY RICE, LLC

RUSSELL, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04030          JOHNSON LAW GROUP

RUSSELL, ROXANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06640           ARNOLD & ITKIN LLP

RUSSELL, SUSANN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSSELL, SUSANN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            GOLDENBERGLAW, PLLC

RUSSELL, SUSANN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

RUSSELL, SUSANN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

RUSSELL, SUSANN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            THE SMITH LAW FIRM, PLLC

RUSSELL, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RUSSELL, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RUSSELL, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RUSSELL, TRUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14487          DALIMONTE RUEB, LLP

RUSSELL, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14996          ONDERLAW, LLC

RUSSELL-MALOW, JANET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19600           ONDERLAW, LLC

RUSSELL-MOSS, NINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01341          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSSO, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09122          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSSO, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13330          CELLINO & BARNES, P.C.

RUSSO, ESTHER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05797          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

RUSSO, FRANCINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00408          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSSO, GEORGIANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09055          ROSS FELLER CASEY, LLP

RUSSO, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11136           ASHCRAFT & GEREL, LLP



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              Claimant Name                            State Filed                       Docket Number                              Plaintiff Counsel

RUSSO, JOAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11136          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSSO, KATHRYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21846          BERNSTEIN LIEBHARD LLP

RUSSO, LINDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22065          DRISCOLL FIRM, P.C.

RUSSO, LUCIA EST OF JUDE RUSSO      NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-04075-19AS       WEITZ & LUXENBERG

RUSSO, PAULA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01512          JOHNSON LAW GROUP

RUSSO, PHYLLIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01000          CELLINO & BARNES, P.C.

RUSSO, SHAWNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06797          MOTLEY RICE, LLC

RUSSO, VICTORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02206          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

RUSSOTTI, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06933          NAPOLI SHKOLNIK, PLLC

RUSSUM, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02650          LAW OFFS. OF PETER G. ANGELOS, P.C.

RUSTICO, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16078          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUSTY WALTON                        IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

RUTH COUILLARD                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02665          ASHCRAFT & GEREL, LLP

RUTH COUILLARD                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02665          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUTH STEIGERWALT                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

RUTH, BRENDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09858          ONDERLAW, LLC

RUTH, CASSANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19617          NACHAWATI LAW GROUP

RUTH, CHRISTIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16635          JOHNSON LAW GROUP

RUTH, KAY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08508          ONDERLAW, LLC

RUTHERFORD, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07677          FLETCHER V. TRAMMELL

RUTHERFORD, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           ASHCRAFT & GEREL

RUTHERFORD, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUTHERFORD, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811            ONDERLAW, LLC

RUTHERFORD, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           PORTER & MALOUF, PA

RUTHERFORD, MARY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           THE SMITH LAW FIRM, PLLC

RUTH-LETT, NETTI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04237          ONDERLAW, LLC

RUTKOWSKI, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

RUTKOWSKI, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

RUTKOWSKI, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RUTKOWSKI, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15386          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

RUTKOWSKI, LORETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19630          NACHAWATI LAW GROUP

RUTKOWSKI, ROXANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05483          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUTLAND, DEOLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09850          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUTLAND, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09323          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

RUTLEDGE, BILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14527          FLETCHER V. TRAMMELL

RUTLEDGE, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04727          ASHCRAFT & GEREL

RUTLEDGE, ELAINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04727          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUTLEDGE, JANELL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12878          NAPOLI SHKOLNIK, PLLC

RUTLEY, TERESA MARGARET          BRITISH COLUMBIA (VANCOUVER)                  VLC-S-S-230669         PRESZLER LAW FIRM LLP

RUTNIK, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09435          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RUTTEN, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13933          MESHBESHER & SPENCE, LTD.

RUTUSHIN, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18290          JOHNSON LAW GROUP

RUVALCABA, EMERITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13192          JOHNSON LAW GROUP

RUZGIS, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08538          WILLIAMS HART LAW FIRM

RYALS, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21570          ONDERLAW, LLC

RYALS, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03018          ONDERLAW, LLC

RYALS, PAMALA                    FL - CIRCUIT COURT - MIAMI DADE COUNTY       18-030244               THE FERRARO LAW FIRM, P.A.

RYAN FELLER                      IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

RYAN KIRKLAND                    FEDERAL - MDL                                 3:21-CV-16504          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RYAN, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12461          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RYAN, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01344          THE MILLER FIRM, LLC

RYAN, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00423          ASHCRAFT & GEREL

RYAN, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00423          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RYAN, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11283          GORI JULIAN & ASSOCIATES, P.C.

RYAN, DIANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10004          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RYAN, ELINORE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06505          MCGOWAN, HOOD & FELDER, LLC

RYAN, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07978          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RYAN, JANIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12463          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RYAN, JEANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15988          NACHAWATI LAW GROUP

RYAN, LILLIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16943           ASHCRAFT & GEREL

RYAN, LILLIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16943          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RYAN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12809          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RYAN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12464          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RYAN, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17029           HAUSFELD

RYAN, MARIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10272          THE FERRARO LAW FIRM, P.A.

RYAN, OLIVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17263          TORHOERMAN LAW LLC

RYAN, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01471           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

RYAN, RITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11024           PARKER WAICHMAN, LLP



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

RYAN, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13671          NACHAWATI LAW GROUP

RYANN-MANN, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16527           NAPOLI SHKOLNIK, PLLC

RYANS, EULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07330          ONDERLAW, LLC

RYBICKI, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15038          WATERS & KRAUS, LLP

RYBICKI, LEONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18818          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

RYDEN, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02076          LEVIN SIMES LLP

RYDER, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03161          ONDERLAW, LLC

RYDZINSKI, ADELE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11177          NACHAWATI LAW GROUP

RYERSON, DAMARIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13391          FLETCHER V. TRAMMELL

RYLANT, TANYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04585          JOHNSON LAW GROUP

RYLEY, TINA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2293-17           GOLOMB SPIRT GRUNFELD PC

RYSDYK, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17314           FLETCHER V. TRAMMELL

RZANCA, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17353          ASHCRAFT & GEREL, LLP

RZANCA, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17353          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

RZEPECKI, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14172          ASHCRAFT & GEREL, LLP

RZEPECKI, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14172          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAARI, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01500          ROSS FELLER CASEY, LLP

SAAVEDRA, SONIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00100          CELLINO & BARNES, P.C.

SABALA, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12738          BISNAR AND CHASE

SABATINE, LISA                   IL - CIRCUIT COURT - COOK COUNTY              2020-L-1795            CLIFFORD LAW OFFICES, P.C.

SABATINO, RANDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05937          NAPOLI SHKOLNIK, PLLC

SABB, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11590          NACHAWATI LAW GROUP

SABB, LUBERDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12695          FRAZER PLC

SABB, TRANACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18963          ASHCRAFT & GEREL, LLP

SABEL, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09576          SANDERS VIENER GROSSMAN, LLP

SABELLA, OLINDA                  CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV331379             KIESEL LAW, LLP

SABER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10611          LEVIN SIMES LLP

SABLAN, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04927          ONDERLAW, LLC

SABOE, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15531          LENZE KAMERRER MOSS, PLC

SABOURIN, MARGARET               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SABOURIN, MARGARET               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

SABOURIN, MARGARET               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

SACCANY, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17447          ONDERLAW, LLC

SACCURATO, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14917           ONDERLAW, LLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SACHER, HELENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12420          ASHCRAFT & GEREL

SACHS, EILEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20226          DELL & DEAN PLLC

SACHS, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15141          WILLIAMS HART LAW FIRM

SACHS, MARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20680          ONDERLAW, LLC

SACHTELBEN, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08827          ONDERLAW, LLC

SACK, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10267          SULLO & SULLO, LLP

SACKETT, DAPHNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09646          GORI JULIAN & ASSOCIATES, P.C.

SACKETT, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01711          JOHNSON LAW GROUP

SACKRIDER, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11314          HENINGER GARRISON DAVIS, LLC

SACKS, SHEILA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002679-21         WEITZ & LUXENBERG

SADDLER, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02564          THE SEGAL LAW FIRM

SADDLER-PHILLIBERT, SONIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02577          SANDERS PHILLIPS GROSSMAN, LLC

SADLER, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01051           MCSWEENEY/LANGEVIN, LLC

SADLER, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10729          ONDERLAW, LLC

SADLER, SANDRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SADLER, SANDRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

SADLER, SANDRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

SADLER, SANDRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

SADLER, SANDRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           THE SMITH LAW FIRM, PLLC

SADLER, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13744          CORRIE YACKULIC LAW FIRM, PLLC

SADLER, SUZAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12729          NAPOLI SHKOLNIK, PLLC

SADOWSKI, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13013          MORELLI LAW FIRM, PLLC

SADOWSKI, SUSAN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002141-20         GOLOMB & HONIK, P.C.

SADWIN, SUE                       NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-04050-18AS       WEITZ & LUXENBERG

SAEZ, TATIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09006          ONDERLAW, LLC

SAFFORD, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17474          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAFIER-KAPLAN, CAROL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19102          CELLINO & BARNES, P.C.

SAFKOS, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16178          ONDERLAW, LLC

SAFLOR, ELEUTERIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17381          HOLLAND LAW FIRM

SAGE, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14236          JOHNSON LAW GROUP

SAGO, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12717          ONDERLAW, LLC

SAHIN, NAZLI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17267           THE MILLER FIRM, LLC

SAHYOUN, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06055          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAI, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14628          JOHNSON LAW GROUP



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               Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

SAIA, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03602          ONDERLAW, LLC

SAIA, PETER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06354          THE MILLER FIRM, LLC

SAJDERA, JOZEFA                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SAKCRISKA, ANTOINETTA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002265-20         GOLOMB & HONIK, P.C.

SAKOWSKI, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09841           ONDERLAW, LLC

SALADYGA, JACQUELYNN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17741          CELLINO & BARNES, P.C.

SALAMANCA, SILVIA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV327582              KIESEL LAW, LLP

SALAMANCA, SILVIA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV327582             THE WHITEHEAD LAW FIRM, LLC

SALAMI, DESHONDRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002374-20         GOLOMB & HONIK, P.C.

SALAMIPOUR, MARYAM                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06138          THE ENTREKIN LAW FIRM

SALAMO, HILDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18060          NACHAWATI LAW GROUP

SALAMONE, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11842          GORI JULIAN & ASSOCIATES, P.C.

SALAS, ALICE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002375-20         GOLOMB & HONIK, P.C.

SALAS, DEENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08558          ONDERLAW, LLC

SALAS, DOLORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19737          ARNOLD & ITKIN LLP

SALAS, HOLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22015          ONDERLAW, LLC

SALAS, SAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01485          ONDERLAW, LLC

SALAS, SUSANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07381          HEYGOOD, ORR & PEARSON

SALAVICS, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08267           HAUSFELD

SALAZAR, ALYSSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14375          MUELLER LAW PLLC

SALAZAR, ANTONIETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13969          WAGSTAFF & CARTMELL, LLP

SALAZAR, CELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

SALAZAR, CELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

SALAZAR, CELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SALAZAR, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15706          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALAZAR, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14843          LENZE LAWYERS, PLC

SALAZAR, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14843          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SALAZAR, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10368          SANDERS VIENER GROSSMAN, LLP

SALAZAR, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALAZAR, KATHYNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13880          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALAZAR, LORI                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALAZAR, LORI                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

SALAZAR, LORI                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC




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              Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

SALAZAR, LORI                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

SALAZAR, LORI                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

SALAZAR, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11184          NACHAWATI LAW GROUP

SALAZAR, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11750          ARNOLD & ITKIN LLP

SALAZAR, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18059          NACHAWATI LAW GROUP

SALAZAR, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

SALAZAR, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15824          LENZE LAWYERS, PLC

SALAZAR, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

SALAZAR, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15824          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SALAZAR, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SALAZAR, NORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10497          ONDERLAW, LLC

SALAZAR, PEARL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00120          CELLINO & BARNES, P.C.

SALAZAR, VERONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00797          COHEN & MALAD, LLP

SALAZAR-ROYBAL, GLORIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09300           ONDERLAW, LLC

SALCE, RUTH                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09886          ONDERLAW, LLC

SALCEDO, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15830          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SALCIDO, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18099           ARNOLD & ITKIN LLP

SALCIDO, MARY                      AZ - SUPERIOR COURT - PIMA COUNTY            C20210431               MILLER PITT FELDMAN & MCANALLY P.C.

SALCIDO, MARY AND SALCIDO, FRANK   AZ - SUPERIOR COURT - PIMA COUNTY            C20210431               KARST & VON OISTE, LLP

SALDANA, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18609          THE SEGAL LAW FIRM

SALDANA, ANTHONY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16279          NACHAWATI LAW GROUP

SALDANA, GRACIELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15853           NACHAWATI LAW GROUP

SALDANA, KAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09192          ONDERLAW, LLC

SALDANA, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19248          NACHAWATI LAW GROUP

SALDANA-KINTNER, LAURA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04353          ASHCRAFT & GEREL

SALDIVAR, JULIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17410          JOHNSON LAW GROUP

SALEEM, FRIEDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14875          LENZE LAWYERS, PLC

SALEEM, FRIEDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14875          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SALEEN, JESSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19904          NACHAWATI LAW GROUP

SALEM, NANCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11620          NACHAWATI LAW GROUP

SALERNO, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08758          ONDERLAW, LLC

SALERNO, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11704          CELLINO & BARNES, P.C.

SALES, CHARLOTTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05979          ONDERLAW, LLC




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SALES, CINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02447          ONDERLAW, LLC

SALFEN, JONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20118           THE MILLER FIRM, LLC

SALFI, KATHLEEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003148-21         NAPOLI SHKOLNIK, PLLC

SALGADO, CARMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17795           MARY ALEXANDER & ASSOCIATES, P.C.

SALGUERO, ELSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03648          BARON & BUDD, P.C.

SALI, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15149           WILLIAMS HART LAW FIRM

SALIBA, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19242          NACHAWATI LAW GROUP

SALIGAN, YAESURI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01973          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALIMA, FAAIUGA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06415          DRISCOLL FIRM, P.C.

SALINAS, ENRIQUETA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20670          ONDERLAW, LLC

SALINAS, JUANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01430           ARNOLD & ITKIN LLP

SALINAS, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04239          FLETCHER V. TRAMMELL

SALISBURY, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10733          ONDERLAW, LLC

SALISBURY, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10732          THE LAW OFFICES OF SEAN M CLEARY

SALKIN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09426          LEVY BALDANTE FINNEY & RUBENSTEIN

SALKIN, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16254          ONDERLAW, LLC

SALKO, DENNIS                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SALLAS, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09851          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALLEE, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07819           ONDERLAW, LLC

SALLEY, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09936           WILLIAMS HART LAW FIRM

SALLEY, MONTIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13249          CELLINO & BARNES, P.C.

SALLFELDER, WYNELLE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003912-20         ARNOLD & ITKIN LLP

SALLFELDER, WYNELLE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003912-20         COHEN, PLACITELLA & ROTH

SALLING, GILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06824          ONDERLAW, LLC

SALLIS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07005          HOLLAND LAW FIRM

SALLOUM, MAUREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06201          LEVIN SIMES LLP

SALLY FREDELL                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SALLY, ASHOK                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10274          GOLOMB SPIRT GRUNFELD PC

SALLYANN ELIAS                    FEDERAL - MDL                                3:21-CV-18851           MOTLEY RICE, LLC

SALMANS, JULIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6386-14           SEEGER WEISS LLP

SALMINEN, GEORGIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14100          FLETCHER V. TRAMMELL

SALMON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01551          BURNS CHAREST LLP

SALMON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01551          BURNS CHAREST LLP

SALMON, JONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10976          BURNS CHAREST LLP



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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SALMON, JONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10976          BURNS CHAREST LLP

SALMON, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15326           MORELLI LAW FIRM, PLLC

SALMON-MUSSO, LILLIAN          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000649-18         GOLOMB SPIRT GRUNFELD PC

SALOMAO, POLYANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

SALOMAO, POLYANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

SALOMAO, POLYANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SALOME EDGEWORTH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18069          WEITZ & LUXENBERG

SALSBERG, RENEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03079          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALTER, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

SALTER, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

SALTER, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            THE SMITH LAW FIRM, PLLC

SALTER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13398          WAGSTAFF & CARTMELL, LLP

SALTER, MYLOVE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19141          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

SALTER, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12721          ONDERLAW, LLC

SALTER, WILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20756          ONDERLAW, LLC

SALTERS, LAKEYSHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04064           ONDERLAW, LLC

SALTERS, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07457          THE DUGAN LAW FIRM, APLC

SALTERS, SYDNEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08617          CHILDERS, SCHLUETER & SMITH, LLC

SALTERS, TOMMIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05016          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALTO, ADELINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09944          ONDERLAW, LLC

SALTPAW, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10339           ONDERLAW, LLC

SALVADOR, ANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12778          SULLO & SULLO, LLP

SALVADOR, TERESITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19896          ONDERLAW, LLC

SALVATORE, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13714          HOVDE, DASSOW, & DEETS, LLC

SALVATORE, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13714          THE MILLER FIRM, LLC

SALVEMINI, LISA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

SALVEMINI, LISA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

SALVEMINI, LISA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

SALVEMINI, LISA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

SALVO, LAURA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

SALVO, LAURA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

SALVO, LAURA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

SALVO, LAURA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC




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             Claimant Name                             State Filed                       Docket Number                            Plaintiff Counsel

SALYER, LYNN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02023          JOHNSON LAW GROUP

SALYER, YONA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01143          THE DUGAN LAW FIRM, APLC

SALYERS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14267          ASHCRAFT & GEREL, LLP

SALYERS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14267          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALYERS, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20158          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SALYERS, JONELLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13620          JOHNSON LAW GROUP

SALYERS, SHELIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17350          ONDERLAW, LLC

SALZMANN, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12974          CELLINO & BARNES, P.C.

SAM, JENNY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20227          NACHAWATI LAW GROUP

SAMANTHA DEDMAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18568          ONDERLAW, LLC

SAMARA, IBTESAM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20161          NACHAWATI LAW GROUP

SAMAREL, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09095          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAMAYOA, CAROLINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18058           NACHAWATI LAW GROUP

SAMBI, GEMMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18805          LENZE LAWYERS, PLC

SAMBO, CAROL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15323          JOHNSON BECKER, PLLC

SAMBURSKY, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15041          WATERS & KRAUS, LLP

SAMET, HELEN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09077          ONDERLAW, LLC

SAMETINI, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07553          ASHCRAFT & GEREL, LLP

SAMETINI, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07553          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAMIA, DORI ESTATE OF JOHN DEGRAZIA RI - SUPERIOR COURT - PROVIDENCE COUNTY      PC-2018-3695            THE DEATON LAW FIRM

SAMMONS, SARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10277          GORI JULIAN & ASSOCIATES, P.C.

SAMMONS, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06564          THE ENTREKIN LAW FIRM

SAMONTE, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13420          LAW OFFICES OF JAMES SCOTT FARRIN

SAMPIETRO, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20186          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAMPLE, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09439          WILLIAMS HART LAW FIRM

SAMPLE, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01304          JOHNSON LAW GROUP

SAMPLE, GENA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00723          ARNOLD & ITKIN LLP

SAMPLE, MARY                        FL - CIRCUIT COURT - BROWARD COUNTY           CACE20000928           BABBITT, JOHNSON, OSBORNE & LECLAINCHE, P.A.

SAMPLE, MARY                        FL - CIRCUIT COURT - BROWARD COUNTY          CACE20000928            WILLIAMS HART LAW FIRM

SAMPLER, DOREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11016          ONDERLAW, LLC

SAMPLES, BETTY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919            ONDERLAW, LLC

SAMPSON, BETTY                      CA - SUPERIOR COURT - SAN JOAQUIN COUNTY     STK-CV-UMT-2018-5647    ASPEY, WATKINS & DIESEL, PLLC

SAMPSON, HANNAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15458           CELLINO & BARNES, P.C.

SAMPSON, IRIS                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003033-20         GOLOMB & HONIK, P.C.



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            Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SAMPSON, JO ANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13648          ARNOLD & ITKIN LLP

SAMPSON, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13670          NACHAWATI LAW GROUP

SAMPSON, PHILANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09331           ONDERLAW, LLC

SAMS, ANETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08172          ONDERLAW, LLC

SAMS, SCARLETT                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2950-15           SEEGER WEISS LLP

SAMSON, CARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09631          ONDERLAW, LLC

SAMUEL, BETTIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06018          NAPOLI SHKOLNIK, PLLC

SAMUEL, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17727          NACHAWATI LAW GROUP

SAMUEL, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13618          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAMUEL, HILDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09697           MORRIS BART & ASSOCIATES

SAMUEL, VAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18057          NACHAWATI LAW GROUP

SAMUELS, DEBORA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01378          MOTLEY RICE, LLC

SAMUELS, LESIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07034          ONDERLAW, LLC

SAMUELS, RACHAEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12741          ONDERLAW, LLC

SAMUELS, SABRINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12884          GOZA & HONNOLD, LLC

SAMUELS, VIRGIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19762          ONDERLAW, LLC

SAMUELSBARIL, DEBORAH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18778          WEITZ & LUXENBERG

SAMUELSEN, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14740          LENZE LAWYERS, PLC

SAMUELSEN, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14740          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SAMUELSON, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00577          NACHAWATI LAW GROUP

SAMUELU, LIPENS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15512          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SAMURA, KOYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04084          ONDERLAW, LLC

SAN FILIPPO, SARAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAN FILIPPO, SARAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719           ONDERLAW, LLC

SAN FILIPPO, SARAH             CA - SUPERIOR COURT - BUTTE COUNTY           17CV03200               ONDERLAW, LLC

SAN FILIPPO, SARAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          PORTER & MALOUF, PA

SAN FILIPPO, SARAH             CA - SUPERIOR COURT - BUTTE COUNTY           17CV03200               SALKOW LAW, APC

SAN FILIPPO, SARAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          THE SMITH LAW FIRM, PLLC

SAN JUAN, ELISABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18417          JOHNSON LAW GROUP

SAN NICOLAS, DIANA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16446          THE BENTON LAW FIRM, PLLC

SANABRIA, GLADYS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10940           SKIKOS, CRAWFORD, SKIKOS & JOSEPH

SANBORN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03738          ONDERLAW, LLC

SANCHEZ, ADELITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00265          BURNS CHAREST LLP

SANCHEZ, ADELITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00265          BURNS CHAREST LLP



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            Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SANCHEZ, AIDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06270          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANCHEZ, ALICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08261          DAVIS, BETHUNE & JONES, L.L.C.

SANCHEZ, AMANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05329           JOHNSON BECKER, PLLC

SANCHEZ, ANABEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10350           NACHAWATI LAW GROUP

SANCHEZ, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19722          ARNOLD & ITKIN LLP

SANCHEZ, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18539          ONDERLAW, LLC

SANCHEZ, CARMEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03543          THE MILLER FIRM, LLC

SANCHEZ, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10880          ARNOLD & ITKIN LLP

SANCHEZ, CONCEPCION            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06291          ONDERLAW, LLC

SANCHEZ, DORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10751          NACHAWATI LAW GROUP

SANCHEZ, DORELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11091          WATERS & KRAUS, LLP

SANCHEZ, FLORENCIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18540           ONDERLAW, LLC

SANCHEZ, GENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03242          WEXLER WALLACE LLP

SANCHEZ, IRENE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002562-20         GOLOMB & HONIK, P.C.

SANCHEZ, ISABEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10941          NACHAWATI LAW GROUP

SANCHEZ, IVETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10945          NACHAWATI LAW GROUP

SANCHEZ, JESUSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19579          ASHCRAFT & GEREL, LLP

SANCHEZ, JESUSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19579          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANCHEZ, JUANITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08299          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

SANCHEZ, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

SANCHEZ, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

SANCHEZ, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11475          NACHAWATI LAW GROUP

SANCHEZ, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SANCHEZ, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12336          ASHCRAFT & GEREL

SANCHEZ, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12336          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANCHEZ, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10479          ONDERLAW, LLC

SANCHEZ, LENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03724          ONDERLAW, LLC

SANCHEZ, LESLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17733          NACHAWATI LAW GROUP

SANCHEZ, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11134           FLETCHER V. TRAMMELL

SANCHEZ, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03459          ONDERLAW, LLC

SANCHEZ, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05238          ONDERLAW, LLC

SANCHEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00465          ONDERLAW, LLC

SANCHEZ, MARIANELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18015           THE MILLER FIRM, LLC




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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SANCHEZ, MARINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10198          SANDERS VIENER GROSSMAN, LLP
                              CA - SUPERIOR COURT - SAN BERNARDINO
SANCHEZ, MARTHA                                                            CIVDS-1719107           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                              COUNTY
                              CA - SUPERIOR COURT - SAN BERNARDINO
SANCHEZ, MARTHA                                                            CIVDS-1719107           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                              COUNTY
                              CA - SUPERIOR COURT - SAN BERNARDINO
SANCHEZ, MARTHA                                                            CIVDS-1719107           THE SMITH LAW FIRM, PLLC
                              COUNTY
SANCHEZ, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

SANCHEZ, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15826          LENZE LAWYERS, PLC

SANCHEZ, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

SANCHEZ, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15826          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SANCHEZ, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SANCHEZ, NATALIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12613          ARNOLD & ITKIN LLP

SANCHEZ, NORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15654          ARNOLD & ITKIN LLP

SANCHEZ, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16368          JOHNSON LAW GROUP

SANCHEZ, PURIFICACION         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           DONALD L. SCHLAPPRIZZI P.C.

SANCHEZ, PURIFICACION         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          LENZE LAWYERS, PLC

SANCHEZ, PURIFICACION         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16210          ONDERLAW, LLC

SANCHEZ, PURIFICACION         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SANCHEZ, ROSALINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13886           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANCHEZ, ROSELINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14342          ARNOLD & ITKIN LLP

SANCHEZ, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21024           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANCHEZ, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10931          ASHCRAFT & GEREL, LLP

SANCHEZ, VERONICA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10079          ARNOLD & ITKIN LLP

SANCHEZ, YANETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09190          ONDERLAW, LLC

SANCHEZ, YOLANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11971          GORI JULIAN & ASSOCIATES, P.C.

SANCHEZ, YUDMILA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         ONDERLAW, LLC

SANCHEZ, YUDMILA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         PORTER & MALOUF, PA

SANCHEZ, YUDMILA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         THE SMITH LAW FIRM, PLLC

SANCHEZ, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14419           KIESEL LAW, LLP

SANCHEZ, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14419          LAW OFFICE OF HAYTHAM FARAJ

SANCHEZ, YVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14419          MARTINIAN & ASSOCIATES, INC.

SANCHEZ-LOPEZ, SANDRA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17324           ONDERLAW, LLC

SANCTIS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01278          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDAGE, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03793           ARNOLD & ITKIN LLP

SANDAU, LEONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDAU, LEONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC



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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SANDAU, LEONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059           PORTER & MALOUF, PA

SANDAU, LEONA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

SANDBERG, GEORGIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16805          THE SEGAL LAW FIRM

SANDBORN, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08922          DALIMONTE RUEB, LLP

SANDEEN, LAUREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10416          MCSWEENEY/LANGEVIN, LLC

SANDELIN, LUCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09762          ONDERLAW, LLC

SANDERS, ANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10042          NAPOLI SHKOLNIK, PLLC

SANDERS, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07254          ONDERLAW, LLC

SANDERS, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10528          NACHAWATI LAW GROUP

SANDERS, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDERS, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00152          ONDERLAW, LLC

SANDERS, DENNISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07406          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDERS, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08255          FLETCHER V. TRAMMELL

SANDERS, EVELINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11034           NACHAWATI LAW GROUP

SANDERS, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02651          LAW OFFS. OF PETER G. ANGELOS, P.C.

SANDERS, GEORGIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12477          DICELLO LEVITT GUTZLER LLC

SANDERS, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20564          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDERS, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13654          FLETCHER V. TRAMMELL

SANDERS, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05599          KLINE & SPECTER, P.C.

SANDERS, MANOLITA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00712          HEYGOOD, ORR & PEARSON

SANDERS, MELEIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18321          ONDERLAW, LLC

SANDERS, MELICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06351          ONDERLAW, LLC

SANDERS, MONTERESA            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-675-16            GOLOMB SPIRT GRUNFELD PC

SANDERS, MONTERESA            NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-675-16           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

SANDERS, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19883          CELLINO & BARNES, P.C.

SANDERS, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17628           ONDERLAW, LLC

SANDERS, PATTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20664          ONDERLAW, LLC

SANDERS, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01497          BURNS CHAREST LLP

SANDERS, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01497          BURNS CHAREST LLP

SANDERS, RONDELL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13536           JOHNSON LAW GROUP

SANDERS, ROSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00016          ONDERLAW, LLC

SANDERS, RUTH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11704          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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           Claimant Name                            State Filed                        Docket Number                              Plaintiff Counsel

SANDERS, SHANNON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11123           BURNS CHAREST LLP

SANDERS, SHERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09089          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDERS, TEMETRUS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15860           THE SEGAL LAW FIRM

SANDERS, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10651          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

SANDERS, WILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04951          ONDERLAW, LLC

SANDERSON, LAURIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2960-15           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDERSON, LAURIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2960-15           PORTER & MALOUF, PA

SANDERSON, LAURIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2960-15           SEEGER WEISS LLP

SANDERSON, LAURIE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2960-15           THE SMITH LAW FIRM, PLLC

SANDERSON, LYNETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17143           THE CUFFIE LAW FIRM

SANDERSON, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10811          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDIFER, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10708           THE MILLER FIRM, LLC

SANDIFER, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22016          ONDERLAW, LLC

SANDLAUFER, DEBORAH               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2396-14           PORTER & MALOUF, PA

SANDLAUFER, DEBORAH               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2396-14           SEEGER WEISS LLP

SANDLAUFER, DEBORAH               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2396-14           THE SMITH LAW FIRM, PLLC

SANDLIN, LORINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03823          MORELLI LAW FIRM, PLLC

SANDLIN, TAMMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20184          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDLIN, THERETHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10780          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDMAN, JANET                    GA - STATE COURT OF GWINNETT COUNTY          18C039932               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDMAN, JANET                    GA - STATE COURT OF GWINNETT COUNTY          18C039932               CHILDERS, SCHLUETER & SMITH, LLC

SANDMAN, JANET                    GA - STATE COURT OF GWINNETT COUNTY          18C039932               ONDERLAW, LLC

SANDOVAL, ANGIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002377-20         GOLOMB & HONIK, P.C.

SANDOVAL, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08322          FLETCHER V. TRAMMELL

SANDOVAL, DENICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05934           NAPOLI SHKOLNIK, PLLC

SANDOVAL, DOLORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20303          ONDERLAW, LLC

SANDOVAL, GRACIELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10427           NACHAWATI LAW GROUP

SANDOVAL, JULIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08337          ONDERLAW, LLC

SANDOVAL, KATHIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15215          DRISCOLL FIRM, P.C.
SANDOVAL, KELLY ESTATE OF PATSY
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-000020-21        WEITZ & LUXENBERG
HOCKING
SANDOVAL, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08961          ROSS FELLER CASEY, LLP

SANDOVAL, MILDRED                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20063          NACHAWATI LAW GROUP

SANDOVAL, SAN JUANA               CA - SUPERIOR COURT - LOS ANGELES            BC592765                WEITZ & LUXENBERG

SANDOVAL, TANYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15307          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SANDRA AARON                     FEDERAL - MDL                                 3:21-CV-17252          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDRA DONLEY                    FEDERAL - MDL                                 3:21-CV-17154          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANDRA JOHNSON                   FEDERAL - MDL                                3:21-CV-19821           MOTLEY RICE, LLC

SANDRA LOSI                      IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SANDRA MARSHALL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18639          KIESEL LAW, LLP

SANDRA ROBERTS                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SANDRA STEINBERG                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18515          WEITZ & LUXENBERG

SANDRA TONSETH                   FEDERAL - MDL                                 3:21-CV-19424          WEITZ & LUXENBERG

SANDRA ZIMMERMAN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003331-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

SANDRETH, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10543          SIMMONS HANLY CONROY

SANDS, SWANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04502          ONDERLAW, LLC

SANDUSKY, LAQUITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03505          THE DIAZ LAW FIRM, PLLC

SANDUSKY, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

SANDUSKY, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           LENZE LAWYERS, PLC

SANDUSKY, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15739           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SANDUSKY, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SANDWELL, REISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07433          FLETCHER V. TRAMMELL

SANFORD, BRANDI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17633          WILLIAMS HART LAW FIRM

SANGASTIANO, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06242          ONDERLAW, LLC

SANGER, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17749          NACHAWATI LAW GROUP

SANGUINETTI, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15467          JOHNSON LAW GROUP

SANJORJO, PERPETUA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06741          MURRAY LAW FIRM

SANNICOLAS, KIMBERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06934           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANNING, CAROL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANNING, CAROL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

SANNING, CAROL                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            THE SMITH LAW FIRM, PLLC

SANNINO, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15552          JOHNSON LAW GROUP

SANSHUCK, SHIREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10400          ARNOLD & ITKIN LLP
                                 LA - DISTRICT COURT - EAST BATON ROUGE
SANSONE, KRISTINA                                                             C66012224               POURCIAU LAW FIRM, LLC
                                 PARISH
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
SANTANA, ANN                                                                  200800008               COHEN, PLACITELLA & ROTH, P.C.
                                 PLEAS
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
SANTANA, ANN                                                                  200800008               FLETCHER V. TRAMMELL
                                 PLEAS
SANTANA, CARMEN N.               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-07183-19AS        WEITZ & LUXENBERG

SANTANA, DELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09607          ONDERLAW, LLC

SANTANA, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03759          DALIMONTE RUEB, LLP



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           Claimant Name                         State Filed                        Docket Number                                Plaintiff Counsel
SANTANA, ROBERT AND SANTANA,
                               NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-000881-21          WEITZ & LUXENBERG
DIANNA
SANTANGELO, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16536            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SANTEE, VALDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14267            DRISCOLL FIRM, P.C.

SANTEL, SHARYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09814            FLETCHER V. TRAMMELL

SANTELLANA, ELIDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08099             JASON J. JOY & ASSCIATES P.L.L.C.

SANTIAGO, CARMEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04405            JOHNSON LAW GROUP

SANTIAGO, IDELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11438             NACHAWATI LAW GROUP

SANTIAGO, IVONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10598            LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

SANTIAGO, LESLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07961            ONDERLAW, LLC

SANTIAGO, MAYRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10135            MOTLEY RICE, LLC

SANTIAGO, MYRNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10488            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANTIAGO, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08830            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SANTIAGO, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09350            ONDERLAW, LLC

SANTIAGO, SARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09810            FLETCHER V. TRAMMELL

SANTIAGO, SHANNON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12817            THE BENTON LAW FIRM, PLLC

SANTIAGO, TRINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003094-21           WEITZ & LUXENBERG

SANTIBANEZ, ALEJANDRA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18820            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SANTILLI, TULLIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05258            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SANTISTEBAN, THAMAR            CA - SUPERIOR COURT - SAN DIEGO COUNTY       37-2018-55710-CU-PL-CTL   LAW OFF. OF NICHOLAS A. BOYLAN, APC

SANTO, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12334            ASHCRAFT & GEREL

SANTORA, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12994            FLETCHER V. TRAMMELL

SANTOS, AMELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05748            NAPOLI SHKOLNIK, PLLC

SANTOS, ANALEXIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20298            ONDERLAW, LLC

SANTOS, CRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07022            THE ENTREKIN LAW FIRM

SANTOS, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21116            ONDERLAW, LLC

SANTOS, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13225            NACHAWATI LAW GROUP

SANTOS, GENOVEVA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10285            HAIR SHUNNARAH TRIAL ATTORNEYS LLC

SANTOS, JUDYTH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01014            BURNS CHAREST LLP

SANTOS, JUDYTH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01014            BURNS CHAREST LLP

SANTOS, MARISOL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11413            DAVIS, BETHUNE & JONES, L.L.C.

SANTOS, MONINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13481            HEYGOOD, ORR & PEARSON

SANTOS, MONINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13481             THE MILLER FIRM, LLC

SANTOS, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04114             ONDERLAW, LLC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SANTOS, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03039          REICH & BINSTOCK, LLP

SANTOYA, GINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05993          ONDERLAW, LLC

SANVILLE, NANCEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10206           ARNOLD & ITKIN LLP

SAPAUGH, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09604           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SAPIDA, RAFFAELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06580          ONDERLAW, LLC

SAPP, DEIDRAE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09314          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAPP, DEIDRAE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

SAPP, DEIDRAE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

SAPP, DEIDRAE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

SAPP, EULA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19747          ASHCRAFT & GEREL, LLP

SAPP, EULA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19747          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAPP, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15331          ONDERLAW, LLC

SAPP, MIRANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10197          FLETCHER V. TRAMMELL

SAPP, TRACI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12755          ASHCRAFT & GEREL

SAPPER, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10365          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SARA AYERS                       FEDERAL - MDL                                 3:21-CV-18994          BARON & BUDD, P.C.

SARABIA, JASMINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04070           ONDERLAW, LLC

SARAH MASON                      FEDERAL - MDL                                3:21-CV-19794           ONDERLAW, LLC

SARAH, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14586          FLETCHER V. TRAMMELL

SARANTOPOULOS, CHARLOTTE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13513          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SARANTOU, AMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04746           ASHCRAFT & GEREL

SARANTOU, AMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04746          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SARAPPO, ELAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07555          ONDERLAW, LLC

SARCHETTE, SANDRA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SARCHETTE, SANDRA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           ONDERLAW, LLC

SARCHETTE, SANDRA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA

SARCHETTE, SANDRA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           THE SMITH LAW FIRM, PLLC

SARCONE, NANCY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003072-18         ASHCRAFT & GEREL

SARCONE, NANCY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003072-18         GOLOMB & HONIK, P.C.

SARDONI, REBECCA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002            ONDERLAW, LLC

SARGENT, AMBER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09869          ONDERLAW, LLC

SARGENT, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03608          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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            Claimant Name                          State Filed                       Docket Number                                   Plaintiff Counsel

SARGENT, DEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13239              ONDERLAW, LLC

SARGENT, OCTAVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12007              NACHAWATI LAW GROUP

SARIAN, FLORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10459              ARNOLD & ITKIN LLP

SARIANO, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09477              BISNAR AND CHASE

SARKADI, SILVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15739              NACHAWATI LAW GROUP

SARMIENTO, ROSSINIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17633               ONDERLAW, LLC

SARTAIN, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18322              ONDERLAW, LLC

SARTIN, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06946              ONDERLAW, LLC

SARVER, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00395              POTTS LAW FIRM

SARVEY, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01054              WAGSTAFF & CARTMELL, LLP

SASAKI, ELENA                   CA - SUPERIOR COURT - VENTURA COUNTY         56-2018-511678-CU-MT-VTA    ASPEY, WATKINS & DIESEL, PLLC

SASAKI, ELENA                   CA - SUPERIOR COURT - VENTURA COUNTY          56-2018-511678-CU-MT-VTA   BURNS CHAREST LLP

SASALA, SHANNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20244              THE SEGAL LAW FIRM

SASS, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08866              ONDERLAW, LLC

SASSER, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08367              ONDERLAW, LLC

SASSER, TERRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:20-CV-18224                   ARNOLD & ITKIN LLP
                                PA - PHILADELPHIA COUNTY COURT OF COMMON
SATCHELL, VIVIAN                                                         180700195                       MUELLER LAW PLLC
                                PLEAS
SATCHMEI, BATOUL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:21-CV-16381                   JOHNSON LAW GROUP

SATHER, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16571              NAPOLI SHKOLNIK, PLLC

SATISON, AUDREY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15034              CELLINO & BARNES, P.C.

SATTERFIELD, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06265               ONDERLAW, LLC

SATTERWHITE-MUHAMMAD, BARBARA   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21609              FLEMING, NOLEN & JEZ, LLP

SAUCEDO, CLARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02440              ONDERLAW, LLC

SAUCEDO, DELFINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05411               ONDERLAW, LLC

SAUCEDO, MONICA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAUCEDO, MONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08293               FLETCHER V. TRAMMELL

SAUCEDO, MONICA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792               ONDERLAW, LLC

SAUCEDO, MONICA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792              PORTER & MALOUF, PA

SAUCEDO, MONICA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792              THE SMITH LAW FIRM, PLLC

SAUCEDO, YOLANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09678              ONDERLAW, LLC

SAUCER, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02002              MOTLEY RICE, LLC

SAUCIER, KAYLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11459               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SAUCIER, LEONIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18526              NACHAWATI LAW GROUP

SAUER, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11871              ARNOLD & ITKIN LLP



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             Claimant Name                           State Filed                        Docket Number                              Plaintiff Counsel

SAUL, SCOTTYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08397          ONDERLAW, LLC

SAULNIER, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13341          ONDERLAW, LLC

SAULSBERRY, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08157          HOLLAND LAW FIRM

SAULSBERRY, GENEVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11604          NACHAWATI LAW GROUP

SAULTER, LEAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08119          ONDERLAW, LLC

SAULTERS, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06597          THE ENTREKIN LAW FIRM

SAUNDERS, DIANA                    NY - SUPREME COURT - NYCAL                    190363/2016            MEIROWITZ & WASSERBERG, LLP

SAUNDERS, DIANA                    NY - SUPREME COURT - NYCAL                    190363/2016            MEIROWITZ & WASSERBERG, LLP

SAUNDERS, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09327          HOLLAND LAW FIRM

SAUNDERS, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17002          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAUNDERS, LISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09234          JOHNSON LAW GROUP

SAUNDERS, MILDRED                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06149          ONDERLAW, LLC

SAUNDERS, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10157          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

SAUNDERS, PAULETTE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002665-21         NACHAWATI LAW GROUP

SAUNDERS, PAULETTE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002665-21         ZINNS LAW, LLC

SAUNDERS, RUBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17756          NACHAWATI LAW GROUP

SAUNDERS, SAUNDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12603          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

SAUNDERS, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09190          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAUNDERS, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08815          ONDERLAW, LLC

SAUNDERS, WILMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04164          ROSS FELLER CASEY, LLP

SAUNDERS, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20115          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAUSMAN, LESLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06741          THE SIMON LAW FIRM, PC

SAUSMAN, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAUSMAN, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

SAUSMAN, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

SAUSMAN, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

SAUTER, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06443          KLINE & SPECTER, P.C.

SAUVAGE, JULIETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13064          JOHNSON LAW GROUP

SAUVE, APRIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12515          JOHNSON BECKER, PLLC

SAUVE, EVE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18952          NACHAWATI LAW GROUP

SAVA, DANIELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18166          ONDERLAW, LLC

SAVAGE, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16930          ONDERLAW, LLC

SAVAGE, BETSY AND SAVAGE, JOSEPH   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00349-18AS        WEITZ & LUXENBERG




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           Claimant Name                              State Filed                       Docket Number                              Plaintiff Counsel

SAVAGE, DAWN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01032          ONDERLAW, LLC

SAVAGE, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12818          THE BENTON LAW FIRM, PLLC

SAVAGE, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14837           LENZE LAWYERS, PLC

SAVAGE, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14837          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SAVAGE, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08352          ONDERLAW, LLC

SAVAGE, IDONIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17156          BURNS CHAREST LLP

SAVAGE, JOJEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14560          ONDERLAW, LLC

SAVAGE, LAUREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00566           JOHNSON BECKER, PLLC

SAVAGE, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00395          BERKE LAW FIRM, PA

SAVAGE, RACHEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12595          MOTLEY RICE, LLC

SAVITSKY, BROOKE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16193          ONDERLAW, LLC

SAVITZ, NORMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17759          NACHAWATI LAW GROUP

SAVOIE, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02242          ONDERLAW, LLC

SAVONA, MAUREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08594           ASHCRAFT & GEREL

SAVOY, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09709           ARNOLD & ITKIN LLP

SAVUSA, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02409          ONDERLAW, LLC

SAWEZ, SORAYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05932          NAPOLI SHKOLNIK, PLLC

SAWICKI, STELLA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001611-21         GOLOMB & HONIK, P.C.

SAWKA, LINDA AND SAWKA, CHARLES A NJ - SUPERIOR COURT - MIDDLESEX COUNTY         MID-L-06692-19AS       WEITZ & LUXENBERG

SAWRIE, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12984          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAWTELLE, LORRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03101          ONDERLAW, LLC

SAWYER, BONNIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAWYER, BONNIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

SAWYER, BONNIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

SAWYER, BONNIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

SAWYER, BONNIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            THE SMITH LAW FIRM, PLLC

SAWYER, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15136          ASHCRAFT & GEREL

SAWYER, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15136          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAWYER, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08666          JOHNSON LAW GROUP

SAWYER, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14860          LENZE LAWYERS, PLC

SAWYER, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01834           ONDERLAW, LLC

SAWYER, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14860          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SAWYER, JANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09493          THE MILLER FIRM, LLC




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SAWYER, JOY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09939          ONDERLAW, LLC

SAWYER, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04874          ONDERLAW, LLC

SAWYER, NINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03274          LANGDON & EMISON

SAWYER, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11279          ASHCRAFT & GEREL

SAWYER-DEAQUINO, RHONDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07047          BARRETT LAW GROUP

SAWYERS, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00378          MOTLEY RICE, LLC

SAX, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18806          NACHAWATI LAW GROUP

SAXON, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02969           MORGAN & MORGAN

SAYEGH, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11331          HART MCLAUGHLIN & ELDRIDGE

SAYERS, DEBRAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10730          NACHAWATI LAW GROUP

SAYLER, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13493          ONDERLAW, LLC

SAYLES, BERTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11346          NACHAWATI LAW GROUP

SAYLES, MONIQUE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002616-21         WEITZ & LUXENBERG

SAYLES, OLLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17771          NACHAWATI LAW GROUP

SAYLOR, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05791          ONDERLAW, LLC

SAYLOR, ESTHER                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002379-20         GOLOMB & HONIK, P.C.

SAYLOR, GEORGIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09945          ONDERLAW, LLC

SAYLOR, KRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07778          ONDERLAW, LLC

SAYLOR, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04113          ONDERLAW, LLC

SAYLOR, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12358          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SAYSACKDY, BROOKE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17801           NACHAWATI LAW GROUP

SCAFF, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06068          ASHCRAFT & GEREL, LLP

SCAFF, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06068          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCAFFIDI, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00742          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCAFURI, LORETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12240          MOTLEY RICE, LLC

SCAGLIONE, JOAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01970          ONDERLAW, LLC

SCALA, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03123          ONDERLAW, LLC

SCALES, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07536          ONDERLAW, LLC

SCALES, CRYSTAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09411          JOHNSON BECKER, PLLC

SCALF, TONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14977          HEYGOOD, ORR & PEARSON

SCALF, YANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18822          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCALZO, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09489          ONDERLAW, LLC

SCAMAN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08176          SLACK & DAVIS LLP




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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SCANLON, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04071          ONDERLAW, LLC

SCARBERRY, BEATRICE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04044           ONDERLAW, LLC

SCARBERRY, TERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14679          WEITZ & LUXENBERG

SCARBOROUGH, JONI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04067          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCARBOROUGH, PAULA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10934          ASHCRAFT & GEREL, LLP

SCARBOROUGH-OLAGUE, MARY       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09908           ONDERLAW, LLC

SCARBROUGH, CATHERINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13425          DIAZ LAW FIRM, PLLC

SCARLATO, THERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07835          ASHCRAFT & GEREL

SCARLATO, THERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07835          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCARLET, DESSEREE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002582-20         GOLOMB & HONIK, P.C.

SCARLETT, LILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SCARLETT, LILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:2-CV-15669           LENZE LAWYERS, PLC

SCARLETT, LILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SCARLETT, LILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:2-CV-15669            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCARLETT, LILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCARLETT, SARAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCARLETT-ROGERS, JANET         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

SCARLETT-ROGERS, JANET         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            PORTER & MALOUF, PA

SCARLETT-ROGERS, JANET         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            THE SMITH LAW FIRM, PLLC

SCARPINO, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14713          ARNOLD & ITKIN LLP

SCARRONE, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10815          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCARROW, CONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05657          WILLIAMS HART LAW FIRM

SCATTAREGGAN, LAURA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09330          ONDERLAW, LLC

SCATTERFIELD, MELISSA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20421          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCERBO, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09271          ONDERLAW, LLC

SCHABER, GINGER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04991          ONDERLAW, LLC

SCHACK, LYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17980          LENZE LAWYERS, PLC

SCHACKEL, JANEEN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHACKEL, JANEEN               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

SCHACKEL, JANEEN               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

SCHACKEL, JANEEN               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

SCHACKEL, JANEEN               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           THE SMITH LAW FIRM, PLLC

SCHAEFER, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14862          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SCHAEFER, KRISTIN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18311          DRISCOLL FIRM, P.C.

SCHAEFER, LAURA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08998          THE MILLER FIRM, LLC

SCHAEFER, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03116           ONDERLAW, LLC

SCHAEFERLE, JOYCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19550          ASHCRAFT & GEREL, LLP

SCHAEFERLE, JOYCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19550          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHAEFER-ROGERS, KRISTIN       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13023          FLETCHER V. TRAMMELL

SCHAFER, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14523           DALIMONTE RUEB, LLP

SCHAFER, ELLEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17411           WEITZ & LUXENBERG

SCHAFER-FLATT, NATALIE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02898           ONDERLAW, LLC

SCHAFFER, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15329          ONDERLAW, LLC

SCHAFFER, LESLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09114          ONDERLAW, LLC

SCHAFFER, LYNDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12072          MORELLI LAW FIRM, PLLC

SCHAFFER, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14671          JOHNSON LAW GROUP

SCHAFLE, JOAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01489           JOHNSON LAW GROUP

SCHALIT, ERICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04283          ONDERLAW, LLC

SCHAMP, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11095          ONDERLAW, LLC

SCHANTZ, THERESE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20365          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHAPIRO, LIQUN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12726           MOTLEY RICE, LLC

SCHAPPERLE, MARGIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06088          POGUST BRASLOW & MILLROOD, LLC

SCHAPS, SCOTT                  NY - SUPREME COURT - NYCAL                   190198/2017             MEIROWITZ & WASSERBERG, LLP

SCHAPS, SCOTT                  NY - SUPREME COURT - NYCAL                   190198/2017             MEIROWITZ & WASSERBERG, LLP

SCHARFSTEIN, HARRIET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09323          ONDERLAW, LLC

SCHARP, LEAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02806          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SCHATTEN-FORREST, KAAYDAH      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15995          NACHAWATI LAW GROUP

SCHATTILLY, TERRY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00636          BURNS CHAREST LLP

SCHATTILLY, TERRY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00636          BURNS CHAREST LLP

SCHATZ, STEFANI                CA - SUPERIOR COURT - ALAMEDA COUNTY         RG18900031              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHAUB, LARA                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SCHAUB, NORA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

SCHAUB, NORA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

SCHAUB, NORA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            THE SMITH LAW FIRM, PLLC

SCHAUMKEL, ALISI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06007          ONDERLAW, LLC

SCHAUR, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11732          DANIEL & ASSOCIATES, LLC

SCHAUWECKER, JEAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20134          NACHAWATI LAW GROUP



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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SCHEELE, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06057          POGUST BRASLOW & MILLROOD, LLC

SCHEFFER, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13895          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHEFFER, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12676          MORRIS BART & ASSOCIATES

SCHEFFER, TINA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6749-14           SEEGER WEISS LLP

SCHEFFLER, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12046          SLATER, SLATER, SCHULMAN, LLP

SCHEFTNER, TRACIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           ASHCRAFT & GEREL

SCHEFTNER, TRACIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHEFTNER, TRACIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811            ONDERLAW, LLC

SCHEFTNER, TRACIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           PORTER & MALOUF, PA

SCHEFTNER, TRACIE              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           THE SMITH LAW FIRM, PLLC

SCHEIDT, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHEIDT, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

SCHEIDT, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

SCHEIDT, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

SCHEIDT, CYNTHIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           THE SMITH LAW FIRM, PLLC

SCHEINFELD, JANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08955          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHELER, MARCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19907          NACHAWATI LAW GROUP

SCHELL, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07811          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHELLER, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14865          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHELLING, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16615          ONDERLAW, LLC

SCHELLINGER, GAIL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08502          HARRISON DAVIS STEAKLEY MORRISON

SCHENCK, MARILYN               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001934-20         SANDERS PHILLIPS GROSSMAN, LLC

SCHENCK, VICKIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09211          THE DUGAN LAW FIRM, APLC

SCHENK, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SCHENK, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SCHENK, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHENK, LORRAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17873          ASHCRAFT & GEREL, LLP

SCHENK, LORRAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17873          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHENK, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11461          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCHENKER, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09086          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHENK-GRASSMYER, MARIE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11566          NACHAWATI LAW GROUP

SCHEPIS, KERI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02987          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHERER, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09951          ONDERLAW, LLC

SCHERER, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09997          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SCHERER, TAMARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15245          ARNOLD & ITKIN LLP

SCHESSO, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05885          ONDERLAW, LLC

SCHEUER, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00629          KLINE & SPECTER, P.C.

SCHEUMAN, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17477          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHEUREN, MARGERY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20596           THE MILLER FIRM, LLC

SCHEXNIDER, DESERIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09913          NACHAWATI LAW GROUP

SCHIAVONI, KELLIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12223          ONDERLAW, LLC

SCHICK, RENEE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18823          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCHIED, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18960          NACHAWATI LAW GROUP

SCHIEFER, PAULINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10175          MOTLEY RICE, LLC

SCHIFFMAN, EVALYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10902           ONDERLAW, LLC

SCHILD, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14442          ASHCRAFT & GEREL

SCHILL, DELORES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16541          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCHILLING, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16649           CELLINO & BARNES, P.C.

SCHILLING, EVY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07600          ASHCRAFT & GEREL, LLP

SCHILLING, JOANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04879          ONDERLAW, LLC

SCHIMKE, STACIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00878          ONDERLAW, LLC

SCHIMPF, EVELYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17650          ASHCRAFT & GEREL

SCHINDLER, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12980          DALIMONTE RUEB, LLP

SCHINDLER, EUGENIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16172          JOHNSON LAW GROUP

SCHINDLER, SAMMIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01474          HEYGOOD, ORR & PEARSON

SCHINGLE, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00411          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHIPPERS, DAWN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11283          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHIPULA, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12981          FLETCHER V. TRAMMELL

SCHIRLLS, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20034          ARNOLD & ITKIN LLP

SCHIRMER, ESTHER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08967          ROSS FELLER CASEY, LLP

SCHLAHT, CONSTANCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00630           DIAMOND LAW

SCHLARB, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01788          JOHNSON LAW GROUP

SCHLEE, BEVERLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13139          NACHAWATI LAW GROUP

SCHLEEF, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03423          JOHNSON BECKER, PLLC

SCHLEIF, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17634          ONDERLAW, LLC

SCHLEY, KATHLEEN               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC628366                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHLITTER, ELEANORE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11105          PARKER WAICHMAN, LLP

SCHLOSSER, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08479          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN



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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SCHLOSSER, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12743          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

SCHLOSSER, KOBY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11586          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHLOSSER, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12225          ONDERLAW, LLC

SCHLOSSER, LORNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01968          COHEN & MALAD, LLP

SCHMALHOFER, MARIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12829          POGUST BRASLOW & MILLROOD, LLC

SCHMALZ, AMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07462          ASHCRAFT & GEREL

SCHMANDT, LAURIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09987          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHMAUS, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03623           CORY, WATSON, CROWDER & DEGARIS P.C.

SCHMEAR, SHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09817          ONDERLAW, LLC

SCHMERMUND, STEPHANIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07762           ONDERLAW, LLC

SCHMICK, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11138          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHMIDT, DELORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05558           THE MILLER FIRM, LLC

SCHMIDT, DINAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07416          SULLO & SULLO, LLP

SCHMIDT, JAYME                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17403          SIMMONS HANLY CONROY

SCHMIDT, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00890          ONDERLAW, LLC

SCHMIDT, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09978          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHMIDT, MARALDINE             IL - CIRCUIT COURT - COOK COUNTY              2018-L-1809            CLIFFORD LAW OFFICES, P.C.

SCHMIDT, MARALDINE             IL - CIRCUIT COURT - COOK COUNTY              2018-L-1809            TAFT STETTINIUS & HOLLISTER LLP

SCHMIDT, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13297           THE DEATON LAW FIRM

SCHMIDT, RUBY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002142-20         GOLOMB & HONIK, P.C.

SCHMIDT, VICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13532          ONDERLAW, LLC

SCHMIDTKE, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17821          NACHAWATI LAW GROUP

SCHMIGIEL, CAROLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07686           ONDERLAW, LLC

SCHMITT, ALLISON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12869           MESSA & ASSOCIATES, P.C.

SCHMITT, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06581          ONDERLAW, LLC

SCHMITT, JOAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08962          ONDERLAW, LLC

SCHMITT, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12887          ASHCRAFT & GEREL, LLP

SCHMITZ, ANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHMITZ, ANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

SCHMITZ, ANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

SCHMITZ, ANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

SCHMITZ, ANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           THE SMITH LAW FIRM, PLLC

SCHMITZ, ASHLEY LEIGH          CA - SUPERIOR COURT - ALAMEDA COUNTY         RG20048957              KAZAN MCCLAIN SATTERLEY & GREENWOOD

SCHMITZ, MICHAELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10633          JAMES MORRIS LAW FIRM PC



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           Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SCHMITZ, PATRICIA             CA - SUPERIOR COURT - ALAMEDA COUNTY         RG18923615              KAZAN MCCLAIN SATTERLEY & GREENWOOD

SCHMITZ, SCHELLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21366          DALIMONTE RUEB, LLP

SCHMUCKER, MALI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12667          NAPOLI SHKOLNIK, PLLC

SCHMUCKER, MELANIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00260          POTTS LAW FIRM

SCHNAPP, ARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10083          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SCHNAPP, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SCHNAPP, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14905          LENZE KAMERRER MOSS, PLC

SCHNAPP, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SCHNAPP, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14905          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHNAPP, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHNEBELEN, CATHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09354          ONDERLAW, LLC

SCHNEBLE, FRANCES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08750           FLETCHER V. TRAMMELL

SCHNECK, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02609          MOTLEY RICE, LLC

SCHNECK, MARLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19041          MOTLEY RICE, LLC

SCHNECKLOTH, DAWN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03943          ONDERLAW, LLC

SCHNEIDER, ARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13993          FLETCHER V. TRAMMELL

SCHNEIDER, CAROL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10735          ONDERLAW, LLC

SCHNEIDER, MICHELLE           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003190-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

SCHNEIDER, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11974           ONDERLAW, LLC

SCHNEIDER, RHONDA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002192-20         GOLOMB & HONIK, P.C.

SCHNEIDER, RONEKA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09081          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHNEIDER, SUSAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04388          LIEFF CABRASER HEIMANN & BERNSTEIN

SCHNELLE, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09306          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHNIER, MIRIAM               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12279           RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

SCHNOEBELEN, PAMELA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08434           ONDERLAW, LLC

SCHNUR, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16718          ASHCRAFT & GEREL, LLP

SCHOCH, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10994          ONDERLAW, LLC

SCHOCK, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07332          ONDERLAW, LLC

SCHOCK, ELSA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002071-21         GOLOMB & HONIK, P.C.

SCHOCK, TRISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11187          ONDERLAW, LLC

SCHOEN, AUDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12301          ONDERLAW, LLC

SCHOEN, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13939          WATERS & KRAUS, LLP

SCHOEN, PATTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12467          BARRETT LAW GROUP




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SCHOENGART, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08562          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHOENIKE, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13459          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCHOENTRUP, SABRINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09823          SANDERS VIENER GROSSMAN, LLP

SCHOEPP, EVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16623          ASHCRAFT & GEREL

SCHOEPP, EVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16623          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHOFIELD, CHRISTI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06174          HOLLAND LAW FIRM

SCHOFIELD, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08596          BERNSTEIN LIEBHARD LLP

SCHOFIELD, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07346          DALIMONTE RUEB, LLP

SCHOFIELD, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08331          LAW OFFICES OF ERIC H. WEINBERG

SCHOFIELD, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16151          THE WEINBERG LAW FIRM

SCHOFIELD, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06241           ONDERLAW, LLC

SCHOLIN, JOANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01482          ONDERLAW, LLC

SCHOLL, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06716          ONDERLAW, LLC

SCHOLL, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13499          ONDERLAW, LLC

SCHOLTZ, KAY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06744          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHOLZ, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02473          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHOOLEY, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00360          ASHCRAFT & GEREL

SCHOOLEY, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00360          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHOONMAKER, DORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15938          DRISCOLL FIRM, P.C.

SCHOONOVER, GAIL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHOONOVER, GAIL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

SCHOONOVER, GAIL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

SCHOONOVER, GAIL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

SCHOONOVER, GAIL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            THE SMITH LAW FIRM, PLLC

SCHORLING, KAE EST OF G ROWDEN   IL - CIRCUIT COURT - MADISON COUNTY          21-L-1046               SWMW LAW, LLC

SCHORMANN, SALLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19184           NACHAWATI LAW GROUP

SCHORR, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11307          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHORY, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10368          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHOW, KERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00753          JOHNSON LAW GROUP

SCHRADER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13909          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHRAM, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01718          ONDERLAW, LLC

SCHRECK, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18324          ONDERLAW, LLC

SCHREIBER, CHARLOTTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18799           FLETCHER V. TRAMMELL

SCHREIBER, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12846          NAPOLI SHKOLNIK, PLLC



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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SCHREIBER, TIFFANY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11375           ONDERLAW, LLC

SCHREIBER, WANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05023          MORELLI LAW FIRM, PLLC

SCHREIFELS, JENIFER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20826          WILLIAMS HART LAW FIRM

SCHRENKEL, DARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15592          WATERS & KRAUS, LLP

SCHROADER, BEATA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12277          WILLIAMS HART LAW FIRM

SCHROCK, AMANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02611          ONDERLAW, LLC

SCHROCK, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05963          ONDERLAW, LLC

SCHROEDER, BARBARA             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

SCHROEDER, CHARLOTTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16085          ASHCRAFT & GEREL, LLP

SCHROEDER, CHARLOTTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16085          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHROEDER, CHRISTINA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-06056           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHROEDER, MEREDITH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14856          SANDERS PHILLIPS GROSSMAN, LLC

SCHROEDER, REBECCA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17430          JOHNSON LAW GROUP

SCHROER, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00294          POTTS LAW FIRM

SCHROERS, SANDRA               CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV323997              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHROERS, SANDRA               CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV323997             KIESEL LAW, LLP

SCHROERS, SANDRA               CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV323997             THE SMITH LAW FIRM, PLLC

SCHROETER, DIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17830          NACHAWATI LAW GROUP

SCHUBERT, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12047          HABUSH HABUSH & ROTTIER SC

SCHUBERT, LYDIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11440          NAPOLI SHKOLNIK, PLLC

SCHUDE, CHRISTEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03393          ONDERLAW, LLC

SCHUELER, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07742          THE ENTREKIN LAW FIRM

SCHUELLER, DIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13923          ONDERLAW, LLC

SCHUERER, FAY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13244          HEYGOOD, ORR & PEARSON

SCHUETZ, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SCHUETZ, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15704           LENZE LAWYERS, PLC

SCHUETZ, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           LENZE LAWYERS, PLC

SCHUETZ, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15704          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHUETZ, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHUETZ, PAULA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002501-20         GOLOMB & HONIK, P.C.

SCHUKERT, SHEILA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHUKERT, SHEILA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            GOLDENBERGLAW, PLLC

SCHUKERT, SHEILA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

SCHUKERT, SHEILA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA



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            Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

SCHUKERT, SHEILA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            THE SMITH LAW FIRM, PLLC

SCHULER, MARZELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06418          ONDERLAW, LLC

SCHULMAN, KATHLEEN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2269-17           GOLOMB SPIRT GRUNFELD PC

SCHULMAN, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15898          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCHULTE, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09105           WILLIAMS HART LAW FIRM

SCHULTE, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08816          ONDERLAW, LLC

SCHULTES-GILLASPY, LOIS            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01498           ONDERLAW, LLC

SCHULTZ, AMANADA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10372          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHULTZ, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00923          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHULTZ, CARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15726          ONDERLAW, LLC

SCHULTZ, DEBORAH                   CA - SUPERIOR COURT - SAN LUIS OBISPO COUNTY 20XC-0476               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHULTZ, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06086           ONDERLAW, LLC

SCHULTZ, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11634           NACHAWATI LAW GROUP

SCHULTZ, JULIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18331          ONDERLAW, LLC

SCHULTZ, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09283          ONDERLAW, LLC

SCHULTZ, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05677          ONDERLAW, LLC

SCHULTZ, SAMANTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14494          POTTS LAW FIRM

SCHULTZ, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11139          ASHCRAFT & GEREL, LLP

SCHULTZ, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11139          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHULTZ, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16647          CELLINO & BARNES, P.C.

SCHULTZ, TAMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17861          NACHAWATI LAW GROUP

SCHULTZ, TINA-MARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02730           ONDERLAW, LLC

SCHULTZ, VALERIE                   IL - CIRCUIT COURT - COOK COUNTY              2018-L-1867            CLIFFORD LAW OFFICES, P.C.

SCHULTZ, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15451          WILLIAMS HART LAW FIRM
SCHULTZE, HEIDELINDE & SCHULTZE,
                                   NY - SUPREME COURT - NYCAL                   190187/2019             KARST & VON OISTE, LLP
RICHARD
SCHULZ, JOANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07237          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHULZ, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09065          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHULZE, JACQUELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13786          SIMMONS HANLY CONROY

SCHULZE, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19308          NACHAWATI LAW GROUP

SCHUMACHER, JODY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00366          POTTS LAW FIRM

SCHUMACHER, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00857          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHUMACHER, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01683           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHUMAN, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10857          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SCHUMANN, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08346           FLETCHER V. TRAMMELL

SCHUNCKE, DIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12829           THE MILLER FIRM, LLC

SCHURMAN, REBECCA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHURMAN, REBECCA             MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

SCHURMAN, REBECCA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

SCHURMAN, REBECCA             MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

SCHURMAN, REBECCA             MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           THE SMITH LAW FIRM, PLLC

SCHUSTER, CAMILLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15601          NACHAWATI LAW GROUP

SCHUSTER, MICHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10210          GORI JULIAN & ASSOCIATES, P.C.

SCHUT, SHERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17856          ASHCRAFT & GEREL, LLP

SCHUT, SHERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17856          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHUTT, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03574          CELLINO & BARNES, P.C.

SCHWAB, CATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17866          NACHAWATI LAW GROUP

SCHWAB, DEBORAH               CA - SUPERIOR COURT - SACRAMENTO COUNTY       34-2018-00229874       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHWAB, DEBORAH               CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2018-00229874        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHWAB, DEBORAH               CA - SUPERIOR COURT - SACRAMENTO COUNTY       34-2018-00229874       THE SMITH LAW FIRM, PLLC

SCHWAB, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10301          ASHCRAFT & GEREL, LLP

SCHWAB, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10301          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHWABAUER, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13586          JOHNSON LAW GROUP

SCHWALBACH, SHELLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13628          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHWALM, TRACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13172          DALIMONTE RUEB, LLP

SCHWAMPE, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03434           LAW OFFICES OF JAMES S. ROGERS

SCHWARTS, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SCHWARTS, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SCHWARTS, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHWARTZ, ANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00635          DIAMOND LAW

SCHWARTZ, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16548          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCHWARTZ, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08121          ONDERLAW, LLC

SCHWARTZ, EVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08199          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHWARTZ, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15705          LENZE LAWYERS, PLC

SCHWARTZ, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15705          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCHWARTZ, MICHAEL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14214          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCHWARTZ, PEGGY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01346          JOHNSON LAW GROUP




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              Claimant Name                          State Filed                        Docket Number                             Plaintiff Counsel

SCHWARTZ, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11412          NACHAWATI LAW GROUP

SCHWARTZ, ROSALIND                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07912           ONDERLAW, LLC

SCHWARTZ, ROSALLIND                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2270-17           GOLOMB SPIRT GRUNFELD PC

SCHWARTZ, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00099          SEIDMAN MARGULIS & FAIRMAN, LLP

SCHWARTZBERG, FERN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19239           LAW OFFS. OF PETER G. ANGELOS, P.C.

SCHWARTZENBERGER, KIM              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08544          DAVIS, BETHUNE & JONES, L.L.C.

SCHWARZ, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17872          NACHAWATI LAW GROUP

SCHWARZ, LISA                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV331857              THE MILLER FIRM, LLC

SCHWARZ, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16622          WEITZ & LUXENBERG

SCHWARZ, MARIBEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14947          ONDERLAW, LLC

SCHWARZE, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08156           ONDERLAW, LLC

SCHWEERS, ELIZABETH                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002268-20         GOLOMB & HONIK, P.C.

SCHWEIGER, EVELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20831          THE MILLER FIRM, LLC

SCHWEINSBERG, LYNNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13699          BURNS CHAREST LLP

SCHWERY, JOLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15040          JOHNSON LAW GROUP

SCHWERZEL, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10610          BURNS CHAREST LLP

SCHWIEN, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08498          TRAMMELL PC

SCHWINN, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19223          JOHNSON LAW GROUP

SCIFO, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10607          MCSWEENEY/LANGEVIN, LLC

SCIMECA, MARY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002563-20         GOLOMB & HONIK, P.C.

SCIVOLETTI, CONNEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12038          NACHAWATI LAW GROUP

SCOBEE, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY         3:21-CV-15543          LAW OFFS. OF CHARLES H. JOHNSON, PA
SCOGGAN, THOMAS AND TREGANOWAN,
                                NJ - SUPERIOR COURT - MIDDLESEX COUNTY           MID-L-04064-18AS       WEITZ & LUXENBERG
EMILY
SCOGGINS, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY         3:20-CV-10169          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOGGINS, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01160          ONDERLAW, LLC

SCOTT MOORE                        IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SCOTT, ANGELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10132          BISNAR AND CHASE

SCOTT, ANNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16103          NACHAWATI LAW GROUP

SCOTT, ASHLEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10816          THE SEGAL LAW FIRM

SCOTT, AZALEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03281          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, BEVERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05747          ASHCRAFT & GEREL




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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SCOTT, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07929          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, BEVERLY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2233-17           GOLOMB SPIRT GRUNFELD PC

SCOTT, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07929          ONDERLAW, LLC

SCOTT, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07929          PORTER & MALOUF, PA

SCOTT, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07929          THE SMITH LAW FIRM, PLLC

SCOTT, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09150          ONDERLAW, LLC

SCOTT, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13406          NACHAWATI LAW GROUP

SCOTT, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12202          ONDERLAW, LLC

SCOTT, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17909          NACHAWATI LAW GROUP

SCOTT, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13370          ONDERLAW, LLC

SCOTT, DANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03846          ONDERLAW, LLC

SCOTT, DEANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06945          ONDERLAW, LLC

SCOTT, DEE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16754          CHILDERS, SCHLUETER & SMITH, LLC

SCOTT, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14608          NACHAWATI LAW GROUP

SCOTT, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19654          NACHAWATI LAW GROUP

SCOTT, DORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05004          ONDERLAW, LLC

SCOTT, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20660          THE MILLER FIRM, LLC

SCOTT, EARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10334          BARON & BUDD, P.C.

SCOTT, ELSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15414          THE DUGAN LAW FIRM, APLC

SCOTT, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17296          BURNS CHAREST LLP

SCOTT, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03945          ONDERLAW, LLC

SCOTT, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05249          TORHOERMAN LAW LLC

SCOTT, FARINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06709          JOHNSON LAW GROUP

SCOTT, FARINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06709          LEVIN SIMES LLP

SCOTT, FRANCINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06507          BURNS CHAREST LLP

SCOTT, GWENDOLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16689          WAGSTAFF & CARTMELL, LLP

SCOTT, HURNEITHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10141          ARNOLD & ITKIN LLP

SCOTT, JAKEETA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17907           NACHAWATI LAW GROUP

SCOTT, JAMESETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05459          ONDERLAW, LLC

SCOTT, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09197          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07411          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09700           MORRIS BART & ASSOCIATES




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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SCOTT, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06572          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCOTT, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15177          NACHAWATI LAW GROUP

SCOTT, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17710          THE MILLER FIRM, LLC

SCOTT, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17903          NACHAWATI LAW GROUP

SCOTT, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06579          ONDERLAW, LLC

SCOTT, KERRIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01494          JOHNSON LAW GROUP

SCOTT, KIM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02665          ONDERLAW, LLC

SCOTT, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08626          ONDERLAW, LLC

SCOTT, KISHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06916          JOHNSON BECKER, PLLC

SCOTT, KRISTIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17886          NACHAWATI LAW GROUP

SCOTT, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07084          ONDERLAW, LLC

SCOTT, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15889          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCOTT, LYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08641          THE DUGAN LAW FIRM

SCOTT, MARINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18152          GORI JULIAN & ASSOCIATES, P.C.

SCOTT, MELBA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11316          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16911          ASHCRAFT & GEREL

SCOTT, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16911          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

SCOTT, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

SCOTT, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

SCOTT, NAOMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05472          ONDERLAW, LLC

SCOTT, NORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09935          THE MILLER FIRM, LLC

SCOTT, ODESSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06572          ONDERLAW, LLC

SCOTT, PATSY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08830          ONDERLAW, LLC

SCOTT, PAULINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08129          ARNOLD & ITKIN LLP

SCOTT, PAULINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08922          NAPOLI SHKOLNIK, PLLC

SCOTT, PEBBLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22086          ONDERLAW, LLC

SCOTT, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10303          ASHCRAFT & GEREL, LLP

SCOTT, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, REGINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09975          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, ROCHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06478          BURNS CHAREST LLP

SCOTT, ROSALAND                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18910          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SCOTT, ROSALYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08361          HENINGER GARRISON DAVIS, LLC

SCOTT, ROSEMAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, ROSEMAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

SCOTT, ROSEMAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

SCOTT, ROSEMAY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

SCOTT, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09616          CELLINO & BARNES, P.C.

SCOTT, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09088          ONDERLAW, LLC

SCOTT, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08564          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOTT, SHILINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11283          ASHCRAFT & GEREL

SCOTT, SONDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01259          JOHNSON LAW GROUP

SCOTT, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05314          ONDERLAW, LLC

SCOTT, VELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11481          DALIMONTE RUEB, LLP

SCOTT, YVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09728          MORRIS BART & ASSOCIATES

SCOTT-BRUE, ANNETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04557          ONDERLAW, LLC

SCOUTEN, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09242          CELLINO & BARNES, P.C.

SCOVENS, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07179          LANGDON & EMISON

SCOWEN, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCOZZAFAVA, ROSANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00932          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCRIBNER, AMANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05439           DRISCOLL FIRM, P.C.

SCROGGINS, PATTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10939          MORRIS BART & ASSOCIATES

SCROGGINS, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15164           WILLIAMS HART LAW FIRM

SCROGGS, MARCELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06189          ONDERLAW, LLC

SCROOGINS, NANCY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1668-16           ROSS FELLER CASEY, LLP

SCRUGGS, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07710          ASHCRAFT & GEREL

SCRUGGS, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07710          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCRUGGS, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SCRUGGS, DANIELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18438          ONDERLAW, LLC

SCRUGGS, DEBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10793          ASHCRAFT & GEREL

SCRUGGS, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13045          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SCRUGGS, LUVINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19920           NACHAWATI LAW GROUP

SCRUGGS, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13530          TORHOERMAN LAW LLC

SCRUGGS, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10292          GORI JULIAN & ASSOCIATES, P.C.

SCUDDER, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03773          CELLINO & BARNES, P.C.

SCULLIN, HELENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10809          ASHCRAFT & GEREL



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SCURRY, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18932          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SCURRY, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17048          DRISCOLL FIRM, P.C.

SCUTARI, TARA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2559-17           JAVERBAUM WURGAFT HICKS KAHN WIKSTROM & SININS, P.C.

SCWANTJE, MARK                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SEABLOOM, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEABLOOM, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           ONDERLAW, LLC

SEABLOOM, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA

SEABLOOM, CATHERINE               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          THE SMITH LAW FIRM, PLLC

SEABORN, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07108          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEABURN-SEARS, LEISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02007          PARKER WAICHMAN, LLP

SEAGER, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15745          ONDERLAW, LLC

SEAGO, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09062          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEAL, DARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10736          ONDERLAW, LLC

SEAL, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18716          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEAL, RHEA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15160          LAW OFFS. OF CHARLES H. JOHNSON, PA

SEALE, ALCIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07565          THE DUGAN LAW FIRM, APLC

SEALE, TANYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12210          GOLOMB & HONIK, P.C.

SEALS, HAZEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06390          ONDERLAW, LLC

SEALS, INEZ                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01421          ARNOLD & ITKIN LLP

SEAMONE, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08759          ONDERLAW, LLC

SEARER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17855          ASHCRAFT & GEREL, LLP

SEARER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17855          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEARGEANT, BRANDI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07937          ONDERLAW, LLC

SEARLES, EVELYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01161          ONDERLAW, LLC

SEARS, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07371          ONDERLAW, LLC

SEARS, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08310          ONDERLAW, LLC

SEARS, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14216          DRISCOLL FIRM, P.C.

SEARS, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09199          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEARS, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01339          THE MILLER FIRM, LLC

SEARS, VICKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04511          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEARS-VANDERWERKEN, JENNIFER      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01332          THE MILLER FIRM, LLC
SEASTREAM, DORIS EST OF DOROTHY
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-003847-20AS      WEITZ & LUXENBERG
FILMORE
SEATS, BRUNICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00037          GIRARDI & KEESE

SEAY, DARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16944          ASHCRAFT & GEREL



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SEAY, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEBETH, MARIETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03309          DALIMONTE RUEB, LLP

SECK, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13254          ARNOLD & ITKIN LLP

SECREST-KENT, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14812          LENZE LAWYERS, PLC

SECREST-KENT, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14812          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SECRIST, KRISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09087          ONDERLAW, LLC

SEDAR, REBECCA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEDAR, REBECCA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            ONDERLAW, LLC

SEDAR, REBECCA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           PORTER & MALOUF, PA

SEDAR, REBECCA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           THE SMITH LAW FIRM, PLLC

SEDICINO, JANICE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEDICINO, JANICE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

SEDICINO, JANICE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

SEDICINO, JANICE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

SEDICINO, JANICE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

SEDITA, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16044          CELLINO & BARNES, P.C.

SEDON, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13608          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEE, BETTY                       GA - STATE COURT OF DEKALB COUNTY             20-A-78762             BARNES LAW GROUP, LLC

SEE, BETTY                       GA - STATE COURT OF DEKALB COUNTY            20-A-78762              CHEELEY LAW GROUP

SEEBOLD, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07341          ONDERLAW, LLC

SEEFELDT, HEIDI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16222          CELLINO & BARNES, P.C.

SEEFELDT, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09905          ONDERLAW, LLC

SEEGARS, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09634           FLETCHER V. TRAMMELL

SEEKINS, KERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07986          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEEKINS, KERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07458          THE DUGAN LAW FIRM, APLC

SEELEY, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06292          ONDERLAW, LLC

SEELIG, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13721          JOHNSON LAW GROUP

SEELY, MICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15459          WATERS & KRAUS, LLP

SEELY, WILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12761          ONDERLAW, LLC

SEERUP, ROSEMARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17915          NACHAWATI LAW GROUP

SEESE, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03330           ONDERLAW, LLC

SEGAL, ALYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16459          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEGAL, TERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09569          DALIMONTE RUEB, LLP

SEGEBART, TANYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09803          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

SEGEDY, AVIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16063           ASHCRAFT & GEREL, LLP

SEGEDY, AVIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16063          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEGER, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07994          ONDERLAW, LLC

SEGHIAN, ILANA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002            ONDERLAW, LLC

SEGLER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07470          ONDERLAW, LLC

SEGREAVES, JULIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-09119          KEEFE BARTELS

SEGUIN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEGUIN-CLARK, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13080          NAPOLI SHKOLNIK, PLLC

SEGURA, DESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02376          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEGVICH, CATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18320          JOHNSON LAW GROUP

SEIBLES, BRITTAINY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06247          DRISCOLL FIRM, P.C.

SEIDEL, SARI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09372          ARNOLD & ITKIN LLP

SEIDMAN, LYNNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12602          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEIFER, CARYN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002829-20         GOLOMB & HONIK, P.C.

SEIFERT, COLLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09041          THE MILLER FIRM, LLC

SEIFFERT, SIEGRID                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12885           NAPOLI SHKOLNIK, PLLC

SEIGLER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEIJA, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09095          ONDERLAW, LLC

SEILER, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01141          ONDERLAW, LLC

SEILING, JEANETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08228           ONDERLAW, LLC

SEIPLE, KRISTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01263          HOVDE, DASSOW, & DEETS, LLC

SEIPLE, KRISTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01263          THE MILLER FIRM, LLC

SEISS, PATSY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18830          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SEITZ, PEGGY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01375          COHEN & MALAD, LLP

SEKMAN, KERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16262          MORGAN & MORGAN

SELBERG-DECKER, PAMELA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04812          ONDERLAW, LLC

SELBY, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19662          NACHAWATI LAW GROUP

SELBY, NORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13638          THE MILLER FIRM, LLC

SELBY, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11744           THE MILLER FIRM, LLC

SELERT, STACIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002830-20         GOLOMB & HONIK, P.C.

SELF, KRISTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17977          NACHAWATI LAW GROUP

SELF, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17921          NACHAWATI LAW GROUP

SELF, PHYLLIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15997          GIRARDI & KEESE




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SELIG, FAYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14716          ARNOLD & ITKIN LLP

SELIG, FAYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SELLARI, LYNN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001574-18         FELDMAN & PINTO

SELLARS, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01660          THE BENTON LAW FIRM, PLLC

SELLERS, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00155          ARNOLD & ITKIN LLP

SELLERS, CAITLIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06717          THE SIMON LAW FIRM, PC

SELLERS, JEANETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19775          ONDERLAW, LLC

SELLERS, LORRAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10268          ONDERLAW, LLC

SELLERS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09617          ONDERLAW, LLC

SELLERS, NINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17484          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SELLERS, NOVICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05112          ONDERLAW, LLC

SELLERS, ROXANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09198          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SELLERS, SHANNON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06928          ONDERLAW, LLC

SELLERS, SHELBA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13913          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SELLERS, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01178          GORI JULIAN & ASSOCIATES, P.C.

SELLMAN, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14806          JOHNSON LAW GROUP

SELLS, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00910           COHEN & MALAD, LLP

SELLS, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04607          DIAMOND LAW

SELTZER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01444          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SELTZER, CINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEMAAN, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12623          BARRETT LAW GROUP

SEMAGO, RACHEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04120          ONDERLAW, LLC

SEMAN, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11316          BARON & BUDD, P.C.

SEMAN, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08847          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEMAN, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02037          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEMBLER, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06803          ONDERLAW, LLC

SEMEL, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09911          ONDERLAW, LLC

SEMENAS, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEMENAS, ROSEMARY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2271-17           GOLOMB SPIRT GRUNFELD PC

SEMENAS, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02396           ONDERLAW, LLC

SEMENAS, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          PORTER & MALOUF, PA

SEMENAS, ROSEMARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          THE SMITH LAW FIRM, PLLC

SEMIEN, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05769          ONDERLAW, LLC

SEMITKA, NINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08984           MOTLEY RICE, LLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SEMLER, CAROL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-28-18             COHEN, PLACITELLA & ROTH

SEMLER, DOREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14871          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEMMEL, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10738          ONDERLAW, LLC

SEMMENS, SUSAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEMMENS, SUSAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

SEMMENS, SUSAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

SEMMENS, SUSAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

SEMMENS, SUSAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

SEMMER, KATRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11762          MOTLEY RICE, LLC

SEMONES, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05606          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SEMPADIAN, VILMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01497          ONDERLAW, LLC

SENA-HERNANDEZ, CHRISTINA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16241          KIESEL LAW, LLP

SENA-HERNANDEZ, CHRISTINA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16241          LAW OFFICE OF HAYTHAM FARAJ

SENA-HERNANDEZ, CHRISTINA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16241          MARTINIAN & ASSOCIATES, INC.

SENEROTE, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06847          LAW OFF OF ROGER 'ROCKY' WALTON, PC

SENGER, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17042          CELLINO & BARNES, P.C.

SENNET, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06778          ONDERLAW, LLC

SENOSK, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14830          LENZE LAWYERS, PLC

SENOSK, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14830          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SENSABAUGH, ALICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14970          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SENSIBAUGH, MICHELE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15084          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SENSOR, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07948          DALIMONTE RUEB, LLP

SENTER, CLAUDIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13177          DALIMONTE RUEB, LLP

SENTER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13827          MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP

SENTER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13827          THE MICHAEL BRADY LYNCH FIRM

SENTZ, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00484          NAPOLI SHKOLNIK, PLLC

SEPE, DELFIN                      IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SEPER, VIOLET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17986          NACHAWATI LAW GROUP

SEPTER, TRENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12079          HEYGOOD, ORR & PEARSON

SEPULVEDA, MARTHA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEPULVEDA, MARTHA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

SEPULVEDA, MARTHA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

SERDA, SANDAY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-15896           ARNOLD & ITKIN LLP

SERGEANT, ISABELL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14076          THE SEGAL LAW FIRM



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            Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SERIGNEY, CARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-03065          ASHCRAFT & GEREL

SERIKAKU, GEORGINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09611           HEYGOOD, ORR & PEARSON

SERJERN, LETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10889           NACHAWATI LAW GROUP

SERMENO, JULIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19734           ONDERLAW, LLC

SERNA, CLAUDIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14786          LENZE LAWYERS, PLC

SERNA, CLAUDIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14786          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SERNA, MARICELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08353           ONDERLAW, LLC

SERRANO, EDILSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15975          WATERS & KRAUS, LLP

SERRANO, ELEANOR               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10413          NACHAWATI LAW GROUP

SERRANO, LINDA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV333343              DANIEL & ASSOCIATES, LLC

SERRANO, LINDA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV333343             KIESEL LAW, LLP

SERRANO, LINDA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV333343             THE WHITEHEAD LAW FIRM, LLC

SERRANO, LUZ                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07007          HOLLAND LAW FIRM

SERTIC, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16177          JOHNSON LAW GROUP

SERVA, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07302           ONDERLAW, LLC

SERVIN, SYLVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02246          ONDERLAW, LLC

SESKIN, MARILYN                FL - CIRCUIT COURT - MIAMI DADE COUNTY       19-17627CA01            MOTLEY RICE, LLC

SESKIN, MARILYN                FL - CIRCUIT COURT - MIAMI DADE COUNTY       19-17627CA01            MOTLEY RICE, LLC

SESKIN, MARILYN                FL - CIRCUIT COURT - MIAMI DADE COUNTY        19-17627CA01           THE ALVAREZ LAW FIRM

SESSION, FLORIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06438          ONDERLAW, LLC

SESSION, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10939           FLETCHER V. TRAMMELL

SESSIONS, MARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SESSOMS, VESTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17840          TORHOERMAN LAW LLC

SETO, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09205          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SETSER, STARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15426          GORI JULIAN & ASSOCIATES, P.C.

SETTERS, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20723          ASHCRAFT & GEREL, LLP

SETTIPANI, MICHELE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05224           ASHCRAFT & GEREL

SETTIPANI, MICHELE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05224           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SETZER, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07890          THE CUFFIE LAW FIRM

SETZER, CANDY                  CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318712             KIESEL LAW, LLP

SEVERINO, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05723           CELLINO & BARNES, P.C.

SEVERINO, MONICA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03765          BLIZZARD & NABERS, LLP

SEVINSKY, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08528          ONDERLAW, LLC

SEWARD, ALMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11686          THE MILLER FIRM, LLC



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SEWARD, BOBBI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07556          WILLIAMS HART LAW FIRM

SEWARD, DENISE                CA - SUPERIOR COURT - CONTRA COSTA COUNTY    MSC17-02045             BISNAR AND CHASE

SEWELL, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07416          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEWELL, LORI                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003318-21         WEITZ & LUXENBERG

SEWELL, SHANIQUA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001470-20         GOLOMB & HONIK, P.C.

SEWELL, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11110          LEVIN SIMES ABRAMS LLP

SEXTON, CAROLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09857          ONDERLAW, LLC

SEXTON, ELISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15267          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

SEXTON, HOLLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12337          FLETCHER V. TRAMMELL

SEXTON, HOLLY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002378-20         GOLOMB & HONIK, P.C.

SEXTON, PATRICIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SEXTON, PATRICIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

SEXTON, PATRICIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

SEXTON, PATRICIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

SEXTON, PATRICIA              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

SEXTON, VANESSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18252          NACHAWATI LAW GROUP

SEXTON-RUSSELL, PAMELA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13317           ROSS FELLER CASEY, LLP

SEXTRO, SKYLAR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08440          ONDERLAW, LLC

SEYBOLDT, PATRICIA            CA - SUPERIOR COURT - LOS ANGELES COUNTY      19CV341370             MARY ALEXANDER & ASSOCIATES, P.C.

SEYBOLT, PATRICIA             CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV317372              CLAYEO C. ARNOLD, APC

SEYLLER, SUZA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

SEYLLER, SUZA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

SEYLLER, SUZA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SEYMOUR, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15736          NACHAWATI LAW GROUP

SEYMOUR, YOKITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11329          HART MCLAUGHLIN & ELDRIDGE

SHABAN, L EUNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13268          SANGISETTY LAW FIRM, LLC

SHABAZZ, EDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18012          REICH & BINSTOCK, LLP

SHABAZZ, SHELLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17330          ASHCRAFT & GEREL, LLP

SHABAZZ, SHELLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17330          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHACK, MICHELE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01227          ONDERLAW, LLC

SHACKELFORD, BRENDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01345          ONDERLAW, LLC

SHACKELFORD, CELIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07146          DALIMONTE RUEB, LLP




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              Claimant Name                         State Filed                        Docket Number                            Plaintiff Counsel

SHACKELFORD, THRESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00040          SILL LAW GROUP, PLLC

SHACKLEFORD, JANENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12582          ONDERLAW, LLC

SHADE, EVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18012          NACHAWATI LAW GROUP

SHADE, GLORIA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2119-15           GOLOMB SPIRT GRUNFELD PC

SHADER, PATRICIA                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-007836-20         MAUNE RAICHLE HARTLEY FRENCH & MUDD
SHADER, PATRICIA AND SHADER,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-007836-20        LEVY KONIGSBERG LLP
ROBERT
SHADRICK, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06085          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHADWICK, MABLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15094          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SHADY, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16619          ASHCRAFT & GEREL

SHADY, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16619          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAFER, LINDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-0852-15           GOLOMB SPIRT GRUNFELD PC

SHAFFER, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13090          ONDERLAW, LLC

SHAFFERY, MELISSA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002626-18         MORELLI LAW FIRM, PLLC

SHAGER, ALANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16297          NACHAWATI LAW GROUP

SHAH, MALTI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01130          NAPOLI SHKOLNIK, PLLC

SHAHHOSSEINI, MASOUMEH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14768          ASHCRAFT & GEREL

SHAHZAD, SHERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15448          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SHAILEE COUCH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18511          WEITZ & LUXENBERG

SHAKESPEARE, GERALDINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07558           ASHCRAFT & GEREL, LLP

SHAKESPEARE, GERALDINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07558          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHALHOOB, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18066           NACHAWATI LAW GROUP

SHALL, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09209          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHALLMAN, CAROLINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09440           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHALLY, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04736          ASHCRAFT & GEREL

SHALLY, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04736          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAMBLIN, WANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13444          THE CHEEK LAW FIRM

SHAMBURGER, RHONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13124           THE MILLER FIRM, LLC

SHAMBURGER, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04882           ONDERLAW, LLC

SHAMEKA MOORE                     FEDERAL - MDL                                3:21-CV-19620           BISNAR AND CHASE

SHAMEKA MOORE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19620          BISNAR AND CHASE

SHAMMAS, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19438          CELLINO & BARNES, P.C.

SHAMSELDIN, BAHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17462          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SHAMY, TONYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13559          NACHAWATI LAW GROUP




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              Claimant Name                          State Filed                        Docket Number                             Plaintiff Counsel

SHANAHAN, NICOLE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002961-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

SHANDLE, RANDALL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16556           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SHANDOR, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05539          GORI JULIAN & ASSOCIATES, P.C.

SHANDORF, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02120          ONDERLAW, LLC

SHANE, MARTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11885          NACHAWATI LAW GROUP

SHANER, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06230           DALIMONTE RUEB, LLP

SHANK, ERIN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10139          ARNOLD & ITKIN LLP

SHANK, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11693           NACHAWATI LAW GROUP

SHANK, MINNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18069          NACHAWATI LAW GROUP

SHANK, PATRICIA AND SHANK, KENNETH NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-05662-18AS       WEITZ & LUXENBERG

SHANK, REBECCA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03149          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHANKS, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06124           PARKER WAICHMAN, LLP

SHANKWEILER, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SHANKWEILER, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15426           LENZE LAWYERS, PLC

SHANKWEILER, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           LENZE LAWYERS, PLC

SHANKWEILER, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15426           LENZE LAWYERS, PLC

SHANKWEILER, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15426           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SHANKWEILER, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SHANKWEILER, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15426           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

SHANN, RAYMOND                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-0869              SWMW LAW, LLC

SHANNAHAN, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14924          WAGSTAFF & CARTMELL, LLP

SHANNON COOKSON                    FEDERAL - MDL                                3:21-CV-19723           JOHNSON BECKER, PLLC

SHANNON GEORGE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19650           JOHNSON BECKER, PLLC

SHANNON GEORGE                     FEDERAL - MDL                                3:21-CV-19650           JOHNSON BECKER, PLLC

SHANNON GEORGE                     FEDERAL - MDL                                3:21-CV-19650           JOHNSON BECKER, PLLC

SHANNON, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13632          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHANNON, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16100          SUMMERS & JOHNSON, P.C.

SHANNON, JO ANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05389          KLINE & SPECTER, P.C.

SHANNON, LOLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09220          MORELLI LAW FIRM, PLLC

SHANNON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00013          ONDERLAW, LLC

SHANNON, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15211          DALIMONTE RUEB, LLP

SHANNON, SUMMER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15367          DAVIS, BETHUNE & JONES, L.L.C.




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           Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SHANNON, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20685          ONDERLAW, LLC

SHANNON, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13026          WEXLER WALLACE LLP

SHANNON, TOMIKA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16863           HOLLAND LAW FIRM

SHANSTROM, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11486          NACHAWATI LAW GROUP

SHAPIRO, HARRIET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAPIRO, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10098          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAPIRO-FUCHS, NANCY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11331          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAPIRO-TERNER, ELLEN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11130          ONDERLAW, LLC

SHARAF, VIDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14053           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SHARESHIAN, JENNIFER          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002496-18         BISNAR AND CHASE

SHARESHIAN, JENNIFER          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002496-18         GOLOMB & HONIK, P.C.

SHARIFIRAD, AFSHAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15136           CELLINO & BARNES, P.C.

SHARION TAYLOR                FEDERAL - MDL                                 3:21-CV-18764          FLETCHER V. TRAMMELL

SHARION TAYLOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18764          FLETCHER V. TRAMMELL

SHARKEY, MARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06407          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

SHARMA, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02376          DAVIS, BETHUNE & JONES, L.L.C.

SHARMA, SAVITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20479          ONDERLAW, LLC

SHARON ADEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18310          ONDERLAW, LLC

SHARON ADEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18310          ONDERLAW, LLC

SHARON GORE                   FEDERAL - MDL                                3:21-CV-19651           ONDERLAW, LLC

SHARON GORE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19651          ONDERLAW, LLC

SHARON ISACKSON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19040          SALTZ MONGELUZZI & BENDESKY PC

SHARON KALLINA                FEDERAL - MDL                                 3:21-CV-18668          FLETCHER V. TRAMMELL

SHARON KALLINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18668           FLETCHER V. TRAMMELL

SHARON LAND                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SHARON MURRAY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18309          ONDERLAW, LLC

SHARON SENA                   FEDERAL - MDL                                 3:21-CV-17073          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHARON WOLF                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SHARP, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05742          ONDERLAW, LLC

SHARP, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03160          ONDERLAW, LLC

SHARP, DORIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00011          ASHCRAFT & GEREL

SHARP, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05656          WILLIAMS KHERKHER HART BOUNDAS, LLP

SHARPE, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16193          NACHAWATI LAW GROUP




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SHARPE, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17357          ASHCRAFT & GEREL, LLP

SHARPE, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17357          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHARPE, FLORENCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17650          SALTZ MONGELUZZI & BENDESKY PC

SHARPSTEEN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06729          ONDERLAW, LLC

SHARPSTEEN, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12786           ONDERLAW, LLC

SHARPTON, DARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08594          ONDERLAW, LLC

SHARRI GRABLE-HUMPHREY           FEDERAL - MDL                                 3:21-CV-19063          MOTLEY RICE, LLC

SHARRI GRABLE-HUMPHREY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19063          MOTLEY RICE, LLC

SHASKY, LEE                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHASKY, LEE                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            ONDERLAW, LLC

SHASKY, LEE                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            PORTER & MALOUF, PA

SHASKY, LEE                      MO - CIRCUIT COURT - JEFFERSON COUNTY         18JE-CC00448           THE SMITH LAW FIRM, PLLC

SHATARA, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15204          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHATASHVILI, LIYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08226           THE DUGAN LAW FIRM, APLC

SHATTO, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19665          NACHAWATI LAW GROUP

SHATTUCK, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05017          MORELLI LAW FIRM, PLLC

SHAUT, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08835          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAVER, JAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17296          ASHCRAFT & GEREL, LLP

SHAVER, JAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17296          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAVER, KATTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18073          NACHAWATI LAW GROUP

SHAVER-ROELOFS, MARIANNE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16028          NACHAWATI LAW GROUP

SHAVERS, TIFFANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02941          FLETCHER V. TRAMMELL

SHAVERS, TRESARAIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11807          ARNOLD & ITKIN LLP

SHAW, AMBER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08013          ONDERLAW, LLC

SHAW, AVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10991          GORI JULIAN & ASSOCIATES, P.C.

SHAW, BELVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13170          NACHAWATI LAW GROUP

SHAW, BERTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06863          ONDERLAW, LLC

SHAW, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10143          ARNOLD & ITKIN LLP

SHAW, BOBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11068          PARKER WAICHMAN, LLP

SHAW, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12141           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

SHAW, CATHERINE                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-01542-20AS       MAUNE RAICHLE HARTLEY FRENCH & MUDD

SHAW, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00711          FLETCHER V. TRAMMELL

SHAW, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20737           CELLINO & BARNES, P.C.

SHAW, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18302          FRAZER PLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SHAW, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06153          ONDERLAW, LLC

SHAW, ESTHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11011          NACHAWATI LAW GROUP

SHAW, HAZEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05929          NAPOLI SHKOLNIK, PLLC

SHAW, IONE                       LA - DISTRICT COURT - ORLEANS PARISH         2018-1334               THE DUGAN LAW FIRM

SHAW, JACQUELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05025          MORELLI LAW FIRM, PLLC

SHAW, JACQUELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11739           ONDERLAW, LLC

SHAW, JEANIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAW, JEANIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

SHAW, JEANIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

SHAW, JEANIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

SHAW, JEANIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

SHAW, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14975          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAW, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09946          ONDERLAW, LLC

SHAW, MARTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03616           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAW, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02882          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAW, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16791          TRAMMELL PC

SHAW, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08995          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SHAW, REBECCA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002565-20         GOLOMB & HONIK, P.C.

SHAW, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20182          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAW, ROSE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

SHAW, ROSE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

SHAW, ROSE                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           THE SMITH LAW FIRM, PLLC

SHAW, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17077          SUMMERS & JOHNSON, P.C.

SHAW, SUSITHEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10714          ASHCRAFT & GEREL

SHAW, SUSITHEA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10714          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAWHAN, JOANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHAWHAN, JOANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

SHAWHAN, JOANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

SHAWHAN, JOANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

SHAY, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11498          CELLINO & BARNES, P.C.

SHAYANNA GREEN                   FEDERAL - MDL                                3:21-CV-19481           ONDERLAW, LLC

SHAYANNA GREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19481          ONDERLAW, LLC

SHAZIA BAJWA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18567          ONDERLAW, LLC

SHEA, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18861          NACHAWATI LAW GROUP



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SHEA, COLLEEN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            ONDERLAW, LLC

SHEA, COLLEEN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

SHEA, COLLEEN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            THE SMITH LAW FIRM, PLLC

SHEA, DOLORES                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1872-17           WILENTZ, GOLDMAN & SPITZER, P.A.

SHEA, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09590          ONDERLAW, LLC

SHEA, GLENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10813          NACHAWATI LAW GROUP

SHEA, GWEN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18692          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEA, THERESE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00014          ONDERLAW, LLC

SHEAFFER, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00603          GOLOMB SPIRT GRUNFELD PC

SHEALEY, LARRECIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003386-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

SHEARER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03154          JOHNSON LAW GROUP

SHEARER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16216          NACHAWATI LAW GROUP

SHEARLOCK, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05617          MURRAY LAW FIRM

SHEARON, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12953          PAUL LLP

SHEARS, ELOISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16453          JOHNSON LAW GROUP

SHEARS, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01490          ASHCRAFT & GEREL

SHEARS, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01490          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEARS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11332          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEASBY, RUBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14470          MORRIS BART & ASSOCIATES

SHED, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18622          WEITZ & LUXENBERG

SHEEDER, JAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15151          ONDERLAW, LLC

SHEEHAN, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01477          ONDERLAW, LLC

SHEEHAN, CONSTANCE                CA - SUPERIOR COURT - NAPA COUNTY             18CV000849             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEEHAN, CONSTANCE                CA - SUPERIOR COURT - NAPA COUNTY             18CV000849             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SHEEHAN, CONSTANCE                CA - SUPERIOR COURT - NAPA COUNTY            18CV000849              THE SMITH LAW FIRM, PLLC

SHEEHAN, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12879          ONDERLAW, LLC

SHEEHY, KELLY                     IL - CIRCUIT COURT - ST. CLAIR COUNTY        20L0350                 COOK, BARTHOLOMEW, SHEVLIN, COOK & JONES LLP

SHEER, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10740          NACHAWATI LAW GROUP

SHEETS, BLANCH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05387          GORI JULIAN & ASSOCIATES, P.C.

SHEFF, HEIDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07388          DALIMONTE RUEB, LLP

SHEFFEY, MEIKO                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16287           THE MILLER FIRM, LLC

SHEFFIELD, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10304          ASHCRAFT & GEREL, LLP

SHEFFIELD, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10304          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEFFIELD, SALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14763          ONDERLAW, LLC



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             Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SHEFLIN, ROCHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22087           ONDERLAW, LLC

SHEILA DENYER                   FEDERAL - MDL                                 3:21-CV-19670          JOHNSON BECKER, PLLC

SHEILA FISHER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18599          ONDERLAW, LLC

SHEILA LOUQUE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003311-21         WEITZ & LUXENBERG

SHEILA THOMAS-LEWIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16034          LENZE LAWYERS, PLC

SHEILA THOMAS-LEWIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16034          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

SHELBURNE, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20317           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHELBY, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09882          ONDERLAW, LLC

SHELBY, DENICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18078          NACHAWATI LAW GROUP

SHELBY, ELEANOR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19671          NACHAWATI LAW GROUP

SHELBY, MELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11498          DALIMONTE RUEB, LLP

SHELEY, MANUELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13986          JOHNSON LAW GROUP

SHELKER, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20705          ASHCRAFT & GEREL, LLP

SHELL, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16965          ONDERLAW, LLC

SHELL, JUSTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18614           THE SEGAL LAW FIRM

SHELL, KRISTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10093          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHELL, LAUREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15837          THE MILLER FIRM, LLC

SHELL, OLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01838          DRISCOLL FIRM, P.C.

SHELL, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10860          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHELLEY, ALTAVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14585          DAVIS, BETHUNE & JONES, L.L.C.

SHELLEY, SUNNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02930          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHELLNUT, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16942          ASHCRAFT & GEREL

SHELLNUT, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16942          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHELLY, SUZANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15784          THE MILLER FIRM, LLC

SHELTON, APRIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03818          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHELTON, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07415          CAMPBELL & ASSOCIATES

SHELTON, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07415          FRAZER LAW LLC

SHELTON, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07415          FRAZER LAW LLC

SHELTON, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09226          ONDERLAW, LLC

SHELTON, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07711          ASHCRAFT & GEREL

SHELTON, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07711          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHELTON, DEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18461           BROWN READDICK BUMGARTNER CARTER

SHELTON, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16645          ARNOLD & ITKIN LLP

SHELTON, DEMETRIUS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18079          NACHAWATI LAW GROUP



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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SHELTON, GYPSIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14480          THE MILLER FIRM, LLC

SHELTON, JACQUELINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13379          NACHAWATI LAW GROUP

SHELTON, JOY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10985          ONDERLAW, LLC

SHELTON, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08761          ONDERLAW, LLC

SHELTON, LAURA JO             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06890          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHELTON, LYNETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09729          DRISCOLL FIRM, P.C.

SHELTON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12224          ONDERLAW, LLC

SHELTON, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06554          HENINGER GARRISON DAVIS, LLC

SHELTON, REGINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01213          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHELTON, REGINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07962          ONDERLAW, LLC

SHELTON, SHIRLEY              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003165-21         ARNOLD & ITKIN LLP

SHELTON, SHIRLEY              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003165-21         COHEN, PLACITELLA & ROTH

SHELTON, THERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10956          NACHAWATI LAW GROUP

SHEMONIS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20082           ARNOLD & ITKIN LLP

SHEMORY, JILL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09060          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHENBERGER, DEBORAH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13043          JOHNSON LAW GROUP

SHENEFIELD, JACQUELYN         FL - CIRCUIT COURT - HILLSBOROUGH COUNTY      17-CV-010980           THE FERRARO LAW FIRM, P.A.

SHENESKY, DONNA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000347-21         COHEN, PLACITELLA & ROTH

SHENESKY, DONNA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000347-21         FLETCHER V. TRAMMELL

SHENSKY, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12748          ROSS FELLER CASEY, LLP

SHENTON, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19312          NACHAWATI LAW GROUP

SHENTON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15754          GIRARDI & KEESE

SHEPARD, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12366          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEPARD, MAXINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-11275           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEPARD, MEG                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17513          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

SHEPARD, RITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21154          MORELLI LAW FIRM, PLLC

SHEPARD, SHERI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06411          FLETCHER V. TRAMMELL

SHEPHERD, CAROL               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEPHERD, CAROL               MO - CIRCUIT COURT - JEFFERSON COUNTY         18JE-CC00448           ONDERLAW, LLC

SHEPHERD, CAROL               MO - CIRCUIT COURT - JEFFERSON COUNTY         18JE-CC00448           PORTER & MALOUF, PA

SHEPHERD, CAROL               MO - CIRCUIT COURT - JEFFERSON COUNTY         18JE-CC00448           THE SMITH LAW FIRM, PLLC

SHEPHERD, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10835          ASHCRAFT & GEREL

SHEPHERD, GAIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03241          ONDERLAW, LLC

SHEPHERD, JANET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08704          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SHEPHERD, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11308          PARKER WAICHMAN, LLP

SHEPHERD, LOUISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08309           ONDERLAW, LLC

SHEPHERD, MARSHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02761          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEPHERD, MARSHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05832          ONDERLAW, LLC

SHEPHERD, MICHELE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17297          ASHCRAFT & GEREL, LLP

SHEPHERD, MICHELE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17297          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEPHERD, NANCY                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEPHERD, NANCY                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

SHEPHERD, NANCY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

SHEPHERD, NANCY                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

SHEPHERD, NANCY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            THE SMITH LAW FIRM, PLLC

SHEPHERD, PHYLLIS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16409          HOLLAND LAW FIRM

SHEPHERD, SHERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03066           ONDERLAW, LLC

SHEPPARD, BILLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04154          COHEN & MALAD, LLP

SHEPPARD, GWENDOLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09820          FLETCHER V. TRAMMELL

SHEPPARD, GWENDOLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17004           ONDERLAW, LLC

SHEPPARD, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04766          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEPPARD, KATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11835          POTTS LAW FIRM

SHEPPARD, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19674          NACHAWATI LAW GROUP

SHEPPARD, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13917          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEPPARD, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07712           ASHCRAFT & GEREL

SHEPPARD, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07712          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHEPPARD, TERESSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17880          BURNS CHAREST LLP

SHEPPARD, TERESSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17880          BURNS CHAREST LLP

SHEPPERSON, JULIE              LA - DISTRICT COURT - ORLEANS PARISH          2019-7718              THE CHEEK LAW FIRM

SHEPPERSON, JULIE              LA - DISTRICT COURT - ORLEANS PARISH         2019-7718               UNGLESBY LAW FIRM

SHERARD, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18831          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SHERBLOM, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08075          ONDERLAW, LLC

SHERFEY, GAIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20349          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHERI ROBINSON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16075          LENZE LAWYERS, PLC

SHERI ROBINSON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16075          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

SHERI ROE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18535          ONDERLAW, LLC

SHERIDAN, ANNMARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08082           ONDERLAW, LLC

SHERIFF, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18089          NACHAWATI LAW GROUP



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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SHERKANOWSKI, HELEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08466           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

SHERLOCK, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02007          NACHAWATI LAW GROUP

SHERLOCK, TINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02751          SANGISETTY LAW FIRM, LLC

SHERMAN PADGETT               IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SHERMAN, AMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12900           DRISCOLL FIRM, P.C.

SHERMAN, ARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10254          THE BENTON LAW FIRM, PLLC

SHERMAN, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08068          THE LAW OFFICES OF SEAN M CLEARY

SHERMAN, CLAIR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13169          NACHAWATI LAW GROUP

SHERMAN, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16563          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SHERMAN, DULCIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02747          ONDERLAW, LLC

SHERMAN, HEIDI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01562          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHERMAN, MARGEREITTE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07372          DALIMONTE RUEB, LLP

SHERMAN, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07561          ONDERLAW, LLC

SHERMAN, ROSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08752          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHERMAN, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09614          ONDERLAW, LLC

SHERRI HORTON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18484          WATERS & KRAUS, LLP

SHERRILL, BEVERLY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01099          THE SEGAL LAW FIRM

SHERRILL, BLANCHE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001702-20         DALIMONTE RUEB, LLP

SHERRILL, BLANCHE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001702-20         GOLOMB & HONIK, P.C.

SHERROD, CATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09949           ONDERLAW, LLC

SHERRON, ALEATHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16908          DALIMONTE RUEB, LLP

SHERRY CALLIS                 FEDERAL - MDL                                 3:21-CV-19623          ONDERLAW, LLC

SHERRY CRONK                  FEDERAL - MDL                                3:21-CV-19054           MOTLEY RICE, LLC

SHERRY KOVAR                  FEDERAL - MDL                                 3:20-CV-19384          NACHAWATI LAW GROUP

SHERRY REECE                  FEDERAL - MDL                                 3:21-CV-19796          MCSWEENEY/LANGEVIN, LLC

SHERRY TROTTER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16086          LENZE LAWYERS, PLC

SHERRY TROTTER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16086          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

SHERRY WICKSTROM              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16089          LENZE LAWYERS, PLC

SHERRY WICKSTROM              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16089           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

SHERRY, CHARINE               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHERRY, CHARINE               MO - CIRCUIT COURT - JEFFERSON COUNTY         18JE-CC00448           ONDERLAW, LLC

SHERRY, CHARINE               MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            PORTER & MALOUF, PA

SHERRY, CHARINE               MO - CIRCUIT COURT - JEFFERSON COUNTY         18JE-CC00448           THE SMITH LAW FIRM, PLLC




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            Claimant Name                           State Filed                        Docket Number                            Plaintiff Counsel

SHERWOOD, EDNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15998          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SHERWOOD, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21806          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHERWOOD, SUZANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18672          ASHCRAFT & GEREL, LLP

SHETTERLY, GEORGIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11084          NACHAWATI LAW GROUP

SHETTLES, WANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19155          BARON & BUDD, P.C.

SHEVENOCK, GEORGIANNA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13689           MCSWEENEY/LANGEVIN, LLC

SHEVIS, YOSHIKO                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11284          NACHAWATI LAW GROUP

SHEVRIN, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04084          FLETCHER V. TRAMMELL

SHIBLES, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14251          ARNOLD & ITKIN LLP

SHIEKMAN, MINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18335          ONDERLAW, LLC

SHIELA, PAYNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01654          MURRAY LAW FIRM

SHIELDS, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08381          ONDERLAW, LLC

SHIELDS, BETTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21511          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHIELDS, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10399           ONDERLAW, LLC

SHIELDS, KATINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17162          ONDERLAW, LLC

SHIELDS, MARCIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01496          ONDERLAW, LLC

SHIELDS, VICKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17890          JOHNSON LAW GROUP

SHIELDS, WILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12455           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

SHIELDS-MARLEY, MARIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06684          THE SIMON LAW FIRM, PC

SHIFFER, CAROLANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14765          LENZE LAWYERS, PLC

SHIFFER, CAROLANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14765          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SHIFFLETT, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17123          ARNOLD & ITKIN LLP
SHIFFMAN, CAROL ESTATE OF ROGER
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-002278-21AS      WEITZ & LUXENBERG
SHIFFMAN
SHIHADEH, SAMIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19292          CELLINO & BARNES, P.C.

SHIKOWSKI, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14573          WATERS & KRAUS, LLP

SHILES, GENEVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09496          ONDERLAW, LLC

SHILLING, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03273           ASHCRAFT & GEREL

SHILLING, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03273           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHILLMAN, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02763           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHILTS, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11228          NACHAWATI LAW GROUP

SHIMKO, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10978          ASHCRAFT & GEREL, LLP

SHIMON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08379          ONDERLAW, LLC

SHINER, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07776          ONDERLAW, LLC

SHINHOLSTER, MARGIE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000297-21         GOLOMB & HONIK, P.C.



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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SHINN, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11262          NACHAWATI LAW GROUP

SHINN, JUNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20625           CELLINO & BARNES, P.C.

SHINSKE, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07894          DANZIGER & DE LLANO, LLP

SHINSKE, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07894          SAUNDERS & WALKER, P.A.

SHIOSEE, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18360          MUELLER LAW PLLC

SHIPLEY, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14343          FREDEKING & BISER LAW OFFICES

SHIPLEY, CRYSTAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05694          ONDERLAW, LLC

SHIPLEY, DORENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08709          THE MILLER FIRM, LLC

SHIPLEY, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10393          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHIPLEY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09134          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SHIPLEY, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10374          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHIPLEY, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00165          BURNS CHAREST LLP

SHIPOS, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02232          JOHNSON LAW GROUP

SHIPP, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13918           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHIRER, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07554          ONDERLAW, LLC

SHIRK, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09058          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHIRLEY MARTINEZ                  IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SHIRLEY RUBELL                    FEDERAL - MDL                                 3:20-CV-19895          NACHAWATI LAW GROUP

SHIRLEY, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01993          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHIRLEY, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19749          ASHCRAFT & GEREL, LLP

SHIRLEY, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19749          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHIRLEY, IRENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01234          GORI JULIAN & ASSOCIATES, P.C.

SHIRLEY, MARTI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15291          JOHNSON LAW GROUP

SHIRLEY, NIEMEYER,                NY - SUPREME COURT - NYCAL                   190156/2017             LEVY KONIGSBERG LLP

SHIRLEY, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10288          DALIMONTE RUEB, LLP

SHISILA, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09132          ONDERLAW, LLC

SHIVELY, HOLLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12326          MOTLEY RICE, LLC

SHIVELY, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11931          NACHAWATI LAW GROUP

SHIVER, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03587          ONDERLAW, LLC

SHIVER, IRENE                     GA - STATE COURT OF DOUGHERTY COUNTY         STSV2019000443          BARNES LAW GROUP, LLC

SHIVER, IRENE                     GA - STATE COURT OF DOUGHERTY COUNTY         STSV2019000443          CHEELEY LAW GROUP

SHIVERS, EURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07855          ONDERLAW, LLC

SHIVERS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06570          ONDERLAW, LLC

SHIVERS, NOLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14009          JOHNSON LAW GROUP



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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SHIVERS, PAULINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08442           ONDERLAW, LLC

SHIVLEY, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22136          ONDERLAW, LLC

SHIWMANGAL, DHANMATTEE        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11574          NACHAWATI LAW GROUP

SHLIGER, DAYNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00800          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHLIGER, DAYNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00800          ONDERLAW, LLC

SHLIGER, DAYNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00800           PORTER & MALOUF, PA

SHLIGER, DAYNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19473          SEITHEL LAW LLC

SHLIGER, DAYNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00800          THE SMITH LAW FIRM, PLLC

SHLYONSKY, MILENA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12250          CELLINO & BARNES, P.C.

SHMAEFF, OSIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07871          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

SHOCKEY, FONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12855           MORGAN & MORGAN

SHOCKEY, NITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13472          NAPOLI SHKOLNIK, PLLC

SHOCKLEY, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18939          NACHAWATI LAW GROUP

SHOCKLEY, KARMISHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16903           ONDERLAW, LLC

SHOCKLEY, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08767          ONDERLAW, LLC

SHOEMAKE, SARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19261          NACHAWATI LAW GROUP

SHOEMAKER, COLETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00719          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SHOEMAKER, DELONA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04712           SIMMONS HANLY CONROY

SHOEMAKER, JULIANNE           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1227-16           ASHCRAFT & GEREL, LLP

SHOEMAKER, JULIANNE           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1227-16           GOLOMB SPIRT GRUNFELD PC

SHOEMAKER, STEPHANIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01609           ONDERLAW, LLC

SHOENFELT, CATHERINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07456          THE DIAZ LAW FIRM, PLLC

SHOFFETT, RENE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002455-20         GOLOMB & HONIK, P.C.

SHOGREN, BETH                 CA - SUPERIOR COURT - FRESNO COUNTY           20CECG03647            ARNOLD & ITKIN LLP

SHOLARS, DIANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18101           NACHAWATI LAW GROUP

SHONING, JENNY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12698          MORELLI LAW FIRM, PLLC

SHONKWILER, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02653          ONDERLAW, LLC

SHOOK, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14501           THE MILLER FIRM, LLC

SHOOP, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17821          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHOOP, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17821           FLETCHER V. TRAMMELL

SHOOSHTARI, AGDAS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10750          ONDERLAW, LLC

SHOPE, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16104          ONDERLAW, LLC

SHOPTAUGH, MELISSA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10954           FLETCHER V. TRAMMELL




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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SHORE, BERNICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12875          EISENBERG, ROTHWEILER, WINKLER

SHORES, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11890          NACHAWATI LAW GROUP

SHORT, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08537          DAVIS, BETHUNE & JONES, L.L.C.

SHORT, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14766          LENZE LAWYERS, PLC

SHORT, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04970          ONDERLAW, LLC

SHORT, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14766           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SHORT, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12686          NAPOLI SHKOLNIK, PLLC

SHORT, DEEDEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07724          THE BENTON LAW FIRM, PLLC

SHORT, GLADYS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02696          ONDERLAW, LLC

SHORT, JEWELL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07098          ONDERLAW, LLC

SHORT, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13371          ONDERLAW, LLC

SHORT, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21703          FLETCHER V. TRAMMELL

SHORT, MADONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20073          ONDERLAW, LLC

SHORT, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08706          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHORT, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08989           HOLLAND LAW FIRM

SHORT, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11045          NACHAWATI LAW GROUP

SHORT, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15518          POGUST BRASLOW & MILLROOD, LLC

SHORT, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15518          SANDERS PHILLIPS GROSSMAN, LLC

SHORTER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20248           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHORTER, LINDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1418-17           GOLOMB SPIRT GRUNFELD PC

SHORTER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18118          NACHAWATI LAW GROUP

SHORTER, VALARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11018          NACHAWATI LAW GROUP

SHORTRIDGE, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04737           THE MILLER FIRM, LLC

SHORTT, VICKI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11297          SIMMONS HANLY CONROY

SHOTTER, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00915           ROSS FELLER CASEY, LLP

SHOUP, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03354          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SHOVAN, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10724           THE MILLER FIRM, LLC

SHOVER, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07419          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHOWERS, SUNDAYE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05812          ONDERLAW, LLC

SHPUR, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18447          ONDERLAW, LLC

SHRABLE, RAMONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07559          ASHCRAFT & GEREL, LLP

SHRABLE, RAMONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07559          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHRADER, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16569          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SHREFFLER, ZOE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01074          THE BENTON LAW FIRM, PLLC



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SHRELL, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15358          JOHNSON LAW GROUP

SHREVE, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20207          GORI JULIAN & ASSOCIATES, P.C.

SHRIFT, GWEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15731          ONDERLAW, LLC

SHRINER, DAROTHEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14629          JOHNSON LAW GROUP

SHRIVER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08169          VAUGHAN LAW FIRM PC

SHROCK, CHEREE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12756          ROSS FELLER CASEY, LLP

SHRODES, CATHERINE               GA - STATE COURT OF COBB COUNTY               19-A-4350              BARNES LAW GROUP, LLC

SHRODES, CATHERINE               GA - STATE COURT OF COBB COUNTY               19-A-4350              CHEELEY LAW GROUP

SHROPSHIRE, PEGGY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09948          GORI JULIAN & ASSOCIATES, P.C.

SHROYER, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09093           ONDERLAW, LLC

SHUFORD, MASHELL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07616          DRISCOLL FIRM, P.C.

SHUGART, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14292          TAUTFEST BOND

SHUGERT, DAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20672          GORI JULIAN & ASSOCIATES, P.C.

SHUKRI, CLARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10681          NACHAWATI LAW GROUP

SHULAR, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10655          GOLOMB SPIRT GRUNFELD PC

SHULER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14729          LENZE LAWYERS, PLC

SHULER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14729          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SHULER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04881          ONDERLAW, LLC

SHULER, VICKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12819          THE MILLER FIRM, LLC

SHULL, DONNA                     DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02740          ASHCRAFT & GEREL, LLP

SHULL, DONNA                     DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02740          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHULL, JANE MATHIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12330          FRAZER LAW LLC

SHULL, KIMERI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14963          THE SEGAL LAW FIRM

SHULL, LEE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16867          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHULUND, SUZAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12459          ONDERLAW, LLC

SHUMAILA RANI                    FEDERAL - MDL                                3:21-CV-19655           JOHNSON BECKER, PLLC

SHUMAKE, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08151          NAPOLI SHKOLNIK, PLLC

SHUMAN, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02081          FLETCHER V. TRAMMELL

SHUMAN, FRANCINE L.              NY - SUPREME COURT - NYCAL                   190115/20               WEITZ & LUXENBERG

SHUMAN, MARION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11851          NACHAWATI LAW GROUP

SHUMAN, POLLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18389          ONDERLAW, LLC

SHUMAN, TRACEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02270           MOTLEY RICE, LLC

SHUMPERT, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10790          BURNS CHAREST LLP

SHUMPERT, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10790          BURNS CHAREST LLP



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SHUMSKY, NIKKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04931          FLETCHER V. TRAMMELL

SHUPE, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10526          THE MILLER FIRM, LLC

SHUPE, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04912           ONDERLAW, LLC

SHUPE, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16114          JOHNSON LAW GROUP

SHUPP, VELMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02242          BURNS CHAREST LLP

SHUPP, VELMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02242          BURNS CHAREST LLP

SHURHONDA BARNES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18598          ONDERLAW, LLC

SHURY, YVONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00903           ARNOLD & ITKIN LLP

SHUSTER, DOREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07423          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SHUTE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19082          MOTLEY RICE, LLC

SHY-COLLINS, JOELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10806           NACHAWATI LAW GROUP

SIBLEY, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01964          ASHCRAFT & GEREL

SIBLEY, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01964          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SICKLES, SHANNON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12535          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIDDEN, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15915          ASHCRAFT & GEREL, LLP

SIDDEN, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15915          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIDDIQ, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19356          NACHAWATI LAW GROUP

SIDDIQ, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05230          ONDERLAW, LLC

SIDDIQUI, SHAMEEM                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08198          ONDERLAW, LLC

SIDDIQUI, YASMIN                  CA - SUPERIOR COURT - SAN BENITO             BC687844                SIMMONS HANLY CONROY

SIDECO, TERESITA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003149-21         NAPOLI SHKOLNIK, PLLC

SIDERS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10357          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIDES, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18483          NACHAWATI LAW GROUP

SIDHU, DANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03577           ARNOLD & ITKIN LLP

SIDONIS, BYLLYE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01999          ONDERLAW, LLC

SIDORICK, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10113          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIDRANSKY, LISA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIDRANSKY, LISA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

SIDRANSKY, LISA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

SIDRANSKY, LISA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

SIDRANSKY, LISA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

SIDROW-WOLFSON, BARBARA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19822           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SIEBER, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08859           ASHCRAFT & GEREL

SIECKMAN, KARL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03003          THE MICHAEL BRADY LYNCH FIRM



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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SIEG, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11005          NACHAWATI LAW GROUP

SIEGAL, ELAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06579          ROSS FELLER CASEY, LLP

SIEGELBAUM, MARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19567          ONDERLAW, LLC

SIEGMUND, BRANDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15119           ARNOLD & ITKIN LLP

SIEKIERZYNSKI, MARILYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14683          JOHNSON LAW GROUP

SIELOFF, VERA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12337           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SIEMEN, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09603           MOTLEY RICE, LLC

SIEMON, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09004           THE MILLER FIRM, LLC

SIERRA, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05168          BLIZZARD & NABERS, LLP

SIERRA, DENNITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08352           FLETCHER V. TRAMMELL

SIERRA, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12898          HOVDE, DASSOW, & DEETS, LLC

SIERRA, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12898          THE MILLER FIRM, LLC

SIERRA, NATALIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18094          NACHAWATI LAW GROUP

SIERSDORFEW, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08548          DAVIS, BETHUNE & JONES, L.L.C.

SIFFORD, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06422          NACHAWATI LAW GROUP

SIFFORD, PANSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19385          NACHAWATI LAW GROUP

SIFUENTES, NORMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12652          BERNSTEIN LIEBHARD LLP

SIGALA, BARBARA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV306264             LEVIN SIMES LLP

SIGET, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11903           THE MILLER FIRM, LLC

SIGMAN, CAROLINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08522          THE SEGAL LAW FIRM

SIGNORINI, KRENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02066          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

SIGNORINO, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03132          ONDERLAW, LLC

SIHOTA, HARINDER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19192          CELLINO & BARNES, P.C.

SIKORA, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13438           WATERS & KRAUS, LLP

SILAY, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18717          FLETCHER V. TRAMMELL

SILBER, JOYCE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002380-20         GOLOMB & HONIK, P.C.

SILBERMAN, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04013           RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

SILBY, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09358          ONDERLAW, LLC

SILCOTT, EDNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18099          NACHAWATI LAW GROUP

SILCOX, DOLORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10998          DAVIS, BETHUNE & JONES, L.L.C.

SILCOX, LINNEA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06117          ONDERLAW, LLC

SILER, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12192           FLETCHER V. TRAMMELL

SILER, PAULINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SILER, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08051          THE MILLER FIRM, LLC



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               Claimant Name                           State Filed                   Docket Number                                      Plaintiff Counsel
                                     PA - PHILADELPHIA COUNTY COURT OF COMMON
SILER, TAMMY                                                                  210901303                      THE MILLER FIRM, LLC
                                     PLEAS
SILK, CATHERINE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY    ATL-L-2594-17                  THE MILLER FIRM, LLC

SILLIN, HELEN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-13017            MORELLI LAW FIRM, PLLC

SILLITO, PHYLLIS                     NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-001610-21           GOLOMB & HONIK, P.C.

SILLIVEN, LETICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:19-CV-18592            DONALD L. SCHLAPPRIZZI P.C.

SILLIVEN, LETICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-09879            FLETCHER V. TRAMMELL

SILLIVEN, LETICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18592             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SILLIVEN, LETICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10875             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SILLS, RACHEL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-08607            ONDERLAW, LLC

SILMON, ANTIONETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-06294            ONDERLAW, LLC

SILPATH, KIMBERLY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY         L00239519                 SANDERS PHILLIPS GROSSMAN, LLC

SILVA, ANDROMEDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:20-CV-13071            FLETCHER V. TRAMMELL

SILVA, KAMALA                        CA - SUPERIOR COURT - LOS ANGELES COUNTY       BC635962                 ANDREW THORNTON HIGGINS RAZMARA LLP

SILVA, KAMALA                        CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC635962                  JOHNSON BECKER, PLLC

SILVA, KAMALA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-12449            JOHNSON BECKER, PLLC

SILVA, LARI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-02764            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SILVA, LORI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-11602            MORELLI LAW FIRM, PLLC

SILVA, MARIA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811              ONDERLAW, LLC

SILVA, MARIA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS         1522-CC00811             PORTER & MALOUF, PA

SILVA, MARIA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS         1522-CC00811             THE SMITH LAW FIRM, PLLC

SILVA, R EST M SILVA B SILVA & K SILVA RI - SUPERIOR COURT - PROVIDENCE COUNTY     PC-2018-9367              THE DEATON LAW FIRM

SILVA, RENEE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-03945            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SILVA, RENEE                         CA - SUPERIOR COURT - SAN JOAQUIN COUNTY      STK-CV-UPL-2017-0011581   ONDERLAW, LLC

SILVA, RENEE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-03945            ONDERLAW, LLC

SILVA, RENEE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-03945            PORTER & MALOUF, PA

SILVA, RENEE                         CA - SUPERIOR COURT - SAN JOAQUIN COUNTY      STK-CV-UPL-2017-0011581   SALKOW LAW, APC

SILVA, RENEE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-03945            THE SMITH LAW FIRM, PLLC

SILVA, RUTH                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-08417            ONDERLAW, LLC

SILVA, SANDRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-08600            BERNSTEIN LIEBHARD LLP

SILVA, SHELLIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:19-CV-20557            COHEN, PLACITELLA & ROTH

SILVA, TANYA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-17423            JOHNSON LAW GROUP

SILVER, CAROL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-07020            BARRETT LAW GROUP

SILVER, GAIL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:18-CV-01379            COHEN, PLACITELLA & ROTH

SILVER, JANICE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:17-CV-08578            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SILVER, LYDIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22088          ONDERLAW, LLC

SILVER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08903          ASHCRAFT & GEREL

SILVER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08903          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
SILVERMAN, HARRIET & SILVERMAN,
                                  NY - SUPREME COURT - NYCAL                    190347/2018            WEITZ & LUXENBERG
KENNETH
SILVERMAN, MARION                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07966          ONDERLAW, LLC

SILVERMAN, NENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19453          NACHAWATI LAW GROUP

SILVERMAN, SALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08422          HENINGER GARRISON DAVIS, LLC

SILVERMAN, WENDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12251          MOTLEY RICE, LLC

SILVERS, LONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12140          ARNOLD & ITKIN LLP

SILVERS, LUCRETIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002381-20         GOLOMB & HONIK, P.C.

SILVERSHER, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15150           CELLINO & BARNES, P.C.

SILVERTHORN, MARYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14224          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SILVES, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04089          ONDERLAW, LLC

SILVEY, DOROTHY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003071-18         ASHCRAFT & GEREL

SILVEY, DOROTHY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003071-18         GOLOMB SPIRT GRUNFELD PC

SILVIA, MICHAELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06937           ONDERLAW, LLC

SILVIA, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18832          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SILVIO, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20312          ONDERLAW, LLC

SILZA, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18115          NACHAWATI LAW GROUP

SIMANS, SANDRA                    BRITISH COLUMBIA (VANCOUVER)                  VLC-S-S-230680         PRESZLER LAW FIRM LLP

SIMANSKIS, CLYDEAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10162          GOLOMB SPIRT GRUNFELD PC

SIMAS, JULIETA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04822          ONDERLAW, LLC

SIMCOCK, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04935          ASHCRAFT & GEREL, LLP

SIMCOCK, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      03:21-CV-04935         ASHCRAFT & GEREL, LLP

SIMENTAL, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15714          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMEONE, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05872          ROSS FELLER CASEY, LLP

SIMKOVIC, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11573           MORGAN & MORGAN

SIMMONDS, JO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06805          ONDERLAW, LLC

SIMMONS, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16210          THE WEINBERG LAW FIRM

SIMMONS, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04010           THE SEGAL LAW FIRM

SIMMONS, ANNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05925          NAPOLI SHKOLNIK, PLLC

SIMMONS, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05892           ASHCRAFT & GEREL




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           Claimant Name                        State Filed                         Docket Number                             Plaintiff Counsel

SIMMONS, AUDREY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05892           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMMONS, AUDREY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15704            NACHAWATI LAW GROUP

SIMMONS, BOBBIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00194           MORELLI LAW FIRM, PLLC

SIMMONS, BRANDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17403           ONDERLAW, LLC

SIMMONS, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00684           BURNS CHAREST LLP

SIMMONS, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00684           BURNS CHAREST LLP

SIMMONS, CARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791           JACOBS OHARA MCMULLEN , P.C.

SIMMONS, CARRIE               CA - SUPERIOR COURT - SHASTA COUNTY          188587                   ONDERLAW, LLC

SIMMONS, CARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791           ONDERLAW, LLC

SIMMONS, CARRIE               CA - SUPERIOR COURT - SHASTA COUNTY          188587                   SALKOW LAW, APC

SIMMONS, CARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791           THE POTTS LAW FIRM, LLP

SIMMONS, CARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791           ZEVAN DAVIDSON ROMAN LLC

SIMMONS, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02270           ONDERLAW, LLC

SIMMONS, ELIZABETH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02695           ONDERLAW, LLC

SIMMONS, EMMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12397           THE DIAZ LAW FIRM, PLLC

SIMMONS, EVONYA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003034-20          GOLOMB & HONIK, P.C.

SIMMONS, FELECIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11076           NACHAWATI LAW GROUP

SIMMONS, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04800           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

SIMMONS, JACQUELINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09490            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMMONS, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16931           ONDERLAW, LLC

SIMMONS, LAKESHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06818           ONDERLAW, LLC

SIMMONS, LANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15337           WAGSTAFF & CARTMELL, LLP

SIMMONS, LATISHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08643           DAVIS, BETHUNE & JONES, L.L.C.

SIMMONS, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08227            THE DUGAN LAW FIRM, APLC

SIMMONS, LORRAINE             CA - SUPERIOR COURT - MERCED COUNTY           17CV-02623              THE DUGAN LAW FIRM

SIMMONS, MARGIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17435           JOHNSON LAW GROUP

SIMMONS, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03601           THE MILLER FIRM, LLC

SIMMONS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20248           DAVIS, BETHUNE & JONES, L.L.C.

SIMMONS, MILDRED              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15861           CHAFFIN LUHANA LLP

SIMMONS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07424           HEYGOOD, ORR & PEARSON

SIMMONS, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05923           NAPOLI SHKOLNIK, PLLC

SIMMONS, SHELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12671            NAPOLI SHKOLNIK, PLLC




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               Claimant Name                           State Filed                        Docket Number                             Plaintiff Counsel

SIMMONS, SHERNIKKA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002520-21         WEITZ & LUXENBERG

SIMMONS, SINISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02949          ONDERLAW, LLC

SIMMONS, SOPHIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04775          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMMONS, SYMONE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01179          HEYGOOD, ORR & PEARSON

SIMMONS, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17939          KIESEL LAW, LLP

SIMMONS, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17939          LAW OFFICE OF HAYTHAM FARAJ

SIMMONS, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17939          MARTINIAN & ASSOCIATES, INC.

SIMMONS, TERICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15220          DRISCOLL FIRM, P.C.

SIMMONS, TRACY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20159          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMMONS, WYNETTE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08901           MOTLEY RICE, LLC

SIMMONS-GILLESPIE, ALICIA            NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-472-15           SEEGER WEISS LLP

SIMMONS-KENDALE, LYNORA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00313          THE MILLER FIRM, LLC

SIMMS, JANET                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02830          ONDERLAW, LLC

SIMMS, MADELYN                       CA - SUPERIOR COURT - MADERA COUNTY          MCV076620               ASHCRAFT & GEREL

SIMMS, MADELYN                       CA - SUPERIOR COURT - MADERA COUNTY          MCV076620               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SIMMS, PAMULA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16963          THE MILLER FIRM, LLC

SIMMS, SABRINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20246          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMMS, SHARON                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12076          MORELLI LAW FIRM, PLLC

SIMMS, WANDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05966          ONDERLAW, LLC

SIMON GIBBS                          IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SIMON, BARBARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02727          MOTLEY RICE, LLC

SIMON, DANIELLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22047           DRISCOLL FIRM, P.C.

SIMON, HEIDI                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12228          MOTLEY RICE, LLC

SIMON, JOLENE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01790          ASHCRAFT & GEREL

SIMON, JOLENE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMON, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07566          ONDERLAW, LLC

SIMON, PEGGY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00555          JOHNSON BECKER, PLLC

SIMON, SANDRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09796          NACHAWATI LAW GROUP

SIMON, SELESIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16975          ONDERLAW, LLC

SIMON, SUSAN & EST OF DANIEL SIMON   NY - SUPREME COURT - NYCAL                   190252/2017             MEIROWITZ & WASSERBERG, LLP

SIMONDS, LUCILLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12411          THE DIAZ LAW FIRM, PLLC

SIMONE, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18308          DAVIS, BETHUNE & JONES, L.L.C.

SIMONE, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10033           TRAMMELL PC

SIMONETI, STYLIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00805           ROSS FELLER CASEY, LLP



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SIMONETTI, DOROTHY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06587          ONDERLAW, LLC

SIMONS, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04431          FLETCHER V. TRAMMELL

SIMON-SCHWARTZ, PAMELA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16440          SEEGER WEISS LLP

SIMONSON, JOANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08767           FLETCHER V. TRAMMELL

SIMONSON, JOANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09100          ONDERLAW, LLC

SIMONTON, NIKKI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08064          FLETCHER V. TRAMMELL

SIMPKINS, SUZANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20548          MOTLEY RICE, LLC

SIMPSOM, THERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3"21-CV-17546          WEITZ & LUXENBERG

SIMPSON, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07473          HURLEY MCKENNA & MERTZ

SIMPSON, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19899          ONDERLAW, LLC

SIMPSON, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18781          CELLINO & BARNES, P.C.

SIMPSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17425          ALLEN & NOLTE PLLC

SIMPSON, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05573           ONDERLAW, LLC

SIMPSON, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01546          ASHCRAFT & GEREL

SIMPSON, DIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17454          ONDERLAW, LLC

SIMPSON, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13054          ONDERLAW, LLC

SIMPSON, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11382          NACHAWATI LAW GROUP

SIMPSON, GINGER               IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SIMPSON, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09249          JOHNSON LAW GROUP

SIMPSON, JANET                CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328942              THE MILLER FIRM, LLC

SIMPSON, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SIMPSON, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15709          LENZE LAWYERS, PLC

SIMPSON, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SIMPSON, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15709           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SIMPSON, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SIMPSON, MARIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMPSON, MARIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            ONDERLAW, LLC

SIMPSON, MARIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           PORTER & MALOUF, PA

SIMPSON, MARIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           THE SMITH LAW FIRM, PLLC

SIMPSON, MARILYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05109           ONDERLAW, LLC

SIMPSON, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18520          NAPOLI SHKOLNIK, PLLC

SIMPSON, NARDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11876           THE MILLER FIRM, LLC

SIMPSON, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05113          ONDERLAW, LLC

SIMPSON, SHEILA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08353           ONDERLAW, LLC



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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SIMPSON, SHELLENIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17040           ONDERLAW, LLC

SIMPSON, STACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09591          NACHAWATI LAW GROUP

SIMPSON, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19428          TORHOERMAN LAW LLC

SIMPSON, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16572          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SIMPSON, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17546          WEITZ & LUXENBERG

SIMPSON, TONYA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002949-15         SEEGER WEISS LLP

SIMPSON, TYSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18435          ONDERLAW, LLC

SIMPSON-MULLINGS, MARGARET        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19109          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMS, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15755          GIRARDI & KEESE

SIMS, CECILY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18646          ONDERLAW, LLC

SIMS, CHANTEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15413          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SIMS, CONNIE                      NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-003923-20AS      LEVY KONIGSBERG LLP

SIMS, CONNIE                      NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-003923-20AS      MAUNE RAICHLE HARTLEY FRENCH & MUDD

SIMS, DARLAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13541          THE WHITEHEAD LAW FIRM, LLC

SIMS, DAWN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14803          LENZE LAWYERS, PLC

SIMS, DAWN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06895          ONDERLAW, LLC

SIMS, DAWN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14803          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SIMS, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17857          ASHCRAFT & GEREL, LLP

SIMS, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17857          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIMS, EMMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14204          ANDRUS WAGSTAFF, P.C.

SIMS, GLORIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18814          THE SEGAL LAW FIRM

SIMS, GUADALUPE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09413          ONDERLAW, LLC

SIMS, JOYCE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07770          ONDERLAW, LLC

SIMS, KIM                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10919          NACHAWATI LAW GROUP

SIMS, LISA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13627           DAVIS, BETHUNE & JONES, L.L.C.

SIMS, LOLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01223          ONDERLAW, LLC

SIMS, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18148          NACHAWATI LAW GROUP

SIMS, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01583          ONDERLAW, LLC

SIMS, MAXINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10592          SULLO & SULLO, LLP

SIMS, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20053           NACHAWATI LAW GROUP

SIMS, MYRA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10936          ASHCRAFT & GEREL, LLP

SIMS, NANCY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-475-15            SEEGER WEISS LLP

SIMS, ORALEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.




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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SIMS, ORALEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15473          LENZE LAWYERS, PLC

SIMS, ORALEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SIMS, ORALEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15473          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SIMS, ORALEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SIMS, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17636          ONDERLAW, LLC

SIMS, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:12-CV-17636          ONDERLAW, LLC

SIMS, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08782          ONDERLAW, LLC

SIMS, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20690          GORI JULIAN & ASSOCIATES, P.C.

SIMS, VICKIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10971          NACHAWATI LAW GROUP

SIMS-HARDEN, JESSICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10797          NACHAWATI LAW GROUP

SIMSON, LODONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18156           NACHAWATI LAW GROUP

SINCLAIR, DELOISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08157          CAMPBELL & ASSOCIATES

SINCLAIR, DELOISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08157          FRAZER LAW LLC

SINCLAIR, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16062          ASHCRAFT & GEREL, LLP

SINCLAIR, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16062          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SINCLAIR, RAVEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13699          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SINCOFF, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14497          THE MILLER FIRM, LLC

SINDY ALEGANDRA-DOMINGUEZ         IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

SINDY GONZALES                    FEDERAL - MDL                                 3:21-CV-19680          JOHNSON BECKER, PLLC

SINE, NORMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03389          ONDERLAW, LLC

SING, LANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-04878           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SINGELAIS, MICHELE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09212          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SINGER, AMY                       CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC696724               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SINGER, AMY                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC696724                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SINGER, AMY                       CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC696724                THE SMITH LAW FIRM, PLLC

SINGER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06483          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SINGER, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19056          NACHAWATI LAW GROUP

SINGER, MARCI                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2719-17           GOLOMB SPIRT GRUNFELD PC

SINGER, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20230          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SINGH, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08368           DALIMONTE RUEB, LLP

SINGH, EVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11806          GOLDENBERGLAW, PLLC

SINGH, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11319           DALIMONTE RUEB, LLP

SINGH, KUMARI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08834          ONDERLAW, LLC




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                Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SINGH, RAJ                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19470          ASHCRAFT & GEREL, LLP

SINGH, RAJ                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19470          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SINGH, SARDAMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10739          ONDERLAW, LLC

SINGH, SAVITRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05421          MORGAN & MORGAN

SINGLE, MICHELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15781           THE MILLER FIRM, LLC

SINGLE, SUSAN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1876-16           GOLOMB SPIRT GRUNFELD PC

SINGLETARY, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14402          ONDERLAW, LLC

SINGLETARY, ROSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18333          JOHNSON LAW GROUP

SINGLETON, ALBERTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16539          NACHAWATI LAW GROUP

SINGLETON, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02601          TORHOERMAN LAW LLC

SINGLETON, CHUNESE IVORY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19750          NACHAWATI LAW GROUP

SINGLETON, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15298          SULLO & SULLO, LLP

SINGLETON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09040          COHEN & MALAD, LLP

SINGLETON, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19695          NACHAWATI LAW GROUP

SINGLETON, TAUNI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15832          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SINGLETON-GABOIAN, LINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15911          THE BENTON LAW FIRM, PLLC

SINGLEY, TOMACHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12061          NACHAWATI LAW GROUP

SINIBALDI, BERNADETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11495           CELLINO & BARNES, P.C.

SINISCAL, MADELENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12669          DRISCOLL FIRM, P.C.

SINISCALCHI, MARYANN               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2720-17           GOLOMB SPIRT GRUNFELD PC

SINISH, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09488          GORI JULIAN & ASSOCIATES, P.C.

SINISI, DORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06031          ONDERLAW, LLC

SINK, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08034          ONDERLAW, LLC

SINKEWITZ, MISTY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001037-18         MORELLI LAW FIRM, PLLC

SINKOVEC, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11309          ASHCRAFT & GEREL

SINNETT, LADONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10885           NACHAWATI LAW GROUP

SINOPOLI, SHERI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21945          JOHNSON LAW GROUP

SIPE, STACY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12302          ONDERLAW, LLC

SIPES, DAEOSIONAE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17404          ONDERLAW, LLC

SIPPLE, ALICE                      DE - SUPERIOR COURT - NEW CASTLE COUNTY      N17C-07-136             NAPOLI SHKOLNIK, PLLC

SIRA, EMILY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14588          JOHNSON LAW GROUP

SIRES, VIRGINIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17460          THE MILLER FIRM, LLC

SIRIANNI, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18916          CELLINO & BARNES, P.C.

SIRIANNO, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09243          CELLINO & BARNES, P.C.



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SIRISOPHON, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20241          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SIRKER, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19617          BISNAR AND CHASE

SIRMAN, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04779          GORI JULIAN & ASSOCIATES, P.C.

SIRONEN, MARY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002144-20         GOLOMB & HONIK, P.C.

SIRRIDGE, JOANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15138           ASHCRAFT & GEREL

SIRRIDGE, JOANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15138           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIRUP, KIMBERLY MARGARET          BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230681          PRESZLER LAW FIRM LLP

SISEMORE, VADA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21435          SIMMONS HANLY CONROY

SISI, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21843          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SISK, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08572          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SISK, SHANNON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18163          NACHAWATI LAW GROUP

SISKO, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01643           ROSS FELLER CASEY, LLP

SISNEROZ, ROSIE                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SISSAC, VILMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-09524          MICHAEL HINGLE & ASSOCIATES, LLC

SISSINE, GRACIELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SISSINE, GRACIELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

SISSINE, GRACIELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

SISSINE, GRACIELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

SISTRUNK, IRIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06893          ASHCRAFT & GEREL, LLP

SITAL, EMILY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09703          ROSS FELLER CASEY, LLP

SITLER, ANDREA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07466          ONDERLAW, LLC

SIX, ROBIN                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003314-21         WEITZ & LUXENBERG

SIZEMORE, CARMEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05889          ASHCRAFT & GEREL

SIZEMORE, CARMEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05889          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIZEMORE, DONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002602-20         GOLOMB & HONIK, P.C.

SIZEMORE, GLENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02792           ONDERLAW, LLC

SIZEMORE, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10670          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SIZEMORE, JOAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

SIZEMORE, JOAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

SIZEMORE, JOAN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

SIZEMORE, MARCELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06287          MOTLEY RICE, LLC

SIZEMORE, MONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13025           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SIZEMORE, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11326          HART MCLAUGHLIN & ELDRIDGE

SKAFF, KIRSTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08380          JOHNSON LAW GROUP

SKAGGS, NICKIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04687          JOHNSON LAW GROUP

SKAGGS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17186          ONDERLAW, LLC

SKALA, KATHY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SKALA, KATHY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            ONDERLAW, LLC

SKALA, KATHY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           PORTER & MALOUF, PA

SKALA, KATHY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           THE SMITH LAW FIRM, PLLC

SKALA, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04992          ONDERLAW, LLC

SKALLA, PATTI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11033          ONDERLAW, LLC

SKEHAN, JAMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18169          WATERS & KRAUS, LLP

SKEIE, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11406          NACHAWATI LAW GROUP

SKELF, SHAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00356          ONDERLAW, LLC

SKELLY, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17708           NAPOLI SHKOLNIK, PLLC

SKELTON, BESSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10543          LIAKOS LAW APC

SKELTON, ELEANOR               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09399          FLETCHER V. TRAMMELL

SKELTON, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14024          DAVIS, BETHUNE & JONES, L.L.C.

SKENANDORE, CHRISTINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10775          THE MILLER FIRM, LLC

SKERMAN, ANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18725          MOTLEY RICE, LLC

SKESTONE, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02148          ONDERLAW, LLC

SKIDMORE, SALLY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002145-20         GOLOMB & HONIK, P.C.

SKILES, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01402          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SKILLINGS, DORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09761          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SKINNER, CATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14904          WEXLER WALLACE LLP

SKINNER, CRYSTAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14762           ONDERLAW, LLC

SKINNER, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SKINNER, DEBRA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318720             KIESEL LAW, LLP

SKINNER, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          ONDERLAW, LLC

SKINNER, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          PORTER & MALOUF, PA

SKINNER, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          THE SMITH LAW FIRM, PLLC

SKINNER, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04093          ONDERLAW, LLC

SKINNER, LUCILLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10758           CELLINO & BARNES, P.C.

SKINNER, WINONA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22064          CELLINO & BARNES, P.C.




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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SKIPPER, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04743          JOHNSON LAW GROUP

SKIPPER, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04743          LEVIN SIMES LLP

SKIPPER, REBA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SKIPPER, REBA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SKIPPER, REBA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10511          NACHAWATI LAW GROUP

SKIPPER, REBA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SKIPPER, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11794          NACHAWATI LAW GROUP

SKIPPER, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12524          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SKIPWITH, ALANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13110          NACHAWATI LAW GROUP

SKIPWITH, CHYU                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22089          ONDERLAW, LLC

SKOFF, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01583           ONDERLAW, LLC

SKOGERBOE, JACCI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02651          ONDERLAW, LLC

SKOGERBOE, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03513          THE DIAZ LAW FIRM, PLLC

SKOGMAN, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03366           NAPOLI SHKOLNIK, PLLC

SKOLASKI, DEBORAH                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002193-20         GOLOMB & HONIK, P.C.

SKOMP, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13188          DIAMOND LAW

SKONORD, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07571          HABUSH HABUSH & ROTTIER SC

SKORACZEWSKI, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17233           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SKORUPA, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12339          SAUNDERS & WALKER, P.A.

SKORUPSKI, DEBRA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002626-21         GOLOMB & HONIK, P.C.

SKOUTELAS, VASILIKI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00087          CELLINO & BARNES, P.C.

SKOWEN, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14729          ONDERLAW, LLC

SKOWRON, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11839          NACHAWATI LAW GROUP

SKRAASTAD, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10044          SANDERS VIENER GROSSMAN, LLP

SKULNIK, SYDELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09631          ASHCRAFT & GEREL

SKUPIEN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14918          ARNOLD & ITKIN LLP

SKURSKY, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12451          NAPOLI SHKOLNIK, PLLC

SLACK, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03983          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLACK, KAYSHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SLACK, KAYSHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           LENZE LAWYERS, PLC

SLACK, KAYSHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SLACK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10707          WALTON TELKEN FOSTER, LLC

SLADE, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18721          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLADE, LELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18448          ONDERLAW, LLC



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SLADE, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11984          FLETCHER V. TRAMMELL

SLADE, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08707          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLAGLE, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21766          HOLLAND LAW FIRM

SLAGLE, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02581          THE SEGAL LAW FIRM

SLAGLE, SONIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07191          ONDERLAW, LLC

SLAGLE, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLAMA, LORAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08392          ONDERLAW, LLC

SLAMES, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07579          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLAMPA, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07676          THE LAW OFFICES OF PETER G. ANGELOS

SLANE, MADGE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16620          ASHCRAFT & GEREL

SLANE, MADGE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16620          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLANEY, STEPHANI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18173           NACHAWATI LAW GROUP

SLANKARD, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05456          ONDERLAW, LLC

SLAPIN, JANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13386          NACHAWATI LAW GROUP

SLATE, DEBRA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002382-20         GOLOMB & HONIK, P.C.

SLATER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00312          CELLINO & BARNES, P.C.

SLATER, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09486          GORI JULIAN & ASSOCIATES, P.C.

SLATER, SANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16130           WILLIAMS HART LAW FIRM

SLATER, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11500          THE MILLER FIRM, LLC

SLAUGHTER, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18014           THE MILLER FIRM, LLC

SLAUGHTER, FANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13823          SULLO & SULLO, LLP

SLAUGHTER, NELSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09466          ONDERLAW, LLC

SLAUGHTER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03769          ASHCRAFT & GEREL, LLP

SLAUGHTER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03769          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLAVIN, ELYSE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14228          MOTLEY RICE, LLC

SLAVIN, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14298          ASHCRAFT & GEREL, LLP

SLAVIN, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14298          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLAVIN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16625          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SLAWSON, ROSEMARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07715          ASHCRAFT & GEREL

SLAWSON, ROSEMARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07715          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLAY, BONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09927          ONDERLAW, LLC

SLAYDEN, RENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07315          GORI JULIAN & ASSOCIATES, P.C.

SLAYDEN, RENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07315          PRATT & TOBIN, P.C.




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SLAYTON, ROSEMARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13070          THE MILLER FIRM, LLC

SLAYTON, SARAH                    CA - SUPERIOR COURT - LOS ANGELES COUNTY      19STCV39454            LENZE LAWYERS, PLC

SLAZYK, CATHY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLAZYK, CATHY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

SLAZYK, CATHY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

SLAZYK, CATHY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

SLAZYK, CATHY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

SLEDGE, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00883          ONDERLAW, LLC

SLEDGE, LILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19732          ARNOLD & ITKIN LLP

SLEETER, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11380          POTTS LAW FIRM

SLEIK-LINDAHL, SALLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12049           HABUSH HABUSH & ROTTIER SC

SLEMP, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20493          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLINGERLAND, MAKIKO               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05137           ROSS FELLER CASEY, LLP

SLOAN, BURNADELL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18381          NACHAWATI LAW GROUP

SLOAN, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01072          ASHCRAFT & GEREL, LLP

SLOAN, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20482          ONDERLAW, LLC

SLOAN, DARCIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02888          ONDERLAW, LLC

SLOAN, EDNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08709          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLOAN, EDNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15068          BURNS CHAREST LLP

SLOAN, KRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18068           DALIMONTE RUEB, LLP

SLOAN, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18377          NACHAWATI LAW GROUP

SLOAN, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10713          ONDERLAW, LLC

SLOAN, VERONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11873          ROSS FELLER CASEY, LLP

SLOANE, MINDY (MELINDA)           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02982           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLOBE, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15032          CELLINO & BARNES, P.C.

SLOCUM, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14105          FLETCHER V. TRAMMELL

SLOCUM, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08096          JOHNSON BECKER, PLLC

SLOGGIE, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04814          ONDERLAW, LLC

SLOMICZ, BARBARA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002            ONDERLAW, LLC

SLOMOVIC, LORRAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09870           ONDERLAW, LLC

SLONE, JENNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08810          ONDERLAW, LLC

SLONE, TESSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05593          ONDERLAW, LLC

SLOPER, LISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLOPER, LISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SLOPER, LISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

SLOPER, LISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

SLOPER, LISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           THE SMITH LAW FIRM, PLLC

SLOTTE, SOPHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06466          ONDERLAW, LLC

SLOWEY, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08712          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SLUCHER, BETTY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002566-20         GOLOMB & HONIK, P.C.

SLUIS, SONYA VER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11525          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SLUSHER, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11632          BRUERA LAW FIRM PLLC

SLUSSER, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09387          JOHNSON LAW GROUP

SLUSSER, MARJORIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14244          JOHNSON LAW GROUP

SLUTSKY, BETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10751          ONDERLAW, LLC

SLUTZKIN, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19035          SALTZ MONGELUZZI & BENDESKY PC

SLYCORD, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SLYCORD, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14944          LENZE LAWYERS, PLC

SLYCORD, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SLYCORD, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14944          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SLYCORD, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMAAGAARD, KIM                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01144          THE DUGAN LAW FIRM, APLC

SMALL, ARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10470          ARNOLD & ITKIN LLP

SMALL, DARLINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06256          ONDERLAW, LLC

SMALL, EDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16457          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMALL, GLADIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11090          NACHAWATI LAW GROUP

SMALL, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02775          THE MILLER FIRM, LLC

SMALL, TERRICETA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01700          DALIMONTE RUEB, LLP

SMALL, VERNETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09524          NACHAWATI LAW GROUP

SMALL, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06288          ONDERLAW, LLC

SMALLEY, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11151           NACHAWATI LAW GROUP

SMALLEY, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08717          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMALLS, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09871          ONDERLAW, LLC

SMALLWOOD, BEVERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02740          DALIMONTE RUEB, LLP

SMALLWOOD, IMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12683          ARNOLD & ITKIN LLP

SMARDO, KERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15384          POTTS LAW FIRM

SMARR, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15877          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC




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               Claimant Name                          State Filed                       Docket Number                              Plaintiff Counsel

SMARRA, ROSEMARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14485          BALZARINI & WATSON

SMART, ELSIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05760          NAPOLI SHKOLNIK, PLLC

SMART, FRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12312          ASHCRAFT & GEREL

SMART, FRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12312          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMART, LORI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07633          ASHCRAFT & GEREL, LLP

SMART, MELODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13128           THE MILLER FIRM, LLC

SMART, REBECCA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21059          BARON & BUDD, P.C.

SMART, ROSE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07863          WILLIAMS HART LAW FIRM

SMATHERS, TERRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18388          NACHAWATI LAW GROUP

SMEDLEY, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10909          PARKER WAICHMAN, LLP

SMEDLEY, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01372          ONDERLAW, LLC

SMEETON, GINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21168          ONDERLAW, LLC

SMELLEY, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19926           NACHAWATI LAW GROUP

SMELLIE, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11055           PARKER WAICHMAN, LLP

SMETACEK, RANJANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19754          NACHAWATI LAW GROUP

SMID, REGINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05648          ONDERLAW, LLC

SMIDDY, LESLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13925          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMIGEL, NAOMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04745          SIMMONS HANLY CONROY

SMIGIELSKI, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10676          NACHAWATI LAW GROUP

SMILEY, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13635          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMILEY, KRIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17664          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

SMILEY, RAMONA                     NY - SUPREME COURT - NYCAL                   190323/2019             MEIROWITZ & WASSERBERG, LLP
SMILEY, RAMONA & EST OF RONNIE J
                                   NY - SUPREME COURT - NYCAL                    190323/2019            MEIROWITZ & WASSERBERG, LLP
SMILEY
SMILEY, SALLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08764          ONDERLAW, LLC

SMILEY, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15502           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SMILEY, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16305          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH (MO), ANN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

SMITH (MO), ANN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

SMITH (MO), ANN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

SMITH (MO), ANN                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

SMITH, ADELLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14503          ONDERLAW, LLC

SMITH, ADRIENNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13107          NACHAWATI LAW GROUP

SMITH, ALEISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, ALEISA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SMITH, ALEISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11154           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

SMITH, ALEISA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

SMITH, ALEISA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

SMITH, ALEISA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

SMITH, ALFREDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11068          NACHAWATI LAW GROUP

SMITH, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16488          NACHAWATI LAW GROUP

SMITH, ALISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16663          ARNOLD & ITKIN LLP

SMITH, ALNITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06274          ONDERLAW, LLC

SMITH, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03729          MORELLI LAW FIRM, PLLC

SMITH, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07925          THE MILLER FIRM, LLC

SMITH, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12915           DRISCOLL FIRM, P.C.

SMITH, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17780          JOHNSON LAW GROUP

SMITH, AMYJON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00026          ASHCRAFT & GEREL

SMITH, AMYJON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00026          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10068          GORI JULIAN & ASSOCIATES, P.C.

SMITH, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06079          THE ENTREKIN LAW FIRM

SMITH, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SMITH, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SMITH, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMITH, ANNETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17637          ONDERLAW, LLC

SMITH, ARIEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22092          ONDERLAW, LLC

SMITH, ASHLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13485          THE MILLER FIRM, LLC
                                  SC - COURT OF COMMON PLEAS - RICHLAND
SMITH, AUDREY                                                                  2021CP4005478           MAUNE RAICHLE HARTLEY FRENCH & MUDD
                                  COUNTY
SMITH, AUDREY AND SMITH, STEVEN   IL - CIRCUIT COURT - MADISON COUNTY           20-L-1147              MAUNE RAICHLE HARTLEY FRENCH & MUDD

SMITH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05334          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01711          COHEN & MALAD, LLP

SMITH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10130          DALIMONTE RUEB, LLP

SMITH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01711          DELISE & HALL

SMITH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07622          DRISCOLL FIRM, P.C.

SMITH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15403          ONDERLAW, LLC

SMITH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21010          SEITHEL LAW LLC

SMITH, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02181          WILENTZ, GOLDMAN & SPITZER, P.A.

SMITH, BERNICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18501          ONDERLAW, LLC

SMITH, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00073          ASHCRAFT & GEREL



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            Claimant Name                         State Filed                       Docket Number                                 Plaintiff Counsel

SMITH, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13433             JOHNSON LAW GROUP

SMITH, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17136             LENZE KAMERRER MOSS, PLC

SMITH, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19404             NACHAWATI LAW GROUP

SMITH, BETTYE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07474             WILLIAMS HART LAW FIRM

SMITH, BEVERLEIGH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06800             THE SIMON LAW FIRM, PC

SMITH, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02945             ONDERLAW, LLC

SMITH, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01159             ONDERLAW, LLC

SMITH, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02655             ONDERLAW, LLC

SMITH, BRANDY                  CA - SUPERIOR COURT - LOS ANGELES COUNTY      30-2017-00963310-CU-PL-CXC ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMITH, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13562             ARNOLD & ITKIN LLP

SMITH, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17325             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, BRENDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, BRENDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545              GOLDENBERGLAW, PLLC

SMITH, BRENDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545               ONDERLAW, LLC

SMITH, BRENDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545              PORTER & MALOUF, PA

SMITH, BRENDA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545              THE SMITH LAW FIRM, PLLC

SMITH, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14273             THE WEBSTER LAW FIRM

SMITH, BRINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14043             LINVILLE LAW GROUP

SMITH, BRITTANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16499             GORI JULIAN & ASSOCIATES, P.C.

SMITH, BRITTANY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02842             ONDERLAW, LLC

SMITH, BRITTNEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05532             ONDERLAW, LLC

SMITH, BRITTNI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18231             ONDERLAW, LLC

SMITH, BUFFY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09790             NACHAWATI LAW GROUP

SMITH, CAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13667             ONDERLAW, LLC

SMITH, CANDICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08354             ONDERLAW, LLC

SMITH, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10313             ASHCRAFT & GEREL, LLP

SMITH, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03985             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10313             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19768             NACHAWATI LAW GROUP

SMITH, CAROLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10687             BACHUS & SCHANKER LLC

SMITH, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09802             ONDERLAW, LLC

SMITH, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05520             ONDERLAW, LLC

SMITH, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00914             THE SEGAL LAW FIRM




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SMITH, CARRIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

SMITH, CARRIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

SMITH, CARRIE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           THE SMITH LAW FIRM, PLLC

SMITH, CASSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11212          THE SIMON LAW FIRM, PC

SMITH, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17461           FLETCHER V. TRAMMELL

SMITH, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08418           SUMMERS & JOHNSON, P.C.

SMITH, CHARLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10999          GOLDENBERGLAW, PLLC

SMITH, CHARLOTTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12912           TRAMMELL PC

SMITH, CHERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03276          ONDERLAW, LLC

SMITH, CHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04664          ONDERLAW, LLC

SMITH, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07779          JOHNSON LAW GROUP

SMITH, CHLOE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19348          CELLINO & BARNES, P.C.

SMITH, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02563           ONDERLAW, LLC

SMITH, CHRISTINE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, CHRISTINE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

SMITH, CHRISTINE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

SMITH, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06683           ONDERLAW, LLC

SMITH, CHRISTINE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

SMITH, CHRISTINE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

SMITH, CINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11153          NACHAWATI LAW GROUP

SMITH, CLEMENTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03240          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

SMITH, COLLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03277          CHAFFIN LUHANA LLP

SMITH, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20377          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14787          LENZE KAMERRER MOSS, PLC

SMITH, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11531          MORGAN & MORGAN

SMITH, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02795          ONDERLAW, LLC

SMITH, CONNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14787          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMITH, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10314          ASHCRAFT & GEREL, LLP

SMITH, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10314          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14066          MOTLEY RICE, LLC

SMITH, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07654          SLACK & DAVIS LLP

SMITH, DANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09534          NACHAWATI LAW GROUP

SMITH, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03621          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SMITH, DAWN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07562          ASHCRAFT & GEREL, LLP

SMITH, DAWN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07562          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, DEANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10747          CATES MAHONEY, LLC

SMITH, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00094          ASHCRAFT & GEREL

SMITH, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00027          ASHCRAFT & GEREL

SMITH, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16060          ASHCRAFT & GEREL, LLP

SMITH, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16060          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00027          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, DEBORAH                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2309-L            DARCY JOHNSON DAY, P.C.

SMITH, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01622          ONDERLAW, LLC

SMITH, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17405          THE SEGAL LAW FIRM

SMITH, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13781          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08209          ONDERLAW, LLC

SMITH, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11860          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, DENICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03988          ONDERLAW, LLC

SMITH, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05349          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21060          CELLINO & BARNES, P.C.

SMITH, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18397          NACHAWATI LAW GROUP

SMITH, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08640          THE DUGAN LAW FIRM, APLC

SMITH, DESIREE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20705          ONDERLAW, LLC

SMITH, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07772          ONDERLAW, LLC

SMITH, DIANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06064          PARKER WAICHMAN, LLP

SMITH, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02976           FLETCHER V. TRAMMELL

SMITH, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08161           NAPOLI SHKOLNIK, PLLC

SMITH, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04227          ONDERLAW, LLC

SMITH, DINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06726          THE SIMON LAW FIRM, PC

SMITH, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08205          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12182          GOZA & HONNOLD, LLC

SMITH, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18512          JOHNSON LAW GROUP

SMITH, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17160          MORELLI LAW FIRM, PLLC

SMITH, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13541          THE MILLER FIRM, LLC

SMITH, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03515          THE DIAZ LAW FIRM, PLLC

SMITH, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10762          NACHAWATI LAW GROUP



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SMITH, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04638          ONDERLAW, LLC

SMITH, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15647          THE CUFFIE LAW FIRM

SMITH, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10938          THE MILLER FIRM, LLC

SMITH, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05541          THE MILLER FIRM, LLC

SMITH, EARNESTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19534          ASHCRAFT & GEREL, LLP

SMITH, EARNESTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19534          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01298          MOTLEY RICE, LLC

SMITH, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09639           ONDERLAW, LLC

SMITH, ELSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07335          COHEN, PLACITELLA & ROTH

SMITH, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19403          NACHAWATI LAW GROUP

SMITH, ESTA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10802          NACHAWATI LAW GROUP

SMITH, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12863          BURNS CHAREST LLP

SMITH, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12863          BURNS CHAREST LLP

SMITH, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12074          MORELLI LAW FIRM, PLLC

SMITH, EVELYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18499          NACHAWATI LAW GROUP

SMITH, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14139          JOHNSON LAW GROUP

SMITH, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13456          POTTS LAW FIRM

SMITH, FREDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12399          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, GERALDINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05757           NAPOLI SHKOLNIK, PLLC

SMITH, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15328          CAMPBELL & ASSOCIATES

SMITH, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13989          FITZGERALD LAW GROUP, LLC

SMITH, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15328          FRAZER PLC

SMITH, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01264          JOHNSON LAW GROUP

SMITH, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18400          NACHAWATI LAW GROUP

SMITH, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09072          ONDERLAW, LLC

SMITH, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10754          ONDERLAW, LLC

SMITH, GLORIA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318661              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMITH, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11999          ROSS FELLER CASEY, LLP

SMITH, GRACE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10770          NACHAWATI LAW GROUP

SMITH, GRATHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16519          HENINGER GARRISON DAVIS, LLC

SMITH, GREG                       IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SMITH, GWENDOLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09666          ASHCRAFT & GEREL

SMITH, GWENDOLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09666           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, GWENDOLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09584           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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                Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SMITH, GWENDOLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12861          BURNS CHAREST LLP

SMITH, HARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03987          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, HERMENIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19139          NACHAWATI LAW GROUP

SMITH, IDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18326          ONDERLAW, LLC

SMITH, INEZ                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13989          WATERS & KRAUS, LLP

SMITH, IRA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21818          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, IRIS                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05535          ONDERLAW, LLC

SMITH, IRMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00250          BURNS CHAREST LLP

SMITH, IRMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00250          BURNS CHAREST LLP

SMITH, IRMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18011          DALIMONTE RUEB, LLP

SMITH, JACQUALYN JOHNSON           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05621          MOTLEY RICE, LLC

SMITH, JACQUELINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08560           ONDERLAW, LLC

SMITH, JAMIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05752          NAPOLI SHKOLNIK, PLLC

SMITH, JAMIE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002680-21         WEITZ & LUXENBERG

SMITH, JANET                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, JANET                       FL - CIRCUIT COURT - BROWARD COUNTY           CACE-19-009180         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10363          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03668          FLETCHER V. TRAMMELL

SMITH, JANET                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

SMITH, JANET                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002502-20         GOLOMB & HONIK, P.C.

SMITH, JANET                       FL - CIRCUIT COURT - BROWARD COUNTY          CACE-19-009180          KELLEY UUSTAL, PLC

SMITH, JANET                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

SMITH, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01945          ONDERLAW, LLC

SMITH, JANET                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

SMITH, JANET                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16986          THE MILLER FIRM, LLC

SMITH, JANET                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

SMITH, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08221           HOLLAND LAW FIRM

SMITH, JEANNE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-311-16            ASHCRAFT & GEREL, LLP

SMITH, JEANNE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-311-16            GOLOMB SPIRT GRUNFELD PC

SMITH, JEANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10157          ONDERLAW, LLC

SMITH, JESSICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04295          ONDERLAW, LLC

SMITH, JESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04926          THE MILLER FIRM, LLC

SMITH, JILL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12909          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, JOAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18632           FLETCHER V. TRAMMELL



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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SMITH, JOAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09212          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMITH, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02364          DAVIS, BETHUNE & JONES, L.L.C.

SMITH, JOCELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09360          ONDERLAW, LLC

SMITH, JODIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11008           THE SEGAL LAW FIRM

SMITH, JOHANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14400           JOHNSON LAW GROUP

SMITH, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11122          GOLDENBERGLAW, PLLC

SMITH, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02161          ONDERLAW, LLC

SMITH, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15999           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMITH, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10267          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13607          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10851          NACHAWATI LAW GROUP

SMITH, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13141          JOHNSON LAW GROUP

SMITH, JUSTINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02559          ONDERLAW, LLC

SMITH, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10938          ASHCRAFT & GEREL, LLP

SMITH, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15291           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SMITH, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18991          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

SMITH, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02658          ONDERLAW, LLC

SMITH, KARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01802          ONDERLAW, LLC

SMITH, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07815          ASHCRAFT & GEREL

SMITH, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06666          THE SIMON LAW FIRM, PC

SMITH, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05250          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13841          ONDERLAW, LLC

SMITH, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11252          THE CARLSON LAW FIRM

SMITH, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04512          THE MILLER FIRM, LLC

SMITH, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11798          WILLIAMS HART LAW FIRM

SMITH, KELLI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SMITH, KELLI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SMITH, KELLI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09675          ONDERLAW, LLC

SMITH, KELLI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMITH, KESHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18298          WEITZ & LUXENBERG

SMITH, KIM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10534          NAPOLI SHKOLNIK, PLLC

SMITH, KIRK A.                    CA - SUPERIOR COURT - ALAMEDA COUNTY         RG21101490              MAUNE RAICHLE HARTLEY FRENCH & MUDD

SMITH, KRISTI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10862          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SMITH, LAKESIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03541          ONDERLAW, LLC

SMITH, LAQUANYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01615          TRAMMELL PC

SMITH, LARITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, LARITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

SMITH, LARITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

SMITH, LARITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

SMITH, LARITA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

SMITH, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02071          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, LAURETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05450          WILLIAMS HART LAW FIRM

SMITH, LAVONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18781          BARON & BUDD, P.C.

SMITH, LAWANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20179          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, LEANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08535          DAVIS, BETHUNE & JONES, L.L.C.

SMITH, LEE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18154          GORI JULIAN & ASSOCIATES, P.C.

SMITH, LEEANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12886          NAPOLI SHKOLNIK, PLLC

SMITH, LEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14252          ASHCRAFT & GEREL, LLP

SMITH, LEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14252          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, LELA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19114          NACHAWATI LAW GROUP

SMITH, LILLIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06971          ONDERLAW, LLC

SMITH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13930          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17043           CELLINO & BARNES, P.C.

SMITH, LINDA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1325-18           LEVY KONIGSBERG LLP

SMITH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18847          MORELLI LAW FIRM, PLLC

SMITH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13652          MORELLI LAW FIRM, PLLC

SMITH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11197          ONDERLAW, LLC

SMITH, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16477          THE MILLER FIRM, LLC

SMITH, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16908          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SMITH, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03979          ONDERLAW, LLC

SMITH, LONA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09347          ONDERLAW, LLC

SMITH, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17488          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03953          ONDERLAW, LLC

SMITH, LORRAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16144           BARON & BUDD, P.C.

SMITH, LUCY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11406           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SMITH, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11431          ASHCRAFT & GEREL

SMITH, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06277          ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SMITH, LYNNAM                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08516          DAVIS, BETHUNE & JONES, L.L.C.

SMITH, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05234           ONDERLAW, LLC

SMITH, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16621          THE MILLER FIRM, LLC

SMITH, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03689          ONDERLAW, LLC

SMITH, MARIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, MARIANNE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318723             KIESEL LAW, LLP

SMITH, MARIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          ONDERLAW, LLC

SMITH, MARIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          PORTER & MALOUF, PA

SMITH, MARIANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07924          THE SMITH LAW FIRM, PLLC

SMITH, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06600           ONDERLAW, LLC

SMITH, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09057          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15359          ONDERLAW, LLC

SMITH, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01152          THE DUGAN LAW FIRM, APLC

SMITH, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16452          THE WHITEHEAD LAW FIRM, LLC

SMITH, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12471          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11980          NACHAWATI LAW GROUP

SMITH, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18546          NACHAWATI LAW GROUP

SMITH, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06554          ONDERLAW, LLC

SMITH, MELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05614          WILLIAMS HART LAW FIRM

SMITH, MI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18547          NACHAWATI LAW GROUP

SMITH, MICHAELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17504          JOHNSON LAW GROUP

SMITH, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07563          ASHCRAFT & GEREL, LLP

SMITH, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07563          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, MISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10315          ASHCRAFT & GEREL, LLP

SMITH, MISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10315          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18398          NACHAWATI LAW GROUP

SMITH, MONIQUE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19927          NACHAWATI LAW GROUP

SMITH, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12474          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01592          ONDERLAW, LLC

SMITH, NICHOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10886          NACHAWATI LAW GROUP

SMITH, NORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01769           BLASINGAME, BURCH, GARRARD & ASHLEY, PC

SMITH, OVERIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12951          PAUL LLP

SMITH, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08496          NAPOLI SHKOLNIK, PLLC



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             Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

SMITH, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, PATRICIA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318724             KIESEL LAW, LLP

SMITH, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12888          NAPOLI SHKOLNIK, PLLC

SMITH, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00975          NAPOLI SHKOLNIK, PLLC

SMITH, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05719           ONDERLAW, LLC

SMITH, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11881           ONDERLAW, LLC

SMITH, PATRICIA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

SMITH, PATRICIA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

SMITH, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          PORTER & MALOUF, PA

SMITH, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12575          THE SIMON LAW FIRM, PC

SMITH, PATRICIA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

SMITH, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          THE SMITH LAW FIRM, PLLC
SMITH, PATRICIA A. ESTATE OF GARY
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-000240-21        WEITZ & LUXENBERG
SMITH
SMITH, PATSY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13738          ONDERLAW, LLC

SMITH, PATTY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11865          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, PAULA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16632           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SMITH, PAULA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09872          ONDERLAW, LLC

SMITH, PAULINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14853          BURNS CHAREST LLP

SMITH, PAULINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09047          CELLINO & BARNES, P.C.

SMITH, PERNECIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05562           ONDERLAW, LLC

SMITH, PHYLLIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11331          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SMITH, PHYLLIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18511          NACHAWATI LAW GROUP

SMITH, PHYLLIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05556          ROSS FELLER CASEY, LLP

SMITH, PRISCILLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00880          ONDERLAW, LLC

SMITH, QUANNAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19108          MOTLEY RICE, LLC

SMITH, QUANNAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16981          ONDERLAW, LLC

SMITH, RACHEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19764          NACHAWATI LAW GROUP

SMITH, RAE                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00250          CELLINO & BARNES, P.C.

SMITH, RANDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16267          NACHAWATI LAW GROUP

SMITH, RAQUEL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

SMITH, RAQUEL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

SMITH, RAQUEL                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            THE SMITH LAW FIRM, PLLC

SMITH, RENEE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07796          ASHCRAFT & GEREL




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SMITH, RENEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, RENEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16279          CELLINO & BARNES, P.C.

SMITH, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19130          NACHAWATI LAW GROUP

SMITH, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05982          ONDERLAW, LLC

SMITH, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10158          WILLIAMS HART LAW FIRM

SMITH, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20329          MILSTEIN JACKSON FAIRCHILD WADE LLP

SMITH, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20329          THE MICHAEL BRADY LYNCH FIRM

SMITH, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20456          ASHCRAFT & GEREL, LLP

SMITH, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20456          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, ROBYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09940          ONDERLAW, LLC

SMITH, ROMANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18535          NACHAWATI LAW GROUP

SMITH, ROSEMARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01324          POTTS LAW FIRM

SMITH, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13334          THE BENTON LAW FIRM, PLLC

SMITH, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04873          ONDERLAW, LLC

SMITH, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13007          THE MILLER FIRM, LLC

SMITH, RUTHIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00082          HEYGOOD, ORR & PEARSON

SMITH, SAMIERRAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01970          MORGAN & MORGAN

SMITH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15413          ARNOLD & ITKIN LLP

SMITH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16239          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13236          GORI JULIAN & ASSOCIATES, P.C.

SMITH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11434          NACHAWATI LAW GROUP

SMITH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17639          ONDERLAW, LLC

SMITH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05671          REICH & BINSTOCK, LLP

SMITH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10407          THE BENTON LAW FIRM, PLLC

SMITH, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06984          BARRETT LAW GROUP

SMITH, SHANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17946          JOHNSON LAW GROUP

SMITH, SHARO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08054          ONDERLAW, LLC

SMITH, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08726          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, SHARON                    FL - CIRCUIT COURT - BROWARD COUNTY          CACE19011771            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, SHARON                    FL - CIRCUIT COURT - BROWARD COUNTY          CACE19011771            KELLEY UUSTAL, PLC

SMITH, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03595          MCSWEENEY/LANGEVIN, LLC

SMITH, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08816          ONDERLAW, LLC

SMITH, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06772          ONDERLAW, LLC




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SMITH, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09892          ONDERLAW, LLC

SMITH, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08557          THE SEGAL LAW FIRM

SMITH, SHELBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01204          ASHCRAFT & GEREL

SMITH, SHELBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01204          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08584          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03292          BURNS CHAREST LLP

SMITH, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03292          BURNS CHAREST LLP

SMITH, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12608          JUSTINIAN & ASSOCIATES PLLC

SMITH, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00104          KAPUSTA DEIHL & SCHWEERS, LLC

SMITH, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00104          MOTLEY RICE, LLC

SMITH, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-20734          ONDERLAW, LLC

SMITH, SONIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18554          NACHAWATI LAW GROUP

SMITH, SONJA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07797          ASHCRAFT & GEREL

SMITH, SONJA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07797          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, SOPHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, STACEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05679          ONDERLAW, LLC

SMITH, STACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01696          ONDERLAW, LLC

SMITH, STARR                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03849          ONDERLAW, LLC

SMITH, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00881          ASHCRAFT & GEREL

SMITH, SUSAN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1956-16           ASHCRAFT & GEREL

SMITH, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12475          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, SUSAN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1956-16           GOLOMB SPIRT GRUNFELD PC

SMITH, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17469          NACHAWATI LAW GROUP

SMITH, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04597          ONDERLAW, LLC

SMITH, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12902          SANDERS PHILLIPS GROSSMAN, LLC

SMITH, SUSETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SMITH, SUSETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SMITH, SUSETTE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMITH, SUZANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08548          WILLIAMS HART LAW FIRM

SMITH, SYLVIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11044          WEITZ & LUXENBERG

SMITH, TAMEKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10631          NACHAWATI LAW GROUP

SMITH, TAMMIE GARZA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6724-14           SEEGER WEISS LLP

SMITH, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18542          NACHAWATI LAW GROUP

SMITH, TANYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17560          WEITZ & LUXENBERG



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SMITH, TARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17442          THE MILLER FIRM, LLC

SMITH, TARJI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07329          ONDERLAW, LLC

SMITH, TARNASHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16263          THE SEGAL LAW FIRM

SMITH, TAWNYA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001845-21         GOLOMB & HONIK, P.C.

SMITH, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00262          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, TERESA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

SMITH, TERESA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

SMITH, TERESA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

SMITH, TERESA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

SMITH, TERESA A.                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08725          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, TERISHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13653          FLETCHER V. TRAMMELL

SMITH, THOMASINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18528          NACHAWATI LAW GROUP

SMITH, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13931           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09518          FLETCHER V. TRAMMELL

SMITH, TONDELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02773          THE MILLER FIRM, LLC

SMITH, TRACI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09843          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, TRACI                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

SMITH, TRACI                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

SMITH, TRACI                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           THE SMITH LAW FIRM, PLLC

SMITH, TUNYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11735          NACHAWATI LAW GROUP

SMITH, TYRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01915          MILLER DELLAFERA PLC

SMITH, VALENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13933          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10316          ASHCRAFT & GEREL, LLP

SMITH, VALERIE                    DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-00890          ASHCRAFT & GEREL, LLP

SMITH, VALERIE                    DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-00890          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10316          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13932          MORELLI LAW FIRM, PLLC

SMITH, VANESSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12081          ONDERLAW, LLC

SMITH, VERA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00015          ONDERLAW, LLC

SMITH, VERNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13386          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, VERONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11707          NACHAWATI LAW GROUP

SMITH, VICKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18492          NACHAWATI LAW GROUP

SMITH, VIOLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07021          BARRETT LAW GROUP

SMITH, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07798          ASHCRAFT & GEREL



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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SMITH, WANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07798          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH, WANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03725          FRAZER PLC

SMITH, WANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07714          ONDERLAW, LLC

SMITH, WANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06479          ONDERLAW, LLC

SMITH, WENDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09472          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

SMITH, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09949          LENZE KAMERRER MOSS, PLC

SMITH, WILLODEAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16181          HENINGER GARRISON DAVIS, LLC

SMITH, WILMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12608           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

SMITH, WINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15219          WEITZ & LUXENBERG

SMITH, WYNENNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11797          NACHAWATI LAW GROUP

SMITH, YVETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16639           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SMITH, YVETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20211          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH-BROWN, SHEENA            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2892-15           SEEGER WEISS LLP

SMITH-COOPER, JOANN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18215          DRISCOLL FIRM, P.C.

SMITH-COWAN, TAMMY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06610          THE SIMON LAW FIRM, PC

SMITH-CRAWFORD, JENNIFER       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05164           ONDERLAW, LLC

SMITH-ERVING, LINDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10533           MORRIS BART & ASSOCIATES

SMITH-FERRELL, JANET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16023          ASHCRAFT & GEREL, LLP

SMITH-FERRELL, JANET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16023          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMITH-FUTRELL, VIVIAN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SMITH-FUTRELL, VIVIAN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SMITH-FUTRELL, VIVIAN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMITH-GILBERT, ANGELA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05508          ONDERLAW, LLC

SMITH-JOHNSON, ALICIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16552          NACHAWATI LAW GROUP

SMITH-MCCLURE, DOROTHY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10894           THE MILLER FIRM, LLC

SMITH-MORRIS, RITA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000651-18         GOLOMB SPIRT GRUNFELD PC

SMITH-MYERS, DEANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06799          THE SIMON LAW FIRM, PC

SMITH-PARKS, LISA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05905           ONDERLAW, LLC

SMITH-PRIMO, LINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06388          ONDERLAW, LLC

SMITHSON, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16998           ONDERLAW, LLC

SMITHSON, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08471          ONDERLAW, LLC

SMNITH, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14895          LENZE LAWYERS, PLC

SMNITH, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14895          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SMOCK, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08724          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SMOCK, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12133          ONDERLAW, LLC

SMOLANICK, KATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10688          DALIMONTE RUEB, LLP

SMOOT, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03159          ASHCRAFT & GEREL, LLP

SMOOT, TRACINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMOTER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19467          ASHCRAFT & GEREL, LLP

SMOTER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19467          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SMOTHERMAN, LOUIDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10489          ONDERLAW, LLC

SMOTHERS, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05023          MORELLI LAW FIRM, PLLC

SMOTHERS, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20203          GORI JULIAN & ASSOCIATES, P.C.

SMOUDIANIS, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00092          CELLINO & BARNES, P.C.

SMULLEN, AUDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14506          WATERS & KRAUS, LLP

SMUZINSKY, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13873           ONDERLAW, LLC

SMYRNIOTES, JO                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11983          GOLDENBERGLAW, PLLC

SMYSER, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV17641            ONDERLAW, LLC

SMYTH, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11343          LEVIN SIMES LLP

SMYTH, LAUREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09865          ONDERLAW, LLC

SMYTH, PATRICIA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001327-21         COHEN, PLACITELLA & ROTH

SMYTHE, PATSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08405          FLETCHER V. TRAMMELL

SNARR-COALE, MICHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10522           NAPOLI SHKOLNIK, PLLC

SNEAD, VANESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07461          DUGAN LAW FIRM, PLC

SNEADE, LATOYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10607          NACHAWATI LAW GROUP

SNEDEN, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15541          ANAPOL WEISS

SNEED, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09755          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SNEED, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10303          MCSWEENEY/LANGEVIN, LLC

SNEL, ELEANOR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12744          LIAKOS LAW APC

SNELL, CORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19611          NACHAWATI LAW GROUP

SNELL, JANETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01130           THE MILLER FIRM, LLC

SNELL, KATHLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11010          ONDERLAW, LLC

SNELL, KRISTIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10829          NACHAWATI LAW GROUP

SNELL, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03309          ASHCRAFT & GEREL

SNELLEN, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02075          FLETCHER V. TRAMMELL

SNELLGROVE, CHASITY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18557          NACHAWATI LAW GROUP

SNELLING, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16628          ASHCRAFT & GEREL

SNELLING, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16628          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SNELLING, TANYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01123          ONDERLAW, LLC

SNELLS, SHARHONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09542          ONDERLAW, LLC

SNELSON, GAYLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11591          NACHAWATI LAW GROUP

SNIDER, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12918          THE MILLER FIRM, LLC

SNIDER, TONIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02149          MOTLEY RICE, LLC

SNIPES, ELNORA                   GA - STATE COURT OF DEKALB COUNTY             19A78293               BARNES LAW GROUP, LLC

SNIPES, ELNORA                   GA - STATE COURT OF DEKALB COUNTY             19A78293               CHEELEY LAW GROUP

SNODEN, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04436          WAGSTAFF & CARTMELL, LLP

SNODGRASS, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10747           NACHAWATI LAW GROUP

SNOES, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10317           ASHCRAFT & GEREL

SNOES, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SNOOK, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10915          NACHAWATI LAW GROUP

SNOW, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12810          HEYGOOD, ORR & PEARSON

SNOW, DEANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13927          JOHNSON LAW GROUP

SNOW, DELYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09052          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SNOW, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07829          BISNAR AND CHASE

SNOW, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09310          ONDERLAW, LLC

SNOW, MYRTLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06923          WILLIAMS HART LAW FIRM

SNOW, ROBBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03525          JOHNSON LAW GROUP

SNOW, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13251          THE MILLER FIRM, LLC

SNOW, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12409          ONDERLAW, LLC

SNOWDEN, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09254          JOHNSON LAW GROUP

SNOWTON, RAQKISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05019          THE SEGAL LAW FIRM

SNOW-TRUGLIO, WENDY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04740          ASHCRAFT & GEREL

SNOW-TRUGLIO, WENDY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04740          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SNUIN, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20026          NACHAWATI LAW GROUP

SNYDER, BILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18953          NACHAWATI LAW GROUP

SNYDER, COLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13203          JOHNSON LAW GROUP

SNYDER, CONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08816          BARON & BUDD, P.C.

SNYDER, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11653           NACHAWATI LAW GROUP

SNYDER, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06086          POGUST BRASLOW & MILLROOD, LLC

SNYDER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13270           DANIEL & ASSOCIATES, LLC

SNYDER, MADELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:21-CV-06243               ONDERLAW, LLC
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
SNYDER, PHYLLIS                                                           210901327                   THE MILLER FIRM, LLC
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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SNYDER, ROSALIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16803          ONDERLAW, LLC

SNYDER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00794          BLIZZARD & NABERS, LLP

SNYDER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06510           SKIKOS, CRAWFORD, SKIKOS & JOSEPH

SNYDER, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SNYDER, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            GOLDENBERGLAW, PLLC

SNYDER, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

SNYDER, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

SNYDER, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            THE SMITH LAW FIRM, PLLC

SNYDER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10063          TRAMMELL PC

SO, PAULA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10082          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOARES, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03988          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOBER, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09289          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOBHANI, SHIREEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13392          ONDERLAW, LLC

SOBIESKI, LYNDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12462          ONDERLAW, LLC

SOBLES, CHARLOTTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08052           FLETCHER V. TRAMMELL

SOBOCINSKI, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01332          JOHNSON LAW GROUP

SOBOJINSKI, MONTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20690           ONDERLAW, LLC

SOBOTKA, HELEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11171          CELLINO & BARNES, P.C.

SOBOTKER, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04522          WILLIAMS HART LAW FIRM

SOBOTKER, GWENDOLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09582          ASHCRAFT & GEREL

SOBOTKER, GWENDOLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09582          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOCHACKI, KRISTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00728           ONDERLAW, LLC

SODDERS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08545          ONDERLAW, LLC

SODERMAN, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14914          ONDERLAW, LLC

SOENS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06749          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOER, VICKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11284          ASHCRAFT & GEREL

SOFIELD, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12160          ONDERLAW, LLC

SOFMAN, BESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOFMAN, BESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

SOFMAN, BESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

SOFMAN, BESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

SOGOL, ROSALINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11419           SIMMONS HANLY CONROY

SOGUILON, RUTHANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03103          MARTINIAN & ASSOCIATES, INC.

SOGUILON, RUTHANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03103          THE LAW OFFICES OF HAYTHAM FARAJ



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SOHN, ROBIN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08218          ONDERLAW, LLC

SOILEAU, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13921          ONDERLAW, LLC

SOILEAU, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00938          ONDERLAW, LLC

SOILEAU, PATRICIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOILEAU, PATRICIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

SOILEAU, PATRICIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

SOILEAU, PATRICIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

SOILEAU, PATRICIA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           THE SMITH LAW FIRM, PLLC

SOIREZ, CHASITY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11340          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SOJKA, DEMARIAS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07080           BURNS CHAREST LLP

SOJKA, DEMARIAS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07080           BURNS CHAREST LLP

SOKOLOW, PEARL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13177          WEXLER WALLACE LLP

SOLANKY, SHEELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14506          ONDERLAW, LLC

SOLANO, ADELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18219          DRISCOLL FIRM, P.C.

SOLANO, IRMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01495          ONDERLAW, LLC

SOLARI, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09089          ONDERLAW, LLC

SOLBRIG, JUSTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08358           THE MILLER FIRM, LLC

SOLDAN, DENICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17011          COHEN & MALAD, LLP

SOLES, KATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04063          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOLIDUM, JUDITH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           ASHCRAFT & GEREL

SOLIDUM, JUDITH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOLIDUM, JUDITH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC06811            ONDERLAW, LLC

SOLIDUM, JUDITH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           PORTER & MALOUF, PA

SOLIDUM, JUDITH                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC06811           THE SMITH LAW FIRM, PLLC

SOLIS, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16967          ONDERLAW, LLC

SOLIS, CHERIANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14622          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOLIS, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13560          ONDERLAW, LLC

SOLIS, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10250          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOLIS, PIXIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09624          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOLIS-MORALES, VERONICA           IL - CIRCUIT COURT - COOK COUNTY             21-L-8657               VOGELZANG LAW

SOLITRO, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19064          NACHAWATI LAW GROUP

SOLIVAN, MIRIAM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18510           WEITZ & LUXENBERG

SOLIZ, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12476           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SOLIZ, SARAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03822          ONDERLAW, LLC

SOLLARS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10400           ONDERLAW, LLC

SOLLECITO, BECKY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10116          ONDERLAW, LLC

SOLMAN, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10720          NACHAWATI LAW GROUP

SOLOMAN, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01826          ONDERLAW, LLC

SOLOMAN, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02678           ONDERLAW, LLC

SOLOMON, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08209           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOLOMON, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16941          ASHCRAFT & GEREL

SOLOMON, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16941          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOLOMON, PENNY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08480          TRAMMELL PC

SOLOMON, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11005          GOLDENBERGLAW, PLLC

SOLOMON, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12586          HOLLAND LAW FIRM

SOLORIO-FIMBREZ, LEAH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18592          DONALD L. SCHLAPPRIZZI P.C.

SOLORIO-FIMBREZ, LEAH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10876          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SOLORIO-FIMBREZ, LEAH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18592          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SOLORZANO, LILIANA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06018          ONDERLAW, LLC

SOLOWSKI, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00806          CELLINO & BARNES, P.C.

SOLTYS, MITZI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06673          THE SIMON LAW FIRM, PC

SOMERS, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20683          GORI JULIAN & ASSOCIATES, P.C.

SOMERS, GERALDINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01023          BURNS CHAREST LLP

SOMERS, GLENDA                 CA - SUPERIOR COURT - LOS ANGELES COUNTY      19STCV00090            MILBERG COLEMAN BRYSON PHILLIPS

SOMMER, JASMINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15122          ARNOLD & ITKIN LLP

SOMMER-KRESSE, SUE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02603          MOTLEY RICE, LLC

SOMMERS, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18158          JOHNSON LAW GROUP

SONDELSKI, CONSTANCE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10245           THE LAW OFFICES OF SEAN M CLEARY

SONDGEROTH, LILLIAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05638           GALANTE & BIVALACQUA LLC

SONDGEROTH, LILLIAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05638           POURCIAU LAW FIRM, LLC

SONDGEROTH, LILLIAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05638           THE CHEEK LAW FIRM

SONDKER, MICHELE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20686          GORI JULIAN & ASSOCIATES, P.C.

SONGER, BERNARDETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13963           ONDERLAW, LLC

SONIA EICHENWALD               FEDERAL - MDL                                 3:21-CV-19682          ONDERLAW, LLC

SONIA TAMOLIUNAS               FEDERAL - MDL                                 3:21-CV-19739          ONDERLAW, LLC

SONIER, MILDRED                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05433          LAW OFF OF ROGER 'ROCKY' WALTON, PC

SONJA SODERSTROM               FEDERAL - MDL                                 3:21-CV-19896          ONDERLAW, LLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SONNIER, MAVIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15117          ARNOLD & ITKIN LLP

SONNIER, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12609          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

SONNIER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15972          MORRIS BART & ASSOCIATES

SONYA BARNES                      FEDERAL - MDL                                3:21-CV-19761           ONDERLAW, LLC

SONYA MERRILL                     FEDERAL - MDL                                 3:21-CV-03405          ARNOLD & ITKIN LLP

SONYA MERRILL                     FEDERAL - MDL                                 3:21-CV-03405          ARNOLD & ITKIN LLP

SONZINI, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13883          NACHAWATI LAW GROUP

SOON, LEAFA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002            ONDERLAW, LLC

SOPER, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13968          ONDERLAW, LLC

SOPHRONIA, VICTORIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-241-15           SEEGER WEISS LLP

SORANO, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17167          THE MILLER FIRM, LLC

SORENSEN, LARENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14623          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SORENSEN, STEPHANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07818          ASHCRAFT & GEREL

SORENSEN, VICKY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17000          ONDERLAW, LLC

SORENSEN-BAUMAN, ALICE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15265          LARSEN ADVOCATES, PC

SORENSON, L                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07803          ASHCRAFT & GEREL

SORENSON, L                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07803          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SORIA, MATILDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07138          THE ENTREKIN LAW FIRM

SORIANO, MEGIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07719          BISNAR AND CHASE

SORICH-BENDER, NANETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06643          ARNOLD & ITKIN LLP

SORRELL, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09034          THE MILLER FIRM, LLC

SORRELLS, BESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04173          ONDERLAW, LLC

SORRELS, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12847          JONES WARD PLC

SOS, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03919          KLINE & SPECTER, P.C.

SOSA, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00521          MOTLEY RICE, LLC

SOSNOSKI, DAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10867          ONDERLAW, LLC

SOSTEK, GALE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04881          ONDERLAW, LLC

SOSTRE, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19540          MESSA & ASSOCIATES, P.C.

SOTELLO, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04340          MOTLEY RICE, LLC

SOTO, AMBER                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14624          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOTO, BERNADETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02138          NAPOLI SHKOLNIK, PLLC

SOTO, BEVERLEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04604          ONDERLAW, LLC

SOTO, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13040          FLETCHER V. TRAMMELL

SOTO, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10721           THE LAW OFFICES OF SEAN M CLEARY



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SOTO, IVETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13209          DAVIS, BETHUNE & JONES, L.L.C.

SOTO, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SOTO, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15796          LENZE LAWYERS, PLC

SOTO, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SOTO, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15796          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SOTO, MARIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SOTO, MARTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05551          ONDERLAW, LLC

SOTO, ORALIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11356          NACHAWATI LAW GROUP

SOTO, PATRICIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

SOTO, PATRICIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

SOTO, PATRICIA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           THE SMITH LAW FIRM, PLLC

SOTO, REINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13534          THE MILLER FIRM, LLC

SOTO, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16343          FLETCHER V. TRAMMELL

SOTO, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15689          JOHNSON LAW GROUP

SOTOLONGO, GERALDA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003493-20         GOLOMB & HONIK, P.C.

SOTO-MARQUEZ, MARIANA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOTO-MARQUEZ, MARIANA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            ONDERLAW, LLC

SOTO-MARQUEZ, MARIANA             MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           PORTER & MALOUF, PA

SOTO-MARQUEZ, MARIANA             MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           THE SMITH LAW FIRM, PLLC

SOTOODEH, CHRISTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14616          CHAFFIN LUHANA LLP

SOTO-ROMAN, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07784           ONDERLAW, LLC

SOUDER, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18563          NACHAWATI LAW GROUP

SOUDERS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19771          NACHAWATI LAW GROUP

SOUDYN, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07801           ASHCRAFT & GEREL

SOUDYN, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07801          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOUKUP, IRIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10758          ONDERLAW, LLC

SOULIOS, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07635           LAW OFFS. OF RICHARD R BARRETT PLLC

SOUSA, ELAINE                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     2016-011049             THE MILLER FIRM, LLC

SOUSS, ROSE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12895          SANDERS PHILLIPS GROSSMAN, LLC

SOUTER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08518           HOLLAND LAW FIRM

SOUTHARD, GERALDINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08592          BERNSTEIN LIEBHARD LLP

SOUTHARD, JULIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19468          ASHCRAFT & GEREL, LLP

SOUTHARD, JULIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19468           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SOUTHARD, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19928          NACHAWATI LAW GROUP

SOUTHARD, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08765           ONDERLAW, LLC

SOUTHCOTT, BONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06792          ROSS FELLER CASEY, LLP

SOUTHERLAND, JULIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17346          THE MILLER FIRM, LLC

SOUTHERLAND, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06117          DALIMONTE RUEB, LLP

SOUTHERN, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01245           ONDERLAW, LLC

SOUTHWICK, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11540          ASHCRAFT & GEREL, LLP

SOUTHWORTH, SHARON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20229           CELLINO & BARNES, P.C.

SOUZA, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18567          NACHAWATI LAW GROUP

SOUZA, LORRAINE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002384-20         GOLOMB & HONIK, P.C.

SOUZA, MARGUERITE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17645          ONDERLAW, LLC

SOUZA, MARIA                     CA - SUPERIOR COURT - ALAMEDA COUNTY         RG17879234              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SOUZA, NICOLET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13934          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOUZA, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10229          GOLOMB SPIRT GRUNFELD PC

SOUZE, SAMANTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02305          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SOVINSKI, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20054          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SOVINSKI, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08408          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOWARDS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16044          ASHCRAFT & GEREL, LLP

SOWARDS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16044          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOWDEN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10625          NACHAWATI LAW GROUP

SOWELL, DELORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09255          POTTS LAW FIRM

SOWELL, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20318          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SOWERS, DINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09472          PARKER WAICHMAN, LLP

SOWERS, FLORENCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03045          REICH & BINSTOCK, LLP

SOWL, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10281          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

SOWLES, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09676           GORI JULIAN & ASSOCIATES, P.C.

SOWRAY, GWENDOLINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09288           ONDERLAW, LLC

SOYKA-WELLES, SHARI              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12046          NACHAWATI LAW GROUP

SOZA, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08373          ONDERLAW, LLC

SPAAR, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09422          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPAAY, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13206          DALIMONTE RUEB, LLP

SPADARO, SALOME                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09338          ONDERLAW, LLC

SPADONI, JOAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13633           THE MILLER FIRM, LLC

SPADY, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05655          ONDERLAW, LLC



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             Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

SPAETH, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08742          WILLIAMS HART LAW FIRM

SPAHN, CYNTHIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002965-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

SPAIN, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16828          TRAMMELL PC

SPAIN, FAY                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06119          ONDERLAW, LLC

SPAIN, LINDA LOU                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17789          ASHCRAFT & GEREL, LLP
SPAIN,STEVEN EST OF KAREN SUE ANN
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-04865-18AS       WEITZ & LUXENBERG
SPAIN
SPALDING, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04399          SULLO & SULLO, LLP

SPANGENBERG, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01474          ASHCRAFT & GEREL

SPANGLER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15302          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPANGLER, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08546          WAGSTAFF & CARTMELL, LLP

SPANGLER, MARIETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11292          ONDERLAW, LLC

SPANGLER, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19455          ASHCRAFT & GEREL, LLP

SPANGLER, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19455          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPANKO, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09272          ONDERLAW, LLC

SPANN, LAURIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10465          ONDERLAW, LLC

SPANN, SHERRIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07436          HEYGOOD, ORR & PEARSON

SPANO, GRACE                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002194-20         GOLOMB & HONIK, P.C.

SPANO, ISABEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03396          CLIFFORD LAW OFFICES, P.C.

SPANO, TERRY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08197          ONDERLAW, LLC

SPARKMAN, CHASITY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17754          NACHAWATI LAW GROUP

SPARKMAN, MARGARET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPARKMAN, MARGARET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

SPARKMAN, MARGARET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

SPARKMAN, MARGARET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

SPARKMAN, MARGARET                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

SPARKMAN, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SPARKMAN, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15527          LENZE LAWYERS, PLC

SPARKMAN, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SPARKMAN, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15527           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SPARKMAN, STACEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SPARKS, BILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16448          WATERS & KRAUS, LLP

SPARKS, CINNAMON                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPARKS, CINNAMON                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            ONDERLAW, LLC




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            Claimant Name                              State Filed                       Docket Number                              Plaintiff Counsel

SPARKS, CINNAMON                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           PORTER & MALOUF, PA

SPARKS, CINNAMON                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            THE SMITH LAW FIRM, PLLC

SPARKS, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04028          ONDERLAW, LLC

SPARKS, JULIA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L003172-19          GOLOMB SPIRT GRUNFELD PC

SPARKS, LENORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20198          NACHAWATI LAW GROUP

SPARKS, MELISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17797          ONDERLAW, LLC

SPARKS, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08283          NACHAWATI LAW GROUP

SPARKS, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05114          FLETCHER V. TRAMMELL

SPARKS, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13240           ONDERLAW, LLC

SPARKS, PAUL AND SPARKS, SAMANTHA   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-07734-18AS       WEITZ & LUXENBERG

SPARKS, TONYA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002681-21         WEITZ & LUXENBERG
                                    CA - SUPERIOR COURT - SAN BERNARDINO
SPARROW, BEVERLY                                                                 CIVDS1807034            SIMMONS HANLY CONROY
                                    COUNTY
SPARROW, LAUREN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002503-20         GOLOMB & HONIK, P.C.

SPATAFORE, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02076          THE SEGAL LAW FIRM

SPATES, CECILIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02847          ONDERLAW, LLC

SPAULDING, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02990          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPAULDING, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14470          ARNOLD & ITKIN LLP

SPAUN, MICHELLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18234          ONDERLAW, LLC

SPAYER, MARCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14007          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPEAKMAN, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19848          NACHAWATI LAW GROUP

SPEARMAN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-02515          JOHNSON LAW GROUP

SPEARS, ERICA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18509          ONDERLAW, LLC

SPEARS, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05237           ONDERLAW, LLC

SPEARS, LORETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09133          ONDERLAW, LLC

SPEARS, MARTHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11772          SHAW COWART, LLP

SPEARS, TANISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03603          ONDERLAW, LLC

SPEARS-HAMILTON, HELENA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08124          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

SPECA, ABBEY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03358           JOHNSON LAW GROUP

SPECHT, ANGELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06020          ONDERLAW, LLC

SPECHT, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17798          NACHAWATI LAW GROUP

SPECK, BARBARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12413          ONDERLAW, LLC

SPEECE, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05908          ONDERLAW, LLC

SPEED, KIMBERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09308          ASHCRAFT & GEREL, LLP




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SPEER, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17366          ASHCRAFT & GEREL, LLP

SPEER, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17366          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPEER, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15236          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPEER, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10093          WATERS & KRAUS, LLP

SPEER, RAMONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12910          DALIMONTE RUEB, LLP

SPEES-MCGOW, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14625          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPEICHER, MARYANNE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002590-20         GOLOMB & HONIK, P.C.

SPEICHER, MARYANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10350           ONDERLAW, LLC

SPEIGHT, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SPEIGHT, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14911          LENZE LAWYERS, PLC

SPEIGHT, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SPEIGHT, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14911          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SPEIGHT, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SPEIGHT, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17381          JOHNSON LAW GROUP

SPEIGHT, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07564          ASHCRAFT & GEREL, LLP

SPEIGHT, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07564          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPEIR, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05642          NAPOLI SHKOLNIK, PLLC

SPEIRS, LINDA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002195-20         GOLOMB & HONIK, P.C.

SPELL, JOHNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13465          ARNOLD & ITKIN LLP

SPELLER, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15652          THE BENTON LAW FIRM, PLLC

SPELLS, VOLETA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16027          ASHCRAFT & GEREL, LLP

SPELLS, VOLETA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16027          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPELMAN, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09750          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPELTS, CHANTEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05388          ONDERLAW, LLC

SPELTS, SPELTS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13668          ONDERLAW, LLC

SPENCE, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17014           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SPENCE, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09049          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPENCE, ENECITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02033          BARON & BUDD, P.C.

SPENCE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02729          ONDERLAW, LLC

SPENCE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01449          ONDERLAW, LLC

SPENCE, ROSEMARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08234           ONDERLAW, LLC

SPENCER, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18361          THE MILLER FIRM, LLC

SPENCER, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02150          ARNOLD & ITKIN LLP




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            Claimant Name                           State Filed                        Docket Number                            Plaintiff Counsel

SPENCER, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14009          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPENCER, CAROLYN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1660-15           GOLOMB SPIRT GRUNFELD PC
SPENCER, CATHIE EST OF DOUGLAS
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-04147-19AS       WEITZ & LUXENBERG
SPENCER
SPENCER, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10702          NACHAWATI LAW GROUP

SPENCER, HESTER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06392          ONDERLAW, LLC

SPENCER, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11457          NACHAWATI LAW GROUP

SPENCER, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13186          ONDERLAW, LLC

SPENCER, MARVA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11297          NACHAWATI LAW GROUP

SPENCER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05697          KLINE & SPECTER, P.C.

SPENCER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12022          NACHAWATI LAW GROUP

SPENCER, MARYANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02209          FLETCHER V. TRAMMELL

SPENCER, MARYLOU                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09951          ONDERLAW, LLC

SPENCER, MIRIAM                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003321-20         GOLOMB & HONIK, P.C.

SPENCER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07058          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPENCER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11370          POTTS LAW FIRM

SPENCER, SHERIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03641          MURRAY LAW FIRM

SPENCER, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20140          NACHAWATI LAW GROUP

SPENCER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19517          NACHAWATI LAW GROUP

SPENCER, TERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13343          ONDERLAW, LLC

SPENCER, TODD                     NY - SUPREME COURT - NYCAL                   190025/2019             MEIROWITZ & WASSERBERG, LLP

SPENCER, TODD & BHARAMI, MIRIAM   NY - SUPREME COURT - NYCAL                    190025/2019            MEIROWITZ & WASSERBERG, LLP

SPENCER, VENUE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01390          LENZE KAMERRER MOSS, PLC

SPENCER, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08313          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPENNY, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07884          BURNS CHAREST LLP

SPENNY, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07884          BURNS CHAREST LLP

SPENNY, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07884          GUSTAFON GLUEK

SPERBECK, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08148           ONDERLAW, LLC

SPERBER, MARIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09922          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPERRY, BETTY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002196-20         GOLOMB & HONIK, P.C.

SPETRINI, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16997          BURNS CHAREST LLP

SPETRINI, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16997          BURNS CHAREST LLP

SPICER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11455          NACHAWATI LAW GROUP

SPICER, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06184           ONDERLAW, LLC

SPIEGEL-WIRHOL, PAMELA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10304          BURNS CHAREST LLP



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                Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SPIEGEL-WIRHOL, PAMELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10304          BURNS CHAREST LLP

SPIELAR, YAFFA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10571          ONDERLAW, LLC

SPIELMAN, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07806          ASHCRAFT & GEREL

SPIELMAN, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07806          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPIER, KATJE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BARRETT LAW GROUP, P.A.

SPIER, KATJE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BURNS CHAREST LLP

SPIER, KATJE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BURNS CHAREST LLP

SPIER, KATJE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

SPIER, KATJE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-400-18            LOCKS LAW FIRM

SPIEZY, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19107          NACHAWATI LAW GROUP

SPIKER, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17460          ONDERLAW, LLC

SPIKES, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05355          FLETCHER V. TRAMMELL

SPIKES, CASSANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00126          ASHCRAFT & GEREL

SPIKES, CASSANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00126          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPIKES, SOLAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17879          NACHAWATI LAW GROUP

SPIKES-BICKHAM, KELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00951          MORRIS BART & ASSOCIATES

SPILLER, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09113          ONDERLAW, LLC

SPILLER, JESSICA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-193-16            GOLOMB SPIRT GRUNFELD PC

SPILLER, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13494          ONDERLAW, LLC

SPILLERS, DANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14215          THE BENTON LAW FIRM, PLLC

SPINA, ELIZABETH                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000298-21         GOLOMB & HONIK, P.C.

SPINELLI, JILL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2566-19           COHEN, PLACITELLA & ROTH

SPINELLI, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09286          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPINK, JUDY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03360          ONDERLAW, LLC

SPINKS, SHARON                     MN - DISTRICT COURT - RAMSEY COUNTY           62-CV-17526            KARST & VON OISTE, LLP

SPINKS, VELDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01326          THE MILLER FIRM, LLC

SPINNER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00632          THE BENTON LAW FIRM, PLLC

SPINNEY, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13496          ONDERLAW, LLC

SPINOSI-TKACIK, MARILYNN           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002198-20         GOLOMB & HONIK, P.C.

SPITZ, SHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12794          MORELLI LAW FIRM, PLLC

SPITZER, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02411          ONDERLAW, LLC

SPIVEY, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20148          NACHAWATI LAW GROUP

SPIVEY, BERTHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02377          DAVIS, BETHUNE & JONES, L.L.C.




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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SPIVEY, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12679          ASHCRAFT & GEREL

SPLAIN, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11097          ONDERLAW, LLC

SPODOFORA, CARMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11046          WAGSTAFF & CARTMELL, LLP

SPOLLEN, JUDY                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE19001223            THE FERRARO LAW FIRM, P.A.

SPONABLE, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01060          THE CARLSON LAW FIRM

SPOON, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09269          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPOONEMORE, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17048          ONDERLAW, LLC

SPOONER, CHRISI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14984          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPOONER, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17836          NACHAWATI LAW GROUP

SPORKA, GRACE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03382          ONDERLAW, LLC

SPORT, NAOMI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20718          THE CUFFIE LAW FIRM
                                  PA - PHILADELPHIA COUNTY COURT OF COMMON
SPOTTS, JEAN                                                                   210101314               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                  PLEAS
                                  PA - PHILADELPHIA COUNTY COURT OF COMMON
SPOTTS, JEAN                                                                   210101314               EISENBERG, ROTHWEILER, WINKLER
                                  PLEAS
SPOTTS, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03851          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPRADLIN, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03831          ONDERLAW, LLC

SPRADLIN, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00500          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPRADLIN, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13620          DAVIS, BETHUNE & JONES, L.L.C.

SPRADLIN, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17887          NACHAWATI LAW GROUP

SPRAGUE, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14550          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SPRAGUE, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09318          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPRAGUE, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SPRAGUE, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SPRAGUE, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SPRAKER, FAYE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09722          ONDERLAW, LLC

SPRAUVE, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11108          GOZA & HONNOLD, LLC

SPRING, CAROLYN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002930-21         WEITZ & LUXENBERG

SPRINGER, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17752          MUELLER LAW PLLC

SPRINGER, SARAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16195          THE MILLER FIRM, LLC

SPRINGER, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06591          ONDERLAW, LLC

SPRINGER, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18513          WEITZ & LUXENBERG

SPRINGFIELD, APRIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10319          ASHCRAFT & GEREL, LLP

SPRINGFIELD, APRIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPRINKLE, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02227          JOHNSON LAW GROUP

SPROUSE, MARLENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08826          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                         State Filed                       Docket Number                               Plaintiff Counsel

SPRY, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17298          ASHCRAFT & GEREL, LLP

SPRY, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17298          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SPURR, JOSEPHINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00491          SULLO & SULLO, LLP

SPYCHALSKI, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16225          CELLINO & BARNES, P.C.

SQUILLACE, NIKI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08544          WAGSTAFF & CARTMELL, LLP

SQUIRES, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12610           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

SRIDEVI, KORIPELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18622          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SRIVANI, JADE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18839           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ST JOHN, AUDREY BALANAY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20363          ONDERLAW, LLC

ST. ARNOLD, AMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14478          JOHNSON LAW GROUP

ST. CHARLES, ANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13127           NACHAWATI LAW GROUP

ST. CHARLES, ANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17101           THE MILLER FIRM, LLC

ST. CLAIR, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13583          NACHAWATI LAW GROUP

ST. CLAIR, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12759          GOLOMB SPIRT GRUNFELD PC

ST. GEORGE, TRUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00299          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ST. GERMAIN, TAMI                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

ST. JOHN, DEBBIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ST. JOHN, DEBBIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            ONDERLAW, LLC

ST. JOHN, DEBBIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           PORTER & MALOUF, PA

ST. JOHN, DEBBIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            THE SMITH LAW FIRM, PLLC

ST. LAURENT, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19299          NACHAWATI LAW GROUP

ST. LOUIS, TANIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11136          FLETCHER V. TRAMMELL

ST. MARTIN, CAROL                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002298-21         COHEN, PLACITELLA & ROTH

ST. PIERRE, MARIELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08662          MORRELL LAW FIRM, PLLC

STAAB, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17783          NACHAWATI LAW GROUP

STACEY DOMAGALSKI                 FEDERAL - MDL                                 3:21-CV-19605          ONDERLAW, LLC

STACEY, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14714          FLEMING, NOLEN & JEZ, LLP

STACEY, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16257          ONDERLAW, LLC

STACHELEK, JACQUELINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00249          NACHAWATI LAW GROUP

STACHURA, DIANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15955          THE SEGAL LAW FIRM

STACKMAN, GAIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05709          MOTLEY RICE, LLC

STACY, ANN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20484          ONDERLAW, LLC

STACY, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18964          SULLO & SULLO, LLP




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

STACY, JOYCE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STACY, JOYCE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

STACY, JOYCE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

STACY, MAREE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10682          DALIMONTE RUEB, LLP

STACY, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13200          DALIMONTE RUEB, LLP

STACY, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11326           THE MILLER FIRM, LLC

STACY, SHERRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02402          HOVDE, DASSOW, & DEETS, LLC

STACY, SHERRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02402          THE MILLER FIRM, LLC

STACY, THORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21527          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

STADTMUELLER, TONYA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-189-18            MCELDREW YOUNG

STAFF, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04880           ONDERLAW, LLC

STAFFORD, CASSANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13055           FLETCHER V. TRAMMELL

STAFFORD, DONNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            ONDERLAW, LLC

STAFFORD, DONNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

STAFFORD, DONNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            THE SMITH LAW FIRM, PLLC

STAFFORD, FAY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02941          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

STAFFORD, FAY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02941          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

STAFFORD, LESLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15328          MORELLI LAW FIRM, PLLC

STAFFORD, LESLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16799          ONDERLAW, LLC

STAFFORD, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03176          DALIMONTE RUEB, LLP

STAFFORD, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05620          ROSS FELLER CASEY, LLP

STAFFORD, PATSY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14206          ONDERLAW, LLC

STAFFORD, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13315          GORI JULIAN & ASSOCIATES, P.C.

STAFFORD, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17874          NACHAWATI LAW GROUP

STAFFORD, WILMA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002385-20         GOLOMB & HONIK, P.C.

STAGER, CHRISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12461          FLETCHER V. TRAMMELL

STAHL, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17357          NACHAWATI LAW GROUP

STAHL, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09258          ONDERLAW, LLC

STAHL, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STAHL, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

STAHL, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

STAHL, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

STAHL, DONNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            THE SMITH LAW FIRM, PLLC

STAHL, LORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11919          ASHCRAFT & GEREL, LLP



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

STAHL, LORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11919          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STAHL, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08210          ONDERLAW, LLC

STAHL, SHELBY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03100          ONDERLAW, LLC

STAHLMAN, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19989          CELLINO & BARNES, P.C.

STAIGER, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19465          ASHCRAFT & GEREL, LLP

STAIGER, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19465          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STALEY, AMY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003385-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

STALEY, BELINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20735          ONDERLAW, LLC

STALEY, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STALEY, STACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04262          FLETCHER V. TRAMMELL

STALEY, STACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20714          ONDERLAW, LLC

STALKER, CARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05637          NAPOLI SHKOLNIK, PLLC

STALKER, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17109          GORI JULIAN & ASSOCIATES, P.C.

STALKER, PATRICIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002147-20         GOLOMB & HONIK, P.C.

STALLARD, NANCEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17272          MORELLI LAW FIRM, PLLC

STALLINGS, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11334          NACHAWATI LAW GROUP

STALLINGS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12376          ASHCRAFT & GEREL

STALLINGS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12376          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STALLIONS, BETTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10320          ASHCRAFT & GEREL, LLP

STALLIONS, BETTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10320          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STALLWORTH, CAROLINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12324           LAW OFFS. OF CHARLES H. JOHNSON, PA

STALLWORTH, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06369          ASHCRAFT & GEREL

STALNAKER, BONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05753          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STALNAKER, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06010          KLINE & SPECTER, P.C.

STALNAKER, VELMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06780          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STALNAKER, VELMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06780          ONDERLAW, LLC

STALNAKER, VELMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06780          PORTER & MALOUF, PA

STALNAKER, VELMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06780          THE SMITH LAW FIRM, PLLC

STAMEY, JULIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13020          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

STAMPER, PATTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09447          ONDERLAW, LLC

STAMPER, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STAMPER, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STAMPER, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STAMPER, VIRGINIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10979          ASHCRAFT & GEREL, LLP



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              Claimant Name                          State Filed                        Docket Number                              Plaintiff Counsel

STAMPS, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00198          MORELLI LAW FIRM, PLLC

STAMPS, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14955          LENZE LAWYERS, PLC

STAMPS, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14955           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STAMPS, KARMEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STAMPS, KARMEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STAMPS, KARMEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STAMPS, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08524          ONDERLAW, LLC

STAMPS, ROSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10478          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STANBURY, DAISY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STANCATO, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11961          NACHAWATI LAW GROUP

STAND, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12034          ONDERLAW, LLC

STANDEFER, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06867          ASHCRAFT & GEREL, LLP

STANDFORD, RUTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04347          ONDERLAW, LLC

STANDIFER, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12495           ARNOLD & ITKIN LLP

STANDIFER, MELLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20175          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STANDING, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10497          ROSS FELLER CASEY, LLP

STANEK, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07576          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STANFILL, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08822          DALIMONTE RUEB, LLP
STANFORD, CANDYSE AND STANFORD,,
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-08468-19AS       LEVY KONIGSBERG LLP
JOHN
STANFORD, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17419          WEITZ & LUXENBERG

STANFORD, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06367          FLETCHER V. TRAMMELL

STANGELAND, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09628           ASHCRAFT & GEREL

STANGELAND, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09628          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STANGER, GEORGANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12285          LEVIN SEDRAN & BERMAN

STANGL, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STANGL, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

STANGL, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

STANGL, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

STANKO, JAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18327          ONDERLAW, LLC

STANLEY R. CHIONSKI                IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

STANLEY, BETTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19778          NACHAWATI LAW GROUP

STANLEY, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12313          ASHCRAFT & GEREL

STANLEY, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12313          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STANLEY, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12709          LIAKOS LAW APC



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           Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

STANLEY, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18601          ONDERLAW, LLC

STANLEY, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02203          ONDERLAW, LLC

STANLEY, GENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10762          ONDERLAW, LLC

STANLEY, GENEVIEVE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05020           ONDERLAW, LLC

STANLEY, IRENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01708          CHAMP LYONS III, PC

STANLEY, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01570          ONDERLAW, LLC

STANLEY, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08308          FLETCHER V. TRAMMELL

STANLEY, KELLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STANLEY, KELLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STANLEY, KELLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STANLEY, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17831          NACHAWATI LAW GROUP

STANLEY, MAXINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01461           JOHNSON LAW GROUP

STANLEY, NINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00198          ASHCRAFT & GEREL

STANLEY, NINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00198          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STANLEY, REGINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12056          NACHAWATI LAW GROUP

STANLEY, ROBYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12758           THE MILLER FIRM, LLC

STANLEY, SHERRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13605          FLETCHER V. TRAMMELL

STANLEY, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14528          MORRIS BART & ASSOCIATES

STANSBURY, ASHLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02003           ONDERLAW, LLC

STANSBURY, KAREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11495          BARRETT LAW GROUP

STANTON, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01050          LEVIN SIMES LLP

STANTON, PHYLLIS              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11398          NACHAWATI LAW GROUP

STANTON-IRICK, JEANNE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01129           ONDERLAW, LLC

STANULA, CATHRYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07699           SKIKOS, CRAWFORD, SKIKOS & JOSEPH

STAPELTON, ANGELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19560          ASHCRAFT & GEREL, LLP

STAPELTON, ANGELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19560          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STAPLES, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17814          NACHAWATI LAW GROUP

STAPLES, KAYLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14512           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STAPLES, MICHELE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01630          FITZGERALD LAW GROUP, LLC

STAPLETON, DEBORAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00694          JOHNSON LAW GROUP

STARCHER, VANESSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03352          ONDERLAW, LLC

STARK, ELISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20144          ARNOLD & ITKIN LLP

STARK, KIMMY                  LA - DISTRICT COURT - ORLEANS PARISH          2017-10831             GALANTE & BIVALACQUA LLC

STARK, KIMMY                  LA - DISTRICT COURT - ORLEANS PARISH          2017-10831             POURCIAU LAW FIRM, LLC



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              Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

STARK, KIMMY                     LA - DISTRICT COURT - ORLEANS PARISH          2017-10831             THE CHEEK LAW FIRM

STARK, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11685           THE MILLER FIRM, LLC

STARK, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06847          JOHNSON LAW GROUP

STARK, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18014          ASHCRAFT & GEREL

STARK, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18014          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STARK, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12255          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STARKE, LUWANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11982          FLETCHER V. TRAMMELL

STARKES, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08772          ONDERLAW, LLC

STARKEY, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18816          THE SEGAL LAW FIRM

STARKEY, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06565          ONDERLAW, LLC

STARKEY, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03641          ONDERLAW, LLC

STARKS, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06592          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STARKS, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05120          FLETCHER V. TRAMMELL

STARKS, ERNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12889          NAPOLI SHKOLNIK, PLLC

STARKS, LAWANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12892          ONDERLAW, LLC

STARKS, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09711          GORI JULIAN & ASSOCIATES, P.C.

STARKS, SAUNDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16701          THE SEGAL LAW FIRM

STARKWEATHER, DOLORES            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15550          THE SEGAL LAW FIRM

STARLING, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18890          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STARMAN, KIM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10323           ASHCRAFT & GEREL, LLP

STARMAN, KIM                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10323          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STARNES, LILLIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12050          FRAZER PLC

STARNES, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05785          ONDERLAW, LLC

STARNES, TAMYRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09052           ONDERLAW, LLC

STARNES-MAXWELL, KATHLEEN        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08321          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

STAROSKY, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19401           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STARR, DEON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03067          ONDERLAW, LLC

STARR, IZETTA                    DE - SUPERIOR COURT - NEW CASTLE COUNTY       N17C-05-295            JACOBS & CRUMPLER, P.A.

STARR, IZETTA                    DE - SUPERIOR COURT - NEW CASTLE COUNTY       N17C-05-295            THE MILLER FIRM, LLC

STARR, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12096           DRISCOLL FIRM, P.C.

STARR, LEONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08406          THORNTON LAW FIRM LLP

STARR, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03310          ASHCRAFT & GEREL

STARR, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13448          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

STARR, RENEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14012          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STARR, SALLYE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07471          WILLIAMS HART LAW FIRM

STARR, VICKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06500          MOTLEY RICE, LLC

STARUCH, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11389          PARKER WAICHMAN, LLP

STASNY, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01158          ONDERLAW, LLC

STATEN, MARQUITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18279           ONDERLAW, LLC

STATEN, SUE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14981          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STATEN, VESTOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16006          THE SEGAL LAW FIRM

STATFELD, ADRIENNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04421           ONDERLAW, LLC

STATHAM, JEANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05631          NAPOLI SHKOLNIK, PLLC

STATHOULIS, JOANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14134          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STATLER, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14589          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STATON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11375          NACHAWATI LAW GROUP

STAUB, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13754          LAW OFFICES OF CHARLES H. JOHNSON

STAUBER, KAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13512          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STAUFFER, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03873          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

STAVESKI, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00095          ASHCRAFT & GEREL

STAVESKI, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00095          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STAZO, LISA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002831-20         GOLOMB & HONIK, P.C.

STEADHAM, DEBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14885          ONDERLAW, LLC

STEADMAN, RHODA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07830           HOLLAND LAW FIRM

STEARN, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11342          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEARNS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11194          CHAFFIN LUHANA LLP

STEARNS, NORMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07809          ASHCRAFT & GEREL

STEARNS, NORMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07809          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEARNS, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01742          ARNOLD & ITKIN LLP

STEARNS, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00053           ONDERLAW, LLC

STEBELTON, KYLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13253          ONDERLAW, LLC

STEBNER, BETH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12779          THE DEATON LAW FIRM

STEDMAN, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12638           BLIZZARD & NABERS, LLP

STEEDMAN, NORMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09051          ONDERLAW, LLC

STEELE, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15981          DALIMONTE RUEB, LLP

STEELE, BOBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00743          CELLINO & BARNES, P.C.

STEELE, CARMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16219          ONDERLAW, LLC



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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

STEELE, DIONNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10161          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

STEELE, FELICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02033          ONDERLAW, LLC

STEELE, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEELE, GAIL                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318726              KIESEL LAW, LLP

STEELE, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          ONDERLAW, LLC

STEELE, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          PORTER & MALOUF, PA

STEELE, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          THE SMITH LAW FIRM, PLLC

STEELE, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14455          DALIMONTE RUEB, LLP

STEELE, JEANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16156          JOHNSON LAW GROUP

STEELE, JUSTINE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002386-20         GOLOMB & HONIK, P.C.

STEELE, MACKENZIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13629          JOHNSON LAW GROUP

STEELE, ROSEMARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07611          ONDERLAW, LLC

STEELE, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08310           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STEELE, TAMIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16906          ONDERLAW, LLC

STEELE-SCHAEFFER, JUDY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02711          CELLINO & BARNES, P.C.

STEEN, ELISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09660          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEENBLOCK, BESSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10711          ARNOLD & ITKIN LLP

STEENS, LA RAYNE                  CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2017-00221575        ONDERLAW, LLC

STEENS, LA RAYNE                  CA - SUPERIOR COURT - SACRAMENTO COUNTY      34-2017-00221575        SALKOW LAW, APC

STEFFEE, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09078           ONDERLAW, LLC

STEFFEN, DARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11338          NACHAWATI LAW GROUP

STEFFEY, JO                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00119          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STEGALL, ELANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11588          NACHAWATI LAW GROUP

STEGALL, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13657          THE DUGAN LAW FIRM

STEGEMAN, TEDDIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06784          ONDERLAW, LLC

STEGER, GLENDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002266-20         GOLOMB & HONIK, P.C.

STEHL, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19224          ARNOLD & ITKIN LLP

STEHLER, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02765          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEHLY, JEANELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00970          NAPOLI SHKOLNIK, PLLC

STEIGER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11855          HENINGER GARRISON DAVIS, LLC

STEIGERWALT, RUTH                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

STEIN, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07697          ONDERLAW, LLC




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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

STEIN, JILLYAN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2121-15           GOLOMB SPIRT GRUNFELD PC

STEIN, JULIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12969          ONDERLAW, LLC

STEIN, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09952          ONDERLAW, LLC

STEIN, MARCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19717          CELLINO & BARNES, P.C.

STEIN, NINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00056          THE FERRARO LAW FIRM, P.A.

STEIN, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15135          CELLINO & BARNES, P.C.

STEIN, ROCHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03929          ONDERLAW, LLC

STEINBACH, LEANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02210          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

STEINBERG, ASHLEY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2179-16           BARON & BUDD, P.C.

STEINBERG, ASHLEY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2179-16           SEEGER WEISS LLP

STEINBERG, ELENN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18039          ASHCRAFT & GEREL, LLP

STEINBERG, HARRIET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03244          ONDERLAW, LLC

STEINBERG, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18515          WEITZ & LUXENBERG

STEINER, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09164          ONDERLAW, LLC

STEINER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16969          ONDERLAW, LLC

STEINER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12911          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEINER, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06639          ONDERLAW, LLC

STEINKE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11733          NACHAWATI LAW GROUP

STEINKIRCHNER, CHRISTINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05295          DALIMONTE RUEB, LLP

STEINKRAUS, LUCIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06033          DALIMONTE RUEB, LLP

STEINKRAUS, LUCIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20723          ONDERLAW, LLC

STEINLINE, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08552          DAVIS, BETHUNE & JONES, L.L.C.

STEINLINE, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06911          JOHNSON LAW GROUP

STEINS, GITANA                    CA - SUPERIOR COURT - LOS ANGELES COUNTY      21STCV40569            BISNAR AND CHASE

STELIGA, GAIL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        L00197319               GOLOMB SPIRT GRUNFELD PC

STELK, THERESA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002210-20         GOLOMB & HONIK, P.C.

STELLA SEGUN                      FEDERAL - MDL                                 3:21-CV-16926          DAVIS, BETHUNE & JONES, L.L.C.

STELLNER, MARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20556          THE MILLER FIRM, LLC

STEMM, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10243          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEMPER, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02382          ONDERLAW, LLC

STEMPF, KATHRYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09080          ONDERLAW, LLC

STEMPLE, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01819          GORI JULIAN & ASSOCIATES, P.C.

STEMPLE, SYLVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05612          WILLIAMS HART LAW FIRM




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            Claimant Name                             State Filed                        Docket Number                              Plaintiff Counsel

STENGEL, ROBERT                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-006789-20         WEITZ & LUXENBERG

STENHOUSE, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17464          THE MILLER FIRM, LLC

STENNETT, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STENNETT, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STENNETT, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STENNETT, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11677           NACHAWATI LAW GROUP

STENSKE, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20704           ONDERLAW, LLC

STENSON, SHADEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08057          ONDERLAW, LLC

STENTIFORD, ELEANOR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00016           ONDERLAW, LLC

STEPANETS, OLGA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12496          ARNOLD & ITKIN LLP

STEPHANIE DALTON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18530          THE MILLER FIRM, LLC

STEPHANIE RAINEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18494          ONDERLAW, LLC

STEPHANIE SEILER                    FEDERAL - MDL                                 3:21-CV-19715          ONDERLAW, LLC

STEPHANIE SMITH                     FEDERAL - MDL                                3:21-CV-19112           MOTLEY RICE, LLC

STEPHANSEN, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10136          JAMES MORRIS LAW FIRM PC

STEPHEN KLENA                       IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

STEPHEN KUTZSCHER                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

STEPHEN, KALISH, AND , SUZANNE      NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-04726-17AS       LEVY KONIGSBERG LLP

STEPHEN, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05205          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEPHENS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16242          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEPHENS, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03714           JASON J. JOY & ASSCIATES P.L.L.C.

STEPHENS, BOBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08108          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEPHENS, CRYSTAL                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002504-20         GOLOMB & HONIK, P.C.

STEPHENS, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16216          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STEPHENS, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00651          BURNS CHAREST LLP

STEPHENS, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00651          BURNS CHAREST LLP

STEPHENS, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07164          BURNS CHAREST LLP

STEPHENS, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07164          BURNS CHAREST LLP

STEPHENS, KARLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13319          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEPHENS, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17781          ONDERLAW, LLC

STEPHENS, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03338          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STEPHENS, RHONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03489          ONDERLAW, LLC

STEPHENS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03238          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

STEPHENS, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12303          ONDERLAW, LLC

STEPHENS, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11377          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

STEPHENS, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05609           ONDERLAW, LLC

STEPHENS, TOINETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13444           FLETCHER V. TRAMMELL

STEPHENS, TREVIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10236          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEPHENS, VERA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16199          NACHAWATI LAW GROUP

STEPHENS, VICKY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11471          NACHAWATI LAW GROUP

STEPHENSON, ALICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06757          DALIMONTE RUEB, LLP

STEPHENSON, HELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20726          ONDERLAW, LLC

STEPHENSON, JEANNE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1961-16           MAURO, SAVO, CAMERINO, GRANT & SCHALK, P.A.

STEPHENSON, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STEPHENSON, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14930          LENZE LAWYERS, PLC

STEPHENSON, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STEPHENSON, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14930          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STEPHENSON, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STEPHENSON, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01215          DRISCOLL FIRM, P.C.

STEPHENSON, KATHERINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02207          FLETCHER V. TRAMMELL

STEPHENSON, LOIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11549          THE MILLER FIRM, LLC

STEPHENSON, VERA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10096           ONDERLAW, LLC

STEPNITZ, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10563          NACHAWATI LAW GROUP

STEPNITZ, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09389          ONDERLAW, LLC

STEPP, SYLVANIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06936          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEPPE, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13863          DANIEL & ASSOCIATES, LLC

STEPPER, SUZANNE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002387-20         GOLOMB & HONIK, P.C.

STEPPERT, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16641          PETERSON & ASSOCIATE, P.C.

STERBA, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12441          THE MILLER FIRM, LLC

STERGION, MARCIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19853          NACHAWATI LAW GROUP

STERIS, PENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10718          ONDERLAW, LLC

STERLING, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19358          NACHAWATI LAW GROUP

STERMER, ASHLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14930          NACHAWATI LAW GROUP

STERN, GEORGIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00538          ONDERLAW, LLC

STERN, JANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14557          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

STERN, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10324          ASHCRAFT & GEREL, LLP




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              Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

STERN, JUDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10324          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STETHEM, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13154          WATERS & KRAUS, LLP

STETTNER, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10220          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STETTNER, SUZI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06631          ARNOLD & ITKIN LLP

STEUBER, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00836          THE BENTON LAW FIRM, PLLC

STEVEN, JENIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17807          NACHAWATI LAW GROUP

STEVENS, ANGELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06249          ONDERLAW, LLC

STEVENS, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00735           ONDERLAW, LLC

STEVENS, BETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18481          NACHAWATI LAW GROUP

STEVENS, CANDACE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12603          BERNSTEIN LIEBHARD LLP

STEVENS, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17787          NACHAWATI LAW GROUP

STEVENS, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02947          FRAZER LAW LLC

STEVENS, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05382           ONDERLAW, LLC

STEVENS, GWENDOLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02080          KIESEL LAW, LLP

STEVENS, GWENDOLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02080          VICKERY & SHEPHERD, LLP

STEVENS, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11077          JOHNSON BECKER, PLLC

STEVENS, JOSEPHINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20694          ONDERLAW, LLC

STEVENS, KRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18851          MORELLI LAW FIRM, PLLC

STEVENS, LARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11424          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STEVENS, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15730           ROSS FELLER CASEY, LLP

STEVENS, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13215           TRAMMELL PC

STEVENS, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15756          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STEVENS, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09621          ONDERLAW, LLC

STEVENS, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06248           ONDERLAW, LLC

STEVENS, MINERVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00844          JAMES MORRIS LAW FIRM PC

STEVENS, NANCIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11118          ONDERLAW, LLC

STEVENS, NICOLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09623          NACHAWATI LAW GROUP

STEVENS, NILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18907          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STEVENS, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14997           ONDERLAW, LLC

STEVENS, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06754          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEVENS, TABATHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04733          THE MILLER FIRM, LLC

STEVENS, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07436          ONDERLAW, LLC

STEVENS, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20675          ONDERLAW, LLC

STEVENS, ULLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00801          ROSS FELLER CASEY, LLP



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           Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

STEVENS-MOLER, ALMA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03238           ONDERLAW, LLC

STEVENSON, CLAUDIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07811          ASHCRAFT & GEREL

STEVENSON, CLAUDIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07811          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEVENSON, COLLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03516          JOHNSON LAW GROUP

STEVENSON, JOYCE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03737           ONDERLAW, LLC

STEVENSON, JUDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06136          ONDERLAW, LLC

STEVENSON, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21679          MOTLEY RICE, LLC

STEVENSON, MARGARET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07439           HEYGOOD, ORR & PEARSON

STEVENSON, MARY JEAN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16823          THE MILLER FIRM, LLC

STEVENSON, SABRINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05504          ONDERLAW, LLC

STEVENSON, SANDY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03354          ONDERLAW, LLC

STEVENSON, SHALEILAH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11012          THE SEGAL LAW FIRM

STEWARD, DADRIAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06800          ONDERLAW, LLC

STEWARD, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17647          ONDERLAW, LLC

STEWARD, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09643           ONDERLAW, LLC

STEWARD, MELISSA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10267          DALIMONTE RUEB, LLP

STEWARD, MILDRED              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02274          MOTLEY RICE, LLC

STEWARD, RACHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06853           ONDERLAW, LLC

STEWARD, SIERRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06738          MARY ALEXANDER & ASSOCIATES, P.C.

STEWART, ALYCEFAYE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01737          ARNOLD & ITKIN LLP

STEWART, AMBER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17200          JOHNSON LAW GROUP

STEWART, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07116          BURNS CHAREST LLP

STEWART, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07116          BURNS CHAREST LLP

STEWART, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17757          NACHAWATI LAW GROUP

STEWART, CANDACE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00771          POTTS LAW FIRM

STEWART, CHARLINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12759          WAGSTAFF & CARTMELL, LLP

STEWART, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03164           ONDERLAW, LLC

STEWART, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12762          BARRETT LAW GROUP

STEWART, DARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04708          THE MILLER FIRM, LLC

STEWART, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02379          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEWART, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07287          BURNS CHAREST LLP

STEWART, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07287          BURNS CHAREST LLP

STEWART, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17776          NACHAWATI LAW GROUP

STEWART, DEENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07495          ONDERLAW, LLC



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           Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

STEWART, DELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07812          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEWART, DIANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14562          DAVIS, BETHUNE & JONES, L.L.C.

STEWART, ESTHER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19782          NACHAWATI LAW GROUP

STEWART, GENNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05432          THE POTTS LAW FIRM, LLP

STEWART, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11444          NACHAWATI LAW GROUP

STEWART, JULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09667          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEWART, JULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12048          FLETCHER V. TRAMMELL

STEWART, JUNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14208          ONDERLAW, LLC

STEWART, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02433           CATES MAHONEY, LLC

STEWART, KATHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00760          ONDERLAW, LLC

STEWART, KELLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STEWART, KELLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STEWART, KELLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STEWART, KELLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19041           NACHAWATI LAW GROUP

STEWART, LAURIELEE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10518          GORI JULIAN & ASSOCIATES, P.C.

STEWART, LILA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04973          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

STEWART, LINDSEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04668          JOHNSON LAW GROUP

STEWART, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00809          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STEWART, LOISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04702          ONDERLAW, LLC

STEWART, LUCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02569          MURRAY LAW FIRM

STEWART, MARILYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06058          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEWART, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10147          DAVIS, BETHUNE & JONES, L.L.C.

STEWART, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07800          JOHNSON LAW GROUP

STEWART, PEARL                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003202-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

STEWART, RACHEAL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21056          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

STEWART, RACHEL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11121          BURNS CHAREST LLP

STEWART, ROSALIND             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000715-21         GOLOMB & HONIK, P.C.

STEWART, SERAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10983          BURNS CHAREST LLP

STEWART, SERAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10983          BURNS CHAREST LLP

STEWART, SHERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08003           ONDERLAW, LLC

STEWART, STACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09578          DALIMONTE RUEB, LLP

STEWART, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10086          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEWART, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03213          ONDERLAW, LLC

STEWART, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12962          BURNS CHAREST LLP



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            Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

STEWART, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12962          BURNS CHAREST LLP

STEWART, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03990          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STEWART, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12063          NACHAWATI LAW GROUP

STEWART, TONI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01547          BURNS CHAREST LLP

STEWART, TONI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01547          BURNS CHAREST LLP

STEWART, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17933          NACHAWATI LAW GROUP

STEWART, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09611          THE SEGAL LAW FIRM

STEWART, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17126          ARNOLD & ITKIN LLP

STEWART, VICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05315          ONDERLAW, LLC

STEWART, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09584           ONDERLAW, LLC

STEWART, YOLANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06167           DRISCOLL FIRM, P.C.

STHAY, DRUCILLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06041           KIRKENDALL DWYER LLP

STICK, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02251          JOHNSON BECKER, PLLC

STICKLE, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02646          JOHNSON LAW GROUP

STICKLER, KASEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17817          NACHAWATI LAW GROUP

STICKLER, RINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08228          THE DUGAN LAW FIRM, APLC

STICKLES, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14887          ONDERLAW, LLC

STICKROD, JODORA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05670          ONDERLAW, LLC

STIDHAM, BOBBI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11246          MOTLEY RICE, LLC

STIDHAM, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09473          KLINE & SPECTER, P.C.

STIDHAM, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05654          ONDERLAW, LLC

STIGERS, SHONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17649          ONDERLAW, LLC

STIGGERS, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17874          ASHCRAFT & GEREL, LLP

STIGGERS, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17874          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STIGLER, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17450           ONDERLAW, LLC

STIGLIANO, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09592          ONDERLAW, LLC

STIGOL, DR. LUISA              NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-00407-20AS        WEITZ & LUXENBERG

STILES, GINGER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19150          JOHNSON LAW GROUP

STILES, MAUREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02992          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STILES, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14026          DAVIS, BETHUNE & JONES, L.L.C.

STILES, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14918          ONDERLAW, LLC

STILES, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08711          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STILL, VALERIE WARDELL         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02563          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

STILLMAN, CHERYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14004          MORGAN & MORGAN



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               Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

STILLWAGGON, CHRISTINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05307          ROSS FELLER CASEY, LLP

STILLWELL, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12852          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STILTNER, PRISCILLA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STILTNER, PRISCILLA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

STILTNER, PRISCILLA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

STILTNER, PRISCILLA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

STILTNER, PRISCILLA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

STILWELL, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08639          THE DUGAN LAW FIRM, APLC

STINER, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11415          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

STINNETT, CLARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12937          ROSS FELLER CASEY, LLP

STINSON, DEBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11362          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STINSON, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06633           ONDERLAW, LLC

STINSON, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15509           ASHCRAFT & GEREL, LLP

STINSON, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15509          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STINSON, NIKKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12921           THE MILLER FIRM, LLC

STIPE, EARLENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16447          JOHNSON BECKER, PLLC

STIRCKLAND, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STIRCKLAND, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276           ONDERLAW, LLC

STIRCKLAND, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

STIRCKLAND, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

STIRLING, CHERYL ELIZABETH MARION   BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230637          PRESZLER LAW FIRM LLP

STITH, TIA                          NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003147-21         NAPOLI SHKOLNIK, PLLC

STITT, HELEN                        IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

STITT, TERI                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17891          NACHAWATI LAW GROUP

STOB, DEBORAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05755          FLETCHER V. TRAMMELL

STOCK, DOLORES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10353          ONDERLAW, LLC

STOCK, DORIS                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15097           MORRIS BART & ASSOCIATES

STOCK, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21851          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOCK, VALERIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10325          ASHCRAFT & GEREL, LLP

STOCK, VALERIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOCKS, MARGARET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11975          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOCKS, SANDRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17360          ONDERLAW, LLC

STOCKS, VICTORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12257          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOCKTON, JUNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03274           ASHCRAFT & GEREL, LLP



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

STOCKTON, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STOCKTON, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STOCKTON, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STOCKTON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01556          BURNS CHAREST LLP

STOCKTON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01556          BURNS CHAREST LLP

STOCKTON, SHANNON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10183          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOCKTON, STPHANIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00578          POTTS LAW FIRM

STOCKTON, TAMALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07929          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOCKTON, TAMALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929           ONDERLAW, LLC

STOCKTON, TAMALYN             CA - SUPERIOR COURT - SONOMA COUNTY          SCV261482               ONDERLAW, LLC

STOCKTON, TAMALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07929           PORTER & MALOUF, PA

STOCKTON, TAMALYN             CA - SUPERIOR COURT - SONOMA COUNTY          SCV261482               SALKOW LAW, APC

STOCKTON, TAMALYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07929          THE SMITH LAW FIRM, PLLC

STOCKTON, TONYA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07768          ONDERLAW, LLC

STOCKUM, ANDREA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19055           NACHAWATI LAW GROUP

STOCKWELL, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17084          SUMMERS & JOHNSON, P.C.

STODDARD, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06043          ARNOLD & ITKIN LLP

STODDARD, KATHLEEN            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STODDARD, KATHLEEN            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           GOLDENBERGLAW, PLLC

STODDARD, KATHLEEN            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

STODDARD, KATHLEEN            MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

STODDARD, KATHLEEN            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           THE SMITH LAW FIRM, PLLC

STODDARD, REBECCA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05730          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STODDARD, SHARON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14746          ONDERLAW, LLC

STODGHILL, JANICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02844           DANIEL & ASSOCIATES, LLC

STODOLAK, DAVID               NY - SUPREME COURT - NYCAL                    190253/2017            MEIROWITZ & WASSERBERG, LLP

STODOLAK, DAVID D             NY - SUPREME COURT - NYCAL                    190253/2017            MEIROWITZ & WASSERBERG, LLP

STOEHR, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14821          LENZE LAWYERS, PLC

STOEHR, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14821          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STOERMER, DORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04759          THE MILLER FIRM, LLC

STOFER, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00875          ARNOLD & ITKIN LLP

STOGNER, DORIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09998          GORI JULIAN & ASSOCIATES, P.C.

STOGNER, TERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14982          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOIA, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15742          ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

STOJANOVIC, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16322           JOHNSON LAW GROUP

STOKER, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV16801            ONDERLAW, LLC

STOKES, ADRIENNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05870          DALIMONTE RUEB, LLP

STOKES, DESTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06137          ONDERLAW, LLC

STOKES, HAZEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06282          WILLIAMS HART LAW FIRM

STOKES, IDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19783          NACHAWATI LAW GROUP

STOKES, JEAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07429          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOKES, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06776          ONDERLAW, LLC

STOKES, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09953          ONDERLAW, LLC

STOKES, RYONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07642          ONDERLAW, LLC

STOKES, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07814          ASHCRAFT & GEREL

STOKES, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07814          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOKES, TAWANAHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06436          KLINE & SPECTER, P.C.

STOKES, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02624          ONDERLAW, LLC

STOKES-SOTHERN, EMMA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13221          NACHAWATI LAW GROUP

STOKMAN, LINDA                   DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02751          ASHCRAFT & GEREL

STOKMAN, LINDA                   DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02751          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOLLER, SHEENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17566          TRAMMELL PC

STOLLER, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18144          SIMMONS HANLY CONROY

STOLTZFUS, GAIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14987          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOLTZFUS, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13738          ARNOLD & ITKIN LLP

STOMMEL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09529          ONDERLAW, LLC

STONE, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00112           CHAPPELL, SMITH & ARDEN, P.A.

STONE, DANIELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02456          ONDERLAW, LLC

STONE, DEBBIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-2850-15          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STONE, DEBBIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2850-15           PORTER & MALOUF, PA

STONE, DEBBIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2850-15           SEEGER WEISS LLP

STONE, DEBBIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2850-15           THE SMITH LAW FIRM, PLLC

STONE, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08260           HAUSFELD

STONE, HELEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03483          ONDERLAW, LLC

STONE, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17036          THE MILLER FIRM, LLC

STONE, JOHANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15978           WATERS & KRAUS, LLP

STONE, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15005           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

STONE, KATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06955          ONDERLAW, LLC

STONE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09400          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STONE, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12566          MORRIS BART & ASSOCIATES

STONE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04171          ONDERLAW, LLC

STONE, RENEE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09834          SANDERS VIENER GROSSMAN, LLP

STONE, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13972          ONDERLAW, LLC

STONE, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15516          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

STONE, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05445          ONDERLAW, LLC

STONEHOCKER, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03068           ONDERLAW, LLC

STONER, EUGENIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04719          THE MILLER FIRM, LLC

STONER, JENNY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06069          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STONER, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03543          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STONER, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07947          ONDERLAW, LLC

STONICHER, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14265          ASHCRAFT & GEREL, LLP

STONICHER, SARAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14265          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STONITSCH, RENEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17865          NACHAWATI LAW GROUP

STOPCHINSKI, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10035          GORI JULIAN & ASSOCIATES, P.C.

STOPCYNSKI, HELENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11012          GOLDENBERGLAW, PLLC

STOPINSKI, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01160          THE MILLER FIRM, LLC

STORANDT, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STORANDT, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

STORANDT, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

STORANDT, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

STORANDT, KAREN                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           THE SMITH LAW FIRM, PLLC

STORLIE, POLLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:21-CV-10469               ARNOLD & ITKIN LLP
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
STORM, CATHY                                                              171203367                   THE MILLER FIRM, LLC
                                 PLEAS
STORM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:21-CV-08651               ONDERLAW, LLC

STOROZYSZYN, JANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11324          HART MCLAUGHLIN & ELDRIDGE

STORTI, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11838          DANIEL & ASSOCIATES, LLC

STORY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STORY, BARBARA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318722             KIESEL LAW, LLP

STORY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          ONDERLAW, LLC

STORY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          PORTER & MALOUF, PA

STORY, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03945           THE SMITH LAW FIRM, PLLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

STORY, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11824          ARNOLD & ITKIN LLP

STORY, JANELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05586          ONDERLAW, LLC

STOTLER, MELVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01211          COHEN & MALAD, LLP

STOTT, DELORIS                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC627457                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STOTT, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09483          KLINE & SPECTER, P.C.

STOTTS, SANDRA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002388-20         GOLOMB & HONIK, P.C.

STOUDERMIRE, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03485           ONDERLAW, LLC

STOUFFER, JUNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01595          TRAMMELL PC

STOUGH, RENITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15511          ASHCRAFT & GEREL, LLP

STOUGH, RENITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15511          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOUT, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10444          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOUT, ETHEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17719          WAGSTAFF & CARTMELL, LLP

STOUT, LORETTA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002757-21         WEITZ & LUXENBERG

STOUT, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15243          JOHNSON LAW GROUP

STOUT, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08318          ONDERLAW, LLC

STOUT, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09751          JOHNSON LAW GROUP

STOUT, SHERRI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOVALL, GLADYS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02546          ONDERLAW, LLC

STOVALL, KYRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14273           DRISCOLL FIRM, P.C.

STOVALL, LENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06709          ONDERLAW, LLC

STOVALL, LOU                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09028          ONDERLAW, LLC

STOVER, ALMA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STOVER, ALMA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

STOVER, ALMA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

STOVER, CASEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12471          SIMMONS HANLY CONROY

STOVER, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19173          SULLO & SULLO, LLP

STOVER, LANARMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09743          ONDERLAW, LLC

STOVER, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03387          ONDERLAW, LLC

STOVER, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05596          JOHNSON LAW GROUP

STOVER-POLK, KAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20514          DRISCOLL FIRM, P.C.

STOWE, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19126          NACHAWATI LAW GROUP

STOWE, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22093          ONDERLAW, LLC

STOWELL, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16085          BURNS CHAREST LLP

STOWERS, ANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10733          GOLDENBERGLAW, PLLC



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           Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

STOWERS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16747          THE SEGAL LAW FIRM

STRAATMAN, SUSAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11234          JOHNSON LAW GROUP

STRABEL, JEANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15329          ONDERLAW, LLC

STRACHAN, DEANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19247          ASHCRAFT & GEREL

STRACHN, MILDRED              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21853          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STRADFORD, LASHAE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13610           THE MILLER FIRM, LLC

STRAHAN, RAMONA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03753          JOHNSON LAW GROUP

STRAHAN, RYNDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09746          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STRAIGHT, LAURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04939          ASHCRAFT & GEREL, LLP

STRAIN, GLADYS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06663          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STRANDVOLD, FREDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06266          ONDERLAW, LLC

STRANGE, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18378          ONDERLAW, LLC

STRASSBERG, DOROTHY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07880          SLACK & DAVIS LLP

STRATER, ERIN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02916          ONDERLAW, LLC

STRATHDEE, CINDY              CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046              ROCHON GENOVA LLP

STRATHDEE, CINDY              CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046              WILL DAVIDSON LLP

STRATHDEE, MATTHEW            CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046              ROCHON GENOVA LLP

STRATHY, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17825          NACHAWATI LAW GROUP

STRATTON, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02373          JOHNSON LAW GROUP

STRATTON, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STRATTON, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15833          LENZE LAWYERS, PLC

STRATTON, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STRATTON, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15833          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STRATTON, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STRATTON, NINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09451          HOLLAND LAW FIRM

STRATTON, PAT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09180          THE BENTON LAW FIRM, PLLC

STRATTON, STEPHANIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15784          DRISCOLL FIRM, P.C.

STRATTON, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06047          KIRKENDALL DWYER LLP

STRAUB, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05688          ONDERLAW, LLC

STRAUBE, SHARI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13435          WILLIAMS HART LAW FIRM

STRAUGHN, DENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01143          GORI JULIAN & ASSOCIATES, P.C.

STRAUSE, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17769          NACHAWATI LAW GROUP




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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

STRAWHORN, PHYLLIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STRAWHORN, PHYLLIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STRAWHORN, PHYLLIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STRAWTHER, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14327          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STRECK, MATTHEW                KY - CIRCUIT COURT - JEFFERSON COUNTY         21CI06290              KAZAN MCCLAIN SATTERLEY & GREENWOOD

STRECK, MATTHEW                KY - CIRCUIT COURT - JEFFERSON COUNTY         21CI06290              SATTERLEY & KELLEY

STREET, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10229           THE MILLER FIRM, LLC

STREET, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12579           ASHCRAFT & GEREL, LLP

STREET, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12579           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STREET, MELBA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08436          FLETCHER V. TRAMMELL

STREET, PATRICIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-616-16            GOLOMB SPIRT GRUNFELD PC

STREET, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07376           ONDERLAW, LLC

STREETER, CAROLYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08262           HAUSFELD

STREETER, CLAUDETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18101           ARNOLD & ITKIN LLP

STREETER, STEVEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08289          ONDERLAW, LLC

STREEVAL, BETTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08915           WAGSTAFF & CARTMELL, LLP

STRELAU, JADWIGA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10761           ONDERLAW, LLC

STRELEC, CRYSTAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05480          DRISCOLL FIRM, P.C.

STRELECKY, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10097          ONDERLAW, LLC

STRETZ, MELISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09728          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STRICKLAND, CAROLYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11560           NACHAWATI LAW GROUP

STRICKLAND, ELIZABETH          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02767          ONDERLAW, LLC

STRICKLAND, NELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07337          BARNES LAW GROUP, LLC

STRICKLAND, NELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07337          CHEELEY LAW GROUP

STRICKLAND, OLIVIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21953          JOHNSON LAW GROUP

STRICKLAND, PAMELA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12671           DRISCOLL FIRM, P.C.

STRICKLAND, PEGGY              IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

STRICKLAND, STACEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19787          NACHAWATI LAW GROUP

STRICKLAND, VONDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09816          ONDERLAW, LLC

STRICKLEN, MONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STRICKLEN, MONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

STRICKLEN, MONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

STRICKLEN, MONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

STRICKLEN, MONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC



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            Claimant Name                          State Filed                        Docket Number                            Plaintiff Counsel

STRIEGLE, ALICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03603           ONDERLAW, LLC

STRINGER, BECKY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09648          TRAMMELL PC

STRINGER, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08467           ONDERLAW, LLC

STRINGER, KATHERINE, SR.         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05499           ONDERLAW, LLC

STRINGER, LOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06245          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STRINGFELLOW, MARTHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04106           ONDERLAW, LLC

STRINGFELLOW, MOESHA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08813           ONDERLAW, LLC

STRINGFELLOW, THOMAS             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002906-21         MAUNE RAICHLE HARTLEY FRENCH & MUDD

STRINGFELLOW, THOMAS AND KAREN   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-002906-21        LEVY KONIGSBERG LLP

STRINGHAM, HEIDI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14555          JOHNSON LAW GROUP

STRNAD, LAURIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03023          JOHNSON LAW GROUP
STROBEL, DOUGLAS AND STROBEL,
                                 CA - SUPERIOR COURT - SOLANO COUNTY           FCS052548              BRAYTON PURCELL LLP
JOANN
STROBL, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01881          JOHNSON LAW GROUP

STROBL, PAULETTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15848          NAPOLI SHKOLNIK, PLLC

STROH, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

STROH, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15865          LENZE LAWYERS, PLC

STROH, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

STROH, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15865           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STROH, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

STROHL, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08139          ONDERLAW, LLC

STROJEK, KATHLEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05627          NAPOLI SHKOLNIK, PLLC

STROM, BERNADETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11138          GOLDENBERGLAW, PLLC

STROM, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11055          THE SIMON LAW FIRM, PC

STRONEY, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00410          GOLOMB SPIRT GRUNFELD PC

STRONG, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11361           THE DUGAN LAW FIRM, APLC

STRONG, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11537          NACHAWATI LAW GROUP

STRONG, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06632          BURNS CHAREST LLP

STRONG, JULIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17746          ROSS FELLER CASEY, LLP

STRONG, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13088          ONDERLAW, LLC

STRONG, RENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13651          MORELLI LAW FIRM, PLLC

STRONG, SHEREE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09281          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STRONG, TERRINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17899          NACHAWATI LAW GROUP




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

STRONG, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08991          MOTLEY RICE, LLC

STROTH, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01285          BURNS CHAREST LLP

STROTH, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01285          BURNS CHAREST LLP

STROTHER, CRYSTAL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

STROTHER, CRYSTAL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

STROTHER, CRYSTAL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

STROUD, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07502          ASHCRAFT & GEREL, LLP

STROUD, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07502          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STROUD, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02583          ONDERLAW, LLC

STROUD, JODENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00124          CELLINO & BARNES, P.C.

STROUD, KECIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10216          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STROUPE, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09234           ONDERLAW, LLC

STROZIER, DENISKA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03418          NACHAWATI LAW GROUP

STRUBLE, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17868          NACHAWATI LAW GROUP

STRUCK, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05934          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STRUKEL, CHRISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07463          DUGAN LAW FIRM, PLC

STRUNC, KITTRELL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18295          ARNOLD & ITKIN LLP

STRUNK, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16507          GOLOMB SPIRT GRUNFELD PC

STRUTHERS, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04722          ASHCRAFT & GEREL

STRUVE, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04291          ASHCRAFT & GEREL, LLP

STRYJEWSKI, LORETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00026          CELLINO & BARNES, P.C.

STRYKOWSKI, IDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05964          JOHNSON LAW GROUP

STUART, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13452          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STUART, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19748          ONDERLAW, LLC

STUART, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10603          JOHNSON LAW GROUP

STUART, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10603          LEVIN SIMES ABRAMS LLP

STUART, FRAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19964          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

STUART, IRMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14017          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STUART, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03381          BURNS CHAREST LLP

STUART, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03381          BURNS CHAREST LLP

STUART, SHANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03094           FLETCHER V. TRAMMELL

STUART, UNNI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20279          ONDERLAW, LLC

STUBBS, BEATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13371          NACHAWATI LAW GROUP




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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

STUBBS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11152          BEKMAN, MARDER, & ADKINS, LLC

STUBBS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11152          ONDERLAW, LLC

STUBBS, SABRINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04144          ONDERLAW, LLC

STUBBS, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08259          ONDERLAW, LLC

STUCHENKO-SPARKS, JO-ANN       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06919           JOHNSON BECKER, PLLC

STUCKENSCHEIDER, CHANEL        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16371          JASON J. JOY & ASSCIATES P.L.L.C.

STUCKER, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09483          THE MILLER FIRM, LLC

STUCKER, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12844          NAPOLI SHKOLNIK, PLLC

STUCKER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08879          NACHAWATI LAW GROUP

STUCKERT, STACY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17664          NACHAWATI LAW GROUP

STUCKEY, NIHIVAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17523          DRISCOLL FIRM, P.C.

STUCKEY, OLLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11351          NACHAWATI LAW GROUP

STUDEBAKER, MARGARET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13255          THE MILLER FIRM, LLC

STUESSEL, SAMANTHA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002441-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

STUKES, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09423           ONDERLAW, LLC

STULL, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09906          GORI JULIAN & ASSOCIATES, P.C.

STUMP, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01522          FLETCHER V. TRAMMELL

STUMPF, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04644          BARON & BUDD, P.C.

STUMPF, LAVERNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

STUMPF, LAVERNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

STUMPF, LAVERNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

STUMPF, LAVERNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

STUMPF, NICHOLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17833          NACHAWATI LAW GROUP

STUMPF, NICOLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08614          ONDERLAW, LLC

STUMPF, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STUMPNER, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00980          TRAMMELL PC

STUPKA, LAUREL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10262          ONDERLAW, LLC

STURDIVANT, DOTSIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01246          SIMMONS HANLY CONROY

STUREY, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03877           JOHNSON LAW GROUP

STURGEON, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00807           FLETCHER V. TRAMMELL

STURGILL, BESSIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20259          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STURGILL, JENNY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05022          THE SEGAL LAW FIRM

STURGILL, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01349          THE MILLER FIRM, LLC




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              Claimant Name                            State Filed                       Docket Number                              Plaintiff Counsel

STURGIS, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09029          ONDERLAW, LLC

STURM, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17239          CARDARO & PEEK, L.L.C.

STURMAN, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STURMAN, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

STURMAN, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276           PORTER & MALOUF, PA

STURMAN, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276           THE SMITH LAW FIRM, PLLC

STURN, VIDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16421          ARNOLD & ITKIN LLP

STUSAK, MARILYN                     GA - STATE COURT OF DEKALB COUNTY             20-A-79558             BARNES LAW GROUP, LLC

STUSAK, MARILYN                     GA - STATE COURT OF DEKALB COUNTY            20-A-79558              CHEELEY LAW GROUP

STUSAK, MARILYN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

STUSAK, MARILYN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

STUSAK, MARILYN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

STUTES, SHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08281          ONDERLAW, LLC

STUTSMAN, AMANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18497          ONDERLAW, LLC

STUTSON, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17546          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

STUTTERS, KATHERINE                 IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

STUTZMAN, MALORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05996           ONDERLAW, LLC

STYLES, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08410          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

STYRON, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17862          NACHAWATI LAW GROUP

SUAREZ, BELKIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18467          NACHAWATI LAW GROUP

SUAREZ, CHARMIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11407          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SUAREZ, ISABEL EST OF FRAY A. SUAREZ NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-04073-19AS       WEITZ & LUXENBERG

SUAREZ, KELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SUAREZ, KELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           LENZE LAWYERS, PLC

SUAREZ, KELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SUAREZ, LUCY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13112          CELLINO & BARNES, P.C.

SUASY ACEVEDO                       FEDERAL - MDL                                3:21-CV-16137           SLATER, SLATER, SCHULMAN, LLP

SUASY ACEVEDO                       FEDERAL - MDL                                3:21-CV-16137           SLATER, SLATER, SCHULMAN, LLP

SUBASIC, JOANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUBER, EVELYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01436          ARNOLD & ITKIN LLP

SUBER, JEAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16647          ASHCRAFT & GEREL

SUBER, JEAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16647          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUBER, LYNNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00306          WILLIAMS HART LAW FIRM

SUBER, MISTY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10264          GORI JULIAN & ASSOCIATES, P.C.



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              Claimant Name                           State Filed                        Docket Number                            Plaintiff Counsel

SUCHANEK, WILVA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08344          FLETCHER V. TRAMMELL

SUCHOMEL, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07033          ONDERLAW, LLC

SUCI, PARNI                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14390          ONDERLAW, LLC

SUCKER, CARRIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03458          ONDERLAW, LLC

SUDDS, AMIE                         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002505-20          GOLOMB & HONIK, P.C.

SUDLER, OMYRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06739          GOLOMB & HONIK, P.C.
SUEDEKUM, JERI EST OF ALMON
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-001859-21        WEITZ & LUXENBERG
SUEDEKUM
SUERKEN, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08842          JOHNSON LAW GROUP

SUESS, LIZBETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20944          CELLINO & BARNES, P.C.

SUGERMAN, ARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02985          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUHR, AURA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10058          JOHNSON LAW GROUP

SUHREPTZ, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03845          ONDERLAW, LLC

SUIRE, ROXANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15990          LENZE LAWYERS, PLC

SUIRE, ROXANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15990           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SUIRE, ROZANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SUIRE, ROZANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SUIRE, ROZANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SUJETA, NORMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21856          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUKSDORF, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11089          NACHAWATI LAW GROUP

SULA, BARBARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00032          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SULE, VERNETTA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17940          NACHAWATI LAW GROUP

SULGIT, PRISCILLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03078          ONDERLAW, LLC

SULKOWSKI, DEBORAH                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6239-14           SEEGER WEISS LLP

SULLIVAN, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10026           THE LAW OFFICES OF SEAN M CLEARY

SULLIVAN, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11743          THE MILLER FIRM, LLC
SULLIVAN, BERRY COLLEN AND BERRY,   OH - COURT OF COMMON PLEASE - CUYAHOGA
                                                                                 CV-18-895936            MCDERMOTT & HICKEY
RICHARD                             COUNTY
SULLIVAN, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13032          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SULLIVAN, BEULAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01827          ONDERLAW, LLC

SULLIVAN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14693          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SULLIVAN, CARRIE                    IL - CIRCUIT COURT - COOK COUNTY              2021L004831            BRUSTER PLLC

SULLIVAN, CARRIE                    IL - CIRCUIT COURT - COOK COUNTY              2021L004831            MALATESTA LAW OFFICES, LLC

SULLIVAN, CARRIE                    IL - CIRCUIT COURT - COOK COUNTY             2021L004831             NACHAWATI LAW GROUP

SULLIVAN, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10825           NACHAWATI LAW GROUP

SULLIVAN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15854          JOHNSON LAW GROUP



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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SULLIVAN, EMILY P.             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-5142-14           GOLOMB SPIRT GRUNFELD PC

SULLIVAN, HELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11874           CELLINO & BARNES, P.C.

SULLIVAN, HELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11683           WATERS & KRAUS, LLP

SULLIVAN, INGRID               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17007          ONDERLAW, LLC

SULLIVAN, JACQUELYN            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002258-20         GOLOMB & HONIK, P.C.

SULLIVAN, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17439          ONDERLAW, LLC

SULLIVAN, LACINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09713          GOLOMB SPIRT GRUNFELD PC

SULLIVAN, LAURA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13603          THE MILLER FIRM, LLC

SULLIVAN, LAURIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02798          THE CARLSON LAW FIRM

SULLIVAN, LENORE               CA - SUPERIOR COURT - LOS ANGELES COUNTY     18CV340055              THE MILLER FIRM, LLC

SULLIVAN, LENORE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17697          THE MILLER FIRM, LLC

SULLIVAN, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10584          ONDERLAW, LLC

SULLIVAN, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07566           THE DUGAN LAW FIRM, APLC

SULLIVAN, LORETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00568           JOHNSON BECKER, PLLC

SULLIVAN, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16103          MORRIS BART & ASSOCIATES

SULLIVAN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10812          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SULLIVAN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11140           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

SULLIVAN, MAUREEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19415          CELLINO & BARNES, P.C.

SULLIVAN, MELANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09091          ONDERLAW, LLC

SULLIVAN, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-15662             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SULLIVAN, MIRIAM               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09586          ONDERLAW, LLC

SULLIVAN, PHYLLIS              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002710-21         WEITZ & LUXENBERG

SULLIVAN, REBECCA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03177          ONDERLAW, LLC

SULLIVAN, ROSEMARY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17493          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SULLIVAN, RUBY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14866          NACHAWATI LAW GROUP

SULLIVAN, SANDRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12970          ONDERLAW, LLC

SULLIVAN, SHANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01020           SULLO & SULLO, LLP

SULLIVAN, SPENYADA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002698-21         WEITZ & LUXENBERG

SULLIVAN, TEANICKE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13528          DRISCOLL FIRM, P.C.

SULLIVAN, TEANICKE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08092          DUGAN LAW FIRM, PLC

SULLIVAN, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17929           NACHAWATI LAW GROUP

SULLIVAN-MYERS, CHANTEL        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12950           NAPOLI SHKOLNIK, PLLC

SULLIVAN-WATKINS, TAMMY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09098           ONDERLAW, LLC




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SULLO, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11482          NACHAWATI LAW GROUP

SULTZE, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07824          ASHCRAFT & GEREL

SUMMER, TRACY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09339          ONDERLAW, LLC

SUMMERLIN, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08171          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

SUMMERS, CAROL                    IL - CIRCUIT COURT - COOK COUNTY              2020-L-1314            CLIFFORD LAW OFFICES, P.C.

SUMMERS, CAROL                    IL - CIRCUIT COURT - COOK COUNTY             2020-L-1314             HOVDE, DASSOW, & DEETS, LLC

SUMMERS, CAROL                    IL - CIRCUIT COURT - COOK COUNTY             2020-L-1314             MEYERS & FLOWERS, LLC

SUMMERS, DEEANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19570          ONDERLAW, LLC

SUMMERS, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06409          ONDERLAW, LLC

SUMMERS, JACQUELINE ADAMS         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12334           FRAZER LAW LLC

SUMMERS, JACQUELYNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16436          ARNOLD & ITKIN LLP

SUMMERS, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20001          SANDERS PHILLIPS GROSSMAN, LLC

SUMMERS, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10817          ASHCRAFT & GEREL

SUMMERSET, PRISCILLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18659          MOTLEY RICE, LLC

SUMMERVILLE, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11878           THE MILLER FIRM, LLC

SUMNER, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06825          BARNES LAW GROUP, LLC

SUMNER, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06825          CHEELEY LAW GROUP

SUMNER, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14836          LENZE LAWYERS, PLC

SUMNER, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14836          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SUMNER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08142          POULIN, WILLEY, ANASTOPOULO, LLC

SUMNER, VICKY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02617          ARNOLD & ITKIN LLP

SUMPLE, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05364          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUMPTER, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09322          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUMPTER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07691           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SUMPTER, LOLITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SUMPTER, LOLITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15730          LENZE LAWYERS, PLC

SUMPTER, LOLITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SUMPTER, LOLITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15730          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SUMPTER, LOLITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SUMPTER, THERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22135          ONDERLAW, LLC

SUMPTER, WALDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09593          ONDERLAW, LLC

SUMTER, IVANELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14591          TAUTFEST BOND

SUNARJO, SHERLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11479          THE CARLSON LAW FIRM




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SUNDAY, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19431          NACHAWATI LAW GROUP

SUNDE, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07821          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUNDERMAN, SHERRI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14848          SANDERS PHILLIPS GROSSMAN, LLC

SUNDERMEYER, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04082          ONDERLAW, LLC

SUNDGREN, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01705           JOHNSON LAW GROUP

SUNDY, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10768          ONDERLAW, LLC

SUNSHINE, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00655          DIAMOND LAW

SUONPERA, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18393          ROSS LAW OFFICES, P.C.

SUPPLE, CHRYSTAL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10555          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SURAEZ, MIRIAM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06580          JOHNSON LAW GROUP

SURBER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04818          WEXLER WALLACE LLP

SURBER, SIOBHAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10087          DALIMONTE RUEB, LLP

SURETTE, GLADYS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11606          NACHAWATI LAW GROUP

SURGENER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17332          ASHCRAFT & GEREL, LLP

SURGENER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17332          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SURLES, BERNIECE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06606           ONDERLAW, LLC

SURMAN, DEBRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SURMAN, DEBRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

SURMAN, DEBRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

SURMAN, DEBRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

SURMAN, DEBRA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

SURMAN, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09227          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SURRENCY, EDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13621          JOHNSON LAW GROUP

SURRENCY, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10053          GORI JULIAN & ASSOCIATES, P.C.

SUSAN BEILKE                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SUSAN BRIDGERS                   FEDERAL - MDL                                3:21-CV-19057           MOTLEY RICE, LLC

SUSAN BRIDGERS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19057          MOTLEY RICE, LLC

SUSAN DEGANO                     DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02706          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUSAN DOBRZENIECK                FEDERAL - MDL                                 3:21-CV-19882          ONDERLAW, LLC

SUSAN DOBRZENIECK                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-19882           ONDERLAW, LLC

SUSAN DURAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18302          WEITZ & LUXENBERG

SUSAN FLESHMAN                   FEDERAL - MDL                                3:21-CV-19930           MCSWEENEY/LANGEVIN, LLC

SUSAN GILES                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003323-21         GOLOMB SPIRT GRUNFELD PC

SUSAN HAEFNER                    FEDERAL - MDL                                 3:21-CV-19643          JOHNSON BECKER, PLLC



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                Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

SUSAN MCNUTT                       DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02736          ASHCRAFT & GEREL

SUSAN MCNUTT                       DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02736          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUSAN RICHIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18265          ONDERLAW, LLC

SUSAN SIMPSON                      FEDERAL - MDL                                 3:21-CV-19428          TORHOERMAN LAW LLC

SUSAN SPRINGER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18513          WEITZ & LUXENBERG

SUSANNA MAGNUSON                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003238-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

SUSANNA MAGNUSON                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003238-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

SUSANNE TOBACK                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19696          JOHNSON BECKER, PLLC

SUSANNE TOBACK                     FEDERAL - MDL                                3:21-CV-19696           JOHNSON BECKER, PLLC

SUSANNE TOBACK                     FEDERAL - MDL                                3:21-CV-19696           JOHNSON BECKER, PLLC

SUSCHANKE, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10770          ONDERLAW, LLC

SUSEWIND, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09564          ONDERLAW, LLC

SUSKA, CAROLYN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10469          GOLDENBERGLAW, PLLC

SUTCLIFFE, S.                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001344-18         ASHCRAFT & GEREL

SUTCLIFFE, S.                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001344-18         GOLOMB SPIRT GRUNFELD PC

SUTER, DEAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09044          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUTHERLAND, DIANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09815           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUTHERLAND, SHENINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05784           ONDERLAW, LLC

SUTTER, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11248          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUTTLE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

SUTTLE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15657          LENZE LAWYERS, PLC

SUTTLE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

SUTTLE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09122          ONDERLAW, LLC

SUTTLE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15657          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SUTTLE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SUTTLE, LAURA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08663          SANDERS VIENER GROSSMAN, LLP

SUTTON, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09614          FLETCHER V. TRAMMELL

SUTTON, DANIELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20304          ONDERLAW, LLC

SUTTON, ELSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19792          NACHAWATI LAW GROUP

SUTTON, ESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11889          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUTTON, ESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14294          THE SEGAL LAW FIRM

SUTTON, KATHY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003068-21         WEITZ & LUXENBERG

SUTTON, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08499          ONDERLAW, LLC

SUTTON, ROSITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09680          ONDERLAW, LLC



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             Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SUTTON, SHEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10211          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SUTTON, SUZANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01785          ONDERLAW, LLC

SUTYAK, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07005          ONDERLAW, LLC

SUZANNE FRICK                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003281-21         WEITZ & LUXENBERG

SUZANNE LAFRANCE                IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

SUZUKI, AGNES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10513          THE SEGAL LAW FIRM

SVANDA, DEBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01885          JOHNSON LAW GROUP

SVATEK, KATHRYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06485          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SVELMOE, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16313          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWAFFORD, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01445          MORELLI LAW FIRM, PLLC

SWAIM, SELINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03745          WATERS & KRAUS, LLP

SWAIN, ADA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16226          THE MILLER FIRM, LLC

SWAIN, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10722          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SWALLOW, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07352          ONDERLAW, LLC

SWALLOWS, JENNY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18207          ONDERLAW, LLC

SWAN, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07432          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWAN, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02008          BUCKINGHAM BARRERA LAW FIRM

SWAN, KAREN                     GA - STATE COURT OF GWINNETT COUNTY           19-C-09063             CHILDERS, SCHLUETER & SMITH, LLC

SWAN, MARION                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14007          FLETCHER V. TRAMMELL

SWANAGER, VICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08531          GORI JULIAN & ASSOCIATES, P.C.

SWANCUTT, LAUREEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11161          GOLDENBERGLAW, PLLC

SWANER, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00153           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

SWANEY, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06635          SALTZ MONGELUZZI & BENDESKY PC

SWANEY, PEGGY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12286          BARRETT LAW GROUP

SWANGER, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16051          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWANGO, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16907          ONDERLAW, LLC

SWANN, GLORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16366          ONDERLAW, LLC

SWANN, VALERIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         ONDERLAW, LLC

SWANN, VALERIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09326-01        PORTER & MALOUF, PA

SWANN, VALERIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         THE SMITH LAW FIRM, PLLC

SWANSON, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08734          ONDERLAW, LLC

SWANSON, CHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02314          ONDERLAW, LLC

SWANSON, DELIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09285          ONDERLAW, LLC

SWANSON, ELIZABETH              IL - CIRCUIT COURT - COOK COUNTY             2019-L-5824             DRISCOLL FIRM, P.C.



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

SWANSON, FRANCES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08784          ONDERLAW, LLC

SWANSON, HEIDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16938           ASHCRAFT & GEREL

SWANSON, HEIDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16938          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWANSON, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21608           GORI JULIAN & ASSOCIATES, P.C.

SWANSON, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-02230          JOHNSON LAW GROUP

SWANSON, NICOLE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002699-21         WEITZ & LUXENBERG

SWANSON, SALLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15569          DALIMONTE RUEB, LLP

SWARTLING, LORRAINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05476          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWARTS, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06246          ONDERLAW, LLC

SWARTZ, LYNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16905          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWEANEY, JODI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05960          ONDERLAW, LLC

SWEARINGEN, LESLIE               CA - SUPERIOR COURT - LOS ANGELES COUNTY      VCU276091              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWEARINGEN, LESLIE               CA - SUPERIOR COURT - LOS ANGELES COUNTY     VCU276091               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SWEARINGEN, LESLIE               CA - SUPERIOR COURT - LOS ANGELES COUNTY     VCU276091               THE SMITH LAW FIRM, PLLC

SWEARINGIN, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17766          NACHAWATI LAW GROUP

SWEARINGTON, LESLIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07708           ONDERLAW, LLC

SWEAT, LORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17820          NACHAWATI LAW GROUP

SWEAT, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02269          CELLINO & BARNES, P.C.

SWEATT, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01797          ONDERLAW, LLC

SWECKER, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09520          FLETCHER V. TRAMMELL

SWECKER, CAROLYN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002197-20         GOLOMB & HONIK, P.C.

SWEDBERG, KRISTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15000          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SWEEDEN, LOUISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08993          ONDERLAW, LLC

SWEENEY, CATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10208          SANDERS VIENER GROSSMAN, LLP

SWEENEY, CLAUDIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18787          CELLINO & BARNES, P.C.

SWEENEY, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00017          ONDERLAW, LLC

SWEENEY, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16043           ASHCRAFT & GEREL, LLP

SWEENEY, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16043          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWEENEY, KIMBERLY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002567-20         GOLOMB & HONIK, P.C.

SWEENEY, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22188          ONDERLAW, LLC

SWEERE, SHELLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02138          ONDERLAW, LLC

SWEET, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12068          LENZE LAWYERS, PLC

SWEET, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18311           ARNOLD & ITKIN LLP

SWEET, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11052          JOHNSON BECKER, PLLC



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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

SWEETEN, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11901          DAVIS, BETHUNE & JONES, L.L.C.

SWEETMAN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15003           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

SWEETSER, ANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14019          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWEGLE, KAE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18970          NACHAWATI LAW GROUP

SWEIS, ELEN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06641          ONDERLAW, LLC

SWEITZER-SIMENTAL, TAMMY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15364          DAVIS, BETHUNE & JONES, L.L.C.

SWENSON, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13275          GOLDENBERGLAW, PLLC

SWENSON, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06624          ARNOLD & ITKIN LLP

SWENSON, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14188          ASHCRAFT & GEREL, LLP

SWENSON, JESSIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18507          THE SEGAL LAW FIRM

SWENSON, MARLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16657          ASHCRAFT & GEREL

SWENSON, MARLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16657          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWEOWAT, AGNES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09114          ONDERLAW, LLC

SWERDLOFF, LANCIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18470          BEKMAN, MARDER, & ADKINS, LLC

SWETISH, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08716          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWETMAN, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09013          MORRIS BART & ASSOCIATES

SWETS, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05540          POTTS LAW FIRM

SWETT, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11607          FLETCHER V. TRAMMELL

SWIACKE, MARIA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003203-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

SWIFT, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01203          POTTS LAW FIRM

SWIFT, STAR                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07667          BARRETT LAW GROUP

SWIGER, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09270          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWIHART, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04115          ONDERLAW, LLC

SWINDALL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19803          NACHAWATI LAW GROUP

SWINDELL, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13076           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWINDLE, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14126          JOHNSON LAW GROUP

SWINDLE, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09953          ONDERLAW, LLC

SWINDLE, SUE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07815          ASHCRAFT & GEREL

SWINDLE, SUE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07815          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWINDLEHURST, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07565          ASHCRAFT & GEREL, LLP

SWINDLEHURST, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07565          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWINEY, ARETHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20075          ONDERLAW, LLC

SWING, LOUISE                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE-21-004162          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWING, LOUISE                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE-21-004162          KELLEY UUSTAL, PLC



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             Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

SWINNEY, MELINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04911          ASHCRAFT & GEREL, LLP

SWINT, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17489          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SWISHER, JEANETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17804          NACHAWATI LAW GROUP

SWITZER, CHRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12807           ONDERLAW, LLC

SWOPE, DEBRA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000219-21         MORELLI LAW FIRM, PLLC

SWOPE, DEBRA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000219-21         THE SEGAL LAW FIRM

SWOPE, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16408          THE SEGAL LAW FIRM

SWOPE, MELINDA                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328936              THE MILLER FIRM, LLC

SWORD, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06001           ONDERLAW, LLC

SYAS, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00152          HEYGOOD, ORR & PEARSON

SYAS, EMMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08867          ONDERLAW, LLC

SYBERT, LORRIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

SYBERT, LORRIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

SYBERT, LORRIE                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

SYBERT, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00264          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SYED, YASMIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07931          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

SYKES, CARLEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165            ONDERLAW, LLC

SYKES, CARLEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11165           PORTER & MALOUF, PA

SYKES, CARLEN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11165           THE SMITH LAW FIRM, PLLC

SYKES, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17288          BURNS CHAREST LLP

SYKES, SHELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12582          LENZE LAWYERS, PLC

SYKES, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06569          CAPRETZ & ASSOCIATES

SYKES, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06569          LENZE KAMERRER MOSS, PLC

SYLVESTER, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06797          MORELLI LAW FIRM, PLLC

SYLVESTER, JEANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06930          WILLIAMS HART LAW FIRM

SYLVESTER, TIKIRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17925          NACHAWATI LAW GROUP

SYLVIA GARCIA                   CA - STATE                                   21STCV40538             BISNAR AND CHASE

SYLVIA HERTL                    FEDERAL - MDL                                 3:21-CV-17116          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SYMES, KRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06862          THE SIMON LAW FIRM, PC

SYMMONDS, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13283           JOHNSON LAW GROUP

SYNCHUK, LYUDMYLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11993           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

SYNDER, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09049          ONDERLAW, LLC




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              Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

SYNDOR, STEPHANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05624          NAPOLI SHKOLNIK, PLLC

SYSLO, BEVERLY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1418-19           GOLOMB & HONIK, P.C.

SYSLO, BEVERLY                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1418-19           MOORE LAW GROUP PLLC

SYSOUVANH, LUANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17827           NACHAWATI LAW GROUP

SYX, SHELIA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16896          ASHCRAFT & GEREL

SYX, SHELIA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16896          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SZABLEWSKI, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08008           ONDERLAW, LLC

SZABO, JANICE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20051          NACHAWATI LAW GROUP

SZAFRANSKI, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02387           CATES MAHONEY, LLC

SZCZERBA, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09524          ONDERLAW, LLC

SZCZESNY, MARIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08753           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

SZE-DONGHIA, MICHELE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01870           NAPOLI SHKOLNIK, PLLC

SZEKELY, DOROTHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15762          THORNTON LAW FIRM LLP

SZITAS, VIRGINIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13561          HOVDE, DASSOW, & DEETS, LLC

SZITAS, VIRGINIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13561          THE MILLER FIRM, LLC

SZOLUSHA, LENORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03690          THE SEGAL LAW FIRM

SZRAMEK, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18822          SEIDMAN MARGULIS & FAIRMAN, LLP

SZUMERA, KELLY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01135          THE MILLER FIRM, LLC

SZWAJKOWSKI, BRITTANY                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-728-16            GOLOMB SPIRT GRUNFELD PC

SZWEJKOWSKI, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07378          MARLIN & SALTZMAN LLP

SZYMANSKI, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY         3:20-CV-04330          NACHAWATI LAW GROUP
SZYMBROSKI, ROBERTA & SZYMBROSKI,
                                  CA - SUPERIOR COURT - LOS ANGELES                21STCV18327            WEITZ & LUXENBERG
EDWARD
SZYMIK, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY         3:20-CV-19810          NACHAWATI LAW GROUP

TABAG, LORETTA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TABAG, LORETTA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

TABAG, LORETTA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            THE SMITH LAW FIRM, PLLC

TABARINI, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12611           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

TABB, CHAMIKA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19733          ARNOLD & ITKIN LLP

TABB, JACULINE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06219          FLETCHER V. TRAMMELL
TABB, KIMBERLY J. AND TABB, ROBERT
                                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-01641-19AS       WEITZ & LUXENBERG
L.
TABOA, MIGDALIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

TABOR, ENZIL                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18648          ONDERLAW, LLC

TABOR, PEGGY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15227          BART DURHAM INJURY LAW




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TABOR, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15227          FRAZER PLC

TABOR, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05167          ONDERLAW, LLC

TABOR, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05929          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TABOR, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11344          HART MCLAUGHLIN & ELDRIDGE

TABOR, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17412          ONDERLAW, LLC

TABOR, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09161          NASS CANCELLIERE BRENNER

TACKABURY, LYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00871           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TACKER, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15206          DALIMONTE RUEB, LLP

TACKER, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TACKER, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

TACKER, SHIRLEY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

TACKETT, LATASHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11372          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TACKITT, JULIA                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     18CV337011              THE MILLER FIRM, LLC

TADDEI, KATHRYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01062          NAPOLI SHKOLNIK, PLLC

TADLOCK, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18981           NACHAWATI LAW GROUP

TADROS, ELLEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12107          DALIMONTE RUEB, LLP

TADROUS, MAHA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002832-20         GOLOMB & HONIK, P.C.

TAFFEL, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18973          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAFOYA, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09109          ONDERLAW, LLC

TAFT-HICKS, TERRI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09474          THE MILLER FIRM, LLC

TAGGART, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21940          JOHNSON LAW GROUP

TAGGART, DIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08748           WILLIAMS HART LAW FIRM

TAGGART, DORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00427          POTTS LAW FIRM

TAGUE, LENORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12622          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

TAHAJIAN, GERALDINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01035           ONDERLAW, LLC

TAHCHAWWICKAH, KIMBERLY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12821           THE BENTON LAW FIRM, PLLC

TAHIJA, BONITA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAHIJA, BONITA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            ONDERLAW, LLC

TAHIJA, BONITA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           PORTER & MALOUF, PA

TAHIJA, BONITA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           THE SMITH LAW FIRM, PLLC

TAIBI, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13168          ASHCRAFT & GEREL, LLP

TAIBI, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13168          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAIT, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12299          SULLO & SULLO, LLP

TAKACH, TITANIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19820          NACHAWATI LAW GROUP



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            Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

TAKOTEY, PENNY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001471-20         GOLOMB & HONIK, P.C.

TAKUSHI, YOSHIKO               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19194          CELLINO & BARNES, P.C.

TALAMANTES, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

TALAMANTES, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15891          LENZE LAWYERS, PLC

TALAMANTES, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

TALAMANTES, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15891          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TALAMANTES, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TALAMANTES, TOMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01188          FLETCHER V. TRAMMELL

TALARICO, LYNDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07158          DALIMONTE RUEB, LLP

TALAVERA, ADELAIDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02171          JOHNSON LAW GROUP

TALAVERA, VERONICA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00431          DALIMONTE RUEB, LLP

TALBERT, LUWANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13189           BISNAR AND CHASE

TALBOT, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05253          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TALBOTT, ROBYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12626          ONDERLAW, LLC

TALBOTT, SHERI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06078          BURNS CHAREST LLP

TALERICO, ANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01813          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TALIAFERRO, LINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00143          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TALIK, EILINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04887          ONDERLAW, LLC

TALLARIDE, KIM                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22094          ONDERLAW, LLC

TALLEY, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01253          SIMMONS HANLY CONROY

TALLEY, FLORENCE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03124          NACHAWATI LAW GROUP

TALLEY, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04170          ONDERLAW, LLC

TALLEY, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09269          ONDERLAW, LLC

TALLEY, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09144          ONDERLAW, LLC

TALLEY, WAYDEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17829          NACHAWATI LAW GROUP

TALLMAN, LORETTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14094           HOLLAND LAW FIRM

TALLMAN, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08063          ASHCRAFT & GEREL

TALLY, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09247          LENZE KAMERRER MOSS, PLC

TALLY, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11308          NACHAWATI LAW GROUP

TALTON, AMBER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06935          WILLIAMS HART LAW FIRM

TALUCCI, BARBARA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2272-17           GOLOMB SPIRT GRUNFELD PC

TALVACCHIO, SUSAN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TALVACCHIO, SUSAN              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            ONDERLAW, LLC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TALVACCHIO, SUSAN                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           PORTER & MALOUF, PA

TALVACCHIO, SUSAN                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           THE SMITH LAW FIRM, PLLC

TAM, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20323          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAMASKA, ZITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19283          ARNOLD & ITKIN LLP

TAMEZ, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20671          ONDERLAW, LLC

TAMI ST. GERMAIN                 IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

TAMMIE CLARK                     FEDERAL - MDL                                3:21-CV-19628           ONDERLAW, LLC

TAMMY ARTIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18446          ONDERLAW, LLC

TAMMY MATTHEWS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18578          JOHNSON LAW GROUP

TAMOR, LENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12393           MORRIS BART & ASSOCIATES

TAMURA, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13651          THE DUGAN LAW FIRM

TAN, REGINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00609          GOLOMB SPIRT GRUNFELD PC

TANACREDI, GLADYS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11911          NACHAWATI LAW GROUP

TANAKA, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06586          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TANGUMA, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01584          ONDERLAW, LLC

TANIS, BERNICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20017          ARNOLD & ITKIN LLP

TANK, LEE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17834          NACHAWATI LAW GROUP

TANKE, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01435          ARNOLD & ITKIN LLP

TANKERSLEY, APRIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13964          ONDERLAW, LLC

TANKURSLEY, BONITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11631           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TANNAHILL, PAMELA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

TANNAHILL, PAMELA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

TANNAHILL, PAMELA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            THE SMITH LAW FIRM, PLLC

TANNENBAUM, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13429           MARLIN & SALTZMAN LLP

TANNER, BECKY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12225          ONDERLAW, LLC

TANNER, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19087          JOHNSON LAW GROUP

TANNER, LOIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15551          ONDERLAW, LLC

TANNER, QUINELL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19824           NACHAWATI LAW GROUP

TANNER, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11338          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TANT, ROB                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11487          BURNS CHAREST LLP

TANTRELL EDWARDS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18460          WEITZ & LUXENBERG

TANYA LESTER                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003282-21         WEITZ & LUXENBERG

TANYER, VERONICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10237           NACHAWATI LAW GROUP




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TAONUS, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19461          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TAPIA, MILDRED                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16280          THE MILLER FIRM, LLC

TAPLEY, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04097          ONDERLAW, LLC

TAPLEY, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07211          ONDERLAW, LLC

TAPP, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09474          FLETCHER V. TRAMMELL

TAPP, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09265          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAPP, DEBRA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

TAPP, DEBRA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

TAPP, DEBRA                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

TAPPAN, KADRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05793          ONDERLAW, LLC

TAPPER, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10863          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TARABINI, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03606          ONDERLAW, LLC

TARALLO, MARYANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09533          ONDERLAW, LLC

TARANGO, DEANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20817          ASHCRAFT & GEREL, LLP

TARANTO, MARION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09258          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TARCHEA, TAMMY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15553          ONDERLAW, LLC

TARCZAN, DOLORES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21428          HOLLAND LAW FIRM

TARCZY, ANTOINETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07512          ASHCRAFT & GEREL, LLP

TARCZY, ANTOINETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07512          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TARDIF, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11197          BARNES LAW GROUP, LLC

TARDIF, FRANCES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11197          CHEELEY LAW GROUP

TARKEISHA DEANS                   DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02696          ASHCRAFT & GEREL, LLP

TARKEISHA DEANS                   DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02696          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TARLOW, ERIKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00971          NAPOLI SHKOLNIK, PLLC

TARR, ASHLEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10686          NACHAWATI LAW GROUP

TARR, LOLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07626          BARRETT LAW GROUP

TARRIO, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03057          MCSWEENEY/LANGEVIN, LLC

TARSKY, ILENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00449          POTTS LAW FIRM

TART, BARBARA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-001805-18           GOLOMB SPIRT GRUNFELD PC

TART, TANSHA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10289          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

TART, WANDA                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001877-20         GOLOMB & HONIK, P.C.

TARVER, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09564          FLETCHER V. TRAMMELL

TASCHLER, KAREN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002150-20         GOLOMB & HONIK, P.C.

TASHJIAN, DIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14832           LENZE LAWYERS, PLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TASHJIAN, DIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14832          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TASSIO, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14092          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TASSONI, PATRICIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003389-20         GOLOMB & HONIK, P.C.

TASVIBI, SUZAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09028          WATERS & KRAUS, LLP

TAT, MARILYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01643          JOHNSON LAW GROUP

TATE, ALEXANDRIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05488          ONDERLAW, LLC

TATE, CARRIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00485          BARON & BUDD, P.C.

TATE, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19345          NACHAWATI LAW GROUP

TATE, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14255          ARNOLD & ITKIN LLP

TATE, PARA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00530          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TATE, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03764          ONDERLAW, LLC

TATE, SHEILA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06472          THE ENTREKIN LAW FIRM

TATE, SHIRLEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13267          ARNOLD & ITKIN LLP

TATE, STEPHANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17159          ONDERLAW, LLC

TATE, TINA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11784          NACHAWATI LAW GROUP

TATE, TYLANNA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003067-21         WEITZ & LUXENBERG

TATE, VERONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10825          ASHCRAFT & GEREL

TATE-LEWIS, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10947           CELLINO & BARNES, P.C.

TATOR, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10516           JOHNSON LAW GROUP

TATRO, JAIME                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11864          NACHAWATI LAW GROUP

TATUM, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14578           MORRIS BART & ASSOCIATES

TATUM, CRYSTAL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15911          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TATUM, FELESIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18935          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TATUM, JEANETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11157          ARNOLD & ITKIN LLP

TATUM, LILLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02299          ONDERLAW, LLC

TAUBER, AMBER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15639          WILLIAMS HART LAW FIRM

TAUBER, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAUBER, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

TAUBER, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

TAUBER, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

TAUBER, CHRISTINA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

TAUBIG, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10945          CATES MAHONEY, LLC

TAUCHER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10104          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAUFA, ENISELINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19175          MOTLEY RICE, LLC



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           Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

TAUFETEE, LAMONA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

TAUFETEE, LAMONA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           LENZE LAWYERS, PLC

TAUFETEE, LAMONA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TAUTEROUFF, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

TAUTEROUFF, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15434          LENZE LAWYERS, PLC

TAUTEROUFF, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

TAUTEROUFF, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15434          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TAUTEROUFF, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TAUZIER, LORETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10987          MORRIS BART & ASSOCIATES

TAUZIN, ANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12612           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

TAVAKE, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10289          GORI JULIAN & ASSOCIATES, P.C.

TAVARES, APRYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16333          NACHAWATI LAW GROUP

TAVENDER, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08713          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAVERA, YORMARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12272          BARRETT LAW GROUP

TAWANA SAXON-AIKINS           FEDERAL - MDL                                3:21-CV-19756           JOHNSON BECKER, PLLC

TAWFALL, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02474          LINVILLE LAW GROUP

TAWN UNDERWOOD                FEDERAL - MDL                                 3:21-CV-19734          JOHNSON BECKER, PLLC

TAWNEY, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07566          ASHCRAFT & GEREL, LLP

TAWNEY, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07566          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAXTER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08364          RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

TAYARA, RANIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18947           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TAYLOR, ALFREDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01658          HOLLAND LAW FIRM

TAYLOR, AMANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09273          ONDERLAW, LLC

TAYLOR, AMBER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06228          ARNOLD & ITKIN LLP

TAYLOR, AMBER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08695          GOLDENBERGLAW, PLLC

TAYLOR, ANASTASIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09731          ONDERLAW, LLC

TAYLOR, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13973           ARNOLD & ITKIN LLP

TAYLOR, ANGELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13016          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TAYLOR, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11238          NACHAWATI LAW GROUP

TAYLOR, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10067          ONDERLAW, LLC

TAYLOR, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05801          ONDERLAW, LLC

TAYLOR, ANNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02384          ONDERLAW, LLC

TAYLOR, BARBARA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1913-16           ASHCRAFT & GEREL

TAYLOR, BARBARA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1913-16           GOLOMB SPIRT GRUNFELD PC



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TAYLOR, BELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17213           JOHNSON LAW GROUP

TAYLOR, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15354          JOHNSON LAW GROUP

TAYLOR, CALLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, CALLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

TAYLOR, CALLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

TAYLOR, CALLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

TAYLOR, CALLIE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

TAYLOR, CANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16664           ARNOLD & ITKIN LLP

TAYLOR, CARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20197          THE MILLER FIRM, LLC

TAYLOR, CARMELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03727          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06999          THE SIMON LAW FIRM, PC

TAYLOR, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15036          JOHNSON LAW GROUP

TAYLOR, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06305          ONDERLAW, LLC

TAYLOR, CARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19084          NACHAWATI LAW GROUP

TAYLOR, CATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10772          ONDERLAW, LLC

TAYLOR, CHRISTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10885           ONDERLAW, LLC

TAYLOR, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11369          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TAYLOR, CYNTHIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002583-20         GOLOMB & HONIK, P.C.

TAYLOR, DALE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10011           MORRIS BART & ASSOCIATES

TAYLOR, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17299          ASHCRAFT & GEREL, LLP

TAYLOR, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17299          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, DEBRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002245-20         GOLOMB & HONIK, P.C.

TAYLOR, DEBRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1370-18           LEVY KONIGSBERG LLP

TAYLOR, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02314          JOHNSON BECKER, PLLC

TAYLOR, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18096          JOHNSON LAW GROUP

TAYLOR, DEWANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06125          THE ENTREKIN LAW FIRM

TAYLOR, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10653          ONDERLAW, LLC

TAYLOR, DOREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00458          SANDERS PHILLIPS GROSSMAN, LLC

TAYLOR, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17008          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11486           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, ELNORA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002957-21         WEITZ & LUXENBERG

TAYLOR, EMILEE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17888          NACHAWATI LAW GROUP

TAYLOR, GABRIELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08881          ONDERLAW, LLC

TAYLOR, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08058          ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

TAYLOR, GWENDOLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13197           ROSS FELLER CASEY, LLP

TAYLOR, HATTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04050          ONDERLAW, LLC

TAYLOR, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00879          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TAYLOR, HOLLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12613           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

TAYLOR, IOLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10327          ASHCRAFT & GEREL, LLP

TAYLOR, IOLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10327          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, IRENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09976           MORRIS BART & ASSOCIATES

TAYLOR, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05759           JOHNSON BECKER, PLLC

TAYLOR, JAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04949          ONDERLAW, LLC

TAYLOR, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16290          THE MILLER FIRM, LLC

TAYLOR, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11243          WAGSTAFF & CARTMELL, LLP

TAYLOR, JODI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19750          ONDERLAW, LLC

TAYLOR, JODY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11968           THE MILLER FIRM, LLC

TAYLOR, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09845           FLETCHER V. TRAMMELL

TAYLOR, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17908           THE SEGAL LAW FIRM

TAYLOR, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08319          ONDERLAW, LLC

TAYLOR, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12502          BURNS CHAREST LLP

TAYLOR, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07413          ROSS FELLER CASEY, LLP

TAYLOR, LAUREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20219          ARNOLD & ITKIN LLP

TAYLOR, LAVERNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14437          ASHCRAFT & GEREL

TAYLOR, LEAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09361           GORI JULIAN & ASSOCIATES, P.C.

TAYLOR, LEIGH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12801          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

TAYLOR, LETITIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

TAYLOR, LETITIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

TAYLOR, LETITIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TAYLOR, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00944          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TAYLOR, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19380           JOHNSON LAW GROUP

TAYLOR, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17882          NACHAWATI LAW GROUP

TAYLOR, LISETTE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1675-16           ASHCRAFT & GEREL

TAYLOR, LISETTE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1675-16           GOLOMB SPIRT GRUNFELD PC

TAYLOR, LORENNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

TAYLOR, LORENNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15734          LENZE LAWYERS, PLC

TAYLOR, LORENNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

TAYLOR, LORENNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15734           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TAYLOR, LORENNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TAYLOR, MAGGIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19865          NACHAWATI LAW GROUP

TAYLOR, MARCELLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05619          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TAYLOR, MARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10774          ONDERLAW, LLC

TAYLOR, MARIE                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321212              THE MILLER FIRM, LLC

TAYLOR, MARION                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06250          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, MARION                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01555          BURNS CHAREST LLP

TAYLOR, MARION                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01555          BURNS CHAREST LLP

TAYLOR, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12314          ASHCRAFT & GEREL

TAYLOR, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12314          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03700          COHEN & MALAD, LLP

TAYLOR, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07002          ONDERLAW, LLC

TAYLOR, MELISSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06558          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09625          ONDERLAW, LLC

TAYLOR, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09625          ONDERLAW, LLC

TAYLOR, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09625          ONDERLAW, LLC

TAYLOR, NICCOLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12666          ARNOLD & ITKIN LLP

TAYLOR, OLLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18614           DRISCOLL FIRM, P.C.

TAYLOR, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17141          CELLINO & BARNES, P.C.

TAYLOR, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14791          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17875          NACHAWATI LAW GROUP

TAYLOR, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09327          POGUST BRASLOW & MILLROOD, LLC

TAYLOR, PAULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13801           CORRIE YACKULIC LAW FIRM, PLLC

TAYLOR, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09522          ONDERLAW, LLC

TAYLOR, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06562          TORHOERMAN LAW LLC

TAYLOR, PRINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08649          ONDERLAW, LLC

TAYLOR, RENONDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02983          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, REVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05010          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, ROBBIN                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, ROBBIN                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

TAYLOR, ROBBIN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

TAYLOR, ROBBIN                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

TAYLOR, ROBBIN                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

TAYLOR, ROSALIND              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16971           ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

TAYLOR, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14023          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TAYLOR, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11040          ONDERLAW, LLC

TAYLOR, SAVIITRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03981           ONDERLAW, LLC

TAYLOR, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09557          THE ENTREKIN LAW FIRM

TAYLOR, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04146          ONDERLAW, LLC

TAYLOR, STEPHANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05831          ONDERLAW, LLC

TAYLOR, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04394          ONDERLAW, LLC

TAYLOR, TONI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12351          ONDERLAW, LLC

TAYLOR, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09628          ONDERLAW, LLC

TAYLOR, TRUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10773           LENZE KAMERRER MOSS, PLC

TAYLOR, VERO                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06584          ONDERLAW, LLC

TAYLOR, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

TAYLOR, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

TAYLOR, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TAYLOR, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12922          THE MILLER FIRM, LLC

TAYLOR, YAKESHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03975          ONDERLAW, LLC

TAYLOR-BIRCHUM, MARY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06856           ONDERLAW, LLC

TAYLOR-ROBINSON, JOAN            CA - SUPERIOR COURT - RIVERSIDE COUNTY       RIC1803271              BARRETT LAW GROUP

TAYLOR-ROBINSON, JOAN            CA - SUPERIOR COURT - RIVERSIDE COUNTY        RIC1803271             PRATT & ASSOCIATES

TAYLOR-THOMAS, REBECCA           CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV325812             THE MILLER FIRM, LLC

TAYLOR-WILLIAMS, BONNIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12849          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TEACH, CARMEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13513          ONDERLAW, LLC

TEACHEY, CHARLOTTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14632           ONDERLAW, LLC

TEAGARDENER, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11204          ONDERLAW, LLC

TEAGUE, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11286          SIMMONS HANLY CONROY

TEAGUE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10328          ASHCRAFT & GEREL, LLP

TEAGUE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TEAGUE, TONJUA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12326           NAPOLI SHKOLNIK, PLLC

TEASDALE, CASSIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05514          ONDERLAW, LLC

TEBBUTT, MICHELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05377          GORI JULIAN & ASSOCIATES, P.C.

TEBEEST, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09726          ONDERLAW, LLC

TEBO, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13123          ONDERLAW, LLC

TEDDER, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04046          ONDERLAW, LLC




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

TEDDER, SARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11605          MORELLI LAW FIRM, PLLC

TEDFORD, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14741          LENZE LAWYERS, PLC

TEDFORD, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14741          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TEDOFF, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02776          SANDERS PHILLIPS GROSSMAN, LLC

TEEPLES, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

TEEPLES, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           LENZE LAWYERS, PLC

TEEPLES, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TEES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17672          ONDERLAW, LLC

TEIGLAND, KRISTA                 NY - SUPREME COURT - SUFFOLK COUNTY          603641/2021             WEITZ & LUXENBERG

TEJANI, GULZAR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16761           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TELESCA, MARISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05666          ONDERLAW, LLC

TELFAIR, TONI                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000642-21         GOLOMB & HONIK, P.C.

TELLESON, JULIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05663          CELLINO & BARNES, P.C.

TELLIJOHN, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03688          ONDERLAW, LLC

TEMBER, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04126          ONDERLAW, LLC

TEMEKA MENEFEE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003335-21         WEITZ & LUXENBERG

TEMKIN, ANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07553           JOHNSON LAW GROUP

TEMPCHIN, SHEILA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00941          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TEMPLE, ADDIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09194          NACHAWATI LAW GROUP

TEMPLE, ALEXIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17722          FLETCHER V. TRAMMELL

TEMPLE, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TEMPLE, BONNIE                   CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318719             KIESEL LAW, LLP

TEMPLE, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          ONDERLAW, LLC

TEMPLE, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          PORTER & MALOUF, PA

TEMPLE, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          THE SMITH LAW FIRM, PLLC

TEMPLE, CLARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14783          LENZE LAWYERS, PLC

TEMPLE, CLARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14783          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TEMPLE, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13013          FLETCHER V. TRAMMELL

TEMPLE, KEISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02441          ONDERLAW, LLC

TEMPLE, SHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15518          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TEMPLETON, KRISTIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09153          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

TEMPLETON, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16431          ARNOLD & ITKIN LLP

TENCER, DIANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05913          LEVIN SIMES ABRAMS LLP

TENDER, IDA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1836-16           NAPOLI SHKOLNIK, PLLC



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TENDICK, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09411          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

TENEBRUSO, KAREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08671          PARKER WAICHMAN, LLP

TENENBAUM, PEARL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TENENBAUM, PEARL              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2294-17           GOLOMB SPIRT GRUNFELD PC

TENENBAUM, PEARL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          ONDERLAW, LLC

TENENBAUM, PEARL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          PORTER & MALOUF, PA

TENENBAUM, PEARL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          THE SMITH LAW FIRM, PLLC

TENER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09926          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TENGBERG, KIM                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08360          VENTURA LAW

TENHET, CARRIEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09041          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TENHOUTEN, SHERRI             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10831          ASHCRAFT & GEREL

TENIENTE, SARAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07496          ONDERLAW, LLC

TENINTY, KATHLEEN             CA - SUPERIOR COURT - SANTA CLARA COUNTY     16CV298395              THE MILLER FIRM, LLC

TENNANT, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04288          ONDERLAW, LLC

TENNEFELD, DANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18483          PARKER WAICHMAN, LLP

TENNEY, EXIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14871          LENZE LAWYERS, PLC

TENNEY, EXIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14871          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TENNEY, MARTIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10541          NACHAWATI LAW GROUP

TENNIS, RAMONA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20612          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TENNYSON, HAYLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10927          ONDERLAW, LLC

TENNYSON, JODEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02478          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

TENNYSON, KRISTEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18199          ONDERLAW, LLC

TENNYSON, SHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02361           LEVIN SIMES LLP

TERANDO, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05225          ASHCRAFT & GEREL

TERANDO, LORRAINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05225          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TEREN, CORRINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TEREN, CORRINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

TEREN, CORRINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

TERENCE KEITH                 IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

TERESA STEEN                  FEDERAL - MDL                                 3:21-CV-19662          JOHNSON BECKER, PLLC

TERESITA BETANCOURT           FEDERAL - MDL                                3:21-CV-19688           JOHNSON BECKER, PLLC

TERFLINGER, SHERRY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20718          THE MILLER FIRM, LLC

TERHUNE, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11302          NAPOLI SHKOLNIK, PLLC




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              Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

TERHURNE, LOIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14266          ASHCRAFT & GEREL, LLP

TERHURNE, LOIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14266          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERIFAJ, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01769          ONDERLAW, LLC

TERMINELLO, CASEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13796          JOHNSON LAW GROUP

TERPAL, RHONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14299          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERRA, LEIGH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13692          DRISCOLL FIRM, P.C.

TERRANO-URCIOLI, GERILYN         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1372-18           LEVY KONIGSBERG LLP

TERRAZINO, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08150          ONDERLAW, LLC

TERREBONNE, JOYCELYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19262          MOTLEY RICE, LLC

TERRELL, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08597          BERNSTEIN LIEBHARD LLP

TERRELL, CITHOLETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18685           ONDERLAW, LLC

TERRELL, DEBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04229          ONDERLAW, LLC

TERRELL, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11363          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERRELL, GENEIVE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17333          ASHCRAFT & GEREL, LLP

TERRELL, GENEIVE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17333          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERRELL, JANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08363           FLETCHER V. TRAMMELL

TERRELL, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09667          ASHCRAFT & GEREL

TERRELL, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09667          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERRELL, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01147          GORI JULIAN & ASSOCIATES, P.C.

TERRELL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01979          ONDERLAW, LLC

TERRELL, TRACI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07794          ONDERLAW, LLC

TERRESA FINN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18524          JOHNSON LAW GROUP

TERRI LEWIS                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02734          ASHCRAFT & GEREL, LLP

TERRI LEWIS                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02734          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERRI MCCREA                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

TERRIE WRIGHT                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

TERRILL, MELITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08171          ONDERLAW, LLC

TERRY, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12749          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TERRY, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16181          FLETCHER V. TRAMMELL

TERRY, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15512          ASHCRAFT & GEREL, LLP

TERRY, CATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15512          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERRY, CHARLENE MITCHELL         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02564          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

TERRY, CHARLOTTE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TERRY, CHARLOTTE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            ONDERLAW, LLC

TERRY, CHARLOTTE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           PORTER & MALOUF, PA

TERRY, CHARLOTTE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           THE SMITH LAW FIRM, PLLC

TERRY, GLADYS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05043          ONDERLAW, LLC

TERRY, JEANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15174          NACHAWATI LAW GROUP

TERRY, JUDY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002506-20         GOLOMB & HONIK, P.C.

TERRY, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04149          LINVILLE LAW GROUP

TERRY, NADINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16614          THE BENTON LAW FIRM, PLLC

TERRY, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06621          ONDERLAW, LLC

TERRY, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05490          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERRY, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09563          ONDERLAW, LLC

TERRY, ROBIN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02758          SEITHEL LAW LLC

TERRY, SABRENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04210          THE MILLER FIRM, LLC

TERRY, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14438          ASHCRAFT & GEREL, LLP

TERRY, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03629          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERRY, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11254          RILEYCATE, LLC

TERRY, SHAWNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00587          POTTS LAW FIRM

TERRY, TINISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17894          NACHAWATI LAW GROUP

TERRY-WELLS, TERESA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08710          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TERWILLIGER, JUDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16000          GIRARDI & KEESE

TESSER, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14727          ONDERLAW, LLC

TESSMER, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13630          LAW OFFICE OF CHARLES H JOHNSON, PA

TESSUM, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08730          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TESTA, CAMILLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15523          WATERS & KRAUS, LLP

TESTA, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10099          ONDERLAW, LLC

TESTA, LILLIAN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1315-16           ASHCRAFT & GEREL

TESTA, LILLIAN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1315-16           GOLOMB SPIRT GRUNFELD PC

TESTA, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19829          NACHAWATI LAW GROUP

TESTA, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20688          GORI JULIAN & ASSOCIATES, P.C.

TESTA, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17968          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TESTER, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09682          ONDERLAW, LLC

TESTERMAN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16937          ASHCRAFT & GEREL

TESTERMAN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16937          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

TETLOW, LAURIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07893          MORRIS BART & ASSOCIATES

TETREAULT, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05618           NAPOLI SHKOLNIK, PLLC

TETREAULT, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12261          MORELLI LAW FIRM, PLLC

TEUBERT, LORETTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11860          NACHAWATI LAW GROUP

TEUTA, VERONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06616          FLETCHER V. TRAMMELL

TEUTLE, GRACIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17901          NACHAWATI LAW GROUP

TEUTON, CAROLINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20472          THE MILLER FIRM, LLC

TEVES, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14028          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TEVIS, BETTE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09010          ONDERLAW, LLC

TEW, ELAINE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15250          NACHAWATI LAW GROUP

THACKER, CASEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18313          ARNOLD & ITKIN LLP

THACKER, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05496           ONDERLAW, LLC

THACKER, DOTTIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-847-16            GOLOMB SPIRT GRUNFELD PC

THACKER, DOTTIE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-847-16           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

THACKER, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12591           JUSTINIAN & ASSOCIATES PLLC

THAI, SUSAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00595          POTTS LAW FIRM

THAIN, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00921           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

THAIN, SANDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20468          ONDERLAW, LLC

THARP, VIVIAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09038          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THARPE, MAGGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05061          ONDERLAW, LLC

THAYER, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19836          NACHAWATI LAW GROUP

THAYER, EVELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09812          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THAYER, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11636          NACHAWATI LAW GROUP

THAYER, LYNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01991          GOLDENBERGLAW, PLLC

THAYER, NELITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15282          JOHNSON LAW GROUP

THAYER-GRAHAM, MARIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01141          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THEIS, LAURIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11471          DALIMONTE RUEB, LLP

THELEN, PHILOMENA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01650          MURRAY LAW FIRM

THELMA CHURCH                     FEDERAL - MDL                                3:21-CV-19876           ONDERLAW, LLC

THELUSMA, MARIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05193          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THEOLOGOU, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10270          SANDERS VIENER GROSSMAN, LLP

THERESA RIDDLE                    FEDERAL - MDL                                 3:21-CV-16525          DAVIS, BETHUNE & JONES, L.L.C.

THERESA TONEY                     DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02741          ASHCRAFT & GEREL

THERESA TONEY                     DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02741          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

THERIOT, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11543          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THERIOT, CHARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13333          NACHAWATI LAW GROUP

THERIOT, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01862          MOTLEY RICE, LLC

THERMILUS, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19021           ONDERLAW, LLC

THEROUX, CLAIRE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11952          ASHCRAFT & GEREL, LLP

THEROUX, CLAIRE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11952          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THIAC, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11751          NACHAWATI LAW GROUP

THIBEAUX-DOUCET, CHRISTINA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08900          DOMENGEAUX WRIGHT ROY & EDWARDS LLC

THIBODEAU, TERRI                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

THIBODEAU, TERRI                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

THIBODEAU, TERRI                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           THE SMITH LAW FIRM, PLLC

THIBODEAUX, BETTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11408          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

THIEL, ANUMPUM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09089          ONDERLAW, LLC

THIEL, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01270          JOHNSON LAW GROUP

THIELEN, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16683          THE MILLER FIRM, LLC

THIGPEN, DOVIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08696          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THIGPEN, REGENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08530          JOHNSON LAW GROUP

THIGPEN, REGENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08530          THE MILLER FIRM, LLC

THILMANY, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14160          DANIEL & ASSOCIATES, LLC

THINT, MAYMON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03282          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THIXTON, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09346           ONDERLAW, LLC

THOLE, RANAE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10737          BLIZZARD & NABERS, LLP

THOMAS, ADWOA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17563          NACHAWATI LAW GROUP

THOMAS, ALBERTA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12890          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, ALEXANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14697          LENZE LAWYERS, PLC

THOMAS, ALEXANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14697           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMAS, ALEXANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14697           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMAS, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08419          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, ANDREA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21932           JOHNSON LAW GROUP

THOMAS, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18023          ASHCRAFT & GEREL

THOMAS, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18023          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16205           NACHAWATI LAW GROUP

THOMAS, ARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11124          GOLDENBERGLAW, PLLC

THOMAS, BENNIE                   CA - SUPERIOR COURT - LOS ANGELES COUNTY     RG18918589              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

THOMAS, BENNIE                CA - SUPERIOR COURT - LOS ANGELES COUNTY      RG18918589             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMAS, BENNIE                CA - SUPERIOR COURT - LOS ANGELES COUNTY     RG18918589              THE SMITH LAW FIRM, PLLC

THOMAS, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07504          ASHCRAFT & GEREL, LLP

THOMAS, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07504          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, BETTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15062          THE BENTON LAW FIRM, PLLC

THOMAS, BONITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12912          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, BRENDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07588          ONDERLAW, LLC

THOMAS, BRIGITTE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002464-20         GOLOMB & HONIK, P.C.

THOMAS, CECELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18980          WEITZ & LUXENBERG

THOMAS, CHARITY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13891          THE SEGAL LAW FIRM

THOMAS, CHARLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01587          ONDERLAW, LLC

THOMAS, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02897          ONDERLAW, LLC

THOMAS, COCANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11566          LENZE KAMERRER MOSS, PLC

THOMAS, CRYSTAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10383          NACHAWATI LAW GROUP

THOMAS, CRYSTAL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03069          ONDERLAW, LLC

THOMAS, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06841          NACHAWATI LAW GROUP

THOMAS, DANIELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05071          ONDERLAW, LLC

THOMAS, DEBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15513          ASHCRAFT & GEREL, LLP

THOMAS, DEBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15513          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, DEBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03824          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14031          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, DERRICKA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17343          WEITZ & LUXENBERG

THOMAS, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03542          ONDERLAW, LLC

THOMAS, DIANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06608           ROSS FELLER CASEY, LLP

THOMAS, DILSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11137          FLETCHER V. TRAMMELL

THOMAS, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14626          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, DORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11908          NACHAWATI LAW GROUP

THOMAS, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02100          POTTS LAW FIRM

THOMAS, EMIKO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06645          FLETCHER V. TRAMMELL

THOMAS, ESTHER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17875          ASHCRAFT & GEREL, LLP

THOMAS, ESTHER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17875          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02885          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, GWENDOLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10786           NACHAWATI LAW GROUP

THOMAS, HAZEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10884          NACHAWATI LAW GROUP



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

THOMAS, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02648          ONDERLAW, LLC

THOMAS, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05537          ONDERLAW, LLC

THOMAS, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07430          ONDERLAW, LLC

THOMAS, JEANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20095          JOHNSON BECKER, PLLC

THOMAS, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06628          ARNOLD & ITKIN LLP

THOMAS, JETTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06279          ONDERLAW, LLC

THOMAS, JILLONDRIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15597           ONDERLAW, LLC

THOMAS, JOAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13706          ARNOLD & ITKIN LLP

THOMAS, JOANN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00248           WEXLER WALLACE LLP

THOMAS, JODI                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            ONDERLAW, LLC

THOMAS, JODI                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

THOMAS, JODI                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           THE SMITH LAW FIRM, PLLC

THOMAS, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20699           ONDERLAW, LLC

THOMAS, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02944          ONDERLAW, LLC

THOMAS, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16024          TRAMMELL PC

THOMAS, JUANITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17918          NACHAWATI LAW GROUP

THOMAS, KATELAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00304          JOHNSON BECKER, PLLC

THOMAS, KATHRYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00237          BURNS CHAREST LLP

THOMAS, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10119           THE MILLER FIRM, LLC

THOMAS, KOWANYA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13947           DALIMONTE RUEB, LLP

THOMAS, KRISTIN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07427          NACHAWATI LAW GROUP

THOMAS, LAKISHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10329           ASHCRAFT & GEREL, LLP

THOMAS, LAKISHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18653          NACHAWATI LAW GROUP

THOMAS, LEEOTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14042          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, LENORA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17511          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00898          FRAZER PLC

THOMAS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09822          ONDERLAW, LLC

THOMAS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01581          ONDERLAW, LLC

THOMAS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          ONDERLAW, LLC

THOMAS, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          PORTER & MALOUF, PA




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

THOMAS, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02396          THE SMITH LAW FIRM, PLLC

THOMAS, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09183          TORHOERMAN LAW LLC

THOMAS, LORI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10361          JOHNSON LAW GROUP

THOMAS, LORI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18648          NACHAWATI LAW GROUP

THOMAS, LUCINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05025          MORELLI LAW FIRM, PLLC

THOMAS, LUT                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02680          ONDERLAW, LLC

THOMAS, LYDIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22190          ONDERLAW, LLC

THOMAS, LYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13830          MUELLER LAW PLLC

THOMAS, MARGARET                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002507-20         GOLOMB & HONIK, P.C.

THOMAS, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05562          JOHNSON LAW GROUP

THOMAS, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03209           ONDERLAW, LLC

THOMAS, MARIE                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC678822                SIMMONS HANLY CONROY

THOMAS, MARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, MARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08540          JOHNSON LAW GROUP

THOMAS, MARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

THOMAS, MARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

THOMAS, MARLENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

THOMAS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11890          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00280          BURNS CHAREST LLP

THOMAS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05033          ONDERLAW, LLC

THOMAS, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07489          ONDERLAW, LLC

THOMAS, MATELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08691          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, MAXINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00315          CELLINO & BARNES, P.C.

THOMAS, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17908          NACHAWATI LAW GROUP

THOMAS, NELVIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20457          ONDERLAW, LLC

THOMAS, NICANORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14391          POTTS LAW FIRM

THOMAS, OLIVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14775          HILLIARD MARTINEZ GONZALES, LLP

THOMAS, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13232          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09620          ONDERLAW, LLC

THOMAS, PATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, PATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

THOMAS, PATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

THOMAS, PATRICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

THOMAS, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13936          DALIMONTE RUEB, LLP



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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

THOMAS, PEARLENA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01401          HOLLAND LAW FIRM

THOMAS, RHONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05236          ONDERLAW, LLC

THOMAS, ROBERTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02247          ONDERLAW, LLC

THOMAS, ROSEANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03196          ONDERLAW, LLC

THOMAS, ROZENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01027          THE MILLER FIRM, LLC

THOMAS, RUTHIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00947          ARNOLD & ITKIN LLP

THOMAS, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14480          HILLIARD MARTINEZ GONZALES, LLP

THOMAS, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07535          ONDERLAW, LLC

THOMAS, SARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20686          ONDERLAW, LLC

THOMAS, SHANTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08003          ONDERLAW, LLC

THOMAS, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14058          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04342          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

THOMAS, SHELLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11855          NACHAWATI LAW GROUP

THOMAS, SHELLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11332          ARNOLD & ITKIN LLP

THOMAS, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19355          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17914          NACHAWATI LAW GROUP

THOMAS, STEPHANIE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2722-17           KEEFE BARTELS

THOMAS, STEPHANIE             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2722-17           LAW OFFICE OF GRANT D. AMEY, LLC

THOMAS, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21460          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

THOMAS, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02259          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

THOMAS, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14060          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13981          DANIEL & ASSOCIATES, LLC

THOMAS, SUZANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03018          MURRAY LAW FIRM

THOMAS, TANGLER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09611          SALTZ MONGELUZZI & BENDESKY PC

THOMAS, TANYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06766          MOTLEY RICE, LLC

THOMAS, TANYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12923          THE MILLER FIRM, LLC

THOMAS, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08638          THE DUGAN LAW FIRM, APLC

THOMAS, TONI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

THOMAS, TONI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

THOMAS, TONI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMAS, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00764          JOHNSON LAW GROUP

THOMAS, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00764          LEVIN SIMES LLP

THOMAS, VICKY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01686          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMAS, WENDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03217          ONDERLAW, LLC



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

THOMAS-JUDKINS, DELORES       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07905           ONDERLAW, LLC

THOMAS-LEWIS, SHEILA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16034          LENZE LAWYERS, PLC

THOMAS-LEWIS, SHEILA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16034          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMAS-LEWIS, SHELIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

THOMAS-LEWIS, SHELIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

THOMAS-LEWIS, SHELIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMASON, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02307          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMASON, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15514          ASHCRAFT & GEREL, LLP

THOMASON, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15514          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMASON, SARAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11487           THE CARLSON LAW FIRM

THOMASON, SUZANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17957           NACHAWATI LAW GROUP

THOMASON, VICKY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMASON, VICKY               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

THOMASON, VICKY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

THOMASON, VICKY               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

THOMASON, VICKY               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

THOMASON, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06020          JOHNSON LAW GROUP

THOMASON, VIRGINIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06020          LEVIN SIMES LLP

THOMAS-SALVATI, KAREN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01578           ONDERLAW, LLC

THOMASSIAN, REINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13105          THE SEGAL LAW FIRM

THOMASSON, CLAIRE             IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

THOMAS-TILLMAN, SYNTHIA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08403          SANDERS VIENER GROSSMAN, LLP

THOMASTON, SHARON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

THOMASTON, SHARON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

THOMASTON, SHARON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMPKINS, DIANNA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19897           CELLINO & BARNES, P.C.

THOMPKINS, DORRINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02070          FLETCHER V. TRAMMELL

THOMPKINS, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06053          KIRKENDALL DWYER LLP

THOMPSO, NATASHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14350          ARNOLD & ITKIN LLP

THOMPSON, ANDREA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01829           ASHCRAFT & GEREL

THOMPSON, ANDREA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01829          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04867           JOHNSON LAW GROUP

THOMPSON, ANNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18028           DALIMONTE RUEB, LLP




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           Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

THOMPSON, ANNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17770          ONDERLAW, LLC

THOMPSON, APRYL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17652          ONDERLAW, LLC

THOMPSON, AUDREY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11019          MORRIS BART & ASSOCIATES

THOMPSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14248          ASHCRAFT & GEREL, LLP

THOMPSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14248          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16224          NACHAWATI LAW GROUP

THOMPSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03935           ONDERLAW, LLC

THOMPSON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10776           ONDERLAW, LLC

THOMPSON, BARBY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00036          MORELLI LAW FIRM, PLLC

THOMPSON, CARLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11473          THE MILLER FIRM, LLC

THOMPSON, CARLIN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06711           ONDERLAW, LLC

THOMPSON, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08304          SANDERS VIENER GROSSMAN, LLP

THOMPSON, CHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

THOMPSON, CHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

THOMPSON, CHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15169          LENZE LAWYERS, PLC

THOMPSON, CHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMPSON, CHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15169          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

THOMPSON, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12892          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07748           ONDERLAW, LLC

THOMPSON, CLAUDIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16009          JOHNSON LAW GROUP

THOMPSON, CLEOLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13373          THE DIAZ LAW FIRM, PLLC

THOMPSON, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16099          ONDERLAW, LLC

THOMPSON, CRYSTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08722          BURNS CHAREST LLP

THOMPSON, CRYSTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08722          CUNEO GILBERT & LADUCA, LLP

THOMPSON, CRYSTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04667           ONDERLAW, LLC

THOMPSON, DANIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15295          LANGDON & EMISON

THOMPSON, DAVID               IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

THOMPSON, DEBBIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09033          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01564          MONTROSE LAW LLP

THOMPSON, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17892           ONDERLAW, LLC

THOMPSON, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20936          WEXLER WALLACE LLP

THOMPSON, DIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02787          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, DIANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12831           THE SIMON LAW FIRM, PC

THOMPSON, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20247          NACHAWATI LAW GROUP



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

THOMPSON, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07941          ONDERLAW, LLC

THOMPSON, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06937          WILLIAMS HART LAW FIRM

THOMPSON, GERALDINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11285          ASHCRAFT & GEREL

THOMPSON, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13840          MOTLEY RICE, LLC

THOMPSON, HELEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05863          RAPPAPORT, GLASS, LEVINE & ZULLO

THOMPSON, HENRIETTA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00017          ONDERLAW, LLC

THOMPSON, IRETTA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11679          MORRIS BART & ASSOCIATES

THOMPSON, JACQUELINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14260          DRISCOLL FIRM, P.C.

THOMPSON, JANICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

THOMPSON, JANICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14918          LENZE LAWYERS, PLC

THOMPSON, JANICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

THOMPSON, JANICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14918           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMPSON, JANICE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMPSON, JEAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20168          NACHAWATI LAW GROUP

THOMPSON, JOAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01295           SKIKOS, CRAWFORD, SKIKOS & JOSEPH

THOMPSON, JOANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09252          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17407          ONDERLAW, LLC

THOMPSON, JUDITH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06808          ONDERLAW, LLC

THOMPSON, KAREN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09030          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, KATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17764          JOHNSON LAW GROUP

THOMPSON, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03667          THE REARDON LAW FIRM, P.C.

THOMPSON, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, KATHY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11681            ONDERLAW, LLC

THOMPSON, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          ONDERLAW, LLC

THOMPSON, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          PORTER & MALOUF, PA

THOMPSON, KATHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          THE SMITH LAW FIRM, PLLC

THOMPSON, KIM                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02891          ONDERLAW, LLC

THOMPSON, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05243          ONDERLAW, LLC

THOMPSON, LAURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, LAURA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

THOMPSON, LAURA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002389-20         GOLOMB & HONIK, P.C.

THOMPSON, LAURA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2295-17           GOLOMB SPIRT GRUNFELD PC

THOMPSON, LAURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          ONDERLAW, LLC

THOMPSON, LAURA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

THOMPSON, LAURA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

THOMPSON, LAURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          PORTER & MALOUF, PA

THOMPSON, LAURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          THE SMITH LAW FIRM, PLLC

THOMPSON, LAURA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

THOMPSON, LILLIAN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11780          BOHRER LAW FIRM, LLC

THOMPSON, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17969          NACHAWATI LAW GROUP

THOMPSON, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17966          NACHAWATI LAW GROUP

THOMPSON, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02495          ASHCRAFT & GEREL

THOMPSON, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11378          CARLSON LAW FIRM

THOMPSON, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13322          NACHAWATI LAW GROUP

THOMPSON, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04771          ONDERLAW, LLC

THOMPSON, LOIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11369          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, LORNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09325          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, LYNDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02366          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

THOMPSON, MADGE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11936           NACHAWATI LAW GROUP

THOMPSON, MAGDALINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16182          HENINGER GARRISON DAVIS, LLC

THOMPSON, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16470           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

THOMPSON, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04129          ONDERLAW, LLC

THOMPSON, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06089          ONDERLAW, LLC

THOMPSON, MARY                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919            ONDERLAW, LLC

THOMPSON, MAVARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05135          PHILLIPS & PAOLICELLI, LLP

THOMPSON, NATALIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08690          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, NINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14558           HOLLAND LAW FIRM

THOMPSON, NORMA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06634          ONDERLAW, LLC

THOMPSON, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06191           THE MILLER FIRM, LLC

THOMPSON, PARTHENA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03673          THE MILLER FIRM, LLC

THOMPSON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10520          GORI JULIAN & ASSOCIATES, P.C.

THOMPSON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08629           ONDERLAW, LLC

THOMPSON, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09473          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMPSON, PATRINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15653          THE BENTON LAW FIRM, PLLC

THOMPSON, PEGGY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05909          HENINGER GARRISON DAVIS, LLC

THOMPSON, PHYLLIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13987          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, RACHEL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05867          DALIMONTE RUEB, LLP

THOMPSON, RENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14260          ASHCRAFT & GEREL, LLP



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           Claimant Name                          State Filed                        Docket Number                            Plaintiff Counsel

THOMPSON, RENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14260          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03236          ARNOLD & ITKIN LLP

THOMPSON, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16979          THE MILLER FIRM, LLC

THOMPSON, SAVANNAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14559          ONDERLAW, LLC

THOMPSON, SHELIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00611          ASHCRAFT & GEREL, LLP

THOMPSON, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02400          HOVDE, DASSOW, & DEETS, LLC

THOMPSON, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19952          NACHAWATI LAW GROUP

THOMPSON, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02400          THE MILLER FIRM, LLC

THOMPSON, SHIRLEY BREWER        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08900          WAGSTAFF & CARTMELL, LLP

THOMPSON, SUE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12859          BURNS CHAREST LLP

THOMPSON, SUE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12859          BURNS CHAREST LLP

THOMPSON, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17289          NACHAWATI LAW GROUP

THOMPSON, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09886          ONDERLAW, LLC

THOMPSON, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05035          SIMMONS HANLY CONROY

THOMPSON, SUZANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

THOMPSON, SUZANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

THOMPSON, SUZANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THOMPSON, SYLVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09026          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, SYLVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06151           ONDERLAW, LLC

THOMPSON, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02542          JOHNSON BECKER, PLLC

THOMPSON, TANNY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08374          ONDERLAW, LLC

THOMPSON, TERIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03992          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOMPSON, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21504          POTTS LAW FIRM

THOMPSON, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11962           ONDERLAW, LLC

THOMPSON, VERNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09629          GOLOMB SPIRT GRUNFELD PC

THOMPSON, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04786          THE BENTON LAW FIRM, PLLC

THOMPSON, WANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13066           WEITZ & LUXENBERG

THOMPSON-GAINES, ELIZABETH      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18797          FLETCHER V. TRAMMELL

THOMPSON-KENNEDY, ANGELA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00591          NACHAWATI LAW GROUP

THOMPSON-LOTT, JANICE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12361          THE SIMON LAW FIRM, PC

THOMSEN, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18025           JOHNSON LAW GROUP

THOMSON, LAURIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20594          DALIMONTE RUEB, LLP

THOMSON, LYNNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11840          GORI JULIAN & ASSOCIATES, P.C.

THORDARSON, MARILYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16079          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

THORESON, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12451          JOHNSON BECKER, PLLC

THORLTON, VERNICE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2715-17           KEEFE BARTELS

THORLTON, VERNICE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2715-17           LAW OFFICE OF GRANT D. AMEY, LLC

THORN, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00318          MOTLEY RICE, LLC

THORNBERRY, PATRICIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02927          THE BENTON LAW FIRM, PLLC

THORNBURG, ALINA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THORNBURG, ALINA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

THORNBURG, ALINA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

THORNBURG, ALINA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

THORNBURG, ALINA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

THORNBURG, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08286           ONDERLAW, LLC

THORNBURG, PEGGYE              GA - STATE COURT OF CLARKE COUNTY             ST19CV0649             BARNES LAW GROUP, LLC

THORNBURG, PEGGYE              GA - STATE COURT OF CLARKE COUNTY             ST19CV0649             CHEELEY LAW GROUP

THORNE, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02663          GORI JULIAN & ASSOCIATES, P.C.

THORNE, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01455          ONDERLAW, LLC

THORNELL, STEPHANIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13283          WAGSTAFF & CARTMELL, LLP

THORNER, FRITZI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21868          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THORNHILL, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18776           NACHAWATI LAW GROUP

THORNOCK, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13014           THE MILLER FIRM, LLC

THORNSBERRY, OKLA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-433-18            KEEFE BARTELS

THORNSBERRY, OKLA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-433-18            LAW OFFICE OF GRANT D. AMEY, LLC

THORNTON, BERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06305          ONDERLAW, LLC

THORNTON, CARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00273          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THORNTON, CHARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14397          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THORNTON, CHARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11313          NACHAWATI LAW GROUP

THORNTON, CHRISTINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02691           ONDERLAW, LLC

THORNTON, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12256          MORELLI LAW FIRM, PLLC

THORNTON, EARNESTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11800          THE SEGAL LAW FIRM

THORNTON, EVELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11421          NACHAWATI LAW GROUP

THORNTON, IMANI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01593          ONDERLAW, LLC

THORNTON, JEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18962          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

THORNTON, KARLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15874          FLETCHER V. TRAMMELL

THORNTON, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02370          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

THORNTON, RACHELL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17981          NACHAWATI LAW GROUP



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

THORP, MARCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19868          NACHAWATI LAW GROUP

THORP, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08711          ASHCRAFT & GEREL

THORPE, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04053          ONDERLAW, LLC

THORPE, CHRISTEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12237          CHILDERS, SCHLUETER & SMITH, LLC

THORPE, DEBORAH                  CA - SUPERIOR COURT - SAN BENITO             CU-17-00075             THE DUGAN LAW FIRM

THORPE, ELAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-02134           JOHNSON LAW GROUP

THORPE, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01769          TRAMMELL PC

THORSON, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14025          ONDERLAW, LLC

THORSON, RANDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01820          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THOUN, SALLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12733          THE DEATON LAW FIRM

THRASH, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12317          ASHCRAFT & GEREL

THRASH, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THRASH, SYRENTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05614           NAPOLI SHKOLNIK, PLLC

THRASHER, RHONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17985          NACHAWATI LAW GROUP

THRASHER, TRACEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17639           ONDERLAW, LLC

THREADGILL, EVA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC-617311              BARNES & THORNBURG LLP

THREADGILL, EVA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC-617311              GIRARDI & KEESE

THREADGILL, EVA                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC-617311               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

THREATT, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18009          NACHAWATI LAW GROUP

THROOP, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01377          ONDERLAW, LLC

THROWER, PATSY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09738           MORRIS BART & ASSOCIATES

THULL, LUANN VAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09052          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

THURMAN, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01534          ONDERLAW, LLC

THURMAN, MARGARET                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-100-16            ASHCRAFT & GEREL

THURMAN, MARGARET                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-100-16            GOLOMB SPIRT GRUNFELD PC

THURMOND, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01935          MOTLEY RICE, LLC

THURSTON, SHERILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19409          DAVIS, BETHUNE & JONES, L.L.C.

THWEATT, JOANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02078           LEVIN SIMES LLP

TIA INGLETON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18399          ONDERLAW, LLC

TIBBETTS, ROSALIE                CA - SUPERIOR COURT - MENDOCINO COUNTY       CVPO1870905             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TIBBETTS, ROSALIE                CA - SUPERIOR COURT - MENDOCINO COUNTY       CVPO1870905             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TIBBETTS, ROSALIE                CA - SUPERIOR COURT - MENDOCINO COUNTY       CVPO1870905             THE SMITH LAW FIRM, PLLC

TIBBETTS, SARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10429          GOLDENBERGLAW, PLLC

TICEAHKIE, JANICE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11581          THE MILLER FIRM, LLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TICHENOR, VICKI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03292          MORELLI LAW FIRM, PLLC

TIDLINE, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12951          NAPOLI SHKOLNIK, PLLC

TIDMORE, GWENDOLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02499          ONDERLAW, LLC

TIDWELL, MADELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11806          THE FERRARO LAW FIRM, P.A.

TIDWELL, PATTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06550          ONDERLAW, LLC

TIEDEMAN, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13196          NACHAWATI LAW GROUP

TIEDEMANN, TINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13275           THE SEGAL LAW FIRM

TIEMAN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18664          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TIENKEN, BONNIE                   CA - SUPERIOR COURT - FRESNO COUNTY           18CECG01553            BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

TIERNAN, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05792          ONDERLAW, LLC

TIERNEY, COLLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09480          FLETCHER V. TRAMMELL

TIERNEY, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16125          NACHAWATI LAW GROUP

TIERNEY, KATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13650          THE DUGAN LAW FIRM

TIERNEY, PENELOPE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13387          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TIETGE, HANSI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00780          CELLINO & BARNES, P.C.

TIFFFANY WESTENSKOW               FEDERAL - MDL                                 3:21-CV-19781          ONDERLAW, LLC

TIGHE, JACQUELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12252          THE BENTON LAW FIRM, PLLC

TIJERINA, CLAUDIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10830          MCEWEN LAW FIRM, LTD.

TILDEN, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19851          NACHAWATI LAW GROUP

TILFORD, LORETTA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002786-21         WEITZ & LUXENBERG

TILL, CONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07832          ASHCRAFT & GEREL

TILL, CONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07832          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TILL, GLADYS                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000274-21         GOLOMB & HONIK, P.C.

TILLER, SUZANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19137          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TILLERY, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-03705          WAGSTAFF & CARTMELL, LLP

TILLEY, AUDREY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

TILLEY, AUDREY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

TILLEY, AUDREY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

TILLEY, AUDREY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           THE SMITH LAW FIRM, PLLC

TILLEY, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06592          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TILLMAN, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12782          THE DEATON LAW FIRM

TILLMAN, LOTTIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14262          HOLLAND LAW FIRM

TILLMAN, MINNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06612          ONDERLAW, LLC

TILLMAN, PETRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03045          ARNOLD & ITKIN LLP



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             Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TILLMAN, REGINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16649          ARNOLD & ITKIN LLP

TILLMAN, SHELIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12490          ONDERLAW, LLC

TILNEY, CLARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21104          NACHAWATI LAW GROUP

TILTON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11153          GOLDENBERGLAW, PLLC

TIMA, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18581          MILLER DELLAFERA PLC

TIMAR, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16621           ASHCRAFT & GEREL

TIMAR, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16621          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TIMBERLAKE, JAYNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12153          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TIMES, HILLARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18018          NACHAWATI LAW GROUP

TIMIAN, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16383           DALIMONTE RUEB, LLP

TIMIAN, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09275          ONDERLAW, LLC

TIMIAN, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09275          ONDERLAW, LLC

TIMIAN, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09275          ONDERLAW, LLC

TIMM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15515          ASHCRAFT & GEREL, LLP

TIMM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15515          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TIMMER, DAWN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04112          ONDERLAW, LLC

TIMMERMAN, JULIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05624          ARNOLD & ITKIN LLP

TIMMINS, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16868           THE MILLER FIRM, LLC

TIMMONS, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13540          THE MILLER FIRM, LLC

TIMMONS, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06540          DRISCOLL FIRM, P.C.

TIMMONS, RHONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02109          ONDERLAW, LLC

TIMMONS, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16301          THE MILLER FIRM, LLC

TIMMS, GINGER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05019          MORELLI LAW FIRM, PLLC

TIMMS, JANENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TIMMS, JANENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

TIMMS, JANENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

TIMMS, JANENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

TIMMS, JANENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

TIMMS, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08361          ONDERLAW, LLC

TIMONE, REGINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09463          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TIMPANO, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00091          CELLINO & BARNES, P.C.

TIMPONE, BETTYANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15934           NACHAWATI LAW GROUP




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TIMS, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03994          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TIN, PRIM                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10355          ONDERLAW, LLC

TINA BROOME                       FEDERAL - MDL                                3:21-CV-19773           ONDERLAW, LLC

TINA REEVES                       FEDERAL - MDL                                3:21-CV-19789           ONDERLAW, LLC

TINA, MARLOW                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04008          ONDERLAW, LLC

TINCHER, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09564          ONDERLAW, LLC

TINCOMBE, CAROLINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002833-20         GOLOMB & HONIK, P.C.

TINDALL, SARAH                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-007453-20        WEITZ & LUXENBERG

TINDER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00794          TAUTFEST BOND

TINER, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08138          NAPOLI SHKOLNIK, PLLC

TINGEL, MARCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13538          THE MILLER FIRM, LLC

TINGHINO, ISABEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17004          BERNSTEIN LIEBHARD LLP

TINGLER, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18029          NACHAWATI LAW GROUP

TINGSTROM, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00839          COHEN & MALAD, LLP

TINGSTROM, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00839          DELISE & HALL

TINKHAM, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09485           THE MILLER FIRM, LLC

TINNEY, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06778          GORI JULIAN & ASSOCIATES, P.C.

TINOCO, RAMONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11149          GOLDENBERGLAW, PLLC

TINSLEY, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00316           THE MILLER FIRM, LLC

TINSLEY, LACRESSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18033          NACHAWATI LAW GROUP

TINSLEY, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08251          ONDERLAW, LLC

TIPP, MARIAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07755          ONDERLAW, LLC

TIPPETT, CHRISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20417          JOHNSON BECKER, PLLC

TIPPETT, SHERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10401          ONDERLAW, LLC

TIPPIN, COREY                     NY - SUPREME COURT - NYCAL                   190062/2021             THE EARLY FIRM, LLC

TIPPIN, COREY G.                  NY - SUPREME COURT - NYCAL                   190062/2021             DEAN OMAR BRANHAM, LLP

TIPPS, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TIPPS, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

TIPPS, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

TIPPS, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            PORTER & MALOUF, PA

TIPPS, MARY                       MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           THE SMITH LAW FIRM, PLLC

TIPTON, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07935           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

TIPTON, GERMAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14877          LENZE LAWYERS, PLC

TIPTON, GERMAINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14877          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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                Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

TIPTON, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00620          DALIMONTE RUEB, LLP

TIPTON, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02967          FLETCHER V. TRAMMELL

TIPTON-BELL, JILL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08566          ONDERLAW, LLC

TISCHLER, MOLLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17514          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TISCHNER, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BARRETT LAW GROUP, P.A.

TISCHNER, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BURNS CHAREST LLP

TISCHNER, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BURNS CHAREST LLP

TISCHNER, JOYCE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-348-18            COHEN, PLACITELLA & ROTH

TISCHNER, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

TISDALE, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13152          THE BENTON LAW FIRM, PLLC

TISHMAN, CAROL                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-005500-21        WEITZ & LUXENBERG

TISI, JESSICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02144          ONDERLAW, LLC

TISINO, DEBBIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18815          NACHAWATI LAW GROUP

TISINO, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04618          ARNOLD & ITKIN LLP

TISNADO, PEARL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19859          NACHAWATI LAW GROUP

TITTLE, DEBORRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13134          FLETCHER V. TRAMMELL

TITTLE, POLLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05796          ONDERLAW, LLC

TITTLE, RENA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18043          NACHAWATI LAW GROUP

TITTLE, TOMMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20242          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TITUS, LOTTIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20206          NACHAWATI LAW GROUP

TITUS, ROSALYNNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09967          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TITUS, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03617          CORY, WATSON, CROWDER & DEGARIS P.C.

TLAPA, GUADALUPE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02035          ONDERLAW, LLC

TLOCZKOWSKI, PATRICA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1658-15           GOLOMB SPIRT GRUNFELD PC

TLUSTY, GRACE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002238-19         SANDERS PHILLIPS GROSSMAN, LLC

TOALE, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15154          ONDERLAW, LLC

TOBAGI, MILEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18083          NACHAWATI LAW GROUP

TOBEY-BOWERS, BRITTANY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01604           ONDERLAW, LLC

TOBIAS, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06118          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOBIAS, ROMONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02414          ONDERLAW, LLC

TOBIAS, SARAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05458          ONDERLAW, LLC

TOBIN, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09023           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOBIN, GERALDINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12712          DRISCOLL FIRM, P.C.

TOBIN, THERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11488          DALIMONTE RUEB, LLP



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TOBLIN, EILEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16042          ASHCRAFT & GEREL, LLP

TOBLIN, EILEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16042          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOBOLA, WANDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOBOLA, WANDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

TOBOLA, WANDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

TOBOLA, WANDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

TOBOLA, WANDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            THE SMITH LAW FIRM, PLLC

TOCCHINI, DELPHINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00018           ONDERLAW, LLC

TOCCI, ARLENE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003352-21         WILENTZ, GOLDMAN & SPITZER, P.A.

TOCCI, CHARLESSA SCHOENBERGER    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13383          THE DIAZ LAW FIRM, PLLC

TOCCI-CORNELISON, JOSEPHINE      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003363-21         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TOCHE, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18086          NACHAWATI LAW GROUP

TODD, BECKY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14107          FLETCHER V. TRAMMELL

TODD, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09246          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TODD, BEVERLY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

TODD, BEVERLY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

TODD, BEVERLY                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            THE SMITH LAW FIRM, PLLC

TODD, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18004          DALIMONTE RUEB, LLP

TODD, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16061          NACHAWATI LAW GROUP

TODD, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10773          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TODD, CHYRISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05084          ONDERLAW, LLC

TODD, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08215          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TODD, DENISE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

TODD, DENISE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

TODD, DENISE                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            THE SMITH LAW FIRM, PLLC

TODD, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07094          BURNS CHAREST LLP

TODD, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07094          BURNS CHAREST LLP

TODD, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21461          MOTLEY RICE, LLC

TODD, FRANCES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07871          ONDERLAW, LLC

TODD, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10398           JOHNSON LAW GROUP

TODD, LILLIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06985          ONDERLAW, LLC

TODD, MADONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11296          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TODD, MAMMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14498           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TODD, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17158          BURNS CHAREST LLP



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              Claimant Name                            State Filed                       Docket Number                            Plaintiff Counsel

TODD, SUSAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11610          TRAMMELL PC

TODD, TIFFANY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09783           BARON & BUDD, P.C.

TODDY, OLGA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16145          NACHAWATI LAW GROUP

TODECHEENE, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12832          POGUST BRASLOW & MILLROOD, LLC

TODISH, BARBARA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002074-20         GOLOMB & HONIK, P.C.

TOENISKOETTER, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18642           ONDERLAW, LLC

TOEPPER, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09492          ONDERLAW, LLC

TOFTNESS, ELLA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003159-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

TOKARSKI, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08273           FLETCHER V. TRAMMELL

TOLAN, BONITA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10100          ONDERLAW, LLC

TOLAND, DEBBIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05982          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOLBERT, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02770          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOLBERT, ANTIONETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11462          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TOLBERT, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16616          CHILDERS, SCHLUETER & SMITH, LLC

TOLBERT, CAROLINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19452          ARNOLD & ITKIN LLP

TOLBERT, GLENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03322          DALIMONTE RUEB, LLP

TOLBERT, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01401          MOTLEY RICE, LLC

TOLBERT, SONJA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09339          ONDERLAW, LLC

TOLEDO, SATURNIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06887          ASHCRAFT & GEREL, LLP

TOLEN, DORSELL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18671          WILLIAMS HART LAW FIRM

TOLENTINO, CYNTHIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002            ONDERLAW, LLC

TOLENTINO, IMELDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13004          CELLINO & BARNES, P.C.

TOLER, MARLINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20238          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOLER, STEPHANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03990          ONDERLAW, LLC

TOLES, FELICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16911          ONDERLAW, LLC

TOLHURST, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03852          ONDERLAW, LLC

TOLIN, SHELIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13411           CORY, WATSON, CROWDER & DEGARIS P.C.

TOLIVER, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06734          THE SIMON LAW FIRM, PC

TOLIVER, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09326          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOLLARI, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01292          NASS CANCELLIERE BRENNER

TOLLE, GAYLE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03095          ONDERLAW, LLC

TOLLEFSON, KATHERINE                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004370-21         MAUNE RAICHLE HARTLEY FRENCH & MUDD
TOLLEFSON, KATHERINE & TOLLEFSON,
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-004370-21        LEVY KONIGSBERG LLP
KEVIN
TOLLEY, ROSE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05611          NAPOLI SHKOLNIK, PLLC



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              Claimant Name                            State Filed                       Docket Number                              Plaintiff Counsel

TOLLIS, JANINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11883          ONDERLAW, LLC

TOLLISON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09065          ONDERLAW, LLC

TOLLIVER, ELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05297          ARNOLD & ITKIN LLP

TOLLIVER, RUTHIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02976          STEVE MERRITT LAW

TOLLOTY, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16227          NACHAWATI LAW GROUP

TOM, MAGGIE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15233          DALIMONTE RUEB, LLP

TOMASETTI, BRIDGETT                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOMASETTI, BRIDGETT                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

TOMASETTI, BRIDGETT                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            THE SMITH LAW FIRM, PLLC

TOMASI, AMY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00569          JOHNSON BECKER, PLLC

TOMBLIN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY        3:21-CV-01701          THE SEGAL LAW FIRM
TOMBLINSON, THEODORE & TOMBLINON,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY          MID-L-05713-19AS       WEITZ & LUXENBERG
SUE A
TOME, LORRAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY        3:20-CV-19874          NACHAWATI LAW GROUP

TOMESCH, EDWINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22235          MOTLEY RICE, LLC

TOMICH, BEVERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00280          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOMLIN, DWENAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:19-CV-18172          GORI JULIAN & ASSOCIATES, P.C.
TOMLIN, REBECCA ANN EST OF RICHARD
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY         MID-L-005872/21        MAUNE RAICHLE HARTLEY FRENCH & MUDD
TOMLIN
TOMLINSON, KIMBERLY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY       3:21-CV-09320          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOMLINSON, LINN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04459          MUELLER LAW PLLC
TOMLINSON, NORMA THE EST OF J       OH - COURT OF COMMON PLEASE - CUYAHOGA
                                                                                 CV-21-943742            BEVAN & ASSOCIATES LPA, INC.
TOMLINSON                           COUNTY
TOMPKINS, CAMILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10293          ONDERLAW, LLC

TOMPKINS, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16933           ASHCRAFT & GEREL

TOMPKINS, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16933          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOMPKINS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14973          NAPOLI SHKOLNIK, PLLC

TOMPKINS, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09733           ONDERLAW, LLC

TOMS, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18090          NACHAWATI LAW GROUP

TOMS, MADELINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11391          HOVDE, DASSOW, & DEETS, LLC

TOMS, MADELINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11391           THE MILLER FIRM, LLC

TONCHE, RAUL                        NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-04417-21          LEVY KONIGSBERG LLP

TONDREAU, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19975          NACHAWATI LAW GROUP

TONER, JOAN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00168           FLETCHER V. TRAMMELL

TONEY, CYNTHIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13188          ONDERLAW, LLC

TONEY, HEATHER                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01343           DRISCOLL FIRM, P.C.

TONEY, HELENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16357          MOTLEY RICE, LLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TONEY, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TONEY, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          ONDERLAW, LLC

TONEY, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03946           PORTER & MALOUF, PA

TONEY, JILL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          THE SMITH LAW FIRM, PLLC

TONEY, LOUISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13659          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TONEY, THERESA                   DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02741          ASHCRAFT & GEREL

TONEY, THERESA                   DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02741          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TONGCO, DIANNE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            ONDERLAW, LLC

TONGCO, DIANNE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

TONGCO, DIANNE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            THE SMITH LAW FIRM, PLLC

TONGE, CHRISSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11530          NACHAWATI LAW GROUP

TONI MAYES                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18633          WEITZ & LUXENBERG

TONI, MARIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TONI, MARIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          ONDERLAW, LLC

TONI, MARIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793           PORTER & MALOUF, PA

TONI, MARIANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          THE SMITH LAW FIRM, PLLC

TONJA WOOTHTAKEWAHBITTY          FEDERAL - MDL                                 3:21-CV-19785          ONDERLAW, LLC

TONSETH, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19424          WEITZ & LUXENBERG

TOOMER, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06851          ONDERLAW, LLC

TOOMER, PEARL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001119-20         GOLOMB SPIRT GRUNFELD PC

TOOMEY, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18735          MOTLEY RICE, LLC

TOOTHMAN, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19226          ONDERLAW, LLC

TOPLENSZKI, EVA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12948          ASHCRAFT & GEREL, LLP

TOPOL, REGI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03875          ONDERLAW, LLC

TOPP, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10330          ASHCRAFT & GEREL, LLP

TOPP, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10330          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOPPINS, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04349          MORELLI LAW FIRM, PLLC

TORBETT, TONY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07059          ONDERLAW, LLC

TORHURST, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16140          NACHAWATI LAW GROUP

TORIBIO, LEILANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

TORIBIO, LEILANI                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318681              ONDERLAW, LLC

TORIBIO, LEILANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          ONDERLAW, LLC

TORIBIO, LEILANI                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318681              SALKOW LAW, APC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TORIBIO, LEILANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          THE POTTS LAW FIRM, LLP

TORIBIO, LEILANI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791           ZEVAN DAVIDSON ROMAN LLC

TORNES, LEYLA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06323          FLETCHER V. TRAMMELL

TORO, DOREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15791          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TORO, SANDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01261          SIMMONS HANLY CONROY

TORRE, NANCY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000853-18         GOLOMB SPIRT GRUNFELD PC

TORREGANO, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11456          NACHAWATI LAW GROUP

TORREGANO, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07568          ONDERLAW, LLC

TORRES, ADDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01628          JOHNSON LAW GROUP

TORRES, ANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06002          ONDERLAW, LLC

TORRES, ANGELICA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12857          JOHNSON LAW GROUP

TORRES, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01138          NACHAWATI LAW GROUP

TORRES, CHRISTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12368           CLIFFORD LAW OFFICES, P.C.

TORRES, DELIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02478          ONDERLAW, LLC

TORRES, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10138          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TORRES, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10776          THE LAW OFFICES OF SEAN M CLEARY

TORRES, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18500          JOHNSON LAW GROUP

TORRES, JOYCE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TORRES, JOYCE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

TORRES, JOYCE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

TORRES, JOYCE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

TORRES, JOYCE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

TORRES, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           DONALD L. SCHLAPPRIZZI P.C.

TORRES, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12135           FLETCHER V. TRAMMELL

TORRES, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

TORRES, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TORRES, LEANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13608          WEITZ & LUXENBERG

TORRES, LIGIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03620          ONDERLAW, LLC

TORRES, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08965          SANDERS VIENER GROSSMAN, LLP

TORRES, LUISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14570          FLETCHER V. TRAMMELL

TORRES, MARCELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20315          ONDERLAW, LLC

TORRES, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06138           ONDERLAW, LLC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TORRES, MARIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09313          ONDERLAW, LLC

TORRES, MAXIMO                   NY - SUPREME COURT - NYCAL                   190343/2017             MEIROWITZ & WASSERBERG, LLP

TORRES, MAXIMO                   NY - SUPREME COURT - NYCAL                   190343/2017             MEIROWITZ & WASSERBERG, LLP

TORRES, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10685          THE LAW OFFICES OF SEAN M CLEARY

TORRES, MIOSOTY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

TORRES, MIOSOTY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

TORRES, MIOSOTY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

TORRES, MIOSOTY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

TORRES, NIVIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06713          THE SIMON LAW FIRM, PC

TORRES, ROXANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10101          ONDERLAW, LLC

TORRES, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16620          CHILDERS, SCHLUETER & SMITH, LLC

TORRES, YERENIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02129          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TORREY, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09941           ONDERLAW, LLC

TORRY, ETTA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05735          ONDERLAW, LLC

TORSKE, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10544          SIMMONS HANLY CONROY

TORZILLI, MILDRED                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02966           ONDERLAW, LLC

TOSCANO, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15120          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TOSEV, KATA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06543          ONDERLAW, LLC

TOSKIN, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12237          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOTH, JANE                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003390-20         GOLOMB & HONIK, P.C.

TOTOS, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05488          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOTTERDALE, DARYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12786           ASHCRAFT & GEREL

TOUCHSTONE, SHIRLEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11122           SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

TOUCHTON, VICKY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10777          ONDERLAW, LLC

TOURE, KATHERINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13975          ARNOLD & ITKIN LLP

TOURO, ELVERA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11318          BARON & BUDD, P.C.

TOUSANT, ELIZA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08738          THE LAW OFFICES OF ERIC H. WEINBERG

TOUSEY, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22095          ONDERLAW, LLC

TOUSSANT, ELIZA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16211          THE WEINBERG LAW FIRM

TOUTANT, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16784          GORI JULIAN & ASSOCIATES, P.C.

TOUZA, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOUZA, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

TOUZA, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TOVAR, MARIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16001          GIRARDI & KEESE

TOVAR, MONICA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165            ONDERLAW, LLC

TOVAR, MONICA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11165           PORTER & MALOUF, PA

TOVAR, MONICA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11165            THE SMITH LAW FIRM, PLLC

TOVAR-BUSTOS, ISABEL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19332          SANDERS PHILLIPS GROSSMAN, LLC

TOWARD, TRACY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04275          ONDERLAW, LLC

TOWLER, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03877          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

TOWNER, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04688          ONDERLAW, LLC

TOWNS, LUCILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15594          PARKER WAICHMAN, LLP

TOWNSEN, LENORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10583          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TOWNSEND, DEBORA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07958          ARNOLD & ITKIN LLP

TOWNSEND, JAMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03025          FLETCHER V. TRAMMELL

TOWNSEND, JUSTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14344           ONDERLAW, LLC

TOWNSEND, LAURIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02170          JOHNSON LAW GROUP

TOWNSEND, MARJORIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19978          NACHAWATI LAW GROUP

TOWNSEND, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17097          MORRIS BART & ASSOCIATES

TOWNSEND, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16598          THE MILLER FIRM, LLC

TOWNSEND, STELLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07490          ONDERLAW, LLC

TOWNSEND-FLEET, PATRICIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16273          NACHAWATI LAW GROUP

TOY, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06977          ONDERLAW, LLC

TOYNBEE, SHERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18220          ONDERLAW, LLC

TRAAEN, JAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14057          JOHNSON LAW GROUP

TRACHT, PEGGY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14137          JOHNSON LAW GROUP

TRACY BROWN                      FEDERAL - MDL                                3:21-CV-18905           MOTLEY RICE, LLC

TRACY COVINGTON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18576          ONDERLAW, LLC

TRACY GARRICK                    FEDERAL - MDL                                 3:21-CV-16043          SLATER, SLATER, SCHULMAN, LLP

TRACY GARRICK                    FEDERAL - MDL                                 3:21-CV-16043          SLATER, SLATER, SCHULMAN, LLP

TRACY LITTLEJOHN                 FEDERAL - MDL                                3:21-CV-19409           SEEGER WEISS LLP

TRACY, JASMINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11966          THE MILLER FIRM, LLC

TRACY, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07705          MOTLEY RICE, LLC

TRACYE CRANFORD                  FEDERAL - MDL                                3:21-CV-19458           THE DILORENZO LAW FIRM, LLC

TRADER, BRITTANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01250          JASON J. JOY & ASSCIATES P.L.L.C.

TRADER, EDYTHE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002067-21         GOLOMB & HONIK, P.C.

TRAESTER, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16040          ASHCRAFT & GEREL, LLP



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              Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

TRAESTER, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16040           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRAHAN, JEWELL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09926          WATERS & KRAUS, LLP

TRAHAN, KATINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20228          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRAHAN, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09589          ONDERLAW, LLC

TRAHAN, MELODY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05430          ONDERLAW, LLC

TRAHAN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01834          ASHCRAFT & GEREL

TRAHAN, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01834          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRAHERN, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01529          BURNS CHAREST LLP

TRAHERN, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01529          BURNS CHAREST LLP

TRAIL, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06100          ASHCRAFT & GEREL, LLP

TRAINER, JOANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04142           TORHOERMAN LAW LLC

TRAINHAM, VALARIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08986          ONDERLAW, LLC

TRAINOR, TAYLOR                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10417           KLINE & SPECTER, P.C.

TRAMEL, LESLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09910          ONDERLAW, LLC

TRAMMEL, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04961          THE MILLER FIRM, LLC

TRAMMELL, CARYLON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01011           ONDERLAW, LLC

TRAMMELL, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07219           FLETCHER V. TRAMMELL

TRAMONTANO, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03288           ONDERLAW, LLC

TRAMONTOZZI, MARJORIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14751          ONDERLAW, LLC

TRAN, CHANH                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002199-20         GOLOMB & HONIK, P.C.

TRAN, THUY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03014          WILLIAMS HART LAW FIRM

TRAN, TUYET-NHUNG                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08646          DAVIS, BETHUNE & JONES, L.L.C.

TRANBARGER, GLENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07816          ASHCRAFT & GEREL

TRANBARGER, GLENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07816           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRANSITA FLOWERS                 IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

TRANT, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19370          NACHAWATI LAW GROUP

TRAPAGA, MARTHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13159           THE SEGAL LAW FIRM

TRAPANI, NORENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15547          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRAPINI, SYLVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11409           ONDERLAW, LLC

TRAPP, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03593          ONDERLAW, LLC

TRAPP, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02730          LANGDON & EMISON

TRAPPLER, WILMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19571          ASHCRAFT & GEREL, LLP

TRAPPLER, WILMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19571          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRASK, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18381          THE SEGAL LAW FIRM



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            Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

TRASKELL, MICHELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18117           NACHAWATI LAW GROUP

TRAUTMAN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12226          ONDERLAW, LLC

TRAVE, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03750          WILLIAMS HART LAW FIRM

TRAVER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02352          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRAVER, LORETTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01892          GORI JULIAN & ASSOCIATES, P.C.

TRAVERS, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20017          THE DIAZ LAW FIRM, PLLC

TRAVIS, CHERYLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17683          THE MILLER FIRM, LLC

TRAVIS, HERVETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13910           DALIMONTE RUEB, LLP

TRAVIS, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05526          ONDERLAW, LLC

TRAVIS, LYNN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14748          ONDERLAW, LLC

TRAVIS, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17999           ASHCRAFT & GEREL

TRAVIS, SARAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17999          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRAWICK-SPEAKS, NANCY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12345          ASHCRAFT & GEREL

TRAWICK-SPEAKS, NANCY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12345           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRAXLER, ANGIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08190          ONDERLAW, LLC

TRAXLER, DOREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11270          NACHAWATI LAW GROUP

TRAYAN, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16223           SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

TRAYLOR, ANTONETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16884          ONDERLAW, LLC

TRAYLOR, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07425          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

TRAYLOR, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07325          JOHNSON LAW GROUP

TRAYLOR, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRAYLOR, KELLY                 CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318708             KIESEL LAW, LLP

TRAYLOR, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          ONDERLAW, LLC

TRAYLOR, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00793           PORTER & MALOUF, PA

TRAYLOR, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          THE SMITH LAW FIRM, PLLC

TRAYLOR, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11200          PARKER WAICHMAN, LLP

TRAYNOR, MARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14492          FITZGERALD LAW GROUP, LLC

TRAYNOR, MARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09185          ONDERLAW, LLC

TREADWAY, FLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00531          ARNOLD & ITKIN LLP

TREADWAY, YOULANDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01743          TRAMMELL PC

TREADWELL, JULIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01944          JOHNSON LAW GROUP

TREADWELL, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-09495          HART MCLAUGHLIN & ELDRIDGE

TRECHTER, MARGO                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19878          NACHAWATI LAW GROUP

TREECE, LEEANNA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002978-21         WEITZ & LUXENBERG



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

TREETER, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10353            HAIR SHUNNARAH TRIAL ATTORNEYS LLC

TREFTZ, EMILY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17795            JOHNSON LAW GROUP

TREGO, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08840            ONDERLAW, LLC

TREJO, ANTELINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14683             WILLIAMS HART LAW FIRM

TREMAINE, DOROTHEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19107            MOTLEY RICE, LLC

TREMAINE, TAWNIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10982            ASHCRAFT & GEREL, LLP

TREMBATH, CAROLINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07924             THE MILLER FIRM, LLC

TREMBLAY, JANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00570             JOHNSON BECKER, PLLC

TREMBLEY, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12865            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRENBATH, LORI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03528            JOHNSON LAW GROUP

TRENT, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12935            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRENT, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09702            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRENT, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08773            ONDERLAW, LLC

TRENT, WENDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14466            ARNOLD & ITKIN LLP

TREPANIER, HEIDE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20460            ASHCRAFT & GEREL, LLP

TREPANIER, HEIDE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20460            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRESENRITER, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05633             ONDERLAW, LLC

TRESHANKY, SUSAN                 CA - SUPERIOR COURT - ORANGE COUNTY          30-2018-00988160-CU-PL-CXC ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TRESSEL, MILDRED                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08177             ONDERLAW, LLC

TRESSLER, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09929            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRESSLER, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14061            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRETO, MARGARITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00524            DALIMONTE RUEB, LLP

TREVINO, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08151             ONDERLAW, LLC

TREVINO, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04872            ONDERLAW, LLC

TREVINO, MAGDALENA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08072            BLIZZARD & NABERS, LLP

TREVINO, OLIVIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18645             ONDERLAW, LLC

TREVINO, PAULINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06255             ONDERLAW, LLC

TREVINO, SELMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18138            NACHAWATI LAW GROUP

TREZEK, LAURA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09134            NACHAWATI LAW GROUP

TRIANA, ROSEANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17457            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRIBBLE, GLORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01310            MORELLI LAW FIRM, PLLC

TRIBE, RITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13446            BURNS CHAREST LLP

TRICE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05056            FLETCHER V. TRAMMELL

TRICE, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17653            ONDERLAW, LLC



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               Claimant Name                            State Filed                       Docket Number                              Plaintiff Counsel

TRICE, MARY                          MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

TRICE, MARY                          MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

TRICE, MARY                          MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           THE SMITH LAW FIRM, PLLC

TRICIA CARNES                        FEDERAL - MDL                                 3:21-CV-19880          ONDERLAW, LLC

TRIEGLAFF, VICKI                     GA - STATE COURT OF FULTON COUNTY             19EV003302             BARNES LAW GROUP, LLC

TRIEGLAFF, VICKI                     GA - STATE COURT OF FULTON COUNTY            19EV003302              CHEELEY LAW GROUP

TRIGG, JACQUELINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08509           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRIGGS, GAILA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18025          NACHAWATI LAW GROUP

TRIGNANI, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15671          ROSS FELLER CASEY, LLP

TRILONE, ROSA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20001          NACHAWATI LAW GROUP

TRIMARCO, JENNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02113          MORGAN & MORGAN, P.A.

TRIMBLE, ANNIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16276          NACHAWATI LAW GROUP

TRIMBLE, GWENDOLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10315          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

TRIMBLE, LINDA K. EST OF MARY MASK   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-02589-18AS       LEVY KONIGSBERG LLP

TRIMBLE, NORMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10752          ONDERLAW, LLC

TRIMMER, SHARRON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15160          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TRINCA, VICTORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14215           ONDERLAW, LLC

TRINGALI, LORRAINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14349           CELLINO & BARNES, P.C.

TRINGALI, LOUISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13998           FLETCHER V. TRAMMELL

TRINIDAD, MARIA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000230-21         GOLOMB & HONIK, P.C.

TRIPLETT, CANDIUS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17955           NACHAWATI LAW GROUP

TRIPLETT, GREGNICCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16211           ONDERLAW, LLC

TRIPLETT, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03197           ONDERLAW, LLC

TRIPP, ARLENE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17898          ALLAN BERGER AND ASSOCIATES

TRIPP, KARLA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRIPP, KARLA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

TRIPP, KARLA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

TRIPP, KARLA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

TRIPP, KARLA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

TRIPP, KATHY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRIPP, KATHY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

TRIPP, KATHY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

TRIPP, KATHY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC




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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

TRIPP, SUZANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12732          THE DEATON LAW FIRM

TRISTANI, PHILOMENA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10492          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRIVETTE, PATSY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09610          ONDERLAW, LLC

TRIVITT, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20006          NACHAWATI LAW GROUP

TROCCOLI, ANN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20925          MUELLER LAW PLLC

TROCOLOR, MARISA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002790-20         GOLOMB & HONIK, P.C.

TROGDON, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08687          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TROIA, ELIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07318          JOHNSON LAW GROUP

TROJAN, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02500          ONDERLAW, LLC

TROMAN, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02771           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRONCOSO, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14788          LENZE LAWYERS, PLC

TRONCOSO, CONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14788           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TRONCOSO, DANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02625          ONDERLAW, LLC

TROOP, KRISTEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10657          GOLOMB SPIRT GRUNFELD PC

TROTCHIE, JILLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10448          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TROTOCHAU, LISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05821           DALIMONTE RUEB, LLP

TROTTER, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05569          NACHAWATI LAW GROUP

TROTTER, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

TROTTER, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16086          LENZE LAWYERS, PLC

TROTTER, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

TROTTER, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16086          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TROTTER, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TROTTIER, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12109          THE MILLER FIRM, LLC

TROUBLEFIELD, BARBARA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09391           ONDERLAW, LLC

TROUPE-SINCLAIR, BARBARA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02775          ONDERLAW, LLC

TROUT, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13311          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TROUTT, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02942           ONDERLAW, LLC

TROVATO, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09538          FLETCHER V. TRAMMELL

TROVER, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09021          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TROWBRIDGE, HENRIETTA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-05011           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TROWER, TONYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05381          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRSTENSKY, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14579          MORGAN & MORGAN

TRUAX, NORA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14382          DALIMONTE RUEB, LLP




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            Claimant Name                           State Filed                        Docket Number                            Plaintiff Counsel

TRUCKS, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08877          ONDERLAW, LLC

TRUDEAU, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09020          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRUDEN, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01693          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRUDY HATTEN                      FEDERAL - MDL                                 3:21-CV-19046          MOTLEY RICE, LLC

TRUELAND, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07568          ASHCRAFT & GEREL, LLP

TRUELAND, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07568          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRUESDALE, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13193          NACHAWATI LAW GROUP

TRUESDALE, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13069           CELLINO & BARNES, P.C.

TRUESDALE, QUEANNA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002943-15         SEEGER WEISS LLP

TRUJILLO, ANNAMARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19933          NACHAWATI LAW GROUP

TRUJILLO, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14789           LENZE LAWYERS, PLC

TRUJILLO, CONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14789          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TRUJILLO, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19459          ASHCRAFT & GEREL, LLP

TRUJILLO, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19459          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRUJILLO, EMILY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09212          DALIMONTE RUEB, LLP

TRUJILLO, HEATHER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09807          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TRUJILLO, IRENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17873          ONDERLAW, LLC

TRUJILLO, JAIRLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20011          NACHAWATI LAW GROUP

TRUJILLO, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01009          ONDERLAW, LLC

TRUJILLO, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13497          ONDERLAW, LLC

TRUJILLO, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06721          LAW OFFICE OF CHARLES H JOHNSON, PA

TRUJILLO, TIFFANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05938          ONDERLAW, LLC

TRUJILLO,JACQUELINE ET , UX.      CA - SUPERIOR COURT - ALAMEDA COUNTY         RG19001767              MAUNE RAICHLE HARTLEY FRENCH & MUDD

TRULL, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09590          ONDERLAW, LLC

TRULL, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04932          ONDERLAW, LLC

TRULL, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08707          THE MILLER FIRM, LLC

TRULUCK, JAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11681          MORGAN & MORGAN

TRUMAN, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11142           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

TRUMAN, VEDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05429          ONDERLAW, LLC

TRUMP, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04815           ONDERLAW, LLC

TRUMPS, JOYCELYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13792           MORRIS BART & ASSOCIATES

TRUPIA, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12456           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

TRUSCOTT, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17984          NACHAWATI LAW GROUP




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             Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TRUSEDELL, AMANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20803          ONDERLAW, LLC

TRUSLOW, DAWN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10402          ONDERLAW, LLC

TRUSSELL, LOUBIRDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08143           ONDERLAW, LLC

TRYBA, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19757          ONDERLAW, LLC

TRYBALSKI, BARRIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08106           ONDERLAW, LLC

TSADILAS, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02050          JOHNSON LAW GROUP

TSAUDARIDIS, STEPHANIE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08564           ONDERLAW, LLC

TSCHABRUNN, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12075          NACHAWATI LAW GROUP

TSCHIDA, MYRTLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16053          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TSHAMALA, JEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17572          MORELLI LAW FIRM, PLLC

TSOSIE, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12954          NAPOLI SHKOLNIK, PLLC

TSUCHIDA, MEGUMI                CA - SUPERIOR COURT - LOS ANGELES            BC697439                WEITZ & LUXENBERG

TUBBS, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16624          CHILDERS, SCHLUETER & SMITH, LLC

TUBER, CAROLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11725          JOHNSON LAW GROUP

TUBERGAN, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01509          FLETCHER V. TRAMMELL

TUCK, LENITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03509          JOHNSON LAW GROUP

TUCK, LUCILLE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003726-20         COHEN, PLACITELLA & ROTH

TUCK, LUCILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09339          EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

TUCK, SARETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13821          MORELLI LAW FIRM, PLLC

TUCKER, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04525          WILLIAMS HART LAW FIRM

TUCKER, ANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03120           FLETCHER V. TRAMMELL

TUCKER, APRIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03681          MILLER DELLAFERA PLC

TUCKER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16041          ASHCRAFT & GEREL, LLP

TUCKER, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16041          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUCKER, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06229          DALIMONTE RUEB, LLP

TUCKER, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15422          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUCKER, CAROLINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09235          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUCKER, CAROLINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

TUCKER, CAROLINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

TUCKER, CAROLINE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

TUCKER, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13646          ARNOLD & ITKIN LLP

TUCKER, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15261          JOHNSON LAW GROUP

TUCKER, DANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13189          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUCKER, DORTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00018          ONDERLAW, LLC



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TUCKER, ELLEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03963          ONDERLAW, LLC

TUCKER, INA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18050          NACHAWATI LAW GROUP

TUCKER, IRIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10545          JOHNSON LAW GROUP

TUCKER, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14990          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUCKER, JENNIFER                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002976-21         WEITZ & LUXENBERG

TUCKER, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13977           CHAFFIN LUHANA LLP

TUCKER, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01973           JOHNSON LAW GROUP

TUCKER, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05020          MORELLI LAW FIRM, PLLC

TUCKER, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06629          ONDERLAW, LLC

TUCKER, LATASHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17517          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUCKER, LOU                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15643          WILLIAMS HART LAW FIRM

TUCKER, LOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18093          NACHAWATI LAW GROUP

TUCKER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16062          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TUCKER, MELBA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUCKER, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04713          SIMMONS HANLY CONROY

TUCKER, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09872          WAGSTAFF & CARTMELL, LLP

TUCKER, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10599          NACHAWATI LAW GROUP

TUCKER, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13247          THE MILLER FIRM, LLC

TUCKER, ROSLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10908          FLETCHER V. TRAMMELL

TUCKER, TAMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09331          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUCKER, TONI                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUCKER, TONI                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            ONDERLAW, LLC

TUCKER, TONI                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           PORTER & MALOUF, PA

TUCKER, TONI                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           THE SMITH LAW FIRM, PLLC

TUCKER, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04229          ONDERLAW, LLC

TUCKER, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10450          CORY, WATSON, CROWDER & DEGARIS P.C.

TUCKER, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03041          MUELLER LAW PLLC

TUCKER, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03876          ONDERLAW, LLC

TUCKER, YOLANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08893          ONDERLAW, LLC

TUCKER-WALTERS, ANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07863          ROSS FELLER CASEY, LLP

TUGGLE, EMMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13235          NACHAWATI LAW GROUP

TUILETUFUGA, IO                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18071          NACHAWATI LAW GROUP

TUINSTRA, JUDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05892           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

TUINSTRA, JUDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02867          ONDERLAW, LLC



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              Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

TUINSTRA, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05412          ONDERLAW, LLC

TULEO, GERALDINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01304           MOTLEY RICE, LLC

TULIEBITZ, VALENTINA             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00002            ONDERLAW, LLC

TULL, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00414          DALIMONTE RUEB, LLP

TULLOSS, SUZANNE-MARIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03237           ONDERLAW, LLC

TULLY, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00814           THE BENTON LAW FIRM, PLLC

TUMAMBING, MERCEDES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16658          ASHCRAFT & GEREL

TUMAMBING, MERCEDES              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16658          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUMEO, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10044          CELLINO & BARNES, P.C.

TUNNELL, KASEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04180          ONDERLAW, LLC

TUPPER, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05838          ARNOLD & ITKIN LLP

TURBIN, LILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08822          ONDERLAW, LLC

TURCHIARO, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15771          GIRARDI & KEESE

TUREK, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10403          ONDERLAW, LLC

TURE-OROURKE, LISA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22137           ONDERLAW, LLC

TURISH, MELODIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00975          JOHNSON LAW GROUP

TURK, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19463          ASHCRAFT & GEREL, LLP

TURK, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19463          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURK, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06120          DALIMONTE RUEB, LLP

TURK, SHIRLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06599          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURLEY, LORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13162          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TURLEY, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18330           ONDERLAW, LLC

TURLEY, SHARON                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002391-20         GOLOMB & HONIK, P.C.

TURMEL, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16256          NACHAWATI LAW GROUP

TURNAGE, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14793          LENZE LAWYERS, PLC

TURNAGE, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14793           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

TURNBOUGH, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06685           ONDERLAW, LLC

TURNBULL, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19880          NACHAWATI LAW GROUP

TURNER, ADGENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00329          ONDERLAW, LLC

TURNER, ADIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09975          ONDERLAW, LLC

TURNER, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13747          ONDERLAW, LLC

TURNER, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14063          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10223          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, BELINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06992           BARRETT LAW GROUP



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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TURNER, BETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12262          DIAMOND LAW

TURNER, BONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03365          ONDERLAW, LLC

TURNER, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03178          ONDERLAW, LLC

TURNER, CARAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, CARAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

TURNER, CARAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

TURNER, CARAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

TURNER, CARMEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09741          MORRIS BART & ASSOCIATES

TURNER, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05676          ONDERLAW, LLC

TURNER, CHRISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19735          ONDERLAW, LLC

TURNER, CORLETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17982          NACHAWATI LAW GROUP

TURNER, DANIELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14535           JOHNSON LAW GROUP

TURNER, DEBRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06179          ONDERLAW, LLC

TURNER, DENISE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14065          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, DOMINIQUE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18195           THE MILLER FIRM, LLC

TURNER, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15741          NACHAWATI LAW GROUP

TURNER, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09899          ONDERLAW, LLC

TURNER, ETHEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04714          DRISCOLL FIRM, P.C.

TURNER, FRANCINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07508          ONDERLAW, LLC

TURNER, JENNIFER               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002700-21         WEITZ & LUXENBERG

TURNER, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13750          ONDERLAW, LLC

TURNER, JOSEPHINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19804          NACHAWATI LAW GROUP

TURNER, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15799          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, JUANITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04852          ONDERLAW, LLC

TURNER, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01215          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11986          MILLER DELLAFERA PLC

TURNER, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07864          WILLIAMS HART LAW FIRM

TURNER, KRISTI                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002568-20         GOLOMB & HONIK, P.C.

TURNER, LAUREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14125          JOHNSON LAW GROUP

TURNER, LULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02399          ONDERLAW, LLC

TURNER, LYNDIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12218          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, LYNN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, LYNN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            ONDERLAW, LLC

TURNER, LYNN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           PORTER & MALOUF, PA



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TURNER, LYNN                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           THE SMITH LAW FIRM, PLLC

TURNER, MAGGIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07471          ONDERLAW, LLC

TURNER, MARGARET                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000604-21         MORELLI LAW FIRM, PLLC

TURNER, MARGARET                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000604-21         THE SEGAL LAW FIRM

TURNER, MARGIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01035          MURRAY LAW FIRM

TURNER, MARIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13191          EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC

TURNER, MARJORIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19966          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TURNER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14263          ASHCRAFT & GEREL, LLP

TURNER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14263          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06410          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

TURNER, NAKISHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10983          ASHCRAFT & GEREL, LLP

TURNER, ONEIDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06645          ONDERLAW, LLC

TURNER, ORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10021          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03397          MORELLI LAW FIRM, PLLC

TURNER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12262          NACHAWATI LAW GROUP

TURNER, PEARLEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01118          HILLIARD MARTINEZ GONZALES, LLP

TURNER, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16770          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TURNER, ROBIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09237          JOHNSON LAW GROUP

TURNER, SAMMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01443          ONDERLAW, LLC

TURNER, SANDRA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002392-20         GOLOMB & HONIK, P.C.

TURNER, SHANNON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08118          ONDERLAW, LLC

TURNER, SHANNON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08217           THE DUGAN LAW FIRM, APLC

TURNER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09686           HOLLAND LAW FIRM

TURNER, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07202           JOHNSON LAW GROUP

TURNER, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12860          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER, SONDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09541          ONDERLAW, LLC

TURNER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09909          ONDERLAW, LLC

TURNER, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06982          ONDERLAW, LLC

TURNER, TONYA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11286          BRUERA LAW FIRM PLLC

TURNER, VICKI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08152          ONDERLAW, LLC

TURNER, YVETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13790          JOHNSON LAW GROUP

TURNER-CHAMERS, MELISSA          MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TURNER-CHAMERS, MELISSA          MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          ONDERLAW, LLC

TURNER-CHAMERS, MELISSA          MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TURNER-CHAMERS, MELISSA          MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          THE SMITH LAW FIRM, PLLC

TURNER-ROWE, EDNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08513           ONDERLAW, LLC

TURNQUIST, CLAUDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17972          NACHAWATI LAW GROUP

TURNQUIST, DIXIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11390          HOVDE, DASSOW, & DEETS, LLC

TURNQUIST, DIXIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11390          THE MILLER FIRM, LLC

TURPIN, FRANKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15783          NACHAWATI LAW GROUP

TURPIN, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06713          ONDERLAW, LLC

TURREL, PRISCILLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11505          ONDERLAW, LLC

TURRENTINE, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12082          SIMMONS HANLY CONROY

TUSA, CINDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10351          NACHAWATI LAW GROUP

TUSHAJ, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10799          NACHAWATI LAW GROUP

TUSHER, THEIDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11778          NACHAWATI LAW GROUP

TUSKAN-SOWATSKEY, RUTH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06213           ONDERLAW, LLC

TUSKE, SUSAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003208-21         WEITZ & LUXENBERG

TUTSON, BENITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02359          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TUTTLE, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12321          BARRETT LAW GROUP

TUTTLE, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13018          SHAW COWART, LLP

TUTTLE, GINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00868           COHEN & MALAD, LLP

TUTTLE, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10693          ONDERLAW, LLC

TUTTLE-KOLL, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01069          BLIZZARD & NABERS, LLP

TUYMER, CHERYL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16779          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TUZZI, NORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19176          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

TVEDE, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16607          ASHCRAFT & GEREL

TVEDE, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16607          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TWAIT, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06647          FLETCHER V. TRAMMELL

TWITTY, LATWANYEPT               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19088          NACHAWATI LAW GROUP

TWOMBLY, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03594          ASHCRAFT & GEREL, LLP

TWOMEY, ANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14398           JOHNSON LAW GROUP

TWOREK, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09350          GORI JULIAN & ASSOCIATES, P.C.

TYE, BERNICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07594          ONDERLAW, LLC

TYE, LORETTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01494          ONDERLAW, LLC

TYES, CINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10280          GORI JULIAN & ASSOCIATES, P.C.

TYISKA, HAZEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18828          NACHAWATI LAW GROUP




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

TYLER BURNETT                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

TYLER, CHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10049          SLATER, SLATER, SCHULMAN, LLP

TYLER, CHRISTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03365          ROSS FELLER CASEY, LLP

TYLER, HEIDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09412          NACHAWATI LAW GROUP

TYLER, JANICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15428          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TYLER, JOSHUA                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-008581-20        WEITZ & LUXENBERG

TYLER, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14933          NACHAWATI LAW GROUP

TYLER, KOURY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10261          DRISCOLL FIRM, P.C.

TYLER, LAURA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TYLER, LAURA                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC654574                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

TYLER, LAURA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            ONDERLAW, LLC

TYLER, LAURA                      MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            PORTER & MALOUF, PA

TYLER, LAURA                      MO - CIRCUIT COURT - JEFFERSON COUNTY         18JE-CC00448           THE SMITH LAW FIRM, PLLC

TYLER, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TYLER, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

TYLER, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

TYLER, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

TYLER, LINDA                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

TYLER, MELISSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15224          PARKER WAICHMAN, LLP

TYLER, MINNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03182          ROSS FELLER CASEY, LLP

TYLER, TERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10808          ONDERLAW, LLC

TYLER, THEA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07520          ONDERLAW, LLC

TYLER-GRAY, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07766           ONDERLAW, LLC

TYNER, ANA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17491          JOHNSON LAW GROUP

TYNES, ALLISON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17674          ONDERLAW, LLC

TYNES, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01210          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

TYNES, PAMULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20221          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TYRAN, TIFFANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15842          NACHAWATI LAW GROUP

TYRE, GAIL                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13030          THE MILLER FIRM, LLC

TYREE, ALEXANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00390          DALIMONTE RUEB, LLP

TYREE, CAROL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05584          NAPOLI SHKOLNIK, PLLC

TYREE, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02608           JOHNSON BECKER, PLLC

TYREE, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14794          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

TYRON, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00263          ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

TYSHA SIMPSON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18435          ONDERLAW, LLC

TYSON, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18490           JOHNSON LAW GROUP

TYSON, LAUREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10874          NACHAWATI LAW GROUP

TYSON, LAUREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10731           THE MILLER FIRM, LLC

TZOUGROS, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18100          NACHAWATI LAW GROUP

UBALDINI, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14323          MORGAN & MORGAN

UCCI, DOREEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06724          DALIMONTE RUEB, LLP

UCHIDA, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01441          ONDERLAW, LLC

UDANI, GEETA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00222          LENZE LAWYERS, PLC

UDDIN, YASMIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04001          MCSWEENEY/LANGEVIN, LLC

UDITSKY, DAVEEDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15927           ASHCRAFT & GEREL, LLP

UDITSKY, DAVEEDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15927          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

UHL, ROBERTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06475          THE ENTREKIN LAW FIRM

UHRIG, NORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17592          WILLIAMS HART LAW FIRM

UHURA-WILDS, JOLEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04719           ONDERLAW, LLC

UITENHAM, TINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09259          DAVIS, BETHUNE & JONES, L.L.C.

UKEN, DARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05581          NAPOLI SHKOLNIK, PLLC

ULANOWICZ, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06280          FLETCHER V. TRAMMELL

ULANSKI, CHRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09884           FLETCHER V. TRAMMELL

ULIBARRI, VIOLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19219          ARNOLD & ITKIN LLP

ULLOA, MADRIGAL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00571           JOHNSON BECKER, PLLC

ULMAN, BRIDGET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11631          THE MILLER FIRM, LLC

ULMER, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10269          ONDERLAW, LLC

ULMER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10756          MOTLEY RICE, LLC

ULMER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12123          THE MILLER FIRM, LLC

ULRICH, ANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09191          THORNTON LAW FIRM LLP

ULRICH, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16682          FLETCHER V. TRAMMELL

ULSTAD, TERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18988          JOHNSON LAW GROUP

UMBALIN, ALICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07805          THE MILLER FIRM, LLC

UMBANHOWAR, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19599          NACHAWATI LAW GROUP

UMBARGER, MARIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11129          POTTS LAW FIRM

UMBAUGH, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15050          FRAZER PLC

UMBLE, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05653          ONDERLAW, LLC

UMBREIT, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18113          NACHAWATI LAW GROUP



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

UMINSKI, KELLY                   CA - SUPERIOR COURT - LOS ANGELES COUNTY      21STCV30486            BISNAR AND CHASE

UMPHRIES, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14638          WATERS & KRAUS, LLP

UNCLEBACH, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12951          TRAMMELL PC

UNDERCUFFLER, LURETTA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11317           DANIEL & ASSOCIATES, LLC

UNDERDALE, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18013          THE MILLER FIRM, LLC

UNDERELL, MICHELLE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002151-20         GOLOMB & HONIK, P.C.

UNDERHILL, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05989          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

UNDERWOOD, ANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00096          MOTLEY RICE, LLC

UNDERWOOD, ARELLA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

UNDERWOOD, ARELLA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

UNDERWOOD, ARELLA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            THE SMITH LAW FIRM, PLLC

UNDERWOOD, KRISTI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02659          ONDERLAW, LLC

UNDERWOOD, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19205           ARNOLD & ITKIN LLP

UNDERWOOD, MARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

UNDERWOOD, MARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15809          LENZE LAWYERS, PLC

UNDERWOOD, MARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

UNDERWOOD, MARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15809          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

UNDERWOOD, MARSHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

UNDERWOOD, PEGGY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

UNDERWOOD, PEGGY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           ONDERLAW, LLC

UNDERWOOD, PEGGY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA

UNDERWOOD, PEGGY                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           THE SMITH LAW FIRM, PLLC

UNGER, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02718          MARY ALEXANDER & ASSOCIATES, P.C.

UNGER, TERI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06684          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

UNKENHOLZ, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08709          ONDERLAW, LLC

UNLAUB, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09567           FLETCHER V. TRAMMELL

UNRUH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00796          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

UNRUH, SANDRA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2279-17           GOLOMB SPIRT GRUNFELD PC

UNRUH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00796          ONDERLAW, LLC

UNRUH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00796          PORTER & MALOUF, PA

UNRUH, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00796          THE SMITH LAW FIRM, PLLC

UNTERNAHRER, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19043          NACHAWATI LAW GROUP

UNTIED, GINGER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06567          THE ENTREKIN LAW FIRM




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              Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

UPAH, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06172          JOHNSON LAW GROUP

UPCHURCH, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01851           ONDERLAW, LLC

UPSHUR, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02119          MOTLEY RICE, LLC

UPSHUR, CORITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03022          ONDERLAW, LLC

UPTON, KRISTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07464          THE DUGAN LAW FIRM, APLC

URBAN, ANDREA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15888           NACHAWATI LAW GROUP

URBAN, DOLORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11576          NACHAWATI LAW GROUP

URBANCZYK, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12461           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

URBANO, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09587          NAPOLI SHKOLNIK, PLLC

URBANSKY, LILLIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05651          ONDERLAW, LLC

URBAS, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02229           JOHNSON LAW GROUP

URBINA, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02067          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

URBINA, TINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04961          ONDERLAW, LLC

URELLA, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19604           NACHAWATI LAW GROUP

URF, BONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00896          ONDERLAW, LLC

URIBE, DANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13630           BARRETT LAW GROUP

URIBE, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19888          NACHAWATI LAW GROUP

URICK, DONNA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000659-18         GOLOMB SPIRT GRUNFELD PC

URICK, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          JACOBS OHARA MCMULLEN , P.C.

URICK, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          ONDERLAW, LLC

URICK, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00791          THE POTTS LAW FIRM, LLP

URICK, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00791           ZEVAN DAVIDSON ROMAN LLC

URREA, TOMMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02884          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

URRUTIA, BLANCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12437          ONDERLAW, LLC

URRUTIA, LETICIA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV328944              THE MILLER FIRM, LLC

USHA, RIHAL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08562          ONDERLAW, LLC

USHER, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00937          POTTS LAW FIRM

USHER, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05576          WILLIAMS HART LAW FIRM

UTECHT, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13053          ONDERLAW, LLC

UTECHT, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15819          LEVIN SIMES LLP

UTLEY, DEBRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11445           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

UTLEY, YOLUNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14046          HILLARD MUNOZ GONZALES, LLP

UTT, WANDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16598          THE MILLER FIRM, LLC




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

UTTERBACK, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

UTTERBACK, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15875          LENZE LAWYERS, PLC

UTTERBACK, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

UTTERBACK, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15875          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

UTTERBACK, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

UYEMURA, SONHUI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10208          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

UYEMURA, SONHUI                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

UYEMURA, SONHUI                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

UYEMURA, SONHUI                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            THE SMITH LAW FIRM, PLLC

UYEN LAI                          FEDERAL - MDL                                 3:21-CV-18813          MOTLEY RICE, LLC

UZAIKO, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17968          NACHAWATI LAW GROUP

VACA, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13585          DRISCOLL FIRM, P.C.

VACA, DORENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05013          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VACCA, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09605          ONDERLAW, LLC

VACCARO, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08048          ASHCRAFT & GEREL

VACHIRA, SUVANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07904           TORHOERMAN LAW LLC

VACI, FRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17485          JOHNSON LAW GROUP

VADEBONCOEUR, CARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01207          POTTS LAW FIRM

VADEBONCOEUR, CAROLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10811           ONDERLAW, LLC

VAFAKOS, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14080          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VAI, STEPHANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                  CA - SUPERIOR COURT - SAN BERNARDINO
VAI, STEPHANIE                                                                 CIVDS 1721471           ONDERLAW, LLC
                                  COUNTY
VAI, STEPHANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          ONDERLAW, LLC

VAI, STEPHANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          PORTER & MALOUF, PA
                                  CA - SUPERIOR COURT - SAN BERNARDINO
VAI, STEPHANIE                                                                 CIVDS 1721471           SALKOW LAW, APC
                                  COUNTY
VAI, STEPHANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          THE SMITH LAW FIRM, PLLC

VAIL, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10332           ASHCRAFT & GEREL, LLP

VAIL, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10332          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VAILE, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15176          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VAISBEN, EDNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00759          POTTS LAW FIRM

VALADE, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16310          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VALBRUN, LYNDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20736          ONDERLAW, LLC

VALCARCEL, GRISELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18157           WILLIAMS HART LAW FIRM

VALDESPINO, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14401          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                        State Filed                        Docket Number                                Plaintiff Counsel

VALDEZ, CARMEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02670             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VALDEZ, EMILIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13072            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VALDEZ, EMILY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20044            ARNOLD & ITKIN LLP

VALDEZ, ERIKA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15126            LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

VALDEZ, FLORCITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11083            NACHAWATI LAW GROUP

VALDEZ, IRMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15590            SINGLETON SCHREIBER MCKENZIE & SCOTT, LLP

VALDEZ, KASANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18077            NACHAWATI LAW GROUP

VALDEZ, LARENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16051            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VALDEZ, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09907            ONDERLAW, LLC

VALDEZ, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07730            ONDERLAW, LLC

VALDEZ, PEGGY; WOLF, MARGARET    CA - SUPERIOR COURT - ORANGE COUNTY           30-2016-00857356-CU-PL-CXC LENZE KAMERRER MOSS, PLC

VALDEZ-PARKER, AMANDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03266            ONDERLAW, LLC

VALE, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14279            THE MILLER FIRM, LLC

VALENCIA, ANA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002569-20           GOLOMB & HONIK, P.C.

VALENCIA, DANIELE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04303            ONDERLAW, LLC

VALENCIA, GLORIA CARDONA         NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001914-20           GOLOMB & HONIK, P.C.

VALENCIA, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12755            ONDERLAW, LLC

VALENCIA, MARILYN                IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291                NAPOLI SHKOLNIK, PLLC

VALENCIA, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VALENCIA, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059             ONDERLAW, LLC

VALENCIA, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059            PORTER & MALOUF, PA

VALENCIA, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059            THE SMITH LAW FIRM, PLLC

VALENDY, LAURA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01598            ONDERLAW, LLC

VALENTE, EMMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05509            WILLIAMS HART LAW FIRM

VALENTE, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04236            ONDERLAW, LLC

VALENTI, PAMELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18753             MOTLEY RICE, LLC

VALENTIN, FRANCES                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-00096020            COHEN, PLACITELLA & ROTH

VALENTIN, LEAZETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10801             THE MILLER FIRM, LLC

VALENTINE, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07557             ONDERLAW, LLC

VALENTINE, CATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06611             FLETCHER V. TRAMMELL

VALENTINE, EVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15163            NACHAWATI LAW GROUP

VALENTINE, GERTRUDE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12051            NACHAWATI LAW GROUP

VALENTINE, JANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07825            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                          State Filed                       Docket Number                                Plaintiff Counsel

VALENTINE, JEANETTE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001579-18           GOLOMB SPIRT GRUNFELD PC

VALENTINE, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11610            NACHAWATI LAW GROUP

VALENTINE, JUANITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07774            ONDERLAW, LLC

VALENTINE, PATRICIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042              ONDERLAW, LLC

VALENTINE, PATRICIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042             PORTER & MALOUF, PA

VALENTINE, PATRICIA               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042             THE SMITH LAW FIRM, PLLC

VALENTINE, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10468            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VALENTINE, TANESHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06124            DALIMONTE RUEB, LLP

VALENTINER, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18092            JOHNSON LAW GROUP

VALENTUKONIS, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14870            BLIZZARD & NABERS, LLP

VALENZUELA, MONICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09501             ONDERLAW, LLC

VALERE, KANDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13277            SULLO & SULLO, LLP

VALERIE PARKER                    FEDERAL - MDL                                3:21-CV-19461             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

VALIAN, ANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07089            THE SIMON LAW FIRM, PC

VALK, BEVERLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11271            NACHAWATI LAW GROUP

VALLANCE, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14089            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VALLANDIGHAM, JEANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18074             NACHAWATI LAW GROUP

VALLARTA, GUADALUPE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18030            JOHNSON LAW GROUP

VALLE, DEANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14322            ONDERLAW, LLC

VALLEJO, CANDACE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07609            JOHNSON BECKER, PLLC

VALLEJOS, JOANN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15800            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VALLES, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02915            ONDERLAW, LLC

VALLEY, CORRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17972            WEITZ & LUXENBERG

VALLEY, LOIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06429            ONDERLAW, LLC

VALLIDO, ALIW                     CA - SUPERIOR COURT - LOS ANGELES COUNTY     37-2018-49018-CU-PL-CTL   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

VALLIER, ANTOINETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09773            ONDERLAW, LLC

VALLOT, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08086            LAW OFFICE OF JOHN D. SILEO, LLC

VALUEFF, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03191            GORI JULIAN & ASSOCIATES, P.C.

VALURE, TANYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05344            POTTS LAW FIRM

VALVERDE, ANGELINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08207             ONDERLAW, LLC

VAN ALLEN, LYNN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2696-17             THE MILLER FIRM, LLC

VAN BIBBER-MARTIN, STEPHANIE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12115            THE SEGAL LAW FIRM

VAN BREE, LING                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00662            DIAMOND LAW




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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

VAN BUREN, MONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

VAN BUREN, MONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

VAN BUREN, MONICA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            THE SMITH LAW FIRM, PLLC

VAN DERVORT, SHARYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03085          JOHNSON BECKER, PLLC

VAN DEUSON, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12227          ONDERLAW, LLC

VAN DOREN, CONSTANCE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12367           ONDERLAW, LLC

VAN DUSEN, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14981          ONDERLAW, LLC

VAN DYKE, DEBERA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02853          ONDERLAW, LLC

VAN DYKE, DOROTHY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07966          HOLLAND LAW FIRM

VAN EXEL, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04530          KLINE & SPECTER, P.C.

VAN FLEET, SUSAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10812          ONDERLAW, LLC

VAN HASELEN, CARMEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15512          ONDERLAW, LLC

VAN HOOSEN, PATSY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17013          LANGDON & EMISON

VAN HORN, JEWELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03403          ONDERLAW, LLC

VAN KEUREN, FRANCES            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18902           NACHAWATI LAW GROUP

VAN LEEUWEN, CAROL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20673          ONDERLAW, LLC

VAN LENT, TAMI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11431          NACHAWATI LAW GROUP

VAN LIEW, WANDA                DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02760          ASHCRAFT & GEREL, LLP

VAN LIEW, WANDA                DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02760          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VAN NESS, MARCIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19772          MCSWEENEY/LANGEVIN, LLC

VAN OORT, SUZANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03874          JOHNSON LAW GROUP

VAN ORD, SYLVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04241          CELLINO & BARNES, P.C.

VAN PELT, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19892          NACHAWATI LAW GROUP

VAN REMORTEL, JOANNE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12564          ONDERLAW, LLC

VAN RYDER, CARMEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13622          DAVIS, BETHUNE & JONES, L.L.C.

VAN SKIVER, JANET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20255          TORHOERMAN LAW LLC

VAN TASSEL, TAMERA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19458          NACHAWATI LAW GROUP

VAN THULL, LUANN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09052          DICKS & COGLIANSE LLP

VAN VOORHIS, BARBARA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06893          THE POTTS LAW FIRM, LLP

VAN WALLINGA, JACQUELINE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10192          ONDERLAW, LLC

VAN WINKLE, KAREN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19006          NACHAWATI LAW GROUP

VAN WINKLE, TERRYLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07373           ONDERLAW, LLC

VAN ZILE, LISA                 CA - SUPERIOR COURT - LOS ANGELES COUNTY     21STCV09929             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

VAN, VIVIAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05666          ONDERLAW, LLC

VANAMBURGH, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22100          ONDERLAW, LLC

VANARIA, CATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02604          SIMMONS HANLY CONROY

VANBRUNT, CYNTHIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1874-17           WILENTZ, GOLDMAN & SPITZER, P.A.
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
VANCAMP, PENNY                                                                191101113               FELDMAN & PINTO
                                 PLEAS
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
VANCAMP, PENNY                                                                191101113               WILLIAMS HART LAW FIRM
                                 PLEAS
VANCE, ANN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02160          ONDERLAW, LLC

VANCE, ANNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16817          FLETCHER V. TRAMMELL

VANCE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00827          ONDERLAW, LLC

VANCE, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03389           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VANCE, MILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10331          ASHCRAFT & GEREL, LLP

VANCE, MILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10331          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VANCE, NENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09488          ONDERLAW, LLC

VANCE, SHERI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02776          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VANCE, THELMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01318          SULLO & SULLO, LLP

VANCOL, LYNDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13070          WEITZ & LUXENBERG

VANCOUGHNETT, MARLENE ROBERTA    BRITISH COLUMBIA (VANCOUVER)                 VLC-S-S-230866          PRESZLER LAW FIRM LLP

VANCUYCK, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18937          CELLINO & BARNES, P.C.

VANDALL, DEANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09160          ONDERLAW, LLC

VANDAVEER, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00323           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VANDENBERG, JO-ANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00864           SULLO & SULLO, LLP

VANDENBERG, LORI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05786          HEYGOOD, ORR & PEARSON

VANDENBERG, MARILYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15913          ASHCRAFT & GEREL, LLP

VANDENBERG, MARILYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15913          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VANDENBERG, SUSAN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002508-20         GOLOMB & HONIK, P.C.

VANDENBROEKE, ASHLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00572          JOHNSON BECKER, PLLC

VANDENHEUBEL, ROSE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00424          ASHCRAFT & GEREL

VANDENHEUBEL, ROSE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00424          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VANDERAA, JUNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01961           DALIMONTE RUEB, LLP

VANDERBUNTE, SHANNON             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02125          ONDERLAW, LLC

VANDERBUSCH, BEATRICE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08754          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VANDERGRIFFT, DAWN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08182          NACHAWATI LAW GROUP

VANDERHAM, DANIELLE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000275-21         JOHNSON LAW GROUP




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            Claimant Name                          State Filed                       Docket Number                              Plaintiff Counsel

VANDERHAM, DANIELLE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00739           JOHNSON LAW GROUP

VANDERKOUS, DEANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17987           NACHAWATI LAW GROUP

VANDERLIP, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15711          WATERS & KRAUS, LLP

VANDERMEER-JACKSON, KATHERINE   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01301          JOHNSON LAW GROUP

VANDERPOOL, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

VANDERPOOL, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15904          LENZE LAWYERS, PLC

VANDERPOOL, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

VANDERPOOL, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15904          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VANDERPOOL, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VANDERSCHAAF, EVELYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12553          BARRETT LAW GROUP, P.A.

VANDERSTOKKER, MICHELLE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17466           ONDERLAW, LLC

VANDEWARKER, SHARON             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           GOLDENBERGLAW, PLLC

VANDEWARKER, SHARON             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

VANDEWARKER, SHARON             MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

VANDEWARKER, SHARON             MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           THE SMITH LAW FIRM, PLLC

VANDYKE, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

VANDYKE, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

VANDYKE, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15250          LENZE LAWYERS, PLC

VANDYKE, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3;21-CV-15250          LENZE LAWYERS, PLC

VANDYKE, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VANDYKE, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15250          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

VANDYKE, GLADYS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3;21-CV-15250          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

VANDYKE, RANOTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13029           SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

VANDYNE, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04779          ONDERLAW, LLC

VANELLA, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13856          ONDERLAW, LLC

VANETTA, MICHAEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12258          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VANGIESEN, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14042           WATERS & KRAUS, LLP

VANHOOSE, JACQUELINE MARGARET   IL - CIRCUIT COURT - MADISON COUNTY           21-L-0714              THE GORI LAW FIRM, P.C.

VANHOY, DOLLIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002393-20         GOLOMB & HONIK, P.C.

VANIKIOTIS, KIM                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21058          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

VANKINSCOTT, PILAR              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002787-21         WEITZ & LUXENBERG

VANKIRK, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17197           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

VANKIRK, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15769          ONDERLAW, LLC

VANKLIVE, NEDELKA                CA - SUPERIOR COURT - ALAMEDA COUNTY         RG20062734              KAZAN MCCLAIN SATTERLEY & GREENWOOD

VANKLIVE, NEDELKA                CA - SUPERIOR COURT - ALAMEDA COUNTY         RG20062734              KAZAN MCCLAIN SATTERLEY & GREENWOOD

VANLIER, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09860          ONDERLAW, LLC

VANMETER, LORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01476          THE MILLER FIRM, LLC

VANN, DOROTHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14322          DALIMONTE RUEB, LLP

VANN, EVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07537          ONDERLAW, LLC

VANN, VERNICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03804          THE MILLER FIRM, LLC

VANNA, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08993          MOTLEY RICE, LLC

VANNESS, NATASHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05413          DANIEL & ASSOCIATES, LLC

VANNESS, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02657          ONDERLAW, LLC

VANNETT, JO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08347          MESHBESHER & SPENCE, LTD.

VANNOSTRAND, TAMARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01786          ONDERLAW, LLC

VANNOY, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07974          WILSON LAW PA

VANNURDEN, LAURIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13015          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VANORE, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04289          ONDERLAW, LLC

VANOVER, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18087          NACHAWATI LAW GROUP

VANOVER, TERRESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06791          THE SIMON LAW FIRM, PC

VANPAGE, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09722          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VANPOOL, CORIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09089          ONDERLAW, LLC

VANPOOL, CORIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12812          THE MILLER FIRM, LLC

VANRIPER, JEANETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13247          NACHAWATI LAW GROUP

VANSIPE, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08476           SIMMONS HANLY CONROY

VANSLYCK, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13214          DAVIS, BETHUNE & JONES, L.L.C.

VANTELL, ALBERTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21078          MOTLEY RICE, LLC

VANTEYLINGEN, MARGARETHA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02231           ONDERLAW, LLC

VANWAARDHUIZEN, CHRISTINA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13605          DRISCOLL FIRM, P.C.

VANWYCK, DEENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17976          WEITZ & LUXENBERG

VANZILE, PAULA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06214          ONDERLAW, LLC

VAQUEZ, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09123           PARKER WAICHMAN, LLP

VARAGNOLO, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14504           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VARDA, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-04427          ONDERLAW, LLC

VARELA, MELISA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV317371             CLAYEO C. ARNOLD, APC




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

VARELA, SUSANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08635          JOHNSON LAW GROUP

VARGA, BRANDY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003337-21         WEITZ & LUXENBERG

VARGA, YOLANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00229          NACHAWATI LAW GROUP

VARGAS, ANDREA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VARGAS, ANDREA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            ONDERLAW, LLC

VARGAS, ANDREA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           PORTER & MALOUF, PA

VARGAS, ANDREA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            THE SMITH LAW FIRM, PLLC

VARGAS, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14813          LENZE LAWYERS, PLC

VARGAS, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14813          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VARGAS, DIANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20311          ONDERLAW, LLC

VARGAS, ERICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20720          ONDERLAW, LLC

VARGAS, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13616          NACHAWATI LAW GROUP

VARGAS, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

VARGAS, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14942           LENZE LAWYERS, PLC

VARGAS, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           LENZE LAWYERS, PLC

VARGAS, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14942           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VARGAS, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VARGAS, LILIA                     CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321214              THE MILLER FIRM, LLC

VARGAS, LYDIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01493          ONDERLAW, LLC

VARGAS, YESENIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10987          NACHAWATI LAW GROUP

VARIAN-WILLIAMS, BETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06712          THE SIMON LAW FIRM, PC

VARISCO, KATRINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20278          ONDERLAW, LLC

VARISCO, KATRINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01029           THE MILLER FIRM, LLC

VARLEY, MELINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14429          DALIMONTE RUEB, LLP

VARNADO, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12614          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

VARNAUSKAS, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08366          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VARNER, BRANDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17946           NACHAWATI LAW GROUP

VARNER, CAROLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11328          THE MILLER FIRM, LLC

VARNER, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12695          MORELLI LAW FIRM, PLLC

VARNER, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13456          WEXLER WALLACE LLP

VARNER, VIVIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13703          WAGSTAFF & CARTMELL, LLP

VARNUM, MALINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18097          NACHAWATI LAW GROUP

VARONA, MARAY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04561          WILLIAMS HART LAW FIRM

VARR, LESLIE                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318443              ONDERLAW, LLC



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

VARR, LESLIE                      CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318443              SALKOW LAW, APC

VARSANIK, DAILLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19667           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VARVARESOS, CARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16929           ASHCRAFT & GEREL

VARVARESOS, CARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16929          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VARVIL, CONSTANCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08564          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VASBINDER, ROSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09786          BARON & BUDD, P.C.

VASCONI, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18880          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VASQUEZ, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06975          THE SIMON LAW FIRM, PC

VASQUEZ, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01031           THE MILLER FIRM, LLC

VASQUEZ, ENILDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01265          SIMMONS HANLY CONROY

VASQUEZ, JEANETTE SPEARS          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01196          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

VASQUEZ, JESSE                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-000595-21        WEITZ & LUXENBERG

VASQUEZ, NORMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12457           DRISCOLL FIRM, P.C.

VASQUEZ, OLGA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002956-21         WEITZ & LUXENBERG

VASQUEZ, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12606          THE SIMON LAW FIRM, PC
VASQUEZ, PATRICIA AND VASQUEZ,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-000296-21        WEITZ & LUXENBERG
SANTIAGO
VASQUEZ, RAMONA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07519          FLETCHER V. TRAMMELL

VASQUEZ, SORAIDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12570           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

VASSEF, ESMAT                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03618          ASHCRAFT & GEREL, LLP

VASSER, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16002          GIRARDI & KEESE

VASTERELLA, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02362          BURNS CHAREST LLP

VASTERELLA, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02362          BURNS CHAREST LLP

VATNE, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15507          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VAUDREUIL, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06418          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                                  NJ - USDC - MIDDLE DISTRICT OF NORTH
VAUGHAN, EDDIE                                                                 1:21-CV-340             FLINT LAW FIRM LLC
                                  CAROLINA
VAUGHAN, EDDIE SR &               NJ - USDC - MIDDLE DISTRICT OF NORTH
                                                                               1:21-CV-340             WARD BLACK LAW
VAUGHAN,CANDACE                   CAROLINA
VAUGHAN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16785          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VAUGHAN, PRISCILLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06821          ONDERLAW, LLC

VAUGHAN, SANDI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05681           POTTS LAW FIRM

VAUGHN, ALESIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14408          ASHCRAFT & GEREL

VAUGHN, CATHEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VAUGHN, CATHEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

VAUGHN, CATHEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA




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           Claimant Name                             State Filed                        Docket Number                              Plaintiff Counsel

VAUGHN, CATHEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

VAUGHN, CRISTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16626          CHILDERS, SCHLUETER & SMITH, LLC

VAUGHN, DELORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18005          NACHAWATI LAW GROUP

VAUGHN, DIANNE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004012-20         GOLOMB & HONIK, P.C.

VAUGHN, DOLORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14494          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VAUGHN, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13527          JOHNSON LAW GROUP

VAUGHN, MARTHA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001472-20         GOLOMB & HONIK, P.C.

VAUGHN, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17937          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VAUGHN, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15774          GIRARDI & KEESE

VAUGHN, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06940          ONDERLAW, LLC

VAUGHN, RAMONA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08279          ONDERLAW, LLC

VAUGHN, RUTH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01809          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VAUGHN, STEPHANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14749          SANDERS VIENER GROSSMAN, LLP

VAUGHN, VICKIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16815          THE MILLER FIRM, LLC
VAUGHN,GORDON ESTATE OF BOBBIE J
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-007699-20        WEITZ & LUXENBERG
VAUGHN
VAUGHT, GEORGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00571          TRAMMELL PC

VAUGHT, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07771          ONDERLAW, LLC

VAUL, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07525           THE LAW FIRM OF JOSEPH H. LOW IV

VAUL, DONNA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07525          VICKERY & SHEPHERD, LLP

VAUTERS, MAGGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22201          NACHAWATI LAW GROUP

VAVIA, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06760          ONDERLAW, LLC

VAVRINEC, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13574          ASHCRAFT & GEREL, LLP

VAWTER, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07819          ASHCRAFT & GEREL

VAY, BARBARA                       CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC638651               KIESEL LAW, LLP

VAZQUEZ, DALIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13230          REICH & BINSTOCK, LLP

VAZQUEZ, EVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18070          MORELLI LAW FIRM, PLLC

VAZQUEZ, JAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02378          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VAZQUEZ, JENIFFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10405          ARNOLD & ITKIN LLP

VAZQUEZ, MARIA LUQUE               FL - CIRCUIT COURT - BROWARD COUNTY           20-012840              THE FERRARO LAW FIRM, P.A.

VAZQUEZ, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16299          BISNAR AND CHASE

VAZQUEZ, NORMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12403          POTTS LAW FIRM

VAZQUEZ, SONIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08968           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

VAZQUEZ-GARCIA, LUZ               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00808          CARAZO QUETGLAS LAW OFFICES

VEAL, ELLA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01617          ONDERLAW, LLC

VEAL, ROBIN                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2277-17           GOLOMB SPIRT GRUNFELD PC

VEAL, SAMILYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09232          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VEASEY, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08982          ONDERLAW, LLC

VEASQUEZ, BASSEMATH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06659          HOLLAND LAW FIRM

VEASY-HOGG, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19549          ASHCRAFT & GEREL, LLP

VEASY-HOGG, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19549          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VEAZY, RACHEL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09666          ARNOLD & ITKIN LLP

VEENENDAAL, ANN VAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04552          WILLIAMS HART LAW FIRM

VEFFER, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19608          NACHAWATI LAW GROUP

VEGA, ALICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10399          JOHNSON LAW GROUP

VEGA, CARMEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17963          NACHAWATI LAW GROUP

VEGA, CARRIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18875          NACHAWATI LAW GROUP

VEGA, DARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20733          CELLINO & BARNES, P.C.

VEGA, DOLORES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18016          NACHAWATI LAW GROUP

VEGA, FELICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09017          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VEGA, LORRAINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10711          WALTON TELKEN FOSTER, LLC

VEGA, NATALIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17976          NACHAWATI LAW GROUP

VEGA, OLGA                        NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002462-18         GOLOMB & HONIK, P.C.

VEGA, REBECCA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06892          ONDERLAW, LLC

VEGA-MORALES, AIDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06276          ONDERLAW, LLC

VEGGE, ROSEMARY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2704-17           KEEFE BARTELS

VEGGE, ROSEMARY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2704-17           LAW OFFICE OF GRANT D. AMEY, LLC

VEGHER, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03634          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VEGHER, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06079           ONDERLAW, LLC

VEIT, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17997          NACHAWATI LAW GROUP

VEITCH, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08217          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VEKSLER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15764          NACHAWATI LAW GROUP

VELA, BENITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16022          MORELLI LAW FIRM, PLLC

VELA, CHRISTINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11162          NACHAWATI LAW GROUP

VELA, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04230          ONDERLAW, LLC




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

VELA, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03331          ONDERLAW, LLC

VELASCO, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19647          GACOVINO, LAKE & ASSOCIATES

VELASQUEZ, CORINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18873          NACHAWATI LAW GROUP

VELASQUEZ, LORRINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16258          JOHNSON LAW GROUP

VELASQUEZ, MARISELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12230           ONDERLAW, LLC

VELAZQUEZ, ESTELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03626          DALIMONTE RUEB, LLP

VELAZQUEZ, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VELAZQUEZ, NITZA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06817           ONDERLAW, LLC

VELAZQUEZ-GRIFFIN, MARY          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04173          ONDERLAW, LLC

VELEZ, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04974          ONDERLAW, LLC

VELEZ, THERESA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13013          FLETCHER V. TRAMMELL

VELLA, CAMILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12382          DAVIS, BETHUNE & JONES, L.L.C.

VELLA, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08340          JASON J. JOY & ASSCIATES P.L.L.C.

VELLONE, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20462           ASHCRAFT & GEREL, LLP

VELLONE, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20462          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VELMONT, ESTHER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02538          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VENABLE, EDNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07627          ASHCRAFT & GEREL, LLP

VENEGAS, CATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03194          ONDERLAW, LLC

VENEZIA, LUCINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02222          ONDERLAW, LLC

VENTERS, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18645          MCSWEENEY/LANGEVIN, LLC

VENTRICE, SHERI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07045          ONDERLAW, LLC

VENTRO, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05788          PARKER WAICHMAN LLP

VENTRO, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05788          PARKER WAICHMAN, LLP

VENTURA, THERESA                 NY - SUPREME COURT - NYCAL                    190055/2021            WEITZ & LUXENBERG

VERA BROWN                       FEDERAL - MDL                                 3:21-CV-19701          JOHNSON BECKER, PLLC

VERA, CAREY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06687          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VERA, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09315          ONDERLAW, LLC

VERA, TONYA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00976          NAPOLI SHKOLNIK, PLLC

VERA, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VERA, VICTORIA                   CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318706             KIESEL LAW, LLP

VERA, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          ONDERLAW, LLC

VERA, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          PORTER & MALOUF, PA

VERA, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00793          THE SMITH LAW FIRM, PLLC




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             Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

VERCHER, RHONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02946          ONDERLAW, LLC

VERDIN, DONNIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07980          ASHCRAFT & GEREL

VERDUCCI, DARLENE               CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321217              THE MILLER FIRM, LLC

VERDUGO, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10973           NACHAWATI LAW GROUP

VERDUIN, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05477          WILLIAMS HART LAW FIRM

VERDUSCO, MATINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-589-16            GOLOMB SPIRT GRUNFELD PC

VERGES, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15978           MORRIS BART & ASSOCIATES

VERHEST, LORRAINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06688          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VERIKOKKOS, BARBARA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2971-15           BLIZZARD & NABERS, LLP

VERIKOKKOS, BARBARA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2971-15           SEEGER WEISS LLP

VERKUILEN, VIRGINIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12148          MOLL LAW GROUP

VERLIE, VICTORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01421          GOLOMB SPIRT GRUNFELD PC

VERLING, PATRICIA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2707-19           COHEN, PLACITELLA & ROTH

VERMA, ANUPAMA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000975-21         KLINE & SPECTER, P.C.

VERMES, AGNES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13646          THE MILLER FIRM, LLC

VERMILLION, MOIRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00284           HAUSFELD

VERMUELE, TERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19310          LINVILLE LAW GROUP

VERNAY, MARJORIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16232          JOHNSON LAW GROUP

VERNON, BONNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13358          FLETCHER V. TRAMMELL

VERNON, JEFF                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

VERNON, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09942          ONDERLAW, LLC

VERON, JOY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02223          ONDERLAW, LLC

VERONICA PEDRAZA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003315-21         WEITZ & LUXENBERG

VERSLUIS, CHARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14335          MORELLI LAW FIRM, PLLC

VERWEY, CANDICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17303          ASHCRAFT & GEREL, LLP

VERWEY, CANDICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17303          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VESA, ROSEMARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12760           THE MILLER FIRM, LLC

VESS, SUESON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22117          ONDERLAW, LLC

VESSELS, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12412          MORELLI LAW FIRM, PLLC

VESTAL, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08326          FLETCHER V. TRAMMELL

VESTERBY, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06506          ONDERLAW, LLC

VETRINI, VANESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05580          NAPOLI SHKOLNIK, PLLC

VETTER, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17126          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VEZINAW, GENIDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19889          CELLINO & BARNES, P.C.



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

VICARI, CARRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02247          JOHNSON BECKER, PLLC

VICE, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17131          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

VICE, REGINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04391          WAGSTAFF & CARTMELL, LLP

VICENTINI, LARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09772          NACHAWATI LAW GROUP

VICIAN, JULIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11139          GOLDENBERGLAW, PLLC

VICK, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15038          NACHAWATI LAW GROUP

VICK, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11145          GORI JULIAN & ASSOCIATES, P.C.

VICK, MICHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05476           WILLIAMS HART LAW FIRM

VICK, SONYA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11383          NACHAWATI LAW GROUP

VICKERY, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19290          CELLINO & BARNES, P.C.

VICKERY, KIMMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09577          SANDERS VIENER GROSSMAN, LLP

VICKERY, OFELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18779          NACHAWATI LAW GROUP

VICKERY, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10867          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VICKI DADLES                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02666          ASHCRAFT & GEREL, LLP

VICKI DADLES                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02666          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VICKS, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08387          ONDERLAW, LLC

VICKS, EILEEN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14090          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VICORY, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05399          ONDERLAW, LLC

VICTOR BLASIOL                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

VICTOR, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00678          ONDERLAW, LLC

VICTOR, ELIZA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05579           NAPOLI SHKOLNIK, PLLC

VICTOR, NORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17425          THE SEGAL LAW FIRM

VICTOR, WILLIE                    CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC641978                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VICTORIA GUARINO-RIVERA           DC - USDC FOR THE DISTRICT OF COLUMBIA       1:21-CV-02723           ASHCRAFT & GEREL, LLP

VICTORIA GUARINO-RIVERA           DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02723          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VICTORIA MANSY                    FEDERAL - MDL                                3:21-CV-18995           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VICTORIA STAFFORD                 FEDERAL - MDL                                3:21-CV-16891           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VICTORIA, ISELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18517          WEITZ & LUXENBERG

VICTORIAN, LILLIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09859           MORRIS BART & ASSOCIATES

VICTORINO, GLORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09811           FLETCHER V. TRAMMELL

VICTORINO, NADINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00799          ONDERLAW, LLC

VICTORINO, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19722           CELLINO & BARNES, P.C.

VICTORY, TABITHA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10909          ASHCRAFT & GEREL




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

VIDAL, IVANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10363           JOHNSON LAW GROUP

VIDAL, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-04739           ASHCRAFT & GEREL

VIDAL, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04739          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VIDAURI, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15508          HILLIARD MARTINEZ GONZALES, LLP

VIDETIC, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08221           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VIDOCK, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10943          ONDERLAW, LLC

VIDRA, MARIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12625          MORELLI LAW FIRM, PLLC

VIDRO, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14091          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VIE, DENISE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12253           FLETCHER V. TRAMMELL

VIEHMEYER, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

VIEHMEYER, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15172          LENZE LAWYERS, PLC

VIEHMEYER, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

VIEHMEYER, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15172          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VIEHMEYER, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VIELE, DENISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20576           CELLINO & BARNES, P.C.

VIELE, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14252          JASON J. JOY & ASSCIATES P.L.L.C.

VIELMA, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03648          WILLIAMS HART LAW FIRM

VIENT, JACKY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05847          MOTLEY RICE, LLC

VIERA, CARMEN                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

VIERA, SHARTEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13297          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VIERRA, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05762          ELY LAW, LLC

VIERRA, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05762          PATRICK MILLER, LLC

VIERRA, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05762          PLYMALE LAW FIRM

VIGIL, BEVERLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00405          DALIMONTE RUEB, LLP

VIGIL, PATTY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002790-21         WEITZ & LUXENBERG

VIGIL, TANIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16337          THE BENTON LAW FIRM, PLLC

VIGORITO, MARGARITE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002200-20         GOLOMB & HONIK, P.C.

VIKASHNI, JAZMINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VIKASHNI, JAZMINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            ONDERLAW, LLC

VIKASHNI, JAZMINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           PORTER & MALOUF, PA

VIKASHNI, JAZMINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           THE SMITH LAW FIRM, PLLC

VILARDI, GINA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17107           CELLINO & BARNES, P.C.

VILEN, TRISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20438          ASHCRAFT & GEREL, LLP

VILEN, TRISHA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20438          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

VILHAUER, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13191          ONDERLAW, LLC

VILLA, ANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00505          JOHNSON BECKER, PLLC

VILLA, CAROLINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3;21-CV-17106           JOHNSON LAW GROUP

VILLA, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10908          ONDERLAW, LLC

VILLA, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03110          ONDERLAW, LLC

VILLACIS, SUZETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18064           NACHAWATI LAW GROUP

VILLADAMIGO, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11377          NACHAWATI LAW GROUP

VILLAFANA, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12036          NACHAWATI LAW GROUP

VILLAGOMEZ, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07570           ASHCRAFT & GEREL, LLP

VILLAGOMEZ, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07570           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VILLAGOMEZ, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09641           LENZE LAWYERS, PLC

VILLALOBOS, LETICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17460          WEITZ & LUXENBERG

VILLALOBOS, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01130          MOLL LAW GROUP

VILLALOBOS, MARTHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02234          JOHNSON LAW GROUP

VILLALPANDO, ANGELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03767          ONDERLAW, LLC

VILLALPANDO, DOLORES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06115          ONDERLAW, LLC

VILLALPANDO, JESSICA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17330           ONDERLAW, LLC

VILLANUEVA, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07730          BISNAR AND CHASE

VILLANUEVA, LILY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18067           NACHAWATI LAW GROUP

VILLANUEVA, MISCHELLIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00892          THE SEGAL LAW FIRM

VILLANUEVA, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15926           ASHCRAFT & GEREL, LLP

VILLANUEVA, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15926           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VILLARI, NANCY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VILLARI, NANCY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            ONDERLAW, LLC

VILLARI, NANCY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           PORTER & MALOUF, PA

VILLARI, NANCY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            THE SMITH LAW FIRM, PLLC

VILLARREAL, AMALIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16312          THE MILLER FIRM, LLC

VILLARREAL, CLAUDIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15808          NACHAWATI LAW GROUP

VILLARREAL, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13415          NACHAWATI LAW GROUP

VILLARREAL, ELOISA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18838          NACHAWATI LAW GROUP

VILLARREAL, ERLINDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10365           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VILLARREAL, JACQULIN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08423          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VILLARREAL, NATASHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01618           ONDERLAW, LLC




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

VILLARREAL, YOLANDA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002509-20         GOLOMB & HONIK, P.C.

VILLARREAL, ZOWIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06625          ARNOLD & ITKIN LLP

VILLE, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13443          DONALD L. SCHLAPPRIZZI P.C.

VILLE, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           LENZE LAWYERS, PLC

VILLE, JODY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13443           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VILLEDA, ANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12383          SALTZ MONGELUZZI & BENDESKY PC

VILLELLA, ROBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00512          BURNS CHAREST LLP

VILLYARD, KARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02887           ASHCRAFT & GEREL

VILORD, LAURIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12899          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

VINCENT, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11478           NACHAWATI LAW GROUP

VINCENT, BEVERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12463          SANDERS PHILLIPS GROSSMAN, LLC

VINCENT, DEBRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02493          JOHNSON LAW GROUP

VINCENT, ELNORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05241          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VINCENT, ERNESTINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05683           ONDERLAW, LLC

VINCENT, ETHEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16205          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VINCENT, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08674           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VINCENT, LETHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14567          ANDRUS WAGSTAFF, P.C.

VINCENT, NANSALMAA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13477          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VINCENT, SHARI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16790          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VINCENT, TAFFII                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19612          NACHAWATI LAW GROUP

VINCENT, TRACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06694          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

VINCENT-MOORE, DANELL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02365          ONDERLAW, LLC

VINCI, GLENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02995          ONDERLAW, LLC

VINCIGUERRA, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09713           ARNOLD & ITKIN LLP

VINCIGUERRA, SUSANNA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13648           KLINE & SPECTER, P.C.

VINEGAR, FAIGIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16762          NACHAWATI LAW GROUP

VINES, JOHNNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04704          ONDERLAW, LLC

VINES, KELLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16994          BURNS CHAREST LLP

VINES, KELLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16994          BURNS CHAREST LLP

VINES, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17534          KIESEL LAW, LLP

VINES, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17534           MARTINIAN & ASSOCIATES, INC.

VINES, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17534          THE LAW OFFICES OF HAYTHAM FARAJ

VINEYARD, KATHRYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00960          JOHNSON LAW GROUP

VINEZEANO, BWVERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14572          WATERS & KRAUS, LLP



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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

VINING, DORTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01585          ONDERLAW, LLC

VINK, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18071          WEITZ & LUXENBERG

VINSON, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14092          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VINSON, BRAYLINNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18978          NACHAWATI LAW GROUP

VINSON, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12788          ASHCRAFT & GEREL

VINSON, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07066          HEYGOOD, ORR & PEARSON

VINSON, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06134          ONDERLAW, LLC

VINSON, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12506          BURNS CHAREST LLP

VINSON, TOIYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17380           THE CUFFIE LAW FIRM

VINTON, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07777          THE DUGAN LAW FIRM, APLC

VINUEZA, STACEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14760          ONDERLAW, LLC

VINUYA, ALICIA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VINUYA, ALICIA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893            PORTER & MALOUF, PA

VINUYA, ALICIA                    MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893            THE SMITH LAW FIRM, PLLC

VIOLA WILLIS                      IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

VIOLA, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01539          THE MILLER FIRM, LLC

VIOX, MARITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20034          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VIPRINO, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20399          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VIRATA, MAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03447           CLIFFORD LAW OFFICES, P.C.

VIRCKS, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17693          ONDERLAW, LLC

VIRGADAMO, FRANCES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11466          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VIRGIL, ADRIANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11333          NACHAWATI LAW GROUP

VIRGILIO, DORISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01189          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VIRGILITO, JENNIFER               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L331-18             COHEN, PLACITELLA & ROTH

VIRGINIA HILLIARD                 FEDERAL - MDL                                3:21-CV-19109           BARON & BUDD, P.C.

VIRGINIA LAMAR                    FEDERAL - MDL                                3:21-CV-18794           MOTLEY RICE, LLC

VIRGINIA SWEENEY                  FEDERAL - MDL                                3:21-CV-17100           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VIRGINIA, TERRI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13788           SIMMONS HANLY CONROY

VIRUET, JESSICA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-296-18            GOLOMB SPIRT GRUNFELD PC

VISCLOSKY, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16991          JOHNSON LAW GROUP

VISCOUNTY, JANE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15788          WILLIAMS HART LAW FIRM

VISCUSI, PATRICIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2435-17           GOLOMB SPIRT GRUNFELD PC

VISE, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16097          HENINGER GARRISON DAVIS, LLC

VISO, NATALIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19529          NACHAWATI LAW GROUP



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

VISO, VINCEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15043           JOHNSON LAW GROUP

VITAL, TAUNINGA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18072           NACHAWATI LAW GROUP

VITALE, CARRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11021           MORRIS BART & ASSOCIATES

VITALE, DENICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14891          ONDERLAW, LLC

VITALE, JEAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20700          ONDERLAW, LLC

VITCH, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12643          MORGAN & MORGAN

VITIELLO, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03619           HEYGOOD, ORR & PEARSON

VITIELLO, PHYLLIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17509          ONDERLAW, LLC

VITOLS, BRITT                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16225           HEYGOOD, ORR & PEARSON

VITOLS, BRITT                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12354          MORELLI LAW FIRM, PLLC

VITRANO, ANNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VITRANO, ANNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

VITRANO, ANNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

VITRANO, ANNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

VITRANO, ANNA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            THE SMITH LAW FIRM, PLLC

VITTO, GLORIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19833          CELLINO & BARNES, P.C.

VIVIAN JACOBS                     FEDERAL - MDL                                3:21-CV-18779           BARON & BUDD, P.C.

VIX, RAECHELLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01621          WILENTZ, GOLDMAN & SPITZER, P.A.

VLAUN, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11969          ONDERLAW, LLC

VO, CAM                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14096          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VOELKER, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13604          NASH & FRANCISKATO LAW FIRM

VOGEL, MICHELE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00229          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VOGELSANG, STEFANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18076          NACHAWATI LAW GROUP

VOGELSONG, DEANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22050           DRISCOLL FIRM, P.C.

VOGL, JENNIFER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13919          ONDERLAW, LLC

VOGT, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16796          GORI JULIAN & ASSOCIATES, P.C.

VOGT, MARION                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01297          JOHNSON LAW GROUP

VOILAND, JOANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11306          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VOLESKY, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07866          WILLIAMS HART LAW FIRM

VOLK, ELAINE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14295          BURNS CHAREST LLP

VOLK, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11056          JOHNSON BECKER, PLLC

VOLKER-LOGUIDICE, AMANDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00798          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VOLKER-LOGUIDICE, AMANDA          NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-2273-17          GOLOMB SPIRT GRUNFELD PC

VOLKER-LOGUIDICE, AMANDA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00798          ONDERLAW, LLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

VOLKER-LOGUIDICE, AMANDA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00798          PORTER & MALOUF, PA

VOLKER-LOGUIDICE, AMANDA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00798           THE SMITH LAW FIRM, PLLC

VOLKOVA, TATIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11444          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

VOLLAIRE, VANESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10139          DAVIS, BETHUNE & JONES, L.L.C.

VOLLMER, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12781          THE DEATON LAW FIRM

VOLPE, MAUREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20406          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VOLPP, BETH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18477          NACHAWATI LAW GROUP

VOLSTED, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08714          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VOLZ, KIM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13208          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VOLZ, MAUREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09117          ONDERLAW, LLC

VOMDORP, JANICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09997          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VON ASHEN, KRISTINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

VON ASHEN, KRISTINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

VON ASHEN, KRISTINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

VON ASHEN, KRISTINE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           THE SMITH LAW FIRM, PLLC

VON ASTEN, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10813          ONDERLAW, LLC

VON BROCKDORFF, LOUISE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03312          ASHCRAFT & GEREL

VON DRASEK, MIRIAM               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06307          ONDERLAW, LLC

VON HAWKER, BRENDA SCHULTZ       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11981          THE MILLER FIRM, LLC

VONDERSCHMIDT, REBECCA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03451           ONDERLAW, LLC

VONDRA, MIKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12757           ASHCRAFT & GEREL

VONESH, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10334          ASHCRAFT & GEREL, LLP

VONESH, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10334          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VONOESEN, MARCELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18072          WEITZ & LUXENBERG

VONSEGGERN, KATHLEEN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15288          DALIMONTE RUEB, LLP

VONWALDNER, SUZANNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02074           ONDERLAW, LLC

VORELL, LOUISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03060          MOTLEY RICE, LLC

VORGA, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05787          ONDERLAW, LLC

VORNHOLT, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12008           MUELLER LAW FIRM

VORNHOLT, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12008           VAUGHAN LAW FIRM PC

VORTES, CHANTEL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13328          NACHAWATI LAW GROUP

VORWALD, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20408          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VOSEFSKI, HOLLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10984          ASHCRAFT & GEREL, LLP

VOSGIEN, LACIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09768          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

VOSS, CINDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08906          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VOSS, DENISE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14404          JOHNSON LAW GROUP

VOSSLER, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05475           WILLIAMS HART LAW FIRM

VOSSLER, MELERAY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06656          FLETCHER V. TRAMMELL

VOTSIS, ELENI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12545          CELLINO & BARNES, P.C.

VOUDREN, REGINA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002510-20         GOLOMB & HONIK, P.C.

VOYCE, VICKI                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002570-20         GOLOMB & HONIK, P.C.

VOYLES, SHIRLEY                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002394-20         GOLOMB & HONIK, P.C.

VRANEK, LANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11994          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VREELAND-CORPE, LESLIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05845          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VRENON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20439          ASHCRAFT & GEREL, LLP

VRENON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20439          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

VUICH, LEONA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02984          ONDERLAW, LLC

VUKELICH, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15791          LENZE LAWYERS, PLC

VUKELICH, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15791          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VUKELICK, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

VUKELICK, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

VUKELICK, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

VUKOTICH, DENISE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08025          ONDERLAW, LLC

VULHOP, CAROLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19011          NACHAWATI LAW GROUP

WAARDENBURG, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08355           ONDERLAW, LLC

WABY, CHRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00359          NACHAWATI LAW GROUP

WADDELL, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WADDELL, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WADDELL, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15088          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WADDELL, AUDREY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WADDELL, EVELYN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002395-20          GOLOMB & HONIK, P.C.

WADDELL, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02137          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WADDELL, MARIANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06707          ONDERLAW, LLC

WADDLE, GAYLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14469          ONDERLAW, LLC

WADDLE, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13127          ONDERLAW, LLC

WADE, CHEREE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06714          ONDERLAW, LLC

WADE, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22131          ONDERLAW, LLC

WADE, DOROTHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09886           MORRIS BART & ASSOCIATES



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              Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

WADE, EDNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19365          NACHAWATI LAW GROUP

WADE, ELLENOR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19239          ASHCRAFT & GEREL, LLP

WADE, EMILY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17111          THE DIAZ LAW FIRM, PLLC

WADE, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13397          WAGSTAFF & CARTMELL, LLP

WADE, KANESHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04098          ONDERLAW, LLC

WADE, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08859          EISENBERG, ROTHWEILER, WINKLER

WADE, LOIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11242          ONDERLAW, LLC

WADE, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WADE, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WADE, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WADE, OCTAVIUS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18082          NACHAWATI LAW GROUP

WADE, SHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16503          NACHAWATI LAW GROUP

WADE, TONI                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000039-21         GOLOMB & HONIK, P.C.

WADE, YVONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02775          BURNS CHAREST LLP

WADLEY, ANNALISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02244          ONDERLAW, LLC

WADLEY, WILLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10922           MORRIS BART & ASSOCIATES

WADNIZAK, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17027          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WADSWORTH, LOIS                  CA - SUPERIOR COURT - ALAMEDA COUNTY         RG20083935              ONDERLAW, LLC

WADSWORTH, LOIS                  CA - SUPERIOR COURT - ALAMEDA COUNTY         RG20083935              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WAERSTAD, ANGELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14008          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WAGENKNECHT, VANESSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08828          BARON & BUDD, P.C.

WAGENMANN, SUZANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04599           FLETCHER V. TRAMMELL

WAGER, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09147          ONDERLAW, LLC

WAGER, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01732          JOHNSON LAW GROUP

WAGES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07822          ASHCRAFT & GEREL

WAGES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07822          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WAGGONER, MARILYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14098          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WAGGONER, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02589          MORELLI LAW FIRM, PLLC

WAGNER, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07720          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WAGNER, APRIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06725          JOHNSON LAW GROUP

WAGNER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00084          CELLINO & BARNES, P.C.

WAGNER, BRIANNA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002202-19         ASHCRAFT & GEREL

WAGNER, BRIANNA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002202-19         GOLOMB & HONIK, P.C.

WAGNER, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14100          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                         State Filed                        Docket Number                            Plaintiff Counsel

WAGNER, CATRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01277          SIMMONS HANLY CONROY

WAGNER, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13507          NAPOLI SHKOLNIK, PLLC

WAGNER, ELIZA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20726           CELLINO & BARNES, P.C.

WAGNER, EMILY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10090          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WAGNER, JULIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07868          WILLIAMS HART LAW FIRM

WAGNER, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09335          ONDERLAW, LLC

WAGNER, KHANTRELL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06403          ONDERLAW, LLC

WAGNER, LAUREL                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002267-20         GOLOMB & HONIK, P.C.

WAGNER, LOUIS & WAGNER, NANETTE   CA - SUPERIOR COURT - LOS ANGELES            BC645588                MAUNE RAICHLE HARTLEY FRENCH & MUDD

WAGNER, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10403          THE BENTON LAW FIRM, PLLC

WAGNER, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02931          FLETCHER V. TRAMMELL

WAGNER, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WAGNER, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WAGNER, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10905          NACHAWATI LAW GROUP

WAGNER, PHYLLIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WAGNER, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18408          ONDERLAW, LLC

WAGNER, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16259          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WAGNER, SAVANNAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16212          ARNOLD & ITKIN LLP

WAGNER, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00721          ONDERLAW, LLC

WAGNER, SUSAN                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L1935-16            NAPOLI SHKOLNIK, PLLC

WAGNER, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-04419          ONDERLAW, LLC

WAGNILD, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19047          ONDERLAW, LLC

WAGNON, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09519          FLETCHER V. TRAMMELL

WAGONER, CONSTANCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00929          JOHNSON BECKER, PLLC

WAGONER, CONSTANCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00929          SOMMERS SCHWARTZ, PC

WAGONER, OIREAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00635          THE SEGAL LAW FIRM

WAGUESPACK, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02996          ONDERLAW, LLC

WAHL, VICKI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19962          CELLINO & BARNES, P.C.

WAHNEE, TONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13379          JOHNSON LAW GROUP

WAIT, ANGIE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09706          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WAITE, AGNES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11747          THE MILLER FIRM, LLC

WAITE, JEANINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11960          NACHAWATI LAW GROUP

WAITE, JEANINE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03446          ONDERLAW, LLC

WAITE, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06060          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WAITE, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09700          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WAITERS, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00386          DALIMONTE RUEB, LLP

WAITES, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11580          NACHAWATI LAW GROUP

WAITES, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04816           ONDERLAW, LLC

WAITES, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08982           JASON J. JOY & ASSCIATES P.L.L.C.

WAITS, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05589          HOLLAND LAW FIRM

WAITS, TERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12936          TRAMMELL PC

WAKE, KEASHUANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02235          ONDERLAW, LLC

WAKEFIELD, KIMBERLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00889          JOHNSON LAW GROUP

WAKEN-HALL, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12616           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WAKEN-HALL, CAROLYN               CA - SUPERIOR COURT - SANTA CLARA COUNTY      16-CV-296601           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WAKSMUNSKI, CONSTANCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07818           ASHCRAFT & GEREL

WAKSMUNSKI, CONSTANCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07818          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALAZEK, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14334          MORELLI LAW FIRM, PLLC

WALBECK, JANET                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07969          ONDERLAW, LLC
WALBERG, SUSAN A & WALLBERG,
                                  NY - SUPREME COURT - NYCAL                    190335/2016            MEIROWITZ & WASSERBERG, LLP
ALEXANDER C
WALBORN, AUDRIENNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04761           ONDERLAW, LLC

WALBORN, CAROL-ANN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03852           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALCH, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10336          ASHCRAFT & GEREL, LLP

WALCH, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10336          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALDEN, CHAKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08628          ONDERLAW, LLC

WALDEN, TIFFANY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20667          ONDERLAW, LLC

WALDER, CECELIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11506          DALIMONTE RUEB, LLP

WALDMAN, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05391           KLINE & SPECTER, P.C.

WALDO, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07820          ASHCRAFT & GEREL

WALDO, ROSA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07820          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALDON, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09764          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALDOW, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01563          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALDREP, BRITTANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19139          MOTLEY RICE, LLC

WALDRON, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20434          CELLINO & BARNES, P.C.

WALDROP, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09718          ASHCRAFT & GEREL

WALDROP, HELEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09718          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALDROP, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18106          NACHAWATI LAW GROUP

WALES, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02868          DEGARIS WRIGHT MCCALL



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WALES, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02778          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALK, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12020          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, ALICIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, ALICIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            ONDERLAW, LLC

WALKER, ALICIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           PORTER & MALOUF, PA

WALKER, ALICIA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           THE SMITH LAW FIRM, PLLC

WALKER, ALLINE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-00292-19          GOLOMB SPIRT GRUNFELD PC

WALKER, ALLISON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07503          BARNES LAW GROUP, LLC

WALKER, ALLISON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07503          CHEELEY LAW GROUP

WALKER, AMANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15026          NACHAWATI LAW GROUP

WALKER, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06259          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, ANGELA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003313-21         WEITZ & LUXENBERG

WALKER, ANGELIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18170          ONDERLAW, LLC

WALKER, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20113          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WALKER, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10858          THE MILLER FIRM, LLC

WALKER, BELINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02254           JOHNSON BECKER, PLLC

WALKER, BETTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14748          LENZE LAWYERS, PLC

WALKER, BETTIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14748          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WALKER, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13825          THE SEGAL LAW FIRM

WALKER, CARRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07161          WILLIAMS HART LAW FIRM

WALKER, CHARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00288          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, CHERIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18098          JOHNSON LAW GROUP

WALKER, CHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15891          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, CHINITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07558          ONDERLAW, LLC

WALKER, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14790          LENZE LAWYERS, PLC

WALKER, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14790           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WALKER, DANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13299          MILLER DELLAFERA PLC

WALKER, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09540          FLETCHER V. TRAMMELL

WALKER, DEVANIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13202          NACHAWATI LAW GROUP

WALKER, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12464          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WALKER, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15154          MORRIS BART & ASSOCIATES

WALKER, DWEDE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06889          ONDERLAW, LLC

WALKER, FAYE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18133          NACHAWATI LAW GROUP




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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WALKER, FREDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03632          ONDERLAW, LLC

WALKER, FREDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      03:21-CV-03632         ONDERLAW, LLC

WALKER, GERTRUDE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05461          NAPOLI SHKOLNIK, PLLC

WALKER, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00484          ASHCRAFT & GEREL

WALKER, JANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13569          DALIMONTE RUEB, LLP

WALKER, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09084          ONDERLAW, LLC

WALKER, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12840          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, JUDITH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08575          ONDERLAW, LLC

WALKER, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16175           HEYGOOD, ORR & PEARSON

WALKER, LESLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21436          JOHNSON BECKER, PLLC

WALKER, LETHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09694          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20335          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, LINDA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

WALKER, LINDA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

WALKER, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18305          ONDERLAW, LLC

WALKER, LINDA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

WALKER, LINDA                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

WALKER, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12549          THE SIMON LAW FIRM, PC

WALKER, LOUISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18139          NACHAWATI LAW GROUP

WALKER, LUCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04640          ONDERLAW, LLC

WALKER, LULA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17468           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WALKER, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09893          ONDERLAW, LLC

WALKER, MARILYN GORE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11249          PARKER WAICHMAN, LLP

WALKER, MARJORIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08232           ONDERLAW, LLC

WALKER, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14101          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, MECHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02371          ONDERLAW, LLC

WALKER, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07933          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07933          GOLDENBERGLAW, PLLC

WALKER, MICHELLE              CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318685             KIESEL LAW, LLP

WALKER, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04780          ONDERLAW, LLC

WALKER, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07933          ONDERLAW, LLC

WALKER, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07933          PORTER & MALOUF, PA

WALKER, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07933          THE SMITH LAW FIRM, PLLC




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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WALKER, MYRON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14358          FRAZER PLC

WALKER, OFELIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01169          GORI JULIAN & ASSOCIATES, P.C.

WALKER, PATRICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10680          THE SEGAL LAW FIRM

WALKER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14305          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07631           ONDERLAW, LLC

WALKER, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02933           ONDERLAW, LLC

WALKER, RENEYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18628          WEITZ & LUXENBERG

WALKER, RUBY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19134          MOTLEY RICE, LLC

WALKER, SABRINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17316          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, SABRINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03198          ONDERLAW, LLC

WALKER, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07685          ONDERLAW, LLC

WALKER, SANDRA KELLAR         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00799          POTTS LAW FIRM

WALKER, SELENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15488          THE SEGAL LAW FIRM

WALKER, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06305          NAPOLI SHKOLNIK, PLLC

WALKER, SHERIDY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13593          DALIMONTE RUEB, LLP

WALKER, SHERYL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03326          ONDERLAW, LLC

WALKER, SHIRLEY ANN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10715          ASHCRAFT & GEREL

WALKER, SHIRLEY ANN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10715          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, SHIRRINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11675          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, SOPHRONIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18119          NACHAWATI LAW GROUP

WALKER, TAWANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14525           JASON J. JOY & ASSCIATES P.L.L.C.

WALKER, TONYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14102          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, TRACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17715          MORELLI LAW FIRM, PLLC

WALKER, TRESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01789          ONDERLAW, LLC

WALKER, VANESSA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002955-21         WEITZ & LUXENBERG

WALKER, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15159           ONDERLAW, LLC

WALKER, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14509           ONDERLAW, LLC

WALKER, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01619           ONDERLAW, LLC

WALKER, VICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06609          DIAZ LAW FIRM, PLLC

WALKER, VIKTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16608          THE MILLER FIRM, LLC

WALKER, VIOLET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02431          ONDERLAW, LLC

WALKER, VIVIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03379          ARNOLD & ITKIN LLP

WALKER, VIVIAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01441          ONDERLAW, LLC

WALKER, WENDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14318          FRAZER LAW LLC



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             Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WALKER, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12340           ASHCRAFT & GEREL

WALKER, WILLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12340          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER, YANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18394          JOHNSON LAW GROUP

WALKER-DETLOFF, BETTY           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKER-DETLOFF, BETTY           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            ONDERLAW, LLC

WALKER-DETLOFF, BETTY           MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           PORTER & MALOUF, PA

WALKER-DETLOFF, BETTY           MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            THE SMITH LAW FIRM, PLLC

WALKER-MCGEE, STACY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WALKER-MCGEE, STACY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WALKER-MCGEE, STACY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WALKEY, LEONISE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALKEY, LEONISE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

WALKEY, LEONISE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

WALKEY, LEONISE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

WALKEY, LEONISE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

WALKUW, ARNES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07293          THE ENTREKIN LAW FIRM

WALL, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18709           NACHAWATI LAW GROUP

WALL, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18149          NACHAWATI LAW GROUP

WALL, LORRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04037          ARNOLD & ITKIN LLP

WALL, LORRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19685          FLETCHER V. TRAMMELL

WALL, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03996          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALL, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19891          NACHAWATI LAW GROUP

WALL, NANCY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17487          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WALL, PRISALLA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002703-21         WEITZ & LUXENBERG

WALL, SHARLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05455          NAPOLI SHKOLNIK, PLLC

WALLACE, AMANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01822          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALLACE, AMMIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21936          JOHNSON LAW GROUP

WALLACE, ANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20676          MORGAN & MORGAN

WALLACE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05542          ONDERLAW, LLC

WALLACE, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20467          ASHCRAFT & GEREL, LLP

WALLACE, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20467          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALLACE, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03650           BARON & BUDD, P.C.

WALLACE, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08216          HOLLAND LAW FIRM




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            Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

WALLACE, CHARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10893          ONDERLAW, LLC

WALLACE, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07777          ANDRUS WAGSTAFF, P.C.

WALLACE, DIANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13913          ONDERLAW, LLC

WALLACE, DOROTHY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12878          ONDERLAW, LLC

WALLACE, FRANCES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21047          CELLINO & BARNES, P.C.

WALLACE, GRETCHEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19619          NACHAWATI LAW GROUP

WALLACE, IDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09332          ONDERLAW, LLC

WALLACE, J.A.W.                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09861          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WALLACE, JANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14102           FLETCHER V. TRAMMELL

WALLACE, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17090          SUMMERS & JOHNSON, P.C.

WALLACE, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05474          WILLIAMS HART LAW FIRM

WALLACE, MARGIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07781          ASHCRAFT & GEREL

WALLACE, MARGIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07781          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALLACE, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10057          GORI JULIAN & ASSOCIATES, P.C.

WALLACE, MARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11971          NACHAWATI LAW GROUP

WALLACE, NADINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16224          CELLINO & BARNES, P.C.

WALLACE, PANILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03894          ARNOLD & ITKIN LLP

WALLACE, PANILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17589          KIESEL LAW, LLP

WALLACE, PANILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17589          LAW OFFICE OF HAYTHAM FARAJ

WALLACE, PANILLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17589          MARTINIAN & ASSOCIATES, INC.

WALLACE, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14365          FRAZER PLC

WALLACE, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16362           ONDERLAW, LLC

WALLACE, RENEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01509          HABUSH HABUSH & ROTTIER SC

WALLACE, SADIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18162          NACHAWATI LAW GROUP

WALLACE, SHADRA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1509-16           ASHCRAFT & GEREL

WALLACE, SHADRA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1509-16           GOLOMB SPIRT GRUNFELD PC

WALLACE, SHELDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03086          JOHNSON BECKER, PLLC

WALLACE, SHERRY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02115          ONDERLAW, LLC

WALLACE, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14536           MORRIS BART & ASSOCIATES

WALLACE, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02789          ONDERLAW, LLC

WALLACE, VEERAKAMOL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06388           SUMMERS & JOHNSON, P.C.

WALLACE, WANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01391          MOTLEY RICE, LLC

WALLACE-MERRITT, PENNY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03116           ONDERLAW, LLC

WALLAND, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19867           NACHAWATI LAW GROUP



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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WALLBERG, SUSAN               NY - SUPREME COURT - NYCAL                   190335/2016             MEIROWITZ & WASSERBERG, LLP

WALLEN, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08668          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALLENBERG, ELEANOR           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16172          ARNOLD & ITKIN LLP

WALLER, CARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06714          ONDERLAW, LLC

WALLER, CHARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20737          ONDERLAW, LLC

WALLER, FRANCES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17675          ONDERLAW, LLC

WALLER, HEIDRUN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09838          WAGSTAFF & CARTMELL, LLP

WALLER, JANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00465          JAMES MORRIS LAW FIRM PC

WALLER, KELLI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09861          FLETCHER V. TRAMMELL

WALLER, LOIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00019          ONDERLAW, LLC

WALLER, PAULETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18212           DRISCOLL FIRM, P.C.

WALLER, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12003          DANIEL & ASSOCIATES, LLC

WALLER, RUTH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17497           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WALLER, WANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13036          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WALLICK, LAURA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11022          GOLDENBERGLAW, PLLC

WALLINGSFORD, PENNY           MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALLINGSFORD, PENNY           MO - CIRCUIT COURT - JEFFERSON COUNTY         18JE-CC00448           ONDERLAW, LLC

WALLINGSFORD, PENNY           MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            PORTER & MALOUF, PA

WALLINGSFORD, PENNY           MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            THE SMITH LAW FIRM, PLLC

WALLIS, OCEAIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12176          CHILDERS, SCHLUETER & SMITH, LLC

WALLNER, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09222          ONDERLAW, LLC

WALLS, BEATRICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14471          LINVILLE LAW GROUP

WALLS, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00774           WAGNER REESE, LLP

WALLS, EVELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20249          THE SEGAL LAW FIRM

WALLS, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14103          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALLS, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08810          WILSON LAW PA

WALLS, LEROJUA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02832          ONDERLAW, LLC

WALLS, MELODY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00470          SULLO & SULLO, LLP

WALLS, VIRGIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02300          LUNDY, LUNDY, SOILEAU & SOUTH, LLP

WALPOLE, ROSEMARIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08995          COHEN, PLACITELLA & ROTH

WALRUFF, ROSEMARY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19488          NACHAWATI LAW GROUP

WALSH, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14079          THE SEGAL LAW FIRM

WALSH, DORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02371          JOHNSON LAW GROUP

WALSH, DORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02371          LEVIN SIMES LLP



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              Claimant Name                        State Filed                        Docket Number                               Plaintiff Counsel

WALSH, ELENA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18529             JOHNSON LAW GROUP

WALSH, FELICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19457             ASHCRAFT & GEREL, LLP

WALSH, FELICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19457             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALSH, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11887             MUELLER LAW PLLC

WALSH, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00420             ONDERLAW, LLC

WALSH, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01723             JOHNSON LAW GROUP

WALSH, PATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08665             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALSH, REBECCA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10673             NACHAWATI LAW GROUP

WALSHAK, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11082             NACHAWATI LAW GROUP

WALSH-LENNON, EILISH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06161             JOHNSON LAW GROUP

WALSTON, CARRIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08073             ONDERLAW, LLC

WALSTON, FLORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08704             ONDERLAW, LLC

WALTER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10103             ONDERLAW, LLC

WALTER, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18289             ONDERLAW, LLC

WALTER, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01789              CELLINO & BARNES, P.C.

WALTER, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16482              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WALTER, MYRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08501             ARNOLD & ITKIN LLP

WALTERMIRE, SHARLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16629             CHILDERS, SCHLUETER & SMITH, LLC

WALTERS, AKIKO                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10458             SANDERS VIENER GROSSMAN, LLP

WALTERS, AYANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11752             ASHCRAFT & GEREL

WALTERS, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08389             ONDERLAW, LLC

WALTERS, BUNNY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13157             DALIMONTE RUEB, LLP

WALTERS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447             DONALD L. SCHLAPPRIZZI P.C.

WALTERS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447             LENZE LAWYERS, PLC

WALTERS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15105             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WALTERS, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WALTERS, CHARLOTTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18456             WEITZ & LUXENBERG

WALTERS, CHRISTINE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-210-18                 COHEN, PLACITELLA & ROTH

WALTERS, CYNTHIA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001493-20            GOLOMB & HONIK, P.C.

WALTERS, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16777             NACHAWATI LAW GROUP

WALTERS, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11374             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTERS, MARGARAET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07211             THE BENTON LAW FIRM, PLLC

WALTERS, MICHELLE                CA - SUPERIOR COURT - LOS ANGELES COUNTY      37-2018-65430-CU-PL-CTL   BISNAR AND CHASE

WALTERS, ROSALIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07292             ONDERLAW, LLC



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WALTERS, SHELLI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17651          MOTLEY RICE, LLC

WALTERS, SUSAN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10639          NACHAWATI LAW GROUP

WALTERS, THOMASCENE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTERS, THOMASCENE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276           ONDERLAW, LLC

WALTERS, THOMASCENE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

WALTERS, THOMASCENE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

WALTERS, TINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09475           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTERSDORF, REGINA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12955          NAPOLI SHKOLNIK, PLLC

WALTERS-HAUSER, JANET         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15925          ASHCRAFT & GEREL, LLP

WALTERS-HAUSER, JANET         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15925          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTERS-SANCHEZ, SUSAN        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08437          FLETCHER V. TRAMMELL

WALTHALL, TERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17334          ASHCRAFT & GEREL, LLP

WALTHALL, TERRI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17334          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTHER, ALMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10692          NACHAWATI LAW GROUP

WALTMAN, MARLENE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04051          ONDERLAW, LLC

WALTON, ALICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19076          NACHAWATI LAW GROUP

WALTON, AMBER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18024          ASHCRAFT & GEREL

WALTON, AMBER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18024          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTON, BERTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12766          ASHCRAFT & GEREL

WALTON, BERTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12766          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTON, BOBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03532          BLIZZARD & NABERS, LLP

WALTON, CARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09390          TRAMMELL PC

WALTON, CHRISTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14105          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTON, DARLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13328          GORI JULIAN & ASSOCIATES, P.C.

WALTON, EDNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTON, EDNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

WALTON, EDNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

WALTON, EDNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

WALTON, EDNA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           THE SMITH LAW FIRM, PLLC

WALTON, ELIZABETH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14667           ONDERLAW, LLC

WALTON, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17511           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WALTON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00707          MOTLEY RICE, LLC

WALTON, MICHELE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00807          POTTS LAW FIRM

WALTON, ROSAYLN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20695          ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WALTON, ROSE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03047          ARNOLD & ITKIN LLP

WALTON, RUSTY                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WALTON, SHERRION                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20160          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WALTON-SMITH, CHELCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04577          WILLIAMS HART LAW FIRM

WALTZ, TERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07729          ONDERLAW, LLC

WAMACK, DAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12683          NAPOLI SHKOLNIK, PLLC

WAMPLER, CAROL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08793          BARON & BUDD, P.C.

WAMSLEY, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07334          THE MILLER FIRM, LLC

WANDA MCCROSKEY                  FEDERAL - MDL                                3:21-CV-18663           FLETCHER V. TRAMMELL

WANDA SHETTLES                   FEDERAL - MDL                                 3:21-CV-19155          BARON & BUDD, P.C.

WANDA VAN LIEW                   DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02760          ASHCRAFT & GEREL, LLP

WANDA VAN LIEW                   DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02760          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WANDA, MERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13052          THE BENTON LAW FIRM, PLLC

WANG, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WANG, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15721          LENZE LAWYERS, PLC

WANG, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WANG, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15721           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WANG, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WANGELIN, TAMARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02263          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WANIEWSKI, IRENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17523          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WANKET, KIMBERLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09704           FLETCHER V. TRAMMELL

WANN, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12021           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WANNEMACHER, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17677           ONDERLAW, LLC

WAPNIAK, JEANINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18037           ASHCRAFT & GEREL

WAPNIAK, JEANINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18037           ASHCRAFT & GEREL

WARADZIN, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11590          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARD, ALICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11187          NACHAWATI LAW GROUP

WARD, CARLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03966          ONDERLAW, LLC

WARD, CHRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09443          FLETCHER V. TRAMMELL

WARD, DAISY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12978          THE MILLER FIRM, LLC

WARD, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11914           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WARD, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10787          NACHAWATI LAW GROUP

WARD, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10703           MORRIS BART & ASSOCIATES




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WARD, ESTHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16937          THE MILLER FIRM, LLC

WARD, FELICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20072          WAGSTAFF & CARTMELL, LLP

WARD, FRANKYE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20209          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARD, GINNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14104          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARD, GLENNIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01125          JOHNSON LAW GROUP

WARD, IRMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08077          ONDERLAW, LLC

WARD, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10189          ONDERLAW, LLC

WARD, JUNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18913          NACHAWATI LAW GROUP

WARD, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19825          NACHAWATI LAW GROUP

WARD, KINDYERRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09048           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WARD, LENA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10875          NACHAWATI LAW GROUP

WARD, LESLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09336          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARD, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10461          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARD, LUVENIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02245          SULLO & SULLO, LLP

WARD, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07829          ASHCRAFT & GEREL

WARD, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07829          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARD, MARVA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04586          ONDERLAW, LLC

WARD, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15443          BEKMAN, MARDER, & ADKINS, LLC

WARD, ONTAYAI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18172          NACHAWATI LAW GROUP

WARD, PENNY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13138          FLETCHER V. TRAMMELL

WARD, RACHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17693          ASHCRAFT & GEREL, LLP

WARD, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03802          ONDERLAW, LLC

WARD, SHARRON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12119          FLETCHER V. TRAMMELL

WARD, SHERRON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21072          ASHCRAFT & GEREL

WARD, SHERRON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21072          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARD, TAHSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20023          ARNOLD & ITKIN LLP

WARD, TAMARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15801          JOHNSON LAW GROUP

WARD, TARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18179          NACHAWATI LAW GROUP

WARD, TERI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06038          PARKER WAICHMAN, LLP

WARD, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03983          ONDERLAW, LLC

WARD, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10514          GOLOMB SPIRT GRUNFELD PC

WARDELL, LUCILLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10815          ONDERLAW, LLC

WARDEN, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08721          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARDLAW, ODETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06786          ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WARDY, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13120          MORELLI LAW FIRM, PLLC

WARE, GEORGIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08873          THE ENTREKIN LAW FIRM

WARE, GERALDINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13527          FLETCHER V. TRAMMELL

WARE, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14106          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARE, KATHERN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04253          ONDERLAW, LLC

WARE, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08152          ONDERLAW, LLC

WARE, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09438          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARE, LORETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17175          ONDERLAW, LLC

WARE, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20032          MUELLER LAW PLLC

WARE, RENEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09768          NACHAWATI LAW GROUP

WARE, ROSEATTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19624          NACHAWATI LAW GROUP

WARE, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00868          POTTS LAW FIRM

WAREHAM, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09135          CONSTANT LEGAL GROUP LLP

WARF, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03166          THORNTON LAW FIRM

WARFORD, SHELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WARFORD, SHELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WARFORD, SHELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WARICHAK, DIANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10817          ONDERLAW, LLC

WARING, CINNAMON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09471          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARIX, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11376          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARNER, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11510          NACHAWATI LAW GROUP

WARNER, BROOKLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18193          NACHAWATI LAW GROUP

WARNER, CECELIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08175          ONDERLAW, LLC

WARNER, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10455          ARNOLD & ITKIN LLP

WARNER, DENIESE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08559          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARNER, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09340          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARNER, KATHY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15495          WILLIAMS HART LAW FIRM

WARNER, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08170          HOLLAND LAW FIRM

WARNKE, LUCINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WARNKE, LUCINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15015          LENZE LAWYERS, PLC

WARNKE, LUCINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WARNKE, LUCINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15015          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WARNKE, LUCINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WARNOCK, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02435          MORELLI LAW FIRM, PLLC



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              Claimant Name                          State Filed                       Docket Number                              Plaintiff Counsel

WARNOCK, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02435          MORELLI LAW FIRM, PLLC

WARRE, LORE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19677          NACHAWATI LAW GROUP

WARREN, ANNIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20280          CHAFFIN LUHANA LLP

WARREN, BERNICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18232          MORGAN & MORGAN

WARREN, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11799          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARREN, BRITTANY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10357          NACHAWATI LAW GROUP

WARREN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WARREN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15164          LENZE LAWYERS, PLC

WARREN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WARREN, CAROL                     NY - SUPREME COURT - NYCAL                   190141/2018             MEIROWITZ & WASSERBERG, LLP

WARREN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15164          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WARREN, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
WARREN, CAROL & EST OF RICKY
                                  NY - SUPREME COURT - NYCAL                    190141/2018            MEIROWITZ & WASSERBERG, LLP
HALLETT
WARREN, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17805          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WARREN, EDNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13519          DRISCOLL FIRM, P.C.

WARREN, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20161          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARREN, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19790          NACHAWATI LAW GROUP

WARREN, ELVIRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11844          NACHAWATI LAW GROUP

WARREN, FRANCES                   CA - SUPERIOR COURT - SANTA CLARA COUNTY     26CV296624              THE MILLER FIRM, LLC

WARREN, JAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12759          ONDERLAW, LLC

WARREN, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07551          ONDERLAW, LLC

WARREN, JULIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12370          ONDERLAW, LLC

WARREN, LEE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04981          SANDERS VIENER GROSSMAN, LLP

WARREN, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARREN, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            ONDERLAW, LLC

WARREN, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           PORTER & MALOUF, PA

WARREN, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           THE SMITH LAW FIRM, PLLC

WARREN, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18415          THE MILLER FIRM, LLC

WARREN, MYRIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12326          ASHCRAFT & GEREL

WARREN, MYRIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12326          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARREN, OCTAVIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17563          JOHNSON BECKER, PLLC

WARREN, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14264          ASHCRAFT & GEREL, LLP

WARREN, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14264          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARREN, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11242          THE MILLER FIRM, LLC



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WARREN, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17814          KILLIAN, DAVIS, RICHTER & MAYLE, PC

WARREN, RENEE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02179          THE FERRARO LAW FIRM, P.A.

WARREN, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08605          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARREN, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09343          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WARREN, SHELLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17700          NACHAWATI LAW GROUP

WARREN, SHELLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16217          NACHAWATI LAW GROUP

WARREN, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07164          ARNOLD & ITKIN LLP

WARREN, SUELLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05125          BARON & BUDD, P.C.

WARREN, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13310          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WARREN, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16197          THE MILLER FIRM, LLC

WARREN, TARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02541          JOHNSON BECKER, PLLC

WARREN, TONYA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07403          ONDERLAW, LLC

WARREN, TREVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WARREN, TREVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15558          LENZE LAWYERS, PLC

WARREN, TREVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WARREN, TREVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15558          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WARREN, TREVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WARREN-HENDERSON, SANDRA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21283          CELLINO & BARNES, P.C.

WARRING, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11402          DAVIS, BETHUNE & JONES, L.L.C.

WARSHAWSKY, BEVERLY           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06986          THE SIMON LAW FIRM, PC

WARYAS, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11738          ONDERLAW, LLC

WASBERG, MICHELE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

WASBERG, MICHELE              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

WASBERG, MICHELE              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

WASCOM, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07531          ONDERLAW, LLC

WASHBURN, JO ANN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09377          SULLO & SULLO, LLP

WASHBURN, THERESA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00912          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WASHINGTON, ARETHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03687          JOHNSON LAW GROUP

WASHINGTON, ARLINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16362          NACHAWATI LAW GROUP

WASHINGTON, BERNITA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07983           ONDERLAW, LLC

WASHINGTON, BRIDGET           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06254           ONDERLAW, LLC

WASHINGTON, CARMEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03151          THE DIETRICH LAW FIRM, PC

WASHINGTON, CASHANNA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09931           ONDERLAW, LLC

WASHINGTON, CASSANDRA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18219          NACHAWATI LAW GROUP



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           Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

WASHINGTON, CHARLES           MO - CIRCUIT COURT - CITY OF ST. LOUIS        2122-CC09203           FLINT LAW FIRM LLC

WASHINGTON, CHARLES           MO - CIRCUIT COURT - CITY OF ST. LOUIS        2122-CC09203           KARST & VON OISTE, LLP

WASHINGTON, CHINON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02788          ONDERLAW, LLC

WASHINGTON, CHRISY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05583           ONDERLAW, LLC

WASHINGTON, DELORISTINE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21241          HOLLAND LAW FIRM

WASHINGTON, DORIS             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19202          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WASHINGTON, EDITH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15856          THORNTON LAW FIRM LLP

WASHINGTON, EVELYN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11066          NACHAWATI LAW GROUP

WASHINGTON, GAIL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02253          JOHNSON BECKER, PLLC

WASHINGTON, JOSIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01051           ONDERLAW, LLC

WASHINGTON, JOYCE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01457           ONDERLAW, LLC

WASHINGTON, KATHER            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17091           THE CUFFIE LAW FIRM

WASHINGTON, LAKISHA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09209          THE DUGAN LAW FIRM, APLC

WASHINGTON, LINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09609          LILLIS LAW FIRM

WASHINGTON, LULA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18022           ASHCRAFT & GEREL

WASHINGTON, LULA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18022          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WASHINGTON, LULA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11379          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WASHINGTON, MARIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-05881           ONDERLAW, LLC

WASHINGTON, MARTHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20342          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WASHINGTON, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11991          NACHAWATI LAW GROUP

WASHINGTON, MARY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09858           ONDERLAW, LLC

WASHINGTON, MAYRENE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02445           ONDERLAW, LLC

WASHINGTON, MECHELL           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08120          DALIMONTE RUEB, LLP

WASHINGTON, MECHELL           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08120          GOLDENBERGLAW, PLLC

WASHINGTON, MILDRED           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-10292           ONDERLAW, LLC

WASHINGTON, MILDRED           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16838          THE MILLER FIRM, LLC

WASHINGTON, OLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15155           MORRIS BART & ASSOCIATES

WASHINGTON, ORA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WASHINGTON, ORA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           LENZE LAWYERS, PLC

WASHINGTON, ORA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WASHINGTON, RITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18683           CELLINO & BARNES, P.C.

WASHINGTON, ROSALYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13522           BURNS CHAREST LLP

WASHINGTON, ROSALYN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13522           BURNS CHAREST LLP




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           Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

WASHINGTON, SALOME            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18935          CELLINO & BARNES, P.C.

WASHINGTON, SANDRA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18211          NACHAWATI LAW GROUP

WASHINGTON, SHANEDRA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12710          BARRETT LAW GROUP, P.A.

WASHINGTON, SHARON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10337          ASHCRAFT & GEREL, LLP

WASHINGTON, SHARON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10337           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WASHINGTON, SHEILAH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17266          JOHNSON LAW GROUP

WASHINGTON, SUNDAE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01354           ASHCRAFT & GEREL

WASHINGTON, VALERIE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06098           ONDERLAW, LLC

WASHINGTON, VANESSA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WASHINGTON, VANESSA           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002749-21         GOLOMB & HONIK, P.C.

WASHINGTON, VANESSA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WASHINGTON, VANESSA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WASHINGTON, VERA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08365          FLETCHER V. TRAMMELL

WASHINGTON, VERONICA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00763          MUELLER LAW PLLC

WASHINGTON, WENDY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18217          NACHAWATI LAW GROUP

WASHINGTON-HUDSPETH, CHERYL   CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC658578               NAPOLI SHKOLNIK, PLLC

WASSON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08839          JOHNSON LAW GROUP

WASSON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19631          NACHAWATI LAW GROUP

WASSON, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02046          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WASSON, YVONNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00936          ONDERLAW, LLC

WASTON, OLIVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08554          ARNOLD & ITKIN LLP

WATCHORN, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20481          ASHCRAFT & GEREL, LLP

WATCHORN, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20481          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATERHOUSE, KAY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:16-CV-07336           BURNS CHAREST LLP

WATERMAN, MISTY               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002571-20         GOLOMB & HONIK, P.C.

WATERMAN, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17301          ASHCRAFT & GEREL, LLP

WATERMAN, ROSE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17301          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATERS, BETSY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003066-21         WEITZ & LUXENBERG

WATERS, BURNELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18686          JOHNSON LAW GROUP

WATERS, CELESTINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18135           NACHAWATI LAW GROUP

WATERS, CHRIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09348          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATERS, CORIENA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12297          MOTLEY RICE, LLC

WATERS, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08597          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATERS, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03275          ASHCRAFT & GEREL, LLP



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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WATERS, DORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09870          FLETCHER V. TRAMMELL

WATERS, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12821           ROSS FELLER CASEY, LLP

WATERS, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13108          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WATERS, JESSICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12908          FLETCHER V. TRAMMELL

WATERS, JOANNA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV324514             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATERS, JOANNA                 CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV324514             KIESEL LAW, LLP

WATERS, JOANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11399          MORELLI LAW FIRM, PLLC

WATERS, MISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09351          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATERS, SALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17961          ASHCRAFT & GEREL

WATERS, SALLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17961          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATERS, THERESA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1242-16           ASHCRAFT & GEREL, LLP

WATERS, THERESA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1242-16           DAMATO LAW FIRM, P.C.

WATERS, VIRGINIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13637          THE DUGAN LAW FIRM, APLC

WATERSON, MARIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17928          JOHNSON LAW GROUP

WATFORD, PAULETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00604          GOLOMB SPIRT GRUNFELD PC

WATFORD, STACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20933          ONDERLAW, LLC

WATHKE, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02378          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATIER, YVONNE MARIE           BRITISH COLUMBIA (VANCOUVER)                  VLC-S-S-230679         PRESZLER LAW FIRM LLP

WATKINS, ADELHEID              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03313          ASHCRAFT & GEREL

WATKINS, ADELHEID              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03313          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATKINS, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12959          ONDERLAW, LLC

WATKINS, ANDREA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05455          WILLIAMS HART LAW FIRM

WATKINS, ANTOINETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09231          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATKINS, BESSIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14261          ASHCRAFT & GEREL, LLP

WATKINS, CASSANDRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18171          GORI JULIAN & ASSOCIATES, P.C.

WATKINS, FETINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05245           ONDERLAW, LLC

WATKINS, GLADYS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20297          ONDERLAW, LLC

WATKINS, GRACE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01155          ASHCRAFT & GEREL

WATKINS, GRACE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01155          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATKINS, JAMIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10344          ONDERLAW, LLC

WATKINS, JERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09688          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATKINS, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09407          ONDERLAW, LLC

WATKINS, KATHLEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13631          THE MILLER FIRM, LLC

WATKINS, LATASHA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06306           ONDERLAW, LLC



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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WATKINS, LINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02183          GOLDENBERG HELLER & ANTOGNOLI, PC

WATKINS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02555          ONDERLAW, LLC

WATKINS, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12245          THE DIETRICH LAW FIRM, PC

WATKINS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WATKINS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15457          LENZE LAWYERS, PLC

WATKINS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WATKINS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15457          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WATKINS, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WATKINS, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18875          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATKINS, SHARI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06013          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATKINS, TAMMY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05361          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WATKINS, VALARIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10251          HOLLAND LAW FIRM

WATKINS-BRADLEY, MARY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19635          NACHAWATI LAW GROUP

WATKINS-ELLIS, MODIA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08345           ONDERLAW, LLC

WATLINGTON, TAWANA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10929          NACHAWATI LAW GROUP

WATLINGTON, TAWANA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08700           ONDERLAW, LLC

WATSON, AMANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14779          BACHUS & SCHANKER LLC

WATSON, BARBARA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003035-20         GOLOMB & HONIK, P.C.

WATSON, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07185          WILLIAMS HART LAW FIRM

WATSON, BRENDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            ONDERLAW, LLC

WATSON, BRENDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

WATSON, BRENDA                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           THE SMITH LAW FIRM, PLLC

WATSON, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20549          MORELLI LAW FIRM, PLLC

WATSON, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20163          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATSON, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14002          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATSON, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13743          THE MILLER FIRM, LLC

WATSON, EMMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08388          ONDERLAW, LLC

WATSON, ESTHER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05827          BURNS CHAREST LLP

WATSON, GRACE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05781          TRAMMELL PC

WATSON, GRACIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11380          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATSON, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17141           THE MILLER FIRM, LLC

WATSON, JOYCE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09162          ONDERLAW, LLC

WATSON, JULIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01035          THE MILLER FIRM, LLC




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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WATSON, KAREN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

WATSON, KAREN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

WATSON, KAREN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

WATSON, KARIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13043          FLETCHER V. TRAMMELL

WATSON, LILLIAN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22069          CELLINO & BARNES, P.C.

WATSON, LINDA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-328-18            DARCY JOHNSON DAY, P.C.

WATSON, MARCIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11358           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WATSON, MARI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00473          THORNTON LAW FIRM LLP

WATSON, MARILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00292          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WATSON, MARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18164          NACHAWATI LAW GROUP

WATSON, MELISA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14259          DRISCOLL FIRM, P.C.

WATSON, MERILYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10827          NAPOLI SHKOLNIK, PLLC

WATSON, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18143          NACHAWATI LAW GROUP

WATSON, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08153          ONDERLAW, LLC

WATSON, RONEISHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03545           ONDERLAW, LLC

WATSON, SHANNON               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06445          ONDERLAW, LLC

WATSON, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00957          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATSON, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08455          TORHOERMAN LAW LLC

WATSON, SIMONNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19832           NACHAWATI LAW GROUP

WATSON, TAMICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18150          NACHAWATI LAW GROUP

WATSON, TERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12327          THE BENTON LAW FIRM, PLLC

WATSON, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03724          ONDERLAW, LLC

WATSON, THERESA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02357          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATSON, TRAUTE                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002396-20         GOLOMB & HONIK, P.C.

WATSON, VANESSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13758          ONDERLAW, LLC

WATSON-COTTON, DOROTHY        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19484          NACHAWATI LAW GROUP

WATTERS, DENISE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14166          MOTLEY RICE, LLC

WATTERS, JACKIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18168          NACHAWATI LAW GROUP

WATTS, ANGIELEE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15956           NACHAWATI LAW GROUP

WATTS, ANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19917          ARNOLD & ITKIN LLP

WATTS, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17988          FRAZER PLC

WATTS, CARLENE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATTS, CARLENE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           ONDERLAW, LLC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WATTS, CARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA

WATTS, CARLENE                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          THE SMITH LAW FIRM, PLLC

WATTS, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18174          NACHAWATI LAW GROUP

WATTS, EUGENIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07282          JOHNSON LAW GROUP

WATTS, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04992          THE BENTON LAW FIRM, PLLC

WATTS, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15066           THE BENTON LAW FIRM, PLLC

WATTS, JUNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14110          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WATTS, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16007          GIRARDI & KEESE

WATTS, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09469          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WATTS, KELSEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07534          ONDERLAW, LLC

WATTS, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01502          ROSS FELLER CASEY, LLP

WATTS, PAULA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04757          THE MILLER FIRM, LLC

WATTS, RUBY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21474          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WATTS, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12168          JOHNSON LAW GROUP

WATTS, SHELIA DOYLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12627          MORGAN & MORGAN

WAUGH, CLARICE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-8-16             ASHCRAFT & GEREL

WAUGH, CLARICE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-8-16             GOLOMB SPIRT GRUNFELD PC

WAUGH, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11069          THE SIMON LAW FIRM, PC

WAUN, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14111          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WAVERLY, SHAVONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01248          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WAXMAN, LORRAINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WAXMAN, LORRAINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          GOLDENBERGLAW, PLLC

WAXMAN, LORRAINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

WAXMAN, LORRAINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

WAXMAN, LORRAINE                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          THE SMITH LAW FIRM, PLLC

WAY, AUDREY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06300          ONDERLAW, LLC

WEAKLAND, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13022          THE MILLER FIRM, LLC

WEALAND, MABEL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06938          WILLIAMS HART LAW FIRM

WEARS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20085          NACHAWATI LAW GROUP

WEATHERBIE, EVELYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19176          MOTLEY RICE, LLC

WEATHERFORD, IOTRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01011          BURNS CHAREST LLP

WEATHERFORD, KATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09943           ONDERLAW, LLC

WEATHERHOLT, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07871          WILLIAMS HART LAW FIRM

WEATHERLY, PHILA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16153          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



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           Claimant Name                             State Filed                        Docket Number                              Plaintiff Counsel

WEATHERLY, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09681          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEATHERMAN, PRISCILLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18181          NACHAWATI LAW GROUP

WEATHERS, MARY                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE19024382            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEATHERS, MARY                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE19024382            KELLEY UUSTAL, PLC

WEATHERS, ROSALIND                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12383          DAVIS, BETHUNE & JONES, L.L.C.

WEATHERS, SANDRA                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-00549-20AS       MAUNE RAICHLE HARTLEY FRENCH & MUDD
WEATHERS, SANDRA R AND WEATHERS,
                                   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-00549-20AS       LEVY KONIGSBERG LLP
BRIAN L
WEATHERS, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06101           ONDERLAW, LLC

WEATHERWAX, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06021          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEATHERWAX, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08410          NACHAWATI LAW GROUP

WEATHINGTON, DENISE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08599           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEAVER, BETTY                      CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC671456               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEAVER, BETTY                      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC671456                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WEAVER, BETTY                      CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC671456               THE SMITH LAW FIRM, PLLC

WEAVER, DEBORA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18197          NACHAWATI LAW GROUP

WEAVER, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09767          NACHAWATI LAW GROUP

WEAVER, EBONI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12635          ANDRUS WAGSTAFF, P.C.

WEAVER, ESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18618          DRISCOLL FIRM, P.C.

WEAVER, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07437          ARNOLD & ITKIN LLP

WEAVER, HELEN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08953          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEAVER, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17858           ASHCRAFT & GEREL, LLP

WEAVER, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17858          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEAVER, JUDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00293          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEAVER, KASSANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03047          WILLIAMS HART LAW FIRM

WEAVER, KATHLEEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09045          JOHNSON LAW GROUP

WEAVER, LORI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00604          FLETCHER V. TRAMMELL

WEAVER, LUCINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08134          ONDERLAW, LLC

WEAVER, MARNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09271          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEAVER, MAUREEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10340          ARNOLD & ITKIN LLP

WEAVER, MISTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15334          BART DURHAM INJURY LAW

WEAVER, MISTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15334          FRAZER PLC

WEAVER, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12481          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEAVER, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03744          BARNES LAW GROUP, LLC

WEAVER, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03744          CHEELEY LAW GROUP



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WEAVER, YVONNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08376          ONDERLAW, LLC

WEBB, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05290          ONDERLAW, LLC

WEBB, CATHERINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18205          NACHAWATI LAW GROUP

WEBB, CHRISTINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01282          MORELLI LAW FIRM, PLLC

WEBB, CORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13169          JOHNSON LAW GROUP

WEBB, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07513          MURRAY LAW FIRM

WEBB, GAIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05002          ONDERLAW, LLC

WEBB, JEANETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09563          ONDERLAW, LLC

WEBB, JERALDEAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19871          NACHAWATI LAW GROUP

WEBB, KARYL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07681          GOLDENBERGLAW, PLLC

WEBB, KATRINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09007          MUELLER LAW PLLC

WEBB, KELLI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01237          GORI JULIAN & ASSOCIATES, P.C.

WEBB, KELLY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002397-20         GOLOMB & HONIK, P.C.

WEBB, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11207          MUELLER LAW PLLC

WEBB, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09818          ONDERLAW, LLC

WEBB, LATOSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10594          NACHAWATI LAW GROUP

WEBB, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00798          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEBB, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00798          ONDERLAW, LLC

WEBB, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00798          PORTER & MALOUF, PA

WEBB, LYNN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00798          THE SMITH LAW FIRM, PLLC

WEBB, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03772          PADILLA LAW GROUP

WEBB, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12341          ASHCRAFT & GEREL

WEBB, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12341          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEBB, PHYLLIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06261          ONDERLAW, LLC

WEBB, RACHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20164          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEBB, SHERRIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01754          KLINE & SPECTER, P.C.

WEBB, THELMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11463          NACHAWATI LAW GROUP

WEBB, WANDA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1184-16           GOLOMB SPIRT GRUNFELD PC

WEBBER, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07773          ONDERLAW, LLC

WEBBER, EDNA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002572-20         GOLOMB & HONIK, P.C.

WEBBER, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15812          NACHAWATI LAW GROUP

WEBBER, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01015          BURNS CHAREST LLP

WEBER, CARMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10409          NACHAWATI LAW GROUP

WEBER, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11886          THE MILLER FIRM, LLC



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               Claimant Name                         State Filed                       Docket Number                             Plaintiff Counsel

WEBER, JULIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17642          WEITZ & LUXENBERG

WEBER, KRISTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01908          FLETCHER V. TRAMMELL

WEBER, LEAH                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11812          WILLIAMS HART LAW FIRM

WEBER, LYNDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07758          BURNS CHAREST LLP

WEBER, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05595          CELLINO & BARNES, P.C.

WEBER, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12444          THE MILLER FIRM, LLC

WEBER, P                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17429          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WEBER, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12636          ANDRUS WAGSTAFF, P.C.

WEBER, RHONDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11950          NACHAWATI LAW GROUP

WEBER, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01178          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

WEBER, WENDY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-07956          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

WEBER-BOSWORTH, LYNN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13327          NACHAWATI LAW GROUP

WEBER-MULLICAN, KAREN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21882          ASHCRAFT & GEREL, LLP

WEBER-SCALLIONS, MARY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13389          THE DIAZ LAW FIRM, PLLC

WEBSTER, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          DONALD L. SCHLAPPRIZZI P.C.

WEBSTER, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13447          LENZE LAWYERS, PLC

WEBSTER, ANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13447           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WEBSTER, BETTY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15095          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WEBSTER, CARMA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13441          GOLDENBERGLAW, PLLC

WEBSTER, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01826          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEBSTER, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14207          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEBSTER, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10548          ONDERLAW, LLC

WEBSTER, JAMIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09954          ONDERLAW, LLC

WEBSTER, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-00129           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WEBSTER, KAREN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001473-20         GOLOMB & HONIK, P.C.

WEBSTER, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06654          CHILDERS, SCHLUETER & SMITH, LLC

WEBSTER, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07767          ONDERLAW, LLC

WEBSTER, SHAWNNESSY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01507           ONDERLAW, LLC

WEBSTER, SUEANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC10919            ONDERLAW, LLC

WEBSTER, SUEANN                   CA - SUPERIOR COURT - LOS ANGELES COUNTY      RIC1716030             THE DUGAN LAW FIRM

WEDDELL, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10410          ONDERLAW, LLC

WEDDINGTON, LAURA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07588           ASHCRAFT & GEREL, LLP




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           Claimant Name                        State Filed                        Docket Number                                Plaintiff Counsel

WEDDINGTON, LAURA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07588            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEDDINGTON, LAURIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02839             ONDERLAW, LLC

WEDDINGTON, VIVIAN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10281            GOLDENBERGLAW, PLLC

WEDDLE, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07286            ONDERLAW, LLC

WEDEL, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13006            THE MILLER FIRM, LLC

WEDEMEYER, MICHELLE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19773             ONDERLAW, LLC

WEDLICK-ORTIZ, ELLEN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEDLICK-ORTIZ, ELLEN          CA - SUPERIOR COURT - ORANGE COUNTY          30-2017-00952911-CU-PL-CXC ONDERLAW, LLC

WEDLICK-ORTIZ, ELLEN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720            ONDERLAW, LLC

WEDLICK-ORTIZ, ELLEN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720             PORTER & MALOUF, PA

WEDLICK-ORTIZ, ELLEN          CA - SUPERIOR COURT - ORANGE COUNTY           30-2017-00952911-CU-PL-CXC SALKOW LAW, APC

WEDLICK-ORTIZ, ELLEN          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720            THE SMITH LAW FIRM, PLLC

WEED, CLORINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17121            HOVDE, DASSOW, & DEETS, LLC

WEED, CLORINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17121            SANDERS PHILLIPS GROSSMAN, LLC

WEEDEN, TERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14627            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEEDMAN, CAROL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11179            ONDERLAW, LLC

WEEKLEY, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08041            ONDERLAW, LLC

WEEKLY, LUELLA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19873            NACHAWATI LAW GROUP

WEEKS, ANGELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09840            FLETCHER V. TRAMMELL

WEEKS, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14441            ASHCRAFT & GEREL

WEEKS, MALUDI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11058            JOHNSON BECKER, PLLC

WEEKS, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02980            CHILDERS, SCHLUETER & SMITH, LLC

WEEKS, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09766            NACHAWATI LAW GROUP

WEEKS, TANNAZE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19160            CELLINO & BARNES, P.C.

WEEKS, TAWANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00798            DALIMONTE RUEB, LLP

WEEKS, TAWANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06806            ONDERLAW, LLC

WEEKS, VICKI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12462            ONDERLAW, LLC

WEEKS-BAILEY, KATHLEEN        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17196             ONDERLAW, LLC

WEEKS-HARDWICK, HELEN         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18215            NACHAWATI LAW GROUP

WEEMS, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10338             ASHCRAFT & GEREL, LLP

WEEMS, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10338            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEEMS, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12327            ASHCRAFT & GEREL

WEEMS, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12327            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEESE, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05722            ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WEGER, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09506          TRAMMELL PC

WEGER, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08265           ONDERLAW, LLC

WEGHORST, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16209          ARNOLD & ITKIN LLP

WEHLING, LAUREL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01817          GORI JULIAN & ASSOCIATES, P.C.

WEIDE, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19442          NACHAWATI LAW GROUP

WEIDENHAMER, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12607          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEIGEL, GINGER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09157          JOHNSON LAW GROUP

WEIGHT, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18105          THE SEGAL LAW FIRM

WEILER, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10445          NACHAWATI LAW GROUP

WEIMER, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16429          ARNOLD & ITKIN LLP

WEIMER, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13760           ONDERLAW, LLC

WEINBERG, CINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06630          ONDERLAW, LLC

WEINER, JENNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15994          NACHAWATI LAW GROUP

WEINER, JUDITH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09393           RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

WEINER, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13660          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEINER, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13660          PORTER & MALOUF, PA

WEINER, MARY                     DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02752          ASHCRAFT & GEREL

WEINER, MARY                     DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02752          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEINER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09505          ONDERLAW, LLC

WEINHEIMER, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09955          ONDERLAW, LLC

WEINHEIMER-REYES, LISA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11671          THE CARLSON LAW FIRM

WEINHOLD, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11179           NACHAWATI LAW GROUP

WEINREICH, ROBERTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05837          ARNOLD & ITKIN LLP

WEINRIEB, HARRIETT               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16186           ONDERLAW, LLC

WEINSTEIN, EVE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12289          ARNOLD & ITKIN LLP

WEINTRAUB, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10339          ASHCRAFT & GEREL, LLP

WEINTRAUB, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10339          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEIR, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16978          ONDERLAW, LLC

WEIRICH, GENEVIEVE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11201           ONDERLAW, LLC

WEIS, ARLENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16055          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEIS, KATARINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13091          ONDERLAW, LLC

WEISBERG, ABBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06613          THE SIMON LAW FIRM, PC

WEISBROD, JUDITH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17880          JOHNSON LAW GROUP




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              Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

WEISBROT, ELAINE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1721-17           GOLDENBERG HELLER & ANTOGNOLI, PC

WEISBROT, ELAINE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1721-17           LOCKS LAW FIRM

WEISE, LORETTA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07255          ONDERLAW, LLC

WEISENBERG, CARYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16088          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEISENFELD, DENISE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03199           ONDERLAW, LLC

WEISGARBER, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05490          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEISLO, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08662          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEISS, DARLENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01492          ONDERLAW, LLC

WEISS, JANICE ESTATE OF JOEL WEISS   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-05216-18AS       LEVY KONIGSBERG LLP

WEISS, LAURA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

WEISS, LAURA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

WEISS, LAURA                         CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC697985                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WEISS, LAURA                         MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           THE SMITH LAW FIRM, PLLC

WEISS, PATRICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09449          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEISS, SARAH                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01491          FLETCHER V. TRAMMELL

WEISS, SUE                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09714          ASHCRAFT & GEREL

WEISS, TERI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20466          ASHCRAFT & GEREL, LLP

WEISS, TERI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20466          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEISS, TERI                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20466          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEISSER, JANEL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05644          JOHNSON LAW GROUP

WEISZ, MARGIT                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19881          NACHAWATI LAW GROUP

WEITMAN, DAVID                       NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-08442-18AS       WEITZ & LUXENBERG

WELBORN, CONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01183          TRAMMELL PC

WELCH, BARBARA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09229          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WELCH, BRENDA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09988          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WELCH, COREYONNA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2460-17           KEEFE BARTELS

WELCH, COREYONNA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2460-17           LAW OFFICE OF GRANT D. AMEY, LLC

WELCH, COREYONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13528          THE MILLER FIRM, LLC

WELCH, DEANNE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09403          ONDERLAW, LLC

WELCH, KAREN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17034          ASHCRAFT & GEREL, LLP

WELCH, KIMBERLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14665           ONDERLAW, LLC

WELCH, LINDA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17941          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WELCH, LINDA                         NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-000304-21        WEITZ & LUXENBERG




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WELCH, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09887          ONDERLAW, LLC

WELCH, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09024          ONDERLAW, LLC

WELCH, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15461          MOTLEY RICE NEW JERSEY LLC

WELCH, TONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03139          ROSS FELLER CASEY, LLP

WELCHER, REGINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13252          ARNOLD & ITKIN LLP

WELCOME, FLORENCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04987           ONDERLAW, LLC

WELDING, KELLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15700          JOHNSON LAW GROUP

WELDON, KIMBERLY                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-359-18            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WELDON, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05089          ONDERLAW, LLC

WELDON, SHELBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05550          JOHNSON LAW GROUP

WELDON, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05576          NAPOLI SHKOLNIK, PLLC

WELKER, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01971          NACHAWATI LAW GROUP

WELKER, PAMELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00897          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC
                                 CA - SUPERIOR COURT - CITY AND COUNTY OF
WELLINGTON, MISTEL                                                            CGC-16-555620           THE BRANDI LAW FIRM
                                 SAN FRANCISCO
WELLINGTON, SONIQUA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14761          HILLIARD MARTINEZ GONZALES, LLP

WELLINGTON, UNIQUE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01297           ASHCRAFT & GEREL

WELLINGTON, UNIQUE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01297          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WELLMAN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06561           JOHNSON LAW GROUP

WELLMAN, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14100          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WELLS, APRIL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09755          ONDERLAW, LLC

WELLS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19458          ASHCRAFT & GEREL, LLP

WELLS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20167          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WELLS, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19458          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WELLS, BERTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19643          NACHAWATI LAW GROUP

WELLS, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14756          LENZE LAWYERS, PLC

WELLS, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14756           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WELLS, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04116          JOHNSON LAW GROUP

WELLS, CATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19646          NACHAWATI LAW GROUP

WELLS, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18679          NACHAWATI LAW GROUP

WELLS, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20715          ONDERLAW, LLC

WELLS, DINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10555          LIAKOS LAW APC

WELLS, GAYLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17060          ONDERLAW, LLC

WELLS, HOLLEY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01891          ONDERLAW, LLC

WELLS, JAMIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13114          MORELLI LAW FIRM, PLLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WELLS, JEANNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02082          ONDERLAW, LLC

WELLS, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07744          ONDERLAW, LLC

WELLS, LUCIENNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05315          POTTS LAW FIRM

WELLS, MARCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01538          BURNS CHAREST LLP

WELLS, MARCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01538          BURNS CHAREST LLP

WELLS, MARGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07993          BURNS CHAREST LLP

WELLS, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05446          WILLIAMS HART LAW FIRM

WELLS, MELLONY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17009          ONDERLAW, LLC

WELLS, NAOMI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11290          SIMMONS HANLY CONROY

WELLS, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03215          GORI JULIAN & ASSOCIATES, P.C.

WELLS, PEGGY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06479          LAW OFF OF ROGER 'ROCKY' WALTON, PC

WELLS, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02443          ONDERLAW, LLC

WELLS, RHONDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002603-20         GOLOMB & HONIK, P.C.

WELLS, ROSA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11883          WAGSTAFF & CARTMELL, LLP

WELLS, RUTH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02856          ONDERLAW, LLC

WELLS, SAMANTHA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         ONDERLAW, LLC

WELLS, SAMANTHA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         PORTER & MALOUF, PA

WELLS, SAMANTHA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09326-01         THE SMITH LAW FIRM, PLLC

WELLS, SHANNON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16110           ANDRUS WAGSTAFF, P.C.

WELLS, SHIRLEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11051          NACHAWATI LAW GROUP

WELLS, SONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11141           ASHCRAFT & GEREL

WELLS, SONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11141          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WELLS, TEMPLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21567          ONDERLAW, LLC

WELLS, TERRI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19893          NACHAWATI LAW GROUP

WELLS, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08500          CHILDERS, SCHLUETER & SMITH, LLC

WELLS-ONYIOHA, DEBRA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07137           HEYGOOD, ORR & PEARSON

WELSCH, REGINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00019          ONDERLAW, LLC

WELSH, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18850          ONDERLAW, LLC

WELSH, DANA                      CA - SUPERIOR COURT - STANISLAUS COUNTY      CV-20-005643            ONDERLAW, LLC

WELSH, DANA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00829          ONDERLAW, LLC

WELSH, DANA                      CA - SUPERIOR COURT - STANISLAUS COUNTY       CV-20-005643           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WELSH, MARISELA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00630          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WELSH, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02467          ONDERLAW, LLC




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             Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WELTER, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08164          MORGAN & MORGAN, P.A.

WELTON, RENEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15516          ASHCRAFT & GEREL, LLP

WELTON, RENEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15516          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WELTON, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04306          GOLDENBERGLAW, PLLC

WENDELL, KANDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06689          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WENDOVER, KERRIANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10582          NACHAWATI LAW GROUP

WENDT, JOY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20169          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WENDY COOK                      FEDERAL - MDL                                 3:21-CV-18076          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WENDY DUBE                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02713          ASHCRAFT & GEREL, LLP

WENDY DUBE                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02713          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WENGERT, KRISTINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11868          POTTS LAW FIRM

WENKER, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00704           DIAMOND LAW

WENSKOVITCH, KATHLEEN           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18974           NACHAWATI LAW GROUP

WENTURINE, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02783          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WENZELL, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09241          ONDERLAW, LLC

WERCKMAN, BONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00835          ONDERLAW, LLC

WERHAN, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18266          NACHAWATI LAW GROUP

WERKHEISER, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14779          LENZE LAWYERS, PLC

WERKHEISER, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14779          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WERMONT, MARCIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16783          DALIMONTE RUEB, LLP

WERNECKE, OLIVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12588           ONDERLAW, LLC

WERNER, BARBARA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1800-14           PORTER & MALOUF, PA

WERNER, BARBARA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1800-14           SEEGER WEISS LLP

WERNER, BARBARA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1800-14           THE SMITH LAW FIRM, PLLC

WERNER, FRED                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        2122-CC09037           THE DAILEY LAW FIRM

WERNER, FRED                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        2122-CC09037           THE DAILEY LAW FIRM

WERNER, MARILYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12231          ONDERLAW, LLC

WERREN, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13726          DANIEL & ASSOCIATES, LLC

WERSEL, TRACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10104          ONDERLAW, LLC

WERT, GENEVIEVE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06624          ONDERLAW, LLC

WERTH, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09112          GOLDENBERGLAW, PLLC

WERTHEIMER, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13028          EISENBERG, ROTHWEILER, WINKLER

WERTHER, CAROLINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08735          LEVY BALDANTE FINNEY & RUBENSTEIN




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WERY, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15786          THE MILLER FIRM, LLC

WESAW, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16034          ASHCRAFT & GEREL, LLP

WESAW, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16034          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WESCOTT, ANNETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09597          WILLIAMS HART LAW FIRM

WESEMAN, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01119          STEWART & STEWART

WESLEY, BLOSSOM                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11157          NACHAWATI LAW GROUP

WESLEY, BRIGITTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01200          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WESLEY, DEMETRIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18945          NACHAWATI LAW GROUP

WESLEY, HALEY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001116-21         GOLOMB & HONIK, P.C.

WESLEY, HATTIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11474          THE DILORENZO LAW FIRM, LLC

WESLEY, JANIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09022          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WESLEY, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12488          MORELLI LAW FIRM, PLLC

WESLEY-SWEENEY, SPRING            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000018-21         ARNOLD & ITKIN LLP

WESLEY-SWEENEY, SPRING            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000018-21         COHEN, PLACITELLA & ROTH

WESSEL, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12976          FLETCHER V. TRAMMELL

WESSELS, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19074          NACHAWATI LAW GROUP

WESSLING, JULIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01036          ONDERLAW, LLC

WEST, AMY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12768          ASHCRAFT & GEREL

WEST, ANTIONETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06695          ONDERLAW, LLC

WEST, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01486          MORRIS BART & ASSOCIATES

WEST, BESSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19900          ONDERLAW, LLC

WEST, BRITTANY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08599          ONDERLAW, LLC

WEST, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21877          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEST, CAROLE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11510          ONDERLAW, LLC

WEST, DONNEL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09815          FLETCHER V. TRAMMELL

WEST, DORIS                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12719          ONDERLAW, LLC

WEST, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19375          JOHNSON LAW GROUP

WEST, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03422          ONDERLAW, LLC

WEST, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13002          POTTS LAW FIRM

WEST, EVELYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07781          ONDERLAW, LLC

WEST, GINGIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13659          NACHAWATI LAW GROUP

WEST, HEIDI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12824          ONDERLAW, LLC

WEST, JANE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08659          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEST, JANICE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10874          ONDERLAW, LLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WEST, JULIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17577          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WEST, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01148          GORI JULIAN & ASSOCIATES, P.C.

WEST, LISA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00691          JOHNSON LAW GROUP

WEST, LUCIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01620          ONDERLAW, LLC

WEST, MAGDALENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11900          NACHAWATI LAW GROUP

WEST, MARCIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03572          ONDERLAW, LLC

WEST, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08850          ONDERLAW, LLC

WEST, MELANIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00758          ONDERLAW, LLC

WEST, MYRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02604          JOHNSON BECKER, PLLC

WEST, NANCY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

WEST, NANCY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

WEST, NANCY                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            THE SMITH LAW FIRM, PLLC

WEST, NANCY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002913-18         WAGSTAFF & CARTMELL, LLP

WEST, NANCY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10873          WAGSTAFF & CARTMELL, LLP

WEST, PAMELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01793          WAGSTAFF & CARTMELL, LLP

WEST, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11018          ONDERLAW, LLC

WEST, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04776          ONDERLAW, LLC

WEST, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00301          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEST, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11184          ONDERLAW, LLC

WEST, SCELITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13797          FLETCHER V. TRAMMELL

WEST, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10727          GACOVINO, LAKE & ASSOCIATES

WEST, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07999          ONDERLAW, LLC

WEST, THERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04596          FLETCHER V. TRAMMELL

WEST, TRESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09018          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEST, VICCI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02989          ONDERLAW, LLC

WEST, VIRGINIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12729          SILL LAW GROUP, PLLC

WEST, WILLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11461          NACHAWATI LAW GROUP

WESTBERG, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WESTBERG, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15435          LENZE LAWYERS, PLC

WESTBERG, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WESTBERG, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15435           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WESTBERG, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WESTBERRY, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00096          ASHCRAFT & GEREL

WESTBERRY, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00096          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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             Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WESTBROOK, CYNTHIA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002512-20         GOLOMB & HONIK, P.C.

WESTBROOK, ELIZABETH            GA - STATE COURT OF MUSCOGEE COUNTY          SC2021CV000562          BARNES LAW GROUP, LLC

WESTBROOK, ELIZABETH            GA - STATE COURT OF MUSCOGEE COUNTY          SC2021CV000562          BARNES LAW GROUP, LLC

WESTBROOK, ELIZABETH            GA - STATE COURT OF MUSCOGEE COUNTY          SC2021CV000562          CHEELEY LAW GROUP

WESTBROOK, SHAUNTEL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01299           SKIKOS, CRAWFORD, SKIKOS & JOSEPH

WESTBROOKS, DELORES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03063          THE MILLER FIRM, LLC

WEST-BROWN, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13193           ONDERLAW, LLC

WESTERFIELD, ELVA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05395          JOHNSON LAW GROUP

WESTERMAN, MARIANNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13128          ONDERLAW, LLC

WESTFALL, CHANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08396          ONDERLAW, LLC

WESTFALL, DARLENA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15909          THE SEGAL LAW FIRM

WESTGATE, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07266          WAGSTAFF & CARTMELL, LLP

WESTHOFF, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09396          JOHNSON LAW GROUP

WESTLING, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13478          THE MILLER FIRM, LLC

WESTMAN, FREDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01282          JOHNSON LAW GROUP

WESTMARK, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12688           ONDERLAW, LLC

WESTMORELAND, ANGELA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14114          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WESTMORELAND, SHARON            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09086          ARNOLD & ITKIN LLP

WESTON, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03850          ONDERLAW, LLC

WESTON, MELISSA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11050          JOHNSON LAW GROUP

WESTPHALE, NANCY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05790          ONDERLAW, LLC
WESTRATE, PAULA A & WESTRATE,
                                NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-02604-19AS       WEITZ & LUXENBERG
DANIEL
WETHERALD, DEBBIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06690           ONDERLAW, LLC

WETSEL, THERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12232          ONDERLAW, LLC

WETTERSTEN, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00432          ASHCRAFT & GEREL

WETTERSTEN, NANCY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00432          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WEXLER, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08039           THE LAW OFFICES OF SEAN M CLEARY

WEYAND, JANET                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WEYANT, DOROTHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17084          JOHNSON BECKER, PLLC

WEYER, ANGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15750           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WEYER, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16876          JOHNSON BECKER, PLLC

WEYH, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18630          DRISCOLL FIRM, P.C.

WEZENSKY, CINDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10441           NACHAWATI LAW GROUP

WHALEN, CATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01356          JOHNSON LAW GROUP



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           Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

WHALEN, DENA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10732          NACHAWATI LAW GROUP

WHALEN, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06716          THE SIMON LAW FIRM, PC

WHALEN, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19148          NACHAWATI LAW GROUP

WHALEY, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06221          ONDERLAW, LLC

WHALEY, ELAINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10818          ONDERLAW, LLC

WHALEY, GRACE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13716          JOHNSON LAW GROUP

WHALEY, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19753          ONDERLAW, LLC

WHALEY, STACY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02685          ONDERLAW, LLC

WHALEY, VICKIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11355          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WHALING, DEBORAH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14359          WAGSTAFF & CARTMELL, LLP

WHARRY, ALYSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20344          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHATLEY, NORMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07326          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHATLEY, PAULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03425          ONDERLAW, LLC

WHATMOUGH, LURA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09007          THE MILLER FIRM, LLC

WHEATON, HELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14250          ASHCRAFT & GEREL, LLP

WHEATON, HELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14250          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHEATON, TAMRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07830           ASHCRAFT & GEREL

WHEATON, TYRONE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15534          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHEELER, BONNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03972          ONDERLAW, LLC

WHEELER, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19565          ASHCRAFT & GEREL, LLP

WHEELER, BRENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19565          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHEELER, CANDI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12427          ONDERLAW, LLC

WHEELER, CHRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17166          CELLINO & BARNES, P.C.

WHEELER, DOLORES              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003036-20         GOLOMB & HONIK, P.C.

WHEELER, FAYE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03702          JOHNSON LAW GROUP

WHEELER, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WHEELER, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15403           LENZE LAWYERS, PLC

WHEELER, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           LENZE LAWYERS, PLC

WHEELER, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15403           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WHEELER, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WHEELER, KENAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00790          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHEELER, KENAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00790          GOLDENBERGLAW, PLLC

WHEELER, KENAH                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11681            ONDERLAW, LLC

WHEELER, KENAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00790          ONDERLAW, LLC



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           Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

WHEELER, KENAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00790          PORTER & MALOUF, PA

WHEELER, KENAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00790          THE SMITH LAW FIRM, PLLC

WHEELER, LEAANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERG HELLER & ANTOGNOLI, PC

WHEELER, LEAANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

WHEELER, LEAANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

WHEELER, LEAANN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           THE SMITH LAW FIRM, PLLC

WHEELER, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04678          JOHNSON LAW GROUP

WHEELER, NANCY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13336          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHEELER, SAMEKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08172          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

WHEELER, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07514          ASHCRAFT & GEREL, LLP

WHEELER, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07514          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHEELER, SHELLI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09675          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHEELER, TRACEY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

WHEELER, TRACEY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

WHEELER, TRACEY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

WHEELER, TRACEY                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           THE SMITH LAW FIRM, PLLC

WHEELER, TWILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19686          NACHAWATI LAW GROUP

WHEELER, VICKIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17117          GORI JULIAN & ASSOCIATES, P.C.

WHEET, GLADIES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-02943           BARRETT LAW GROUP, P.A.

WHEET, GLADIES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BURNS CHAREST LLP

WHEET, GLADIES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          BURNS CHAREST LLP

WHEET, GLADIES                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000211-18         COHEN, PLACITELLA & ROTH

WHEET, GLADIES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02943          GOLDENBERG HELLER & ANTOGNOLI, PC

WHELAN, CHERYL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13498          ONDERLAW, LLC
WHELAN, JOHNNA ESTATE OF J M
                                  IL - CIRCUIT COURT - MADISON COUNTY           21-L-0714              NACHAWATI LAW GROUP
VANHOOSE
WHELAN, KRISTINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10202          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHELAND, CLAUDIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHELAND, CLAUDIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

WHELAND, CLAUDIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

WHELAND, CLAUDIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

WHELAND, CLAUDIA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            THE SMITH LAW FIRM, PLLC

WHELEN, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00500          WILLIAMS HART LAW FIRM

WHELESS, DARLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11369          SANDERS VIENER GROSSMAN, LLP




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              Claimant Name                          State Filed                        Docket Number                            Plaintiff Counsel

WHELESS, ROSE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11877          NACHAWATI LAW GROUP

WHERLEY, VICTORIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18279          NACHAWATI LAW GROUP

WHETSEL, BRANDON                   MO - CIRCUIT COURT - JACKSON COUNTY          1816-CV14915            FLINT LAW FIRM LLC

WHETSEL, TONYA ESTATE OF B WHETSEL MO - CIRCUIT COURT - JACKSON COUNTY           1816-CV14915           FLINT LAW FIRM LLC

WHETSTONE, RAECHEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07634           ONDERLAW, LLC

WHICKER, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08740          BURNS CHAREST LLP

WHICKER, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08740          BURNS CHAREST LLP

WHIGHAM, NELL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13480           FLETCHER V. TRAMMELL

WHILE, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00744          JOHNSON LAW GROUP

WHILLANS, MICKEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09661          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHIPPLE, CATHLEEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19083          NACHAWATI LAW GROUP

WHISENANT, JOYCE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002956-15         SEEGER WEISS LLP

WHISENHUNT, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18071          MORELLI LAW FIRM, PLLC

WHISPEL, JANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13743          CORRIE YACKULIC LAW FIRM, PLLC

WHITACRE, JANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17844          ARNOLD & ITKIN LLP

WHITACRE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09644          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITAKER, BOBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04834          LEVIN SIMES ABRAMS LLP

WHITAKER, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14212           DRISCOLL FIRM, P.C.

WHITAKER, CONSTANCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19650          NACHAWATI LAW GROUP

WHITAKER, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10836          ASHCRAFT & GEREL

WHITAKER, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09638          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITAKER, HELEN                    FL - CIRCUIT COURT - BROWARD COUNTY          CACE17016664            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITAKER, HELEN                    FL - CIRCUIT COURT - BROWARD COUNTY          CACE17016664            KELLEY UUSTAL, PLC

WHITAKER, JANICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14415           ASHCRAFT & GEREL

WHITAKER, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11430           BURNS CHAREST LLP

WHITAKER, MARTHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09977          WATERS & KRAUS, LLP

WHITAKER, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10716          CELLINO & BARNES, P.C.

WHITAKER, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19558          ASHCRAFT & GEREL, LLP

WHITAKER, WANDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19558          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITCOMB, CHRISTINA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03010           ONDERLAW, LLC

WHITCOME, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13616           ROSS FELLER CASEY, LLP

WHITE, ALICIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10986          ASHCRAFT & GEREL, LLP

WHITE, ALMA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18738          MCSWEENEY/LANGEVIN, LLC

WHITE, AMIE                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11208           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WHITE, AMIE                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002399-20         GOLOMB & HONIK, P.C.

WHITE, AMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02991          CHILDERS, SCHLUETER & SMITH, LLC

WHITE, ANDREA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01883          JOHNSON LAW GROUP

WHITE, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15983          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WHITE, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09530          ONDERLAW, LLC

WHITE, ANNETTE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12121           FLETCHER V. TRAMMELL

WHITE, AUDREY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12328           ASHCRAFT & GEREL

WHITE, AUDREY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12328          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13370          ASHCRAFT & GEREL, LLP

WHITE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14257          ASHCRAFT & GEREL, LLP

WHITE, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14257          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, BECKY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13116          MORELLI LAW FIRM, PLLC

WHITE, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05758          ONDERLAW, LLC

WHITE, BETTY SIGMON              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12339          FRAZER LAW LLC

WHITE, BONITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12553          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, BRENDA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L002398-20          GOLOMB & HONIK, P.C.

WHITE, CAROL                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-005771-21        LEVY KONIGSBERG LLP

WHITE, CAROL                     NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-005771-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

WHITE, CAROLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09894          ONDERLAW, LLC

WHITE, CAROLINE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01491           ONDERLAW, LLC

WHITE, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07831          ASHCRAFT & GEREL

WHITE, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07831          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13492           FLETCHER V. TRAMMELL

WHITE, CHARLOTTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08349          ONDERLAW, LLC

WHITE, CONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00573          JOHNSON BECKER, PLLC

WHITE, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09634          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18285          NACHAWATI LAW GROUP

WHITE, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11180          ONDERLAW, LLC

WHITE, DAISY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, DAISY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           GOLDENBERGLAW, PLLC

WHITE, DAISY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC10545            ONDERLAW, LLC

WHITE, DAISY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           PORTER & MALOUF, PA

WHITE, DAISY                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC10545           THE SMITH LAW FIRM, PLLC




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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

WHITE, DANA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-10578           DAVIS, BETHUNE & JONES, L.L.C.

WHITE, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17335          ASHCRAFT & GEREL, LLP

WHITE, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17335          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08994          MOTLEY RICE, LLC

WHITE, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12925          THE MILLER FIRM, LLC

WHITE, DORIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02517          ARNOLD & ITKIN LLP

WHITE, DORRIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02330          CELLINO & BARNES, P.C.

WHITE, EDITH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04641          ONDERLAW, LLC

WHITE, EMMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20689          ONDERLAW, LLC

WHITE, ERICA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18673          THE SEGAL LAW FIRM

WHITE, EVA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11972          ONDERLAW, LLC

WHITE, FRANKIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06743          ONDERLAW, LLC

WHITE, GASECENER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12598           BARRETT LAW GROUP, P.A.

WHITE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09376          ARNOLD & ITKIN LLP

WHITE, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08774          ONDERLAW, LLC

WHITE, JANIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14333          MORELLI LAW FIRM, PLLC

WHITE, JAYNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06631          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11423           KLINE & SPECTER, P.C.

WHITE, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13130          ONDERLAW, LLC

WHITE, JERRY                      NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-006339-20AS      WEITZ & LUXENBERG

WHITE, JILL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03769          ONDERLAW, LLC

WHITE, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11303           ASHCRAFT & GEREL

WHITE, JUANITA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12466          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WHITE, KAREN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03267          ONDERLAW, LLC

WHITE, KATHLEEN                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002834-20         GOLOMB & HONIK, P.C.

WHITE, KERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05723          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, KIMBERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17681          ONDERLAW, LLC

WHITE, KRISTEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04344          ONDERLAW, LLC

WHITE, LAKESHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14043           ONDERLAW, LLC

WHITE, LASHONDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04794          ONDERLAW, LLC

WHITE, LAURIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18017          ASHCRAFT & GEREL

WHITE, LAURIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18017          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, LEIGH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01455          ASHCRAFT & GEREL




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WHITE, LEIGH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01455          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, LILLIAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09032          WATERS & KRAUS, LLP

WHITE, LILLIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08604          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12925          DALIMONTE RUEB, LLP

WHITE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09631          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, MANDI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04774           THE MILLER FIRM, LLC

WHITE, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18290          NACHAWATI LAW GROUP

WHITE, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10423           LENZE KAMERRER MOSS, PLC

WHITE, MARQUITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05968           ONDERLAW, LLC

WHITE, MARSHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03018          REICH & BINSTOCK, LLP

WHITE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WHITE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15814          LENZE LAWYERS, PLC

WHITE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WHITE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02629          ONDERLAW, LLC

WHITE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09209          ONDERLAW, LLC

WHITE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15814           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WHITE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WHITE, MELANIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05249          ONDERLAW, LLC

WHITE, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15994          ARNOLD & ITKIN LLP

WHITE, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14260          ARNOLD & ITKIN LLP

WHITE, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15541          THE MILLER FIRM, LLC

WHITE, MERRIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL_L-002514-20         GOLOMB & HONIK, P.C.

WHITE, MICHELLE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002069-21         GOLOMB & HONIK, P.C.

WHITE, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14296          ANDRUS WAGSTAFF, P.C.

WHITE, MONICA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10201          FLETCHER V. TRAMMELL

WHITE, NADIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16842          THE MILLER FIRM, LLC

WHITE, NANCY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002201-20         GOLOMB & HONIK, P.C.

WHITE, NATALIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05571          JOHNSON LAW GROUP

WHITE, NINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10197           ROSS FELLER CASEY, LLP

WHITE, OMA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08021          ONDERLAW, LLC

WHITE, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-02177          JOHNSON LAW GROUP

WHITE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15050           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19190          MOTLEY RICE, LLC

WHITE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18292          NACHAWATI LAW GROUP



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              Claimant Name                            State Filed                       Docket Number                              Plaintiff Counsel

WHITE, PATRICIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14979          NACHAWATI LAW GROUP

WHITE, PAULA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10898          NACHAWATI LAW GROUP

WHITE, PHYLLIS                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

WHITE, PHYLLIS                      MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

WHITE, PHYLLIS                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

WHITE, PHYLLIS                      MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

WHITE, REBECCA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08326          ONDERLAW, LLC

WHITE, REGINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13161           JOHNSON LAW GROUP

WHITE, REGINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13161          LEVIN SIMES LLP

WHITE, RITA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09527          SANDERS VIENER GROSSMAN, LLP

WHITE, ROBIN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12452          NAPOLI SHKOLNIK, PLLC

WHITE, ROSALYN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12270          THE DIAZ LAW FIRM, PLLC

WHITE, ROSCOE                       NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-01956-18AS       WEITZ & LUXENBERG

WHITE, ROSE                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18305          NACHAWATI LAW GROUP

WHITE, ROSLYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15349          JOHNSON LAW GROUP

WHITE, RUBY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11872          NACHAWATI LAW GROUP

WHITE, SANDRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09085          ONDERLAW, LLC

WHITE, SCARLETT                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16917          ONDERLAW, LLC

WHITE, SHARON                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11584          ASHCRAFT & GEREL, LLP

WHITE, SHEENA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11322          HART MCLAUGHLIN & ELDRIDGE

WHITE, SHERRY AND WHITE, DANIEL D   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-00704-20AS       WEITZ & LUXENBERG

WHITE, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09491          ASHCRAFT & GEREL, LLP

WHITE, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18296          NACHAWATI LAW GROUP

WHITE, SUSAN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05615          ONDERLAW, LLC

WHITE, SYLVIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12957          NAPOLI SHKOLNIK, PLLC

WHITE, TABRIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01501          BURNS CHAREST LLP

WHITE, TABRIL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01501          BURNS CHAREST LLP

WHITE, TAMICA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06224          ONDERLAW, LLC

WHITE, TARA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01986          FLETCHER V. TRAMMELL

WHITE, TENEILLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09309          ONDERLAW, LLC

WHITE, THERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14823          JOHNSON BECKER, PLLC

WHITE, VADA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WHITE, VADA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WHITE, VADA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WHITE, VANESSA BARNETT         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10979          FLETCHER V. TRAMMELL

WHITE, VICKIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12554          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, YULONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12484          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITE, YVETTE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003659-20         GOLOMB & HONIK, P.C.

WHITE, ZIPPORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09781          NAPOLI SHKOLNIK, PLLC

WHITECOTTON, BRANDY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11028          JOHNSON LAW GROUP

WHITECOTTON, BRANDY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11028          LEVIN SIMES LLP

WHITED, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11854          HENINGER GARRISON DAVIS, LLC

WHITEFACE, DEANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18315           NACHAWATI LAW GROUP

WHITEFIELD, VELMA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13632          LAW OFFICE OF CHARLES H JOHNSON, PA

WHITEHEAD, AMELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21318          KIESEL LAW, LLP

WHITEHEAD, AMELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21318          LAW OFFICE OF HAYTHAM FARAJ

WHITEHEAD, AMELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21318           MARTINIAN & ASSOCIATES, INC.

WHITEHEAD, AMELIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19061          NACHAWATI LAW GROUP

WHITEHEAD, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11513          NACHAWATI LAW GROUP

WHITEHEAD, DIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22071           CELLINO & BARNES, P.C.

WHITEHEAD, HATTIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02633          THORNTON LAW FIRM LLP

WHITEHEAD, JOYCE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01504           ONDERLAW, LLC

WHITEHEAD, MARILYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09175           ONDERLAW, LLC

WHITE-HENDERSON, TRENICA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WHITE-HENDERSON, TRENICA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15536          LENZE LAWYERS, PLC

WHITE-HENDERSON, TRENICA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WHITE-HENDERSON, TRENICA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15536           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WHITE-HENDERSON, TRENICA       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WHITEHURST, ADRIANE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17914           SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

WHITEHURST, MARY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09778          GOLOMB SPIRT GRUNFELD PC

WHITE-JOHNSON, ANGELIQUE       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08154          ONDERLAW, LLC

WHITELEY, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16830          JOHNSON LAW GROUP

WHITELY, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18939          LENZE KAMERRER MOSS, PLC

WHITEMAN, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18321          NACHAWATI LAW GROUP

WHITENER, BETTIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14157          WATERS & KRAUS, LLP

WHITERS, CARLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10105          ONDERLAW, LLC

WHITESELL, AMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10411          ONDERLAW, LLC

WHITESIDE, KELLY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12528          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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           Claimant Name                           State Filed                        Docket Number                             Plaintiff Counsel

WHITESIDE, ROBBIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20284          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITESIDE, ROLANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-10204           FLETCHER V. TRAMMELL

WHITFIELD, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04755           THE MILLER FIRM, LLC

WHITFIELD, SONJA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11442          POTTS LAW FIRM

WHITFIELD, VICTORIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12530          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITFIELD-GILMORE, NAKIA         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10149           GOLOMB SPIRT GRUNFELD PC

WHITFILED, ELLEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02252          JOHNSON BECKER, PLLC

WHITLATCH, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17942           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITLEY, CATHERINE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-335-18            DARCY JOHNSON DAY, P.C.

WHITLEY, CONSTANCE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13343          ARNOLD & ITKIN LLP

WHITLEY, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07154          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITLEY, RHONDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02367          DAVIS, BETHUNE & JONES, L.L.C.

WHITLEY, SUZANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05509          ONDERLAW, LLC

WHITLEY, WILMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13117          MORELLI LAW FIRM, PLLC

WHITLOCK, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11269          NACHAWATI LAW GROUP

WHITLOCK, RHONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01830          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WHITMAN, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09224          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITMAN, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09223          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITMAN, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09381          HOLLAND LAW FIRM

WHITMAN, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02524          MORELLI LAW FIRM, PLLC

WHITMER, LILLIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07746           ONDERLAW, LLC

WHITMIRE, JERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01330          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITMON, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12329           ASHCRAFT & GEREL

WHITMON, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12329          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITMORE, ELLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12967          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITMORE, EVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09447          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITNEY, KAREN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09090          ONDERLAW, LLC

WHITNEY, LILLIAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05877          POTTS LAW FIRM

WHITNEY, LORI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06355          WEINSTEIN CAGGIANO PLLC
WHITNEY, SANDRA M AND WHITNEY,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-004409-20AS      WEITZ & LUXENBERG
WILLIAM
WHITSON, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06134          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITSON, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09823          FLETCHER V. TRAMMELL

WHITSON, KATHLEEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07309           ONDERLAW, LLC




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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WHITSON, MICHELLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18489           ONDERLAW, LLC

WHITSON, SYLVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11977           MORRIS BART & ASSOCIATES

WHITT, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14396          BISNAR AND CHASE

WHITT, EREKA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18871          MOTLEY RICE, LLC

WHITT, MOCHEET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18336          NACHAWATI LAW GROUP

WHITT, MOCHEET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08000          ONDERLAW, LLC

WHITT, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07406          ONDERLAW, LLC

WHITT, TRACEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12469           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WHITTAKER, DARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08570           ONDERLAW, LLC

WHITTED, FRANCIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16359          THE SEGAL LAW FIRM

WHITTED, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17046          JOHNSON LAW GROUP

WHITTED, LATOYA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10873          NACHAWATI LAW GROUP

WHITTEN, JEANNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09451          ONDERLAW, LLC

WHITTEN, JOVANNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10106          ONDERLAW, LLC

WHITTEN, JULIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08506          ONDERLAW, LLC

WHITTEN, LORELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19748          ONDERLAW, LLC

WHITTEN, TAMMY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12617          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WHITTIER, PRISCILLA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10342          ONDERLAW, LLC

WHITTINGTON, GLENDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09565          ONDERLAW, LLC

WHITTINGTON, KATHYRINE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09888           ONDERLAW, LLC

WHITTINGTON, LAWANDA           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2851-15           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHITTINGTON, LAWANDA           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2851-15           PORTER & MALOUF, PA

WHITTINGTON, LAWANDA           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2851-15           SEEGER WEISS LLP

WHITTINGTON, LAWANDA           NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2851-15           THE SMITH LAW FIRM, PLLC

WHITTINGTON, NAOMI             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18341          NACHAWATI LAW GROUP

WHITTINGTON, RAQUELA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10912          NACHAWATI LAW GROUP

WHITTLE, YOULANDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-13142           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WHITTLEY, MARGARET             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02145           ONDERLAW, LLC

WHITTLEY, MISTY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02626          ONDERLAW, LLC

WHITTMORE, JOAN                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            ONDERLAW, LLC

WHITTMORE, JOAN                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

WHITTMORE, JOAN                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           THE SMITH LAW FIRM, PLLC

WHITTY, TAMMY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01373          ONDERLAW, LLC

WHITWORTH, DORINDA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04762           ONDERLAW, LLC



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             Claimant Name                          State Filed                        Docket Number                             Plaintiff Counsel

WHOBREY, BELINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13761          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHOBREY, SARAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08996          MOTLEY RICE, LLC

WHOLL, MARLENE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13327          DAVIS, BETHUNE & JONES, L.L.C.

WHRITENOUR, KRISTINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12556           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WHYTE, GASETA EST OF DONALD WHYTE NY - SUPREME COURT - NYCAL                    190286/2019            LEVY KONIGSBERG LLP

WHYTE, RUTHLIN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08160          ONDERLAW, LLC

WIANT, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08980          WATERS & KRAUS, LLP

WIBBENMEYER, PATRICIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17451          HOLLAND LAW FIRM

WIBLE, GREGORY                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WICHTL, CORRINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02199          FLETCHER V. TRAMMELL

WICKER, NICKOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07564          ONDERLAW, LLC

WICKER, SHERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19179          LEVIN SIMES ABRAMS LLP

WICKERSHEIMER, JULIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08807           ONDERLAW, LLC

WICKLER, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13499          ONDERLAW, LLC

WICKLUND, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04055          ONDERLAW, LLC

WICKMAN, LISETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10449          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WICKS, ANTRENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00648          BURNS CHAREST LLP

WICKS, ANTRENA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00648          BURNS CHAREST LLP

WICKS, KIM                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19215           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WICKSTROM, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WICKSTROM, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16089          LENZE LAWYERS, PLC

WICKSTROM, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WICKSTROM, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16089          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WICKSTROM, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WICKWARE, TIFFANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12520           ONDERLAW, LLC

WIDEL, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14742          LENZE LAWYERS, PLC

WIDEL, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14742          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WIDEMAN, JOSEPHINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12595          WILLIAMS HART LAW FIRM

WIDEN-SALPETER, SUSAN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09426          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WIDNER, RACHEL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09839          ONDERLAW, LLC

WIEBERG, JUDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04060          ONDERLAW, LLC

WIEBOLD, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14311          WATERS & KRAUS, LLP
                                  CA - SUPERIOR COURT - CITY AND COUNTY OF
WIEDRICH, PEGGY                                                                RIC1720692              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                                  RIVERSIDE, PALM SPRINGS




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              Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

WIENCH, JULIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15772          SIMMONS HANLY CONROY

WIENCZAK, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17861          ASHCRAFT & GEREL, LLP

WIENCZAK, CRYSTAL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17861          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WIENER, RACHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11251          ASHCRAFT & GEREL

WIER, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02326          ONDERLAW, LLC

WIERSIG, LAVON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14238          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WIESE, DELORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09418          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WIESELER, JOAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16463          DAVIS, BETHUNE & JONES, L.L.C.

WIESNER, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17433          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WIEST, DEBBIE                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002401-20         GOLOMB & HONIK, P.C.

WIGERSMA, ANGELIQUE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18692          JOHNSON LAW GROUP

WIGGETT, CHERYL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06692          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WIGGINS, ADELE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-004066-20         GOLOMB & HONIK, P.C.

WIGGINS, ANNETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06126          ONDERLAW, LLC

WIGGINS, BELINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19670          NACHAWATI LAW GROUP

WIGGINS, BESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11483          NACHAWATI LAW GROUP

WIGGINS, JENNIFER                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08370          THE MILLER FIRM, LLC

WIGGINS, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12101           BURNS CHAREST LLP

WIGGINS, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12101           BURNS CHAREST LLP

WIGGINS, LISA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20233          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WIGGINS, MATTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03200          ONDERLAW, LLC

WIGGINS, MIAVA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03622           JOHNSON LAW GROUP

WIGGINS, NECIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13623          THE MILLER FIRM, LLC

WIGGINS, NINNIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05696          ONDERLAW, LLC

WIGGINS, PATSY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14561          DAVIS, BETHUNE & JONES, L.L.C.

WIGGINS, SHANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02637          ONDERLAW, LLC

WIGGINS, SHARON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-20494           JOHNSON LAW GROUP

WIGGINS, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01061          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WIGGINS-BATES, JAYMIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18346          NACHAWATI LAW GROUP

WIGGLE, ROSALIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16461          CELLINO & BARNES, P.C.

WIGGLESWORTH, SUZANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15476           ONDERLAW, LLC

WIGGLESWORTH, SUZANNE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15476           ONDERLAW, LLC

WIGGS, ANGILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16313          JOHNSON LAW GROUP

WIGINTON, TERRI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09752          ONDERLAW, LLC



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               Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

WIIKI, JANET                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08200          ONDERLAW, LLC

WIINIKAINEN, DEBRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12497          BARRETT LAW GROUP, P.A.

WIKSE, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WIKSE, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14946           LENZE LAWYERS, PLC

WIKSE, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           LENZE LAWYERS, PLC

WIKSE, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14946          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WIKSE, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILBANKS, JOANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-04817           PARKER WAICHMAN, LLP

WILBANKS, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11881          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILBORN, EMMA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11308          ASHCRAFT & GEREL

WILBORN, RAQUEL                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1082-16           SEEGER WEISS LLP

WILBORN-NOBLE, LUEBERTHA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-04429           ONDERLAW, LLC

WILBOURN, FELICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18355          NACHAWATI LAW GROUP

WILBOURN, KARYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-12270           RHEINGOLD, GIUFFRA RUFFO & PLOTKIN

WILBUR, GRETCHEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11995          ASHCRAFT & GEREL, LLP

WILBURN, BRIGITTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15460          ONDERLAW, LLC

WILBURN, DORIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03502          ONDERLAW, LLC

WILBURN, LISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10199          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILBURN, MELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06857          KIESEL LAW, LLP

WILBURN, MELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06857          MARTINIAN & ASSOCIATES, INC.

WILBURN, MELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-06857           THE LAW OFFICES OF HAYTHAM FARAJ

WILBURN, MELISSA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02308           ONDERLAW, LLC

WILBURN, PAULA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02929          THE BENTON LAW FIRM, PLLC

WILBURN, VALERIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18092          NACHAWATI LAW GROUP

WILCHER, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17409           ONDERLAW, LLC

WILCHER, ROSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07435          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILCOX, BETTY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08533          THE MILLER FIRM, LLC

WILCOX, LACEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08274          ONDERLAW, LLC

WILCOX, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15082          WATERS & KRAUS, LLP

WILCOX, SARAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17683          ONDERLAW, LLC

WILCOX, TERESA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00468          MUELLER LAW PLLC

WILD, RANDY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02221          JOHNSON LAW GROUP

WILDA, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21306          ONDERLAW, LLC




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WILDE, DEBBIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14386          NAPOLI SHKOLNIK, PLLC

WILDER, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09603          ASHCRAFT & GEREL

WILDER, ELISE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILDER, ELISE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

WILDER, ELISE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

WILDER, JACQUELINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11782          NACHAWATI LAW GROUP

WILDER, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02152          ONDERLAW, LLC

WILDER, JO                       NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003146-20         GOLOMB & HONIK, P.C.

WILDER, LUBERTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10360          SANDERS VIENER GROSSMAN, LLP

WILDER, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00938          COHEN & MALAD, LLP

WILDEROTTER, JANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-00983           COHEN & MALAD, LLP

WILDEROTTER, JANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-00983          DELISE & HALL

WILDMAN, SHARON                  IL - CIRCUIT COURT - COOK COUNTY              2018-L-1309            CLIFFORD LAW OFFICES, P.C.

WILDMAN, SHARON                  IL - CIRCUIT COURT - COOK COUNTY              2018-L-1309            TAFT STETTINIUS & HOLLISTER LLP

WILDS, SARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19563          GOLDENBERGLAW, PLLC

WILDSTEIN, CLAIRE                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC639264                MORRIS LAW FIRM

WILDSTEIN, CLAIRE                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC639264                POTTS LAW FIRM

WILDSTEIN, CLAIRE                CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC639264                PROVOST UMPHREY LAW FIRM

WILES, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11896          MOTLEY RICE NEW JERSEY LLC

WILES, BERNICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10825          ONDERLAW, LLC

WILES, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09626          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILES, VANESSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19245          FLETCHER V. TRAMMELL

WILEY, CARYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09672          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILEY, CORA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03046          JASON J. JOY & ASSCIATES P.L.L.C.

WILEY, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10773          ASHCRAFT & GEREL, LLP

WILEY, DORIS                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06252          ONDERLAW, LLC

WILEY, EVI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03942          ONDERLAW, LLC

WILEY, JAMES                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WILEY, JAMES                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WILEY, LINAE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00935          JOHNSON LAW GROUP

WILEY, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13640          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILEY, MAYBELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18098          NACHAWATI LAW GROUP

WILEY, MICHELLE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04668          WILLIAMS HART LAW FIRM

WILEY, MYRNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07590          ASHCRAFT & GEREL, LLP



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WILEY, MYRNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07590          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILEY, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04879          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WILEY, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18095          NACHAWATI LAW GROUP

WILFORD, ANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07081          ONDERLAW, LLC

WILHELM, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07869          WILLIAMS HART LAW FIRM

WILHELM, EILEEN                  MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILHELM, EILEEN                  MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            ONDERLAW, LLC

WILHELM, EILEEN                  MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            PORTER & MALOUF, PA

WILHELM, EILEEN                  MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00448            THE SMITH LAW FIRM, PLLC

WILHELM, MARALENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04404          WAGSTAFF & CARTMELL, LLP

WILHOITE, LEIGH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01344          DRISCOLL FIRM, P.C.

WILIIAMS, ANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13123          NACHAWATI LAW GROUP

WILK, IRENA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17090          JOHNSON LAW GROUP

WILKERSON, ANGELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15496          HILLIARD MARTINEZ GONZALES, LLP

WILKERSON, ANNETTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19643          CELLINO & BARNES, P.C.

WILKERSON, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05637          HEYGOOD, ORR & PEARSON

WILKERSON, DORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20348          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILKERSON, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILKERSON, GLORIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2274-17           GOLOMB SPIRT GRUNFELD PC

WILKERSON, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05720           ONDERLAW, LLC

WILKERSON, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720          PORTER & MALOUF, PA

WILKERSON, GLORIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05720          THE SMITH LAW FIRM, PLLC

WILKERSON, NISHEA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17466          WEITZ & LUXENBERG

WILKES, ELIZABETH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11718          NACHAWATI LAW GROUP

WILKES, EVA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-312-16            GOLOMB SPIRT GRUNFELD PC

WILKES, EVA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-312-16           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

WILKES, KATIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09944          DICKS & COGLIANSE LLP

WILKES, KATIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09944          ONDERLAW, LLC

WILKES, OLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18982          NAPOLI SHKOLNIK, PLLC

WILKIE, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21211          LENZE KAMERRER MOSS, PLC

WILKINS , FRANCES                IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WILKINS , FRANCES                IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WILKINS, ALBERTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13682          THE BARNES FIRM, P.C.

WILKINS, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17508          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WILKINS, BETTY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08343          FLETCHER V. TRAMMELL

WILKINS, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07992           BURNS CHAREST LLP

WILKINS, JUANITA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07992           BURNS CHAREST LLP

WILKINS, NORDINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18105          NACHAWATI LAW GROUP

WILKINS, REBECCA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13845          DANIEL & ASSOCIATES, LLC

WILKINSON, AMANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02994          JOHNSON LAW GROUP

WILKINSON, AMANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12723          LIAKOS LAW APC

WILKINSON, ARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16930          THE MILLER FIRM, LLC

WILKINSON, CHRISTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02383          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILKINSON, HELEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14118          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILKINSON, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19264          KIESEL LAW, LLP

WILKINSON, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19264          LAW OFFICE OF HAYTHAM FARAJ

WILKINSON, JOSEPHINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19264           MARTINIAN & ASSOCIATES, INC.

WILKINSON, MONICA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09087           ONDERLAW, LLC

WILKINSON, SILVIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13051          DALIMONTE RUEB, LLP

WILKS, HARRIET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17278          BURNS CHAREST LLP

WILKS, KELLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13421          FLETCHER V. TRAMMELL

WILKS, MARCIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08603          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILKS, MERRION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17308          THE CUFFIE LAW FIRM

WILKS, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02827          THE BENTON LAW FIRM, PLLC

WILKSON, CHRISTI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21433          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WILL, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15550          ONDERLAW, LLC

WILLARD, LILY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11992          LENZE KAMERRER MOSS, PLC

WILLARD, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04625          FLETCHER V. TRAMMELL

WILLARD, VELMA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            ONDERLAW, LLC

WILLARD, VELMA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

WILLARD, VELMA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           THE SMITH LAW FIRM, PLLC

WILLBANKS, TINA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12111           THE MILLER FIRM, LLC

WILLBURN, MARKIEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19954          LINVILLE LAW GROUP

WILLETT, AUDREY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLETT, AUDREY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

WILLETT, AUDREY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC




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            Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

WILLETT, AUDREY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            ONDERLAW, LLC

WILLETT, AUDREY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC10042           PORTER & MALOUF, PA

WILLETT, AUDREY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

WILLETT, AUDREY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            THE SMITH LAW FIRM, PLLC

WILLETT, AUDREY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC10042            THE SMITH LAW FIRM, PLLC

WILLETT, CHRISTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14780          LENZE LAWYERS, PLC

WILLETT, CHRISTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14780          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLETT, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00730          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLETT, THERESE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14184          ASHCRAFT & GEREL, LLP

WILLEY, JUNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01638          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLEY, VIRGINIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10826          ONDERLAW, LLC

WILLHOUSE, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12532          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
WILLIAM, RONNING, AND WILLIAM,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-06040-17AS       LEVY KONIGSBERG LLP
ELIZABETH
WILLIAM, SPOONER, IV             NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-02561-20AS        WEITZ & LUXENBERG

WILLIAMS, ABBIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000272-21         GOLOMB & HONIK, P.C.

WILLIAMS, ALBERTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07338          THE ENTREKIN LAW FIRM

WILLIAMS, ALFREDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06370          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLIAMS, ALFREDIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08351           ONDERLAW, LLC

WILLIAMS, ALMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05154          ONDERLAW, LLC

WILLIAMS, AMANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12152          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, ANGELA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1080-16           ROSS FELLER CASEY, LLP

WILLIAMS, ANGELIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15942          NACHAWATI LAW GROUP

WILLIAMS, ANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18717          NACHAWATI LAW GROUP

WILLIAMS, ANITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14032          ONDERLAW, LLC

WILLIAMS, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08829          BARON & BUDD, P.C.

WILLIAMS, ANNIE                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002573-20         GOLOMB & HONIK, P.C.

WILLIAMS, ANNIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17068          THE CUFFIE LAW FIRM

WILLIAMS, ANTRANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16023          JOHNSON LAW GROUP

WILLIAMS, APRIL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03280          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, ARCHENCHALA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05365           ONDERLAW, LLC

WILLIAMS, ARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14119          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, ARNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18548          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLIAMS, AUDRIANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09328           ARNOLD & ITKIN LLP

WILLIAMS, AUGUSTA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12207           ARNOLD & ITKIN LLP



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           Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WILLIAMS, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03577          ASHCRAFT & GEREL, LLP

WILLIAMS, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16280          NACHAWATI LAW GROUP

WILLIAMS, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16229          NACHAWATI LAW GROUP

WILLIAMS, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00736           ONDERLAW, LLC

WILLIAMS, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04127           ONDERLAW, LLC

WILLIAMS, BARBY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07822          SLACK & DAVIS LLP

WILLIAMS, BERNICE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08954          NACHAWATI LAW GROUP

WILLIAMS, BERTINA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12759          ARNOLD & ITKIN LLP

WILLIAMS, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10871          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLIAMS, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07896           HOLLAND LAW FIRM

WILLIAMS, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06994          ONDERLAW, LLC

WILLIAMS, BETTY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17915           WEITZ & LUXENBERG

WILLIAMS, BILLYE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07843          FLETCHER V. TRAMMELL

WILLIAMS, BOBBIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01639          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WILLIAMS, BONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18512          ONDERLAW, LLC

WILLIAMS, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09545          ONDERLAW, LLC

WILLIAMS, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14712          ONDERLAW, LLC

WILLIAMS, BRENDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01535          ONDERLAW, LLC

WILLIAMS, BRYANT              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-16914           NACHAWATI LAW GROUP

WILLIAMS, CANDACE             NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-006499-21        COHEN, PLACITELLA & ROTH

WILLIAMS, CANDACE             NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-006499-21        COHEN, PLACITELLA & ROTH

WILLIAMS, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16981          ARNOLD & ITKIN LLP

WILLIAMS, CAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18778          GOLDSTEIN GRECO PC

WILLIAMS, CAROLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10453          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, CAROLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02209           ONDERLAW, LLC

WILLIAMS, CARRIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06849          ONDERLAW, LLC

WILLIAMS, CATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18011          REICH & BINSTOCK, LLP

WILLIAMS, CATRINA             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002791-21         WEITZ & LUXENBERG

WILLIAMS, CHARLENE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01506           ONDERLAW, LLC

WILLIAMS, CHARLOTTE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06628          ONDERLAW, LLC

WILLIAMS, CHARMINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14399          DALIMONTE RUEB, LLP

WILLIAMS, CHERYL              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10846          NACHAWATI LAW GROUP

WILLIAMS, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19754           ONDERLAW, LLC

WILLIAMS, CHRISTINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19742           ONDERLAW, LLC



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           Claimant Name                        State Filed                        Docket Number                               Plaintiff Counsel

WILLIAMS, CIERRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01828          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, CLARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07056          LAW OFF. OF RICHARD R BARRETT, PLLC

WILLIAMS, CLAUDIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08169          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

WILLIAMS, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00671          CORRIE YACKULIC LAW FIRM, PLLC

WILLIAMS, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00671          GLP ATTORNEYS, P.S., INC.

WILLIAMS, CONNIE              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1156-16           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

WILLIAMS, CONNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05690          REICH & BINSTOCK, LLP

WILLIAMS, CRYSTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17666           ONDERLAW, LLC

WILLIAMS, CRYSTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09407          SANDERS VIENER GROSSMAN, LLP

WILLIAMS, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09594           ONDERLAW, LLC

WILLIAMS, CYNTHIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07773           ONDERLAW, LLC

WILLIAMS, DANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07600          ASHCRAFT & GEREL, LLP

WILLIAMS, DANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07600          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, DANNIELL            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16358           THE MILLER FIRM, LLC

WILLIAMS, DARLENE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07314          ONDERLAW, LLC

WILLIAMS, DAWN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09849          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, DAWNISE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10706          THE BENTON LAW FIRM, PLLC

WILLIAMS, DEANNA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08655          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, DEBBIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08653          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09587          NACHAWATI LAW GROUP

WILLIAMS, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10598           ONDERLAW, LLC

WILLIAMS, DEBORAH             NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002788-21         WEITZ & LUXENBERG

WILLIAMS, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15965          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09165          ONDERLAW, LLC

WILLIAMS, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10356          ONDERLAW, LLC

WILLIAMS, DEBRA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09592          ONDERLAW, LLC

WILLIAMS, DELYNDRIA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13652           FLETCHER V. TRAMMELL

WILLIAMS, DENISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14122          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, DEON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11203          NACHAWATI LAW GROUP

WILLIAMS, DESTANY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17685           ONDERLAW, LLC

WILLIAMS, DIANA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002402-20         GOLOMB & HONIK, P.C.

WILLIAMS, DIANA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12958          NAPOLI SHKOLNIK, PLLC

WILLIAMS, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12978          FLETCHER V. TRAMMELL




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           Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WILLIAMS, DIANE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05556          ONDERLAW, LLC

WILLIAMS, DIANNA              NY - SUPREME COURT - NYCAL                    190364/2016            MEIROWITZ & WASSERBERG, LLP

WILLIAMS, DIANNA L            NY - SUPREME COURT - NYCAL                    190364/2016            MEIROWITZ & WASSERBERG, LLP

WILLIAMS, DONETTA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15572          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

WILLIAMS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08599          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11662          DAVIS, BETHUNE & JONES, L.L.C.

WILLIAMS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17778           NACHAWATI LAW GROUP

WILLIAMS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02512          ONDERLAW, LLC

WILLIAMS, DONNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16036           WEITZ & LUXENBERG

WILLIAMS, DORIS               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20133          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLIAMS, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19827           CELLINO & BARNES, P.C.

WILLIAMS, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08406          MOTLEY RICE, LLC

WILLIAMS, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01276           ONDERLAW, LLC

WILLIAMS, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

WILLIAMS, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12567          THE DIAZ LAW FIRM, PLLC

WILLIAMS, DOROTHY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

WILLIAMS, EDDIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05251          ONDERLAW, LLC

WILLIAMS, ELIZABETH           NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01150           THE DUGAN LAW FIRM, APLC

WILLIAMS, ELLEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19679           NACHAWATI LAW GROUP

WILLIAMS, ELOUISE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13574          DALIMONTE RUEB, LLP

WILLIAMS, EMMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08413          NACHAWATI LAW GROUP

WILLIAMS, EMMA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07465          THE DUGAN LAW FIRM, APLC

WILLIAMS, EVA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14216          THE BENTON LAW FIRM, PLLC

WILLIAMS, EVELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11528          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLIAMS, FLORENCE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10667          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, FLORENCE            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

WILLIAMS, FLORENCE            MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

WILLIAMS, FLORENCE            MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

WILLIAMS, FRANCES             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06693          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, GAIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12774          ASHCRAFT & GEREL

WILLIAMS, GAIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, GAIL                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-957-15            GOLOMB SPIRT GRUNFELD PC

WILLIAMS, GAIL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18243          NACHAWATI LAW GROUP



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            Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WILLIAMS, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

WILLIAMS, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

WILLIAMS, GAIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

WILLIAMS, GAYLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10644          JOHNSON LAW GROUP
                               CA - SUPERIOR COURT - SAN BERNARDINO
WILLIAMS, GENEVA                                                            CIVDS1807370            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                               COUNTY
                               CA - SUPERIOR COURT - SAN BERNARDINO
WILLIAMS, GENEVA                                                            CIVDS1807370            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
                               COUNTY
                               CA - SUPERIOR COURT - SAN BERNARDINO
WILLIAMS, GENEVA                                                            CIVDS1807370            THE SMITH LAW FIRM, PLLC
                               COUNTY
WILLIAMS, GENIVA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13529          DRISCOLL FIRM, P.C.

WILLIAMS, GEORGIANA            NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003065-21         WEITZ & LUXENBERG

WILLIAMS, GLENDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-13747           CELLINO & BARNES, P.C.

WILLIAMS, GLICERIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14880          LENZE LAWYERS, PLC

WILLIAMS, GLICERIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14880          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, GLORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12241          CLORE LAW GROUP LLC

WILLIAMS, GOLDIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10826          NACHAWATI LAW GROUP

WILLIAMS, HAZEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07565          ONDERLAW, LLC

WILLIAMS, HEATHER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13150           THE FERRARO LAW FIRM, P.A.

WILLIAMS, HELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16284          NACHAWATI LAW GROUP

WILLIAMS, HELEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12696          NAPOLI SHKOLNIK, PLLC

WILLIAMS, IDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00409          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, IDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-09101          ROSS FELLER CASEY, LLP

WILLIAMS, ILONA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13115          MORELLI LAW FIRM, PLLC

WILLIAMS, ISHAVEKA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18242           NACHAWATI LAW GROUP

WILLIAMS, JACQUELINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18493          THE SEGAL LAW FIRM

WILLIAMS, JAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10830          ONDERLAW, LLC

WILLIAMS, JANE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04762          CELLINO & BARNES, P.C.

WILLIAMS, JANEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11830          LEVIN SIMES LLP

WILLIAMS, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17541           ASHCRAFT & GEREL

WILLIAMS, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-01507          CHEELEY LAW GROUP

WILLIAMS, JANET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17194          DALIMONTE RUEB, LLP

WILLIAMS, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18378          NACHAWATI LAW GROUP

WILLIAMS, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16187          ONDERLAW, LLC

WILLIAMS, JANICE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07567           THE DUGAN LAW FIRM, APLC

WILLIAMS, JANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21610           GORI JULIAN & ASSOCIATES, P.C.

WILLIAMS, JANIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06679           THE SIMON LAW FIRM, PC



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            Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

WILLIAMS, JANNETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09548           BURNS CHAREST LLP

WILLIAMS, JEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14326          FRAZER PLC

WILLIAMS, JEAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01773          ONDERLAW, LLC

WILLIAMS, JEAN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003062-21         WEITZ & LUXENBERG

WILLIAMS, JEANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10988          ASHCRAFT & GEREL, LLP

WILLIAMS, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05825          MORELLI LAW FIRM, PLLC

WILLIAMS, JEANETTE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06893          NACHAWATI LAW GROUP

WILLIAMS, JEANNETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01491          JOHNSON LAW GROUP

WILLIAMS, JELANI               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06373          TRAMMELL PC

WILLIAMS, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11271          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLIAMS, JESSICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04989           ONDERLAW, LLC

WILLIAMS, JESSIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18241          NACHAWATI LAW GROUP

WILLIAMS, JESSIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12405          ONDERLAW, LLC

WILLIAMS, JEWELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07049          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, JILLIAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00088           FLETCHER V. TRAMMELL

WILLIAMS, JOAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17121           GORI JULIAN & ASSOCIATES, P.C.

WILLIAMS, JOHNNIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08988          ONDERLAW, LLC

WILLIAMS, JOSEPHINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05597           ONDERLAW, LLC

WILLIAMS, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14126          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08278          FLETCHER V. TRAMMELL

WILLIAMS, JOYCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13140          ONDERLAW, LLC

WILLIAMS, JOYCELYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09645           ONDERLAW, LLC

WILLIAMS, JOYCELYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02046           ONDERLAW, LLC

WILLIAMS, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           DONALD L. SCHLAPPRIZZI P.C.

WILLIAMS, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14948           LENZE LAWYERS, PLC

WILLIAMS, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           LENZE LAWYERS, PLC

WILLIAMS, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14948           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, JUDITH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, JUDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11606           ASHCRAFT & GEREL

WILLIAMS, JULIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08542          DAVIS, BETHUNE & JONES, L.L.C.

WILLIAMS, JULIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08002          PARKER WAICHMAN, LLP

WILLIAMS, JULIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10379          SANDERS VIENER GROSSMAN, LLP

WILLIAMS, KAREN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02117          ONDERLAW, LLC

WILLIAMS, KATHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05338          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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           Claimant Name                         State Filed                       Docket Number                             Plaintiff Counsel

WILLIAMS, KATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03549          ONDERLAW, LLC

WILLIAMS, KATHERINE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15776          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10742          JAMES MORRIS LAW FIRM PC

WILLIAMS, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01376           ONDERLAW, LLC

WILLIAMS, KATHLEEN            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04566          WAGSTAFF & CARTMELL, LLP

WILLIAMS, KAWANA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13381          FLETCHER V. TRAMMELL

WILLIAMS, KENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10991          ONDERLAW, LLC

WILLIAMS, KENDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WILLIAMS, KENDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15621          LENZE LAWYERS, PLC

WILLIAMS, KENDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILLIAMS, KENDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15621           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, KENDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, KENT                MO - CIRCUIT COURT - CITY OF ST. LOUIS        2122-CC09485           NACHAWATI LAW GROUP

WILLIAMS, KENT                MO - CIRCUIT COURT - CITY OF ST. LOUIS        2122-CC09485           THE GORI LAW FIRM, P.C.

WILLIAMS, KIM                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03952          ONDERLAW, LLC

WILLIAMS, KIMBERLY            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09166          ONDERLAW, LLC

WILLIAMS, KIRK                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20423           WILLIAMS, KIRK (879031) - PRO PER

WILLIAMS, KRISTINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18114          NACHAWATI LAW GROUP

WILLIAMS, KRYSTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08729          BURNS CHAREST LLP

WILLIAMS, KRYSTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08729          BURNS CHAREST LLP

WILLIAMS, KRYSTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00089          CELLINO & BARNES, P.C.

WILLIAMS, LA VA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08166           FLETCHER V. TRAMMELL

WILLIAMS, LALICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-11488          HOLLAND LAW FIRM

WILLIAMS, LARHONDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11098          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLIAMS, LASHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19684           NACHAWATI LAW GROUP

WILLIAMS, LATEASHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02245          BURNS CHAREST LLP

WILLIAMS, LATEASHA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02245          BURNS CHAREST LLP

WILLIAMS, LATONIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05376          MORELLI LAW FIRM, PLLC

WILLIAMS, LATOYA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19727          ARNOLD & ITKIN LLP

WILLIAMS, LAURA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003092-21         WEITZ & LUXENBERG

WILLIAMS, LAVEDA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18699          NACHAWATI LAW GROUP

WILLIAMS, LAVERNE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16442          FLETCHER V. TRAMMELL




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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WILLIAMS, LINDA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2967-15           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12131          FLETCHER V. TRAMMELL

WILLIAMS, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10910          NACHAWATI LAW GROUP

WILLIAMS, LINDA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2967-15           PORTER & MALOUF, PA

WILLIAMS, LINDA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2967-15           SEEGER WEISS LLP

WILLIAMS, LINDA               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2967-15           THE SMITH LAW FIRM, PLLC

WILLIAMS, LORI                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16302          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, LORRIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07309          JOHNSON LAW GROUP

WILLIAMS, LOUISE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03256           ONDERLAW, LLC

WILLIAMS, MABLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09563          FLETCHER V. TRAMMELL

WILLIAMS, MARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, MARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

WILLIAMS, MARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

WILLIAMS, MARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

WILLIAMS, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01740          ARNOLD & ITKIN LLP

WILLIAMS, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02958          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WILLIAMS, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18369          NACHAWATI LAW GROUP

WILLIAMS, MARGARET            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02561          ONDERLAW, LLC

WILLIAMS, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18239          NACHAWATI LAW GROUP

WILLIAMS, MARIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02448          ONDERLAW, LLC

WILLIAMS, MARILYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11872          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, MARILYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WILLIAMS, MARILYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15802          LENZE LAWYERS, PLC

WILLIAMS, MARILYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILLIAMS, MARILYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15802          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, MARILYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, MARTA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16681          THE MILLER FIRM, LLC

WILLIAMS, MARTHA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002403-20         GOLOMB & HONIK, P.C.

WILLIAMS, MARTHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18372          NACHAWATI LAW GROUP

WILLIAMS, MARVA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13138          ONDERLAW, LLC

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07166          ARNOLD & ITKIN LLP

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08974          BARON & BUDD, P.C.

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.



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           Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14199          DRISCOLL FIRM, P.C.

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16862          JOHNSON LAW GROUP

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15433          LENZE LAWYERS, PLC

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06603          MOTLEY RICE, LLC

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09277          ONDERLAW, LLC

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01623          ONDERLAW, LLC

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06492          ONDERLAW, LLC

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          ONDERLAW, LLC

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          PORTER & MALOUF, PA

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15433           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20565          THE DIAZ LAW FIRM, PLLC

WILLIAMS, MARY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03945          THE SMITH LAW FIRM, PLLC

WILLIAMS, MAUDE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13251           ARNOLD & ITKIN LLP

WILLIAMS, MAUDE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02627          ONDERLAW, LLC

WILLIAMS, MAUDIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08169          ONDERLAW, LLC

WILLIAMS, MELANESA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WILLIAMS, MELANESA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILLIAMS, MELANESA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, MELANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03768          ASHCRAFT & GEREL, LLP

WILLIAMS, MELANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03768          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18238          NACHAWATI LAW GROUP

WILLIAMS, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09608           ONDERLAW, LLC

WILLIAMS, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059           ONDERLAW, LLC

WILLIAMS, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

WILLIAMS, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

WILLIAMS, MELVINITA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10989          ASHCRAFT & GEREL, LLP

WILLIAMS, MICHELE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06529           ONDERLAW, LLC

WILLIAMS, MICHELLE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06532           ONDERLAW, LLC

WILLIAMS, MILDRED             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18240          NACHAWATI LAW GROUP

WILLIAMS, MINA                IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WILLIAMS, MONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03388           ONDERLAW, LLC



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           Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

WILLIAMS, NACOLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11823          ARNOLD & ITKIN LLP

WILLIAMS, NADINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00995           MOTLEY RICE, LLC

WILLIAMS, NATASHIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05301           ONDERLAW, LLC

WILLIAMS, NEOMIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03598           ONDERLAW, LLC

WILLIAMS, NIBEEBAH            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04914          ONDERLAW, LLC

WILLIAMS, NICOLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19246          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLIAMS, NICOLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, NIKITA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10451           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, NOVLETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-06804           NACHAWATI LAW GROUP

WILLIAMS, NOVLETTE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04854          ONDERLAW, LLC

WILLIAMS, OLLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07682          ONDERLAW, LLC

WILLIAMS, OSHUNNA             IL - CIRCUIT COURT - COOK COUNTY              2018-L-1308            CLIFFORD LAW OFFICES, P.C.

WILLIAMS, OSHUNNA             IL - CIRCUIT COURT - COOK COUNTY              2018-L-1308            TAFT STETTINIUS & HOLLISTER LLP

WILLIAMS, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           DONALD L. SCHLAPPRIZZI P.C.

WILLIAMS, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22054          DRISCOLL FIRM, P.C.

WILLIAMS, PAMELA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002344-20         GOLOMB & HONIK, P.C.

WILLIAMS, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15879          LENZE LAWYERS, PLC

WILLIAMS, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILLIAMS, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15879          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, PAMELA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, PATREETA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13761           ONDERLAW, LLC

WILLIAMS, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18030          ASHCRAFT & GEREL

WILLIAMS, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15801          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18030          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12934           ONDERLAW, LLC

WILLIAMS, PATRICIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05639           ONDERLAW, LLC

WILLIAMS, PAULA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13174          ASHCRAFT & GEREL, LLP

WILLIAMS, PAULA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13174          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, PEGGY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00383          DALIMONTE RUEB, LLP

WILLIAMS, PENNY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05416          JOHNSON LAW GROUP

WILLIAMS, PERRY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00984          MOTLEY RICE, LLC

WILLIAMS, RAECHELL            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, RAECHELL            MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            ONDERLAW, LLC

WILLIAMS, RAECHELL            MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           PORTER & MALOUF, PA



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           Claimant Name                              State Filed                       Docket Number                              Plaintiff Counsel

WILLIAMS, RAECHELL                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           THE SMITH LAW FIRM, PLLC

WILLIAMS, RENEE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10398          SANDERS VIENER GROSSMAN, LLP

WILLIAMS, RHONDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

WILLIAMS, RHONDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

WILLIAMS, RHONDA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            THE SMITH LAW FIRM, PLLC

WILLIAMS, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14552          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, ROBIN                    CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV333605              DANIEL & ASSOCIATES, LLC

WILLIAMS, ROBIN                    CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV333605             KIESEL LAW, LLP

WILLIAMS, ROBIN                    CA - SUPERIOR COURT - SANTA CLARA COUNTY      18CV333605             THE WHITEHEAD LAW FIRM, LLC

WILLIAMS, RONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13578           DALIMONTE RUEB, LLP

WILLIAMS, RONDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09575          ONDERLAW, LLC

WILLIAMS, ROSALIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11893          DAVIS, BETHUNE & JONES, L.L.C.

WILLIAMS, ROSIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02955          ONDERLAW, LLC

WILLIAMS, RUBY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02556          ONDERLAW, LLC

WILLIAMS, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08651          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09115          ONDERLAW, LLC

WILLIAMS, SALLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06127          THE ENTREKIN LAW FIRM

WILLIAMS, SAMMI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18335          MOTLEY RICE, LLC

WILLIAMS, SAMMI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08026          ONDERLAW, LLC

WILLIAMS, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08174          BLASINGAME, BURCH, GARRARD & ASHLEY, PC

WILLIAMS, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07994          BURNS CHAREST LLP

WILLIAMS, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07994          BURNS CHAREST LLP

WILLIAMS, SANDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03344          ONDERLAW, LLC
WILLIAMS, SARAH EST OF MATTIE      OH - COURT OF COMMON PLEASE - CUYAHOGA
                                                                                CV 21 944535            BEVAN & ASSOCIATES LPA, INC.
WILLIAMS                           COUNTY
WILLIAMS, SHADRIEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04297           ONDERLAW, LLC

WILLIAMS, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15810          ALLAN BERGER AND ASSOCIATES

WILLIAMS, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06029           ONDERLAW, LLC

WILLIAMS, SHAVONNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17041           THE SEGAL LAW FIRM

WILLIAMS, SHAWNTEL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08695           ONDERLAW, LLC

WILLIAMS, SHEILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08633           NAPOLI SHKOLNIK, PLLC

WILLIAMS, SHERITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22179           DRISCOLL FIRM, P.C.

WILLIAMS, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03611           ONDERLAW, LLC

WILLIAMS, SHIRLEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02366          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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            Claimant Name                           State Filed                        Docket Number                            Plaintiff Counsel

WILLIAMS, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16319          JOHNSON LAW GROUP

WILLIAMS, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18244          NACHAWATI LAW GROUP
                                  SC - USDC FOR THE DISTRICT OF SOUTH
WILLIAMS, SHIRLEY                                                              5:21-CV-03058           RICHARDSON, THOMAS, HALTIWANGER,
                                  CAROLINA
                                  SC - USDC FOR THE DISTRICT OF SOUTH
WILLIAMS, SHIRLEY                                                              5:21-CV-03058           WILLIAMS & WILLIAMS
                                  CAROLINA
WILLIAMS, SHIRLEY AND WILLIAMS,
                                  NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-003872-21        WEITZ & LUXENBERG
GEORGE
WILLIAMS, SMITHIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18870          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLIAMS, SONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WILLIAMS, SONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILLIAMS, SONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11963          NACHAWATI LAW GROUP

WILLIAMS, SONIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIAMS, SOPHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07093          NACHAWATI LAW GROUP

WILLIAMS, STAR                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18245          NACHAWATI LAW GROUP

WILLIAMS, STARLEETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-22119           ONDERLAW, LLC

WILLIAMS, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16245          THE WEINBERG LAW FIRM

WILLIAMS, SUZANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13438          KIESEL LAW, LLP

WILLIAMS, SUZANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13438          LAW OFFICE OF HAYTHAM FARAJ

WILLIAMS, SUZANNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13438          MARTINIAN & ASSOCIATES, INC.

WILLIAMS, TAMARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11843          NACHAWATI LAW GROUP

WILLIAMS, TAMARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07050           ONDERLAW, LLC

WILLIAMS, TAMEITHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01864          JOHNSON BECKER, PLLC

WILLIAMS, TAMMY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15328          PARKER WAICHMAN, LLP

WILLIAMS, TANISHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11776          NACHAWATI LAW GROUP

WILLIAMS, TEREON                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05544          ONDERLAW, LLC

WILLIAMS, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14141          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, TERI                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06520           LAW OFFICES OF SEAN M. CLEARY

WILLIAMS, THELMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02703          ONDERLAW, LLC

WILLIAMS, TIFFANY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-14957           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WILLIAMS, TINA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19268          ARNOLD & ITKIN LLP

WILLIAMS, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07219          ONDERLAW, LLC

WILLIAMS, TONYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05223          ONDERLAW, LLC

WILLIAMS, TRACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07831          BISNAR AND CHASE

WILLIAMS, TRELANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19680          NACHAWATI LAW GROUP

WILLIAMS, TRENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12787          ASHCRAFT & GEREL

WILLIAMS, UCINDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14276          ARNOLD & ITKIN LLP



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           Claimant Name                           State Filed                       Docket Number                              Plaintiff Counsel

WILLIAMS, URSULA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12605          JUSTINIAN & ASSOCIATES PLLC

WILLIAMS, VALERIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04738          DRISCOLL FIRM, P.C.

WILLIAMS, VANESSA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01837          ONDERLAW, LLC

WILLIAMS, VERA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09971          MUELLER LAW PLLC

WILLIAMS, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-07439           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, VERONICA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09993          LAW OFFICES OF DONALD G. NORRIS

WILLIAMS, VIRGINIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12076          SIMMONS HANLY CONROY

WILLIAMS, WANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18834          CELLINO & BARNES, P.C.

WILLIAMS, WANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09955          MORRIS BART & ASSOCIATES

WILLIAMS, WENDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02558          ONDERLAW, LLC

WILLIAMS, WILLETTE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS, WILLETTE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           ONDERLAW, LLC

WILLIAMS, WILLETTE              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-09792          PORTER & MALOUF, PA

WILLIAMS, WILLETTE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-09792           THE SMITH LAW FIRM, PLLC

WILLIAMS, WILLOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09762           MORRIS BART & ASSOCIATES

WILLIAMS, WILMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13694          DRISCOLL FIRM, P.C.

WILLIAMS, YOLANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-03332           ASHCRAFT & GEREL

WILLIAMS, YOLANDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03332          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS-ANDERSON, CHERYL       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01438          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS-EVANS, DEMETRESS       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10341          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS-GAINES, DEBORAH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS-GAINES, DEBORAH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16059           ONDERLAW, LLC

WILLIAMS-GAINES, DEBORAH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

WILLIAMS-GAINES, DEBORAH        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

WILLIAMS-LOCKHART, DESIREE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02616          MORELLI LAW FIRM, PLLC

WILLIAMS-MCCLENDON, REMONA      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09602          ONDERLAW, LLC

WILLIAMSON, ANITA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09444           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMSON, CRISTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09494           THE MILLER FIRM, LLC

WILLIAMSON, CRYSTAL             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09609           ONDERLAW, LLC

WILLIAMSON, DANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07211           HOLLAND LAW FIRM

WILLIAMSON, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08596          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMSON, DENISE              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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           Claimant Name                             State Filed                       Docket Number                              Plaintiff Counsel

WILLIAMSON, DENISE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00613            ONDERLAW, LLC

WILLIAMSON, DENISE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           PORTER & MALOUF, PA

WILLIAMSON, DENISE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00613           THE SMITH LAW FIRM, PLLC

WILLIAMSON, DOROTHY               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

WILLIAMSON, DOROTHY               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

WILLIAMSON, DOROTHY               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

WILLIAMSON, DOROTHY               MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          THE SMITH LAW FIRM, PLLC

WILLIAMSON, JACQUELINE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11795          NACHAWATI LAW GROUP

WILLIAMSON, JEANNIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06681          THE SIMON LAW FIRM, PC

WILLIAMSON, JOANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13142          ONDERLAW, LLC

WILLIAMSON, KEISHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11275          NACHAWATI LAW GROUP

WILLIAMSON, LINDA                 CANADA - ONTARIO SUPERIOR COURT OF JUSTICE 179011                    MERCHANT LAW GROUP LLP

WILLIAMSON, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21619          GORI JULIAN & ASSOCIATES, P.C.

WILLIAMSON, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07467           THE DUGAN LAW FIRM, APLC

WILLIAMSON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16931          ASHCRAFT & GEREL

WILLIAMSON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16931          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMSON, MELANIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03386           ONDERLAW, LLC

WILLIAMSON, RACHEL                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19692          NACHAWATI LAW GROUP

WILLIAMSON, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20465          ASHCRAFT & GEREL, LLP

WILLIAMSON, ROSE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20465          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMSON, SHARON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06665          ONDERLAW, LLC

WILLIAMSON, SUE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09339          SANDERS VIENER GROSSMAN, LLP

WILLIAMSON, SYBLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02971           ONDERLAW, LLC

WILLIAMSON, TONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16928          ONDERLAW, LLC

WILLIAMSON, VERNELL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15913           MCSWEENEY/LANGEVIN, LLC

WILLIAMSON, YVETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-01741           ARNOLD & ITKIN LLP

WILLIAMSON-HORSEMAN, JODI         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13666          ONDERLAW, LLC

WILLIAMSON-JOHNSON, BEATRICE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13137          NACHAWATI LAW GROUP

WILLIAMS-PERKINS, PAMELA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIAMS-PERKINS, PAMELA          CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV318682              KIESEL LAW, LLP

WILLIAMS-PERKINS, PAMELA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-03944           ONDERLAW, LLC

WILLIAMS-PERKINS, PAMELA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          PORTER & MALOUF, PA




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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WILLIAMS-PERKINS, PAMELA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          THE SMITH LAW FIRM, PLLC

WILLIAMS-SCHMIDT, SHEILA          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09735          ONDERLAW, LLC

WILLIAMS-SHAKIR, ELOUISE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01744          ONDERLAW, LLC

WILLIAMS-SMITH, MATTIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15412           ONDERLAW, LLC

WILLIAMS-THOMPSON, STEPHANEY      CA - SUPERIOR COURT - LOS ANGELES COUNTY     VCU276762               BISNAR AND CHASE

WILLIAMSTON, EFFIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-09050           ONDERLAW, LLC

WILLICH, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07683           ONDERLAW, LLC

WILLIE, ELEANOR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11144           LUNDY, LUNDY, SOILEAU & SOUTH, LLP

WILLIFORD, BRANDY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02538          ONDERLAW, LLC

WILLINGHAM, CEOLA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11973          THE MILLER FIRM, LLC

WILLINGHAM, MILDRED               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18254          NACHAWATI LAW GROUP

WILLINK, SHERYL                   FL - CIRCUIT COURT - BROWARD COUNTY          CACE-20-016317          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLINK, SHERYL                   FL - CIRCUIT COURT - BROWARD COUNTY          CACE-20-016317          KELLEY UUSTAL, PLC

WILLINSKY, RHIANNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-13536           DRISCOLL FIRM, P.C.

WILLIS, ALANA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05635          ONDERLAW, LLC

WILLIS, ALECIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04880          ONDERLAW, LLC

WILLIS, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05716          MORELLI LAW FIRM, PLLC

WILLIS, BERNITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20469          ONDERLAW, LLC

WILLIS, CARLYNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07887          SHELBY RODEN

WILLIS, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10606          ONDERLAW, LLC

WILLIS, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08612          ONDERLAW, LLC

WILLIS, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17078           SUMMERS & JOHNSON, P.C.

WILLIS, ELISA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01576          ONDERLAW, LLC

WILLIS, FARRAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01065          THE BENTON LAW FIRM, PLLC

WILLIS, FELICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-00333           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILLIS, GAY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15274          DALIMONTE RUEB, LLP

WILLIS, JAMES                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WILLIS, JOAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07367          ONDERLAW, LLC

WILLIS, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20157          NACHAWATI LAW GROUP

WILLIS, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00810           BOHRER LAW FIRM, LLC

WILLIS, KANDI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14026          TRAMMELL PC

WILLIS, KRISTEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIS, KRISTEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

WILLIS, KRISTEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA



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               Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WILLIS, KRISTEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

WILLIS, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11727          NACHAWATI LAW GROUP

WILLIS, MARTHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07861          ONDERLAW, LLC

WILLIS, MODISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-06061          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIS, PATSY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01020          BURNS CHAREST LLP

WILLIS, PEARLIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06175          ONDERLAW, LLC

WILLIS, RELINDA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002926-21         WEITZ & LUXENBERG

WILLIS, ROSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12790          ASHCRAFT & GEREL

WILLIS, SONYA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15813          NACHAWATI LAW GROUP

WILLIS, STEPHANIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04130          ONDERLAW, LLC

WILLIS, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03520          JOHNSON LAW GROUP

WILLIS, TAMARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01324          ANDRUS WAGSTAFF, P.C.

WILLIS, VIOLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10446          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLIS, VIOLA                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WILLISON, GERALD DOUGLAS          CANADA - ONTARIO SUPERIOR COURT OF JUSTICE CV-16-553046              ROCHON GENOVA LLP

WILLITS, TRACEY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12738          THE DEATON LAW FIRM

WILLKOM, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18256          NACHAWATI LAW GROUP

WILLMAN, LINDA                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WILLMAN, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14051          TAUTFEST BOND

WILLMORE, VALERIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03277          JOHNSON LAW GROUP

WILLMORE, VALERIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03277          LEVIN SIMES LLP

WILLOUGHBY, CAROLINA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14528          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLOUGHBY, KAREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00107          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WILLOVER, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16202          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILLOW, KYE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19758          ASHCRAFT & GEREL, LLP

WILLOW, KYE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19758          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLS, ADDIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08275          SANDERS VIENER GROSSMAN, LLP

WILLS, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILLS, KATHRYN                    CA - SUPERIOR COURT - SANTA CLARA COUNTY      17CV318656             KIESEL LAW, LLP

WILLS, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          ONDERLAW, LLC

WILLS, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          PORTER & MALOUF, PA

WILLS, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03944          THE SMITH LAW FIRM, PLLC

WILLS, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07530          LEVIN SIMES LLP




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WILLS, SHAWN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03426          NIX PATTERSON & ROACH

WILLS, TENNEH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02790          DALIMONTE RUEB, LLP

WILLS, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18383          NACHAWATI LAW GROUP

WILLSEY, DONNA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

WILLSEY, DONNA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

WILLSEY, DONNA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

WILLSEY, DONNA                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           THE SMITH LAW FIRM, PLLC

WILLS-GOTTLIEB, MARIE            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04598          FLETCHER V. TRAMMELL

WILLSON, CINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00102           SIMMONS HANLY CONROY

WILMA ERWIN                      FEDERAL - MDL                                3:21-CV-19508           ONDERLAW, LLC

WILMA GARNER                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WILMORE, TASHETA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06573           ONDERLAW, LLC

WILMOTH, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03474          ONDERLAW, LLC

WILNER, LUZ                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13376          FLETCHER V. TRAMMELL

WILSHUSEN, BARBARA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09836          WAGSTAFF & CARTMELL, LLP

WILSON, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06914          ONDERLAW, LLC

WILSON, ALICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06908          ONDERLAW, LLC

WILSON, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14680          ONDERLAW, LLC

WILSON, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17402          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18235          ONDERLAW, LLC

WILSON, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17402          SIMMONS HANLY CONROY

WILSON, ANITA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-785-16            ASHCRAFT & GEREL

WILSON, ANITA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-785-16            GOLOMB SPIRT GRUNFELD PC

WILSON, ARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04282          ONDERLAW, LLC

WILSON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-08769          CELLINO & BARNES, P.C.

WILSON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09574          DALIMONTE RUEB, LLP

WILSON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11969          GORI JULIAN & ASSOCIATES, P.C.

WILSON, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11337          NACHAWATI LAW GROUP

WILSON, BERKITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06753          THE SIMON LAW FIRM, PC

WILSON, BERNICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01504          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, BEVERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17652          MOTLEY RICE, LLC

WILSON, BONITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15305          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, BONNIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08303          SANDERS VIENER GROSSMAN, LLP




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WILSON, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08011          THE MILLER FIRM, LLC

WILSON, CANDICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14407          ONDERLAW, LLC

WILSON, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13795          FLETCHER V. TRAMMELL

WILSON, CHERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00978          THORNTON LAW FIRM LLP

WILSON, CHRISTINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09151           ONDERLAW, LLC

WILSON, CHRISTINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17699          BISNAR AND CHASE

WILSON, CRYSTAL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02385          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00503          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, DARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17313          ONDERLAW, LLC

WILSON, DAWN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05006          ONDERLAW, LLC

WILSON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20277          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05385          KLINE & SPECTER, P.C.

WILSON, DEMETRIA TOWNS            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18010          NACHAWATI LAW GROUP

WILSON, DEVRAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09378          ARNOLD & ITKIN LLP

WILSON, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03500           THE FERRARO LAW FIRM, P.A.

WILSON, EARSHLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18188          ONDERLAW, LLC

WILSON, ELIZABETH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00939          COHEN & MALAD, LLP

WILSON, ELSIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19698          NACHAWATI LAW GROUP

WILSON, ERIKA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09993          GORI JULIAN & ASSOCIATES, P.C.

WILSON, ERIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00920          VENTURA LAW

WILSON, FLORA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, FLORA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

WILSON, FLORA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC

WILSON, FLORA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

WILSON, FLORA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           THE SMITH LAW FIRM, PLLC

WILSON, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07001          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

WILSON, IRIS                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08956          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, IRLYNDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20170          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12470          ARNOLD & ITKIN LLP

WILSON, JOANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01870           FLETCHER V. TRAMMELL

WILSON, JOHNNELL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03765          ONDERLAW, LLC

WILSON, JOYCE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06355          ONDERLAW, LLC

WILSON, JULIANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14438          ARNOLD & ITKIN LLP




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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WILSON, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18250          NACHAWATI LAW GROUP

WILSON, KAREN                     FL - CIRCUIT COURT - ST. LUCIE COUNTY        562021CA000604SXXXHC    OSBORNE & FRANCIS LAW FIRM PLLC

WILSON, KATRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17902          ASHCRAFT & GEREL

WILSON, KATRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17902          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, KESISHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12565          ONDERLAW, LLC

WILSON, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12353          ASHCRAFT & GEREL

WILSON, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12353          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, KWEILIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WILSON, KWEILIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILSON, KWEILIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILSON, LADONNA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002516-20         GOLOMB & HONIK, P.C.

WILSON, LAURIE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, LAURIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14343          ONDERLAW, LLC

WILSON, LAURIE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC00237            ONDERLAW, LLC

WILSON, LAURIE                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC00237           THE SMITH LAW FIRM, PLLC

WILSON, LELIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06357          FLETCHER V. TRAMMELL

WILSON, LEQUISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09596          ONDERLAW, LLC

WILSON, LILLY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10079          DALIMONTE RUEB, LLP

WILSON, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07886          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, LORETTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18464          FRAZER PLC

WILSON, LORI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00527          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WILSON, LUCILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04035          THE CARLSON LAW FIRM

WILSON, MAGGIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06303          ONDERLAW, LLC

WILSON, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07763          BURNS CHAREST LLP

WILSON, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07763          BURNS CHAREST LLP

WILSON, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00119          CHAPPELL, SMITH & ARDEN, P.A.

WILSON, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16922          ASHCRAFT & GEREL

WILSON, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16922          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           DONALD L. SCHLAPPRIZZI P.C.

WILSON, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15793          LENZE LAWYERS, PLC

WILSON, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILSON, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15793          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILSON, MARIAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILSON, MARJORIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05599          MURRAY LAW FIRM



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              Claimant Name                        State Filed                        Docket Number                               Plaintiff Counsel

WILSON, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09540          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17927          JOHNSON LAW GROUP

WILSON, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13403          ONDERLAW, LLC

WILSON, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14685          WATERS & KRAUS, LLP

WILSON, MARY JANE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09221           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, MAUREEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19887          NACHAWATI LAW GROUP

WILSON, MELANIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17687          ONDERLAW, LLC

WILSON, MELBA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11579          NACHAWATI LAW GROUP

WILSON, MIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11491          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, MICHELE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03671          FLETCHER V. TRAMMELL

WILSON, MONYIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18259          NACHAWATI LAW GROUP

WILSON, NICOLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16383          ONDERLAW, LLC

WILSON, NICOLETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13376           JOHNSON LAW GROUP

WILSON, PAMELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05973          ARNOLD & ITKIN LLP

WILSON, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16151          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILSON, PATSY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13264          HEYGOOD, ORR & PEARSON

WILSON, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15470          FLEMING, NOLEN & JEZ, LLP

WILSON, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          ONDERLAW, LLC

WILSON, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          PORTER & MALOUF, PA

WILSON, PHYLLIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16059          THE SMITH LAW FIRM, PLLC

WILSON, REBECCA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05764          ONDERLAW, LLC

WILSON, RETHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02031          NACHAWATI LAW GROUP

WILSON, RITA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00150          ONDERLAW, LLC

WILSON, ROSARIO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13487          FLETCHER V. TRAMMELL

WILSON, ROSHON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20668          ONDERLAW, LLC

WILSON, RUTH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14365          JOHNSON LAW GROUP

WILSON, SADE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11164          ONDERLAW, LLC

WILSON, SARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WILSON, SARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15497          LENZE LAWYERS, PLC

WILSON, SARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILSON, SARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15497           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILSON, SARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WILSON, SHANTERIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06455          FLEMING, NOLEN & JEZ, LLP



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              Claimant Name                           State Filed                        Docket Number                            Plaintiff Counsel

WILSON, SHARON                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06006          ONDERLAW, LLC

WILSON, SHEKEYIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10838           ONDERLAW, LLC

WILSON, SHELIA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17271          THE MILLER FIRM, LLC

WILSON, SHERRY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1182-16           ASHCRAFT & GEREL

WILSON, SHERRY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1182-16           GOLOMB SPIRT GRUNFELD PC

WILSON, SHERRY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21565          ONDERLAW, LLC

WILSON, SONIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WILSON, SONIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WILSON, SONIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS
WILSON, STEPHEN EST OF VIRGINIA M
                                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-06292-18AS       WEITZ & LUXENBERG
WILSON
WILSON, SUZANNE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY    ATL-L-002202-20             GOLOMB & HONIK, P.C.
                                    PA - PHILADELPHIA COUNTY COURT OF COMMON
WILSON, TANYEONH                                                             190404489                   EISENBERG, ROTHWEILER, WINKLER
                                    PLEAS
WILSON, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:17-CV-09605               ASHCRAFT & GEREL

WILSON, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03348          MURRAY LAW FIRM

WILSON, TINA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14499          BURNS CHAREST LLP

WILSON, TRACEY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-06949          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WILSON, TRINI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00025          ONDERLAW, LLC

WILSON, TURKESSA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01963          DALIMONTE RUEB, LLP

WILSON, WANDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05035          ARNOLD & ITKIN LLP

WILSON, ZELMETRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-17532           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WILT, EDRIA                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18261          NACHAWATI LAW GROUP

WILT, HANNA                         NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-00621-20AS       LEVY KONIGSBERG LLP

WILWERT, HELEN                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1297-18           GOLOMB SPIRT GRUNFELD PC

WIMBERLEY, TAMMIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06509          ONDERLAW, LLC

WIMBERLY, AMBROSINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00643          BURNS CHAREST LLP

WIMBERLY, AMBROSINA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00643          BURNS CHAREST LLP

WIMBERLY, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12752          MARY ALEXANDER & ASSOCIATES, P.C.

WIMBERLY-TATUM, CAROLYN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08589           ONDERLAW, LLC

WIMBLEY, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16092          NACHAWATI LAW GROUP

WIMERT, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02089          LAW OFFS. OF PETER G. ANGELOS, P.C.

WIMMER, TAMMY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03749          MOTLEY RICE, LLC

WIMONT DOBBINS                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02711          ASHCRAFT & GEREL, LLP

WIMONT DOBBINS                      DC - USDC FOR THE DISTRICT OF COLUMBIA        1:21-CV-02711          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINBUSH, ANGELA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03448          ONDERLAW, LLC



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              Claimant Name                         State Filed                        Docket Number                              Plaintiff Counsel

WINCHESTER, BONNIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15057          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINCHESTER, KRIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WINCHESTER, KRIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15637          LENZE LAWYERS, PLC

WINCHESTER, KRIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WINCHESTER, KRIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15637          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WINCHESTER, KRIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WINDHAM, BRENDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13645          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINDHAM, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10212          MOTLEY RICE, LLC

WINDISCH, ROSEMARIE               NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-004480-20         WEITZ & LUXENBERG

WINDNAGLE, LAURA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06772          THE SIMON LAW FIRM, PC

WINDRAM, JENNIFER                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-003103-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD

WINDSOR, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15244           DRISCOLL FIRM, P.C.

WINDSOR, JEANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12154          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINE, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10841          ONDERLAW, LLC

WINES, DORA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14332          MORELLI LAW FIRM, PLLC

WINES, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13629          THE MILLER FIRM, LLC

WINFIELD, JULIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10752          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WINFIELD, RETHA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17057          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINFIELD, SHEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08591          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINFREE, SCARLETT                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02220          THE MILLER FIRM, LLC

WING, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02286          HENINGER GARRISON DAVIS, LLC

WING, JOHN ESTATE OF CAROL WING   NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-004391-21        LEVY KONIGSBERG LLP

WING, KATHERINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19145          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WING, ROXANN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13023          SHAW COWART, LLP

WINGATE, MARJORIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18262          NACHAWATI LAW GROUP

WINGATE, SHARYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19875          ASHCRAFT & GEREL, LLP

WINGATE, SHARYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19875          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINGERT, KRISTINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2853-15           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINGERT, KRISTINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2853-15           PORTER & MALOUF, PA

WINGERT, KRISTINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2853-15           SEEGER WEISS LLP

WINGERT, KRISTINE                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2853-15           THE SMITH LAW FIRM, PLLC

WINGET, EILEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06607          THE SIMON LAW FIRM, PC

WINGFIELD, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10003          LAW OFFICES OF DONALD G. NORRIS

WINGFIELD, SHARI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16091          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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             Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WINGO, LYNDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINGO, LYNDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            ONDERLAW, LLC

WINGO, LYNDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           PORTER & MALOUF, PA

WINGO, LYNDA                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            THE SMITH LAW FIRM, PLLC

WINGO-RUST, ANGELA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINGO-RUST, ANGELA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           GOLDENBERGLAW, PLLC

WINGO-RUST, ANGELA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           ONDERLAW, LLC

WINGO-RUST, ANGELA              MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC-00837          PORTER & MALOUF, PA

WINGO-RUST, ANGELA              MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC-00837           THE SMITH LAW FIRM, PLLC

WINHELD, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07060          LAW OFF. OF RICHARD R. BARRETT PLLC

WINIARCZYK, KAROL               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-08480           CELLINO & BARNES, P.C.

WINK, NICOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04741          FLETCHER V. TRAMMELL

WINKELMAN, SARAH                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINKELMAN, SARAH                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           GOLDENBERGLAW, PLLC

WINKELMAN, SARAH                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00134            ONDERLAW, LLC

WINKELMAN, SARAH                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           PORTER & MALOUF, PA

WINKELMAN, SARAH                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00134           THE SMITH LAW FIRM, PLLC

WINKELSPECHT, THERESA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04822          HEYGOOD, ORR & PEARSON

WINKLER, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07543          ONDERLAW, LLC

WINKLER, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09853          WILLIAMS HART LAW FIRM

WINKLER, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10868          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINKLER, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02083          ONDERLAW, LLC

WINN, KATRINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18267          NACHAWATI LAW GROUP

WINN, KIMBERLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07499          COHEN, PLACITELLA & ROTH

WINN, LYNN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11548          NACHAWATI LAW GROUP

WINNETT, DENYSE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02446          ASHCRAFT & GEREL, LLP

WINNIG, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08301           SALVI, SCHOSTOK & PRITCHARD P.C.

WINNINGHAM, JACQUALINE          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15518          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WINPHRIE, LATRISHA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08348           FLETCHER V. TRAMMELL

WINSLOW, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19743          NACHAWATI LAW GROUP

WINSLOW, KARI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15323          PARKER WAICHMAN, LLP

WINSLOW, PHYLLIS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18152          NACHAWATI LAW GROUP

WINSOR, DEBORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08530          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WINSOR, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18270          NACHAWATI LAW GROUP

WINSTEAD, CINDY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17689          ONDERLAW, LLC

WINSTEAD, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08264           HAUSFELD

WINSTEAD, JENNIFER             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03373           ONDERLAW, LLC

WINSTEAD, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03587          ASHCRAFT & GEREL, LLP

WINSTEAD, MARY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14510          ONDERLAW, LLC

WINSTEL, LORI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01330          JOHNSON LAW GROUP

WINSTON, BARBARA FISHER        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11830          BURNS CHAREST LLP

WINSTON, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02955          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINSTON, DEBRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02068          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WINSTON, JUDY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06873          ONDERLAW, LLC

WINSTON, KERRI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00907          GORI JULIAN & ASSOCIATES, P.C.

WINSTON, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13920          JOHNSON LAW GROUP

WINSTON, PAULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04745          THE BENTON LAW FIRM, PLLC

WINSTON, VICKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18299          NACHAWATI LAW GROUP

WINTER, ARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18927           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WINTER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WINTER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WINTER, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WINTER, JENELLE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13248          NACHAWATI LAW GROUP

WINTERS, CATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00693          BURNS CHAREST LLP

WINTERS, CATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00693          BURNS CHAREST LLP

WINTERS, ELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12058          MUELLER LAW PLLC

WINTERS, IRINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09866          HEYGOOD, ORR & PEARSON

WINTERS, KIMBERLY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00029          NACHAWATI LAW GROUP

WINTERS, MARTHA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14598           ONDERLAW, LLC

WINTERS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10915          ASHCRAFT & GEREL

WINTERS, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15065          DALIMONTE RUEB, LLP

WINTERS, PATSY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09867          FLETCHER V. TRAMMELL

WINTERS, PATSY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06009          ONDERLAW, LLC

WINTERS, RITA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01271          HARRISON DAVIS STEAKLEY MORRISON

WINTERS, SHANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00450          SULLO & SULLO, LLP

WINTERS, SHAVON                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12447          NAPOLI SHKOLNIK, PLLC

WINTERS, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08077          ASHCRAFT & GEREL



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WINTERS, YVONNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09763          MORRIS BART & ASSOCIATES

WINTHER, STACEY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08572           ONDERLAW, LLC

WINTNER, SARAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02819          JAMES MORRIS LAW FIRM PC

WION, AMANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01465          FLETCHER V. TRAMMELL

WIPPLER, AMANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16834          NACHAWATI LAW GROUP

WIREMAN, KATHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21156          MORELLI LAW FIRM, PLLC

WIRICK, SANDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09205          ONDERLAW, LLC

WIRTH, SONJA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11749          ONDERLAW, LLC

WISE, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07739          ONDERLAW, LLC

WISE, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01201          GORI JULIAN & ASSOCIATES, P.C.

WISE, BRENDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18157          NACHAWATI LAW GROUP

WISE, CLARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03607          ONDERLAW, LLC

WISE, CLARISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20065          ARNOLD & ITKIN LLP

WISE, CLAUDETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02859          MORRIS LAW FIRM

WISE, CLAUDETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:17-CV-10192               MORRIS LAW FIRM
                                 PA - PHILADELPHIA COUNTY COURT OF COMMON
WISE, LARENDA                                                             2012-000817                 ARNOLD & ITKIN LLP
                                 PLEAS
WISE, MARILYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY 3:21-CV-10625               ARNOLD & ITKIN LLP

WISE, SHERRY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04936          ONDERLAW, LLC

WISECUP, ALICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13921           ONDERLAW, LLC

WISEMAN, APRIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13636          ONDERLAW, LLC

WISEMAN, DANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12187          WAGSTAFF & CARTMELL, LLP

WISER, BARBARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20168          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WISNER, MARIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14037          ONDERLAW, LLC

WISNESKI, JOY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17360          ONDERLAW, LLC

WISNIEWSKI, CYNTHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00947          GORI JULIAN & ASSOCIATES, P.C.

WISNIEWSKI, SONIA                NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-002224-21         WEITZ & LUXENBERG

WISNIOWICZ, LISA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06691          THE SIMON LAW FIRM, PC

WISSINGER, STEPHANIE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11299          NACHAWATI LAW GROUP

WISSMILLER, BOBBIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06185          DALIMONTE RUEB, LLP

WISTNER, JO                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08964          WILLIAMS HART LAW FIRM

WITHERINGTON, CARLA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09352          MCGOWAN, HOOD & FELDER, LLC

WITHERINGTON, SHELBA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14596          JOHNSON LAW GROUP

WITHERS, GAIL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01458          MORELLI LAW FIRM, PLLC

WITHERS, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16493          POTTS LAW FIRM



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              Claimant Name                            State Filed                        Docket Number                              Plaintiff Counsel

WITHERSPOON, CINDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-07335           ONDERLAW, LLC

WITHERSPOON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-09615          BURNS CHAREST LLP

WITHERSPOON, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11891          THE MILLER FIRM, LLC

WITHOLW, BILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WITHOLW, BILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

WITHOLW, BILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

WITHOLW, BILLIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

WITHROW, DEBORAH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00319           ONDERLAW, LLC

WITHROW, ELIZABETH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01113          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WITHROW, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05443          WILLIAMS HART LAW FIRM

WITHROW, PAMELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00310          THE BENTON LAW FIRM, PLLC

WITKOWSKI, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18679          CELLINO & BARNES, P.C.

WITLIN, HELEN                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08880          NACHAWATI LAW GROUP

WITSOE, MARY                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08568          JOHNSON LAW GROUP

WITT, JANE                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09999          ARNOLD & ITKIN LLP

WITT, JESSICA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12233          ONDERLAW, LLC

WITT, KAY                            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15405          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WITT, LONETTA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14871          ONDERLAW, LLC

WITT, MARY                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01468          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WITT, VICTORIA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16864          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WITTE, DARLENE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18166          NACHAWATI LAW GROUP

WITTENBERG, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09455          FLETCHER V. TRAMMELL

WITTER, DEBORAH                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02005          ONDERLAW, LLC

WITTER, JOANNE S AND WITTER, TERRY   NJ - SUPERIOR COURT - MIDDLESEX COUNTY       MID-L-003895-20AS       WEITZ & LUXENBERG

WITTER, LYNN                         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08612          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WITTHOHN, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06897          ASHCRAFT & GEREL

WITTIG, EVELYN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-05693          ROSS FELLER CASEY, LLP

WITTIG, HELGA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07704          ONDERLAW, LLC

WITTMER, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05575          NAPOLI SHKOLNIK, PLLC

WITTROCK, RICHARD                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WITTWER, DONNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01485          JOHNSON LAW GROUP

WIX, TRAVIA                          NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18525          SEEGER WEISS LLP

WIXOM, KATRINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03475          ONDERLAW, LLC

WLODARCZYK, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18981          CELLINO & BARNES, P.C.



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WNEK, LORETTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02315          ONDERLAW, LLC

WODARSKI, ROSALIND               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10357          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

WODENKA, ADRIENNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02753          SEITHEL LAW LLC

WOELFEL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WOELFEL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WOELFEL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14039          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WOELFEL, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WOELFEL, ROSEMARIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00854          BROWN CHIARI LLP

WOEPPEL, MARYA JO                BRITISH COLUMBIA (VANCOUVER)                  VLC-S-S-230667         PRESZLER LAW FIRM LLP

WOFSE, JOY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12756          ARNOLD & ITKIN LLP

WOHLERS, JEANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05453          ROSS FELLER CASEY, LLP

WOHLERT, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3;21-CV-14767          LENZE LAWYERS, PLC

WOHLERT, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17240           ONDERLAW, LLC

WOHLERT, CAROLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3;21-CV-14767          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WOHLMAN, MARSHA                  IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WOHLWEND, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-11800           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WOJCESHONEK, LINDA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03716           ASHCRAFT & GEREL, LLP

WOJCIK, CAROLYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09116          ONDERLAW, LLC

WOJCIK, KATHRYN                  IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WOJCIK, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10843           ONDERLAW, LLC

WOJNAR, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11141          GOLDENBERGLAW, PLLC

WOJTA, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08610          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WOJTUL, MARION                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14143          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOJTUSKI, CECELIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06681           ONDERLAW, LLC

WOLCOTT, BRANDI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03727          ONDERLAW, LLC

WOLD, DOLORES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09985          HOLLAND LAW FIRM

WOLD, PATRICIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10880          ARNOLD & ITKIN LLP

WOLF, BEVERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15693          JOHNSON LAW GROUP

WOLF, DIANE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01125          ONDERLAW, LLC

WOLF, DONATTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03810          ONDERLAW, LLC

WOLF, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06871          ONDERLAW, LLC

WOLF, LAUREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06828          ONDERLAW, LLC

WOLF, PAULA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13630          PARKER WAICHMAN, LLP




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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

WOLF, SHARON                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WOLF, SUSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOLF, SUSIE                      CA - SUPERIOR COURT - MONTERREY COUNTY       17CV004012              ONDERLAW, LLC

WOLF, SUSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          ONDERLAW, LLC

WOLF, SUSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          PORTER & MALOUF, PA

WOLF, SUSIE                      CA - SUPERIOR COURT - MONTERREY COUNTY       17CV004012              SALKOW LAW, APC

WOLF, SUSIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05719          THE SMITH LAW FIRM, PLLC

WOLFE, CAROLEE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12619          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WOLFE, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09537          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOLFE, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09090          ONDERLAW, LLC

WOLFE, EVA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13265          THE MILLER FIRM, LLC

WOLFE, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06609          ONDERLAW, LLC

WOLFE, LOVIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11714          NACHAWATI LAW GROUP

WOLFE, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08731          ONDERLAW, LLC

WOLFE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11979          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOLFE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12767          C/O MICHELLE TAYLOR, PRO PER

WOLFE, PATRICIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18260          NACHAWATI LAW GROUP

WOLFENDEN, INGRID                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11507          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOLFF, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02496          ASHCRAFT & GEREL

WOLFF, MARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02496          THE WHITEHEAD LAW FIRM, LLC

WOLFGANG, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14267          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOLF-GORDON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-01403           LAW OFFS. OF PETER G. ANGELOS, P.C.

WOLFORD, INEZ                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15916          ASHCRAFT & GEREL, LLP

WOLFORD, INEZ                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15916          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOLFORD, JENNETTE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00036          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WOLFORD, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18257          NACHAWATI LAW GROUP

WOLFRAM, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03751          MOTLEY RICE, LLC

WOLFREY, WENDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08051          THE LAW OFFICES OF SEAN M CLEARY

WOLKINS, JACQUELINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06940          WILLIAMS HART LAW FIRM

WOLLE, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15765          COHEN & MALAD, LLP

WOLLWAGE, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15178          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WOLNY, SUSAN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08749          ONDERLAW, LLC

WOLTERSDORF, ANNALISA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12346          LAW OFFICES OF JAMES S. ROGERS




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WOLTERSDORF, ANNALISA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12346          PANISH, SHEA & BOYLE

WOLTZ, GAIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02877          ONDERLAW, LLC

WOMACK, AMANDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08435          ONDERLAW, LLC

WOMACK, ANGELA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12236          ONDERLAW, LLC

WOMACK, BERNICE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09550          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WOMACK, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00543          ONDERLAW, LLC

WOMACK, MARILYN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03346          MURRAY LAW FIRM

WOMACK, STEPHANIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17406          ONDERLAW, LLC

WOMBLES, LILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3;21-CV-05574          ONDERLAW, LLC

WONG, SHIRLEY; YOUNG, LINDA      CA - SUPERIOR COURT - LOS ANGELES COUNTY     BG647543                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WONG-FARENBAUGH, LINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11748          THE MILLER FIRM, LLC

WONG-SAM, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07277          ONDERLAW, LLC

WONSEY, JERRY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19059          MOTLEY RICE, LLC

WOO, BENGTA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19744          NACHAWATI LAW GROUP

WOOD, AMY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07986          CLARK ROBB MASON COULMBE, ET AL.

WOOD, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20166          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOD, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16592          LANGDON & EMISON

WOOD, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05569          NAPOLI SHKOLNIK, PLLC

WOOD, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12609          TRAMMELL PC

WOOD, CAROLYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-04448          PETERSON & ASSOCIATE, P.C.

WOOD, CATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14438          ASHCRAFT & GEREL

WOOD, CHERYL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07932          ONDERLAW, LLC

WOOD, CYNTHIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11395          NACHAWATI LAW GROUP

WOOD, DEBORAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20586          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WOOD, DEBRA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16008           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WOOD, DIANNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05997          ONDERLAW, LLC

WOOD, GLORY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08392          ASHCRAFT & GEREL

WOOD, GLORY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08392          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOD, HEIDI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10798          NACHAWATI LAW GROUP

WOOD, JACQUELINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12896           ONDERLAW, LLC

WOOD, JENNIFER                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05548          ONDERLAW, LLC

WOOD, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOD, KATHRYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07626          DRISCOLL FIRM, P.C.

WOOD, KATHY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07818          DALIMONTE RUEB, LLP



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WOOD, KITTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18208          NACHAWATI LAW GROUP

WOOD, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15309          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOD, MADELINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15070           DALIMONTE RUEB, LLP

WOOD, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18027           ASHCRAFT & GEREL

WOOD, MARGARET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18027           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOD, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11207           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WOOD, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06402          ONDERLAW, LLC

WOOD, MEGAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05036          DEGARIS WRIGHT MCCALL

WOOD, MISTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07326          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOD, PATSY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07792          ONDERLAW, LLC

WOOD, SHARLENE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00463          THE MILLER FIRM, LLC

WOOD, SHIRL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14145          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOD, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18010          REICH & BINSTOCK, LLP

WOOD, TERRI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08946          ONDERLAW, LLC

WOOD, THEODORA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09734          ONDERLAW, LLC

WOOD, TONI                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08545          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOD, TRACY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002404-20         GOLOMB & HONIK, P.C.

WOOD, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03213          GORI JULIAN & ASSOCIATES, P.C.

WOOD, TRACY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17445          THE MILLER FIRM, LLC

WOOD, TRINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18294          NACHAWATI LAW GROUP

WOOD, VALERIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08419          NACHAWATI LAW GROUP

WOODALL, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00304          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODALL, RUBY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06170          ONDERLAW, LLC

WOODALL, SHERRY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05538          POTTS LAW FIRM

WOODARD, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10461          WATERS & KRAUS, LLP

WOODARD, DARLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09319          ONDERLAW, LLC

WOODARD, FRANCINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08834          ONDERLAW, LLC

WOODARD, TERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18280          NACHAWATI LAW GROUP

WOODARD, YOLANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03652           BARON & BUDD, P.C.

WOODBURY, PAULINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10527          BARON & BUDD, P.C.

WOOD-DONATELLI, DONNA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12620          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WOODE, WANDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11526           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WOODEARS, MARCELLA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10490           ONDERLAW, LLC

WOODEN, BRIDGET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18865          NACHAWATI LAW GROUP



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           Claimant Name                             State Filed                        Docket Number                            Plaintiff Counsel

WOODEN, ESTHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00761          LEVIN SIMES LLP

WOODEN, LAGUAMYA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14700          PARKER WAICHMAN, LLP

WOODFORD, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09995          HAIR SHUNNARAH TRIAL ATTORNEYS LLC

WOODFORK, KIM                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01440          ONDERLAW, LLC

WOOD-GARDNER, DONNA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06947          ONDERLAW, LLC

WOODGEARD, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17336          ASHCRAFT & GEREL, LLP

WOODGEARD, KATHERINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17336           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODHAM, SHERRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11143          ASHCRAFT & GEREL, LLP

WOODHAM, SHERRIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11143          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODLE, LOUISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04744          ASHCRAFT & GEREL

WOODLE, LOUISE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04744          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODLEY, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08647          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODMAN, JHOMEYR                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19256          FLETCHER V. TRAMMELL

WOODMANCY, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19620          NACHAWATI LAW GROUP

WOODMANSEE, NANCY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-15945           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WOODRAD, ROSALYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02576          DRISCOLL FIRM, P.C.

WOODROME, AMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01231          ONDERLAW, LLC

WOODRUFF, CINDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01514          JOHNSON LAW GROUP

WOODRUFF, DEBRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14355          WEITZ & LUXENBERG

WOODRUFF, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WOODRUFF, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WOODRUFF, GRACE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WOODS, ARIETA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13118          MORELLI LAW FIRM, PLLC

WOODS, BARBARA                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001915-20         GOLOMB & HONIK, P.C.

WOODS, BARBARA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16250          NACHAWATI LAW GROUP

WOODS, BELINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17697          ONDERLAW, LLC

WOODS, BRENDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07099          ONDERLAW, LLC

WOODS, CAROL                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06816          ONDERLAW, LLC

WOODS, CHEYAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05461          ARNOLD & ITKIN LLP

WOODS, CHRISTINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08062          ONDERLAW, LLC

WOODS, CYNTHIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03201          ONDERLAW, LLC

WOODS, DANIEL L AND WOODS, ALLIE   GA - CIRCUIT COURT - CHATHAM COUNTY          STCV18-01899            BUCK LAW FIRM

WOODS, DEBRA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12403          ONDERLAW, LLC




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           Claimant Name                         State Filed                       Docket Number                            Plaintiff Counsel

WOODS, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09519          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODS, EDNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09085          LINVILLE LAW GROUP

WOODS, ELEANOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08698          ONDERLAW, LLC

WOODS, IMELDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14146          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODS, INGRIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13228          HILLIARD MARTINEZ GONZALES, LLP

WOODS, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12330          ASHCRAFT & GEREL

WOODS, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12330          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODS, JESSICA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002203-20         GOLOMB & HONIK, P.C.

WOODS, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05366          ONDERLAW, LLC

WOODS, KARIMA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15134          ARNOLD & ITKIN LLP

WOODS, KERSTA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13859          ONDERLAW, LLC

WOODS, KIMBERLIN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10990          ASHCRAFT & GEREL, LLP

WOODS, KRISHUNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00150           ARNOLD & ITKIN LLP

WOODS, LAUREN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08859          ONDERLAW, LLC

WOODS, LEEANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10883          ONDERLAW, LLC

WOODS, LILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06281          ONDERLAW, LLC

WOODS, LIZABETH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12264          DIAMOND LAW

WOODS, MARIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08738          ONDERLAW, LLC

WOODS, MARTHA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09341          ONDERLAW, LLC

WOODS, MICHELLE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08776          ONDERLAW, LLC

WOODS, MISTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13466          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07664          BURNS CHAREST LLP

WOODS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07664          BURNS CHAREST LLP

WOODS, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:16-CV-07664          GUSTAFON GLUEK

WOODS, PATTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08717          THE MILLER FIRM, LLC

WOODS, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18978          WILLIAMS HART LAW FIRM

WOODS, ROBIN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09821          ONDERLAW, LLC

WOODS, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16882          THE SEGAL LAW FIRM

WOODS, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08299          FLETCHER V. TRAMMELL

WOODS, VICTORIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18304          NACHAWATI LAW GROUP

WOODSON, JESSICA              CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC624387                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WOODSON, SALLIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11721          NACHAWATI LAW GROUP

WOODWARD, DARLA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODWARD, DARLA               MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            ONDERLAW, LLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WOODWARD, DARLA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1722-CC11872           PORTER & MALOUF, PA

WOODWARD, DARLA                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1722-CC11872            THE SMITH LAW FIRM, PLLC

WOODWARD, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18844           CELLINO & BARNES, P.C.

WOODWORTH, DARLENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00020          ONDERLAW, LLC

WOODWORTH, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22120          ONDERLAW, LLC

WOODWORTH, SHULA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13527          THE MILLER FIRM, LLC

WOODY, ANGEL                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002925-21         WEITZ & LUXENBERG

WOODY, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08722          NACHAWATI LAW GROUP

WOODY, JANICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14368          FRAZER PLC

WOODY, JESSICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04237          ONDERLAW, LLC

WOODY, MILDRED                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15785          WILLIAMS HART LAW FIRM

WOODY, SANDRA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17495          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOODYARD, MADLYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20739          CELLINO & BARNES, P.C.

WOOFTER, VIOLA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02069          WATERS & KRAUS, LLP

WOOL, JOYCE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05541           KLINE & SPECTER, P.C.

WOOLARD, MONICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-15157           ONDERLAW, LLC

WOOLDRIDGE, TERRI                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6661-14           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOLDRIDGE, TERRI                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6661-14           PORTER & MALOUF, PA

WOOLDRIDGE, TERRI                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6661-14           SEEGER WEISS LLP

WOOLDRIDGE, TERRI                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-6661-14           THE SMITH LAW FIRM, PLLC

WOOLEN, LANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOLEN, LANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          ONDERLAW, LLC

WOOLEN, LANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          PORTER & MALOUF, PA

WOOLEN, LANETTE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01276          THE SMITH LAW FIRM, PLLC

WOOLEY, DEBBIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11250          NACHAWATI LAW GROUP

WOOLEY, KATELYNN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03550          ONDERLAW, LLC

WOOLFOLK, KARLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00313          ONDERLAW, LLC

WOOLFOLK, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-08574           ONDERLAW, LLC

WOOLISON, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07332          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOLIVER, CONNIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10765          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOLLEY, SUSAN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOLLEY, SUSAN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           GOLDENBERGLAW, PLLC

WOOLLEY, SUSAN                   MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            ONDERLAW, LLC




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            Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

WOOLLEY, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1622-CC00443           PORTER & MALOUF, PA

WOOLLEY, SUSAN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1622-CC00443            THE SMITH LAW FIRM, PLLC

WOOLSTRUM, INA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19745          NACHAWATI LAW GROUP

WOON, LEE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-02201           SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

WOOSLEY-SMITH, SHIRLEY         NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04079           ONDERLAW, LLC

WOOSTER, DIANA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17692          ONDERLAW, LLC

WOOTEN, BELINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05779          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOTEN, CATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02032          JOHNSON LAW GROUP

WOOTEN, DEBBIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12237          ONDERLAW, LLC

WOOTEN, DONNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13211          NACHAWATI LAW GROUP

WOOTEN, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13222          NACHAWATI LAW GROUP

WOOTEN, ELIZABETH              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19742          LINVILLE LAW GROUP

WOOTEN, JUDITH                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WOOTEN, JUDITH                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893            PORTER & MALOUF, PA

WOOTEN, JUDITH                 MO - CIRCUIT COURT - JEFFERSON COUNTY        18JE-CC00893            THE SMITH LAW FIRM, PLLC

WOOTEN, JUNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-12331           ASHCRAFT & GEREL

WOOTEN, JUNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12331          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WORCESTER, MELISSA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13150          WATERS & KRAUS, LLP

WORD, DANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18505          ONDERLAW, LLC

WORD, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01347          ONDERLAW, LLC

WORD, EARNESTIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14353          GRAHAM P. CARNER, PLLC

WORD, ERNESTINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14683          RICHARDSON RICHARDSON BOUDREAUX

WORDEN, VANESSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07828          ONDERLAW, LLC

WORKMAN, CAROLYN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08398          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WORKMAN, LESLIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10550          JOHNSON LAW GROUP

WORKMAN, LOVADA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08251          FLETCHER V. TRAMMELL

WORKMAN, MISTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01479          ONDERLAW, LLC

WORKMAN, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18265          NACHAWATI LAW GROUP

WORKS, KELLI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00565          THORNTON LAW FIRM LLP

WORKS, LINDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16219           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WORKS, STACY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00071          POTTS LAW FIRM

WORLEY, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08284          ONDERLAW, LLC

WORLEY, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17932          KIESEL LAW, LLP




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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WORLEY, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17932          LAW OFFICE OF HAYTHAM FARAJ

WORLEY, DOROTHY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17932          MARTINIAN & ASSOCIATES, INC.

WORLEY, HEATHER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08313          ONDERLAW, LLC

WORLEY, JILLIAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19962          NACHAWATI LAW GROUP

WORLEY, KATIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12718          ONDERLAW, LLC

WORLEY, LOREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09577          ONDERLAW, LLC

WORLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17432          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

WORM, JUDITH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02914          ONDERLAW, LLC

WORRALL, PHILLIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01152          WORRALL, JAMES, PRO SE

WORSECK, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01448          BURNS CHAREST LLP

WORSECK, AMY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01448          BURNS CHAREST LLP

WORSFOLD, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13625          THE MILLER FIRM, LLC

WORSHAM, NEDRA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04714          SIMMONS HANLY CONROY

WORSLEY, CHARLOTTE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08190           CELLINO & BARNES, P.C.

WORSTELL, DELORIS                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002405-20         GOLOMB & HONIK, P.C.

WORTH, BARBARA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002152-20         GOLOMB & HONIK, P.C.

WORTH, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06900          ONDERLAW, LLC

WORTH, VIRGINIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05572          NAPOLI SHKOLNIK, PLLC

WORTHAM, LAWANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09573          ONDERLAW, LLC

WORTHEN, BRENDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05369          ONDERLAW, LLC

WORTHINGTON, BARBARA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14055          ASHCRAFT & GEREL

WORTHINGTON, CAROLE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10670          NACHAWATI LAW GROUP

WORTHINGTON, DEBORAH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20275          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WORTHY, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12304          ONDERLAW, LLC

WORTMAN, SANDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11663          NACHAWATI LAW GROUP

WOSENU, ASTER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17527          DRISCOLL FIRM, P.C.

WOZNUK, LINDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09643           FLETCHER V. TRAMMELL

WRAY, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WRAY, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WRAY, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15070          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WRAY, ANITA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WRAY, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17129          ONDERLAW, LLC

WRAY, KATHERINE                  CA - SUPERIOR COURT - SANTA CLARA COUNTY      16-CV-296601           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WRAY, YVONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06371          ASHCRAFT & GEREL



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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WREATH, KELLY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09961          ONDERLAW, LLC

WREGLESWORTH, JANICE           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21040          TORHOERMAN LAW LLC

WREN, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14405          ASHCRAFT & GEREL

WREN, CATHERINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09963          ONDERLAW, LLC

WREN, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15244          NAPOLI SHKOLNIK, PLLC

WREN, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03777          ONDERLAW, LLC

WRENN, PATRICIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09206          THE DUGAN LAW FIRM, APLC

WRIGHT, ANGIENECKIA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06005           ONDERLAW, LLC

WRIGHT, ANNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16640          JOHNSON LAW GROUP

WRIGHT, AUDREY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08476          ONDERLAW, LLC

WRIGHT, BAZALENE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09773          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WRIGHT, BEAUTY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16105          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WRIGHT, BELINDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04545           JOHNSON LAW GROUP

WRIGHT, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04751          ASHCRAFT & GEREL

WRIGHT, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19535          ASHCRAFT & GEREL, LLP

WRIGHT, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19535          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, BETTY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04751          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, BILLIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14394          JOHNSON LAW GROUP

WRIGHT, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06534           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

WRIGHT, BRENDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10450          GORI JULIAN & ASSOCIATES, P.C.

WRIGHT, BROOKE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17530          ARNOLD & ITKIN LLP

WRIGHT, CANDI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01413          GOLDENBERGLAW, PLLC

WRIGHT, CAROLYN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-05466          NAPOLI SHKOLNIK, PLLC

WRIGHT, CARRIE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04161          MORELLI LAW FIRM, PLLC

WRIGHT, CHARLES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19746          NACHAWATI LAW GROUP

WRIGHT, CHARLOTTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12014           FLETCHER V. TRAMMELL

WRIGHT, CHERYL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12723          CELLINO & BARNES, P.C.

WRIGHT, CHRISTIAN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19923          ARNOLD & ITKIN LLP

WRIGHT, CLAUDETTE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10687          NACHAWATI LAW GROUP

WRIGHT, CYNTHIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-05811           DRISCOLL FIRM, P.C.

WRIGHT, DARLENE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02588          THE SEGAL LAW FIRM

WRIGHT, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12118          POTTS LAW FIRM

WRIGHT, DEBORAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16588          THE SEGAL LAW FIRM

WRIGHT, DESIREE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11129          GOLDENBERGLAW, PLLC



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            Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WRIGHT, DIANNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-11255           ASHCRAFT & GEREL

WRIGHT, DODI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09220          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, DORIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03070          ONDERLAW, LLC

WRIGHT, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17356          ASHCRAFT & GEREL, LLP

WRIGHT, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15047          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, DOROTHY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17356          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, EDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05740          ONDERLAW, LLC

WRIGHT, ELESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17124          ARNOLD & ITKIN LLP

WRIGHT, ESSIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10796          NACHAWATI LAW GROUP

WRIGHT, FRANCES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11593          NACHAWATI LAW GROUP

WRIGHT, GAIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03071          ONDERLAW, LLC

WRIGHT, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03130          JOHNSON LAW GROUP

WRIGHT, HERBERT                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03017          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, IRENE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06337          ONDERLAW, LLC

WRIGHT, JACQUELYN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-06695           THE SIMON LAW FIRM, PC

WRIGHT, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WRIGHT, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           LENZE LAWYERS, PLC

WRIGHT, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02375          ONDERLAW, LLC

WRIGHT, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WRIGHT, JANET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15255          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.

WRIGHT, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20162          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, JANICE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20305          ONDERLAW, LLC

WRIGHT, JE NAE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13663          JOHNSON LAW GROUP

WRIGHT, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06906          ONDERLAW, LLC

WRIGHT, JEAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06407          ONDERLAW, LLC

WRIGHT, JEANA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09218           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13413          NACHAWATI LAW GROUP

WRIGHT, KAREN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13801          WILLIAMS HART LAW FIRM

WRIGHT, KATIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WRIGHT, KATIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15424          LENZE LAWYERS, PLC

WRIGHT, KATIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WRIGHT, KATIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15424           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WRIGHT, KATIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




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           Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

WRIGHT, KATRINA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01473          ONDERLAW, LLC

WRIGHT, KELLY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11031          ONDERLAW, LLC

WRIGHT, LATOSHIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11100          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, LAURIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17112          GORI JULIAN & ASSOCIATES, P.C.

WRIGHT, LENORE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10516          HENINGER GARRISON DAVIS, LLC

WRIGHT, LINDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08372          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09215          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12855          JOHNSON LAW GROUP

WRIGHT, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12855          LEVIN SIMES LLP

WRIGHT, LOIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00881          POTTS LAW FIRM

WRIGHT, MAE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13067          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, MARGARET              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13272          SULLO & SULLO, LLP

WRIGHT, MARIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10262          THE SEGAL LAW FIRM

WRIGHT, MARLYS                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18454          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WRIGHT, MARY                  CA - SUPERIOR COURT - SANTA CLARA COUNTY     18CV325815              THE MILLER FIRM, LLC

WRIGHT, MILDRED               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16769          THE SEGAL LAW FIRM

WRIGHT, MILTONA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13999          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, NANCY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13119          MORELLI LAW FIRM, PLLC

WRIGHT, NIKKI                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18600          ONDERLAW, LLC

WRIGHT, NOREEN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03871          ONDERLAW, LLC

WRIGHT, PAMELA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07446          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08746           ONDERLAW, LLC

WRIGHT, PEGGY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-11441           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WRIGHT, REBECCA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00940          COHEN & MALAD, LLP

WRIGHT, RHONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07601          ASHCRAFT & GEREL, LLP

WRIGHT, RHONDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07601          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT, SANDRA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19286          NACHAWATI LAW GROUP

WRIGHT, SERENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13415          HEARD LAW FIRM, PLLC

WRIGHT, SERENA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15813          NACHAWATI LAW GROUP

WRIGHT, SHERRI                DE - SUPERIOR COURT - NEW CASTLE COUNTY       N17C-05-337            JACOBS & CRUMPLER, P.A.

WRIGHT, SHERRI                DE - SUPERIOR COURT - NEW CASTLE COUNTY       N17C-05-337            THE MILLER FIRM, LLC

WRIGHT, SHIRLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18845          MORELLI LAW FIRM, PLLC

WRIGHT, TERRIE                IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WRIGHT, VERNDEEN              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06588           ONDERLAW, LLC



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           Claimant Name                         State Filed                        Docket Number                            Plaintiff Counsel

WRIGHT, VERNITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-10413          ONDERLAW, LLC

WRIGHT, WANDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01568          ONDERLAW, LLC

WRIGHT, YOLANDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12350          ONDERLAW, LLC

WRIGHT-ARNOLD, LINDA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19747          NACHAWATI LAW GROUP

WRIGHT-BRANTLEY, ANGELA        NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03245           PARKER WAICHMAN, LLP

WRIGHT-LAURENT, KATHERINE      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-16531           NAPOLI SHKOLNIK, PLLC

WRIGHT-NG, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-07833          ASHCRAFT & GEREL

WRIGHT-NG, SHIRLEY             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-07833           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT-POLZIN, PAULINE         NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14225          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WRIGHT-TICE, KAREN             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18189          NACHAWATI LAW GROUP

WRINKLE, LISA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05836          HOLLAND LAW FIRM

WROBLEWSKI, SADIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11989          FLETCHER V. TRAMMELL

WRUCK, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14316          DALIMONTE RUEB, LLP

WU, GUI                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18794          JOHNSON LAW GROUP

WUBBEN, THERESA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20669          ONDERLAW, LLC

WULF, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03954          ONDERLAW, LLC

WUNDER, RETTA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000643-21         GOLOMB & HONIK, P.C.

WYATT, DEBORAH                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09438          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WYATT, FLORENCE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06610           ONDERLAW, LLC

WYATT, JANET                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07742          ONDERLAW, LLC

WYATT, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18180          NACHAWATI LAW GROUP

WYATT, LESLIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05434          WILLIAMS HART LAW FIRM

WYATT, MARY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18731          NACHAWATI LAW GROUP

WYATT, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18374          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WYATT, NANCY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15414          ONDERLAW, LLC

WYATT, ROBBIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06194          ONDERLAW, LLC

WYATT, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WYATT, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22175          DRISCOLL FIRM, P.C.

WYATT, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15987          LENZE LAWYERS, PLC

WYATT, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WYATT, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15987          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WYATT, ROBIN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WYBLE, CAROLYN                 NJ - SUPERIOR COURT - ATLANTIC COUNTY         ATL-L-398-18           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

WYCKOFF, RONDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17995          ASHCRAFT & GEREL



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              Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

WYCKOFF, RONDA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17995          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WYCKOFF, SHAVONNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01097          ONDERLAW, LLC

WYCUFF, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14706          ARNOLD & ITKIN LLP

WYGAL, ANNE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01079          ONDERLAW, LLC

WYLIE, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

WYLIE, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14949          LENZE LAWYERS, PLC

WYLIE, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

WYLIE, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14949           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WYLIE, JUDITH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

WYLLIE, DEBORAH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07468          THE DUGAN LAW FIRM

WYLLIE, JOAN                     CA - SUPERIOR COURT - RIVERSIDE COUNTY        RIC1716489             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WYLLIE, JOAN                     CA - SUPERIOR COURT - RIVERSIDE COUNTY        RIC1716489             KIESEL LAW, LLP

WYLONG, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04546          KLINE & SPECTER, P.C.

WYMAN, CINDY                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE18029730            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WYMAN, CINDY                     FL - CIRCUIT COURT - BROWARD COUNTY          CACE18029730            LAW FIRM OF KELLEY UUSTAL, PLC

WYMAN, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08338          THE MILLER FIRM, LLC

WYMES, REVE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01139          THE DILORENZO LAW FIRM, LLC

WYNKOOP, JEAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10909          NAPOLI SHKOLNIK, PLLC

WYNN, BARBARA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04504          ONDERLAW, LLC

WYNN, DAISY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12332          ASHCRAFT & GEREL

WYNN, DAISY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-12332          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

WYNN, MARJORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-22084          CELLINO & BARNES, P.C.

WYNN, MARY JANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18733           NACHAWATI LAW GROUP

WYNN, ROBIN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02282          ASHCRAFT & GEREL

WYNNE, JAMES                     IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WYNN-YELDELL, ADRIANA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09872          FLETCHER V. TRAMMELL

WYNONIA BOEHME                   IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

WYNOS, JACQUELINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19262          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

WYNSTRA, KAY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12927          ONDERLAW, LLC

WYROSDICK, RUBY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11310          ASHCRAFT & GEREL

WYSKIEL, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14743           LENZE LAWYERS, PLC

WYSKIEL, BARBARA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14743          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




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            Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

WYSOCKI, CYNTHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-04230           ONDERLAW, LLC

XHAXHO-SKEZAS, AIDA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17619          KIRTLAND & PACKARD, LLP

XIONG, IE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08220          ONDERLAW, LLC

XIONG, LE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18249          NACHAWATI LAW GROUP

XOCHIHUA, MARIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1237-16           ASHCRAFT & GEREL, LLP

XOCHIHUA, MARIA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1237-16           DAMATO LAW FIRM, P.C.

YADEN, DORIS                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05501          ONDERLAW, LLC

YADON, LORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13175          ASHCRAFT & GEREL, LLP

YADON, LORIE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13175          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YAEGEL, TERESA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08790          DALIMONTE RUEB, LLP

YAGER, ANNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13131          NACHAWATI LAW GROUP

YAGUDAYEV, NADIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19748          NACHAWATI LAW GROUP

YAKHIN, SARA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07334          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YAKUBISIN, SANDRA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19230          NACHAWATI LAW GROUP

YAKUBOVA, SVETLANA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-20511           DRISCOLL FIRM, P.C.

YAMZON, KATHLEEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18195          NACHAWATI LAW GROUP

YANCY, KATHLEEN                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002517-20         GOLOMB & HONIK, P.C.

YANDELL, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-04414          SIMMONS HANLY CONROY

YANDELL, KAYLYNN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04788          FLETCHER V. TRAMMELL

YANDELL, SHELLEY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17588          WILLIAMS HART LAW FIRM

YANG, CECILIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10022          GORI JULIAN & ASSOCIATES, P.C.

YANKO, DELORES                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03476          ONDERLAW, LLC

YANKOSKY, BARBARA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14148          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YANKTON, SUSAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-18850          MORELLI LAW FIRM, PLLC

YANNO, ELEANOR                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09745          THE SEGAL LAW FIRM

YANNO, MARGARET                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14750           NAPOLI SHKOLNIK, PLLC

YANNONE, CATHERINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12547          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YANNONE, MARY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04859          LENZE KAMERRER MOSS, PLC

YARBER, ANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02398          HOVDE, DASSOW, & DEETS, LLC

YARBER, ANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02398          THE MILLER FIRM, LLC

YARBOROUGH, JO                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12939          JOHNSON BECKER, PLLC

YARBOROUGH, RUBY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15991          LENZE LAWYERS, PLC

YARBOROUGH, RUBY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15991          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YARBROUGH, ASIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-20470          JOHNSON LAW GROUP



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               Claimant Name                        State Filed                        Docket Number                                Plaintiff Counsel

YARBROUGH, CAROL                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18161             NACHAWATI LAW GROUP

YARBROUGH, GERALDINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18221             ARNOLD & ITKIN LLP

YARBROUGH, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445             DONALD L. SCHLAPPRIZZI P.C.

YARBROUGH, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15568              LENZE LAWYERS, PLC

YARBROUGH, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445              LENZE LAWYERS, PLC

YARBROUGH, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15568             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YARBROUGH, KATHERINE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YARBROUGH, MIRIAM                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19464             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A.

YARBROUGH, RENA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02676             ONDERLAW, LLC

YARBROUGH, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445             DONALD L. SCHLAPPRIZZI P.C.

YARBROUGH, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445             LENZE LAWYERS, PLC

YARBROUGH, RUBY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YARBROUGH, SUSAN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18522             JOHNSON LAW GROUP

YARDEN, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-07645              CELLINO & BARNES, P.C.

YARDLEY, MARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-00475             MOTLEY RICE, LLC

YARMO, CAROLE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09351             MORELLI LAW FIRM, PLLC

YARNALL, CAROLINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14563             DAVIS, BETHUNE & JONES, L.L.C.

YARO, LINDA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09945             ONDERLAW, LLC

YASENCHOK, LORI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13654             CELLINO & BARNES, P.C.

YASICK, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09096             ONDERLAW, LLC

YASSEIN, LALLAFATIHA              CA - SUPERIOR COURT - SAN DIEGO COUNTY        37-2017-49737-CU-PL-CTL   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YATES, AGNES                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05536             THE MILLER FIRM, LLC

YATES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19749             NACHAWATI LAW GROUP

YATES, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06298             ONDERLAW, LLC

YATES, EUNICE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-358-18               KEEFE BARTELS

YATES, EUNICE                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-358-18               LAW OFFICE OF GRANT D. AMEY, LLC

YATES, ILA                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11345             NACHAWATI LAW GROUP

YATES, JAIME                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13974             ANDRUS WAGSTAFF, P.C.

YATES, JANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09809             ONDERLAW, LLC

YATES, JEAN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02850             FLETCHER V. TRAMMELL

YATES, JOANNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11622              NACHAWATI LAW GROUP

YATES, JOLYNN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05741             ONDERLAW, LLC

YATES, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-09389             TRAMMELL PC

YATES, MICHELLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15410             SANDERS VIENER GROSSMAN, LLP



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            Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

YAW, TINA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12770          ASHCRAFT & GEREL

YBARRA, SOPHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18247          ONDERLAW, LLC

YEAGER, CORRINE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11841          WATERS & KRAUS, LLP

YEAGER, JANA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13030          TRAMMELL PC

YEAGER, KELLI                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09731          DRISCOLL FIRM, P.C.

YEAKEL, STEPHANIE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08580          ONDERLAW, LLC

YEARWOOD, ALMENA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-08004           ONDERLAW, LLC

YEATTS, JEANE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07353          ONDERLAW, LLC

YECCO, MARIA                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2537-17           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

YEISLEY, KATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12664          WILLIAMS HART LAW FIRM

YELDA, SAUDIKA                 NY - SUPREME COURT - NYCAL                    190247/2017            MEIROWITZ & WASSERBERG, LLP

YELDA, SAUDIKA                 NY - SUPREME COURT - NYCAL                    190247/2017            MEIROWITZ & WASSERBERG, LLP

YELDELL, ELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18167          NACHAWATI LAW GROUP

YELINEK, CAROL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16989          NACHAWATI LAW GROUP

YELNER, AMANDA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10556          LIAKOS LAW APC

YELVERTON, BETSY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07602          ASHCRAFT & GEREL, LLP

YELVERTON, BETSY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07602          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YENALAVITCH, MARION            NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19895           CELLINO & BARNES, P.C.

YENSER, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01133          ONDERLAW, LLC

YERGEN, MARJORIE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-10847           ONDERLAW, LLC

YERIKIAN, SALPY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16142          DALIMONTE RUEB, LLP

YESCAS, PENNY                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003393-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

YESTER, JENNIFER               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01336          JOHNSON LAW GROUP

YESUPRIYA, JOYCE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20551          MORELLI LAW FIRM, PLLC

YETTNER, JENNIFER              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01212          GORI JULIAN & ASSOCIATES, P.C.

YEZEK, CHARLOTTE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002407-20         GOLOMB & HONIK, P.C.

YGLESIA, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03206          BURNS CHAREST LLP

YGLESIA, PATRICIA              NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03206          BURNS CHAREST LLP

YIN, JUN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10577          DAVIS, BETHUNE & JONES, L.L.C.

YINGLING, MELODY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

YINGLING, MELODY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15821          LENZE LAWYERS, PLC

YINGLING, MELODY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

YINGLING, MELODY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15821           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YINGLING, MELODY               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS



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              Claimant Name                        State Filed                         Docket Number                              Plaintiff Counsel

YISRAEL, QETSIYAH                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-14149            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YLINIEMI, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03770           ASHCRAFT & GEREL, LLP

YLINIEMI, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03770           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YMILIANO, ZENAIDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-19752            NACHAWATI LAW GROUP

YOCOM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445           DONALD L. SCHLAPPRIZZI P.C.

YOCOM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15719           LENZE LAWYERS, PLC

YOCOM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445           LENZE LAWYERS, PLC

YOCOM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15719           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YOCOM, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YOCUM, PENNY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03696           JOHNSON LAW GROUP

YOCUM, SUE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14846           WILLIAMS HART LAW FIRM

YODER, ROBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15538           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YODER, SHEILA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-11875           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YODER, SHERRIL                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01888           FLETCHER V. TRAMMELL

YOELL, MARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03586           ONDERLAW, LLC

YOHANY GARCIA                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291               NAPOLI SHKOLNIK, PLLC

YOKLEY, MARGARET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11512           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOKLEY, WENDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04971           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOLANDA MARTIN                   CA - STATE                                   289315                   BISNAR AND CHASE

YOLANDA MOLINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-18117            WEITZ & LUXENBERG

YONGEN, LEONA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20659           THE MILLER FIRM, LLC

YONKERS, RUTH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10024           NAPOLI SHKOLNIK, PLLC

YORBA, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15060           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YORK, BEATRICE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10734           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YORK, DELORES                    CA - SUPERIOR COURT - TULARE COUNTY           VCU274863               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YORK, DELORES                    CA - SUPERIOR COURT - TULARE COUNTY           VCU274863               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YORK, DELORES                    CA - SUPERIOR COURT - TULARE COUNTY          VCU274863                THE SMITH LAW FIRM, PLLC

YORK, DONNA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13715           THE MILLER FIRM, LLC

YORK, JEANNINE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02011           ONDERLAW, LLC

YORK, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-21542            JOHNSON LAW GROUP

YORK, NICHOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445           DONALD L. SCHLAPPRIZZI P.C.

YORK, NICHOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445           LENZE LAWYERS, PLC

YORK, NICHOLE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YORK, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02806           ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                              Plaintiff Counsel

YORK, SUSAN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17249          JOHNSON LAW GROUP

YORK-BEY, ELEANOR                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09609           ASHCRAFT & GEREL

YOSHIDA, ANDRIYANI               CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC705664               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOSHIDA, ANDRIYANI               CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC705664                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YOSHIDA, ANDRIYANI               CA - SUPERIOR COURT - LOS ANGELES COUNTY      BC705664               THE SMITH LAW FIRM, PLLC

YOSHIKAWA, YUKO                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13194          ONDERLAW, LLC

YOST, BETTY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12512           BARRETT LAW GROUP, P.A.

YOST, JODIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15887           ASHCRAFT & GEREL

YOST, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10918          ASHCRAFT & GEREL

YOST, VICTORIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11206          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

YOUNG, ALBERTA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11976          FLETCHER V. TRAMMELL

YOUNG, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05539          ONDERLAW, LLC

YOUNG, ALICE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11457          THE CARLSON LAW FIRM

YOUNG, ALMA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11683          NACHAWATI LAW GROUP

YOUNG, ANGELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-13120          NACHAWATI LAW GROUP

YOUNG, BEVERLY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-17385          THE MILLER FIRM, LLC

YOUNG, BONNIE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06206          ONDERLAW, LLC

YOUNG, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16033          ASHCRAFT & GEREL, LLP

YOUNG, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-17572           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC

YOUNG, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16033          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-14566          JOHNSON LAW GROUP

YOUNG, BRIDGETTE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-11542           NACHAWATI LAW GROUP

YOUNG, CANDACE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03504          ONDERLAW, LLC

YOUNG, CAROLYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03477          ONDERLAW, LLC

YOUNG, CARROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19472          NAPOLI SHKOLNIK, PLLC

YOUNG, CYNTHIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-20727          ONDERLAW, LLC

YOUNG, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00556          JOHNSON BECKER, PLLC

YOUNG, DEBORAH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12849          POTTS LAW FIRM

YOUNG, DELORES                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05292          ONDERLAW, LLC

YOUNG, DENISE                    NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-02313-18AS       WEITZ & LUXENBERG

YOUNG, DENISE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-02254           WILLIAMS HART LAW FIRM

YOUNG, DONCELLA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-01507           JOHNSON LAW GROUP

YOUNG, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12372          ONDERLAW, LLC

YOUNG, DOROTHY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08386          ONDERLAW, LLC



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

YOUNG, ERICA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06943          ONDERLAW, LLC

YOUNG, GEORGE (JUANITA)          IL - CIRCUIT COURT - MADISON COUNTY          21-L-1291               NAPOLI SHKOLNIK, PLLC

YOUNG, GINGER                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08539          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, ILENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06708          JOHNSON LAW GROUP

YOUNG, ILENE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06708          LEVIN SIMES LLP

YOUNG, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18168          ONDERLAW, LLC

YOUNG, JANET                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10913          ONDERLAW, LLC

YOUNG, JENNIFER                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09514          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, JOANN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18178           NACHAWATI LAW GROUP

YOUNG, JUANITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01247          ONDERLAW, LLC

YOUNG, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18926          NACHAWATI LAW GROUP

YOUNG, KARLA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04689          ONDERLAW, LLC

YOUNG, KIM                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09896          CELLINO & BARNES, P.C.

YOUNG, KRISTA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05645          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, LAURA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13041           SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.

YOUNG, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03314          ASHCRAFT & GEREL

YOUNG, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03314          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03314          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          GOLDENBERGLAW, PLLC

YOUNG, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18253           NACHAWATI LAW GROUP

YOUNG, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           ONDERLAW, LLC

YOUNG, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19023          ONDERLAW, LLC

YOUNG, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC-10203          PORTER & MALOUF, PA

YOUNG, LINDA                     MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC-10203           THE SMITH LAW FIRM, PLLC

YOUNG, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-07614          ASHCRAFT & GEREL, LLP

YOUNG, LORNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02658          ONDERLAW, LLC

YOUNG, LOUANNE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15486          LENZE KAMERRER MOSS, PLC

YOUNG, LOUANNE                   NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2419-17           MCELDREW YOUNG

YOUNG, MARGARET                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13633          LAW OFFICE OF CHARLES H JOHNSON, PA

YOUNG, MARILYN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-13661          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, MARION                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-17467           THE MILLER FIRM, LLC

YOUNG, MARTA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13560          CELLINO & BARNES, P.C.

YOUNG, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02403          KARSMAN, MCKENZIE & HART

YOUNG, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06160          ONDERLAW, LLC



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           Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

YOUNG, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09567          ONDERLAW, LLC

YOUNG, MATERIA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05785          ONDERLAW, LLC

YOUNG, MORGAN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-03391          ONDERLAW, LLC

YOUNG, OTTIS                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15748          ONDERLAW, LLC

YOUNG, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09212          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, PAMELA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08760          ONDERLAW, LLC

YOUNG, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11144          ASHCRAFT & GEREL, LLP

YOUNG, PEGGY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11144          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, PENNY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09497          ONDERLAW, LLC

YOUNG, PORSCHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

YOUNG, PORSCHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-15954          LENZE LAWYERS, PLC

YOUNG, PORSCHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

YOUNG, PORSCHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15954           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YOUNG, PORSCHIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

YOUNG, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05207          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, REBECCA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-07353          THE DUGAN LAW FIRM, APLC

YOUNG, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16897          ASHCRAFT & GEREL

YOUNG, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16897          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, RUTH                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01707          DALIMONTE RUEB, LLP

YOUNG, SABRINA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002924-21         WEITZ & LUXENBERG

YOUNG, SANDRA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10930          ONDERLAW, LLC

YOUNG, SHARON                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-19202          SANDERS PHILLIPS GROSSMAN, LLC

YOUNG, SHARON                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-306-15            SEEGER WEISS LLP

YOUNG, SHARRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15249           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

YOUNG, SHARRIE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-15249           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

YOUNG, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-16195          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-08530          ONDERLAW, LLC

YOUNG, SHERRY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10857          SALTZ MONGELUZZI & BENDESKY PC

YOUNG, SONYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10743          THE MILLER FIRM, LLC

YOUNG, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

YOUNG, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          LENZE LAWYERS, PLC

YOUNG, SUZANNE                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

YOUNG, TAMMY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18277          NACHAWATI LAW GROUP

YOUNG, TATIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-08266           WILSON LAW PA

YOUNG, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11145          ASHCRAFT & GEREL, LLP

YOUNG, TERESA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11145          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNG, TERESITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01856          JOHNSON LAW GROUP

YOUNG, TINA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07716          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

YOUNG, VICKI                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-08585          ONDERLAW, LLC

YOUNG, WANDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13230          THE MILLER FIRM, LLC

YOUNG-ARREDONDO, RUTH             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-06860           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC

YOUNGBLOOD, APRIL                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10195          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YOUNGBLOOD, DORIS                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-18275           MOTLEY RICE, LLC

YOUNGBLOOD, TERESA                CA - SUPERIOR COURT - SANTA CLARA COUNTY     17CV321226              THE MILLER FIRM, LLC

YOUNGERS, HEIDI                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17199          ONDERLAW, LLC

YOUNG-HORNER, STACEY              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-14547           FLETCHER V. TRAMMELL

YOUNGMAN, LOIS                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-16788          TRAMMELL PC

YOUNG-RUSS, LANITA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14288           JOHNSON LAW GROUP

YOUNGS, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-10999          TORHOERMAN LAW LLC

YOUNG-TUNE, DEBORAH               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12685          MORELLI LAW FIRM, PLLC

YOUNT, KELLY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01489          ONDERLAW, LLC

YOWS, MARY                        NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12130          THE MILLER FIRM, LLC

YTELL, SHARON                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-13250          GORI JULIAN & ASSOCIATES, P.C.

YU, HUI                           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-16111          NACHAWATI LAW GROUP

YUDELL, TAMAR                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08307          ONDERLAW, LLC

YUELLING, JEANNE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18175           NACHAWATI LAW GROUP

YUGAISHTRI, DAT                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09445          ONDERLAW, LLC

YUHAS, ANNA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01345          DRISCOLL FIRM, P.C.

YUNG, SCHERN                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01825          GORI JULIAN & ASSOCIATES, P.C.

YUPANQUI, DINORA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01792          JOHNSON LAW GROUP

YURECKO, TAWANYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20444          ASHCRAFT & GEREL, LLP

YURECKO, TAWANYA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20444          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

YUSUF, APRIL                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12646          SANDERS PHILLIPS GROSSMAN, LLC

YVONNE HAWLEY                     FEDERAL - MDL                                 3:21-CV-19047          MOTLEY RICE, LLC

YVONNE MERENDON                   FEDERAL - MDL                                 3:21-CV-19635          JOHNSON BECKER, PLLC

YVONNE PITTMAN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003367-21         WEITZ & LUXENBERG



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              Claimant Name                        State Filed                        Docket Number                             Plaintiff Counsel

YZQUIERDO, ANISSA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17833          PARAFINCZUK WOLF, P.A.

ZABELLE, SANDRA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14047          ROSS FELLER CASEY, LLP

ZABLAN, LUCIENNE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02522          JOHNSON LAW GROUP

ZABOORI, ZHILA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17693          ONDERLAW, LLC

ZACCARIA, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02397          HOVDE, DASSOW, & DEETS, LLC

ZACCARIA, MARY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02397          THE MILLER FIRM, LLC

ZACCHINO, GAETANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07591          ASHCRAFT & GEREL, LLP

ZACCHINO, GAETANA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07591          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZACHARA, MARZENA                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-001028-21        MAUNE RAICHLE HARTLEY FRENCH & MUDD
ZACHARA, MARZENA AND ZACHARA,
                                 NJ - SUPERIOR COURT - MIDDLESEX COUNTY        MID-L-001028-21        LEVY KONIGSBERG LLP
WESLEY
ZACHARIA, HELEN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12315          DALIMONTE RUEB, LLP

ZACHARY, MARJORY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-05958           ONDERLAW, LLC

ZACHARY, MATTIE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19780          NACHAWATI LAW GROUP

ZACHER, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01196          ONDERLAW, LLC

ZADE, SANDRA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00308          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZADEH, ASIEH                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11744          ARNOLD & ITKIN LLP

ZADEKAS, SHEILA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09134          BERNSTEIN LIEBHARD LLP

ZADROZNY, JOYCE                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-13021           ASHCRAFT & GEREL

ZAFIRAKIS, KELY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18201          NACHAWATI LAW GROUP

ZAGARSKI, PAULA                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000755-20         GOLOMB SPIRT GRUNFELD PC

ZAHOREC, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-05960          ONDERLAW, LLC

ZAITSEV, TERESA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-03628           CORY, WATSON, CROWDER & DEGARIS P.C.

ZAJAC, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01344          ONDERLAW, LLC

ZAJAC, MAUREEN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12209          ASHCRAFT & GEREL

ZAK, KATHLEEN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11671          NACHAWATI LAW GROUP

ZAKIYYAH JOHNSON-SALAAM          FEDERAL - MDL                                3:21-CV-16956           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZAKS, NANCY                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001443-18         MORELLI LAW FIRM, PLLC

ZAKY, ANNE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21101          CELLINO & BARNES, P.C.

ZALE, MOREGAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11835          NACHAWATI LAW GROUP

ZALESKI, GENEVIEVE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-00724          CELLINO & BARNES, P.C.

ZALKIND, SHELLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-18268           NACHAWATI LAW GROUP

ZALOGA, CECYLIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-06195          LEVIN SIMES ABRAMS LLP

ZAMARIPA, PATRICIA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08536          DAVIS, BETHUNE & JONES, L.L.C.

ZAMARRIPA, DOLORES               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-08704           ONDERLAW, LLC



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              Claimant Name                        State Filed                        Docket Number                                 Plaintiff Counsel

ZAMBATARO, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-15922              ASHCRAFT & GEREL, LLP

ZAMBATARO, JANET                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-15922             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZAMBERLAN, LYNN                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02526             JOHNSON LAW GROUP

ZAMBRANO, BRIANA                 CA - SUPERIOR COURT - SAN DIEGO COUNTY        37-2018-22860-CU-MT-CTL   ASPEY, WATKINS & DIESEL, PLLC

ZAMBRANO, BRIANA                 CA - SUPERIOR COURT - SAN DIEGO COUNTY        37-2018-22860-CU-MT-CTL   BURNS CHAREST LLP

ZAMBRANO, MARILUZ                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10167             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZAMNUIK, JOYCE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02358             JOHNSON LAW GROUP

ZAMORA, AGNES                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10107             ONDERLAW, LLC

ZAMORA, BETHANY                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08184             ONDERLAW, LLC

ZAMORA, CLAUDIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18780             NACHAWATI LAW GROUP

ZAMORA, HOPE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02288             ONDERLAW, LLC

ZAMORA, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04304             ONDERLAW, LLC

ZAMORA, SHERRY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-04976             ONDERLAW, LLC

ZAMORA, VICTORIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10535             JOHNSON LAW GROUP

ZAMPIRRI, MARGARET               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-20450             ONDERLAW, LLC

ZAMPOGNA, GINA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12458             ONDERLAW, LLC

ZAMUDIO, GUILLERIMINA            NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10841             NACHAWATI LAW GROUP

ZAMZAM, KEFAH                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-10077             ARNOLD & ITKIN LLP

ZANCA, CAROL                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11146             LUNDY, LUNDY, SOILEAU & SOUTH, LLP

ZANDARSKI, CATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00711             BURNS CHAREST LLP

ZANDARSKI, CATHY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-00711             BURNS CHAREST LLP

ZANE, DELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZANE, DELLA                      NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2275-17              GOLOMB SPIRT GRUNFELD PC

ZANE, DELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394             ONDERLAW, LLC

ZANE, DELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394             PORTER & MALOUF, PA

ZANE, DELLA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02394             THE SMITH LAW FIRM, PLLC

ZANGHI, FRANCES                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-00090              CELLINO & BARNES, P.C.

ZANK, JENIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14288             BURNS CHAREST LLP

ZANKICH, THELMA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11288             NACHAWATI LAW GROUP

ZANNI, CAMILLE                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02233              NASS CANCELLIERE BRENNER

ZANOTELLI, HERMINE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19154             NACHAWATI LAW GROUP

ZANTOW, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17878             ASHCRAFT & GEREL, LLP

ZANTOW, BARBARA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17878             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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               Claimant Name                         State Filed                       Docket Number                               Plaintiff Counsel

ZAPALAC, BENITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19790          NACHAWATI LAW GROUP

ZAPALAC, COEY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12156          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZAPPITELLI, JOHANNA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09889          ONDERLAW, LLC

ZAPPONE, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17251          JAZLOWIECKI & JAZLOWIECKI, LLC

ZARAGOZA, MARIA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-00617          THE SEGAL LAW FIRM

ZARAZUA-GUZMAN, MARIA             NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09293          DALIMONTE RUEB, LLP

ZAREMBA, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          DONALD L. SCHLAPPRIZZI P.C.

ZAREMBA, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14947           LENZE LAWYERS, PLC

ZAREMBA, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13445           LENZE LAWYERS, PLC

ZAREMBA, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14947          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ZAREMBA, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-13445          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ZARIC-WOLDANSKI, ROZINA           NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08327          ONDERLAW, LLC

ZARKIN, PATTI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-11056          PARKER WAICHMAN, LLP

ZARRILLI, CHRISTINE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-1480-16           BATHGATE, WEGENER & WOLF

ZASKE, DIONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09509          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZASKE, DIONNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-09509           DICKS & COGLIANSE LLP

ZASPEL, MARY                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06811          ONDERLAW, LLC

ZAVALA, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-14600          DALIMONTE RUEB, LLP

ZAVISTOSKI, BRENDA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10158          GOLOMB SPIRT GRUNFELD PC

ZAWISTOWSKI, PAMELA               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-02530          JOHNSON LAW GROUP

ZAYSZLY, CAROL                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-01480          ONDERLAW, LLC

ZBICHORSKI, PATRICIA              NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002204-20         GOLOMB & HONIK, P.C.

ZEALOR, EVELYN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-03089          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZECCHINI, MARY                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003391-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

ZECCHINO, LORI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS       1422-CC09821            ONDERLAW, LLC

ZECCHINO, LORI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           PORTER & MALOUF, PA

ZECCHINO, LORI                    MO - CIRCUIT COURT - CITY OF ST. LOUIS        1422-CC09821           THE SMITH LAW FIRM, PLLC

ZEGLEY, DIANE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12206          FLEMING, NOLEN & JEZ, LLP

ZEGLIN, LISA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15922          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC

ZEIDMAN, DEBORAH                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000862-18         GOLOMB & HONIK, P.C.

ZEIG, PATRICIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17456          WILLIAMS HART LAW FIRM

ZEIGLER, JESSICA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08536          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZEISLOFT, JUDY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-09105           THE WEINBERG LAW FIRM




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               Claimant Name                        State Filed                        Docket Number                            Plaintiff Counsel

ZELINSKI, DONNA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09354          TRAMMELL PC

ZELLMANN, DEANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-16827           THE SEGAL LAW FIRM

ZEMO, FRANCES                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-17379          WEITZ & LUXENBERG

ZEMPEL, BETTY                     NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003145-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

ZENZEL, CINDY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-10926           ASHCRAFT & GEREL

ZEOLI, LORIANN                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-001474-20         GOLOMB & HONIK, P.C.

ZEPEDA, JOSEPHINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-12986          DALIMONTE RUEB, LLP

ZEREN, LESLIE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-02857          ONDERLAW, LLC

ZERINGUE, DARLENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-08824          COHEN & MALAD, LLP

ZESCHKE, GEORGENE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-17702          NACHAWATI LAW GROUP

ZESK, LAURA                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12306          ONDERLAW, LLC

ZETTERSTROM, ROBIN                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-10877          THE MILLER FIRM, LLC

ZGRODNIK, MARION                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-09946          ONDERLAW, LLC

ZIBELL, NANCI                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-14841          WILLIAMS HART LAW FIRM

ZICARI, LYNNE                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-12533          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZIEL, VALLARY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-08470          WILLIAMS HART LAW FIRM

ZIELINSKI, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-16648           CELLINO & BARNES, P.C.

ZIEMANN, KATHLEEN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19269          ONDERLAW, LLC

ZIEMBRA, SHARON                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12059           WAGSTAFF & CARTMELL, LLP

ZIEMER, MELISSA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-01037           THE MILLER FIRM, LLC

ZIER, KAREN                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03599          ONDERLAW, LLC

ZIERK, MARY                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-02663          PAUL LLP

ZILAFRO, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14791          LENZE LAWYERS, PLC

ZILAFRO, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14791          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ZILIO, LINDA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-12960           NAPOLI SHKOLNIK, PLLC

ZILLMER, JEANNINE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-12772           THE MILLER FIRM, LLC

ZIMBARDI, SHERRY                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC697579                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN

ZIMBARDI, SHERRY                  CA - SUPERIOR COURT - LOS ANGELES COUNTY     BC697579                ROSS FELLER CASEY, LLP

ZIMMER, PAMELA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-11302          NACHAWATI LAW GROUP

ZIMMER, SHARON                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03300          BERNSTEIN LIEBHARD LLP

ZIMMERMAN, BARBARA                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-19944          NACHAWATI LAW GROUP

ZIMMERMAN, EVELYN                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18171          NACHAWATI LAW GROUP

ZIMMERMAN, HONG                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03076          JOHNSON LAW GROUP

ZIMMERMAN, HONG                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-03076          LEVIN SIMES LLP



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               Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

ZIMMERMAN, JUDY                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09747          ONDERLAW, LLC

ZIMMERMAN, LISA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09693          MUELLER LAW PLLC

ZIMMERMAN, MARILYNNE              NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-12017           NACHAWATI LAW GROUP

ZIMMERMAN, MICHELLE               FL - CIRCUIT COURT - BROWARD COUNTY          CACE20010404            SCHLESINGER LAW OFFICES, P.A.

ZIMMERMAN, RITA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-06264          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZIMMERMAN, SANDRA                 NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-003331-21         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP

ZIMMERMAN, SHIRLEY                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18273          NACHAWATI LAW GROUP

ZIMMERMAN, SUZANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

ZIMMERMAN, SUZANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

ZIMMERMAN, SUZANNE                MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            THE SMITH LAW FIRM, PLLC

ZIMO, HEATHER                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01430          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZINDA, ELIZABETH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03043           JASON J. JOY & ASSCIATES P.L.L.C.

ZINGARELLI, DONNA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14625           JOHNSON LAW GROUP

ZINGONE, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:17-CV-05668           HOLLAND LAW FIRM

ZINGONE, JOANN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-05668          SKIKOS, CRAWFORD, SKIKOS & JOSEPH

ZINK, KIMBERLY                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-13968           SIMMONS HANLY CONROY

ZINK, TERESA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-13143          ONDERLAW, LLC

ZINKHAN, SUSANNA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-07450          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZINN, DIANE                       NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18973          NACHAWATI LAW GROUP

ZINNECKER, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09927          GORI JULIAN & ASSOCIATES, P.C.

ZIRBEL, DIANNE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-01326           POTTS LAW FIRM

ZIRBEL, LINDA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21328          DIAZ LAW FIRM, PLLC

ZIRIADA, ALICE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-09103          WILLIAMS HART LAW FIRM

ZIRKLE, BRENDA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-01516          FLETCHER V. TRAMMELL

ZIRKLE, KAREN                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08514          DAVIS, BETHUNE & JONES, L.L.C.

ZIRPOLO, PATRICIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01454          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZITELLA, DIANA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-06683          THE SIMON LAW FIRM, PC

ZITMAN, GLORIA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21883          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZITOLI, MARIA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-21144          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZOELLER, CYNTHIA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-11459          KIESEL LAW, LLP

ZOLL, BONNIE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-15351          ONDERLAW, LLC

ZOLONOWSKI, GERALDINE             NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-17744           CELLINO & BARNES, P.C.

ZORN, ANGELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09720          ASHCRAFT & GEREL

ZORN, ANGELA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-09720          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.



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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

ZORNES, DIANE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-12956          PAUL LLP

ZORNES, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:20-CV-09486           FLETCHER V. TRAMMELL

ZORNES, KAREN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09136          ONDERLAW, LLC

ZOU, CHUNYE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-09786          ARNOLD & ITKIN LLP

ZOUCHA, SUSAN                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-05511          ONDERLAW, LLC

ZUBEN, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-14850          LENZE LAWYERS, PLC

ZUBEN, DONNA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-14850           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS

ZUCATI, MICHELLE                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-00527           BURNS CHAREST LLP

ZUCCONI, LAUREN                  NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-000775-21         JOHNSON LAW GROUP

ZUCHOWSKI, KAREN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZUCHOWSKI, KAREN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS       1822-CC11533            ONDERLAW, LLC

ZUCHOWSKI, KAREN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           PORTER & MALOUF, PA

ZUCHOWSKI, KAREN                 MO - CIRCUIT COURT - CITY OF ST. LOUIS        1822-CC11533           THE SMITH LAW FIRM, PLLC

ZUCK, CLARA                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-08932          ONDERLAW, LLC

ZUCKER, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZUCKER, DONNA                    NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-2276-17           GOLOMB SPIRT GRUNFELD PC

ZUCKER, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          ONDERLAW, LLC

ZUCKER, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          PORTER & MALOUF, PA

ZUCKER, DONNA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:17-CV-03946          THE SMITH LAW FIRM, PLLC

ZUFFOLETTO, JULES                NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-16435          POTTS LAW FIRM

ZUKOWSKI, MARIANNE               NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-12048          THE DIETRICH LAW FIRM, PC

ZULAICA, ANDREA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:18-CV-02153           JOHNSON LAW GROUP

ZUMBRINK, UZMA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-17707          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZUMBRUN, SHIRLEY                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-03005           ONDERLAW, LLC

ZUMTOBEL, LINDA                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18227          NACHAWATI LAW GROUP

ZUNIGA, JIMMY                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

ZUNIGA, JIMMY                    IL - CIRCUIT COURT - MADISON COUNTY           21-L-1291              NAPOLI SHKOLNIK, PLLC

ZUNIGA, LISHA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-04231          ONDERLAW, LLC

ZUNIGA, MONICA                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-18228          NACHAWATI LAW GROUP

ZUNIGA, ROSA                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-18978          JOHNSON LAW GROUP

ZUNT, REBECCA                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-02933          FLETCHER V. TRAMMELL

ZURBOLA, JUDITH                  NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:20-CV-04842          NAPOLI SHKOLNIK, PLLC

ZURCHER, SUSAN                   NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-15238          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.




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              Claimant Name                         State Filed                       Docket Number                              Plaintiff Counsel

ZURLIGEN, GRETCHEN               NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:19-CV-19983           ONDERLAW, LLC

ZUROWSKI, MICHELLE               NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002205-20         GOLOMB & HONIK, P.C.

ZURSTADT, BARBARA                NJ - SUPERIOR COURT - ATLANTIC COUNTY        ATL-L-002153-20         GOLOMB & HONIK, P.C.

ZUZNIS, JOYCE                    NJ - USDC FOR THE DISTRICT OF NEW JERSEY     3:21-CV-09240           ONDERLAW, LLC

ZWALD, KATHY                     NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-01345          JOHNSON LAW GROUP

ZWALLY, DOROTHY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS       1522-CC00811            ONDERLAW, LLC

ZWALLY, DOROTHY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           PORTER & MALOUF, PA

ZWALLY, DOROTHY                  MO - CIRCUIT COURT - CITY OF ST. LOUIS        1522-CC00811           THE SMITH LAW FIRM, PLLC

ZWAYER, JENNIFER                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:19-CV-01025          THE MILLER FIRM, LLC

ZWERNER, CYNTHIA                 NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:18-CV-10870          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.

ZYSK, IRENE                      NJ - USDC FOR THE DISTRICT OF NEW JERSEY      3:21-CV-19153          BARON & BUDD, P.C.




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